    Case: 23-60069   Document: 438-3     Page: 1   Date Filed: 09/26/2023




                              No. 23-60069

         In the United States Court of Appeals
                 for the Fifth Circuit
   State of Texas; Texas Commission on Environmental
   Quality; Luminant Generation Company, L.L.C.; Coleto
   Creek Power, L.L.C.; Ennis Power Company, L.L.C.; Hays
    Energy, L.L.C.; Midlothian Energy, L.L.C.; Oak Grove
Management Company, L.L.C.; Wise County Power Company,
 L.L.C.; Association of Electric Companies of Texas; BCCA
   Appeal Group; Texas Chemical Council; Texas Oil & Gas
 Association; Public Utility Commission of Texas; Railroad
    Commission of Texas; State of Mississippi; Mississippi
  Department of Environmental Quality; Mississippi Power
   Company; State of Louisiana; Louisiana Department of
Environmental Quality; Entergy Louisiana, L.L.C; Louisiana
     Chemical Association; Mid-Continent Oil and Gas
   Association; Louisiana Electric Utility Environmental
      Group, L.L.C.; Texas Lehigh Cement Company, LP,
                                               Petitioners,
                                    v.
   United States Environmental Protection Agency;
    Michael S. Regan, Administrator, United States
          Environmental Protection Agency,
                                          Respondents.

                  On Petitions for Review of a Final Action
           of the United States Environmental Protection Agency

 RULE 30.2(a) APPENDIX – VOLUME THREE OF SEVEN
  (C.I. Nos. HQ-110, HQ-125, HQ-367, HQ-396, HQ-546,
         HQ-788, R4-9, R4-10, R4-17, R6-1, R6-2)

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   Case: 23-60069     Document: 438-3    Page: 2   Date Filed: 09/26/2023




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         Case: 23-60069            Document: 438-3             Page: 3       Date Filed: 09/26/2023




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          Group, L.L.C.; Texas Lehigh Cement Company, LP,
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         Michael S. Regan, Administrator, United States
               Environmental Protection Agency,
                                               Respondents.

                           On Petitions for Review of a Final Action
                    of the United States Environmental Protection Agency

                       INDEX TO RULE 30.2(a) APPENDIX
                         (VOLUME THREE OF SEVEN) *

*
 Consistent with how record material was cited in the briefs, appendix tab numbers correspond to the final four digits
(minus leading zeros) of “Document ID” numbers on the certified index of record contents.
      Case: 23-60069           Document: 438-3           Page: 4       Date Filed: 09/26/2023




20.   Comment submitted by Jason Meyers, Administrator, Air Planning
      and Assessment Division, Louisiana Departments of Environmental
      Quality (Dec. 14, 2020) (EPA-HQ-OAR-2020-0272-0110) ......... Tab HQ-110
21.   Comment submitted by Toby Baker, Executive Director, Texas
      Commission on Environmental Quality (TCEQ) (Dec. 14, 2020)
      (EPA-HQ-OAR-2020-0272-0125) ............................................... Tab HQ-125
22.   Comment submitted by Attorneys General of New York et al. (June
      21, 2022) (EPA-HQ-OAR-2021-0668-0367) ............................... Tab HQ-367
23.   Comment submitted by Cleco Corporate Holdings LLC (June 21,
      2022) (EPA-HQ-OAR-2021-0668-0396) ..................................... Tab HQ-396
24.   Comment submitted by Entergy Services, LLC (ESL) (June 21,
      2022) (EPA-HQ-OAR-2021-0668-0546) ..................................... Tab HQ-546
25.   Comments submitted on behalf of Midcontinent Independent
      System Operator (“MISO”) (June 21, 2022) (EPA-HQ-OAR-2021-
      0668-0788)................................................................................... Tab HQ-788
26.   Mississippi_2015 Ozone Infrastructure SIP Prongs 1 and 2 (Jan. 31,
      2022) (EPA-R04-OAR-2021-0841-0009) ......................................... Tab R4-9
27.   Air Quality State Implementation Plans; Approvals and
      Promulgations: Alabama, Mississippi, Tennessee; Interstate
      Transport Requirements for the 2015 8-Hour Ozone National
      Ambient Air Quality Standards (Feb. 22, 2022) (EPA-R04-OAR-
      2021-0841-0010) ............................................................................. Tab R4-10
28.   Comment submitted by Mississippi Department of Environmental
      Quality (Apr. 22, 2022) (EPA-R04-OAR-2021-0841-0017) ............Tab R4-17
29.   Air Quality State Implementation Plans; Approvals and
      Promulgations: Air Plan Disapproval; Arkansas, Louisiana,
      Oklahoma, Texas; Interstate Transport of Air Pollution for the 2015
      8-Hour Ozone National Ambient Air Quality Standards, Proposed
      rule (Feb. 22, 2022) (EPA-R06-OAR-2021-0801-0001) ................... Tab R6-1
30.   EPA Region 6 2015 8-Hour Ozone Transport SIP Proposal
      Technical Support Document (Jan. 25, 2022) (EPA-R06-OAR-
      2021-0801-0002) .............................................................................. Tab R6-2

(See subsequent volumes for additional appendix documents)
  Case: 23-60069   Document: 438-3   Page: 5   Date Filed: 09/26/2023




  Tab HQ-110: Comment submitted by Jason Meyers,
Administrator, Air Planning and Assessment Division,
  Louisiana Departments of Environmental Quality
     (Dec. 14, 2020) (EPA-HQ-OAR-2020-0272-0110)
Case: 23-60069   Document: 438-3   Page: 6   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 7   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 8   Date Filed: 09/26/2023




  Interstate Transport State Implementation Plan
2015 Ozone National Ambient Air Quality Standards




                     November 8, 2019


                         Prepared by:
         Louisiana Department of Environmental Quality



                         Submitted to:
         United States Environmental Protection Agency
                            Region 6
                   1201 Elm Street, Suite 500
                        Dallas, TX 75270
Case: 23-60069   Document: 438-3   Page: 9   Date Filed: 09/26/2023
       Case: 23-60069       Document: 438-3        Page: 10     Date Filed: 09/26/2023




                                     Executive Summary


This revision to the state implementation plan (SIP) is intended to meet the infrastructure and
transport requirements of the Federal Clean Air Act (FCAA), §110(a). States are required by
FCAA, §110(a)(1) to submit SIP revisions providing for the implementation, maintenance, and
enforcement of a new or revised National Ambient Air Quality Standard (NAAQS) within three
years after promulgation. On October 1, 2015, the United States Environmental Protection
Agency (EPA) revised the primary and secondary NAAQS for ozone to an eight-hour standard
of 0.070 parts per million.
FCAA, §110(a)(2)(A) through (M), lists the elements that infrastructure and transport SIP
submissions must contain. This SIP revision specifically addresses transport requirements under
FCAA, §110(a)(2)(D) for the 2015 ozone NAAQS. The remaining infrastructure requirements of
FCAA, §110(a)(2)(A) through (M) are addressed in a separate SIP revision submitted
concurrently. This SIP revision documents how the transport elements listed in FCAA,
§110(a)(2)(D) are currently addressed in the Louisiana SIP and provides supporting information
which indicated that Louisiana meets the interstate transport requirements of FCAA,
§110(a)(2)(D)(i) and (ii).
Pursuant to FCAA, §110(a)(2)(D)(i), this SIP revision must contain elements that provide
supporting information demonstrating that Louisiana:

      does not contribute significantly to nonattainment of the 2015 ozone NAAQS for areas in
       other states;
      does not interfere with the maintenance of the 2015 ozone NAAQS in any other state;
      does not interfere with measures required to meet an implementation plan for any other
       state related to prevention of significant deterioration (PSD); and
      does not interfere with measures required to meet the implementation plan for any other
       state related to regional haze and visibility.

In addition, pursuant to FCAA, §110(a)(2)(D)(ii), this SIP revision must provide information
demonstrating compliance with the applicable requirements of FCAA, §126 and §115 relating to
interstate and international pollution abatement.

To meet the requirements of FCAA, §110(a)(2)(D)(i)(I), this SIP revision includes an analysis of
ozone design value and emissions trends in Louisiana and an analysis of the impacts of
Louisiana’s emissions on other states. A discussion of existing ozone control strategies is
included to demonstrate emissions from Louisiana do not contribute significantly to
nonattainment or interfere with maintenance of the 2015 ozone NAAQS in another state.
       Case: 23-60069          Document: 438-3     Page: 11        Date Filed: 09/26/2023




                                       Table of Contents
Executive Summary
Chapter 1 General
  1.1 Background
  1.2 Public Notice and Comments
Chapter 2 Ozone Data
  2.1 Introduction
  2.2 Historical Design Value Trends
  2.3 Ozone Emissions Trends in Louisiana
    2.3.1 Historical Ozone Precursor Emissions Inventory Trends
Chapter 3 Significant Contribution to Nonattainment and Interference with Maintenance
  3.1 Introduction
  3.2 Discussion of Texas monitors
Chapter 4 Control Strategies
Chapter 5 Prevention of Significant Deterioration and Visibility
Chapter 6 Interstate Pollution Abatement
  6.1 Interstate Pollution Abatement
  6.2 International Air Pollution
Chapter 7 Conclusions
Chapter 8 Future Revisions to the National Ambient Air Quality Standards (NAAQS)
Appendix A: Potpourri Notice
Appendix B: Interstate Pollution Abatement Support Documents
Appendix C: International Air Pollution Support Documents
       Case: 23-60069        Document: 438-3        Page: 12      Date Filed: 09/26/2023




                                       Chapter 1: General


1.1 Background


On October 1, 2015, the United States Environmental Protection Agency (EPA) revised the
primary and secondary NAAQS for ozone to an eight-hour standard of 0.070 parts per million
(ppm) or 70 parts per billion (ppb) (80 Federal Register (FR) 65291, October 26, 2015). Within
three years of the promulgation of any new or revised NAAQS, FCAA, §110(a)(1) requires
states to submit a SIP revision to provide for the implementation, maintenance, and enforcement
of the NAAQS. Section 110(a)(2)(A) through (M), lists the elements that the SIP submissions
must contain. This SIP revision specifically addresses transport requirements under FCAA,
§110(a)(2)(D). The Louisiana Department of Environmental Quality (LDEQ) addressed the
infrastructure requirements of FCAA, §110(a)(2)(A) through (C) and (E) through (M) in a
separate concurrent SIP. Submittal of this SIP revision and the infrastructure SIP revision
covering FCAA, §110(a)(2)(A) through (C) and (E) through (M) fulfil the FCAA, §110(a)(1)
requirement.

Pursuant to FCAA, §110(a)(2)(D)(i), this transport SIP revision must contain adequate
provisions that prohibit any source or other type of emissions activity within the state from
emitting any NAAQS pollutants in amounts that will:

       • contribute significantly to nonattainment of the 2015 ozone NAAQS for areas in other
          states;
       • interfere with the maintenance of the 2015 ozone NAAQS in any other state;
       • interfere with measures required to meet an implementation plan for any other state
          related to prevention of significant deterioration (PSD); and
       • interfere with measures required to meet the implementation plan for any other state
          related to regional haze and visibility.

In addition, pursuant to FCAA, §110(a)(2)(D)(ii), this SIP revision must provide information
demonstrating compliance with the applicable requirements of FCAA, §126 and §115 relating to
interstate and international pollution abatement.

On March 27, 2018, EPA provided projected air quality modeling results for ozone in 2023
including projected ozone concentrations at potential nonattainment and maintenance sites for
the 2015 Ozone NAAQS and projected upwind state contribution data. EPA invited states to use
this data to develop SIPs to assure that emissions within their jurisdictions do not contribute
significantly to nonattainment or interfere with maintenance of the 2015 ozone standards in other
states. EPA included a preliminary list of potential flexibilities in analytical approaches for
developing a good neighbor SIP in the memorandum. EPA then opened this matter up for
discussion and comment. Following a comment period, EPA revised the contribution metric
spreadsheet to include 2014-2016 design values as well as information regarding “home state”
and upwind state collective contributions. EPA also published the following memorandum to
assist states in constructing approvable SIPs:
       Case: 23-60069        Document: 438-3        Page: 13     Date Filed: 09/26/2023




              Analysis of Contribution Thresholds Memo (signed August 2018)
                  o Contribution Threshold Analysis for 2015 NAAQS Ozone Transport
              Consideration for Identifying Maintenance Receptors Memo (signed October
               2018)
                  o Ozone Monitoring Site Design Values for 2008-2017 and for 2023
                  o State-Level Annual Anthropogenic NOx and VOC Emission for 2011
                      through 2017 and for 2023.

This SIP revision includes an analysis of required transport elements in FCAA, §110(a)(2)(D)(i)
and (ii) consistent with statutory requirements and includes a technical and regulatory provisions
that support the conclusion that Louisiana meets the requirements of each section. The LDEQ
acknowledges that changes to federal regulations may have future impacts on how the LDEQ
meets the requirements of FCAA, §110(a)(2)(D); however, this SIP revision reflects the methods
and means by which Louisiana meets these requirements at the time this SIP revision was
developed. Should future federal rule changes necessitate state rule changes, the LDEQ will act
appropriately at that time.


1.2 Public Notice and Comments


Louisiana published its Potpourri Notice in the August 20, 2018 volume of the Louisiana
Register. The public comment period closed on September 20, 2018. EPA Region 6 submitted
written comments; LDEQ did not hold a public hearing on this matter.
       Case: 23-60069        Document: 438-3        Page: 14     Date Filed: 09/26/2023




                                    Chapter 2: Ozone Data


2.1 Introduction


Ground-level Ozone (O3), regulated by the NAAQS, is a secondary pollutant that is formed by a
photochemical reaction between precursor compounds, nitrogen oxides (NOX) and volatile
organic compounds (VOC). Ozone is created and destroyed on a natural cycle according to
atmospheric conditions and chemical concentrations of precursor compounds, NOX and VOC,
from both natural and anthropogenic sources.
The concentration of ozone is determined by the balance between chemical processes that
produce and destroy ozone. The balance is determined by the concentration of precursor
compounds, sunlight intensity, and other meteorological conditions, such as wind direction and
speed, temperature, mixing height and other parameters. The rate of ozone production can be
limited by reducing the concentration of the precursor compounds available for ozone formation.
Ozone precursor compounds also exist under natural conditions. Ozone formation from naturally
occurring precursor compounds is known as “background” ozone. Background ozone can be
produced from natural local sources or transported via winds from distant natural sources, such
as the stratosphere or another region or country. The contribution of background ozone must be
considered when evaluating ozone concentrations but is difficult to quantify.
The anthropogenic precursors of ozone originate from a wide variety of stationary and mobile
sources. Through the development of complete and accurate emission inventories and
Photochemical Assessment Monitoring Stations (PAMS), the sources and concentrations of
anthropogenic ozone and ozone precursors can be identified. This chapter will discuss trends in
ozone and ozone precursor emissions in Louisiana to demonstrate the progress the state has made
towards achieving the NAAQS and reducing ozone precursor pollutants.
2.2 Historical Design Value Trends

A design value is a statistic that is used to compare air quality data to the NAAQS. For eight-
hour ozone, a design value is the three-year average of the fourth-highest daily maximum eight-
hour averaged ozone concentration. The latest year in the three-year average is used to represent
the design value for that three-year period. Design values are calculated at each ozone monitor
within an area and the monitor with the highest design value determines the design value for the
area. Although the eight-hour ozone NAAQS is reported in ppm, design values in this chapter
are displayed in parts per billion (ppb) for ease of reading.
The 2015 eight-hour primary and secondary ozone ambient air quality standards are met when
the design value is less than or equal to 70 ppb. Eight-hour ozone design value trends by
Louisiana area are displayed in Figure 2.2-1: Eight-Hour Ozone Design Values in Louisiana.
Figure 2.2-1 shows that all areas of Louisiana have shown decreases in design values over the
                                Case: 23-60069            Document: 438-3           Page: 15        Date Filed: 09/26/2023




past 15 years. As mentioned above, all areas in Louisiana are measuring below the 2015 ozone
NAAQS of 70 ppb.



                                         Figure 2.2-1: Eight-Hour Ozone Deisgn Values in Louisiana
                               95


                               90


                               85

                                                                                                                      Baton Rouge
     parts per billion (ppb)




                               80                                                                                     Shreveport
                                                                                                                      Lake Charles
                               75                                                                                     Lafayette
                                                                                                                      Houma
                               70                                                                                     Monroe
                                                                                                                      New Orleans
                               65


                               60


                               55
                                    2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017




2.3 Ozone Emissions Trends in Louisiana


The LDEQ, in accordance with the EPA’s Air Emissions Reporting Requirements1, develops an
inventory of information for sources of ozone precursor emissions (NOX and VOC) that
identifies the types of emissions sources present in the state, the amount of each pollutant
emitted, and the types of processes and control devices employed at each facility. The emissions
inventory provides data for a variety of air quality planning tasks, including establishing baseline
emissions levels, calculating reduction targets, developing control strategies to achieve emissions
reductions, developing emissions inputs for air quality models, and tracking actual emissions
reductions against established emissions growth and control budgets.



1
    40 Code of Federal Regulations (CFR) Part 51, Subpart A
       Case: 23-60069        Document: 438-3           Page: 16        Date Filed: 09/26/2023




Ten years of anthropogenic emissions data (2005 through 2014) were analyzed to develop
historical trend data. During this time, the emissions inventory for Louisiana showed significant
decreases in ozone precursor emissions, as detailed in Section 2.3.1 Historical Ozone Precursor
Emissions Inventory Trends. In addition, detailed point source category emissions inventory
data, limited to stationary point source emissions (2014 through 2017), were also analyzed for
historical trends. These reductions contributed to the attainment of both the one-hour and the
eight-hour ozone NAAQS.
2.3.1 Historical Ozone Precursor Emissions Inventory Trends


For the 10-year historical period up to and including 2014 (2005 through 2014), overall
anthropogenic ozone precursor emissions in Louisiana has decreased. As demonstrated in Figure
2.3.1-1: Historical Ozone Precursor Trends, anthropogenic NOX emissions decreased 42% and
anthropogenic VOC emissions decreased 61% from 2005 through 2014. These emission
reductions were the result of regulations implemented at the federal, state, and local levels and
innovative programs implemented by the LDEQ.

                    Figre 2.3.1-1: Historical Ozone Precursor Trends
 3000000



 2500000



 2000000



 1500000



 1000000



  500000



       0
                  2005                   2008                   2011                  2014
                                                                                    Source: USEPA
                              Volatile Organic Compounds   Nitrogen Oxides          National Emission




Annual point source category emissions inventory data collected since the last periodic emissions
inventory, 2014 through 2017, indicates a continued trend of ozone precursor emissions
          Case: 23-60069   Document: 438-3       Page: 17     Date Filed: 09/26/2023




reductions. As demonstrated in Figure 2.3.1-2: Point Source Ozone Precursor Trends,
anthropogenic emissions have decreased a combined 3% between 2014 and 2017.

                   Figre 2.3.1-2: Point Source Ozone Precursor Trends
 250000




 200000




 150000

                                                                                      NOx
                                                                                      Total VOC
 100000




  50000




     0
                 2014            2015              2016              2017
       Case: 23-60069         Document: 438-3        Page: 18      Date Filed: 09/26/2023




Chapter 3: Significant Contribution to Nonattainment and Interference with Maintenance
                                         Areas


3.1 Introduction


The Clean Air Act requires states to submit a SIP revision that contains adequate provisions to
prohibit any source or other type of emissions activity within the state from emitting any air
pollutants in amounts that will contribute significantly to nonattainment of the NAAQS for areas
in other states or interfere with maintenance of the NAAQS in any other state. The purpose of
FCAA’s §110(a)(2)(D)(i)(I), also known as the “good neighbor” provision, is to ensure that
emissions in one state that contribute significantly to nonattainment or interfere with
maintenance in another state are addressed appropriately.

For this SIP revision, the key aspect of fulfilling this obligation is to determine if emissions from
Louisiana contribute significantly to nonattainment or interfere with maintenance of the 2015
eight-hour ozone NAAQS in another state. State data analysis demonstrate that emissions from
Louisiana do not contribute significantly to nonattainment or interfere with maintenance of the
2015 eight-hour ozone NAAQS in another state.

The approach used by the LDEQ to determine if emissions from Louisiana contribute
significantly to nonattainment or interfere with maintenance at downwind monitors in another
state is based partly on the EPA’s Contribution Metric Spreadsheet, 2015 Ozone NAAQS
Interstate Transport Assessment Design Values and Contributions, published May 2018. The
LDEQ used a three-step approach, detailed below, to determine if emissions from Louisiana
contribute significantly to nonattainment or interfere with maintenance at downwind monitors in
another state.
         Step 1: Identify monitors projected to be in nonattainment or have maintenance issues in
         a future year.
         Step 2: Identify projected nonattainment and/or maintenance monitors in other states that
         might be impacted by emissions from Louisiana, tagging them for further review.
         Step 3: Determine if emissions from Louisiana contribute significantly to nonattainment
         or interfere with maintenance at the monitors tagged for review in Step 2.

The EPA used a four-step framework, referred to as the Cross-State Air Pollution Rule (CSAPR)
framework, to address the requirements of the “good neighbor” provision in the 2015 Transport
Notice Of Data Availability (NODA). From the 2015 Transport NODA, the four steps in the
CSAPR framework are as follows (82 FR 1735):

       “[1] Identifying downwind receptors that are expected to have problems attaining or
       maintaining clean air standards (i.e., NAAQS);

       [2] Determining which states contribute to these problems in amounts sufficient to “link”
       them to the downwind air quality problems;
       Case: 23-60069        Document: 438-3        Page: 19     Date Filed: 09/26/2023




       [3] For states linked to downwind air quality problems, identifying upwind emissions that
       significantly contribute to nonattainment or interfere with maintenance of the NAAQS by
       quantifying upwind reductions in ozone precursor emissions and apportioning emissions
       reduction responsibility among upwind states; and

       [4] For states that are found to have emissions that significantly contribute to
       nonattainment or interfere with maintenance of the NAAQS downwind, adopting SIPs or
       FIPs that eliminate such emissions.”

The LDEQ’s three-step process covers steps [1] and [2] of the four-step framework. Step 1 of the
LDEQ’s three-step process is the same as step [1] of the EPA’s four-step framework. Steps 2 and
3 of the LDEQ’s process together are equivalent to step [2] of the EPA’s framework. Steps [3]
and [4] of EPA’s framework are relevant only if emissions from Louisiana contribute
significantly to nonattainment or interfere with maintenance at downwind monitors in another
state and are therefore not addressed in this SIP revision.

In the 2015 Transport NODA, upwind states with contributions greater than or equal to 0.7 ppb
to a monitor’s future year design value are linked to the downwind monitor. Once the linkages
have been established, the portion of emissions from linked states that were determined by the
EPA to have contributed significantly to nonattainment or interfere with maintenance are
identified (Steps 2 and 3, respectively, of the EPA’s four-step framework). The EPA’s
framework establishes the 1% of NAAQS threshold as the default definition of significant
contribution to nonattainment or interference with maintenance. The LDEQ has maintained that
an arbitrary threshold of 1% of the NAAQS for significant contribution to nonattainment or
interference with maintenance is not applicable because the value is not detectable by the
monitor and following the manner in which a design value is calculates, one percent of the
standard would be truncated to zero. Therefore, Louisiana will use the flexibility allowed in the
March 2018 memorandum allowing the use of 1 ppb. In the 2015 Transport NODA, the EPA
acknowledges that a contribution of 1% of the NAAQS from an upwind state alone does not
determine whether the upwind state significantly contributes to nonattainment or interferes with
maintenance of a NAAQS to a downwind state (FR 82 1740). The LDEQ believes that it is
critical to determine if emissions from an upwind state contribute significantly to nonattainment
or interfere with maintenance prior to the identification (and subsequent reduction) of such
emissions. Based upon this discussion, the monitors in Michigan and Wisconsin will not be
discussed as the receptor value is less than 1 ppb.

Since there could be considerable variation in the characteristics of the ozone problem at each
monitor, not all factors were considered or analyzed for every monitor. In addition, the use of 1%
of the NAAQS threshold for modeled contribution as the sole definition of significant
contribution is inappropriate for the 2015 ozone NAAQS since the more stringent 0.7 ppb
threshold is an order of magnitude smaller than the biases and errors typically documented for
regional photochemical modeling (Simon et al., 2012). The Louisiana contribution should be
deemed “significant” only if there is a persistent and consistent pattern of contribution on
several days with elevated ozone.
       Case: 23-60069        Document: 438-3        Page: 20      Date Filed: 09/26/2023




3.2 Discussion of Texas monitors


Step 1 and 2: Identification of Projected Nonattainment and Maintenance Monitors based upon
receptor values equal to or greater than 1 ppb:

      Dallas/Fort Worth Area Monitors and modeled contribution:
          o Denton Airport South (481210034)                   1.92 ppb
          o FAA Site Off Alta Vista Road (484392003)           1.71 ppb
      Houston/Galveston
          o Croix Parkway (480391004)                          3.80 ppb
          o Aldine Mail Road (482010024)                       3.06 ppb
          o Durant Street (482011039)                          4.72 ppb


Step 3: Do emissions from Louisiana contribute significantly to nonattainment or interfere with
maintenance at the monitors outlined in Steps 1 and 2:
While Louisiana contributes to the monitors outlined in the Dallas and Houston areas, an
analysis of back trajectory of air parcel movement and a review of the EPA modeling of
interstate impact on air monitors indicates the contribution by Louisiana to exceedances at Texas
monitors is insignificant.
Back Trajectory Analysis

LDEQ has performed 99 back trajectories on the most recent three years of exceedances for all
of the monitors listed above. The Hybrid Single Particle Lagrangian Integrated Trajectory
(HYSPLIT) Models related to ozone standard exceedances at Houston and Dallas
area monitors during the 2016, 2017 and 2018 years illustrate backwards trajectories for the air
parcels present at the monitors when the exceedances occurred. The source location for each of
the models are plotted based off latitude, longitude and meters above mean sea level (AMSL)
data obtained from the Texas Commission on Environmental Quality website. The projections
depict a composite of four backwards trajectories starting at the location of the monitor and
tracking the air in reverse for seventy-two hours. Each projection accounts for one eight-hour
exceedance period with the four trajectories beginning their routes at the six, four, two and zero
hour marks. See Appendix B.
Of the 99-exceedance trajectories performed, approximately 28% of the trajectories travel in or
through Louisiana. Only eight percent of those trajectories originate in Louisiana. The areas in
northern Louisiana are rural/farmland with limited precursor pollutants; however, the areas in
south Louisiana are heavy industrial and it is highly probable that transport adds to the ozone
mix.

Additional modeling was performed to evaluate the exceedances that revealed trajectories
originating in or crossing Louisiana to include Mixing Depth (in meters) and provide one
trajectory for the beginning of each hour of the daily eight-hour ozone exceedance for the
exceedance to identify the areas of the state most often impacting Texas monitor exceedances.
       Case: 23-60069         Document: 438-3         Page: 21       Date Filed: 09/26/2023




Trajectories originating in and crossing Louisiana in northern and central Louisiana are
rural/farmland with limited population and sources of precursor pollutants. Trajectories
originating in and crossing south Louisiana are heavy industrial and it is highly probable that
transport adds to the ozone mix. Only 35 percent of the trajectories originate in or cross south
Louisiana. See Appendix B.

EPA Modeling
According to the results of EPA’s 2015 Ozone NAAQS Interstate Transport Assessment Design
Values and Contributions, Louisiana contributes approximately 1-2 ppb of ozone to the Dallas
region and 3-4ppb of ozone to the Houston region. Conversely, the same model results indicate
that Texas contributes 5-6 ppb of ozone to Louisiana’s monitors in the Shreveport area and 11
ppb of ozone to the monitors in Calcasieu Parish.
The back trajectory analysis and EPA modeling indicate that there is minimal contribution of
Louisiana on Dallas and Houston, TX monitor ozone exceedances. Impact from Louisiana is
insignificant to the overall attainment at the monitors at the Houston and Dallas area monitors
due to the limited industrial and residential activity in the path of the air affecting the monitors.
A comparison of EPA’s modeled contribution between Texas and Louisiana monitors indicates
that a far greater proportion of the total Ozone detected in Louisiana originates in Texas rather
than vice versa.
       Case: 23-60069        Document: 438-3        Page: 22     Date Filed: 09/26/2023




                                Chapter 4: Control Strategies


On September 29, 2016, the United States Environmental Protection Agency (EPA) made the
first round of designations for the 2015 eight-hour ozone NAAQS, designating 59 of the 64
parishes in Louisiana as attainment/unclassifiable. On December 20, 2017, the EPA sent 120-day
letters responding to state recommendations for remaining area designations. The remaining five
parishes were designated attainment for the 2015 Ozone NAAQS.


Louisiana has implemented enforceable emission control regulations to ensure continued
maintenance of the 2015 Ozone NAAQS. Control measures also have been developed,
promulgated, and implemented at the federal level to reduce ozone-forming emissions of NOx
and VOC. Development and subsequent implementation of other federal measures will result in
additional emission reductions of NOx and VOC during the 10-year maintenance period. Federal
measures which have been implemented or are currently in some phase of implementation
include, but are not limited to:
          •   Various New Source Performance Standards (NSPS) and National Emission
              Standards for Hazardous Air Pollutants (NESHAP)to control NOx and VOC
          •   Tier 2 – Motor Vehicle Emission Standards and Gasoline Sulfur Control
              Requirements (65 FR 6697)
          •   Tier 3 – Motor Vehicle Emission and Fuel Standards (79 FR 23414)
          •   Tier 4 – Heavy-Duty Engine and Vehicle Standards and Highway Diesel Fuel
              Sulfur Control Requirements – Tier 4(66 FR 5002)
          •   Control of Emissions from Nonroad Diesel Engines and Fuels (69 FR 38958)
          •   Cross-State Air Pollution Rule (CSAPR) (79 FR 71663)
          •   Control of Air Pollution from Aircraft and Aircraft Engines; Proposed Emission
              Standards and Test Procedures (76 FR 45012)
          •   Carbon Pollution Emission Guidelines for Existing Stationary Sources: EGUs
              (electric generating units) in Indian Country and U.S. Territories (79 FR 34829)
Louisiana will continue to operate an ambient ozone monitoring network to verify continued
attainment of the 8-hour Ozone NAAQS. The air monitoring results will reveal changes in the
ambient air quality as well as assist Louisiana in determining whether or not implementation of
any contingency measures is necessary. The state will continue to work with US EPA through
the air monitoring network review process, as required by 40 CFR 58, to determine:
          1) the adequacy of the ozone monitoring network;
          2) if additional monitoring is needed; and
          3) when monitoring can be discontinued.
Air monitoring data will continue to be quality assured according to federal requirements.
       Case: 23-60069        Document: 438-3        Page: 23     Date Filed: 09/26/2023




The LDEQ will continue to submit annual updates to US EPA for point sources and triennial
updates for all sources in accordance with 40 CFR Part 51 Subpart A – Air Emissions Reporting
Requirements (AERR). Louisiana will also make comparisons of the EI data submitted on an
annual and triennial basis to the NEI with the emission growth data submitted in this plan to
ensure emission reductions continue the downward trend.



              Chapter 5: Prevention of Significant Deterioration and Visibility


The FCAA, §110(a)(2)(D)(i)(II), requires states to submit a SIP revision that contains adequate
provisions to prohibit any source or other type of emissions activity within the state from
emitting any air pollutants in amounts that will interfere with measures required to meet an
implementation plan for any other state related to prevention of significant deterioration (PSD)
or interfere with measures required to meet the implementation plan for any other state related to
regional haze and visibility. The following section provides information on how Louisiana meets
the requirements of FCAA, §110(a)(2)(D)(i)(II).
Louisiana has a SIP-approved PSD and nonattainment New Source Review (NSR) permitting
program that contains requirements for sources of air pollutants to obtain an approved permit
before beginning construction of a facility and before modifying an existing facility. The LDEQ
has established rules governing the enforcement of control measures, including attainment plans
and permitting programs that regulate construction and modification of stationary sources.



                          Chapter 6: Interstate Pollution Abatement


The requirements of FCAA, §110(a)(2)(D)(ii) are satisfied by demonstrating compliance with
the applicable requirements of FCAA, §126(a), 126(b) and (c), and 115.
Under section 126(a)(1) of the FCAA, a SIP must contain provisions requiring each new or
modified major source required by FCAA title I part C to be subject to prevention of significant
deterioration (PSD) permitting to notify neighboring air agencies of potential impacts from the
source. Per guidance on development and submission of infrastructure SIPs, issued by the United
States Environmental Protection Agency (EPA) on September 13, 2013, the EPA considers the
notification by the permitting authority to satisfy the requirement of FCAA, §126(a)(1)(A) that a
new or modified major source subject to part C notify neighboring air agencies of its potential
downwind impact. Louisiana has a SIP-approved PSD permitting program that contains
requirements for the permitting authority to notify air agencies whose lands may be affected by
emissions from that source.
The required content of an infrastructure SIP with respect to FCAA, §110(a)(2)(D)(ii) is affected
by sections 126(b) and 126(c) of the FCAA only if: (1) the Administrator has, in response to a
petition, made a finding under section 126(b) of the FCAA that emissions from a source or
       Case: 23-60069        Document: 438-3        Page: 24      Date Filed: 09/26/2023




sources within the air agency’s jurisdiction emit prohibited amounts of air pollution relevant to
the new or revised NAAQS for which the infrastructure SIP submission is being made; and (2)
under section 126(c) of the FCAA, the Administrator has required the source or sources to cease
construction, cease or reduce operations, or comply with emissions limitations and compliance
schedule requirements for continued operation.

No source or sources within Louisiana are the subject of an active finding under section 126 of
the FCAA with respect to the 2015 ozone NAAQS.
6.1 Interstate Pollution Abatement


The dynamic characteristic of the atmosphere that surrounds Earth seems entirely chaotic, but
after extensive observation, patterns in its behavior tend to emerge. These patterns are most
easily observed on a global scale with local wind characteristics reflecting the larger
configuration. North American atmospheric events tend to exhibit a predominantly west to east
course. Global pressure systems create wind for Texas during the ozone season (May to
September) that mostly comes from the Gulf of Mexico until near the end of the ozone season
where the state receives wind from the north. Air trajectory models and surface and upper air
maps indicate that these conditions were also true for the 2011 ozone season, and wind roses
show that these patterns are consistent with other years.

During the boreal summer months, mid-latitude cyclones in the northern hemisphere move into
the upper mid-latitudes and relinquish control of the wind in the lower mid-latitudes. Global
semi-permanent pressure systems begin to influence wind direction in these areas. They are not
as violent as mid-latitude cyclones but they produce massive areas of relatively consistent wind
patterns. The Bermuda-Azores High in the Northern Atlantic drives wind through the Gulf and
on shore to the western Gulf Coast during these months and the majority of the ozone season.
Wind roses from locations in the eastern half of Texas and southwestern Louisiana, indicate that
a predominantly southern wind impacts these areas for the majority of the year, and gives way
only occasionally to a northern wind.

Maps of the surface and lower tropospheric conditions from the National Oceanic and
Atmospheric Administration (NOAA) for the 2011 ozone season show that the air impacting the
eastern half of Texas most often came from the Gulf. An exception to this pattern can be seen
during the last month of the ozone season where northern winds blow into East Texas. It is
uncommon for the wind barbs on these maps to indicate easterly winds out of Louisiana making
their way into Texas. Mass transport of air from Louisiana into Texas would be a rare
occurrence. These maps show atmospheric conditions for several locations for one moment in
time where NOAA models can track air from one location over time.

Being able to trace air parcel tracks from a specific location can give valuable insight on the
wind patterns that affect those locations. A backwards trajectory for air present at a place, such
as an ozone monitor, can be calculated by the Hybrid Single Particle Lagrangian Integrated
Trajectory (HYSPLIT) Model. The backwards trajectory HYSPLIT models for air parcels
present on the eastern side of Houston, Texas and the northeastern side of Dallas, Texas during
the 2011 ozone season illustrate that these cities in Texas were receiving air from the Gulf and
       Case: 23-60069        Document: 438-3        Page: 25      Date Filed: 09/26/2023




Caribbean regions with few exceptions. The majority of those exceptions were air parcels
coming in from the north or northeast and only occurred during the end of the ozone season.
Models with the same parameters from recent and previous years displayed results that were
consistent with the 2011 ozone season model results.

The presence of models that display air particle trajectories support both the average and specific
wind data as well as the general understandings of global relative pressure and how they dictate
wind patterns. These patterns are the outline to our guide for understanding and forecasting the
atmosphere.


6.2 International Air Pollution


Section 115 of the FCAA authorizes the EPA Administrator to require a state to revise its SIP
under certain conditions to alleviate international transport into another country. When acting on
an infrastructure SIP submission for a new or revised NAAQS, the EPA will look to whether the
Administrator has made a finding with respect to emissions of the particular NAAQS pollutant
and its precursors, if applicable. There are no final findings under section 115 of the FCAA
against the State of Louisiana with respect to the 2015 ozone NAAQS.



                                     Chapter 7: Conclusion


Louisiana is attainment for all ozone standards and continues to use anti-backsliding measures to
ensure that the air quality remains compliant with all state and federal regulations. Furthermore,
Louisiana has an approved Regional Haze SIP, and is included in Cross State Air Pollution Rule
for summertime NOx. Transport of air pollution to the reference monitors is at such a level that
any further requirement for industrial controls at this point would be cost prohibitive. In
conclusion, this SIP revision demonstrates that Louisiana meets the interstate transport
requirements of FCAA, §110(a)(2)(D)(i)(I) as well as the requirements of FCAA,
§110(a)(2)(D)(i)(II) for prevention of significant deterioration and visibility transport and the
interstate pollution abatement and international air pollution requirements of FCAA,
§110(a)(2)(D)(ii).
Case: 23-60069   Document: 438-3   Page: 26       Date Filed: 09/26/2023




                   Appendix A: Potpourri Notice
Case: 23-60069   Document: 438-3   Page: 27   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 28   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 29   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 30   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 31   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 32   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 33   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 34   Date Filed: 09/26/2023
Case: 23-60069         Document: 438-3         Page: 35       Date Filed: 09/26/2023




Interstate Transport State Implementation Plan
Response to Comment:

Louisiana appreciates the time and effort of EPA Region 6 to make the suggestions and
additional analyses that have improved this submittal. The state has relied upon all data
and memorandum produced by EPA in this matter.

Comment: Identify the 2023 nonattainment and maintenance receptors in downwind
states.
Response: Louisiana has identified the receptors in the body of the document

Comment: Identify whether the state will use the 1% or 1PPB threshold contribution for
determining contribution to a nonattainment or maintenance receptor
Response: Louisiana will use the 1 PPB threshold contribution for determining
contribution to a nonattainment or maintenance receptor.

Comment: Define “a persistent and consistent pattern” in terms of defining impacts on
downwind states.
Response: Louisiana has defined the pattern and has provided back trajectories on those
monitored exceedances for the 2016-2018 ozone seasons, which will show that the
definition is applicable to the conclusion.

Comment: Improve and support alternative techniques to assess the significance of
contributions for Step 2.
Response: The state has added back trajectories for 99 exceedances at the receptors for
the 2016-2018 ozone season. All data was derived from the TCEQ website.
Case: 23-60069   Document: 438-3     Page: 36    Date Filed: 09/26/2023




     Appendix B: Interstate Pollution Abatement Support Documents
    Case: 23-60069     Document: 438-3        Page: 37      Date Filed: 09/26/2023




Back Trajectories of 2016-2018 Ozone Exceedances at Model Receptors
                     Louisiana Department of Environmental Quality
Case: 23-60069   Document: 438-3   Page: 38   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 39   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 40   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 41   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 42   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 43   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 44   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 45   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 46   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 47   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 48   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 49   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 50   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 51   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 52   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 53   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 54   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 55   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 56   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 57   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 58   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 59   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 60   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 61   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 62   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 63   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 64   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 65   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 66   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 67   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 68   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 69   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 70   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 71   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 72   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 73   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 74   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 75   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 76   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 77   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 78   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 79   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 80   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 81   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 82   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 83   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 84   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 85   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 86   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 87   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 88   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 89   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 90   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 91   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 92   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 93   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 94   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 95   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 96   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 97   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 98   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 99   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 100   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 101   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 102   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 103   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 104   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 105   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 106   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 107   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 108   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 109   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 110   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 111   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 112   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 113   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 114   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 115   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 116   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 117   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 118   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 119   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 120   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 121   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 122   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 123   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 124   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 125   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 126   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 127   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 128   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 129   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 130   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 131   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 132   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 133   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 134   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 135   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 136   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 137   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 138   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 139   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 140   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 141   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 142   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 143   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 144   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 145   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 146   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 147   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 148   Date Filed: 09/26/2023
  Case: 23-60069   Document: 438-3   Page: 149   Date Filed: 09/26/2023




Tab HQ-125: Comment submitted by Toby Baker, Executive
 Director, Texas Commission on Environmental Quality
   (TCEQ) (Dec. 14, 2020) (EPA-HQ-OAR-2020-0272-0125)
            Case: 23-60069            Document: 438-3                  Page: 150   Date Filed: 09/26/2023
Jon Niermann, Chairman
Emily Lindley, Commissioner
Bobby Janecka, Commissioner
Toby Baker, Executive Director




                        TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
                                    Protecting Texas by Reducing and Preventing Pollution

                                                  December 14, 2020


    United States Environmental Protection Agency
    Docket ID No. EPA-HQ-OAR-2020-0272
    [Submitted electronically through www.regulations.gov]


    RE: Comments on Proposed Rule; Revised Cross-State Air Pollution Rule (CSAPR)
    Update for the 2008 Ozone National Ambient Air Quality Standard (NAAQS) (Docket ID
    No. EPA-HQ-OAR-2020-0272)

    Dear Mr. Daniel Hooper:

    The Texas Commission on Environmental Quality appreciates the opportunity to
    comment on the proposed Revised Cross-State Air Pollution Rule (CSAPR) Update for
    the 2008 Ozone National Ambient Air Quality Standard published on October 30, 2020
    (85 Federal Register 68964). Detailed comments are enclosed. If you have any
    questions concerning the TCEQ’s comments, please contact Ms. Donna F. Huff, Deputy
    Director, Air Quality Division, at (512) 239-6628 or by email at
    donna.huff@tceq.texas.gov.


    Sincerely,




    Toby Baker
    Executive Director

    Enclosure




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     Case: 23-60069     Document: 438-3     Page: 151     Date Filed: 09/26/2023




      COMMENTS BY THE TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
 PROPOSED RULE; REVISED CROSS-STATE AIR POLLUTION RULE UPDATE FOR THE 2008
             OZONE NATIONAL AMBIENT AIR QUALITY STANDARD
                    (DOCKET ID NO. EPA-HQ-OAR-2020-0272)

I. SUMMARY

On October 30, 2020, the United States Environmental Protection Agency (EPA)
proposed the Revised Cross-State Air Pollution Rule (CSAPR) Update for the 2008
Ozone National Ambient Air Quality Standard (NAAQS) (85 Federal Register (FR)
68964). The EPA’s CSAPR Update (81 FR 74504, October 26, 2016) finalized Federal
Implementation Plans (FIPs) for 22 states, including Texas, that established nitrogen
oxides (NOX) ozone season emission budgets for electric generating units (EGUs) to
address interstate pollution-transport obligations under the Federal Clean Air Act
(FCAA) for the 2008 ozone NAAQS. The proposal also includes administrative changes
to the Texas Sulfur Dioxide Trading Program to ensure consistency with the CSAPR
trading programs.

II. COMMENTS

While the Texas Commission on Environmental Quality (TCEQ) agrees that Texas
should have no further obligations for transport under the 2008 ozone NAAQS, the
TCEQ maintains that Texas meets its obligations for transport under the 2008
ozone NAAQS without inclusion in the CSAPR Update.
As the TCEQ previously commented on the EPA’s July 10, 2018 Determination
Regarding Good Neighbor Obligations for the 2008 Ozone National Ambient Air
Quality Standard (Docket ID No. EPA–HQ–OAR–2018–0225), the TCEQ has
demonstrated that Texas meets the interstate transport requirements of FCAA,
§110(a)(2)(D)(i) for the more stringent 0.070 parts per million standard in the 2015
Ozone NAAQS Transport State Implementation Plan (SIP) Revision adopted by the
commission on August 8, 2018. Based on the rigorous analysis provided in the SIP
revision, emissions from Texas do not contribute significantly to nonattainment or
interfere with maintenance of the 2015 ozone NAAQS in any other state. Therefore, the
CSAPR Update is no longer necessary to ensure that emissions from Texas EGUs do not
significantly contribute to nonattainment or interfere with maintenance for the ozone
NAAQS in areas outside of Texas due to permanent shutdowns of coal-fired units in
Texas that have substantially changed the overall EGU emission performance in the
state. The TCEQ encourages the EPA to consider the changes to the Texas electric
utility sector, as previously commented, and reevaluate the necessity of the CSAPR
Ozone Season NOX program for Texas.

The EPA should provide a second notice and comment opportunity before revising
the proposed determination regarding Texas’ interstate contribution to downwind
areas or the CSAPR Ozone Season NOX program budget for Texas.
The EPA should provide a second notice and comment opportunity if it intends to
revise its proposed determination that Texas is not significantly contributing to
nonattainment in, or interfering with maintenance by, another state for the 2008 ozone
NAAQS. While the EPA included a revised CSAPR budget for Texas with the proposal in
         Case: 23-60069        Document: 438-3         Page: 152      Date Filed: 09/26/2023




the event it did revise the proposed finding for Texas, Texas should be allowed to
examine and comment on the modeling results and any other information the EPA
might rely on to revise its proposed finding. The EPA should not revise Texas’ CSAPR
Ozone Season NOX program budget without providing adequate opportunity for
comment on the basis of the change.

The TCEQ supports the EPA’s intention to limit this regulatory action to only the
outstanding requirements related to the good neighbor obligations under the 2008
ozone NAAQS and not extend or apply it to the good neighbor provisions under the
2015 ozone NAAQS.
The EPA has stated that it will work with states outside of this proposed action to
address the good neighbor provisions for the 2015 ozone NAAQS. The TCEQ supports
this approach and strongly urges the EPA to limit this regulatory action and underlying
modeling, technical analysis, and methodology only to the good neighbor obligations
for the 2008 ozone NAAQS. In line with the timing considerations of the FCAA, Texas
and other states have already submitted SIP revisions to meet their good neighbor
requirements for the 2015 ozone NAAQS. The EPA should not retroactively apply or
evaluate those submitted SIP revisions based on modeling, technical analysis, or
methodology utilized in this regulatory action.

The EPA should conduct full air-quality modeling analysis for its final rule.
The EPA’s use of linear interpolation does not accurately capture impacts of changes in
precursor emissions on ozone formation. The EPA has utilized a linear interpolation
between 2016 and 2023 to estimate 2021 design values (both nonattainment and
maintenance monitor identification) as well as individual state contributions. While the
linear interpolation of design values may be necessary due to the lack of specific year
modeling, impacts of changes in precursor emissions on ozone formation are not
linear. Specifically, ozone response to NOX emission changes from EGUs, the sector
regulated by CSAPR, is highly nonlinear. Further, the linear interpolation of source
apportionment results is inappropriate since the attribution of ozone formed to a
source category depends on the relative amounts of precursor emissions and do not
respond in a linear fashion. The EPA should conduct photochemical modeling with a
2021 emissions inventory so the full impact of the changes in various precursor
emissions are appropriately captured.

The TCEQ appreciates the EPA’s continued efforts to address the land-water
interface issue for monitors located in coastal or “water”1 cells. However, the TCEQ
recommends that the EPA further refine its approach by taking into consideration
factors such as model performance and land-water interfaces.
The EPA’s use of the 3x3 “no water” method to address the land-water interface issue
in coastal or “water” cells should be refined. The EPA’s approach removes water cells
from the design value calculation except when a monitor is located in a “water” cell.
However, this methodology only partially addresses the issue because it does not
account for other factors such as land-water interfaces, model performance biases, etc.
The TCEQ recommends that the EPA further refine its “no water” design value

1
    A grid cell is characterized as a “water” cell if the cell has more than 50% water.
      Case: 23-60069        Document: 438-3       Page: 153      Date Filed: 09/26/2023




calculation to exclude all “water” cells including “water” cells in which a monitor is
located. This refinement is based on a study by Jeongran Yun et al. 2 that compared
different methods to estimate future year design values and found that the “no water
2” method that excluded all “water” cells had better agreement with observed design
values than the 3x3 method or the 3x3 “no water” method used in the Revised CSAPR
Update. In addition, the TCEQ also encourages the EPA to investigate additional
approaches, including fine grid modeling, that account for land-water interfaces.

The EPA’s approach of using an arbitrary threshold of one percent of the NAAQS
for significant contribution to nonattainment or interference with maintenance is
inappropriate and incomplete.
The EPA’s continued use of the one percent of NAAQS threshold as the default
definition of significant contribution to nonattainment or interference with
maintenance is inappropriate because it does not recognize relevant, fact-specific
circumstances. As the TCEQ has previously commented, the use of this threshold is
arbitrary because the uniform and rigid application of it does not take into
consideration the differing ozone chemistry and the attainment and maintenance
challenges faced by different areas. The EPA should perform a more comprehensive
analysis, with an approach based on weight-of-evidence, to determine if emissions
from an upwind state contribute significantly to nonattainment or interfere with
maintenance. Interstate transport is complex and the EPA should use a nuanced
approach that recognizes this complexity by taking into consideration the factors
relevant to the ozone conditions at the downwind monitors. Examples of factors that
could be considered include the current attainment status of the monitors, design
value trends, the meteorological conditions that lead to high ozone formation at the
monitor, back trajectory analysis on elevated ozone days, and the number of days with
elevated ozone (observed and modeled). The EPA’s approach of using an arbitrary
threshold of one percent of the NAAQS for assessing significant contribution to
nonattainment or interference with maintenance is inappropriate and incomplete.

The TCEQ disagrees with the EPA’s definition of and methodology to identify
“Maintenance Receptors.”
The EPA’s methodology to identify maintenance monitors should give greater weight to
emissions reductions. The EPA continues to use the maximum of the three consecutive
regulatory design values that include the fourth highest eight-hour maximum daily
ozone concentration from the base year as the baseline design value (DVB) to identify
maintenance monitors. This approach places more emphasis on meteorological
variability and discounts the role continued emissions reductions play in bringing an
area into attainment as well as maintaining its air quality status. On page 12 of the Air
Quality Modeling Technical Support Document for the Proposed Revised Cross-State
Air Pollution Rule Update, the EPA states “Maintenance-only receptors include…sites
with projected design values above NAAQS that are currently measuring clean data…”
This approach disregards possible SIP mechanisms such as contingency plans, thereby
ignoring the role that emissions reductions and maintenance plan requirements play in

2
 Jeongran Yun et. al., 2020, “Evaluation of four different methods to calculate relative response
factors and estimated future year ozone design values”, 19th Annual Community Modeling and
Analysis System Conference, October 2020.
      Case: 23-60069          Document: 438-3         Page: 154      Date Filed: 09/26/2023




the attainment and maintenance of a standard. The EPA should consider alternative
methods, as discussed in Considerations for Identifying Maintenance Receptors Memo 3,
such as the use of the latest of the three consecutive regulatory design values
containing the base year as the DVB, to identify maintenance monitors. Further, the EPA
should account for current air quality when identifying maintenance areas and not
designate a monitor as a “maintenance” monitor if it is currently attaining the
standard.

The TCEQ reiterates the need for consistency between the grid cells and episode
days used in the contribution and future design value calculations.
The EPA continues to use differing grid cells and episode days in its estimation of the
future year design value and individual state contribution. While the EPA follows the
modeling guidance in the choice of grid cell and episode days used in the future design
value calculation, the EPA abandons these criteria when calculating individual state
contributions. The EPA provides no explanation for this disconnect between the grid
cells and episode days used in the estimation of the future year design value and
individual state contribution. As the TCEQ has previously commented, 4 the EPA should
use consistent methods to estimate these related values and follow the modeling
guidance it expects states to follow.




3
 EPA, October 2018, available at https://www.epa.gov/sites/production/files/2018-
10/documents/maintenance_receptors_flexibility_memo.pdf
4
 https://www.epa.gov/sites/production/files/2018-
08/documents/tceq_comments_on_epa_march_27_2018_ozone_transport_memo.pdf
   Case: 23-60069   Document: 438-3   Page: 155   Date Filed: 09/26/2023




Tab HQ-367: Comment submitted by Attorneys General of
New York et al. (June 21, 2022) (EPA-HQ-OAR-2021-0668-0367)
      Case: 23-60069    Document: 438-3       Page: 156   Date Filed: 09/26/2023

          COMMENTS OF THE ATTORNEYS GENERAL OF NEW YORK,
          CONNECTICUT, DELAWARE, THE DISTRICT OF COLUMBIA,
           MARYLAND, MASSACHUSETTS, AND NEW JERSEY, AND
          THE CORPORATION COUNSEL OF THE CITY OF NEW YORK

                                June 21, 2022

Via Regulations.Gov and E-mail

Ms. Elizabeth Selbst
Air Quality Policy Division
Office of Air Quality Planning and Standards (C539-01)
United States Environmental Protection Agency
109 TW Alexander Drive
Research Triangle Park, NC 27711
Selbst.elizabeth@epa.gov

Re:   Proposed Rule “Federal Implementation Plan Addressing Regional
      Ozone Transport for the 2015 Ozone National Ambient Air Quality
      Standard,” 87 Fed. Reg. 20,036 (Apr. 6, 2022)
      Docket ID No. EPA–HQ–OAR–2021-0668

Dear Ms. Selbst:

      New York, Connecticut, Delaware, the District of Columbia, Maryland,
Massachusetts, and New Jersey, by their Attorneys General, and the City of New
York, by its Corporation Counsel (collectively, States), submit these comments on the
Environmental Protection Agency’s (EPA) proposed rule “Federal Implementation
Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient Air
Quality Standard,” 1 87 Fed. Reg. 20,036 (Apr. 6, 2022) (Proposed Rule or Proposal).

       For decades, the States have struggled to attain and maintain the federal air
quality standards for ozone, largely due to the excessive pollution from sources in
upwind states that is carried by the wind into our borders. In the Proposal, which
provides federal implementation plans (FIPs) for 26 states, EPA proposes to fully
satisfy the obligations of these states and EPA under Clean Air Act (Act) section
110(a)(2)(D)(i)(I) (the Good Neighbor Provision), eliminating the excessive ozone
pollution that has interfered with downwind states’ ability to attain or maintain the
2015 ozone national ambient air quality standards (2015 ozone NAAQS), resulting in
significant harm to public health and welfare.



      1 The Good Neighbor Provision prohibits upwind pollution in amounts that will

“contribute significantly to nonattainment in, or interfere with maintenance by, any
other State with respect to any such national primary or secondary ambient air
quality standard.” 42 U.S.C. § 7410(a)(2)(D)(i)(I) (emphasis added). We recommend
that EPA entitle the rule using the plural “Standards.”

                                          1
     Case: 23-60069      Document: 438-3       Page: 157   Date Filed: 09/26/2023




       The Proposal makes critical progress towards compliance with the
requirements of the Good Neighbor Provision. Of particular importance are EPA’s
proposals to require emissions reductions from certain non-power plant sources, to
account for emission reductions available from power plants both through installation
of new controls and greater use of already-installed controls, and to set daily backstop
emission rates for power plants. The States have been pushing for these necessary
updates for years, and laud EPA’s inclusion of these methods in its Proposal. But we
also urge EPA to further strengthen its rule to provide additional reductions required
by the Act as expeditiously as practicable. In particular, the timeframes EPA has set
for certain emission reductions should be accelerated, and existing data show that
the benchmark emission rates for power plants should be tightened beyond what EPA
has proposed.

Statutory, Regulatory, and Factual Background

1. National Ambient Air Quality Standards for Ozone

      EPA establishes national ambient air quality standards (NAAQS) under the
Act, which set maximum allowable ambient air concentrations for certain pollutants
that endanger human health and welfare. 2 States must ensure that air quality meets
the NAAQS by set deadlines, with EPA providing a federal “backstop.” 3

      Ozone, a pollutant regulated under the Act, forms when other pollutants
known as precursors—particularly oxides of nitrogen (NOx) and volatile organic
compounds (VOCs)—react in the presence of sunlight. 4 EPA has found significant
negative health effects in individuals exposed to elevated levels of ozone, such as
asthma, bronchitis, heart disease, and emphysema. 5 Exposure to ozone has also been
linked to premature mortality. 6 Children, the elderly, and those with existing lung
diseases, such as asthma, are more vulnerable to ozone’s harmful effects. 7 These
impacts are often disproportionately severe and widespread in already overburdened
communities, such as those with elevated asthma rates. See Comment 1(c), below.
Ozone also causes negative welfare effects, particularly damage to ecosystems.

      EPA promulgated a revised ozone NAAQS in 2015, setting both the primary
(health-based) and secondary (welfare-based) standards at 70 ppb. 8 EPA kept the



      2 42 U.S.C. §§ 7409(b)(1), 7407.
      3 Id. §§ 7407(a), 7511(a).
      4 See 87 Fed. Reg. at 20,052
      5 80 Fed. Reg. at 65,292, 65,302-11 (Oct. 26, 2015) (effective Dec. 28, 2015); 87

Fed. Reg. at 20,039, 20,054.
      6 Id.
      7 80 Fed. Reg. at 65,302-11.
      8 Id. at 65,292.



                                           2
     Case: 23-60069      Document: 438-3       Page: 158   Date Filed: 09/26/2023




same ozone NAAQS in a 2020 rule,9 which is under challenge in the D.C. Circuit. 10
EPA is currently reconsidering the 2020 rule, and the 2015 ozone NAAQS remain in
effect. 11 The comments in this letter relate to the 2015 standards, which the Proposal
is primarily designed to address.

       The Act requires each state to meet the ozone NAAQS “as expeditiously as
practicable,” but no later than by specified attainment deadlines depending on the
“classification” of an area based on the severity of its nonattainment. 12 The initial
attainment deadlines under the 2015 ozone NAAQS for “marginal,” “moderate,”
“serious,” and “severe” nonattainment areas are August 3, 2021; August 3, 2024;
August 3, 2027; and August 3, 2033, respectively. 13

2. Interstate Transport of Ozone Pollution

       Many states have problems attaining and maintaining the ozone NAAQS due,
in significant part, to emissions transported from sources in other states. The
formation and transport of ozone pollution occurs on a regional scale over “hundreds
of miles” in much of the eastern United States, with ozone and its precursors traveling
across state lines from “upwind sources” 14 into the air of downwind states. When
emissions from upwind states compound a downwind state’s pollution problems, the
downwind state must regulate its own emission sources more stringently to
compensate; even then, some downwind states may be unable to attain or maintain
the NAAQS.

       EPA has understood for decades the regional nature of the ground-level ozone
air quality problem, and that pollution from sources located in multiple upwind states
contributes to downwind states’ problems attaining and maintaining the ozone
NAAQS, with those sources in upwind states routinely contributing to multiple
downwind air quality problems in varying amounts. EPA has long recognized that
downwind states cannot on their own comply with the ozone NAAQS, and that
reducing ozone concentrations in downwind states requires a reduction in what EPA
calls the “interstate transport” of ozone precursors from upwind states.15

      Congress enacted the “Good Neighbor Provision” of the Act to address this
exact problem. The provision requires states to develop state implementation plans


      9 See 85 Fed. Reg. 87,256 (Dec. 31, 2020).
      10 New York v. EPA, D.C. Cir. No. 21-1028.
      11 The 2008 ozone NAAQS, set at 75 ppb, also remain in effect, and many of

the states affected by the Proposal are also subject to compliance obligations under
the 2008 standards on a set of overlapping deadlines.
       12 42 U.S.C. §§ 7511(a)(1) & (b)(1).
       13 87 Fed. Reg. at 20,057, 20,062, 20,099, 20,101 n.213.
       14 Id. at 20,039.
       15 See EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 495 (2014).



                                           3
     Case: 23-60069          Document: 438-3       Page: 159   Date Filed: 09/26/2023




(SIPs) that contain adequate provisions “prohibiting . . . any source or other type of
emissions activity within the State from emitting any air pollutant in amounts which
will contribute significantly to nonattainment in, or interfere with maintenance by,
any other State with respect to any such national primary or secondary ambient air
quality standard.” 16 Section 110(a)(2)(A) requires that SIPs “include enforceable
emission limitations and other control measures, means, or techniques . . . as well as
schedules and timetables for compliance,” and Section 110(a)(2)(C) requires SIPs to
“include a program to provide for the enforcement of the measures described in
subparagraph (A), and regulation of the modification and construction of any
stationary source within the areas covered by the plan as necessary to assure that
national ambient air quality standards are achieved, including a permit program
. . .”17

       Section 110(c)(1) requires EPA to promulgate a FIP within two years of its
finding of a state’s “failure to submit” a SIP or disapproval of a state’s SIP for lack of
full compliance. 18 Such FIPs must include the same provisions as a SIP, including
those necessary to meet a state’s Good Neighbor Provision obligations through
enforceable mechanisms and timetables.

3. Downwind States’ Ongoing Struggle to Reduce Ozone Pollution

       The states in the Northeast and mid-Atlantic have struggled for decades with
ozone pollution, due in large part to transported ozone pollutants from upwind states.
Following EPA’s promulgation of the 2015 ozone NAAQS, EPA designated the New
York-Northern New Jersey-Long Island, NY-NJ-CT metropolitan area (New York
Metropolitan Area) as a nonattainment area with a moderate classification. 19 This
area consists of nine counties in New York (including all of New York City), twelve
counties in New Jersey, and three counties in Connecticut. The inability of the New
York Metropolitan Area to attain the 2015 ozone NAAQS affects the ability of all
three included states to meet their relevant attainment deadlines.

      New Jersey’s remaining nine southern counties and New Castle County,
Delaware (along with areas in Maryland and Pennsylvania) are part of another
regional nonattainment area, the Philadelphia-Wilmington-Atlantic City, PA-NJ-
MD-DE metropolitan area (Philadelphia Metropolitan Area), initially classified as
marginal nonattainment. Connecticut’s remaining five counties are part of the
Greater Connecticut nonattainment area, classified in June 2018 as marginal
nonattainment.




      16 42 U.S.C. § 7410(a)(2)(D)(i)(I).
      17 Id. §§ 7410(a)(2)(A) & (C).
      18 Id. § 7410(c)(1).
      19 83 Fed. Reg. 25,776, 25,821 (Jun. 4, 2018).



                                               4
     Case: 23-60069      Document: 438-3       Page: 160   Date Filed: 09/26/2023




       Based on the most recent available design values for 2019-2021, 20 monitored
levels of ozone in the New York Metropolitan Area, Philadelphia Metropolitan Area,
and Greater Connecticut Area remain above the 2015 ozone NAAQS. The
Philadelphia Metropolitan Area and Greater Connecticut Area’s attainment
deadlines passed in 2021 21 without those areas attaining the standards. 22 Certified
ozone data from 2018 through 2020 show that, despite Delaware, New Jersey and
Connecticut’s successes in cutting in-state emissions, those areas still did not attain
by 2021 and may be reclassified (i.e., downgraded) to moderate nonattainment
status. 23 Even outside of these formally designated nonattainment areas, ozone
monitors in other locations within the States continue to measure unhealthy ozone
levels that exceed the standard. 24

       The States have long devoted significant resources to reducing emissions from
in-state sources of NOx and mitigating the regional transport of NOx. Where required
by the Act, the States have cut ozone precursor emissions year after year to meet and
exceed “reasonable further progress” targets mandated by 42 U.S.C. § 7511a,
including by requiring in-state sources to meet a variety of stringent emissions
standards and comply with NOx Reasonably Available Control Technology (RACT).
The States have also implemented stringent emissions control measures related to
mobile sources, and participated in the Ozone Transport Commission (OTC), which
developed the first NOx Budget Program that dramatically reduced ozone transport
within the Ozone Transport Region. The States have participated in multiple
iterations of federal NOx Budget trading programs, including the 2005 Clean Air
Interstate Rule (CAIR), 25 2011 Cross-State Air Pollution Rule (CSAPR), 26 2016


      20 See EPA, Air Quality Design Values, 2021 Design Value Reports, Ozone

Design Values, 2021 (XLSX), Table 1a, available at https://www.epa.gov/air-
trends/air-quality-design-values#report (last visited June 20, 2022).
       21 See EPA, Fact Sheet – Final Area Designations for the National Ambient Air

Quality Standards for Ozone Established in 2015 at 7, available at
https://www.epa.gov/sites/production/files/2018-04/documents/placeholder_0.pdf
(last visited June 20, 2022).
       22 See EPA, Air Quality Design Values, 2020 Design Value Reports, Ozone

Design Values, 2020 (XLSX), Table 1a, available at https://www.epa.gov/air-
trends/air-quality-design-values#report (showing 2018-2020 design values for
Greater Connecticut and Philadelphia nonattainment areas above the 2015 ozone
NAAQS) (last visited June 20, 2022).
       23 See 42 U.S.C. § 7511(b)(2); 87 Fed. Reg. 21,842 (Apr. 13, 2022) (proposing

reclassification).
       24 See, e.g., https://www3.epa.gov/region1/airquality/ma_over.html (registering

exceedances in 2021 of the ozone standards at eight different monitors across
Massachusetts).
       25 70 Fed. Reg. 25,162 (May 12, 2005).
       26 76 Fed. Reg. 48,208 (Aug. 8, 2011).



                                           5
       Case: 23-60069    Document: 438-3         Page: 161   Date Filed: 09/26/2023




CSAPR Update, 27 and 2021 Revised CSAPR Update. 28 However, these efforts have
been insufficient to bring all downwind areas into attainment of the 2015 ozone
NAAQS.

      The States currently have some of the most stringent NOx and VOC control
programs in the country, which aggressively regulate in-state power plants, factories,
and motor vehicles. These programs include:

   x   Stringent Reasonably Available Control Technology (RACT) on all major NOx
       and VOC stationary sources, including power plants and major non-electric
       generating units. 29

   x   In New Jersey, regulation of power plants that operate on High Electric
       Demand Days (HEDDs) when ozone concentrations are often elevated30 and
       regulation of distributed generation/demand response internal combustion
       engines. 31 New Jersey’s rules for stationary reciprocating internal combustion
       engines do not allow the use of uncontrolled engines for the purpose of
       distributed electric generation or demand response in nonemergency
       situations. Similarly, Delaware has a strong multi-pollutant rule 32 and
       regulates stationary generators. 33 New York stringently regulates combustion
       turbines and internal combustion engines used for demand response. 34

   x   In New Jersey, State-of-the art (SOTA) air pollution control requirement for
       newly constructed, reconstructed and modified equipment and control
       apparatus. 35

   x   Adoption of California’s motor vehicle emission standards, which place more
       stringent controls on the amount of NOx emitted from motor vehicles than
       federal emission standards. New York and Connecticut have adopted the Low
       Emission Vehicle (LEV) III emissions standards, which apply to all 2017
       through 2025 model year vehicles up to 14,000 pounds gross vehicle weight
       rating. 36 Massachusetts has likewise adopted LEV standards, as well as

       27 81 Fed. Reg. 74,504 (Oct. 26, 2016).
       28 86 Fed. Reg. 23,054 (Apr. 30, 2021).
       29 6 NYCRR Parts 212-3, 220, & 227-2 (New York); RCSA 22a-174-22e, RCSA

22a-174-22f, RCSA 22a-174-20, RCSA 22a-174-32 (Connecticut); N.J. Admin. Code
§§ 7:27-16 & 7:27-19 (New Jersey); 7 DE Admin. Code 1112 (Delaware).
       30 N.J. Admin. Code §§ 7:27-19.29 & -19.30.
       31 N.J. Admin. Code § 7:27-19.8.
       32 7 DE Admin. Code 1146.
       33 7 DE Admin. Code 1144.
       34 6 NYCRR Part 222 (“Distributed Generation Sources”).
       35 N.J. Admin. Code §§ 7:27-8.12 & -22.35.
       36 6 NYCRR Part 218; RCSA 22a-174-36c.



                                           6
       Case: 23-60069    Document: 438-3       Page: 162   Date Filed: 09/26/2023




       aggressive Zero Emission Vehicle (ZEV) measures, with an aim of making 30
       percent of all sales of new medium- and heavy-duty vehicles zero emission by
       2030. 37 Beginning with model year 2009, New Jersey incorporated by reference
       California’s Low Emission Vehicle standards, including the zero-emission sales
       requirements, to ensure the lowest emitting vehicles in the nation are sold in
       New Jersey. New Jersey also has some of the most stringent rules in the
       country for vehicle idling and heavy-duty vehicle inspection and maintenance
       using on-board diagnostics technology. 38

   x   Statewide Enhanced Vehicle Inspection and Maintenance (I&M) requirements
       for motor vehicles that include testing of older, high-emitting vehicles to
       significantly reduce on-road mobile emissions. 39

   x   Adoption of regional measures to reduce VOC emissions from a variety of large
       source categories that have been recommended by the OTC, including
       consumer products, architectural and industrial maintenance coatings,
       portable fuel containers, adhesives and sealants, asphalt paving, and solvent
       metal cleaning processes. 40

   x   Lowest Achievable Emission Rate (LAER) standards on all new major sources
       of NOx or VOC, and on all existing sources that would undergo major
       modifications with emissions above certain project thresholds. 41

   x   In New Jersey, adoption of measures to control NOx emissions from Municipal
       Waste Combustors 42 and natural gas pipeline compressor stations. 43 New York
       has also adopted regulations limiting NOx emissions from municipal solid




       37 310 Code Mass. Regs. § 7.40 (adopting California’s LEV standards); Multi-

State Medium- and Heavy-Duty Zero Emission Vehicle Memorandum of
Understanding, https://www.nescaum.org/documents/mhdv-zev-mou-20220329.pdf/
(multi-state commitment to aggressive measures to promote ZEVs).
      38 N.J. Admin. Code §§ 7:27-14.3, -14.5, -15.5 & -15.8.
      39 6 NYCRR Part 217-6; RCSA 22a-174-27; N.J. Admin. Code §§ 7:27-14 & -15.
      40 6 NYCRR Parts 235, 205, 239, 228, 241 & 226 (New York); RCSA 22a-l 74-

40; RCSA 22a-174-41; RCSA 22a-l 74-44; RCSA 22a-174-20(k) (Connecticut); N.J.
Admin. Code §§ 7:27-16.1 & -2 (New Jersey); 7 DE Admin. Code 1124 (Delaware).
      41 6 NYCRR Part 231 (New York); RCSA 22a-174-3a (Connecticut); N.J. Admin.

Code § 7:27-18 (New Jersey); 7 DE Admin. Code 1125 (Delaware) (triggered at low
thresholds of 25tpy in New Castle County, Delaware and Kent County, Delaware
compared to 100 tpy for most of the country).
      42 N.J. Admin. Code § 7:27-19.12.
      43 N.J. Admin. Code §§ 7:27-19.5 & -19.8.



                                           7
       Case: 23-60069    Document: 438-3       Page: 163   Date Filed: 09/26/2023




       waste combustion units. 44 Connecticut has stringent NOx limits for municipal
       waste combustors as well. 45

   x   In New York, regulation of certain oil- and natural gas-fired combustion
       turbines, referred to as “peaking units,” to lower their allowable NOx emissions
       during the ozone season. 46 Connecticut also has a rule to limit emissions from
       peaking units at non-major sources of NOx, 47 and stringent NOx limits for all
       units at major sources of NOx. 48

   x   In the City of New York, adoption of significant additional measures to reduce
       emissions of ozone precursors within its jurisdiction. 49

       As a result of these strict programs, major power plants in New York reduced
annual ozone-season NOx emissions by 72.7 percent between 2008 and 2021.50
Connecticut’s power plants and major non-EGUs reduced ozone-season NOx
emissions by 75 percent between 2008 and 2021. 51 These reductions are expected to
be even greater following the full retirement of Connecticut’s last remaining coal-
fired power plant in 2021, as well as other measures taken to comply with RACT.
New Jersey’s annual NOx and VOC emissions have each decreased approximately 45
percent and 37 percent, respectively, from 2008 to 2017.52 Power plants in New Jersey
reduced ozone-season NOx emissions by approximately 80 percent between 2008 and
2019. 53 And in that same stretch, Massachusetts reduced its ozone season NOx
emissions by over 85 percent. 54

      Transported ozone pollution produces serious health, welfare, and practical
consequences for these downwind areas and their residents, resulting in numerous
days when ozone reaches hazardous levels. For example, over the last three ozone

       44 6 NYCRR Part 219-10.
       45 RCSA § 22a-174-38.
       46 6 NYCRR Part 227-3.
       47 RCSA § 22a-174-22f.
       48 RCSA § 22a-174-22e.
       49 See City of New York, OneNYC Initiatives 23-28, 82-85 (Apr. 2018), available

at https://onenyc.cityofnewyork.us/wp-content/uploads/2018/04/OneNYC-Initiatives-
2.pdf; see also City of New York, OneNYC 2019 Progress Report 36-46, 56, 64,
available at https://onenyc.cityofnewyork.us/reports-resources.
       50 EPA, Air Markets Program Data, https://ampd.epa.gov/ampd/.
       51 Id.
       52 EPA, National Emissions Inventory, data downloaded 6/14/2022, (excluding

biogenic, prescribed fire and wildfire emissions), https://www.epa.gov/air-emissions-
inventories/national-emissions-inventory-nei.
       53     EPA, Air     Markets      Program       Data,     data     downloaded
6/14/2022, https://ampd.epa.gov/ampd/.
       54 Id.



                                           8
     Case: 23-60069     Document: 438-3       Page: 164   Date Filed: 09/26/2023




seasons (2019-2021), data demonstrate that New York experienced 36 days—17 days
in 2021 alone—when the 2015 ozone NAAQS were exceeded at one or more
monitoring locations in the New York Metropolitan Area.55 The New York State
Department of Environmental Conservation issued numerous ozone alerts,
recommending that residents in the specified areas—particularly the elderly,
children, and people with breathing problems such as asthma—curtail outdoor
activities.

       Similarly, from 2019-2021, Connecticut has recorded 59 days when ozone
levels exceeded the 2015 ozone NAAQS. 56 New Jersey saw approximately 30 days
statewide when the 2015 ozone NAAQS were exceeded during the same time period.57
And in Massachusetts, over the last three ozone seasons (2019-2021), ten different
monitoring locations have registered unhealthy levels of ozone exceeding the 2015
ozone NAAQS. 58

4. Litigation History of the Proposal

       EPA’s promulgation of the 2015 ozone NAAQS on October 1, 2015, triggered
states’ duties to submit to EPA within three years SIPs containing adequate
measures to satisfy their Good Neighbor Provision obligations. After states submitted
complete SIPs, EPA was required to approve or disapprove them within one year. If
states did not submit SIPs, EPA was required to make findings of failure to submit.
After disapproving any SIP (in whole or in part), or making findings of failure to
submit, EPA was required to promulgate FIPs within two years addressing Good
Neighbor Provision obligations.

        Several upwind states, including Pennsylvania and Virginia, did not timely
submit SIPs, and after several of the States commenced deadline enforcement
litigation, 59 EPA made the required findings of failure to submit for these states,
among others, effective January 6, 2020. 60 EPA’s findings of failure to submit set a

      55 See NYSDEC, Ozone Exceedances and Information, 2021 High Ozone Values

– 8-Hour Averages, https://www.dec.ny.gov/chemical/38377.html#Values .
       56  https://portal.ct.gov/DEEP/Air/Monitoring/Annual-Summary-Information-
for-Ozone
       57 See N.J. Dep’t of Envtl. Protection [hereinafter NJDEP], Exceedances of Air

Quality Standards (click News then “Exceedances of Air Quality Standards”, then
“2021 Exceedances of AQS”, “2020 Exceedances of AQS”, etc.), available at
https://www.nj.gov/dep/airmon/#.
       58 See EPA, Region 1: New England, https://www3.epa.gov/region1/airquality/

ma_over.html.
       59 New Jersey v. Wheeler, Case No. 1:19-cv-03247-ABJ (D.D.C.).
       60 84 Fed. Reg. 66,612 (Dec. 5, 2019) (effective Jan. 6, 2020). Following

publication of EPA’s findings, the litigation was dismissed. See Notice of Dismissal,
New Jersey v. Wheeler, Case No. 1:19-cv-03247-ABJ, Doc. 9 (D.D.C. filed Jan. 3, 2020).


                                          9
     Case: 23-60069      Document: 438-3       Page: 165   Date Filed: 09/26/2023




statutory deadline of January 6, 2022, for the agency to promulgate FIPs for states
covered by the notice, unless they submitted SIPs that EPA approved in the
meantime. EPA did not promulgate FIPs for all states covered by these findings,
including Pennsylvania and Virginia, which also did not submit approved SIPs in the
meantime. Deadline enforcement litigation brought by several citizen groups is
pending. 61

       Meanwhile, other upwind states, including Indiana, Kentucky, Michigan,
Ohio, Texas and West Virginia, submitted SIPs, but EPA failed to approve or
disapprove them within a year as required by the statute. After several of the States
commenced deadline enforcement litigation, they reached agreement with EPA on a
consent decree establishing deadlines for EPA to take action on these SIPs. Notably,
the consent decree included a contingency provision that extended EPA’s deadline for
taking final action on the SIPs to December 15, 2022, contingent on EPA proposing
FIPs for these states by February 28, 2022. 62

       The Proposal includes proposed FIPs for the states for which EPA has current
or anticipated obligations to promulgate FIPs as a result of these statutory and court-
ordered deadlines.

5. Summary of the Proposal

       The Proposal addresses interstate transport of ozone by proposing FIPs for 26
states for which EPA has either (i) not approved a submitted SIP, (ii) has made a
finding of failure to submit, or (iii) has proposed to rescind a prior SIP approval. The
Proposal would establish new ozone season emission budgets for nitrogen oxides
(NOx) beginning in 2023 for power plant sources in these states, and in 2026 for other
emissions sources outside the power sector.

       EPA analyzed the scope and nature of the ozone transport problem and now
proposes emissions budgets using its four-step CSAPR framework. As part of that
analysis, EPA performed air quality modeling for 2023, 2026, and 2032 and
contribution projections for 2023 and 2026.

       In the Proposal, EPA sets emissions budgets for covered upwind states using
a phased approach. For the first phase, effective in 2023, EPA sets budgets for each
of the 26 states significantly contributing to downwind nonattainment and
maintenance problems based on power plants’ full operation of post-combustion
controls that have already been installed at these plants—including both selective
catalytic reduction (SCR) and selective non-catalytic reduction (SNCR) equipment—
and that cost up to $1,800 per ton of NOx removed. For the second phase, EPA


      61 Sierra Club v. Regan, Case No. 4:22-cv-01992-DMR (N.D. Cal.).
      62 See Consent Decree, New York v. Regan, Case No. 1:21-cv-252-ALC, Doc. 38

(S.D.N.Y. filed Nov. 15, 2021).


                                          10
     Case: 23-60069     Document: 438-3       Page: 166   Date Filed: 09/26/2023




proposes to tighten budgets based on installation of additional combustion controls
at power plants by 2024 that cost up to $1,200 per ton of NOx removed. For the third
phase, EPA would further tighten budgets based on installation and full operation of
new post-combustion controls at power plants (primarily new SCR, but also some new
SNCR) by 2026, that cost up to $11,000 per ton of NOx removed. EPA also accounts
for anticipated generation shifting throughout these time periods.

       For non-power plant sources, EPA’s Proposal identifies significant contribution
from 23 states and sets a schedule of emissions reductions beginning in 2026, based
on implementation of controls costs up to $7,500 per ton. EPA focuses on two tiers of
sources emitting greater than 100 tons per year of NOx, but proposes to exclude
certain categories of sources, such as municipal waste combustors, that produce a
substantial amount of NOx that could be reduced at marginal costs comparable to the
control costs for other types of sources included in the Proposal. 63

      EPA’s Proposal includes several other limitations and parameters for the
proposed budgets and trading program. As in previous ozone transport rulemakings,
EPA includes assurance levels set at 121 percent of states’ annual ozone season
emissions budgets. EPA also proposes dynamic emissions budgets, which will be reset
as the emissions from sources change over time, so that the price of allowances can
remain commensurate with the marginal costs of operating and installing controls as
designed. Finally, EPA adds a unit-specific, daily emissions limitation of 0.14
lb/mmBtu (as a daily average) for large coal-first power plant sources with SCR, to
be enforced by an allowance surrender penalty.

      Overall, the cap-and-trade program is similar to prior ozone transport
rulemakings, though it now includes several enhancements designed to implement
long-overdue emissions controls and limits on upwind sources, including non-power
plant sources; to limit excessive emissions on high-ozone days; and to maintain
budget stringency for operating sources over the coming years.

States’ Comments on the Proposed Rule

       The Proposal employs EPA’s settled transport framework to require critical
emissions reductions in upwind states using a phased approach over the coming
ozone seasons and a backstop daily emissions rate for certain sources. The States
support the increased stringency of emissions budgets and inclusion of non-power
plant sources in the rule. However, the States have identified areas where EPA
should strengthen the Proposal to require additional emissions reductions sooner,
better achieving EPA’s statutory mandate and upwind states’ obligations under the
Good Neighbor Provision to eliminate significant contribution as expeditiously as
practicable.



      63 87 Fed. Reg. at 20,085-86.



                                         11
     Case: 23-60069       Document: 438-3       Page: 167   Date Filed: 09/26/2023




   1. The Proposal would be an important step toward achieving emissions
      reductions from upwind sources that have long burdened the States
      with excessive ozone pollution.

        EPA’s Proposal applies a settled four-step framework using cost-effectiveness
to apportion required emissions reductions among upwind states. The Proposal
continues an approach upheld in EME Homer City 64 and Wisconsin. 65 In EME Homer
City, the Supreme Court explained that EPA’s four-step framework was a permissible
method of apportioning the required amount of emission reductions necessary to
eliminate upwind states’ “significant contributions.” The Court elaborated that EPA’s
approach reasonably allows the agency to “achieve levels of attainment . . . at a much
lower overall cost.” 66 If finalized, the Proposal would reduce ozone by a total of 14.13
ppb across all downwind receptors in 2026, 67 with an average improvement of 0.64
ppb. 68 The Proposal anticipates that implementation of the emissions budgets will
reduce 2026 ozone season NOx emissions from power plants by approximately 90,000
tons and from non-power plant sources by about 47,000 tons. 69 The Proposal would
achieve substantial progress toward downwind states’ attainment and maintenance
of the 2015 ozone NAAQS; although EPA must do more to fully satisfy its statutory
obligations.

          a. The Proposal requires necessary, cost-effective controls for
             power plants.

       The States support the proposed controls on power plant emissions. The
Proposal requires sources still lacking state-of-the-art combustion control equipment
to install it. These cost-effective controls are already installed on 99 percent of coal-
fired power plants greater than 25 megawatts (MW) 70 and most comparable power
plants in the States. Their installation will provide additional, necessary emissions
reductions in upwind states.

       The States also support optimizing operation of already-installed SCRs and
SNCRs at a projected marginal cost of $1,800 per ton. These costs are reasonable and
comparable to costs for control equipment already required in many states under the
Revised CSAPR Update, the current regional ozone transport rule for the 2008 ozone
NAAQS. Furthermore, these costs are still far lower than the marginal costs of
additional controls in downwind states, as described below. These near-term



      64 EME Homer City, 572 U.S. at 501-03, 519-20, 524.
      65 Wisconsin v. EPA, 938 F.3d 303, 310-11, 323 (D.C. Cir. 2019).
      66 EME Homer City, 572 U.S. at 519.
      67 See 87 Fed. Reg. at 20,097, Table VI.D.3-1.
      68 See id., Table VI.D.3-1.
      69 See id.
      70 Id. at 20,078.



                                           12
     Case: 23-60069       Document: 438-3      Page: 168   Date Filed: 09/26/2023




requirements will produce readily achievable, necessary emissions reductions at
relatively low costs.

       The States also support requiring installation of new post-combustion control
equipment, particularly new SCR, where appropriate. Power plants, including many
coal plants and combustion turbines in the States, have adopted SCR or SNCR, which
are highly effective at reducing NOx emissions. 71 These controls are also necessary
in upwind states, because significant contribution from upwind states persists
through 2026, the first ozone season when EPA has set emissions budgets to reflect
installation of these controls across the fleet. Therefore, EPA has reasonably
determined that new SCR and SNCR on upwind sources lacking these controls will
be necessary to assist with eliminating this ongoing significant contribution.

       Recent experience with regional ozone transport rules for the 2008 ozone
NAAQS reinforces the necessity of requiring new post-combustion controls in the
Proposal. Neither the CSAPR Update in 2016 nor the Revised CSAPR Update in 2021
required power plants to install new post-combustion controls; yet upwind states are
projected to continue to emit ozone in such high amounts that their significant
contributions to downwind nonattainment are projected to persist even under the less
stringent 2008 standards through 2024. Here, where EPA is implementing the more
stringent 2015 standards, and significant contribution is projected to persist into
2026, it is imperative that EPA tighten emissions budgets so that upwind sources will
finally install these industry-standard controls to limit their emissions as required
by the Act.

       The Proposal recognizes that it is much more cost efficient for upwind states
to implement additional controls at lower marginal costs than for downwind states to
implement ever more stringent controls. The costs of up to $11,000 per ton of NOx
removed for new SCRs and SNCRs are higher than the costs of near-term measures
EPA is requiring in 2023 and 2024, but even these costs are comparable to or less
than the marginal costs for additional controls in the downwind States that have long
been burdened by excessive ozone pollution from upwind sources. To the extent EPA
considers cost in establishing levels of control stringency to set state-specific
emissions budgets, it can do so reasonably only by accounting for the much more
stringent and costly controls mandated in downwind states that require their sources
to employ Reasonably Available Control Technology (RACT). Downwind states in the
Ozone Transport Region (OTR), including Connecticut, New York, New Jersey,
Massachusetts, and Delaware, are required to implement RACT state-wide, which
entails a set of controls that, in many cases, go far beyond the Proposal’s control
stringency. 72




      71 Id. at 20,080.
      72 See id. at 20,085, 20,148, 20,097.



                                          13
     Case: 23-60069      Document: 438-3        Page: 169   Date Filed: 09/26/2023




       For example, Connecticut’s emission control program for fuel-burning emission
sources of NOx is based on a control stringency of $13,118 per ton of NOx emissions
reductions. 73 Likewise, New York’s RACT requirements correspond to approximately
$5,500 per ton of NOx emissions reductions, well above the Proposed Rule’s $1,800
per ton control stringency for the first few years of implementation. 74 New Jersey has
also required controls that significantly exceed the Proposed Rule’s 2026 $11,000 per
ton control stringency, including controls for oil-fired boilers at up to $18,000 per ton
of NOx emission reductions and SCR controls for natural gas turbines (compressor
turbines) between $7,033 and $18,983 per ton of emissions reductions. 75 New Jersey’s
ozone season cost effectiveness for installing water injection on a HEDD unit is
$44,000 per ton of NOx removed. 76

      Several downwind states additionally require RACT-based controls for some
non-EGU emissions sources. 77 These RACT-based controls for EGU and non-EGU
NOx sources in the OTR states have resulted in significant NOx reductions, as
discussed above.

       The Proposal is a positive first step toward equalizing upwind and downwind
control costs. The far greater control stringencies downwind states must impose
because of lax upwind emission budgets creates an imbalance, however, where many
upwind states are permitted to under-control emissions sources in their states while
downwind states are compelled to heavily control their in-state emission sources. This
situation may result in greater overall control costs across the region than would be
the case were EPA to impose a control stringency that brings the upwind states closer
to parity with the downwind states. Just as EPA has an obligation to avoid over-
control of sources in upwind states, EPA also has an obligation to avoid under-control
of sources in those states. 78


      73     RCSA 22a-174-22e(h)(1)(A)(iii).
      74     NYSDEC, DAR-20 Economic and Technical Analysis for Reasonably
Available Control Technology (RACT) (Aug. 8, 2013), available at
https://www.dec.ny.gov/docs/air_pdf/dar20.pdf.
         75 See New Jersey State Implementation Plan Revision for Infrastructure and

Transport Requirements for the 70 ppb and 75 ppb 8-hour Ozone NAAQS and
Negative Declaration for the Oil and Natural Gas Control Technique Guidelines (May
13, 2019), available at https://www.nj.gov/dep/baqp/PDF%20for%20posting/Final.pdf
         76 Id.
         77 See, e.g., N.J. Admin. Code 7:27-19.8 (stationary reciprocating internal

combustion engines); N.J. Admin. Code 7:27-19.2 (municipal waste combustors);
RCSA 22a-174-20; 22e; 22f and 22a-174-32 (RACT for NOx and VOC stationary EGU
and non-EGU sources); see 87 Fed. Reg. at 20,085-86, 20,097, 20,148.
         78 See EME Homer City, 572 U.S. at 523 (“[W]hile EPA has a statutory duty to

avoid over-control, the Agency also has a statutory obligation to avoid ‘under-control,’
i.e., to maximize achievement of attainment downwind.”).


                                           14
     Case: 23-60069      Document: 438-3       Page: 170   Date Filed: 09/26/2023




       Every state is required by law to fully eliminate its significant contribution to
nonattainment or failure to maintain in any downwind state, and the emissions
budgets must be set at levels that will realistically accomplish that. By selecting a
control stringency that is far closer to parity with the higher control stringencies
already implemented by several downwind states, the Proposal makes progress
toward reducing the imbalance in controls costs and stringency between downwind
states and upwind states that continue to have poorly controlled sources.

          b. The Proposal provides long-overdue regulation of non-power
             plant sources.

       For non-power plant sources, the States support inclusion of major stationary
sources in the emissions budgets. By requiring control equipment costing up to $7,500
per ton, EPA would impose control costs that are roughly comparable to, but lower
than, costs for controls on power plants. Non-power plant sources have not been
included in the most recent regional ozone transport rules, but in an earlier regional
trading program, the NOx SIP Call, EPA found significant contribution from non-
power plant sources. 79 EPA’s analysis has reasonably identified available, cost-
effective emissions reductions from these sources that can assist in reducing upwind
significant contribution.

       In setting emissions budgets that include reductions in non-power plant
sources’ emissions, EPA has reasonably relied on available data to determine the
effective emissions reductions that can be achieved by these sources, even as it seeks
to further refine its information. As the Wisconsin court held, scientific uncertainty
or even administrative infeasibility would not justify declining to include these
sources. 80 Therefore, EPA was not only allowed, but was required, to identify
emissions reductions from non-power plant sources, and failure to do so would have
been unreasonable and contrary to recent case law.

      Emissions reductions from non-power plant sources are necessary to address
upwind significant contribution, which persists through at least 2026, when the
emission budgets first account for reductions from these sources. Upwind states—
and EPA, when promulgating FIPs—are required to eliminate, not just reduce,
upwind significant contribution as expeditiously as practicable.81 Especially when

      79 See EPA, Finding of Significant Contribution, 63 Fed. Reg. 57,356, 57,358-

59 (Oct. 27, 1998).
       80 938 F.3d at 319 (finding that EPA’s uncertainty about non-power plant

sources did not rise to the level of an impossibility in quantifying good neighbor
obligations in the CSAPR Update).
       81 See North Carolina v. EPA, 531 F.3d 896, 908 (D.C. Cir.), mod. on reh’g in

part, 550 F.3d 1176 (D.C. Cir. 2008) (“Because [regional transport rulemaking] is
designed as a complete remedy to section 110(a)(2)(D)(i)(I) problems, as EPA claims,



                                          15
     Case: 23-60069     Document: 438-3       Page: 171   Date Filed: 09/26/2023




significant contribution persists long after downwind attainment deadlines, EPA
must regulate sources such as major upwind non-power plant stationary sources
where it has reasonably determined that meaningful emissions reductions are
available, and particularly where cost-effective controls for non-power plant sources,
like those imposed on power plants, can achieve such reductions.

       Even though the emissions reductions achieved from regulating non-power
plant sources are less than those achieved from regulating power plants, the
reductions are meaningful, accounting for an additional average reduction of about
0.2 ppb at each nonattainment receptor in 2026. 82 EPA can and must reasonably
regulate them. Significant contribution is comprised of many relatively small
contributions from sources in upwind states that combine to prevent timely
attainment and interfere with maintenance of the ozone NAAQS in downwind areas
such as the States. Therefore, to eliminate significant contribution impacting
downwind states, EPA must require emission reductions from a variety of sources,
including categories not currently regulated. EPA has demonstrated that meaningful
emission reductions from non-power plant sources are available and necessary to
eliminate significant contribution, and has reasonably included such reductions in its
formulation of emission budgets for the covered states.

         c. The Proposal makes progress toward addressing the impacts of
            ozone on overburdened communities.

       Executive Order 12,898 83 directs federal agencies to identify and address
disproportionately high and adverse human health or environmental effects of their
programs, policies, and activities on populations of color and low-income populations.
Exposure to ambient ozone causes a variety of negative effects on human health,
including asthma exacerbation and premature mortality. 84 Children of color and
children in families living with economic resources less than the federal poverty
standard have significantly higher rates of asthma than the general population.85
Black and Native American people in particular have significantly higher asthma




. . . [it] must do more than achieve something measurable; it must actually require
elimination of emissions from sources that contribute significantly and interfere with
maintenance in downwind nonattainment areas.”) (emphasis added).
         82 87 Fed. Reg. at 20,093, tbl. VI.D.1-2; id. at 20,097, tbl. VI-D.3-1.
         83 See Executive Order No. 12,898, 59 Fed. Reg. 7,629 (Feb. 16, 1994).
         84 85 Fed. Reg. 68,974 (Oct. 30, 2020).
         85 See 85 Fed. Reg. 49,850 (Aug. 14, 2020).



                                         16
     Case: 23-60069      Document: 438-3       Page: 172   Date Filed: 09/26/2023




rates than other races. 86 As a result, these groups have a greater potential for ozone-
related health impacts due to the higher prevalence of asthma.

       Additionally, Black persons ages 35 and older experienced up to three times as
many deaths per capita from cardiovascular disease as their White counterparts
between 2016 and 2018. 87 EPA has previously concluded that available evidence
suggests a causal relationship between ozone exposure and cardiovascular effects. 88
EPA must consider the environmental justice implications of the Proposal, including
the significant evidence suggestive of increased risks from ozone exposures based on
socioeconomic status.

       Further, limiting upwind significant contribution, especially on high-ozone
days, is particularly important in light of the ongoing COVID-19 pandemic, as ozone
exposure has been linked to worse health outcomes from COVID-19. 89 Additionally,
people of color, especially Black Americans, have been found to be disproportionately
affected by COVID-19. 90 The ongoing pandemic further exacerbates the
disproportionate harms people of color and those living in poverty face from ambient
ozone exposure, and should further motivate EPA to act as expeditiously as possible
to ameliorate the problem.

      In light of the evidence that ozone disproportionately harms these populations,
EPA must act to eliminate significant interstate ozone transport as expeditiously as
possible and particularly limit high-ozone days to address the longstanding,
disproportionate risks to already overburdened communities from ozone pollution.91
The enhanced measures in the Proposal are critical to protecting these communities,
and EPA should strongly consider strengthening the Proposal to further reduce this
burden.




      86   Center for Disease Control, Most Recent National Asthma Data,
https://www.cdc.gov/asthma/most_recent_national_asthma_data.htm.
       87 Centers for Disease Control, Interactive Atlas of Heart Disease and Stroke,

https://nccd.cdc.gov/DHDSPAtlas/Default.aspx?state=DC.
       88 See Integrated Science Assessment for Ozone and Related Photochemical

Oxidants       (Final      Report,     Apr.      2020)    § 4.2.18,   available     at
https://cfpub.epa.gov/ncea/isa/recordisplay.cfm?deid=348522.
       89 Xiao Wu et al., Exposure to air pollution and COVID-19 mortality in the

United States: A nationwide cross-sectional study, MEDRXIV.
       90 See, e.g., Erin K. Stokes et al., Coronavirus Disease 2019 Case Surveillance

– United States, January 22-May 30, 2020, MMWR MORB MORTAL WKLY REP 2020,
69, 759-765; Gregorio A. Millett et al., Assessing differential impacts of Covid-19 on
black communities, 47 ANNALS OF EPIDEMIOLOGY 37-44 (2020).
       91 See 87 Fed. Reg. at 20,112.



                                          17
     Case: 23-60069      Document: 438-3       Page: 173   Date Filed: 09/26/2023




   2. Despite the substantial emissions reductions in the Proposal, EPA
      should strengthen the Proposal to eliminate significant contribution
      as expeditiously as practicable.

       The Good Neighbor Provision requires that EPA, when issuing FIPs, eliminate
upwind states’ significant contribution to downwind nonattainment and maintenance
problems as expeditiously as practicable, and no later than downwind states’ next
attainment date, unless EPA can demonstrate that it is impossible to do so. 92 The
marginal area attainment deadline for the 2015 ozone NAAQS passed in 2021, with
several States unable to reach attainment, and the moderate area deadline is swiftly
approaching in 2024. Because attainment is based on the three preceding years’ ozone
levels, by the time the Proposal takes effect, two of these three years (2021 and 2022)
will have already passed. The Proposal makes important reductions in upwind ozone
pollution, but EPA must further strengthen its requirements to eliminate upwind
states’ significant contribution altogether. Even if EPA can demonstrate that
eliminating significant contribution by 2023 is impossible, it must eliminate it by
2024, or by 2025 if impossible in 2024, and so on. If EPA cannot eliminate significant
contribution by the 2024 deadline, and downwind nonattainment persists beyond
that, as projected, EPA should not wait until the next attainment deadline in 2027 to
provide a full remedy, but instead should implement measures, including those
described below, to eliminate significant contribution as expeditiously as practicable.

           a. The Proposal does not eliminate significant contribution within
              the timeframe required by the Act.

       Wisconsin requires EPA to eliminate, not just reduce, significant
contribution. 93 The Proposal does not eliminate significant contribution by 2023 (in
time for the 2024 deadline), nor as expeditiously as practicable in 2024 or 2025 or
2026 (in time for the 2027 deadline). For example, in the tri-state New York
Metropolitan Area, monitors in Fairfield and New Haven, Connecticut, are projected
to be in nonattainment or maintenance status in 2026, with upwind power plant
sources continuing to contribute pollution in quantities amounting to more than 1
percent of the NAAQS. 94 As a result, EPA should take more aggressive steps to
increase the stringency of upwind emissions budgets to reduce more pollution sooner.




      92 Wisconsin, 938 F.3d at 319.
      93 Id. at 317.
      94 See, e.g., EPA-HQ-OAR-2021-0668-0070 “2026 EGU Contributions” tab,
Cells AS150, AS152, AS153, AS158;” see also “2026 NonEGU Contributions” tab,
Cells AS150, AS152, AS153, AS158; see also 87 Fed. Reg. at 20,093, Table VI.D.1-2;
87 Fed. Reg. at 20,096; Table VI.D.2-2.


                                          18
     Case: 23-60069      Document: 438-3       Page: 174   Date Filed: 09/26/2023




       In addition, even the emissions reductions achieved by 2026 are insufficient.
The Wisconsin court remanded the CSAPR Update because “[t]he Clean Air Act
requires upwind States to eliminate their significant contributions to downwind
ozone nonattainment by prescribed deadlines.” 95 The CSAPR Update not only failed
to do so by the next attainment deadline; it did not purport to do so by any attainment
deadline. Here, the Proposal simply relies on improving downwind air quality by
2032, not additional upwind emissions reductions after 2026, to eliminate significant
contribution. This is insufficient under Wisconsin. Instead—and assuming
elimination of significant contribution by 2026 is impossible, which EPA has not
demonstrated—EPA should have modeled years between 2026 and 2032 to determine
if downwind air quality problems persist in 2027, 2028, etc., and if so, whether and
how to achieve additional necessary emissions reductions.

          b. Additional emissions reductions are available from greater use
             of already installed controls at power plants.

       In the Proposal, EPA determined that reductions from optimizing installed
SCR (installed on 60 percent of the coal-powered fleet) will be available in 2023 and
set an emissions benchmark at 0.08 lb/mmBtu reflecting such optimized operation.
While the States support EPA’s determination to tighten the emissions benchmark,
the new rate is still higher than the typical rate achieved by sources actually running
their controls: over half of power plants during their third-best season of operation
achieved a 0.068 rate or lower. 96 In 2021, 71 percent of SCR-equipped power plant
sources in certain states covered by the Proposal achieved better than the 0.08 rate
EPA proposes. 97 Ample data thus supports a lower benchmark rate for power plants
with SCR, along with commensurately tightened upwind emissions budgets in 2023
and subsequent years.

       The data EPA used to derive the 0.08 lb/mmBtu rate illustrate that the rate is
too lax. EPA relied on historical data for recent years during which sources were not
fully operating their controls, according to agency findings. EPA has repeatedly
underestimated the emissions reductions available from SCRs and should not do so
again. Establishing a benchmark rate that is too lenient permits upwind states to
continue emitting far too much ozone precursor pollution.

          c. Additional emissions reductions are available from new SNCRs
             sooner than new SCRs and their timelines should be de-coupled.

      The Proposal recognizes that new SNCR control equipment is cost-effective for
sources emitting less than 100 tons per year of NOx, and also that such equipment


      95 938 F.3d at 319.
      96 EGU NOx Mitigation Strategies Proposed Rule TSD, EPA-HQ-OAR-2021-

0668-0125, at 8-9.
      97 EPA-HQ-OAR-2021-0668-0115, at Cell I4.



                                          19
     Case: 23-60069      Document: 438-3       Page: 175   Date Filed: 09/26/2023




could be installed much sooner than 2026. However, the current Proposal
unnecessarily links the timeline for new SCR and SNCR installation. For sources
that will install SNCR, earlier installation could reduce NOx emissions by as much
as 1,000 tons as early as 2024 because installation times are approximately 16
months, much shorter than the up to 48 months EPA believes it will take for fleetwide
SCR installation. Therefore, EPA should de-couple the SCR and SNCR timelines and
set emissions budgets to require SNCR sooner to comply with the statutory mandate
to eliminate significant contribution as expeditiously as practicable.

          d. Assuming new power plant controls are not possible by 2023,
             EPA should require additional controls as soon as they are
             possible.

       Wisconsin reaffirmed the statutory command to eliminate significant
contribution as expeditiously as practicable. But EPA has postponed additional
controls until the next attainment deadline for downwind states. If additional power
plant controls are not possible—and EPA must first make a more complete
demonstration showing this is the case—then additional controls should be required
by the next possible ozone season. If power plant controls are not available by 2023,
then they should be required as soon as possible thereafter: the earliest possible of
2024, 2025, or 2026. Moreover, even if controls are potentially unavailable fleetwide
for the beginning of the 2023 ozone season, if they are likely to be available sometime
during the season, EPA should still set emission budgets for the year based on the
time when they can be installed.

       EPA should set emissions budgets at a level that will require power plant
combustion controls for the 2023 ozone season. Installation time is six to eight
months, so even if they are not available for the beginning of the season, they could
be installed during the season. Units plainly have notice that combustion controls
will be required, and, indeed, many units that currently lack them are required to
have them installed under the Revised CSAPR Update for the 2008 ozone NAAQS
currently in force. Any units not covered by the Revised CSAPR Update, or that
cannot get these controls installed, can purchase allowances, leading to generation
shifting to lower-emitting sources.

      Even if not all power plants can install SCR before 2026, as EPA determined,
that does not mean that none can. EPA thus should consider phased emissions
reductions as SCR installations become available. For example, if 30 percent of power
plants can install SCR by an ozone season before 2026, emissions budgets should be
reduced accordingly.




                                          20
     Case: 23-60069     Document: 438-3       Page: 176   Date Filed: 09/26/2023




           e. EPA should not exclude certain non-power plant sources such
              as municipal waste combustors that produce a substantial
              amount of NOx that could be reduced at reasonable cost.

       Finally, significant and meaningful additional reductions are available from
units producing less than 25 megawatts, such as municipal solid waste combustors.
As the Ozone Transport Commission recommended in 2021, EPA should include
these units. 98 If NOx can be reduced at $2,900 to $6,600 per ton as estimated, these
costs are well within the thresholds established for non-power plant sources. With
respect to the request for comment at 87 Fed. Reg. 20,083 on whether there should
be exemptions for infeasibility, the Wisconsin court made clear that infeasibility is
not impossibility. Therefore, if any such sources seek an exemption or delay of
implementation, they must demonstrate impossibility.

   3. Dynamic budget updates and banking restrictions are necessary and
      required to ensure upwind states eliminate their significant
      contribution.

        The Proposal correctly observes that emissions budgets from prior rules have
proven too lenient in recent years—allowance prices plummeted and NOx emissions
rose. 99 For example, EPA highlights the Miami Fort Unit, equipped with SCR, which
tripled its ozone-season NOx emission rate between 2017 and 2019.100 Therefore, the
Proposal must go beyond the measures included in prior transport rules to address
their shortcomings. The dynamic budget updates and restrictions on allowance
banking are necessary. Maintaining the stringency of NOx reductions measures is
required when, even under the current Proposal, significant contribution continues
in 2026, more than a decade after promulgation of the 2015 ozone NAAQS and seven
years after SIPs addressing Good Neighbor obligations were due. EPA’s proposed
approach to budgets and allowances is consistent with EPA’s discretion, recognized
in EME Homer City and Wisconsin, to define upwind significant contribution
“amounts.” 101




      98  Ozone Transport Comm’n, Notice of Actions Taken by Ozone Transport
Comm’n at Annual Public Meeting, June 15, 2021, available at
https://otcair.org/upload/Documents/Meeting%20Materials/OTC%20Announcement
%20of%20Actions%20Taken%2020210615.pdf; see 87 Fed. Reg. at 20,086.
       99 87 Fed. Reg. at 20,095-96; see EPA, CSAPR Allowance Prices Jan. 2017 to

Feb. 2022, EPA-HQ-OAR-2021-0668-0146.
       100 Id. at 20,045 & n16.
       101 EME Homer City, 572 U.S. at 519-20; Wisconsin, 938 F.3d at 320.



                                         21
     Case: 23-60069      Document: 438-3       Page: 177   Date Filed: 09/26/2023




   4. Daily emissions limits are useful as a backstop, but the proposed
      allowance surrender model will not ensure rates are achieved if
      allowance prices fall.

          a. Downwind States have long sought daily emissions rates and
             support EPA’s decision to adopt such measures.

       Downwind states have long sought daily emissions limits as a complement to
EPA’s seasonal, mass-based allowance trading program. The States thus support
EPA’s proposal to adopt such limits. EPA has documented the need for these limits
in the Proposal and supporting Technical Support Documents. 102 Wisconsin and EME
Homer City bolster EPA’s authority to adopt these limits in recognizing EPA’s
discretion to determine significant contribution.

       Daily rates will particularly assist in reducing impacts on overburdened
communities. In communities and neighborhoods already struggling with elevated
ozone pollution, reducing the number and severity of high-ozone days is critical to
reducing the impacts on children with asthma, outdoor workers, and older people,
some of the people most impacted by poor air quality. As discussed above, the
consequences of ozone pollution are disproportionately borne by people of color and
those living below the federal poverty standard.

       Additionally, as New York and other downwind states have demonstrated in
petitions brought under Section 126(b) of the Act, unit-specific short-term emissions
limits are a complementary tool to a regional allowance trading program that can be
used to address persistent upwind significant contribution. Unit-specific short-term
emissions limits for many of the sources in the upwind states covered by this Proposal
are part of the relief requested in the State of New York’s March 2018 Clean Air Act
Section 126(b) petition, which was remanded to EPA in September 2020. 103 As with
the NOx SIP Call, EPA may consider addressing its overdue action on New York’s
petition through action in this regional transport rulemaking. Delaware and
Maryland’s respective 2016 Section 126(b) petitions, which EPA denied in 2018,
requested similar measures, demonstrating the need for short-term limits,
particularly related to high-ozone days. 104 Therefore, EPA’s inclusion of these short-
term limits as a complement to the seasonal allowance trading program is a well-
supported, appropriate measure long sought by downwind states.




      102 87 Fed. Reg. at 20,110-11; EGU NOx Mitigation Strategies Proposed Rule

Technical Support Document (TSD), EPA-HQ-OAR-2021-0125, at 29; Ozone
Transport Policy Analysis TSD, EPA-HQ-OAR-2021-0668-0133, App’x G at 90.
      103 See New York v. EPA, 964 F.3d 1214, 1226 (D.C. Cir. 2020).
      104 See 83 Fed. Reg. 50,444, 50,446-47 (Oct. 5, 2018).



                                          22
     Case: 23-60069     Document: 438-3       Page: 178   Date Filed: 09/26/2023




         b. Data on short-term emissions strongly support imposition of
            daily limits.

       Data on short-term emissions, particularly on high-ozone days (and the few
days preceding them), strongly support the imposition of daily backstop rates. The
Proposal identifies sources of interstate ozone pollution in upwind states such as
Missouri and Pennsylvania where SCR controls were not operating for substantial
periods of recent ozone seasons. 105 The Proposal further observed that downwind
states pointed to instances of elevated upwind source NOx emissions on the day of or
preceding an ozone exceedance in a downwind state. 106 Because individual
occurrences of high ozone are particularly dangerous to public health, and because
downwind attainment and maintenance are determined based on a few days of peak
levels, uneven operation of installed controls on upwind sources—even if they may
comply with an overall seasonal average rate—can wreak havoc on downwind health
and frustrate compliance with the NAAQS. Therefore, EPA’s analysis of high daily
NOx rates in later years of the CSAPR Update implementation supports the
Proposal’s inclusion of a backstop rate to complement seasonal emissions budgets.

         c. The compliance mechanism for daily limits should                       be
            strengthened to ensure sources meet the daily rates.

       Despite the benefits of a daily emissions limit, the States have concerns about
the proposed compliance mechanism’s effectiveness. The allowance surrender
enforcement provision will only incentivize compliance if allowance prices remain
comparable with control costs. The price for surrendered allowances may also not be
commensurate with harm caused to downwind populations—particularly in
overburdened communities—and the price for surrendered allowances may be grossly
out of proportion to the harm caused to downwind States if excess transported ozone
causes continued downwind nonattainment.

       Fundamentally, allowance surrender—even at a penalty ratio—is an after-the-
fact penalty, not necessarily a deterrent. To give the daily limits more “teeth,” EPA
should strengthen the deterrence aspect. Emissions limit exceedances should only be
covered by allowance surrender up to a certain percentage, similar to the assurance
provisions in state emissions budgets. Anything beyond the limit should be
considered a violation of the Act, subject to Clean Air Act enforcement and penalties.




      105 See Ozone Transport Policy Analysis TSD, EPA-HQ-OAR-2021-0668-0133,

App’x G at 90; see, e.g., 2021 NOx Rates for 234 SCR Coal Units, EPA-HQ-OAR-2021-
0668-0081, at Cells E51, E61, E83, E90, E91, E115, E116, E118, E160, E162.
      106 87 Fed. Reg. at 20,111 & n256 (citing Comment from Ben Grumbles,

Secretary, Maryland Department of the Environment on the Revised CSAPR Update,
EPA-HQ-OAR-2020-0272-0094).


                                         23
     Case: 23-60069      Document: 438-3       Page: 179   Date Filed: 09/26/2023




   5. EPA should continue to use 1 percent of the NAAQS as the screening
      threshold at CSAPR Step 2 and should rescind its 2018 alternative
      thresholds memorandum.

        EPA has continued to apply a 1-percent-of-the-NAAQS screening threshold to
determine which upwind states are linked to downwind receptors at CSAPR Step
2. 107 The States support continued use of this threshold, as it makes the linkage
analysis more stringent as the NAAQS have become more stringent. This screening
threshold appropriately captures a meaningful proportion of upwind contribution to
downwind nonattainment and maintenance receptors and provides a straightforward
method for separating significant contribution from amounts that are truly de
minimis.

       The States also urge EPA to rescind its 2018 memorandum 108 that suggested
that alternative screening thresholds, such as 1 ppb, could be appropriate for SIPs.
Allowing states or EPA to use a higher threshold, such as 1 ppb, would be a departure
from EPA’s longstanding precedent of using 1 percent of the ozone NAAQS. 109
Moreover, the analysis in the 2018 memo is inadequate to support a piecemeal, ad
hoc use of different screening thresholds. The memo contains no evaluation regarding
the result of such approach on downwind states’ ability to attain and maintain the
relevant NAAQS.

       Reducing the amount of upwind contribution that must be addressed in an
upwind state’s SIP or FIP would necessarily increase the amount of ozone that a
downwind state would be required to address on its own. This would further impede
downwind states’ abilities to attain the NAAQS. The increased amount of upwind
pollution that the 2018 memo proposed to allow could mean the difference between
attainment and nonattainment for some downwind States. The practical effect of
allowing a higher contribution screening threshold would be to shift responsibility for
upwind pollution from upwind to downwind states, even as the ozone NAAQS have
become increasingly stringent.

       Further, allowing different states contributing to a collective problem to use
different air quality threshold rates to avoid regulation is inequitable, as well as
arbitrary and capricious. Therefore, the States continue to support use of a threshold

      107 87 Fed. Reg. at 20,074.
      108 See EPA, Analysis of Contribution Thresholds for Use in Clean Air Act

Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan
Submissions for the 2015 Ozone National Ambient Air Quality Standards, EPA-HQ-
OAR-2018-0170-0027 (Aug. 31, 2018).
       109 Moreover, in 2009, many East Coast and Midwest States signed on to a

letter to EPA supporting the 1 percent threshold, including a number of the upwind
States here. See https://otcair.org/upload/Documents/Correspondence/Final%20
Recommendation%20Letter_090902.pdf.


                                          24
     Case: 23-60069     Document: 438-3       Page: 180   Date Filed: 09/26/2023




of 1 percent of the NAAQS and urge EPA to rescind the 2018 alternative thresholds
memorandum.

   6. EPA’s contemplation of any additional time beyond 2026 for facility-
      specific compliance should be extremely rare.

        EPA requests comment on whether it should provide a limited amount of time
beyond the 2026 ozone season for specific facilities to meet emissions limitations
based on a demonstration of necessity. 110 Given EPA’s delay in requiring non-power
plant controls until 2026, the circumstances where EPA should even contemplate
allowing more time upon a showing of “necessity” should be extremely rare. Since
EPA would effectively allow a facility to continue emitting amounts of air pollution
past downwind States’ attainment deadline, under Wisconsin the showing of
“necessity” must rise to the level of an actual “impossibility.” If EPA does allow for
this, it should set an early deadline and provide an opportunity for public notice and
comment.

Conclusion

       The States are downwind areas that employ some of the strictest air pollution
controls in the country, but still struggle to attain and maintain the 2015 ozone
NAAQS, due in large part to the interstate transport of ozone precursors from upwind
states, with significant impacts to public health and welfare. EPA must use its
authority under the Act to eliminate the excessive upwind emissions that prevent the
States from attaining and maintaining the standard, and it must require those
emission reductions as expeditiously as practicable. The Proposal provides some
welcome relief, but must be further strengthened to fully remedy upwind pollution
within the timeframe required by the Act.




      110 87 Fed. Reg. at 20,104.



                                         25
      Case: 23-60069   Document: 438-3      Page: 181    Date Filed: 09/26/2023




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                                       26
      Case: 23-60069    Document: 438-3       Page: 182   Date Filed: 09/26/2023




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                                         27
  Case: 23-60069   Document: 438-3   Page: 183   Date Filed: 09/26/2023




 Tab HQ-396: Comment submitted by Cleco Corporate
Holdings LLC (June 21, 2022) (EPA-HQ-OAR-2021-0668-0396)
          Case: 23-60069       Document: 438-3                       Page: 184                   Date Filed: 09/26/2023




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      Case: 23-60069        Document: 438-3          Page: 185    Date Filed: 09/26/2023




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OHYHOTXHVWLRQVDERXWWKHYLDELOLW\RIDQGMXVWLILFDWLRQIRUWKH3URSRVDO
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&RPSRXQGLQJWKLVFRQFHUQLV(3$¶VIDLOXUHWRWDNHWLPHO\DFWLRQRQWKHVWDWHSODQVGHVLJQHGWR
DGGUHVVWKHVDPHUHTXLUHPHQWV7KH6WDWHRI/RXLVLDQDVXEPLWWHGDVWDWHLPSOHPHQWDWLRQSODQ
  6,3 WR(3$RQ1RYHPEHUGHPRQVWUDWLQJWKDWLWVVRXUFHVGRQRWVLJQLILFDQWO\FRQWULEXWH
WRGRZQZLQGQRQDWWDLQPHQWRULQWHUIHUHZLWKPDLQWHQDQFHRIDPELHQWVWDQGDUGVLQGRZQZLQG
DUHDV7KDW6,3ZDVGHYHORSHGSXUVXDQWWR(3$JXLGDQFHUHJDUGLQJWKHGHPRQVWUDWLRQUHTXLUHG
XQGHUWKH³JRRGQHLJKERU´SURYLVLRQRIWKH&OHDQ$LU$FW+RZHYHU(3$WRRNQRDFWLRQRQWKDW
6,3IRURYHUWZR\HDUV7KHQVL[GD\VSULRUWRVLJQLQJWKH3URSRVDOWRLPSRVHDIHGHUDO
LPSOHPHQWDWLRQSODQRQ/RXLVLDQDRQ)HEUXDU\(3$VXGGHQO\SURSRVHGWRGLVDSSURYH
/RXLVLDQD¶V6,3(3$¶VIDLOXUHWRWLPHO\UHYLHZDQGDFWRQWKDW6,3IROORZHGE\LWVLPPHGLDWH
SURSRVDORID),3KDYHHOLPLQDWHGDQ\UHDORSSRUWXQLW\IRU/RXLVLDQDDQGWKHUHJXODWHG
FRPPXQLW\WRHYDOXDWHWKHUHDVRQVIRU(3$¶VSURSRVHGDFWLRQWRGLVDSSURYH/RXLVLDQD¶V
VXEPLVVLRQDQGWRVXEPLWDUHYLVHGSODQ
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(3$FODLPVWKDWLWPXVWPRYHTXLFNO\WRPHHWWKHDWWDLQPHQWGHDGOLQHVIRUWKHR]RQH
1$$46+RZHYHU(3$¶VIDLOXUHWRWDNHWLPHO\DFWLRQRQ/RXLVLDQD¶V6,3RUSURSRVHD),3
VRRQHULVQRH[FXVHIRUOHDYLQJVWDWHVZLWKLQVXIILFLHQWWLPHWRHYDOXDWH(3$¶VGHFLVLRQZKLFK
HVVHQWLDOO\DPRXQWVWRUHSODFLQJVWDWHSROLF\FKRLFHVZLWKLWVRZQ7KH'&&LUFXLWKDV
FRQILUPHGWKDWWKH&OHDQ$LU$FWDOORZVIRUWKHFRQVLGHUDWLRQRIUHOHYDQWFLUFXPVWDQFHVWKDWPD\
UHTXLUH(3$WRWDNHPRUHWLPHZKHQQHFHVVDU\Wisconsin v. EPA)G '&&LU
  FRQILUPLQJWKH³JRRGQHLJKERU´SURYLVLRQ³PLJKWUHDVRQDEO\EHUHDGXQGHUSDUWLFXODU
FLUFXPVWDQFHVDQGXSRQDVXIILFLHQWVKRZLQJRIQHFHVVLW\WRDOORZVRPHGHYLDWLRQEHWZHHQWKH



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       Case: 23-60069           Document: 438-3              Page: 186      Date Filed: 09/26/2023




XSZLQGDQGGRZQZLQGGHDGOLQHV´ +HUH(3$¶VRZQIDLOXUHWRDFWKDVUHVXOWHGLQWKHWLPH
SUHVVXUHRIZKLFK(3$QRZFRPSODLQVEXWUHJDUGOHVVRIWKHUHDVRQVWDWHVDQGVWDNHKROGHUV
DOLNHQHHGPRUHWLPHWRHYDOXDWHZKDW(3$LVWU\LQJWRGRLQODVWPLQXWHIDVKLRQ
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:KLOH(3$DJUHHGWRDOLPLWHGH[WHQVLRQRIGD\VWRWKHRULJLQDOGD\FRPPHQWSHULRG
GD\VLVQRWQHDUO\HQRXJKWLPHWRHYDOXDWHZKDW(3$KDVSURSRVHG,QFRPSDULVRQ(3$WRRN
PRUHWKDQWZR\HDUVWRHYDOXDWHLQGLYLGXDO6,3VGHDOLQJZLWKWKHVDPHVXEMHFWDQGOLNHO\WRRN
PRUHWKDQD\HDUWRGHYHORSWKH3URSRVDOLWVHOI8QGHUWKHVHFLUFXPVWDQFHV&OHFRDVNV(3$WR
SURYLGHVWDNHKROGHUVDQRWKHUGD\VWRUHYLHZDQGFRPPHQWRQWKH3URSRVDO
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&RPPHQW
(3$¶VFRVWHIIHFWLYHQHVVHYDOXDWLRQVDUHLQFRUUHFW
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7KHIRXQGDWLRQRI(3$¶V3URSRVDOLVDGHWHUPLQDWLRQWKDWFHUWDLQHPLVVLRQFRQWUROPHDVXUHVDUH
XQLYHUVDOO\FRVWHIIHFWLYHIRUFHUWDLQNLQGVRIHOHFWULFJHQHUDWLQJXQLWV (*8V 6SHFLILFDOO\
(3$FODLPVWKDW  VHOHFWLYHFDWDO\WLFUHGXFWLRQ 6&5 FRQWUROV\VWHPVDUHFRVWHIIHFWLYHIRUDOO
FRDOILUHG(*8VJUHDWHUWKDQ0:LQFDSDFLW\  VHOHFWLYHQRQFDWDO\WLFUHGXFWLRQ 61&5 
FRQWUROV\VWHPVDUHFRVWHIIHFWLYHIRUDOOFRDOILUHG(*8VOHVVWKDQ0:LQFDSDFLW\DQG  
6&5LVFRVWHIIHFWLYHIRUDOOQDWXUDOJDVILUHGVWHDP(*8VWKDWHPLWWHGPRUHWKDQWRQVRI
QLWURJHQR[LGHV 12[ GXULQJDQ\RQHRIWKHR]RQHVHDVRQVLQDQG(3$WKHQ
GHILQHVLQFLUFXODUIDVKLRQWKHODFNRIWKHVH³FRVWHIIHFWLYH´FRQWUROVDVFDXVLQJWKH³VLJQLILFDQW
FRQWULEXWLRQ´WKDWPXVWEHHOLPLQDWHGWRVDWLVI\WKHJRRGQHLJKERUSURYLVLRQ(3$¶V3URSRVDO
VHHPVWREHDWKLQO\YHLOHGDWWHPSWWRLPSRVH6&5RQDOOFRDOILUHGXQLWVUHJDUGOHVVRIDFWXDODLU
TXDOLW\EHQHILWVSDUWLFXODUO\VLQFH(3$¶VRZQFRVWHIIHFWLYHQHVVDQDO\VLVGRHVQRWVXSSRUWLWV
FRQFOXVLRQVDQGWKHDVVXPSWLRQVXQGHUO\LQJWKDWDQDO\VLVDUHLQFRUUHFW
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(3$¶VRZQDQDO\VLVWDNHQDWIDFHYDOXHFRQILUPVWKDW6&5VDUHQRWFRVWHIIHFWLYH(3$¶V
W\SLFDOEHQFKPDUNIRUFRVWHIIHFWLYHQHVVRI12[FRQWUROVLVSHUWRQZKLFKDOLJQVZLWK
WKHEHQFKPDUN(3$UHOLHGXSRQMXVWD\HDUDQGDKDOIDJRLQLWV5HYLVHG&6$358SGDWHUXOH,W
LVDOVRWKHEHQFKPDUN(3$DQGVWDWHVKDYHXVHGIRUGHFDGHVLQPDQ\RWKHU&OHDQ$LU$FW
SURJUDPV)RUH[DPSOH(3$KDVSUHYLRXVO\VWDWHGLQWKHFRQWH[WRID&6$35UXOHPDNLQJWKDW
EHVWDYDLODEOHFRQWUROWHFKQRORJ\ %$&7 GHWHUPLQDWLRQVZKLFKDUHXVHGWRUHJXODWHQHZ
VRXUFHVW\SLFDOO\XVHDSHUWRQFRVWHIIHFWLYHQHVVWKUHVKROG$YDOXHRISHU
WRQLVDOVRDWWKHKLJKHQGRIZKDWVWDWHVKDYHGHWHUPLQHGWREHFRVWHIIHFWLYHXQGHUWKHUHJLRQDO
KD]HSURJUDPSee1DWLRQDO3DUN6HUYLFH&RPPHQWVRQ'UDIW1RUWK'DNRWD5HJLRQDO+D]H6WDWH
,PSOHPHQWDWLRQ3ODQDW FLWLQJFRVWHIIHFWLYHQHVVWKUHVKROGVRI³WRQIRU(*8VLQ$5
DQG7;WRQLQ10DQGWRQLQ&2DQG25´ 
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 (3$76'IRUWKH3URSRVHG5HYLVHG&6$358SGDWHIRUWKH2]RQH1$$46(*812[0LWLJDWLRQ6WUDWHJLHV
(3$+42$5DW 2FW  FRVWHIIHFWLYHQHVVRIUHWURILW6&5SHUWRQ 
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(3$76'IRU&6$35IRUWKH2]RQH1$$46$VVHVVPHQWRI1RQ(*812[(PLVVLRQ&RQWUROV(3$+4
2$5DWQ $XJ  ³SHUWRQUHSUHVHQWVWKHFRVWWRQIRU>%$&7@GHWHUPLQDWLRQV´ 



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          Case: 23-60069           Document: 438-3        Page: 187   Date Filed: 09/26/2023




'HVSLWHWKHVHSULRUEHQFKPDUNV(3$QRZDVVHUWVWKDWWKHFRVWHIIHFWLYHQHVVRIUHWURILW6&5VLV
SHUWRQZHOODERYHZKDWLWKDVUHOLHGXSRQLQWKH&OHDQ$LU$FWSURJUDPVQRWHGDERYH
0RUHRYHU(3$¶VFRVWHIIHFWLYHQHVVYDOXHRISHUWRQVWLOOGRHVQRWDFFXUDWHO\UHSUHVHQW
(3$¶VRZQFRVWHIIHFWLYHQHVVDQDO\VLVEHFDXVHWKDWYDOXHLVD³ZHLJKWHGDYHUDJH´(3$FODLPV
WKLVDYHUDJHLV³UHSUHVHQWDWLYH´EXWGRHVQRWH[SODLQZK\DZHLJKWHGDYHUDJHLVDQDSSURSULDWH
PHWULFIRULPSRVLQJDuniversal FRQWUROUHTXLUHPHQWZKHQ(3$¶VDQDO\VLVLQGLFDWHVWKDW6&5LV
PXFKOHVVFRVWHIIHFWLYHIRUPDQ\(*8V,QIDFWWKHPHGLDQFRVWHIIHFWLYHQHVVYDOXHLQ(3$¶V
DQDO\VLVLVZKLFKPHDQV6&5LVQRWFRVWHIIHFWLYHIRUDWOHDVWKDOIRIWKH(*8V
HYDOXDWHG(3$¶VDQDO\VLVDOVRLQGLFDWHVWKDWWKHFRVWHIIHFWLYHQHVVYDOXHRI6&5IRUWHQSHUFHQW
RIWKH(*8VUHJXODWHGXQGHUWKH3URSRVDOZRXOGEHSHUWRQQHDUO\WZLFHWKHEHQFKPDUN
XVHGE\(3$DQGVWDWHVLQRWKHUSURJUDPV
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7KHKLJKOHYHODQGYDULDELOLW\RIWKHFRVWHIIHFWLYHQHVVYDOXHV(3$FDOFXODWHGFRQILUPVWKDW(3$
FDQQRWUHDVRQDEO\FRQFOXGHWKDW6&5LVXQLYHUVDOO\FRVWHIIHFWLYHIRUDOOFRDOILUHG(*8V
VHYHUHO\XQGHUPLQLQJWKHEHGURFNIRXQGDWLRQRILWV3URSRVDO$WDPLQLPXP(3$¶V3URSRVDO
DSSHDUVEDVHGRQDFRQFOXVLRQWKDWWKHFRQWUROVLWSODQVWRLPSRVHRQDVLJQLILFDQWQXPEHURI
XQLWVZLOOH[FHHGSHUWRQRI12[UHPRYHGZKLFK(3$GRHVQRWDQGFDQQRWFODLPWREH
FRVWHIIHFWLYH
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)RU(*8VDOUHDG\HTXLSSHGZLWK61&5WKHFRVWHIIHFWLYHQHVVYDOXHVDUHKLJKHUVWLOO8QLWVZLWK
H[LVWLQJ61&5V\VWHPVKDYHORZHUEDVHOLQH12[HPLVVLRQVVRWKHUHLVOHVV12[UHPDLQLQJIRU
DQ6&5WRFRQWUROPDNLQJWKHKLJKFRVWRI6&5HYHQOHVVMXVWLILDEOH(3$¶VRZQDQDO\VLV
FRQILUPVWKDWFRVWHIIHFWLYHQHVVYDOXHVIRU(*8VZLWKH[LVWLQJ61&5V\VWHPVDUHSHU
WRQHYHQRQDZHLJKWHGDYHUDJHZLWKDPHGLDQRISHUWRQDQGDWKSHUFHQWLOHRI
SHUWRQ(DFKRIWKHVHYDOXHVLVZHOODERYHWKHEHQFKPDUNWKDW(3$KDV
KLVWRULFDOO\UHOLHGXSRQ,QWKHSUHDPEOHWRWKH3URSRVDO(3$EUXVKHVDVLGHDQ\FRQFHUQV
UHJDUGLQJWKHFRVWHIIHFWLYHQHVVRI6&5IRU61&5HTXLSSHG(*8VFODLPLQJWKDWDQH[SODQDWLRQ
FDQEHIRXQGLQWKHWHFKQLFDOVXSSRUWGRFXPHQWVEXWWKHFLWHGGRFXPHQWSURYLGHVQR
H[SODQDWLRQIRU(3$¶VHUURQHRXVFRQFOXVLRQWKDWLQVWDOOLQJ6&5LVXQLYHUVDOO\FRVWHIIHFWLYHIRU
VXFKXQLWV2QWKHFRQWUDU\(3$¶VWHFKQLFDOVXSSRUWGRFXPHQWPHUHO\SURYLGHVWKHYDOXHV
DERYHZKLFKFRQILUPLQVWDOOLQJ6&5RQDQ(*8DOUHDG\HTXLSSHGZLWK61&5LVnotFRVW
HIIHFWLYH7KLVLVVXHLVRISDUWLFXODUFRQFHUQWR&OHFRJLYHQWKDWVHYHUDORILWV(*8VKDYH
DOUHDG\LQVWDOOHG61&5DQGFXUUHQWO\RSHUDWHDWORZ12[HPLVVLRQUDWHVWKDWZRXOGQRWMXVWLI\
WKHVLJQLILFDQWH[SHQVHRILQVWDOOLQJ6&5
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0RUHRYHUHYHQ(3$¶VUHODWLYHO\KLJKFRVWHIIHFWLYHQHVVYDOXHVVLJQLILFDQWO\XQGHUHVWLPDWHWKH
WUXHFRVWRILQVWDOOLQJ6&5&OHFRUHFHQWO\SUHSDUHGDIRXUIDFWRUDQDO\VLVXQGHUWKHUHJLRQDO
KD]HSURJUDPIRULWV%LJ&DMXQ,,IDFLOLW\DQGGHWHUPLQHGWKDWLQVWDOOLQJ6&5ZDVOLNHO\WRFRVW
ZHOODERYHSHUWRQRI12[UHPRYHG6SHFLILFDOO\RQFHDGMXVWHGIRUWKH³\HDUERRN

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(3$76'IRUWKH3URSRVHG),3IRUWKH1$$46(*812[0LWLJDWLRQ6WUDWHJLHV3URSRVHG5XOH76'(3$
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       Case: 23-60069          Document: 438-3            Page: 188      Date Filed: 09/26/2023




OLIH´WKDW(3$XVHGLQLWVFRVWHIIHFWLYHQHVVDQDO\VLV&OHFRGHWHUPLQHGWKDWWKHFRVW
HIIHFWLYHQHVVRILQVWDOOLQJ6&5DW%LJ&DMXQ,,8QLWVZRXOGEHEHWZHHQDQG
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(3$¶VFRVWHIIHFWLYHQHVVDQDO\VLVDOVRIDLOVWRWDNHLQWRDFFRXQWWKHIDFWWKDWFRVWVDUHHVFDODWLQJ
PRUHTXLFNO\WKDQHYHUEHIRUH/DERUVKRUWDJHVFRPPRGLW\SULFHVWKHFRVWRIFDSLWDODQG
VXSSO\FKDLQFRQVWUDLQWVDUHOLNHO\WRVLJQLILFDQWO\LQFUHDVHWKHFRVWRIFRQWUROVIDUEH\RQGZKDW
(3$DVVXPHGLQSUHSDULQJLWVDQDO\VLV7KXVDWDPLQLPXP&OHFRDVNV(3$WRUHYLHZLWVFRVW
HVWLPDWHVLQOLJKWRIPRUHUHFHQWLQIRUPDWLRQRQULVLQJSULFHVLQWKHFXUUHQWPDUNHW
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1RWRQO\KDV(3$JRWWHQWKH³FRVW´SRUWLRQRILWVDQDO\VLVZURQJ(3$KDVDOVRPLVMXGJHGWKH
³HIIHFWLYHQHVV´RI6&5IRUFRDOILUHGXQLWV)XUWKHUPRUH(3$¶VDVVHVVPHQWVRIWKHHPLVVLRQ
DFKLHYDEOHZLWK6&5KDVEHHQKLJKO\LQFRQVLVWHQW,QLWVFRVWHIIHFWLYHQHVVDQDO\VLV(3$
DVVXPHV6&5FDQDFKLHYHOEPP%WX see(*812[0LWLJDWLRQ76' EXW(3$¶VEDFNVWRS
OLPLW GLVFXVVHGLQPRUHGHWDLOEHORZ LVVHWDWOEPP%WX7KHQLQVHWWLQJVWDWHHPLVVLRQ
DOORZDQFHEXGJHWV(3$DVVXPHVWKDW(*8VZLWKH[LVWLQJ6&5FDQDFKLHYHOEPP%WXEXW
(3$DVVXPHVQHZ6&5VLQVWDOOHGLQFDQDFKLHYHOEPP%WX(3$GRHVQRW
VXIILFLHQWO\H[SODLQLWVXVHRIIRXUGLIIHUHQWYDOXHVIRUWKHVDPHDVVXPSWLRQLQGLIIHUHQWSDUWVRI
LWV3URSRVDO
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(3$PXVWXVHDFRQVLVWHQWHPLVVLRQUDWHLQHYDOXDWLQJWKHFRVWHIIHFWLYHQHVVRI6&5VDQGVHWWLQJ
VWDWHEXGJHWVDQGWKDWUDWHPXVWEHKLJKHQRXJKWRUHIOHFWZKDWLVDFWXDOO\DFKLHYDEOHZLWKWKH
WHFKQRORJ\(3$¶VDVVXPHGUDWHIRUHYDOXDWLQJWKHFRVWHIIHFWLYHQHVVRI6&5OEPP%WXLV
QRWVXIILFLHQWEHFDXVHLWIDLOVWRDFFRXQWIRUDZLGHYDULHW\RIIDFWRUVWKDWFDQUHVXOWLQKLJKHU
HPLVVLRQVLQFOXGLQJFDWDO\VWGHJUDGDWLRQRYHUWLPHF\FOLQJRUORZORDGRSHUDWLRQVLQVXSSRUWRI
UHQHZDEOHJHQHUDWLRQUHVRXUFHVDQGVWDUWXSVRUVKXWGRZQVGXULQJZKLFKWKH6&5FDQQRWEH
RSWLPL]HGRUFDQQRWIXQFWLRQDWDOO
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&OHFRKDVVLPLODUFRQFHUQVUHJDUGLQJ(3$¶VGHWHUPLQDWLRQWKDW6&5LVXQLYHUVDOO\FRVWHIIHFWLYH
IRUJDVVWHDP(*8VRIZKLFK&OHFRKDVVHYHUDO7KRVHXQLWVDOUHDG\HPLWDWDUHODWLYHO\ORZ
12[UDWHWKDWLVXQOLNHO\WRMXVWLI\LQVWDOODWLRQRI6&5EXW(3$DVVXPHVDQ\XQLWWKDWHPLWWHG
PRUHWKDQWRQVRI12[LQRQHRIWKUHH\HDUV  PXVWLQVWDOO6&5(3$VHHNVWR
HQIRUFHWKDWGHWHUPLQDWLRQE\VHWWLQJVWDWHEXGJHWVEDVHGRQDQDVVXPSWLRQWKDWJDVVWHDP(*8V
FDQPHHWDQHPLVVLRQUDWHRIOEPP%WXRYHUWKHFRXUVHRIDQHQWLUHR]RQHVHDVRQ
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/LNHLWVDQDO\VLVIRUFRDOILUHG(*8V(3$¶VDQDO\VLVIRUJDVILUHGVWHDP(*8VDFWXDOO\
FRQILUPV6&5LVQRWFRVWHIIHFWLYHIRUPDQ\XQLWV HYHQWKRXJKDVH[SODLQHGEHORZLWLVEDVHG
RQXQUHDOLVWLFDOO\RSWLPLVWLFDVVXPSWLRQV (3$UHOLHVRQWKHZHLJKWHGDYHUDJHFRVW
HIIHFWLYHQHVVYDOXHSHUWRQEXWWKHPHGLDQYDOXHLVDFWXDOO\SHUWRQDQGWKHWK
SHUFHQWLOHYDOXHLVSHUWRQFRQILUPLQJWKDWLQVWDOOLQJ6&5ZRXOGQRWEHFRVWHIIHFWLYH
RQDWOHDVWKDOIRIWKHJDVVWHDP(*8VHYDOXDWHG0RUHRYHUZKLOH(3$ZDVDWOHDVWFRQVLVWHQW
LQXVLQJWKHVDPHHPLVVLRQUDWHIRUJDVVWHDPXQLWVWRVHWVWDWHEXGJHWVDQGLQHYDOXDWLQJFRVW

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 (3$5HWURILW&RVW$QDO\]HU(3$+42$5 ³FDSLWDOFKDUJH´IRUDQQXDOL]LQJFRVWVEDVHGRQD
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       Case: 23-60069          Document: 438-3            Page: 189     Date Filed: 09/26/2023




HIIHFWLYHQHVVWKDWUDWHRIOEPP%WXLVIDUWRRDJJUHVVLYHDQGXQOLNHO\WREHDFKLHYDEOHORQJ
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(3$UHOLHGRQDQLQFRUUHFWEDVHOLQHHPLVVLRQUDWHIRUHYDOXDWLQJWKHFRVWHIIHFWLYHQHVVRI6&5
IRUJDVVWHDP(*8V(3$DVVXPHGDEDVHOLQHUDWHRIOEPP%WXSULRUWRWKHLQVWDOODWLRQRI
FRQWUROVEXWWKHGDWDLWXVHGWRGHYHORSVWDWHEXGJHWVFRQILUPVWKDWPDQ\JDVVWHDPXQLWV
DOUHDG\KDYHPXFKORZHUHPLVVLRQUDWHV)RUH[DPSOH(3$UHFRJQL]HVWKDW%LJ&DMXQ,,8QLW
FXUUHQWO\HPLWVDWD12[UDWHRIOEPP%WXDERXWKDOIRIWKHDPRXQW(3$DVVXPHVLQ
HYDOXDWLQJWKHFRVWHIIHFWLYHQHVVRI6&5$WWKDWORZHUUDWHWKHFRVWHIIHFWLYHQHVVYDOXHIRU%LJ
&DMXQ,,8QLWLVOLNHO\WZLFHZKDW(3$UHOLHVXSRQLQLWVDQDO\VLV
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&OHFRVXSSRUWV(3$¶VGHFLVLRQQRWWRDSSO\6&5WRFLUFXODWLQJIOXLGL]HGEHGXQLWV+RZHYHUIRU
WKHUHDVRQVLGHQWLILHGDERYH&OHFRDVNV(3$WRUHFRQVLGHULWVFRQFOXVLRQWKDW6&5LVXQLYHUVDOO\
FRVWHIIHFWLYHIRUFRDOILUHGDQGJDVVWHDP(*8V
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,QFUDIWLQJWKH3URSRVDO(3$QRWRQO\DVVXPHGWKDW6&5LVXQLYHUVDOO\FRVWHIIHFWLYHEXWWKDW
WKDWGR]HQVRI(*8VFDQLQVWDOO6&5LQMXVWDIHZ\HDUV$OWKRXJKWKH6&5IRUFLQJ³EDFNVWRS´
OLPLW(3$KDVSURSRVHGZLOOQRWEHFRPHHIIHFWLYHXQWLOWKHR]RQHVHDVRQIRUXQLWVZLWKRXW
DQH[LVWLQJ6&5(3$GUDPDWLFDOO\UHGXFHVDOOVWDWHEXGJHWVEHJLQQLQJLQWKHR]RQHVHDVRQ
WRUHIOHFWLWVDVVXPSWLRQWKDW6&5FDQEHLQVWDOOHGEHIRUH0D\6LQFHWKH3URSRVDOLV
XQOLNHO\WREHILQDOL]HGEHIRUHHDUO\WKDWHVVHQWLDOO\OHDYHVMXVWWKUHH\HDUVWRFRQVWUXFWDOO
RIWKH6&5V(3$KDVDVVXPHGLQHVWDEOLVKLQJVWDWHEXGJHWV(YHQZLWKLQMXVW/RXLVLDQD(3$
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VLPLODUIHDWV²7H[DV2NODKRPDDQG$UNDQVDVIRULQVWDQFHDUHDVVXPHGWRLQVWDOODQG
6&5VUHVSHFWLYHO\EULQJLQJWKHWRWDOQXPEHURI6&5VWKDW(3$FODLPVPXVWEHLQVWDOOHGLQWKUHH
\HDUVWRDWOHDVW6&5VZLWKLQ(3$5HJLRQDORQH
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,QVWDOOLQJRQH6&5LQWKUHH\HDUVLVGLIILFXOWEXWLQVWDOOLQJ6&5VLQWKUHH\HDUVLVIDQWDV\
7KHDYDLODEOHVXSSO\RIVNLOOHGODERUDQGVSHFLDOL]HGPDWHULDOVLVFOHDUO\LQVXIILFLHQWWRVDWLVI\
WKLVZLVKIXOWKLQNLQJSDUWLFXODUO\LQOLJKWRIUHFHQWFKDQJHLQPDUNHWFRQGLWLRQVWKDW(3$FRXOG
QRWKDYHDQWLFLSDWHGZKHQLWGHVLJQHGWKH3URSRVDO6SHFLILFDOO\(3$¶VWLPLQJDVVXPSWLRQVIDLO
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(3$76'IRUWKH3URSRVHG),3IRUWKH1$$46(*812 [0LWLJDWLRQ6WUDWHJLHV3URSRVHG5XOH76'(3$
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          Case: 23-60069          Document: 438-3              Page: 190        Date Filed: 09/26/2023




VXSSO\FKDLQGHOD\VLQIODWLRQDQGWKHRQJRLQJZDULQ8NUDLQHDOORIZKLFKDUHOLNHO\WR
FRQVWUDLQWKHDELOLW\RIVRXUFHVWRFRQGXFWVRPDQ\PDVVLYHFRQVWUXFWLRQSURMHFWVLQVROLWWOHWLPH
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(YHQLIWKHVHQHZFKDOOHQJHVKDGQRWDULVHQ(3$KDVIDLOHGWRFRQVLGHUWKHLPSDFWRIDUXOHWKDW
ZRXOGIRUFHLQVWDOODWLRQRIVRPDQ\FRQWUROGHYLFHVLQVXFKDVKRUWSHULRGRIWLPH(DFKRIWKH
XQLWVWKDW(3$DVVXPHVZLOOLQVWDOO6&5LQUHVSRQVHWRWKH3URSRVDOZRXOGUHTXLUHDPDMRU³WLH
LQ´RXWDJHRIDWEHWZHHQGD\VIRUWKHFRQWUROVWREHLQVWDOOHG7KHVHRXWDJHVZRXOGDOOQHHG
WRRFFXUDWDSSUR[LPDWHO\WKHVDPHWLPHQHDUWKHHQGRIWKHWKUHH\HDUFRPSOLDQFHZLQGRZLQWKH
3URSRVDO7KHVHRXWDJHVZRXOGDOPRVWVLPXOWDQHRXVO\UHPRYHJHQHUDWLRQUHVRXUFHVIURPWKH
JULGUHVXOWLQJLQDVHYHUHVKRUWDJHRIJHQHUDWLRQMXVWEHIRUHDQGOLNHO\GXULQJWKHR]RQH
VHDVRQ(YHQ(3$GRHVQRWDSSHDUWRWUXO\EHOLHYHWKDWVRPDQ\6&5VFDQEHLQVWDOOHGEHIRUH
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PDVVLYHQXPEHUVRIXQLWUHWLUHPHQWVQRW6&5VDVGLVFXVVHGLQ&RPPHQWEHORZ
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(3$UHFRJQL]HVWKDWLQWKHSDVWWKHWLPHQHHGHGWRLQVWDOODQ6&5KDVYDULHGEHWZHHQ\HDUV
DQGWKDWWKHUDQJHGHSHQGHGRQ³WKHQXPEHURILQVWDOODWLRQVEHLQJFRQVLGHUHG´6LQFH(3$KDV
QHYHUEHIRUHH[SHFWHGVRPDQ\6&5VWREHLQVWDOOHGVRTXLFNO\WKHKLJKHQGRIWKDWUDQJHLVWKH
DEVROXWHPLQLPXPWKDWZRXOGEHQHHGHGIRUWKHXQSUHFHGHQWHGOHYHORIZRUNQHHGHGWRDFKLHYH
(3$¶VDJJUHVVLYHDVVXPSWLRQV$GGLWLRQDOO\&OHFRTXHVWLRQVWKH\HDUZLQGRZ(3$KDV
HVWLPDWHGIRU6&5LQVWDOODWLRQ,QHYDOXDWLQJWKHIHDVLELOLW\DQGFRVWRIYDULRXVFRQWUROPHDVXUHV
DVSDUWRILWVIRXUIDFWRUDQDO\VHVIRUWKHUHJLRQDOKD]HSURJUDP&OHFRKDVFORVHO\UHYLHZHGWKH
WLPHQHHGHGIRUFRPSOLDQFHZLWKDUHTXLUHPHQWWRLQVWDOO6&5VLQFH³WLPHWRFRPSO\´LVRQHRI
WKHIRXU³UHDVRQDEOHSURJUHVV´IDFWRUV%DVHGRQWKDWFRPSUHKHQVLYHDQDO\VLV&OHFRGHWHUPLQHG
WKDWLQVWDOODWLRQRI6&5LVOLNHO\WRWDNHILYH\HDUVXQGHUFXUUHQWPDUNHWFRQGLWLRQVDQGJLYHQWKH
VLWHVSHFLILFFRQVLGHUDWLRQVUHOHYDQWWRLWV(*8V7KLVFRQFOXVLRQLVFRQVLVWHQWZLWKSULRU(3$
GHWHUPLQDWLRQVWKDWLQGLFDWHLQVWDOOLQJDQ6&5LQILYH\HDUVLVDVH[SHGLWLRXVDVSUDFWLFDEOHLQ
VRPHFLUFXPVWDQFHV(3$KDVUHFRJQL]HGLQWKH3URSRVDOWKDWVLWHVSHFLILFFRQVLGHUDWLRQVDUH
UHOHYDQWLQHYDOXDWLQJWKHWLPHQHHGHGWRLQVWDOO6&5EXW(3$DSSHDUVWRKDYHPDGHQRHIIRUWWR
HYDOXDWHWKRVHFRQVLGHUDWLRQVLQDVVXPLQJWKDWDOO(*8VFDQLQVWDOODQ6&5E\0D\ZKHQ
VWDWHEXGJHWVDUHFXWGUDPDWLFDOO\WRUHIOHFW(3$¶VFRQWURODVVXPSWLRQV
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:KLOH(3$PD\EHOLHYHWKHWUDGLQJPDUNHWIRUDOORZDQFHVZLOOSURYLGHWKHFRPSOLDQFH
IOH[LELOLW\QHHGHGE\VRPHIDFLOLWLHVGXHWRVLWHVSHFLILFFRQVLGHUDWLRQVWKHPDUNHWIRUDOORZDQFHV
LVKLJKO\XQOLNHO\WREHUREXVWHQRXJKWRDOORZDOOXQLWVZLWKVXFKFRQVWUDLQWVWRFRPSO\YLD
SURFXULQJDOORZDQFHV$OVRWRWKHH[WHQW(3$H[SHFWVVRXUFHVWREHJLQWKHZRUNRQ6&5
LQVWDOODWLRQVSULRUWRILQDOL]DWLRQRIWKH3URSRVDOWKDWH[SHFWDWLRQLVLQFRQVLVWHQWZLWKUHJXODWRU\
UHTXLUHPHQWVIRUSUXGHQWXWLOLW\SODQQLQJDQGFRPPRQEXVLQHVVVHQVHJLYHQWKDW(3$¶VILQDO
UXOHVRIWHQGLIIHUIURPLWVSURSRVDOV8WLOLW\FRPSDQLHVOLNH&OHFRDUHDFFRXQWDEOHWRXWLOLW\
FRPPLVVLRQVMRLQWRZQHUVDQGRWKHUVKDUHKROGHUVDQGWKH\FDQQRWJDPEOHWKDWWKH3URSRVDO
ZLOOEHFRPHODZXQWLOLWGRHVSDUWLFXODUO\ZKHQWKH3URSRVDOGRHVQRWDSSHDUJURXQGHGLQ
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      Case: 23-60069         Document: 438-3          Page: 191    Date Filed: 09/26/2023




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(3$¶VH[FXVHIRUVXFKDQXQUHDOLVWLFLPSOHPHQWDWLRQWLPHOLQHLVWKDWLWPXVWPHHWWKHGHDGOLQHV
IRUDWWDLQPHQWVHWE\WKH&OHDQ$LU$FW+RZHYHUDVQRWHGDERYHWKH'&&LUFXLWKDVPDGH
FOHDUWKDWFLUFXPVWDQFHVPD\MXVWLI\PRUHWLPH(3$KDVDOUHDG\UHFRJQL]HGLWVDXWKRULW\WRPLVV
DQDWWDLQPHQWGHDGOLQHWKDWLVQRWSRVVLEOHWRPHHWE\GHFLGLQJWKDW6&5FDQQRWEHLQVWDOOHGE\
WKHILUVWDWWDLQPHQWGHDGOLQHIRUPDUJLQDOQRQDWWDLQPHQWDUHDV&OHFRDJUHHVWKDW6&5V
FDQQRWEHLQVWDOOHGE\EXWDVNV(3$WRDOVRUHFRJQL]HWKDWWKHQXPEHURI6&5VLWDVVXPHV
DUHQHHGHGFDQQRWEHLQVWDOOHGE\HLWKHU(3$PXVWHLWKHUUHFRJQL]HWKDWRQO\DPRUH
OLPLWHGVHWRIFRQWUROVZLOOEH³FRVWHIIHFWLYH´DQGWKXVIHZHUFRQWUROVDUHZDUUDQWHGWRHOLPLQDWH
ZKDW(3$KDVGHILQHGDVD³VLJQLILFDQWFRQWULEXWLRQ´WRGRZQZLQGVWDWHVRU(3$PXVWUHFRJQL]H
WKDWWKH³VLJQLILFDQWFRQWULEXWLRQ´LWFODLPVWRKDYHLGHQWLILHGFDQQRWEHHOLPLQDWHGE\WKH
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WRLQVWDOOFRPEXVWLRQFRQWUROV$OWKRXJKFRPEXVWLRQFRQWUROVFDQFHUWDLQO\EHLQVWDOOHGPRUH
TXLFNO\WKDQ6&5WKH3URSRVDOVWLOOGRHVQRWDOORZHQRXJKWLPHIRUWKHZRUNWREHFRPSOHWHG
(YHQDVVXPLQJ(3$LVVXHVDILQDOUXOHLQ-DQXDU\WKDWZRXOGRQO\DOORZILYHPRQWKVIRU
LQVWDOOLQJWKHFRPEXVWLRQFRQWUROV(3$KDVDVVXPHGLQVHWWLQJVWDWHEXGJHWV$Q\IXUWKHUGHOD\
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FRPSDQLHVFDQQRWEHJLQWKHLUHIIRUWVWRFRPSO\XQWLO(3$ILQLVKHVLWVZRUNZKLFKLVRIWHQODWHU
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$IHZPRQWKVLVQRWHQRXJKWLPHWRFRPSOHWHDOORIWKHVWDJHVRIDFRPEXVWLRQFRQWUROSURMHFW
LQFOXGLQJELGSUHSDUDWLRQDQGHYDOXDWLRQHQJLQHHULQJIDEULFDWLRQVKLSSLQJRIHTXLSPHQW
LQVWDOODWLRQDQGFRPPLVVLRQLQJ(3$LWVHOIUHFRJQL]HVWKDWLQVWDOODWLRQRIFRPEXVWLRQFRQWUROV
ZRXOGUHTXLUHPRQWKVWRFRPSOHWHDOORIWKHVHDFWLYLWLHVEXWWKHSURSRVHGUXOHZLOOQRWDOORZ
HYHQWKDWDPRXQWRIWLPHXQOHVVLWLVILQDOL]HGLQ6HSWHPEHUZKLFKZRXOGEHDQLPSRVVLEOH
WDVNIRU(3$JLYHQWKHQHHGWRUHYLHZDQGUHVSRQGWRFRPPHQWVDQGWKHQFRPSOHWHWKH
DGPLQLVWUDWLYHSURFHGXUHVQHHGHGWRVLJQDQGSXEOLVKDILQDOUXOH7KHUHIRUH(3$VKRXOG
UHFRJQL]HWKDWPHHWLQJDGHDGOLQHLVQRWSRVVLEOHWRWKHH[WHQWLWUHTXLUHVDQ\QHZFRQWURO
LQVWDOODWLRQVZKHWKHUFRPEXVWLRQRUSRVWFRPEXVWLRQFRQWUROVDQGVKRXOGDOWHULWVVWDWHEXGJHW
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SURJUDPGHVLJQHGIRUWKHR]RQH1$$46(3$KDVSURSRVHGVRPDQ\³HQKDQFHPHQWV´WKDW
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FRQVWUDLQWVRQWKHWUDGLQJRIHPLVVLRQDOORZDQFHVDQGIDUPRUHVWULQJHQWVWDWHEXGJHWVDYLDEOH
WUDGLQJPDUNHWDSSHDUVXQOLNHO\WRGHYHORS&XUUHQWUHSRUWVLQGLFDWHWKDW&6$35R]RQHVHDVRQ
DOORZDQFHVKDYHDOUHDG\VN\URFNHWHGSDVWSHUDOORZDQFHLQUHVSRQVHWR(3$¶V3URSRVDO
OLNHO\GXHWRKRZVWULFWLWVXJJHVWVWKH&6$35SURJUDPLVOLNHO\WREHFRPH
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      Case: 23-60069         Document: 438-3           Page: 192    Date Filed: 09/26/2023




&OHFRDVNV(3$WRUHFRQVLGHUWKHFRPSRQHQWVRILWVSURSRVDOWKDWUHVWULFWWKHDOORZDQFHWUDGLQJ
QHHGHGWRSURYLGHIOH[LELOLW\LQDFKLHYLQJFRPSOLDQFH6SHFLILFDOO\&OHFRDVNV(3$WRDEDQGRQ
IRXURIWKH³HQKDQFHPHQWV´LQLWV3URSRVDO
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)LUVW&OHFRDVNV(3$WRUHPRYHWKH³EDFNVWRS´OLPLW7KHGDLO\OLPLWRIOEPP%WXLVQRWD
³EDFNVWRS´WRDQ\WKLQJEXWHTXDWHVWRDUHTXLUHPHQWWRLQVWDOO6&5RQDOOFRDOILUHG(*8VWR
ZKLFKLWZRXOGDSSO\)DUPRUHWKDQLWVQDPHZRXOGVXJJHVWWKH³EDFNVWRS´OLPLWVHUYHVDVD
VHSDUDWHDQGLQGHSHQGHQWFRQWUROUHTXLUHPHQWPXFKPRUHDNLQWRDQH[LVWLQJVRXUFHHPLVVLRQ
VWDQGDUGDGRSWHGXQGHU6HFWLRQV G RURIWKH&OHDQ$LU$FW6LQFH(3$KDVQRWPDGH
WKHGHPRQVWUDWLRQVWKDWZRXOGEHQHHGHGWRVHWVXFKDQHPLVVLRQVWDQGDUGLWVKRXOGQRWVHHNWR
LQVHUWRQHLQWRD³JRRGQHLJKERU´UXOHXQGHUWKHJXLVHRID³EDFNVWRS´$VDXQLYHUVDOO\
DSSOLFDEOHVWDQGDUGLWLVOLNHO\WRHOLPLQDWHWKHSRWHQWLDOEHQHILWVRIHPLVVLRQDOORZDQFHWUDGLQJ
ZKLFKGHSHQGVRQWKHDELOLW\RIVRPHVRXUFHVWRRYHUFRQWURODQGIUHHXSDOORZDQFHVIRUWKRVH
WKDWILQGLWOHVVFRVWHIIHFWLYHWRLQVWDOOQHZFRQWUROV
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0RUHRYHUDVQRWHGDERYHOEPP%WXPD\EHWRRORZIRUVRPHXQLWVWRDFKLHYHHYHQZLWK
6&5GXHWRF\FOLQJRUORZORDGRSHUDWLRQQHHGHGWRVXSSRUWLQWHJUDWLRQRIUHQHZDEOHHQHUJ\
UHVRXUFHVDVZHOODVVWDUWXSDQGVKXWGRZQSHULRGVZKHQDQ6&5FDQQRWIXOO\RSHUDWH6LQFH
(3$KDVSUHYLRXVO\UHFRJQL]HGWKDWDZRUNSUDFWLFHVWDQGDUGLVPRUHDSSURSULDWHIRUUHJXODWLQJ
HPLVVLRQVGXULQJVWDUWXSDQGVKXWGRZQRI(*8V &)53DUW6XESDUW888887DEOH 
(3$VKRXOGDWDPLQLPXPLQFRUSRUDWHWKHVDPHDSSURDFKKHUHDVZHOO
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6HFRQG&OHFRDVNV(3$WRHOLPLQDWHWKHSURSRVHGG\QDPLFEXGJHWLQJSURFHVV7KDWSURFHVV
IXQFWLRQVWRUHGXFHDVWDWH¶VEXGJHWLIWKHKHDWLQSXWXWLOL]HGE\LWVXQLWVGURSVEHORZOHYHOV
DFKLHYHGLQSUHYLRXV\HDUVFUHDWLQJDSHUYHUVHLQFHQWLYHIRUXQLWVWRLQFUHDVHKHDWLQSXWWR
PDLQWDLQEXGJHWVSDUWLFXODUO\VLQFHXQLWDOORFDWLRQVDUHDOVREDVHGRQKHDWLQSXW7KHG\QDPLF
EXGJHWLQJSURFHVVDOVRFRPSOLFDWHVSODQQLQJHIIRUWVVLQFHWKHUHJXODWHGFRPPXQLW\ZLOOQRWEH
DEOHWRGHWHUPLQHWKHVWDWH¶VEXGJHWDQGWKHUHIRUHHDFKXQLW¶VDOORFDWLRQRIDOORZDQFHVIURPWKDW
EXGJHWXQWLODERXWD\HDUDQGDKDOIEHIRUHHDFKFRQWUROSHULRG7KDWOLPLWHGZLQGRZRIQRWLFH
ZLOOQRWOHDYHHQRXJKWLPHIRUFRPSDQLHVWRPDNHWKHNLQGRISODQQLQJGHFLVLRQVWKDWPD\EH
QHFHVVDU\WRFRPSO\,WDOVRDOORZVWRROLWWOHWLPHIRUVWDWHVDQGVWDNHKROGHUVWRUHYLHZWKH
FKDQJHVWRWKHEXGJHWIRUDFFXUDF\DQGFRPPHQWRQDQ\QHHGHGUHYLVLRQV
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(YHQLI(3$GRHVQRWHOLPLQDWHG\QDPLFEXGJHWLQJ(3$VKRXOGFKDQJHWKHFDOFXODWLRQ
XQGHUO\LQJLW$VSURSRVHG(3$ZRXOGUHO\RQDVLQJOH\HDURIKHDWLQSXWGDWDWRGLFWDWHWKH
EXGJHWIRUHDFKFRQWUROSHULRGLQDQGEH\RQG%XWVLQJOH\HDUVPD\QRWEHUHSUHVHQWDWLYH
IRUVRPHXQLWVRUVRPHVWDWHVSDUWLFXODUO\VLQFHWKHUHOHYDQWSHULRGRIWLPHLQHDFK\HDULVRQO\
ILYHPRQWKVORQJGXULQJWKH0D\WR6HSWHPEHUR]RQHVHDVRQ$ZLGHYDULHW\RIIDFWRUVFDQ
DIIHFWKHDWLQSXWOHYHOVLQDQ\JLYHQ\HDULQFOXGLQJGLVSDWFKFRQVWUDLQWVIXHOSULFHVZHDWKHUDQG
HYHQXQDQWLFLSDWHGXQLWRXWDJHV)RUH[DPSOHWKHKHDWLQSXWIRUDXQLWZLWKDQXQH[SHFWHG
RXWDJHGXULQJR]RQHVHDVRQZRXOGEHXQFKDUDFWHULVWLFDOO\ORZIRUWKDWFRQWUROSHULRGZKLFK
ZRXOGUHVXOWLQDQXQFKDUDFWHULVWLFDOO\ORZVWDWHEXGJHWWZR\HDUVODWHU(YHQPRUHFRQFHUQLQJLV
WKHSRVVLELOLW\RIDQXQFKDUDFWHULVWLF\HDUIRUWKHHQWLUHLQGXVWU\VXFKDVWKHORZGHPDQGLQ
DVVRFLDWHGZLWKWKHFRYLGSDQGHPLF)RULQVWDQFHLIWKHSDQGHPLFZHUHWRDJDLQFDXVH
GHPDQGWRIDOOSUHFLSLWRXVO\LQWKHEXGJHWIRU EDVHGRQKHDWLQSXW ZRXOG
OLNHO\EHWRRORZWRPHHWDUHVXUJHQFHRIGHPDQGLQ



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      Case: 23-60069         Document: 438-3          Page: 193    Date Filed: 09/26/2023




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(3$KDVDOUHDG\UHFRJQL]HGWKDWDOORFDWLRQVIRULQGLYLGXDOXQLWVVKRXOGQRWEHEDVHGRQDVLQJOH
\HDURIGDWDDQGLQVWHDGFDOFXODWHVWKRVHDOORFDWLRQVEDVHGRQWKHDYHUDJHRIWKHWKUHHKLJKHVW
\HDUVLQWKHODVWILYH$VLPLODUDSSURDFKWRG\QDPLFEXGJHWLQJZRXOGSURYLGHDPRUH
UHDVRQDEOHZD\WRHQVXUHVWDWHEXGJHWVDUHEDVHGRQUHSUHVHQWDWLYHGDWD$OWHUQDWLYHO\(3$
VKRXOGFRQVLGHUHLWKHUDGMXVWLQJEXGJHWVE\RQO\DSRUWLRQRIWKHFKDQJHLQKHDWLQSXWOHYHOVWR
PRGHUDWHVZLQJVLQEXGJHWOHYHOVRUHVWDEOLVKLQJDPD[LPXPSHUFHQWDJHFKDQJHWRDYRLGVHWWLQJ
EXGJHWVEDVHGRQFKDQJHVLQKHDWLQSXWWKDWDUHFOHDUO\DQRPDORXV
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'\QDPLFEXGJHWLQJDOVRKDVDQRWKHUQHJDWLYHLPSDFWRQWKHSURSRVHGWUDGLQJSURJUDP²LWLQ
HIIHFWHOLPLQDWHVIURPWKHVWDWH¶VEXGJHWWKHDOORZDQFHVSUHYLRXVO\DOORFDWHGWRUHWLUHGXQLWVMXVW
WZR\HDUVDIWHUWKHXQLWVFHDVHRSHUDWLRQV,QWKHSDVW(3$KDVDOORZHGPRUHWLPHIRUUHWLUHG
XQLWVWRFRQWLQXHUHFHLYLQJDOORZDQFHVWRDYRLGDQ\LQFHQWLYHWRNHHSDXQLWLQRSHUDWLRQ:LWK
G\QDPLFEXGJHWLQJ(3$QRWRQO\FUHDWHVWKHLQFHQWLYHIRUXQLWVWRVWD\LQRSHUDWLRQEXWDOVR
SHQDOL]HVVWDWHVLQZKLFKXQLWVUHWLUHE\VKULQNLQJWKHEXGJHWIRUWKHHQWLUHVWDWHPDNLQJ
FRPSOLDQFHHYHQPRUHGLIILFXOWIRUWKHXQLWVWKDWUHPDLQ&OHFRDVNV(3$WRDOORZRZQHUVRI
XQLWVWKDWUHWLUHDQGVWDWHVLQZKLFKXQLWVUHWLUHWREHQHILWIURPWKRVHGHFLVLRQVJLYHQWKDWWKH
UHVXOWLQJHPLVVLRQUHGXFWLRQVZLOOKHOSDFKLHYHWKHHQYLURQPHQWDOJRDOVRIWKHSURJUDP
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7KLUG&OHFRDVNV(3$WRDEDQGRQLWVSURSRVDOWR³UHFDOLEUDWH´EDQNHGDOORZDQFHV6XFK
³UHFDOLEUDWLRQV´DUHQRWKLQJPRUHWKDQFRQILVFDWLRQRIYDOXHUHJDUGOHVVRIZKDWQDPH(3$JLYHV
WKHSURFHVV$VSURSRVHGE\(3$DXQLWWKDWDFKLHYHVJUHDWHUHPLVVLRQUHGXFWLRQVWKDQ
H[SHFWHGDQGWKXVUHWDLQVVRPHRILWVDOORFDWHGDOORZDQFHVFRXOGKDYHWKHYDOXHRIWKRVH
DOORZDQFHVFXWVXEVWDQWLDOO\LIRWKHUVLQWKHVWDWHDOVRXQGHUWDNHHDUOLHURUPRUHVLJQLILFDQW
HPLVVLRQUHGXFWLRQVWKDQH[SHFWHG/LNHWKHHIIHFWG\QDPLFEXGJHWLQJKDVRQUHWLUHGXQLWV
UHFDOLEUDWLRQRIEDQNHGDOORZDQFHVZLOOSHQDOL]HWKRVHWDNLQJWKHYHU\DFWLRQV(3$VHHNVWR
DFKLHYHZLWKWKH3URSRVDO/LNHG\QDPLFEXGJHWLQJLWDOVRHQFRXUDJHVLQFUHDVHGRSHUDWLRQV
VLQFHWKHYDOXHRIDOORZDQFHVZLOORQO\EHJXDUDQWHHGLQWKHFRQWUROSHULRGIRUZKLFKWKH\DUH
RULJLQDOO\LVVXHG5HFDOLEUDWLQJEDQNLQJDOORZDQFHVDOVRGLVFRXUDJHVWUDGLQJVLQFHLWGUDZVLQWR
VHULRXVTXHVWLRQWKHYDOXHRIZKDWDQ\SXUFKDVHUPLJKWEHEX\LQJ
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(3$KDVSURYLGHGOLWWOHWRQRMXVWLILFDWLRQIRUWKHQHHGWR³UHFDOLEUDWH´EDQNHGDOORZDQFHV2WKHU
WKDQDQDQHFGRWDOVWDWHPHQWUHJDUGLQJ(3$¶VFRQFHUQWKDWEDQNVZLOOVORZO\JURZWRWKHSRLQW
WKDWDOORZDQFHSULFHVGURSORZHUWKDQ(3$ZRXOGSUHIHU(3$KDVQRWH[SODLQHGZK\EDQNLQJ
VKRXOGEHFRQVWUDLQHG6LQFHEDQNHGDOORZDQFHVUHSUHVHQWHDUO\DQGPRUHVLJQLILFDQWUHGXFWLRQV
WKDQ(3$RULJLQDOO\GHHPHGQHFHVVDU\WRDFKLHYHLWVHQYLURQPHQWDOREMHFWLYHVEDQNLQJ
DOORZDQFHVVKRXOGEHUHZDUGHGQRWSHQDOL]HG
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)RXUWK&OHFRDVNV(3$QRWWRILQDOL]HWKH³VHFRQGDU\HPLVVLRQOLPLWDWLRQ´WKDW(3$KDV
SURSRVHGDVDQDGGLWLRQDO³DVVXUDQFH´DJDLQVWXQLWRZQHUVUHO\LQJSULPDULO\RQDOORZDQFH
SXUFKDVHVLQVWHDGRIDFWXDOHPLVVLRQUHGXFWLRQV7KLVSURSRVHGVHFRQGDU\OLPLWLVERWK
XQQHFHVVDU\DQGXQQHFHVVDULO\FRPSOLFDWHG
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(3$¶VMXVWLILFDWLRQIRUWKHOLPLWLVWKDWWKH³DVVXUDQFH´SHQDOW\LPSRVHGXQGHU&6$35IRU
VRXUFHVWKDWEX\DOORZDQFHVLQVWHDGRIUHGXFLQJHPLVVLRQVDOWKRXJKSURYHQHIIHFWLYHLVMXVW³QRW
JRRGHQRXJK´)HG5HJ(3$FLWHVWZRH[DPSOHVLQZKLFKXQLWVLQFUHDVHGHPLVVLRQV



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      Case: 23-60069         Document: 438-3           Page: 194    Date Filed: 09/26/2023




WKURXJKFXUWDLOLQJWKHRSHUDWLRQRIFRQWUROHTXLSPHQWEXWZHUHQRQHWKHOHVVDEOHWRFRPSO\E\
EX\LQJDOORZDQFHV%XWLQWKRVHFDVHVLWDSSHDUVWKHH[LVWLQJ³DVVXUDQFH´SURYLVLRQVZRUNHGDV
GHVLJQHG²WKHVRXUFHVZHUHUHTXLUHGWREX\DOORZDQFHVDWDKLJKHUUDWLRZKLFKPHDQVHYHQ
JUHDWHUHPLVVLRQUHGXFWLRQVPXVWKDYHRFFXUUHGHOVHZKHUHIRUWKRVHDOORZDQFHVWREHDYDLODEOH
IRUSXUFKDVH5DWKHUWKDQEHLQJHYLGHQFHRIDSUREOHPWKDWQHHGVWREHDGGUHVVHG(3$¶V
H[DPSOHVDFWXDOO\VKRZWKDWVXFKRFFXUUHQFHVDUHQRWRQO\UDUHEXWZKHQWKH\RFFXUWKH
SURJUDPZRUNVZHOOWRPDLQWDLQHQYLURQPHQWDOSURWHFWLRQV,QVXP(3$IDLOVWRH[SODLQZK\D
³VHFRQGDU\HPLVVLRQOLPLWDWLRQ´LVQHFHVVDU\WRDGGUHVVWKHVHOLPLWHGFLUFXPVWDQFHV
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(YHQLILWZHUHQHHGHGWKH³VHFRQGDU\HPLVVLRQOLPLW´LVXQQHFHVVDULO\FRPSOLFDWHGEHFDXVHLW
GHSHQGVRQDYDULHW\RIYDULDEOHVWKDWFDQQRWEHSUHGLFWHGLQDGYDQFHPDNLQJLWLPSRVVLEOHIRU
UHJXODWHGVRXUFHVWRNQRZZKHWKHULWZLOODSSO\XQWLODYLRODWLRQKDVDOUHDG\RFFXUUHG,QEULHI
WKHOLPLWDSSOLHVLIWKHVWDWHH[FHHGVLWVDVVXUDQFHOHYHO ZKLFKLWVHOIPD\GHSHQGRQFKDQJHVLQ
KHDWLQSXW DQGWKHXQLWFRQWULEXWHVWRWKDWH[FHHGDQFHRIWKHDVVXUDQFHOHYHODQGWKHXQLWZRXOG
KDYHHPLWWHGDWOHDVWIHZHUWRQVRI12[WKDQLILWKDGHPLWWHGDWLWVEHQFKPDUNHPLVVLRQUDWH
VHWEDVHGRQKLVWRULFDOHPLVVLRQUDWHVVXEMHFWWRDIORRU7KHPDQ\WZLVWVDQGWXUQVLQWKLV
FRPSOH[IRUPXODDUHGLIILFXOWWRXQGHUVWDQGDQGHYHQPRUHGLIILFXOWWRDSSO\
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,IHDFKRIWKHP\ULDGFRQGLWLRQVRIWKHVHFRQGDU\HPLVVLRQOLPLWDWLRQLVPHWWKHVRXUFHZLWKQR
DGYDQFHQRWLFHRUDELOLW\WRDGMXVWLVVXGGHQO\VXEMHFWWRHQIRUFHPHQWDQGSHQDOWLHVZKLFKXQGHU
WKH&OHDQ$LU$FWFDQUHDFKRYHUSHUGD\SHUYLRODWLRQ:KLOHWKHRQO\SRVVLEOHYDOXH
RIWKHOLPLWZRXOGEHWRGLVFRXUDJHFHUWDLQEHKDYLRUWKHOLPLWLVGHVLJQHGLQVXFKDZD\WKDWLW
FDQQRWGLVFRXUDJHDQ\WKLQJEHFDXVHQRRQHZLOONQRZLILWDSSOLHVWRRWKHUZLVHODZIXODFWLYLWLHV
XQWLOZHOODIWHUWKHIDFW,QRWKHUZRUGVWKHOLPLWLVVWULFWO\SXQLWLYH6LQFHWKHOLPLWZLOOQRW
DFFRPSOLVKWKHSXUSRVHVIRUZKLFKLWLVGHVLJQHGLWLVDUELWUDU\DQGLWVKRXOGEHDEDQGRQHG
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)LQDOO\&OHFRDVNV(3$WRFRQVLGHUWKHVLJQLILFDQWOHJDOULVNLWWDNHVRQE\SURSRVLQJDOORIWKHVH
XQWHVWHG³HQKDQFHPHQWV´7KH'&&LUFXLWDQGWKH6XSUHPH&RXUWKDYHDOUHDG\UHYLHZHG
(3$¶VSULRU&6$35SURJUDPVDQGSURYLGHGVLJQLILFDQWJXLGDQFHRQZKDWWKHSURJUDPPD\
LQFOXGH(3$VKRXOGEHDEOHWRGHVLJQDSURJUDPPRUHFOHDUO\ZLWKLQWKHFRQILQHVRIWKDW
MXULVSUXGHQFHDQGVWLOOPHHWWKHUHTXLUHPHQWVRIWKH&OHDQ$LU$FW3ULRUOLWLJDWLRQRYHU(3$¶V
&6$35SURJUDPPDNHVFOHDUWKDW(3$¶VFUHDWLYHDWWHPSWVWRHPEHOOLVKWKHSURJUDPDUH
LQYDULDEO\FKDOOHQJHGDQGRIWHQUHMHFWHGLQFRXUW:LWKLWVSURSRVHG³HQKDQFHPHQWV´WR&6$35
(3$LVULVNLQJWKHVLJQLILFDQWXQFHUWDLQW\DVVRFLDWHGZLWKLVVXLQJDOHJDOO\IODZHGUXOHZKHQDQ
DOWHUQDWLYHDQGPRUHFOHDUO\OHJDODSSURDFKLVDYDLODEOH
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&RPPHQW
(3$VKRXOGUHHYDOXDWHLWVRYHUFRQWURODQDO\VLV
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7KH8QLWHG6WDWHV6XSUHPH&RXUWKDVPDGHFOHDUWKDW(3$PD\QRWUHTXLUHJUHDWHUHPLVVLRQ
UHGXFWLRQVXQGHUWKH³JRRGQHLJKERU´SURYLVLRQRIWKH&OHDQ$LU$FWWKDQZRXOGEHQHHGHGWR
HLWKHUUHVROYHDOOGRZQZLQGQRQDWWDLQPHQWDQGPDLQWHQDQFHFRQFHUQVRUUHGXFHDVWDWH¶V
FRQWULEXWLRQWRVXFKFRQFHUQVEHORZWKHOHYHO(3$KDVGHWHUPLQHGWREHde minimis,QVKRUW
(3$PD\QRW³RYHUFRQWURO´DVWDWHEPA v. EME Homer City Generation86
    ³(3$KDVDVWDWXWRU\GXW\WRDYRLGRYHUFRQWURO´ ,QWKH3URSRVDO(3$FODLPVWRKDYH




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      Case: 23-60069         Document: 438-3          Page: 195    Date Filed: 09/26/2023




SHUIRUPHGDQRYHUFRQWURODQDO\VLVDQGGHWHUPLQHGWKDWWKHSURJUDPLWSURSRVHVZRXOGQRW
RYHUFRQWURODQ\VWDWH+RZHYHUWKDWRYHUFRQWURODQDO\VLVUDLVHVVHYHUDOTXHVWLRQV
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)LUVW&OHFRDVNV(3$WREHWWHUH[SODLQLWVGHFLVLRQWRUHWXUQWRDRQHSHUFHQWWKUHVKROGLQVWHDGRI
DRQHSDUWSHUELOOLRQ SSE WKUHVKROGIRUGHWHUPLQLQJFRQWULEXWLRQDQGRYHUFRQWURO,Q
(3$FRQGXFWHGXSGDWHGPRGHOLQJZLWKPRUHUHFHQWLQIRUPDWLRQDQGGHWHUPLQHGDde minimis
WKUHVKROGRISSEWKUHVKROGZRXOGVWLOOHQVXUHQHDUO\WKHVDPHOHYHORIFRQWURODVRQHSHUFHQW
0RUHRYHUWKDWPRGHOLQJFRPSDUHGDQDUURZHUUDQJHRIRSWLRQVWKDQWKHRULJLQDODQDO\VLV(3$
XVHGWRHVWDEOLVKWKHRQHSHUFHQWWKUHVKROG(3$¶VUHYHUVLRQWRRQHSHUFHQWLVSDUWLFXODUO\
SUREOHPDWLFIRUVWDWHVOLNH/RXLVLDQDWKDWUHOLHGXSRQWKHQHZDQGEHWWHUVXSSRUWHGSSE
WKUHVKROGLQWKHLU³JRRGQHLJKERU´6,3VZKLFK(3$KDVSURSRVHGWRGLVDSSURYH$OWKRXJK(3$
PD\FKDQJHLWVSROLFLHVIURPWLPHWRWLPHLWPXVWSURYLGHDUHDVRQDEOHEDVLVIRUGRLQJVRFCC
v. Fox TV86   DJHQFLHVPXVW³SURYLGHDPRUHGHWDLOHGMXVWLILFDWLRQ´
³ZKHQIRUH[DPSOHLWVQHZSROLF\UHVWVXSRQIDFWXDOILQGLQJVWKDWFRQWUDGLFWWKRVHZKLFK
XQGHUOD\LWVSULRUSROLF\RUZKHQLWVSULRUSROLF\KDVHQJHQGHUHGVHULRXVUHOLDQFHLQWHUHVWV«´ 
(3$KDVQRWSURSHUO\H[SODLQHGZK\LWUHYHUVHGLWVGHFLVLRQWRDGRSWDWKUHVKROGRISSE
SDUWLFXODUO\LQOLJKWRIWKHPRUHXSWRGDWHPRGHOLQJXQGHUO\LQJLWVSROLF\
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6HFRQG(3$¶VQHZ³FRQVWDQWVWULQJHQF\´DSSURDFKLVOLNHO\WRUHVXOWLQRYHUFRQWUROWKDW(3$
KDVQRWSURSHUO\HYDOXDWHG0DQ\RIWKHSURSRVHG³HQKDQFHPHQWV´WRWKH&6$35WUDGLQJDUH
LQWHQGHGWRLPSOHPHQWWKLV³FRQVWDQWVWULQJHQF\´DSSURDFKZKLFK(3$DGPLWVLV³DQDGMXVWPHQW
LQLWVKLVWRULFDODSSURDFKWRHOLPLQDWLQJVLJQLILFDQWFRQWULEXWLRQ´)HG5HJDW(3$¶V
DSSDUHQWJRDOZLWKWKHQHZDSSURDFKLVWRHQVXUHWKDWDOOFRYHUHGIDFLOLWLHVPHHWWKHVDPHOHYHORI
HPLVVLRQFRQWUROQRWZLWKVWDQGLQJWKDWLQFRQVLVWHQWFRQWUROOHYHOVDUHQHHGHGWRPDNHDOORZDQFH
WUDGLQJZRUN DVQRWHGDERYH ,QGHIHQVHRIWKLVQHZFRQFHSW(3$FODLPVWKDWLWLV³FRQVLVWHQW
ZLWKWKHHYROXWLRQRIWKH$JHQF\¶VWKLQNLQJ´DQGWKDW(3$LVQRWUHTXLUHGWRIRFXVRQ³WKHPDVV
EDVHGUHGXFWLRQLQHPLVVLRQV´WKDWLWVSURJUDPLVH[SHFWHGWRDFKLHYH
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+RZHYHU(3$¶VFODLPVIDLOWRUHFRJQL]HWKDWUHGXFWLRQVLQPDVVHPLVVLRQVDUHZKDWDFWXDOO\
LPSURYHGRZQZLQGDLUTXDOLW\QRWWKHRUHWLFDOFRQFHSWVRI³VWULQJHQF\´$VVXFK(3$PXVW
HYDOXDWHWKHPDVVUHGXFWLRQVDFFRPSOLVKHGE\LWVSURSRVDOWRGHWHUPLQHZKHWKHURYHUFRQWUROPD\
RFFXU(3$¶V³FRQVWDQWVWULQJHQF\´FRQFHSWPD\UHVXOWLQJUHDWHUPDVVHPLVVLRQUHGXFWLRQVWKDQ
(3$DQWLFLSDWHVGXHLQSDUWWRLWVVWLIOLQJLPSDFWRQWUDGLQJDQGDVVXFKLWVLPSDFWRQWKHUXOH
PXVWEHHYDOXDWHGWRHQVXUHWKDWRYHUFRQWUROGRHVQRWRFFXU
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,QLWVRYHUFRQWURODQDO\VLV(3$DOVRUHTXHVWVFRPPHQWRQDQXQUHDVRQDEOHLGHD²ZKHWKHUWR
LJQRUHHPLVVLRQUHGXFWLRQVPDGHZLWKLQGRZQZLQGVWDWHVLQGHWHUPLQLQJZKHWKHUDQXSZLQG
VWDWHPD\EHRYHUFRQWUROOHG7KLVFRQFHSWLJQRUHVUHDOLW\DQGODZ,QWKHUHDOZRUOGGRZQZLQG
VWDWHVDUHUHTXLUHGE\WKH&OHDQ$LU$FWWRUHGXFHHPLVVLRQVWRDGGUHVVQRQDWWDLQPHQWDUHDVWKDW
OLHZLWKLQWKHLUERUGHUV)DLOLQJWRDFFRXQWIRUWKRVHOHJDOO\UHTXLUHGUHGXFWLRQVZRXOGIRUFH
XSZLQGVWDWHVWRGRDOORIWKHZRUNQHHGHGWRLPSURYHDLUTXDOLW\RXWVLGHRIWKHLUMXULVGLFWLRQV
VLQFHDIXOOUHPHG\LVUHTXLUHGE\WKHJRRGQHLJKERUSURYLVLRQ%XWIRUFLQJDQXSZLQGVWDWHWR
LPSRVHFRQWUROVWKDWIXOO\UHPHGLHVGRZQZLQGDLUTXDOLW\SUREOHPVZLWKRXWDQ\KHOSIURPWKH
GRZQZLQGVWDWHLWVHOIZLOOFRQVWLWXWHRYHUFRQWURODVVRRQDVWKDWGRZQZLQGVWDWHDFWXDOO\UHGXFHV
HPLVVLRQVDVUHTXLUHGE\ODZ7KHUHIRUH&OHFRRSSRVHV(3$¶VLGHDRILJQRULQJGRZQZLQG
HIIRUWVLQHYDOXDWLQJRYHUFRQWURORIXSZLQGVWDWHV



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          Case: 23-60069             Document: 438-3              Page: 196   Date Filed: 09/26/2023




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(3$¶VRQO\MXVWLILFDWLRQIRUWKHFRQFHSWRILJQRULQJGRZQZLQGHPLVVLRQUHGXFWLRQHIIRUWVLV
IRXQGLQDFLWDWLRQWRD'&&LUFXLWFDVHLQDIRRWQRWH)HG5HJQ FLWLQJ
Maryland v. EPA)G '&&LU %XWMarylandGRHVQRWVD\ZKDW(3$
VXJJHVWV7KHSRUWLRQFLWHGE\(3$IRFXVHGRQWKHWLPLQJRIHPLVVLRQUHGXFWLRQVQRWWKHVFRSH
RIWKHPDQGLWPHUHO\UHMHFWHG(3$¶VOLWLJDWLRQSRVLWLRQWKDWLWFRXOGUHO\RQGRZQZLQGVWDWHV
HIIRUWVDVDQH[FXVHWRPLVVWKHGHDGOLQHVIRUDWWDLQPHQWLQWKH&OHDQ$LU$FW7KHFRXUW¶V
GHFLVLRQWRKROG(3$WRWKRVHGHDGOLQHVDEVHQWDVKRZLQJRIQHFHVVLW\QRWZLWKVWDQGLQJH[SHFWHG
GRZQZLQGHIIRUWVLVQRWDFRPPDQGIRU(3$WRLJQRUHWKRVHHIIRUWV5DWKHUWKHFRXUWPHUHO\
VDLGWKDW(3$PD\QRWUHO\VROHO\RQGRZQZLQGHIIRUWVWRPLVVLWVGHDGOLQHVDQXQVXUSULVLQJ
UHVXOWLQOLJKWRIWKHFRXUW¶VSULRUSUHFHGHQWLQWisconsinDQGRWKHUFDVHV
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&RPPHQW
7KH3URSRVDOWKUHDWHQVUHOLDELOLW\RIWKHEXONSRZHUV\VWHP
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(3$¶VRYHUO\DJJUHVVLYHFRQWUROGHWHUPLQDWLRQVIXHOHGE\LWVXQUHDOLVWLFFRVWHIIHFWLYHQHVVDQG
WLPLQJDVVXPSWLRQVWKUHDWHQWRLPSRVHPRUHFRQWUROVPRUHTXLFNO\WKDQWKHLQGXVWU\FDQEHDU
$VQRWHGDERYH(3$KDVHVVHQWLDOO\VHWDPDQGDWRU\HPLVVLRQVWDQGDUGUHTXLULQJ6&5RQDOO
FRDOILUHG(*8VJUHDWHUWKDQ0:LQFDSDFLW\DVZHOODVPDQ\JDVVWHDP(*8VERWK
WKURXJKLWV³EDFNVWRS´GDLO\OLPLWDQGWKURXJKGUDPDWLFDOO\UHGXFLQJVWDWHEXGJHWVEDVHGRQDQ
DVVXPSWLRQWKDWWKHGR]HQVRI6&5VLWZDQWVZLOOEHLQVWDOOHGE\0D\,QWUXWKPDQ\RI
WKRVH6&5VDUHXQOLNHO\WRPDWHULDOL]HJLYHQWKHSROLWLFDODQGHFRQRPLFKHDGZLQGVFXUUHQWO\
IDFLQJDQ\VLJQLILFDQWLQYHVWPHQWVLQH[LVWLQJFRDOILUHG(*8V
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7KXVFRDOILUHG(*8VZLOOEHOHIWZLWKIHZFKRLFHVRQKRZWRFRPSO\²FXUWDLORSHUDWLRQV
SXUFKDVHDOORZDQFHVRUUHWLUH%XWVLQFHWKHFXUWDLOPHQWVZRXOGOLNHO\EHWRRVLJQLILFDQWIRUDQ
(*8WRUHPDLQHFRQRPLFDOO\ DQGSHUKDSVWHFKQLFDOO\ YLDEOHDQGDOORZDQFHVDUHXQOLNHO\WREH
DYDLODEOHDWUHDVRQDEOHSULFHV WRWKHH[WHQWDYDLODEOHDWDOO UHWLUHPHQWZLOOUHPDLQWKHRQO\
UHDOLVWLFRSWLRQDYDLODEOH(3$DSSHDUVWRH[SHFWWKLVUHVXOWVLQFHLWVUHJXODWRU\LPSDFWDQDO\VLV
SURMHFWVWKHUHWLUHPHQWRI0:RIFRDOILUHG(*8VPRUHWKDQTXDGUXSOHWKHUHWLUHPHQWV
(3$SURMHFWHGIRUWKH0HUFXU\DQG$LU7R[LFV6WDQGDUGV$QGHYHQWKDWVWDUNQXPEHUPD\EH
ORZ²RWKHUUHSRUWVIURPWKHSRZHUVHFWRULQGLFDWHWKDWDVPXFKDV0:RIFRDOILUHGXQLWV
PD\UHWLUHE\ZLWKLQ0,62DORQHPRVWRIZKLFKZRXOGEHH[SHFWHGWRRFFXULQ
GXHWR(3$UHJXODWLRQV
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7KHSRVVLELOLW\RIPDVVUHWLUHPHQWVFRPHVDWDWLPHZKHQWKHEXONSRZHUV\VWHPFDQQRWDIIRUGLW
1XPHURXVUHSRUWVKDYHUHFHQWO\FKURQLFOHGWKHKLJKDQGHVFDODWLQJULVNVWRUHOLDELOLW\SUHVHQWHG
E\WKHUDSLGSDFHZLWKZKLFKWKHEXONSRZHUV\VWHPLVWUDQVLWLRQLQJWRUHQHZDEOHUHVRXUFHV)RU
H[DPSOHWKH1DWLRQDO$VVRFLDWLRQRI5HJXODWRU\8WLOLW\&RPPLVVLRQHUV 1$58& SXEOLVKHGD
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  CompareRegulatory Impact Analysis for Proposed Federal Implementation Plan Addressing Regional Ozone
Transport for the 2015 Ozone National Ambient Air Quality StandardDW(6 )HE  ³8QGHUWKHSURSRVHG
UXOHDQLQFUHPHQWDO*:RIFRDODQG*:RIRLOJDVUHWLUHPHQWVDUHSURMHFWHGE\´ withRegulatory Impact
Analysis for the Final Mercury and Air Toxics StandardsDWWDEOH 'HF  SURMHFWLQJDGHFUHDVHLQ
SXOYHUL]HGFRDOJHQHUDWLRQFDSDFLW\RI*: 

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     KWWSVDPHULFDVSRZHURUJPLVRUHFHQWFDSDFLW\DXFWLRQ



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          Case: 23-60069            Document: 438-3              Page: 197      Date Filed: 09/26/2023




ZKLWHSDSHULQ-XO\HQWLWOHG³5HVRXUFH$GHTXDF\IRU6WDWH5HJXODWRUV´WKDWOD\VRXWWKH
FRQFHUQVSUHVHQWHGE\WKHFXUUHQWWUDQVLWLRQLQWKHSRZHUVHFWRU,QWKDWZKLWHSDSHU1$58&
GHVFULEHVWKH³VLJQLILFDQWDQGRQJRLQJFKDQJHVWRWKHUHVRXUFHPL[DQGXVDJHSDWWHUQVRQWKH
86SRZHUV\VWHP´WKDWKDYHRFFXUUHGRYHUWKHODVWWZRGHFDGHVDQGUHPDLQRQJRLQJZKLFK
KDYH³GHFUHDVHGVLJQLILFDQWO\´WKHVKDUHRIGLVSDWFKDEOHJHQHUDWLRQ,QSDUWLFXODU1$58&
H[SUHVVHVVHULRXVFRQFHUQIRUWKH0LGFRQWLQHQW,QGHSHQGHQW6\VWHP2SHUDWRU 0,62 WKDW
GLVSDWFKHV&OHFR¶VJHQHUDWLQJUHVRXUFHV
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         0,62 KDV H[SHULHQFHG KHLJKWHQHG ULVN RI FDSDFLW\ LQVXIILFLHQF\ LQ DOO VHDVRQV
         *HQHUDOWUHQGVUHFHQWO\KDYHLQFOXGHGDGGLWLRQDOUHWLUHPHQWVRIGLVSDWFKDEOHIRVVLO
         IXHO UHVRXUFHV LQ 0,62 DQG JURZLQJ UHOLDQFH RQ UHQHZDEOH JHQHUDWLRQ HQHUJ\
         PDUNHW LPSRUWV DQG HPHUJHQF\RQO\ GHPDQG UHVSRQVH ,W LV EHFRPLQJ
         LQFUHDVLQJO\GLIILFXOWDQGFRPSOH[IRUDQ\JLYHQ>ORDGVHUYLQJHQWLW\@/6(RUVWDWH
         WR JDXJH WKH UHOLDELOLW\ LPSDFWV RI WKHLU SODQV RQ WKH UHJLRQ DQG IRU 0,62 WR
         HQVXUHUHJLRQDOFDSDELOLWLHVDUHVXIILFLHQW
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7KHVHFRQFHUQVDUHHFKRHGLQUHFHQWSXEOLFDWLRQVIURP0,62LWVHOI6SHFLILFDOO\0,62¶V
5HOLDELOLW\,PSHUDWLYHUHSRUWLGHQWLILHVWKHFRPSOH[DQGXUJHQWFKDOOHQJHVWRJULGUHOLDELOLW\LQ
WKH0,62UHJLRQDQGH[SODLQVWKDW³>H@OHFWULFV\VWHPRSHUDWLQJFRQGLWLRQVDUHPRUHXQFHUWDLQ
DQGYDULDEOHWKDQLQWKHSDVWDQGWKLVWUHQGLVLQFUHDVLQJ´$OWKRXJK0,62GHVFULEHVVHYHUDO
LQLWLDWLYHVXQGHUUHYLHZWRDGGUHVVWKHVHFRQFHUQVVXFKDV³WUDQVLWLRQLQJWRDVHDVRQDOUHVRXUFH
DGHTXDF\FRQVWUXFWUHIRUPLQJDFFUHGLWDWLRQDQGHQKDQFLQJVFDUFLW\SULFLQJWREHWWHUDOLJQ
V\VWHPQHHGVDQGFDSDELOLWLHVGXULQJWLJKWRSHUDWLQJFRQGLWLRQV´WKHYLDELOLW\DQGHIIHFWLYHQHVV
RIWKHVHPHDVXUHVFDQQRWEHGHWHUPLQHGDWWKLVWLPH0,62GHVFULEHVWKHFKDOOHQJHVLWIDFHVDV
LQFOXGLQJDGHFOLQHLQUHVHUYHPDUJLQVDQGIHZHUDOZD\VRQEDVHORDGUHVRXUFHVGXHWR
UHWLUHPHQWVRIWKHUPDOXQLWV&RDOUHWLUHPHQWVLQSDUWLFXODUSRVHDVLJQLILFDQWFKDOOHQJHEHFDXVH
³>Z@LQGDQGVRODUUHVRXUFHVDUHQRWDOZD\VDYDLODEOHWRSURYLGHHQHUJ\GXULQJWLPHVRIQHHG´
DQG³>W@KHJURZLQJIOHHWRIQDWXUDOJDVUHVRXUFHVPD\QRWEHDEOHWRSURFXUHDOOWKHIXHOWKH\QHHG
DWNH\WLPHV´,QVXP0,62FRQFOXGHVWKDW³>W@KHRQJRLQJWUHQGRIFRQYHQWLRQDOSRZHUSODQWV
UHWLULQJIURPVHUYLFHDVLQWHUPLWWHQWUHQHZDEOHVFRQWLQXHWRJURZLVSRVLQJVLJQLILFDQWFKDOOHQJHV
WRWKHUHOLDELOLW\RIWKHWUDQVPLVVLRQV\VWHPLQWKH0,625HJLRQ´
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0,62DOVRH[SODLQVH[DFWO\ZK\WKHUPDOXQLWVSDUWLFXODUO\FRDOILUHG(*8VDUHVRLPSRUWDQW
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         7KH 86 WUDQVPLVVLRQ V\VWHP LV GHVLJQHG WR RSHUDWH DW D IUHTXHQF\ RI  KHUW]
         +LVWRULFDOO\FRQYHQWLRQDOSRZHUSODQWVKDYHSOD\HGDNH\UROHLQNHHSLQJWKHJULG
         VWDEOH DW WKDW OHYHO EHFDXVH WKH\ KDYH KHDY\ URWDWLQJ FRPSRQHQWV WKDW DUH
         V\QFKURQL]HG WR VSLQ DW WKH VDPH IUHTXHQF\ DV WKH JULG 7KLV URWDWLRQDO NLQHWLF
         HQHUJ\RULQHUWLDKHOSVVWDELOL]HWKHJULGZKHQDV\VWHPIDLOXUHRUFRQWLQJHQF\
         RFFXUV 7KH QHZ ZLQG VRODU DQG EDWWHU\ UHVRXUFHV WKDW DUH LQFUHDVLQJO\ EHLQJ
         EXLOW LQ WKH UHJLRQ KRZHYHU GR QRW LQKHUHQWO\ SURYLGH URWDWLRQDO LQHUWLD LQ WKH
         WUDGLWLRQDOVHQVH
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     KWWSVZZZPLVRHQHUJ\RUJDERXWPLVRVWUDWHJ\DQGYDOXHSURSRVLWLRQPLVRUHOLDELOLW\LPSHUDWLYH



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          Case: 23-60069           Document: 438-3             Page: 198      Date Filed: 09/26/2023




7KXVZKLOHPDQ\IDFWRUVDUHFRQWULEXWLQJWR0,62¶VVHULRXVFRQFHUQVUHJDUGLQJUHVRXUFH
DGHTXDF\DQGJULGUHOLDELOLW\³>F@KLHIDPRQJWKHVHULVNVLVWKHUHJLRQ¶VGHFOLQLQJOHYHOVRI
JHQHUDWLRQFDSDFLW\DQGUHVHUYHV´$VDUHVXOW0,62QRWHGLQDUHFHQWZRUNVKRSWKDW³>X@QGHU
W\SLFDOGHPDQGDQGRXWDJHVFHQDULRVILUPUHVRXUFHVDUHSURMHFWHGWREHLQVXIILFLHQWWRFRYHU
SHDNORDGRIVXPPHUPRQWKV´
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POWER 0DJD]LQHUHFHQWO\VXPPDUL]HG0,62¶VFRQFHUQVZHOO$QDUWLFOHSXEOLVKHG0D\
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        0,62 LV H[SHFWLQJ FDSDFLW\ VKRUWIDOOV RZLQJ PDLQO\ WR WZR UHDVRQV WKH ORZ
        FDSDFLW\ YDOXH RI UHQHZDEOHV  IRU ZLQG  DQG WKH ORVV RI FRDOILUHG
        JHQHUDWLRQZKLFKKDVDPXFKKLJKHUFDSDFLW\YDOXH  >@7KHERWWRPOLQH
        LV WKDW 0,62 KDV ORVW  0: RI ³DFFUHGLWHG FDSDFLW\´ LQ MXVW WKH ODVW ILYH
        \HDUV:HIHHOWKLVLVLQIRUPDWLRQFRQVXPHUVDQGSROLF\PDNHUVQHHGWRKHDU
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7KH1RUWK$PHULFDQ(OHFWULF5HOLDELOLW\&RUSRUDWLRQ 1(5& DOVRVKDUHV0,62¶VFRQFHUQV,Q
LWV6XPPHU5HOLDELOLW\$VVHVVPHQW1(5&SDLQWVDEOHDNSLFWXUHIRUWKHUHOLDELOLW\LQWKH
0,62UHJLRQ
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        >0,62@IDFHVDFDSDFLW\VKRUWIDOOLQLWV1RUWKDQG&HQWUDODUHDVUHVXOWLQJLQKLJK
        ULVN RI HQHUJ\ HPHUJHQFLHV GXULQJ SHDN VXPPHU FRQGLWLRQV «  $FURVV 0,62
        SHDNGHPDQGSURMHFWLRQVKDYHLQFUHDVHGE\VLQFHODVWVXPPHUGXHLQSDUWWR
        D UHWXUQ WR QRUPDO GHPDQG SDWWHUQV WKDW KDYH EHHQ DOWHUHG LQ SULRU \HDUV E\ WKH
        SDQGHPLF +RZHYHU PRUH LPSDFWIXO LV WKH GURS LQ FDSDFLW\ LQ WKH PRVW UHFHQW
        >SODQQLQJ UHVRXUFH DXFWLRQ@ 35$ 0,62 ZLOO KDYH  0:   OHVV
        JHQHUDWLRQFDSDFLW\WKDQLQ WKHVXPPHURI6\VWHPRSHUDWRUVLQ 0,62DUH
        PRUH OLNHO\ WR QHHG RSHUDWLQJ PLWLJDWLRQV VXFK DV ORDG PRGLI\LQJ UHVRXUFHV RU
        QRQILUP LPSRUWV WR PHHW UHVHUYH UHTXLUHPHQWV XQGHU QRUPDO SHDN VXPPHU
        FRQGLWLRQV 0RUH H[WUHPH WHPSHUDWXUHV KLJKHU JHQHUDWLRQ RXWDJHV RU ORZ ZLQG
        FRQGLWLRQVH[SRVHWKH0,621RUWKDQG&HQWUDODUHDVWRKLJKHUULVNRIWHPSRUDU\
        RSHUDWRULQLWLDWHGORDGVKHGGLQJWRPDLQWDLQV\VWHPUHOLDELOLW\
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$VDUHVXOWRIWKHSURMHFWHGODFNRIVXIILFLHQWJHQHUDWLQJUHVRXUFHV6 3*OREDOUHSRUWVWKDW
FDSDFLW\SULFHVLQVRPHDUHDVWKDWZHUHMXVWODVW\HDUMXPSHGWRWKLV\HDU$NH\
UHDVRQIRUWKHMXPSLQSULFHDFFRUGLQJWRWKHUHSRUWLVWKDWWKHUHZHUHPRUHFDSDFLW\UHWLUHPHQWV
GXULQJWKH\HDUWKDQWKHUHKDYHEHHQIRUVHYHUDO\HDUV
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     KWWSVZZZPLVRHQHUJ\RUJHYHQWVVXPPHUUHDGLQHVVZRUNVKRSDSULO

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     KWWSVZZZSRZHUPDJFRPHUFRWPLVRZDUQRISRWHQWLDOSRZHUVXSSO\VKRUWIDOOV

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     KWWSVZZZQHUFFRPSD5$3$UD5HOLDELOLW\$VVHVVPHQWV'/1(5&B65$BSGI
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  KWWSVZZZVSJOREDOFRPFRPPRGLW\LQVLJKWVHQPDUNHWLQVLJKWVODWHVWQHZVHOHFWULFSRZHUUHHOLQJ
IURPKLJKSULFHGPLVRFDSDFLW\DXFWLRQVWDNHKROGHUVVHHNWUDQVSDUHQF\



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          Case: 23-60069            Document: 438-3              Page: 199       Date Filed: 09/26/2023




7KHVHZDUQLQJVDUHXQSUHFHGHQWHG1HYHUEHIRUHKDVWKHSRZHUVHFWRUIDFHGVXFKDJULPRXWORRN
IURPWKHLQGLYLGXDOVDQGRUJDQL]DWLRQVLQFKDUJHRIPDLQWDLQLQJUHOLDELOLW\RIWKHEXONSRZHU
V\VWHP$FFRUGLQJWRWKRVHZKRNQRZUHOLDELOLW\EHVWWKHXQGHUO\LQJVRXUFHRIWKHVHULVNVLVDQ
LQGXVWU\DOUHDG\HQJDJLQJLQDWUDQVLWLRQWKDWPD\EHSURFHHGLQJWRRTXLFNO\)RULQVWDQFH( (
1HZVUHFHQWO\TXRWHG-RKQ0RXUDGLUHFWRURIUHOLDELOLW\DVVHVVPHQWDQGSHUIRUPDQFHDQDO\VLVDW
1(5&DVUHFRJQL]LQJWKDW³>W@KHSDFHRIRXUJULGWUDQVIRUPDWLRQLVDOLWWOHRXWRIV\QFK´
3HUKDSVHYHQPRUHWRWKHSRLQW&ODLU0RHOOHU3UHVLGHQWRI0,62VXPPHGXSWKHFKDOOHQJH
FXUUHQWO\IDFLQJWKHLQGXVWU\VD\LQJ³:HQHHGWRJHWWRWKHIXWXUHEHIRUHWKHIXWXUHJHWVWRXV´
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:LWKDQLQGXVWU\FULWLFDOWRWKHQDWLRQ¶VHFRQRP\DOUHDG\DWDEUHDNQHFNSDFHLQDWUDQVLWLRQWKDW
ZLOODFFRPSOLVKWKHVDPHJRDOV(3$VHHNVWRDFKLHYHZLWKLWV3URSRVDOQRZLVQRWWKHWLPHWR
SXVKWKHLQGXVWU\HYHQKDUGHU$WDPLQLPXP(3$VKRXOGFRQVLGHUSURSRVLQJDVDIHW\YDOYHWR
JXDUGDJDLQVWWKHSRWHQWLDOLPSDFWVRILWV3URSRVDORQUHOLDELOLW\RIWKHEXONSRZHUV\VWHP(3$
KDVLQFOXGHGDVDIHW\YDOYHLQPDQ\RILWVSUHYLRXVXWLOLW\UHODWHGUXOHVLQUHVSRQVHWRLQGXVWU\
FRQFHUQVDERXWUHOLDELOLW\RIWKHHOHFWULFSRZHUJULG(3$VKRXOGUHFRJQL]HWKDWWKHULVNV
LGHQWLILHGDERYHDUHUHDODQGPRGLI\LWV3URSRVDOWRDYRLGWKHPE\UHYLVLQJLWV3URSRVDOWRDOORZ
JUHDWHUIOH[LELOLW\+RZHYHULQWKHHYHQWWKHLQGXVWU\¶VIHDUVDUHUHDOL]HGDVDIHW\YDOYHFRXOG
EHFULWLFDOLQSURWHFWLQJDJDLQVWDVKRUWDJHRIJHQHUDWLRQUHVRXUFHVWKDWFRXOGKDYHGUDPDWLF
LPSDFWVDFURVVWKHFRXQWU\
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&RPPHQW
%RWKDQH[WHQVLRQRIWKHEDFNVWRSOLPLWDQGDGMXVWPHQWVWRWKHWUDGLQJSURJUDPDUH
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$VQRWHGDERYH&OHFRDVNV(3$WRUHFRQVLGHUWKHEDFNVWRSOLPLWLWKDVSURSRVHGVLQFHWKDW
OLPLWLVLQFRQVLVWHQWZLWKWKHVWUXFWXUHRIWKH&6$35SURJUDPDQGXQQHFHVVDU\WRHOLPLQDWH
VLJQLILFDQWFRQWULEXWLRQWRGRZQZLQGUHFHSWRUV%XWVKRXOG(3$UHWDLQWKDWOLPLW&OHFR
VXSSRUWV(3$¶VSURSRVHGH[WHQVLRQRILWWRDOLJQZLWKWKHGHDGOLQHVLPSRVHGE\RWKHUUXOHV
LPSRVHGRQWKHSRZHUVHFWRUWKDWZLOOWDNHHIIHFWLQ$VKRUWGHOD\LQWKHHIIHFWLYHQHVVRI
WKDWOLPLWLVDSSURSULDWHWREHWWHUDOLJQWKHUHTXLUHPHQWVRI(3$¶VSURSRVHGLQWHUVWDWHWUDQVSRUW
SURJUDPZLWKWKHGHDGOLQHVLPSRVHGXQGHURWKHUDXWKRULW\LQFOXGLQJ(3$¶VUHJLRQDOKD]H
SURJUDPUHJXODWLRQVIRUFRDOFRPEXVWLRQUHVLGXDOVDQGHIIOXHQWOLPLWDWLRQJXLGHOLQHV)5
$OWKRXJK(3$KDVSURSRVHGDQH[WHQVLRQWRWKHR]RQHVHDVRQDQH[WHQVLRQWRWKH
R]RQHVHDVRQLVDFWXDOO\QHHGHGWRIXOO\DOLJQZLWKWKRVHRWKHUUXOHVVRPHRIZKLFKGRQRW
WDNHHIIHFWXQWLOWKHHQGRIQRWWKHEHJLQQLQJ(3$KDVIRUPDQ\\HDUVH[SUHVVHGD
FRPPLWPHQWWRDOLJQLQJWKHPXOWLWXGHRIUHJXODWRU\UHTXLUHPHQWVLPSRVHGRQHOHFWULFXWLOLWLHVWR
HQDEOHWKHLQGXVWU\WRPDNHEHWWHULQIRUPHGORQJWHUPSODQQLQJGHFLVLRQV(3$H[WHQVLRQWR
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WKURXJKRQWKDWSURPLVH
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     KWWSVZZZHHQHZVQHWDUWLFOHVJULGPRQLWRUZDUQVRIXVEODFNRXWVLQVREHULQJUHSRUW

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  See, e.g., Carbon Pollution Emission Guidelines for Existing Stationary Sources: Electric Utility Generating
Units)HG5HJ -XQH  ³:LWKLQWKH(3$ZHDUHSD\LQJFDUHIXODWWHQWLRQWRWKH
LQWHUUHODWHGQHVVDQGSRWHQWLDOLPSDFWVRQWKHLQGXVWU\UHOLDELOLW\DQGFRVWWKDWWKHVHYDULRXVUXOHPDNLQJVFDQKDYH´ 



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       Case: 23-60069            Document: 438-3              Page: 200       Date Filed: 09/26/2023




+RZHYHUIRUWKDWH[WHQVLRQWRKDYHDQ\SUDFWLFDOHIIHFW(3$PXVWGRPRUHWKDQMXVWH[WHQGWKH
EDFNVWRSOLPLWWR(3$PXVWDOVRPDNHDGMXVWPHQWVWRWKHDOORZDQFHWUDGLQJSURJUDP
2WKHUZLVHWKHSURJUDPZLOOUHPDLQWRRLQIOH[LEOHWRDOORZVRXUFHRZQHUVWRDOLJQUHWLUHPHQW
GHFLVLRQVZLWKWKHRWKHUUXOHVVODWHGWRWDNHHIIHFWLQ$VSURSRVHG(3$¶VDVVXPSWLRQWKDW
GR]HQVRI6&5VZLOOEHLQVWDOOHGE\WKHR]RQHVHDVRQUHVXOWVLQGUDPDWLFDOO\UHGXFHGVWDWH
HPLVVLRQDOORZDQFHEXGJHWVEHJLQQLQJLQWKDW\HDU$Q\XQLWVFKHGXOHGIRUUHWLUHPHQWE\WKHHQG
RIGXHWRWKHLQIHDVLELOLW\RUFRVWLQHIIHFWLYHQHVVRI6&5ZRXOGWKHUHIRUHUHFHLYHIDUWRR
IHZDOORZDQFHVLQDQGWRFRPSO\UHJDUGOHVVRIWKHHIIHFWLYHGDWHRIWKHEDFN
VWRSOLPLW7KHUHIRUHZLWKRXWERWKDQH[WHQVLRQRIWKHEDFNVWRSOLPLWDQGDQDGMXVWPHQWWRWKH
SURSRVHGVWDWHEXGJHWFRYHUHG(*8VZLOOQRWKDYHWKHIOH[LELOLW\QHHGHGWRFRPPLWWRDUHWLUHE\
WKHHQGRILQDOLJQPHQWZLWKWKHRWKHUUHJXODWRU\UHTXLUHPHQWV$OVRDGHOD\LQWKHEDFN
VWRSOLPLWDORQHZRXOGSURYLGHQRDGGLWLRQDOIOH[LELOLW\WRJDVVWHDP(*8VVLQFHWKH\DUHQRW
VXEMHFWWRWKHEDFNVWRSOLPLWLQWKHILUVWSODFH$FKDQJHWRWKHDVVXPSWLRQVXQGHUO\LQJWKH
WUDGLQJSURJUDPLVWKHRQO\ZD\WRSURYLGHJDVVWHDPXQLWVWKHIOH[LELOLW\QHHGHGWRDOLJQD
UHWLUHPHQWFRPPLWPHQWZLWKWKHRWKHUUXOHVH[SHFWHGWRWDNHHIIHFWLQ
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(3$FRXOGDGMXVWLWVWUDGLQJSURJUDPDVVXPSWLRQVLQRQHRIWZRZD\VWRDGGUHVVWKLVFRQFHUQ
2QHRSWLRQZRXOGEHIRU(3$WRGHOD\XQWLOWKHR]RQHVHDVRQWKHHIIHFWLYHQHVVRIWKH
DOORZDQFHKROGLQJUHTXLUHPHQWIRUDQ\(*8VWKDWFRPPLWWRUHWLUHPHQWE\WKHHQGRI
HVVHQWLDOO\H[FOXGLQJWKHPIURPWKHSURJUDP7KLVH[FOXVLRQZRXOGEHWKHPRVWVLPSOH
DSSURDFKDQGWKHPRVWDSSURSULDWHVLQFHVXFKXQLWVZLOOFHDVHWRHPLWDWDOOLQWKHQHDUWHUP$Q
H[FOXVLRQXQWLOZRXOGDOVREHFRQVLVWHQWZLWKRWKHU&OHDQ$LU$FWSURJUDPVWKDWDOORZDQ
H[WHQVLRQRIOLPLWDWLRQVZKHUHWKHLQVWDOODWLRQRIFRQWUROVFDQQRWEHFRPSOHWHGLQWLPHZKLFKLV
OLNHO\WREHWKHFDVHIRUPDQ\XQLWV$OWHUQDWLYHO\(3$FRXOGDOVRUHYLVHLWVSURSRVHGVWDWH
EXGJHWLQJFDOFXODWLRQWRFRQWLQXHXVLQJUHWLULQJXQLWV¶KLVWRULFDOHPLVVLRQUDWHLQVHWWLQJVWDWH
EXGJHWVWKURXJKWKHR]RQHVHDVRQLQVWHDGRIDVVXPLQJWKRVHXQLWVZLOOEHJLQDFKLHYLQJWKH
6&5EDVHGHPLVVLRQUDWHRIOEPP%WXLQ(LWKHURIWKHVHWZRDSSURDFKHVZRXOG
SURYLGHWKHIOH[LELOLW\QHHGHGIRUFRDODQGJDVVWHDP(*8VWRFRQGXFWDPRUHRUGHUO\WUDQVLWLRQ
YLDUHWLUHPHQWE\WKHHQGRI:LWKRXWRQHRIWKHVHRSWLRQVRUVRPHRWKHUVLPLODUFKDQJHWR
WKH3URSRVDODGHOD\RIWKHEDFNVWRSOLPLWDORQHZLOOQRWSURYLGHVXIILFLHQWIOH[LELOLW\
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&RPPHQW
(3$VKRXOGUHYLVHLWVHYDOXDWLRQIRU/RXLVLDQD
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&OHFRDOVRDVNV(3$WRUHFRJQL]HWKHVSHFLILFFLUFXPVWDQFHVLQ/RXLVLDQDWKDWZDUUDQWVSHFLDO
FRQVLGHUDWLRQLQGHVLJQLQJDQR]RQHWUDQVSRUWSODQIRUWKHVWDWH0DQ\RIWKRVHFRQFHUQVDUH
DOUHDG\LGHQWLILHGLQ/RXLVLDQD¶VLQWHUVWDWHWUDQVSRUW6,3ZKLFK(3$KDVSURSRVHGWRGLVDSSURYH
&OHFRRSSRVHV(3$¶VSURSRVHGGLVDSSURYDORIWKH6,3DQGKDVVHSDUDWHO\FRPPHQWHGRQWKDW
DFWLRQ&OHFRLQFRUSRUDWHVWKRVHFRPPHQWVDVZHOODVWKHDQDO\VHVDQGGHWHUPLQDWLRQV
XQGHUO\LQJWKH6,3SUHSDUHGE\WKH/RXLVLDQD'HSDUWPHQWRI(QYLURQPHQWDO4XDOLW\DVWKH\DUH
GLUHFWO\UHOHYDQWWR(3$¶V3URSRVDO²WKH\FRQILUP/RXLVLDQDGRHVQRWVLJQLILFDQWO\FRQWULEXWHWR
GRZQZLQGQRQDWWDLQPHQWDQGPDLQWHQDQFHDUHDV
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  See86& L   DOORZLQJDQH[WHQVLRQIURPKD]DUGRXVDLUSROOXWDQWVWDQGDUGVWRDOORZWLPHIRUWKH
LQVWDOODWLRQRIFRQWUROV 



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          Case: 23-60069            Document: 438-3             Page: 201   Date Filed: 09/26/2023




,QSDUWLFXODU&OHFRDVNV(3$WRUHH[DPLQHWKHDVVXPSWLRQVWKDWOHG(3$WRFRQFOXGH/RXLVLDQD
VLJQLILFDQWO\FRQWULEXWHVWR³GRZQZLQG´DLUTXDOLW\FRQFHUQVLQ7H[DV$VDQLQLWLDOPDWWHUWKH
SUHYDLOLQJZLQGVIURP/RXLVLDQDEORZWKHRWKHUGLUHFWLRQ$GGLWLRQDOO\/RXLVLDQDLVDFRDVWDO
VWDWHDQGWKH*XOI6WUHDPIORZVZHVWWRHDVWZKLFKIXUWKHUVXJJHVWV/RXLVLDQDHPLVVLRQVDUH
XQOLNHO\WRDFWXDOO\LPSDFW7H[DVUHFHSWRUVWRWKHZHVW
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)XUWKHUPRUH/RXLVLDQDKDVDOUHDG\VLJQLILFDQWO\UHGXFHGLWVHPLVVLRQVDQGLWVRZQDPELHQW
R]RQHOHYHOVLQUHFHQW\HDUV,QIDFWQRDUHDLQ/RXLVLDQDZDVGHVLJQDWHGDVQRQDWWDLQPHQWIRU
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DOUHDG\GUDPDWLFDOO\UHGXFHGLWVFRQWULEXWLRQWRUHJLRQDOR]RQHFRQFHQWUDWLRQVDQGLVXQOLNHO\WR
UHPDLQDVLJQLILFDQWFRQWULEXWRUWRRWKHUVWDWHV¶DLUTXDOLW\LVVXHV7KHUHFHQWLPSURYHPHQWVLQ
DLUTXDOLW\LQ/RXLVLDQDDUHGLUHFWO\DWWULEXWDEOHWRVLJQLILFDQWVWHSVDOUHDG\WDNHQE\&OHFRWR
UHGXFHHPLVVLRQVDWLWVIDFLOLWLHVLQFOXGLQJLQVWDOOLQJ61&5VDWVL[XQLWVFRQYHUWLQJRQHXQLW
IURPFRDOWRJDVDQGUHWLULQJRQHRILWVODUJHVWFRDOILUHG(*8V$QG&OHFRGRHVQRWSODQWRVWRS
WKHUH²RWKHUHPLVVLRQUHGXFLQJPHDVXUHVDUHSODQQHGLQWKHFRPLQJ\HDUVWRHQVXUH/RXLVLDQD¶V
DLUUHPDLQVLQFRPSOLDQFHZLWKDOO&OHDQ$LU$FWUHTXLUHPHQWV
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&OHFRDOVRDVNV(3$WRUHFRQVLGHUVRPHRIWKHDVVXPSWLRQVWKDWDSSHDUWRXQGHUOLHWKHDQDO\VHV
(3$XVHGWRGHYHORSWKH3URSRVDO,QSDUWLFXODU(3$DSSHDUVWRKDYHDVVXPHGWKDW0DGLVRQ
8QLWVDQGDWWKH%UDPH(QHUJ\&HQWHUZLOOUHWLUHLQLQUHVSRQVHWRWKH3URSRVDO
7KDWDVVXPSWLRQLVLQFRUUHFW²&OHFR¶V0DGLVRQXQLWVDUHVRPHRIWKHQHZHVWPRVWHIILFLHQWDQG
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          Case: 23-60069            Document: 438-3              Page: 202    Date Filed: 09/26/2023




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  Case: 23-60069   Document: 438-3   Page: 203   Date Filed: 09/26/2023




Tab HQ-546: Comment submitted by Entergy Services, LLC
    (ESL) (June 21, 2022) (EPA-HQ-OAR-2021-0668-0546)
          Case: 23-60069           Document: 438-3        Page: 204   Date Filed: 09/26/2023



                                                                              Entergy Services, LLC
                                                                              2107 Research Forest Drive
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                                                                              The Woodlands, TX 77380
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       Case: 23-60069             Document: 438-3              Page: 205       Date Filed: 09/26/2023




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       Case: 23-60069             Document: 438-3             Page: 206        Date Filed: 09/26/2023




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(QWHUJ\RSHUDWLQJFRPSDQLHVZRXOGEHSODFHGLQWRDSRVLWLRQRIFKRRVLQJEHWZHHQDOLPLWHG
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        Case: 23-60069            Document: 438-3              Page: 207       Date Filed: 09/26/2023




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          LQVHUYLFHIRU\HDUVDIWHUZDUG,QWKHSURSRVDODQGDVVRFLDWHGGRFXPHQWVSRVWHGLQWKH
          UHJXODWRU\GRFNHW(3$LGHQWLILHVDWRWDORI(QWHUJ\RZQHG RUSDUWLDOO\RZQHG 
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          ZLWKWKHFXUUHQWO\DQWLFLSDWHGXQLWUHWLUHPHQWGDWHVIURP(QWHUJ\¶VH[LVWLQJEXVLQHVV
          SODQV8VLQJ(3$¶VRZQFRVWHVWLPDWLRQPHWKRGRORJ\ZLWKQRFKDQJHVRWKHUWKDQ
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       Case: 23-60069             Document: 438-3              Page: 208       Date Filed: 09/26/2023




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        VXEMHFWWRH[LVWLQJSXEOLFFRPPLWPHQWVHQIRUFHDEOHXQGHUERWKVWDWHDQGIHGHUDOODZZKLFK
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             Case: 23-60069            Document: 438-3        Page: 209   Date Filed: 09/26/2023




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              PRUHIOH[LELOLW\WRDFFRPPRGDWHFRQWLQXHGRSHUDWLRQVRIVXFKXQLWVZKLOHDFKLHYLQJ12[
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       Case: 23-60069           Document: 438-3             Page: 210      Date Filed: 09/26/2023




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        WKHDQWLFLSDWHGHIIHFWLYHGDWHRIWKHILQDO),3LVSUREOHPDWLFLQVHYHUDOZD\V)LUVWWKUHH
        \HDUVLVDYHU\DJJUHVVLYHVFKHGXOHIRULQVWDOODWLRQRID6&5V\VWHPRQDQHOHFWULF
        JHQHUDWLQJXQLWDQGRQHZKLFKIDLOVWRDFFRXQWIRUDOORIWKHYDULDEOHVLQKHUHQWLQH[HFXWLRQ
        RIVXFKDUHWURILWLQFOXGLQJSHUPLWWLQJHQJLQHHULQJSURFXUHPHQWFRQVWUXFWLRQDQG
        WHVWLQJ(3$KDVUHFRJQL]HGWKLVLQWKHFRQWH[WRISULRUUHJXODWRU\GHFLVLRQVZKHUH(3$
        KDVGHWHUPLQHGWKDW6&5LQVWDOODWLRQVFKHGXOHVRIRU\HDUVZHUHDV³H[SHGLWLRXVO\DV
        SUDFWLFDEOH´XQGHUWKH5HJLRQDO+D]HSURJUDP6HFRQGO\(3$¶VSURSRVHG\HDUSHULRG
        ZRXOGVLJQLILFDQWO\OLPLWWKHRSWLRQVDYDLODEOHWRDXWLOLW\WRSODQGHYHORSDQGSODFHLQWR
        VHUYLFHDOWHUQDWLYHJHQHUDWLRQWRDOORZIRUWKHUHSODFHPHQWRIOHJDF\JHQHUDWLRQXQLWVIRU
        ZKLFKDQ6&5UHWURILWLVVLPSO\XQHFRQRPLF9HU\IHZW\SHVRIJHQHUDWLRQFDQEH
        SODQQHGGHYHORSHGDQGSODFHGLQWRVHUYLFHZLWKLQWKUHH\HDUVDQGVXFKJHQHUDWLRQWHQGV
        WREHVPDOOHUVFDOHDQGXQDEOHWRUHSODFHWKHFDSDFLW\SURYLGHGE\WKHVL]HDEOHJHQHUDWLQJ
        XQLWVLGHQWLILHGE\(3$IRU6&5UHWURILWVLQWKHSURSRVHG),3
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        ,QYHVWLQJLQFRVWO\6&5UHWURILWVRQ(QWHUJ\XQLWVWKDWRQDYHUDJHZLOOEHPRUHWKDQ
        \HDUVROGLQLVDQXQVXSSRUWHGDQGXQUHDVRQDEOHDVVXPSWLRQIRU(3$WRPDNH
        $OORZLQJDQDOWHUQDWLYHDQGPRUHPHDVXUHGDSSURDFKWRDGMXVWLQJIXWXUH\HDUVWDWHEXGJHWV
        WKDWRIIHUVVRPHIOH[LELOLW\ZLWKUHVSHFWWRXQLWVZLWKDOLPLWHG58/ZRXOGDOORZ(QWHUJ\
        DQGRWKHUVLPLODUO\VLWXDWHGXWLOLWLHVVXIILFLHQWWLPHWRFRQVLGHUDOOSRVVLEOHRSWLRQVIRU
        GHYHORSPHQWRIUHSODFHPHQWJHQHUDWLRQFDSDFLW\
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        (QWHUJ\KDVUHFHQWH[SHULHQFHLQWKHGHYHORSPHQWRIERWKVRODUDQGPRGHUQFRPELQHG
        F\FOHJDVJHQHUDWLRQDQG(7,LVFXUUHQWO\LQWKHSURFHVVRIVHHNLQJUHJXODWRU\DSSURYDOV
        IRUWKHFRPELQHGF\FOH2&$36IDFLOLW\ZKLFKZLOOEHFDSDEOHRIFRILULQJQDWXUDOJDVDQG
        K\GURJHQ%DVHGRQWKLVH[SHULHQFHGHYHORSPHQWDQGGHSOR\PHQWRIXWLOLW\VFDOHVRODU
        JHQHUDWLRQZRXOGEHH[SHFWHGWRWDNH\HDUVRQDYHUDJHIURPLQLWLDOSODQQLQJWR
        FRPPHUFLDORSHUDWLRQ6LPLODUGHYHORSPHQWDQGGHSOR\PHQWRIPRGHUQK\GURJHQFDSDEOH
        JDVJHQHUDWLRQFDSDFLW\ZRXOGEHH[SHFWHGWRWDNHXSWR\HDUVIURPWKHGDWHWKDWSODQQLQJ
        IRUVXFKDSURMHFWZDVLQLWLDWHG6XFKSURMHFWVDUHODUJHDQGFRPSOH[DQGUHTXLUH
        QXPHURXVSHUPLWVDSSURYDOVDQGDXWKRUL]DWLRQIURPERWKVWDWHDQGORFDOUHJXODWRU\
        DXWKRULWLHVDORQJZLWKVLJQLILFDQWHQJLQHHULQJSURFXUHPHQWFRQVWUXFWLRQDQGHTXLSPHQW
        WHVWLQJ,QDGGLWLRQH[WHUQDOIDFWRUVVXFKDVWKHFXUUHQWLQYHVWLJDWLRQE\WKH'HSDUWPHQW
        RI&RPPHUFHLQWRDOOHJDWLRQVRISKRWRYROWDLFFHOOLPSRUWWDULIIFLUFXPYHQWLRQFDQFUHDWH
        XQH[SHFWHGGHOD\VLQWKHDELOLW\WRH[HFXWHQHZJHQHUDWLRQSURMHFWV'HWDLOVUHJDUGLQJ
        (QWHUJ\¶VUHFHQWH[SHULHQFHZLWKVXFKSURMHFWVFDQEHIRXQGLQ$WWDFKPHQW%WRWKLVOHWWHU

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  )RULQIRUPDWLRQUHJDUGLQJWKHLQYHVWLJDWLRQVHH0HPRUDQGXPIURP-RVH5LYHUD,QWHUQDWLRQDO7UDGH&RPSOLDQFH
$QDO\VW$'&9'2SHUDWLRQV2IILFH9,,86'HSDUWPHQWRI&RPPHUFHWR$OO,QWHUHVWHG3DUWLHV³&LUFXPYHQWLRQ
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       Case: 23-60069           Document: 438-3             Page: 211       Date Filed: 09/26/2023




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       :KLOH(QWHUJ\DQWLFLSDWHVWKDWPXFKRILWVIXWXUHJHQHUDWLRQUHVRXUFHQHHGVZLOOEHPHWYLD
       DGGLWLRQDOVRODUDQGZLQGUHVRXUFHVWKHGLVSDWFKDEOHV\QFKURQRXVJHQHUDWLRQSURYLGHGE\
       VRXUFHVVXFKDVK\GURJHQFDSDEOHPRGHUQJDVJHQHUDWLRQXQLWVZLOOFRQWLQXHWRVHUYHDQ
       LPSRUWDQWUROHLQWKHRYHUDOOJHQHUDWLRQUHVRXUFHPL[%\SURYLGLQJXWLOLWLHVZLWKWKH
       RSWLRQWRPDNHFRPPLWPHQWVWROLPLWWKH58/RIXQLWVWRQRODWHUWKDQ'HFHPEHU
       DQGSURYLGLQJDPRUHIOH[LEOHVWDWHHPLVVLRQEXGJHWVHWWLQJDSSURDFKZLWKUHVSHFWWRVXFK
       XQLWVXWLOLWLHVZRXOGEHDEOHWRFRQVLGHUDOOSRVVLEOHDOWHUQDWLYHVIRUUHSODFHPHQW
       JHQHUDWLRQFDSDFLW\DQGSODFHDSSURSULDWHDOWHUQDWLYHFDSDFLW\LQWRVHUYLFHSULRUWR
       GHDFWLYDWLQJXQLWVZKHUH6&5UHWURILWVZRXOGEHHFRQRPLFDOO\LQIHDVLEOH
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       7KLVDSSURDFKZRXOGDFKLHYHORQJWHUPDQGVXVWDLQDEOHUHGXFWLRQVLQ12[HPLVVLRQV
       WKURXJKLQYHVWPHQWLQQHZ]HURRUORZHPLWWLQJJHQHUDWLRQUHVRXUFHVZKLFKZRXOGEH
       H[SHFWHGWRUHPDLQLQVHUYLFHIRUGHFDGHVWRFRPHUDWKHUWKDQLQYHVWPHQWLQ12[SROOXWLRQ
       FRQWUROUHWURILWVRQDJLQJJHQHUDWLRQUHVRXUFHVZKLFKPD\UHPDLQLQVHUYLFHIRURQO\D
       KDQGIXORI\HDUV
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       $VQRWHGLQPRUHGHWDLOLQ6HFWLRQ,,,EHORZWKHUHWLUHPHQWRIOHJDF\JHQHUDWLRQDVVHWVIRU
       ZKLFK6&5UHWURILWVDUHHFRQRPLFDOO\LQIHDVLEOHFRXOGDOVRQHFHVVLWDWHWUDQVPLVVLRQV\VWHP
       XSJUDGHVZKLFKFDQWDNH\HDUVWRSODQGHYHORSDQGLPSOHPHQW7KHSURSRVHG
       IOH[LELOLW\ZLWKUHVSHFWWRXQLWVZKLFKPDNHDSSURSULDWHFRPPLWPHQWVWROLPLWWKHLU58/WR
       QRODWHUWKDQ'HFHPEHUVHYHQ\HDUVDIWHUWKHDQWLFLSDWHGLVVXDQFHRIDILQDO),3
       LQDOLJQVZHOOZLWKWKLVH[SHFWHGWLPHWRH[HFXWHDQ\QHFHVVDU\WUDQVPLVVLRQV\VWHP
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       $EVHQWDGRSWLRQRIRXUSURSRVDODERYH(3$VKRXOGSURYLGHVRPHDOWHUQDWLYHPHDQV
       IRU(*8RSHUDWRUVWRFRPPLWWRDVKRUWHQHGUHPDLQLQJXVHIXOOLIHEH\RQGDORQJZLWK
       SURYLGLQJIRUDGGLWLRQDOVWDWHEXGJHWDOORWPHQWV ZLWKUHVSHFWWRVXFKXQLWV DQGDOORZDQFH
       DOORFDWLRQVLQWKURXJKWKH\HDURIFRPPLWPHQW(3$PXVWUHFRJQL]HWKDW6&5
       LQYHVWPHQWVFRXOGQRWEHMXVWLILHGIRUPDQ\RIWKHVRXUFHVLGHQWLILHGIRUVXFKUHWURILWVLQ
       WKHSURSRVDODQGSURYLGHDUHDVRQDEOHDOWHUQDWLYHDSSURDFKWKDWHQVXUHVORQJWHUP12[
       HPLVVLRQUHGXFWLRQVZKLOHDOORZLQJXWLOLWLHVWRFRQWLQXHWRSURYLGHDIIRUGDEOHDQGUHOLDEOH
       HOHFWULFDOVHUYLFHWRWKHLUFXVWRPHUV
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              Case: 23-60069            Document: 438-3              Page: 212       Date Filed: 09/26/2023




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            &RQVXOWZLWK$SSURSULDWH5HJLRQDO7UDQVPLVVLRQ2SHUDWRUV ³572V´ DQG2WKHU(OHFWULF
            5HOLDELOLW\6WDNHKROGHUV3ULRUWR,VVXLQJD)LQDO5XOH
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            D $OORZDQFH$YDLODELOLW\LV(VVHQWLDOIRUD)XQFWLRQLQJ7UDGLQJ3URJUDP
               8QGHUERWKWKHH[LVWLQJDQGSULRUYHUVLRQVRIWKH&6$35WUDGLQJSURJUDPVWKHUHZHUHWZR
               VLJQLILFDQWPHFKDQLVPVE\ZKLFKDQ(*8RSHUDWRUFRXOGJHQHUDWHVXUSOXVHPLVVLRQ
               DOORZDQFHV UHWLUHPHQWRIDXQLWRU FRQWUROOLQJHPLVVLRQVIURPDXQLWWRDJUHDWHU
               H[WHQWWKDQZDVFRQWHPSODWHGE\(3$LQHVWDEOLVKLQJWKHUHOHYDQWVWDWHHPLVVLRQEXGJHWV
               (LWKHURIWKHVHDSSURDFKHVZRXOGFUHDWHVXUSOXVDOORZDQFHVWKDWFRXOGEHVROGRUWUDGHGWR
               RIIVHWJUHDWHUWKDQH[SHFWHGHPLVVLRQVIURPDQRWKHUJHQHUDWLQJXQLW8QGHU(3$¶V
               SURSRVHGIUDPHZRUNIRUWKLV),3QHLWKHURIWKHVHRSWLRQVDUHDYDLODEOHLQWKHVDPHIDVKLRQ
               DVKDVEHHQWKHFDVHLQWKHSDVW
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               7KUHHDVSHFWVRI(3$¶VSURSRVHG),3ZKHQFRQVLGHUHGWRJHWKHUOHDYHQRREYLRXVDQG
               VXVWDLQDEOHVRXUFHRIVXUSOXVHPLVVLRQDOORZDQFHVLQRUEH\RQG7KHVHDVSHFWVDUH
                WKHSUHVXPHG6&5UHWURILWVDWFHUWDLQXQLWVIRUWKHSXUSRVHRIHVWDEOLVKLQJVWDWH12[
               HPLVVLRQEXGJHWVIRUWKHDQGVXEVHTXHQWR]RQHVHDVRQVZKLFKZLOOVLJQLILFDQWO\
               UHGXFHVWDWH12[EXGJHWV WKHSURSRVHGDQQXDODOORZDQFHEDQNUHFDOLEUDWLRQZKLFKZLOO
               FRQVWUDLQDVRXUFH¶VDELOLW\WRVXSSOHPHQWLWVR]RQHVHDVRQDOORZDQFHDOORFDWLRQYLDWKHXVH
               RIEDQNHGDOORZDQFHVLIQHHGHGDQG WKHSURSRVHGWUHDWPHQWRILGOHGVXVSHQGHGDQG
               UHWLUHGXQLWVLQWKHG\QDPLFEXGJHWSURFHVVZKLFKZRXOGHOLPLQDWHDXQLWIURPWKHVWDWH
               12[EXGJHWWZR\HDUVIROORZLQJDQ\R]RQHVHDVRQLQZKLFKWKHXQLWGLGQRWRSHUDWHDORQJ
               ZLWKWKHHOLPLQDWLRQRIDOORZDQFHDOORFDWLRQVWRVXFKXQLWVWZR\HDUVDIWHUWKHODVWR]RQH
               VHDVRQLQZKLFKWKHXQLWRSHUDWHG)XUWKHUPRUH(3$¶VSURSRVHGG\QDPLFEXGJHW
               DSSURDFKZRXOGQRQHWKHOHVVSUHVXPHDQ6&5UHWURILWIRUDQDOUHDG\UHWLUHGXQLWLIWKDWXQLW
               ZDVLGHQWLILHGE\(3$IRUVXFKDUHWURILWDQGWKHXQLWZDVHOLJLEOHWRUHFHLYHDOORZDQFHVLQ
               RUEH\RQG
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               )RUDXQLWZLWKDOLPLWHG58/ZKHUHDPDMRUFDSLWDOLQYHVWPHQWLQ12[HPLVVLRQFRQWURO
               UHWURILWVLVQRWHFRQRPLFDOO\IHDVLEOHWKHOLNHO\ODFNRIDQ\VLJQLILFDQWTXDQWLW\RIVXUSOXV
               DOORZDQFHVZLOOVLJQLILFDQWO\FRQVWUDLQWKHDELOLW\WRFRQWLQXHWRRSHUDWHWKHXQLWGXULQJWKH
               RUVXEVHTXHQWR]RQHVHDVRQV)RUVXFKDXQLWWKHRQO\YLDEOHFRPSOLDQFHRSWLRQVIRU
               WKHDQGVXEVHTXHQWR]RQHVHDVRQVZRXOGDSSHDUWREHHLWKHUWRDFFHOHUDWHUHWLUHPHQW
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         $QH[DPSOHRIVXFKDXQLWZRXOGEHDXQLWZLWKRXWDQ6&5WKDWRSHUDWHVGXULQJWKHR]RQHVHDVRQDQGLV
       UHWLUHGSULRUWRWKHR]RQHVHDVRQ8QGHU(3$¶VSURSRVHGG\QDPLFEXGJHWDSSURDFKVXFKDXQLWZRXOGEH
       LQFOXGHGLQWKHFDOFXODWLRQRIWKHVWDWH12[EXGJHWIRUWKHR]RQHVHDVRQEDVHGRQWKHXQLW¶VRSHUDWLRQGXULQJ
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       +RZHYHULQHVWDEOLVKLQJWKHVWDWH12[HPLVVLRQEXGJHWVIRUDQG(3$ZRXOGDSSO\DQHPLVVLRQUDWHWR
       WKLVXQLWZKLFKFRUUHVSRQGVWRDSUHVXPHG6&5UHWURILW RUOEPP%WX WKXVOHDYLQJIHZVXUSOXV
       DOORZDQFHVDYDLODEOHWRSURYLGHWRXQLWVWKDWPD\QHHGWRLQFUHDVHJHQHUDWLRQDVDUHVXOWRIWKHUHWLUHPHQW


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       Case: 23-60069            Document: 438-3              Page: 213      Date Filed: 09/26/2023




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        RSWLRQVZRXOGOLPLWDYDLODEOHJHQHUDWLRQFDSDFLW\GXULQJWKHSHDNVXPPHUHOHFWULFDO
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        $VQRWHGLQ6HFWLRQ,, E DERYH(3$¶VSURSRVHG),3VLJQLILFDQWO\OLPLWVDXWLOLW\¶VDELOLW\
        WRSODQGHYHORSDQGGHSOR\DOWHUQDWLYHJHQHUDWLQJFDSDFLW\EHIRUHOLNHO\DFFHOHUDWHG
        UHWLUHPHQWVDUHWULJJHUHGDVDUHVXOWRIWKH),3RFFXU7KH1RUWK$PHULFDQ(OHFWULF
        5HOLDELOLW\&RUSRUDWLRQ¶V 1(5& PRVWUHFHQWORQJWHUPDQGVXPPHUUHOLDELOLW\
        DVVHVVPHQWVLGHQWLI\H[LVWLQJUHOLDELOLW\FRQFHUQVZLWKLQVHYHUDO572UHJLRQVLQFOXGLQJD
        KLJKVXPPHUUHOLDELOLW\ULVNLQWKH0LGFRQWLQHQW,QGHSHQGHQW6\VWHP2SHUDWRU 0,62 
        UHJLRQLQZKLFK(QWHUJ\RSHUDWHV7KHVHULVNVDUHDOVRKLJKOLJKWHGE\WKHPRVWUHFHQW
        2060,626XUYH\UHVXOWVUHOHDVHGLQ-XQHZKLFKKLJKOLJKWD*:FDSDFLW\
        GHILFLWLQWKDWLVH[SHFWHGWRZLGHQLQIXWXUH\HDUV
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        %HIRUHLVVXDQFHRIDILQDO),3(3$PXVWFRQVLGHUWKHSRWHQWLDOWKDWWKHSURSRVHG12[
        VWDWHEXGJHWSUHVXPSWLRQVDQGDOORZDQFHFRQVWUDLQWVZLOOFDXVHRSHUDWRUVWRDFFHOHUDWH
        UHWLUHPHQWGHFLVLRQVIRUXQLWVWKDWDUHFXUUHQWO\RQO\SODQQHGWRRSHUDWHIRUDOLPLWHG
        QXPEHURI\HDUVEH\RQGDQGWKHSRWHQWLDOIRUVXFKDFFHOHUDWHGUHWLUHPHQWVWRFUHDWH
        LVVXHVZLWKWKHUHOLDELOLW\RIWKHEXONHOHFWULFV\VWHP(3$VKRXOGFRQVXOWZLWKWKH572V
        DQGRWKHUHOHFWULFUHOLDELOLW\VWDNHKROGHUVRQWKHVHLVVXHVDQGLQFRUSRUDWHDSSURSULDWH
        UHYLVLRQVLQWRWKHILQDO),3WRPLWLJDWHSRWHQWLDOUHOLDELOLW\LVVXHV
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     E 7KH0DMRULW\RIWKH&DSDFLW\3UHVXPHGIRU6&55HWURILWVLV&RQFHQWUDWHGLQ)LYH6WDWHV
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        VHDVRQ(3$¶VSURSRVHG),3LGHQWLILHVDWRWDORIJHQHUDWLQJXQLWVZLWKDWRWDO
        FRPELQHGFDSDFLW\RIDSSUR[LPDWHO\0:IRUSUHVXPHG6&5UHWURILWV
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        86$UNDQVDV/RXLVLDQD0LVVLVVLSSL2NODKRPDDQG7H[DV$VQRWHGDERYHWKH
        SURSRVHG),3ZRXOGOLNHO\LQFHQWLYL]HVRPHRIWKHVHXQLWVWRDFFHOHUDWHH[LVWLQJUHWLUHPHQW
        SODQVDQGUHWLUHSULRUWRWKHR]RQHVHDVRQ:LWKVXFKDVLJQLILFDQWFRQFHQWUDWLRQRI
        VXFKXQLWVLQWKHVHILYHVWDWHVLQFOXGLQJWKH0,626RXWK(OHFWULF5HOLDELOLW\&RXQFLORI
        7H[DV (5&27 DQGSRUWLRQVRIWKH6RXWKZHVW3RZHU3RRO 633 WHUULWRULHVWKHUHLV
        SDUWLFXODUULVNRIUHJLRQDOUHOLDELOLW\LVVXHVUHVXOWLQJIURPLPSOHPHQWDWLRQRIWKHSURSRVHG
        ),3(3$VKRXOGFRRUGLQDWHZLWKWKH572VVWDWHSXEOLFVHUYLFHDQGSXEOLFXWLOLW\
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   KWWSVZZZQHUFFRPSD5$3$UD5HOLDELOLW\$VVHVVPHQWV'/1(5&B/75$BSGI
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   'HWHUPLQHGEDVHGRQFRDODQGRLOJDVILUHG(*8VORFDWHGLQVWDWHVZKHUH(3$SURSRVHVWRSUHVXPH6&5UHWURILWV
IRUWKHSXUSRVHRIHVWDEOLVKLQJVWDWHEXGJHWVDQGIODJJHGE\(3$IRU6&5UHWURILWVLQWKHZRUNVKHHW³8QLW
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      Case: 23-60069         Document: 438-3           Page: 214    Date Filed: 09/26/2023




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       FRPPLVVLRQVDQG)(5&WRHQVXUHWKDWLWLVFRQVLGHULQJUHJLRQDOUHOLDELOLW\ULVNVWKDWPD\
       DULVHLQWKHVHVWDWHV572WHUULWRULHVDQGPDNHDSSURSULDWHDGMXVWPHQWVWRWKHILQDO),3WR
       PLWLJDWHDQ\LGHQWLILHGUHOLDELOLW\ULVNV
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    F 8QLW5HWLUHPHQWV0D\1HFHVVLWDWH7UDQVPLVVLRQ8SJUDGHV
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       7KHXQLWVLGHQWLILHGE\WKH(3$IRU6&5UHWURILWVDQGORFDWHGLQ0,626RXWKWRWDO
       DSSUR[LPDWHO\0:RIFDSDFLW\6LJQLILFDQWDQGFRVWO\WUDQVPLVVLRQV\VWHP
       XSJUDGHVZRXOGEHH[SHFWHGWREHQHFHVVDU\VKRXOGVRPHQXPEHURIWKHVHJHQHUDWLRQ
       UHVRXUFHVFKRRVHWRDFFHOHUDWHWKHLUUHVSHFWLYHUHWLUHPHQWVDVSDUWRIDVWUDWHJ\WRFRPSO\
       ZLWKWKHUHVWULFWLYHSURSRVHGVWDWHHPLVVLRQEXGJHWLQJDSSURDFKIRUWKHR]RQHVHDVRQ
       'XHWRWKHWLPHUHTXLUHGWRREWDLQDOOQHFHVVDU\H[WHUQDOSURMHFWDSSURYDOVFRPSOHWH
       PDWHULDOSURFXUHPHQWDQGWRFRQVWUXFWVXFKXSJUDGHVLWLVLQIHDVLEOHWRFRPSOHWH
       VLJQLILFDQWWUDQVPLVVLRQV\VWHPXSJUDGHVE\WKHWLPHWKHXQLWVDUHVXEMHFWWRUHVWULFWLYH
       VWDWH12[EXGJHWVWKDWZRXOGUHVXOWIURP(3$¶VSURSRVDOZKLFKZLOOMHRSDUGL]H
       V\VWHPUHOLDELOLW\([WHUQDOSURMHFWDSSURYDOVWDNHXSWRPRQWKVDQGWUDQVIRUPHU
       SURFXUHPHQWUHTXLUHVXSWR\HDUV'XHWRWKHWHUUDLQDQGSHUPLWWLQJUHTXLUHPHQWVQHZ
       DQGUHEXLOWWUDQVPLVVLRQOLQHVLQPDQ\SDUWVRIWKH(QWHUJ\WHUULWRU\WDNHWR\HDUVWR
       GHVLJQDQGFRQVWUXFW(3$¶VSURSRVHG12[EXGJHWLQJDSSURDFKVLPSO\GRHVQRW
       DOORZIRUDGHTXDWHWLPHWRH[HFXWHWUDQVPLVVLRQV\VWHPXSJUDGHVZKLFKPD\EHQHFHVVDU\
       WRDFFRPPRGDWHWKHDFFHOHUDWHGXQLWUHWLUHPHQWVWKDWZRXOGDOPRVWFHUWDLQO\RFFXUVKRXOG
       (3$ILQDOL]HLWVSURSRVDOZLWKRXWFKDQJHVWRSURYLGHDGGLWLRQDOIOH[LELOLW\WRWKHSURJUDP
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       VWDWHEXGJHWVDQGRUWRRWKHUDVSHFWVRIWKHWUDGLQJSURJUDPWRHQVXUHVXIILFLHQWDOORZDQFH
       DYDLODELOLW\WRDFFRPPRGDWHWKHSRWHQWLDOGLVSDWFKRIKLJKHUHPLWWLQJXQLWVDWJUHDWHUWKDQ
       DQWLFLSDWHGOHYHOVGXULQJWKHR]RQHVHDVRQWRPDLQWDLQWKHUHOLDELOLW\RIWKHEXONHOHFWULF
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          L UHYLVHGDQGPRUHIOH[LEOHVWDWHHPLVVLRQEXGJHWV
         LL UHYLVHGEXGJHWVHWWLQJDVVXPSWLRQVIRUWKHSURSRVHGG\QDPLFEXGJHWLQJIUDPHZRUN
             ZLWKUHVSHFWWRXQLWVZLWKOLPLWHG58/VVXFKDVWKRVHDGYRFDWHGIRUHOVHZKHUHLQ
             WKHVHFRPPHQWV
       LLL PRGLILFDWLRQRIWKHSURSRVHGG\QDPLFEXGJHWLQJDSSURDFKWRFRQVLGHUPXOWLSOH\HDUV
             RIKLVWRULFDORSHUDWLQJDQGHPLVVLRQVGDWDUDWKHUWKDQDVLQJOHKLVWRULFDO\HDU
        LY H[WHQGLQJWKHSHULRGLQZKLFKUHWLUHGXQLWVZRXOGFRQWLQXHWREHLQFOXGHGLQWKH
             FDOFXODWLRQRIVWDWHHPLVVLRQEXGJHWVDQGVXEVHTXHQWXQLWOHYHODOORFDWLRQVZKLFK
             ZRXOGSURYLGHDGGLWLRQDOOLTXLGLW\WRWKH12[DOORZDQFHPDUNHW


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                Case: 23-60069            Document: 438-3              Page: 215   Date Filed: 09/26/2023




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                  Y HOLPLQDWLRQRIWKHSURSRVHGDOORZDQFHEDQNUHFDOLEUDWLRQSURFHVVZKLFKZRXOG
                     SURYLGH(*8VZLWKJUHDWHUFHUWDLQW\LQSODQQLQJIRUIXWXUHRSHUDWLRQ
                 YL UHYLVLRQWRRUSRVWSRQHPHQWRIWKHDSSOLFDELOLW\RIWKHSURSRVHGDOORZDQFHEDQN
                     UHFDOLEUDWLRQSURFHVVWRVPRRWKWKHWUDQVLWLRQWRWKHVLJQLILFDQWO\UHGXFHGVWDWH
                     EXGJHWVZKLFKZRXOGUHVXOWIURP(3$¶VSURSRVHGSRVWVWDWHEXGJHWLQJ
                     IUDPHZRUNRU
                YLL RWKHUSRWHQWLDOIOH[LELOLWLHVZKLFKDOLJQZLWKWKHXQGHUO\LQJREOLJDWLRQVLPSRVHGE\
                     6HFWLRQ D  ' L , RIWKH&OHDQ$LU$FW
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             $UNDQVDVDQG0LVVLVVLSSLWR(QVXUHWKDWWKH\GRQRW&RQVWLWXWH2YHUFRQWURO
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               6HFWLRQ D  ' L , RIWKH&OHDQ$LU$FWUHTXLUHVWKDWDVWDWHRU(3$ZKHQDFWLQJLQ
               WKHSODFHRIDVWDWHYLDD),3GHYHORSDSODQZKLFKFRQWDLQVDGHTXDWHSURYLVLRQV
               ³SURKLELWLQJ«HPLVVLRQVDFWLYLW\ZLWKLQWKH6WDWHIURPHPLWWLQJDQ\DLUSROOXWDQWLQ
               DPRXQWVZKLFKZLOOFRQWULEXWHVLJQLILFDQWO\WRQRQDWWDLQPHQWLQRULQWHUIHUHZLWK
               PDLQWHQDQFHE\DQ\RWKHU6WDWHZLWKUHVSHFWWRDQ\VXFKQDWLRQDOSULPDU\RUVHFRQGDU\
               DPELHQWDLUTXDOLW\VWDQGDUG´3ULRUFRXUWGHFLVLRQVKDYHFRQFOXGHGWKDWWKH³FRQWULEXWH
               VLJQLILFDQWO\WRQRQDWWDLQPHQW´DQG³LQWHUIHUHZLWKPDLQWHQDQFH´SURYLVLRQVRIWKLVVHFWLRQ
               RIWKH$FWDUHLQGHSHQGHQWREOLJDWLRQVWKDWERWKPXVWEHDGGUHVVHGLQRUGHUWRSURYLGHD
               IXOOUHPHG\RID6WDWH¶VREOLJDWLRQVZLWKUHVSHFWWR6HFWLRQ D  ' L , ,QWKH
               SURSRVHG),3(3$SURSHUO\JLYHVLQGHSHQGHQWFRQVLGHUDWLRQWRSUHGLFWHGOLQNDJHV
               EHWZHHQHPLVVLRQVIURPXSZLQGVWDWHVDQGZKHWKHUWKRVHHPLVVLRQVZRXOG³FRQWULEXWH
               VLJQLILFDQWO\WRQRQDWWDLQPHQW´RU³LQWHUIHUHZLWKPDLQWHQDQFH´LQDQ\GRZQZLQGDUHDV
               DQG(3$SURSRVHVDUHPHG\FRQVLVWLQJRIVHULHVRIHPLVVLRQUHGXFWLRQVIURPXSZLQG
               VWDWHVWRDGGUHVVERWKFLUFXPVWDQFHV
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               +RZHYHUQHLWKHUWKHSODLQODQJXDJHRIWKH$FWQRUVXEVHTXHQWFRXUWGHFLVLRQVFRPSHO
               (3$WRSURSRVHWKHVDPHUHPHG\IRUFLUFXPVWDQFHVZKHUHHPLVVLRQVIURPDVWDWHDUH
               GHWHUPLQHGWR³FRQWULEXWHVLJQLILFDQWO\WRQRQDWWDLQPHQW´DVIRUFLUFXPVWDQFHVZKHUH
               HPLVVLRQVIURPDVWDWHDUHGHWHUPLQHGWR³LQWHUIHUHZLWKPDLQWHQDQFH´LQRQHRUPRUH
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               HPLVVLRQEXGJHWVIRUHPLVVLRQVIURPWKH(*8VHFWRUZLWKLQLWLDOHPLVVLRQUHGXFWLRQVWREH
               DFKLHYHGWKURXJKSURSRVHGVWDWHHPLVVLRQEXGJHWVIRUDQGFRXSOHGZLWKIXUWKHU
               UHGXFWLRQVWREHGHWHUPLQHGYLDDG\QDPLFEXGJHWLQJDSSURDFKIRUWKHDQG
               VXEVHTXHQWR]RQHVHDVRQV%HJLQQLQJZLWKWKHHVWDEOLVKPHQWRIVWDWH12[EXGJHWVIRUWKH
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               WRDQH[WUDRUGLQDU\H[WHQWYLDWKHDSSOLFDWLRQRISUHVXPHG6&5UHWURILWVIRUFHUWDLQFRDO
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          Case: 23-60069            Document: 438-3          Page: 216   Date Filed: 09/26/2023




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          RLODQGJDVILUHGXQLWVLGHQWLILHGE\(3$7KHVHIXUWKHUVXEVWDQWLDO12[HPLVVLRQ
          UHGXFWLRQVIURPWKH(*8VHFWRUWKHPRVWVLJQLILFDQWWKDWKDYHHYHUEHHQSURSRVHGXQGHU
          WKH³*RRG1HLJKERU´SURYLVLRQVRI6HFWLRQ D  ' L , DUHQRWQHFHVVDU\IRUVWDWHV
          ZKLFKDUHSUHGLFWHGWREHOLQNHGRQO\WRPDLQWHQDQFHUHFHSWRUVLQ$VGRFXPHQWHG
          E\(3$LQWKHSURSRVHG),3WKHVH³PDLQWHQDQFHRQO\´VWDWHVLQDUH$UNDQVDV
          0LQQHVRWD0LVVLVVLSSL2NODKRPD:LVFRQVLQDQG:\RPLQJ
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          7RUHTXLUHVXFKH[WUDRUGLQDU\IXUWKHUHPLVVLRQUHGXFWLRQVIURPWKHVHVWDWHVLQZRXOG
          OLNHO\FRQVWLWXWHRYHUFRQWUROWKDWLVDJUHDWHUGHJUHHRIHPLVVLRQUHGXFWLRQVWKDQDUH
          QHFHVVDU\WRSUHYHQWHPLVVLRQVIURPWKHVHVWDWHVIURP³LQWHUIHULQJZLWKPDLQWHQDQFH´LQ
          GRZQZLQGDUHDV2WKHUDVSHFWVRI(3$¶VSURSRVHG),3LIILQDOL]HGZRXOGDGGUHVVWKH
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          )RUH[DPSOHWKHSURSRVHGG\QDPLFEXGJHWLQJDSSURDFKDEVHQWWKHVLJQLILFDQWEXGJHW
          UHGXFWLRQVZKLFKZRXOGRFFXULQGXHWRWKHDSSOLFDWLRQRISUHVXPHG6&5UHWURILWV
          ZRXOGVWLOOUHVXOWLQRQJRLQJUHGXFWLRQVLQVWDWH(*8EXGJHWVRYHUWLPHDVEXGJHWVDUH
          DGMXVWHGRYHUWLPHWRDFFRXQWIRUXQLWUHWLUHPHQWVDQGFKDQJHVLQXQLWGLVSDWFKSDWWHUQV
          7KLVDVSHFWRIWKHSURJUDPZLOOHQVXUHWKDW(*8VHFWRU12[HPLVVLRQVFRQWLQXHWR
          GHFUHDVHRYHUWLPHGRQRWLQWHUIHUHZLWKPDLQWHQDQFHLQDQ\GRZQZLQGDUHDVDQGDUH
          VXIILFLHQWWRDGGUHVVWKH³*RRG1HLJKERU´REOLJDWLRQVIRUWKHVHXSZLQGVWDWHVZLWKUHJDUG
          WRGRZQZLQGPDLQWHQDQFHDUHDV6KRXOG(3$ILQDOL]HD),3ZKLFKGRHVQRWFRQWDLQWKH
          SURSRVHGG\QDPLFEXGJHWLQJDSSURDFKWKHQRWKHUHOHPHQWVRI(3$¶VILQDO),3PD\VHUYH
          DVLPLODUIXQFWLRQWKDWZRXOGVDWLVI\WKHREOLJDWLRQWRSUHYHQWHPLVVLRQVIURPDVWDWHZKLFK
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          ZKLFKFRUUHVSRQGWRSUHVXPHG6&5UHWURILWVRQFHUWDLQFRDORLORUJDVILUHG(*8VLQDQ\
          VWDWHVSUHGLFWHGWREHOLQNHGRQO\WRGRZQZLQGPDLQWHQDQFHUHFHSWRUVLQDQGVKRXOG
          VLPLODUO\HOLPLQDWHWKHSURSRVHGGDLO\EDFNVWRSHPLVVLRQUDWHIRUFRDOILUHG(*8VLQVXFK
          VWDWHVZKLFKDUHQRWDOUHDG\HTXLSSHGZLWK6&5V(3$VKRXOGFRQFOXGHWKDWWKHRWKHU
          SURSRVHG*URXSWUDGLQJSURJUDPHOHPHQWVRURWKHUVLPLODUHOHPHQWVRIWKHILQDO),3DV
          DSSOLHGWRWKHVHVWDWHVDUHVXIILFLHQWWRDGGUHVVWKHLUUHVSHFWLYHREOLJDWLRQVWRSURKLELW
          HPLVVLRQVZKLFKZRXOGLQWHUIHUHZLWKPDLQWHQDQFHLQDQ\GRZQZLQGDUHDV
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          :KHQFRQVLGHULQJDSSURSULDWHUHYLVLRQVWRVWDWHEXGJHWVIRUVWDWHVZKLFKDUHSUHGLFWHGWR
          EHOLQNHGRQO\WRGRZQZLQGPDLQWHQDQFHUHFHSWRUVLQ(3$VKRXOGEHHVSHFLDOO\
          DWWHQWLYHWRWKHULVNRIDSSO\LQJDJJUHVVLYHHPLVVLRQFRQWUROUHWURILWSUHVXPSWLRQVWRXQLWV
          ORFDWHGLQVXFKVWDWHVDQGWKDWKDYHHLWKHUH[LVWLQJFRPPLWPHQWVZKLFKOLPLWWKHLU58/WR
          RUVRRQHURUZKLFKDUHZLOOLQJWRPDNHVXFKFRPPLWPHQWVLQUHVSRQVHWRWKHILQDO
          ),3:KLOHFRPPHQWV,DQG,,DERYHRXWOLQHWKHSURJUDPZLGHLVVXHVZLWKSUHVXPLQJVXFK
          FRPPLWPHQWVIRUXQLWVZLWKOLPLWHG58/VVXFKDJJUHVVLYHHPLVVLRQEXGJHWUHGXFWLRQV
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           Case: 23-60069         Document: 438-3           Page: 217    Date Filed: 09/26/2023




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            ZLWKUHVSHFWWRVXFKXQLWVDUHSDUWLFXODUO\PLVDOLJQHGZLWKWKHREOLJDWLRQWRSURKLELW
            HPLVVLRQVZKLFKZRXOGLQWHUIHUHZLWKPDLQWHQDQFHLQDQ\GRZQZLQGDUHDV)RU(3$WR
            HVWDEOLVKVWDWH12[EXGJHWVEDVHGRQDSUHVXPSWLRQRIFRVWO\6&5UHWURILWVIRUXQLWVZLWK
            OLPLWHG58/VDQGWKDWDUHORFDWHGLQVWDWHVZKLFKDUHOLQNHGRQO\WRGRZQZLQG
            PDLQWHQDQFHUHFHSWRUVLQZRXOGEHXQUHDVRQDEOHDQGOLNHO\ZRXOGFRQVWLWXWH
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            7KHH[WHQWWRZKLFKLQGLYLGXDOJHQHUDWLQJXQLWVGLVSDWFKDWDQ\JLYHQWLPHLVDIXQFWLRQRI
            WKHWRWDOHOHFWULFDOV\VWHPORDGWKHRWKHUJHQHUDWLQJXQLWVDYDLODEOHWRPHHWWKDWORDGDQG
            WKHUHODWLYHFRVWRIHDFKDYDLODEOHJHQHUDWLRQVRXUFH7KLVLQFOXGHVERWKIRVVLOIXHOILUHG
            JHQHUDWLQJXQLWVZKLFKDUHWKHIRFXVRI(3$¶VSURSRVHG),3DVZHOODVRWKHUW\SHVRI
            JHQHUDWLRQVXFKDVQXFOHDUK\GURHOHFWULFVRODUDQGZLQGJHQHUDWLRQZKLFKGRQRWFUHDWH
            12[HPLVVLRQV:KHQUHODWLYHO\PRUHORDGLVEHLQJVHUYHGE\WKHVH]HURHPLWWLQJ
            JHQHUDWLRQUHVRXUFHVRYHUDOO(*8VHFWRU12[HPLVVLRQVZLOOEHOHVVDQGZKHQWKH
            RSSRVLWHLVWKHFDVH(*8VHFWRU12[HPLVVLRQVZLOOEHJUHDWHU$V(3$SURSRVHV
            VLJQLILFDQWUHGXFWLRQVLQVWDWH12[HPLVVLRQEXGJHWVWKHLPSOLFDWLRQVRIWKHVH
            LQWHUUHODWLRQVKLSVZLWK]HURHPLWWLQJJHQHUDWLRQUHVRXUFHVEHFRPHPRUHLPSRUWDQWWRWKH
            RYHUDOOIXQFWLRQLQJRIWKH&6$35HPLVVLRQWUDGLQJSURJUDP
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            :KHQDODUJH]HURHPLWWLQJJHQHUDWLQJXQLWVXFKDVDQXFOHDURUK\GURHOHFWULFXQLWLVQRW
            DYDLODEOHGXULQJDSRUWLRQRIWKHR]RQHVHDVRQRWKHUXQLWVZLOOQHFHVVDULO\EHGLVSDWFKHGLQ
            RUGHUWRPHHWV\VWHPUHOLDELOLW\QHHGVDQGHOHFWULFDOGHPDQG6LPLODUFRQVLGHUDWLRQVFRXOG
            DULVHLQWKHHYHQWWKDWJHQHUDWLRQRXWSXWUHPDLQVDYDLODEOHEXWLVVLJQLILFDQWO\UHGXFHGIURP
            D]HURHPLWWLQJVRXUFH7KHJHQHUDWLRQUHVRXUFHVPRVWIUHTXHQWO\DYDLODEOHDQGGLVSDWFKHG
            LQVXFKVLWXDWLRQVDUHIRVVLOIXHOILUHGXQLWVWKHUHE\UHVXOWLQJLQDQLQFUHDVHLQWRWDO12[
            HPLVVLRQV(3$¶VG\QDPLFDSSURDFKIRUHVWDEOLVKLQJVWDWHHPLVVLRQEXGJHWVXQGHUWKH
            SURSRVHG),3ZKLFKSUHVXPHVWKHPRVWVWULQJHQWWHFKQLFDOO\IHDVLEOHOHYHORI12[
            HPLVVLRQFRQWUROV LH6&5V IRUQHDUO\DOOIRVVLOIXHOILUHGXQLWVDQGFRQVLGHUVRQO\D
            VLQJOH\HDURIKLVWRULFDOXQLWRSHUDWLQJGDWDZRXOGSURGXFHLQIOH[LEOHVWDWHHPLVVLRQ
            EXGJHWV7KLVZRXOGUHVXOWLQDVFHQDULRZKHUHVXIILFLHQWDOORZDQFHVZRXOGVLPSO\QRW
            H[LVWWRDFFRPPRGDWHWKHQHHGWRUXQDKLJKHUHPLWWLQJXQLWWRPHHWHOHFWULFDOGHPDQG
            GXULQJDSHULRGLQZKLFKD]HURHPLWWLQJJHQHUDWLRQUHVRXUFHZKLFKW\SLFDOO\RSHUDWHVWR
            VHUYHDSRUWLRQRIWRWDOHOHFWULFDOV\VWHPGHPDQGLVXQDYDLODEOHGXULQJVRPHSRUWLRQRIWKH
            R]RQHVHDVRQ
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            3ULRUWRLVVXLQJDILQDO),3(3$VKRXOGHYDOXDWHDYDLODEOHKLVWRULFDOJHQHUDWLRQGDWDIRU
            QXFOHDUK\GURHOHFWULFDQGRWKHU]HURHPLWWLQJJHQHUDWLRQVRXUFHVDQGDVVHVVZKHWKHUWKH


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      Case: 23-60069        Document: 438-3           Page: 218   Date Filed: 09/26/2023




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       SURSRVHG),3SURYLGHVIRUDGHTXDWHDOORZDQFHDYDLODELOLW\LQWKHHYHQWWKDWDODUJH]HUR
       HPLWWLQJXQLWLVXQDYDLODEOHGXULQJWKHR]RQHVHDVRQDQGDGGLWLRQDOIRVVLOIXHOILUHGXQLWV
       DUHRSHUDWHGWRPHHWHOHFWULFDOGHPDQG
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       ,QDGGLWLRQ(3$VKRXOGPRGLI\WKHSURSRVHGVHFRQGDU\HPLVVLRQOLPLWIRUVRXUFHVWKDW
       FRQWULEXWHWRDQH[FHHGDQFHRIWKHVWDWH¶VDVVXUDQFHOHYHOVXFKWKDWWKHVHFRQGDU\OLPLW
       ZRXOGQRWDSSO\WRVXFKDVRXUFHLIWKHSULPDU\FDXVHRIWKHDVVXUDQFHSURYLVLRQ
       H[FHHGDQFHZDVDQXQIRUHVHHDEOHFLUFXPVWDQFHVXFKDVDGGLWLRQDOGLVSDWFKGXHWRUHGXFHG
       DYDLODELOLW\RIJHQHUDWLRQIURPORZRU]HURHPLWWLQJJHQHUDWLRQUHVRXUFHVLQWKHVWDWHRU
       UHJLRQRUGDPDJHWRWKHHOHFWULFDOWUDQVPLVVLRQRUGLVWULEXWLRQV\VWHPZKLFKUHTXLUHG
       RSHUDWLRQRIDKLJKHUHPLWWLQJXQLWLQRUGHUWRPHHWORFDOHOHFWULFDOGHPDQG
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    E (3$¶V3URSRVHG'\QDPLF%XGJHW$SSURDFK:RXOG3HQDOL]H6WDWHV,PSDFWHGE\6HYHUH
       :HDWKHU(YHQWV
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       :KHQHVWDEOLVKLQJVWDWH12[HPLVVLRQEXGJHWVXQGHUWKHSURSRVHGG\QDPLFEXGJHW
       DSSURDFK(3$PXVWFRQVLGHUWKHLPSDFWVRIVHYHUHZHDWKHUHYHQWVVXFKDVKXUULFDQHV
       ZKLFKRFFXUGXULQJWKHR]RQHVHDVRQDQGZKLFKPD\FUHDWHDQRPDORXVFRQGLWLRQVIRUWKH
       EXONHOHFWULFV\VWHPLQWKHUHJLRQVLPSDFWHG6XFKZHDWKHUHYHQWVFDQFDXVHZLGHVSUHDG
       SRZHURXWDJHVZKLFKWHPSRUDULO\OLPLWHOHFWULFDOV\VWHPGHPDQGDQGFDQGLUHFWO\GDPDJH
       HOHFWULFJHQHUDWLQJXQLWVWKDWPD\UHPDLQRXWRIVHUYLFHXQWLOQHFHVVDU\UHSDLUVFDQEH
       FRPSOHWHG
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       7KLVRFFXUUHGZLWKLQ(//¶VVHUYLFHWHUULWRU\LQ/RXLVLDQDGXULQJERWKWKHDQG
       R]RQHVHDVRQVGXHWRVLJQLILFDQWLPSDFWVIURPWURSLFDOZHDWKHUV\VWHPV KXUULFDQHVDQG
       WURSLFDOVWRUPV )RUH[DPSOHWKH1HOVRQJHQHUDWLQJXQLWORFDWHGLQ:HVWODNH/RXLVLDQD
       ZDVGDPDJHGE\+XUULFDQH/DXUDRQ$XJXVWDQGZDVIXUWKHULPSDFWHGE\
       +XUULFDQH'HOWDDSSUR[LPDWHO\VL[ZHHNVODWHU1HOVRQGLGQRWRSHUDWHDJDLQGXULQJWKH
       R]RQHVHDVRQ%RWKRIWKHVHVWRUPVFDXVHGGDPDJHWRWKHHOHFWULFDOV\VWHPLQ
       VRXWKZHVW/RXLVLDQDFUHDWLQJDQRPDORXVV\VWHPFRQGLWLRQVLQ/RXLVLDQDIRUPXFKRIWKH
       R]RQHVHDVRQ6LPLODUO\SRUWLRQVRI(//¶VDQG(12/¶VV\VWHPVLQVRXWKHDVW
       /RXLVLDQDZHUHGDPDJHGE\+XUULFDQH,GDLQ$XJXVWUHVXOWLQJLQDQRPDORXV
       HOHFWULFDOV\VWHPFRQGLWLRQVLQWKHUHJLRQLQWKHDIWHUPDWKRIWKDWVWRUP7KHVHVHYHUH
       ZHDWKHULPSDFWVUHVXOWHGLQOHVVWKDQXVXDOJHQHUDWLRQDQGHPLVVLRQVIURPJHQHUDWLQJXQLWV
       ORFDWHGLQWKHVHLPSDFWHGDUHDVLQWKHDQGR]RQHVHDVRQV
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       :KHQHVWDEOLVKLQJVWDWH12[HPLVVLRQEXGJHWV(3$VKRXOGQRWUHO\VROHO\RQKLVWRULFDO
       XQLWRSHUDWLQJDQGHPLVVLRQVGDWDIURPDVLQJOH\HDUZKHUHVXFKVHYHUHZHDWKHULPSDFWVRU
       RWKHUDQRPDORXVHYHQWVPD\KDYHRFFXUUHG,QVWHDG(3$VKRXOGPRGLI\WKHSURSRVHG
       G\QDPLFEXGJHWDSSURDFKWRFRQVLGHUPXOWLSOH\HDUVRIKLVWRULFDORSHUDWLRQGDWDLQVHWWLQJ
       DQ\VWDWHEXGJHWV(3$VKRXOGDOVRFRQVLGHUWKHSRWHQWLDOIRUVHYHUHZHDWKHUHYHQWVWR
       LPSDFWORZRU]HURHPLWWLQJJHQHUDWLRQVRXUFHVUHVXOWLQJLQDGGLWLRQDOGLVSDWFKRIKLJKHU


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             Case: 23-60069             Document: 438-3               Page: 219       Date Filed: 09/26/2023




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              HPLWWLQJXQLWVWRPHHWHOHFWULFDOGHPDQG$VQRWHGDERYHLQWKHVHFRPPHQWV(3$¶V
              SURSRVHGIUDPHZRUNIRUHVWDEOLVKLQJVWDWHHPLVVLRQEXGJHWVLVVRUHVWULFWLYHWKDWWKHUHDUH
              XQOLNHO\WREHDQ\VLJQLILFDQWQXPEHURIVXUSOXVDOORZDQFHVDYDLODEOHWRDFFRPPRGDWH
              DGGLWLRQDODQGXQH[SHFWHGGLVSDWFKRIDKLJKHUHPLWWLQJXQLWWKDWPD\EHQHFHVVDU\GXULQJ
              FLUFXPVWDQFHVVXFKDVWKRVHFUHDWHGLQWKHDIWHUPDWKRIDKXUULFDQHRURWKHUVHYHUHZHDWKHU
              HYHQW,I(3$UHWDLQVWKHG\QDPLFEXGJHWDSSURDFK(3$DOVRVKRXOGQRWDGMXVWWKH
              EXGJHWVRQDQDQQXDOEDVLVEXWLQVWHDGVKRXOGRQO\DGMXVWWKHEXGJHWVSHULRGLFDOO\VXFKDV
              HYHU\WKUHH\HDUV
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9,        (3$6KRXOG5HYLVHWKH3URSRVHG7UHDWPHQWRI,GOHG6XVSHQGHGDQG5HWLUHG8QLWVZKHQ
           (VWDEOLVKLQJ6WDWH12[%XGJHWV
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           D (3$6KRXOGQRW3HQDOL]H5HFHQWO\'HDFWLYDWHG8QLWV
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              (3$¶VSURSRVHG12[HPLVVLRQVWDWHEXGJHWVIRUWKHR]RQHVHDVRQZHUHFDOFXODWHGLQ
              SDUWEDVHGRQH[FOXGLQJXQLWVWKDWRSHUDWHGGXULQJWKHR]RQHVHDVRQEXWKDYHVLQFH
              EHHQLGOHGRUVXVSHQGHGRUUHWLUHG ³GHDFWLYDWHG´ DQGXQLWVWKDWDUHSURMHFWHGWR
              RSHUDWHGXULQJWKHR]RQHVHDVRQEXWWKDW(3$H[SHFWVWREHGHDFWLYDWHGSULRUWRWKH
              R]RQHVHDVRQ)RUWKHR]RQHVHDVRQ(3$IROORZHGWKLVVDPHDSSURDFKDQG
              H[FOXGHGXQLWVSURMHFWHGWRUHWLUHE\-DQXDU\7KLVDSSURDFKXQIDLUO\SHQDOL]HVWKH
              RZQHUVRIVXFKXQLWVE\WUHDWLQJH[SHFWHGXQLWGHDFWLYDWLRQVLQDQGGLIIHUHQWO\
              IURPWKRVHWKDWZHUHQRWNQRZQWR(3$SULRUWRLVVXDQFHRIWKH),37KHODWWHUXQLWVZRXOG
              FRQWLQXHWREHLQFOXGHGLQHVWDEOLVKLQJVWDWHEXGJHWVDQGZRXOGFRQWLQXHWRUHFHLYHXQLW
              OHYHODOORFDWLRQVIRUWZR\HDUVIROORZLQJWKHODVWR]RQHVHDVRQLQZKLFKWKHXQLWRSHUDWHG
              ,QFRQWUDVW(3$¶VSURSRVHGDQGEXGJHWVGRQRWFRQWLQXHWRLQFOXGHSURMHFWHGRU
              UHFHQWO\GHDFWLYDWHGXQLWVLQWKHVDPHIDVKLRQ7KLVUHVXOWVLQGLVSDUDWHWUHDWPHQWRIWKRVH
              XQLWVWKDWDUHGHDFWLYDWHGDIWHUWKHR]RQHVHDVRQEXWSULRUWRWKHRUR]RQH
              VHDVRQVE\GHSULYLQJWKHPRIDOORZDQFHDOORFDWLRQVIRU\HDUVDIWHUWKH\FHDVHRSHUDWLQJ
              DV(3$LVSURSRVLQJIRURWKHUXQLWVWKDWUHWLUHDIWHUWKHVWDUWRIWKHUHYLVHG*URXSWUDGLQJ
              SURJUDP7KLVGLVSDUDWHWUHDWPHQWXQIDLUO\GHSULYHVWKHRZQHUVRIVXFKXQLWVRIDOORZDQFH
              DOORFDWLRQV3ULRUWRLVVXLQJWKHILQDO),3(3$VKRXOGUHYLVHWKHVWDWHEXGJHWVIRU
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         ³,GOHG´LVXVHGLQWKLVFRQWH[WWRUHIHUWRDXQLWZKLFKKDVQRWRSHUDWHGEXWIRUZKLFKQRIRUPDOFKDQJHLQVWDWXV
      QRWLILFDWLRQKDVEHHQVXEPLWWHGWRDQ572RUVLPLODURUJDQL]DWLRQ
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         ³6XVSHQGHG´LVXVHGKHUHWRUHIHUWRXQLWVZKLFKKDYHEHHQSODFHGLQWR³VXVSHQGHG´VWDWXVYLDDIRUPDO
      QRWLILFDWLRQSURFHVVVXFKDV0,62¶V$WWDFKPHQW<QRWLILFDWLRQSURFHVV8QLWVPD\EHSODFHGLQWR³VXVSHQGHG´
      VWDWXVDVDSUHFXUVRUVWHSWRDVXEVHTXHQWUHWLUHPHQW6XFKVXVSHQGHGXQLWVPD\EHUHTXLUHGE\DQ572WREH
      UHWXUQHGWRVHUYLFHXQGHUFHUWDLQFLUFXPVWDQFHV
      
         ³5HWLUHG´LVXVHGKHUHWRUHIHUWRXQLWVZKLFKKDYHSHUPDQHQWO\FHDVHGRSHUDWLRQDQGFDQQRORQJHUEHUHWXUQHGWR
      VHUYLFH
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         ³'HDFWLYDWHG´LVXVHGKHUHWRLQFOXGHERWKVXVSHQGHGDQGUHWLUHGXQLWV
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         %D[WHU:LOVRQ8QLWZKLFKLVRZQHGE\(QWHUJ\0LVVLVVLSSL//&LVDQH[DPSOHRIDXQLWZKLFKRSHUDWHGGXULQJ
      WKHR]RQHVHDVRQEXWLVQRWLQFOXGHGLQ(3$¶VFDOFXODWLRQRIWKHVWDWHEXGJHWIRU0LVVLVVLSSL


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       Case: 23-60069             Document: 438-3               Page: 220       Date Filed: 09/26/2023




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        DQGWRHQVXUHWKDWXQLWVGHDFWLYDWHGDIWHUWKHR]RQHVHDVRQFRQWLQXHWREH
        LQFOXGHGLQWKHVWDWHEXGJHWDQGDOORZDQFHDOORFDWLRQSURFHVVIRUDWOHDVWWZR\HDUV
        IROORZLQJWKHODVWR]RQHVHDVRQLQZKLFKWKHXQLWRSHUDWHVFRQVLVWHQWZLWKWKHSURSRVHG
        WUHDWPHQWRIXQLWVWKDWDQQRXQFHUHWLUHPHQWVDIWHUWKHILQDO),3KDVEHHQLVVXHG,QDGGLWLRQ
        DQGDVHODERUDWHGIXUWKHUEHORZ(3$VKRXOGUHWDLQXQLWVLQVWDWHEXGJHWVXQWLOWKHXQLWVDUH
        UHWLUHG
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     E (,$)RUP5HWLUHPHQW,QIRUPDWLRQ6KRXOGQRWEH5HOLHG8SRQWR(VWDEOLVK6WDWH
        %XGJHWV
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        (3$¶VSURSRVDOLGHQWLILHVDQWLFLSDWHGXQLWUHWLUHPHQWVEDVHGRQ³«DFRPSLODWLRQRIGDWD
        IURP'2((,$)RUP ZKHUHIDFLOLWLHVUHSRUWWKHLUIXWXUHUHWLUHPHQWSODQV DQG
        LQIRUPDWLRQLQFOXGHGLQWKH$JHQF\¶V1(('6GDWDEDVH´(3$IXUWKHUQRWHVWKDWWKH
        GDWDLQFOXGHGLQWKHVHLQIRUPDWLRQVRXUFHVSURYLGHVWKH(3$ZLWK³KLJKFRQILGHQFH´WKDW
        VXFKLQGLFDWHGUHWLUHPHQWV³ZLOOLQIDFWRFFXU´7KLVDSSURDFKSODFHVPRUHFRQILGHQFHLQ
        WKHVHLQIRUPDWLRQVRXUFHVWKDQLVZDUUDQWHG,QSDUWLFXODUWKHLQVWUXFWLRQVSURYLGHGE\WKH
        (,$IRU)RUPVSHFLI\WKDWWKHSODQQHGUHWLUHPHQWGDWHVUHSRUWHGWR(,$VKRXOGEH
        EDVHGRQDJHQHUDWLQJXQLWRSHUDWRU¶V³EHVWHVWLPDWH´RIZKHQWKHLQGLFDWHGUHWLUHPHQWLV
        H[SHFWHGWRRFFXU:KLOHJHQHUDWLRQRSHUDWRUVSURYLGHDJRRGIDLWK³EHVWHVWLPDWH´RIWKLV
        YDOXHWR(,$LQWKHLU)RUPUHVSRQVHVWKLVYDOXHLVQRWHTXLYDOHQWWRDILUP
        FRPPLWPHQWWRDVSHFLILFUHWLUHPHQWGDWHIRUWKHLQGLFDWHGXQLW$JHQHUDWLRQRSHUDWRUPD\
        VXEVHTXHQWO\UHYLVHWKLVGDWHIRUDQ\QXPEHURIUHDVRQVLQFOXGLQJGHOD\VWRDQWLFLSDWHG
        UHSODFHPHQWJHQHUDWLRQFDSDFLW\RQZKLFKDQRSHUDWRUZDVUHO\LQJWRHVWLPDWHWKH
        UHWLUHPHQWGDWH7KHFXUUHQWDQGRQJRLQJLQYHVWLJDWLRQE\WKH'HSDUWPHQWRI&RPPHUFH
        LQWRDOOHJDWLRQVRISKRWRYROWDLFFHOOWDULIIFLUFXPYHQWLRQKDVUHVXOWHGLQXQH[SHFWHGGHOD\V
        WRWKHLPSOHPHQWDWLRQRIXWLOLW\VFDOHVRODUSURMHFWVDFURVVWKH86ZKLFKPD\UHVXOWLQ
        VRPH(*8RSHUDWRUVGHOD\LQJSODQQHGUHWLUHPHQWGDWHVIRUH[LVWLQJJHQHUDWLRQXQLWVLQ
        RUGHUWRDOLJQZLWKUHYLVHGVFKHGXOHVIRUVRODUJHQHUDWLRQGHYHORSPHQWV
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        (3$¶VSURSRVDOZRXOGWUHDWWKHVH³EHVWHVWLPDWHV´RIOLNHO\XQLWUHWLUHPHQWGDWHVDV
        HTXLYDOHQWWRILUPFRPPLWPHQWVDQGZRXOGLQIDFWLQGLUHFWO\PDNHWKHVH³EHVWHVWLPDWH´
        UHWLUHPHQWGDWHVHQIRUFHDEOHYLDWKHHOLPLQDWLRQRIWKHVHXQLWVIURPVWDWHDOORZDQFHEXGJHWV
        LQWKH\HDUVWKDWWKHLURSHUDWRUVHVWLPDWHGWKDWWKH\ZRXOGUHWLUHHYHQWKRXJKWKLVHVWLPDWHG
        UHWLUHPHQWYDOXHLVVXEMHFWWRFKDQJH3ULRUWRLVVXLQJDILQDO),3(3$VKRXOGUHYLVHWKHLU
        DSSURDFKWRLGHQWLILFDWLRQRIIXWXUHXQLWUHWLUHPHQWVWRUHO\RQO\XSRQFOHDUDQGILUP
        UHWLUHPHQWFRPPLWPHQWVVXFKDVUHWLUHPHQWVPDQGDWHGXQGHUH[LVWLQJUHJXODWRU\
        SURJUDPVSHUPLWVRUFRQVHQWGHFUHHV(3$VKRXOGQRWHOLPLQDWHDQ\JHQHUDWLQJXQLWV
        IURPVWDWHHPLVVLRQEXGJHWVRUVXEVHTXHQWXQLWOHYHODOORZDQFHDOORFDWLRQVEDVHGVROHO\RQ
        LQIRUPDWLRQIURP(,$)RUPUHVSRQVHVRUWKH(3$1(('6GDWDEDVH5HJDUGOHVVDV
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   6HHKWWSVZZZHLDJRYVXUYH\IRUPHLDBLQVWUXFWLRQVSGI,QVWUXFWLRQVIRU6FKHGXOH3DUW%


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       Case: 23-60069             Document: 438-3              Page: 221       Date Filed: 09/26/2023




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        DGGUHVVHGDERYH(3$VKRXOGFRQWLQXHWRLQFOXGHILUPUHWLUHPHQWFRPPLWPHQWVLQWKHVWDWH
        EXGJHWDQGDOORZDQFHDOORFDWLRQSURFHVVIRUWZRR]RQHSHULRGVIROORZLQJWKHLUUHWLUHPHQW
        GDWHV
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        $VDQH[DPSOH(3$¶VSURSRVHGEXGJHWVIRUDQGDSSHDUWRHUURQHRXVO\DVVXPH
        WKDW8QLWDWWKH6DELQH*HQHUDWLQJ6WDWLRQLQ2UDQJH7;ZLOOUHWLUHRURWKHUZLVHEH
        GHDFWLYDWHGSULRUWRWKHR]RQHVHDVRQ(3$PD\KDYHUHOLHGXSRQLQIRUPDWLRQ
        SURYLGHGIRUWKLVXQLWLQSULRU(,$)RUPUHVSRQVHV$VQRWHGDERYHWKLVYDOXH
        UHSUHVHQWVD³EHVWHVWLPDWH´RIWKLVGDWHDQGLVVXEMHFWWRFKDQJH7KLVXQLWLVFXUUHQWO\
        RSHUDWLQJGXULQJWKHR]RQHVHDVRQDQGQRILQDOGHFLVLRQVKDYHEHHQPDGHWR
        GHDFWLYDWHWKLVXQLWLQ(7,LVFXUUHQWO\HYDOXDWLQJWKHDSSURSULDWHGHDFWLYDWLRQWLPLQJ
        IRUWKLVXQLWZKLFKLVH[SHFWHGWRRFFXUVRPHWLPHEHWZHHQDQGWKHFRPPHUFLDO
        RSHUDWLRQGDWHRIWKHSURSRVHG2&$36$VVXFK(3$VKRXOGUHWDLQ6DELQH8QLWLQWKH
        VWDWHHPLVVLRQEXGJHWVIRU7H[DVIRUDQGDQGUHWDLQFRQVLGHUDWLRQRIWKLVXQLWLQ
        DQ\VXEVHTXHQWG\QDPLFEXGJHWLQJXQWLOWZR\HDUVDIWHUWKHXQLWLVUHWLUHGFRQVLVWHQWZLWK
        WKHUHTXLUHPHQWVRIWKHILQDO),3
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     F ,GOHGDQG6XVSHQGHG8QLWVPD\EH5HWXUQHGWR6HUYLFH
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       (3$¶VSURSRVHGG\QDPLFEXGJHWDSSURDFKIDLOVWRDGHTXDWHO\UHFRJQL]HWKHSRWHQWLDOIRU
       XQLWVWREHLGOHGRUVXVSHQGHGVXFKWKDWWKH\GRQRWRSHUDWHGXULQJWZRVXFFHVVLYHR]RQH
       VHDVRQVZLWKRXWEHLQJUHWLUHG6XFKLGOHGRUVXVSHQGHGXQLWVPD\UHPDLQDYDLODEOHWREH
       GLVSDWFKHGGXULQJIXWXUHR]RQHVHDVRQVLQRUGHUWRPDLQWDLQV\VWHPUHOLDELOLW\8QGHU
       (3$¶VSURSRVHGG\QDPLFEXGJHWDSSURDFKVXFKXQLWVZRXOGEHHOLPLQDWHGIURPWKHVWDWH
       EXGJHWFDOFXODWLRQWZR\HDUVDIWHUWKHXQLWIDLOHGWRRSHUDWHGXULQJWKHR]RQHVHDVRQDQG
       ZRXOGQRWUHFHLYHDQ\DOORZDQFHDOORFDWLRQVDIWHUWZRVXFFHVVLYH\HDUVRIQRQRSHUDWLRQ
       GXULQJWKHR]RQHVHDVRQ,QWKHHYHQWWKDWVXFKDXQLWZDVUHWXUQHGWRVHUYLFHDQGRSHUDWHG
       LQDVXEVHTXHQWR]RQHVHDVRQWKHXQLWZRXOGEHDEOHWRREWDLQDOORZDQFHVIURPWKH1HZ
       8QLW6HW$VLGH 186$ IRUWKHVWDWHEXWZLWKWKH186$IRUPRVWVWDWHVSURSRVHGWREH
       HVWDEOLVKHGDWRIWKHRYHUDOOVWDWHEXGJHWDQGWKHVL]HRIWKH186$DGMXVWLQJDQQXDOO\
       DORQJZLWKWKHVWDWHEXGJHWVRQO\DOLPLWHGQXPEHURIDOORZDQFHVZRXOGEHPDGHDYDLODEOH
       WRVXFKDXQLWYLDWKLVPHFKDQLVP
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       :KHUHDXQLWKDVEHHQLGOHGRUVXVSHQGHGVXFKWKDWLWGRHVQRWRSHUDWHGXULQJWZR
       VXFFHVVLYHR]RQHVHDVRQVEXWWKHXQLWKDVQRW\HWEHHQIRUPDOO\UHWLUHG(3$VKRXOGUHWDLQ
       WKDWXQLWLQFDOFXODWLQJWKHVWDWH12[HPLVVLRQEXGJHWXQWLOWKHXQLWLVIXOO\DQGIRUPDOO\
       UHWLUHG:KHUHVXFKXQLWVDUHUHWDLQHGLQVWDWHEXGJHWV(3$FRXOGFRQVLGHUH[SDQGLQJ
       WKH186$WRLQFOXGHWKDWSRUWLRQRIWKHVWDWHEXGJHWDWWULEXWDEOHWRWKHLGOHGRUVXVSHQGHG
       EXWQRW\HWUHWLUHGXQLW(3$VKRXOGDOVRFRQVLGHUUHVHUYLQJWKHUHVXOWLQJH[SDQGHGSRUWLRQ
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 8QLWDWWKH:DWHUIRUGJHQHUDWLQJVWDWLRQLQ.LOORQD/$DQG8QLWDWWKH%D[WHU:LOVRQJHQHUDWLQJVWDWLRQLQ
9LFNVEXUJ06DUHERWKFXUUHQWO\LQVXVSHQGHGVWDWXVDQGKDYHQRW\HWEHHQIRUPDOO\UHWLUHG


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             Case: 23-60069         Document: 438-3           Page: 222    Date Filed: 09/26/2023




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             RIWKH186$IRUWKDWVWDWHVXFKWKDWLWFRXOGRQO\EHDOORFDWHGWRQHZJHQHUDWLQJXQLWVRUWR
             WKHLGOHGVXVSHQGHGXQLWLQWKHHYHQWWKDWLWZDVVXEVHTXHQWO\UHWXUQHGWRVHUYLFHDQG
             RSHUDWHGGXULQJWKHR]RQHVHDVRQ2QFHVXFKDXQLWZDVIRUPDOO\UHWLUHGLWFRXOGWKHQEH
             HOLPLQDWHGIURPFRQVLGHUDWLRQLQHVWDEOLVKLQJIXWXUHVWDWHEXGJHWV7KLVUHYLVLRQWRWKH
             ILQDOSURSRVDOZRXOGVWULNHDUHDVRQDEOHEDODQFHEHWZHHQ(3$¶VLQWHQWWRUHGXFHVWDWH
             EXGJHWVIRUUHWLUHGXQLWVZKLOHFUHDWLQJDPHFKDQLVPWRDOORFDWHDUHDVRQDEOHQXPEHURI
             DOORZDQFHVWRVXFKDXQLWLQWKHHYHQWWKDWLWLVUHDFWLYDWHGWRPHHWUHOLDELOLW\QHHGV
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9,,       (3$6KRXOGDGGD³6DIHW\9DOYH´3URYLVLRQWR$FFRXQWIRU3RWHQWLDO'HOD\VLQ3ROOXWLRQ
           &RQWURO5HWURILWV
                       
             (3$¶VDQDO\VLVRIWKHSURSRVHGWLPLQJIRULQVWDOODWLRQRI6&5UHWURILWVIDLOVWRUHFRJQL]H
             VLJQLILFDQWH[LVWLQJVXSSO\FKDLQLVVXHVZKLFKLQLWLDOO\DURVHGXULQJWKH&29,'
             SDQGHPLFDQGZKLFKFRQWLQXHWRSHUVLVW7KHVHFRQGLWLRQVDUHDQWLFLSDWHGWRSHUVLVW
             WKURXJKDWOHDVWWKHUHPDLQGHURIDQGOLNHO\EH\RQGJLYHQRWKHUZRUOGHYHQWV,Q
             DGGLWLRQWRWKHVHH[LVWLQJDQGHFRQRP\ZLGHVXSSO\FKDLQFKDOOHQJHV(3$¶VSURSRVDO
             FRXOGFRPSHOKXQGUHGVRILQGLYLGXDOVRXUFHVIURPERWKWKH(*8DQGQRQ(*8VHFWRUVWR
             VLPXOWDQHRXVO\VHHNVHUYLFHVDQGPDWHULDOVQHFHVVDU\WRH[HFXWH6&5UHWURILWVZLWKWKH
             JRDORISODFLQJVXFK6&5VLQWRVHUYLFHSULRUWRWKHR]RQHVHDVRQ7KLVSRWHQWLDOO\
             VLJQLILFDQWGHPDQGIRUWKHVHUHVRXUFHVLVOLNHO\WRFUHDWHIXUWKHUERWWOHQHFNVDQGGHOD\VIRU
             VRPHVRXUFHRZQHUVZKRZLVKWRFRPSOHWH6&5UHWURILWVLQUHVSRQVHWRWKHILQDO),3
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             (3$VKRXOGFRQVLGHUDGGLQJD³VDIHW\YDOYH´SURYLVLRQWRWKHSURSRVHG),3WRH[SDQGD
             VWDWH¶V12[HPLVVLRQEXGJHWZLWKUHVSHFWWRDXQLWIRUZKLFKDQ6&5UHWURILWZDV
             SUHVXPHGDQGWKHRZQHURSHUDWRUPDGHDJRRGIDLWKHIIRUWWRFRPSOHWHDQ6&5UHWURILW
             SULRUWRWKHVWDUWRIWKHR]RQHVHDVRQEXWZDVXQDEOHWRFRPSOHWHVXFKDUHWURILWGXHWR
             VXSSO\FKDLQRURWKHULVVXHVRXWVLGHRIWKHFRQWURORIWKHRZQHURSHUDWRU:LWKRXWVXFKD
             SURYLVLRQWKHRZQHURSHUDWRURIVXFKDVRXUFHFRXOGIDFHDVLWXDWLRQZKHUHRSHUDWLRQRID
             XQLWLVQHFHVVDU\LQRUGHUWRPHHWV\VWHPGHPDQGEXWWKHXQLWLVQRW\HWHTXLSSHGZLWKD
             IXQFWLRQDO6&5GXHWRLQVWDOODWLRQGHOD\VDQGZRXOGOLNHO\IDFHDVLJQLILFDQWDOORZDQFH
             VKRUWIDOODVDUHVXOW$VQRWHGHOVHZKHUHZLWKLQWKHVHFRPPHQWVGXHWR(3$¶VSURSRVHG
             DSSURDFKWRDJJUHVVLYHO\UHGXFHVWDWHHPLVVLRQEXGJHWVLQWKHGDLO\EDFNVWRS
             HPLVVLRQUDWHIRUODUJHFRDOILUHG(*8VWKDWZRXOGUHVXOWLQDDOORZDQFHVXUUHQGHULI
             WKHUDWHLVH[FHHGHGDORQJZLWKWKHSURSRVHGDOORZDQFHEDQNUHFDOLEUDWLRQZKLFKLV
             FRXSOHGWRWKHVL]HRIWKHVWDWHEXGJHWVVXUSOXVDOORZDQFHVZRXOGOLNHO\EHGLIILFXOWLIQRW
             LPSRVVLEOHWRREWDLQ
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               Case: 23-60069           Document: 438-3            Page: 223       Date Filed: 09/26/2023




9,,,        (3$6KRXOG&RQVLGHU WKH &RVW,PSOLFDWLRQVRIWKLV3URSRVDORQ/RZ,QFRPH(QHUJ\
             &RQVXPHUV

               7KH(QWHUJ\ 2SHUDWLQJ&RPSDQLHV¶ VHUYLFHWHUULWRULHV LQFOXGHVVRPHRIWKHKLJKHVWSRYHUW\
               UHJLRQVRIWKH8QLWHG6WDWHVLQFOXGLQJWKUHH RIWKHILYHVWDWHVZLWKWKHJUHDWHVWSHUFHQWDJH
               RISRSXODWLRQEHORZWKHIHGHUDOSRYHUW\OLQH$SSUR[LPDWHO\RI(QWHUJ\FXVWRPHUV
               OLYH EHORZ WKH SRYHUW\ OLQH DQG DGGLWLRQDO JHQHUDWLRQ FRVWV DVVRFLDWHG ZLWK WKLV ),3
               HVSHFLDOO\WKRVHIRUXQLWVDOUHDG\H[SHFWHGWREHGHDFWLYDWHGZLWKLQDKDQGIXORI\HDUVDIWHU
               ULVNGLVSURSRUWLRQDWHHFRQRPLFLPSDFWVIRUWKHVHORZLQFRPHFXVWRPHUV

               ,Q GHYHORSLQJ WKH 3URSRVHG ),3 (3$ DQDO\]HG WKH LPSDFWV RI WKH UXOHPDNLQJ RQ
               FRPPXQLWLHV ZLWK HQYLURQPHQWDO MXVWLFH FRQFHUQV DQG HQJDJHG ZLWK VWDNHKROGHUV
               UHSUHVHQWLQJWKHVHFRPPXQLWLHVWRVHHNLQSXWDQGIHHGEDFN3ULRUWRWDNLQJILQDODFWLRQ
               RQWKHSURSRVHG),3(3$VKRXOG HQVXUHWKDWHFRQRPLFHTXLW\ FRQFHUQVDOVRDUHDGGUHVVHG
               LQLWVGHYHORSPHQW RIWKHILQDO),37KHLPSOHPHQWDWLRQRIDGGLWLRQDOFRVWO\FRQWUROVDVD
               UHVXOWRIWKHSURSRVHG),3¶VVWULQJHQWEXGJHWVFRXOGOHDG HLWKHUWRXQUHDVRQDEOHLQYHVWPHQW
               LQ 12[ SROOXWLRQ FRQWUROUHWURILWV WKDW PD\UHPDLQLQ VHUYLFHIRURQO\DKDQGIXORI\HDUV
               DQGRUHDUO\XQLWUHWLUHPHQWVHLWKHURIZKLFKFDQOHDGWR LQFUHDVHGUDWHVIRUFRQVXPHUV

        CONCLUSION:

        (QWHUJ\DSSUHFLDWHVWKHRSSRUWXQLW\WRUHYLHZ(3$¶VSURSRVHG),3DQGWRSURYLGHWKHVH
        FRPPHQWVIRU(3$¶VFRQVLGHUDWLRQLQSUHSDUDWLRQRIDILQDOUXOH$VRXWOLQHGDERYH(3$¶V
        SURSRVDOUHOLHVXSRQIODZHGFRVWHIIHFWLYHQHVVFDOFXODWLRQVIRUSURSRVHG6&5UHWURILWVFRQWDLQV
        LQVXIILFLHQWIOH[LELOLW\WRDOORZIRUHIIHFWLYHDQGHIILFLHQWDOORZDQFHWUDGLQJDQGIDLOVWRSURYLGH
        DGHTXDWHIOH[LELOLW\WRDOORZIRURSHUDWLRQRIKLJKHUHPLWWLQJJHQHUDWLQJXQLWVZKHQQHFHVVDU\WR
        HQVXUHUHOLDEOHRSHUDWLRQRIWKHEXONHOHFWULFV\VWHP(QWHUJ\ZHOFRPHVWKHRSSRUWXQLW\WRZRUN
        ZLWK(3$WRDGGUHVVWKHVHDQGRWKHUFRQFHUQVRXWOLQHGKHUHLQRXUFRPPHQWV6KRXOG\RXKDYH
        TXHVWLRQVUHJDUGLQJDQ\RIWKHFRPPHQWVSURYLGHGKHUHRUZLVKWRGLVFXVVDQ\RIWKHVH
        FRPPHQWVLQPRUHGHWDLOSOHDVHIHHOIUHHWRFRQWDFWPHDW  RU'DYLG7ULSOHWW
        0DQDJHU(QYLURQPHQWDO3ROLF\ 6XVWDLQDELOLW\ DW  

        6LQFHUHO\



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        (QWHUJ\± 3RZHU*HQHUDWLRQ(QYLURQPHQWDO'LUHFWRU

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           0LVVLVVLSSL/RXLVLDQDDQG$UNDQVDVVRXUFH86&HQVXV%XUHDX6PDOO$UHD,QFRPHDQG3RYHUW\(VWLPDWHV
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    Case: 23-60069       Document: 438-3         Page: 224   Date Filed: 09/26/2023




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     Attachment A: EPA Total Project Cost Estimates for Entergy-Owned Units




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              Case: 23-60069            Document: 438-3          Page: 225    Date Filed: 09/26/2023




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                                                       Unit       Unit
                            Facility Name               ID    Capacity Total Project Cost38
                                                                 (MW)               ($)
                    &RDO8QLWV                                      
                    %LJ&DMXQ                         %        
                    ,QGHSHQGHQFH                                  
                    ,QGHSHQGHQFH                                  
                    561HOVRQ                                    
                    :KLWH%OXII                                   
                    :KLWH%OXII                                   
                    2LO*DV8QLWV                                   
                    *HUDOG$QGUXV                                 
                    /DNH&DWKHULQH                                
                    1LQHPLOH3RLQW                                
                    1LQHPLOH3RLQW                                
                    /LWWOH*\SV\                                  
                    /LWWOH*\SV\                                  
                    6DELQH                                        
                    6DELQH                                        
                    6DELQH                                        
                                                                   Total $ 2,334,201,000




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  $OOFRVWVDUHDVHVWLPDWHGE\(3$DQGLQGROODUV6HHWKHILOH 'RFNHW,'(3$+42$5 
12[B&RQWUROB5HWURILWB&RVWB7RROB)OHHWZLGHB$VVHVVPHQWB3URSRVHGB&6$35BB1$$46[OV[IRUDGGLWLRQDOGHWDLOVRIWKHVHFRVW
HVWLPDWHV

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    Case: 23-60069       Document: 438-3         Page: 226   Date Filed: 09/26/2023




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       Attachment B: Entergy Generation Development Timeline Information




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                 Case: 23-60069              Document: 438-3             Page: 227       Date Filed: 09/26/2023




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                                                       Completed Projects
     Operating                 Project Name            Project Generation            Project Location              Approximate
     Company                                                  Type                                               Project Execution
                                                                                                                  Time39 (years)
         (//                -:D\QH/HRQDUG                  &&*7                    0RQW]/$                      
                                3RZHU6WDWLRQ
         (//               /DNH&KDUOHV3RZHU                 &&*7                   :HVWODNH/$                    
                                   6WDWLRQ
          (7,                  0RQWJRPHU\                     &&*7                     :LOOLV7;                    
                                &RXQW\3RZHU
                                   6WDWLRQ
         (0/                 6XQIORZHU6RODU           8WLOLW\6FDOH6RODU        6XQIORZHU&RXQW\                  
                                   6WDWLRQ                                                 06


                                                         Current Projects
     Operating                 Project Name             Project Generation           Project Location               Anticipated
     Company                                                   Type                                              Project Execution
                                                                                                                  Time40 (years)
          (7,                     2&$36                +\GURJHQ&DSDEOH               2UDQJH7;                     
                                                                &&*7
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    Case: 23-60069       Document: 438-3         Page: 228   Date Filed: 09/26/2023




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         Attachment C: Comments on Proposed Arkansas SIP Disapproval




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    Case: 23-60069         Document: 438-3         Page: 229       Date Filed: 09/26/2023

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                                                                   Arkansas Environmental Support
                                                                   425 West Capitol Avenue
                                                                   A-TCBY-22D
                                                                    Little Rock, AR 72203
                                                                    Cell: 501-215-0024
                                                                    Email: schiver@entergy.com
                                                                    Stan Chivers, Air Lead
                                                                    Arkansas Environmental Support


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AR-22-006


April 19, 2022

Administrator Michael Regan
C/O EPA Docket Center (EPA/DC)
Docket ID No. EPA-RO6-OAR-2021-0801
U.S. Environmental Protection Agency
Fuerst.sherry@epa.gov

RE:    Request for an Extension of the Comment Period for EPA’s Air Plan Disapproval;
Arkansas, Louisiana, Oklahoma, and Texas; Interstate Transport of Air Pollution for the 2015 8-
Hour Ozone National Ambient Air Quality Standards, 87 Fed. Reg. 9798 (February 22, 2022)

ATTN: Docket ID No. EPA-RO6-OAR-2021-0801


Dear Administrator Regan,

Entergy Services, LLC (ESL) requests a 60-day extension of the comment deadline for EPA’s Air
Plan Disapproval; Arkansas, Louisiana, Oklahoma, and Texas; Interstate Transport of Air
Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards (Proposal) on
behalf of Entergy Arkansas, LLC (EAL). Additional time is necessary to thoroughly review the
voluminous record supporting the Proposal, including the state-specific 4-Step Interstate
Transport results, the EPA’s Ozone Transport Modeling under the 2016v2 platform, and the
EPA’s after-the-fact change from the EPA 2018 memorandum (2011 base year) to the 2016v2
modeling (2016 base year). ESL requests additional time because:

     (1) The modeling necessary to evaluate the information presented in support of the
     Proposal is incredibly detailed and time consuming and additional time is necessary for
     evaluating this modeling with respect to facilities’ individual circumstances compared to
     the modeling on which Arkansas relied.

     (2) EPA’s deviation from the standard practice of allowing States to propose alternatives
     to State Implementation Plans (SIP) where EPA has proposed to disapprove a SIP
     submittal and to do so under a two-year time cycle prevents meaningful public input on
     the Proposal. This deviation is particularly troubling given that EPA is basing its
     proposed disapproval of Arkansas’s SIP on a modeling platform that was unavailable to
     Arkansas at the time it submitted its SIP to EPA. EPA is required to approve SIPs under
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    Case: 23-60069         Document: 438-3          Page: 230       Date Filed: 09/26/2023

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     the Clean Air Act if they meet the requirements of the Act, even if EPA would have made
     different choices. In releasing a new modeling platform only a few months before EPA’s
     long-delayed proposed action on the SIP and deciding that modeling platform is the
     standard by which all interstate transport SIPs for the 2015 ozone NAAQS must be
     judged, EPA failed to provide the states, including Arkansas, with sufficient notice of
     what is required under the Act for an approvable SIP and is now failing to give the states
     adequate time to review and submit a SIP revision before EPA intends to promulgate a
     Federal Implementation Plan (FIP) that will require facilities in Arkansas to begin making
     NOx emission reductions.

     (3) EPA’s release of a proposed FIP, with a myriad of data that must be reviewed and
     evaluated during much of the same timeframe.

Any of these reasons should be sufficient justification to extend the comment deadline. Taken
together, these reasons should compel the EPA to grant the ESL’s request for a 60-day
extension.

EAL operates 3 facilities in Arkansas which would be significantly affected by the proposed FIP.
The duty to develop a SIP under Section 110(a) is imposed on the State of Arkansas (the
“State”). ESL and the State, under the current timeline of the Proposal, do not have sufficient
time to meaningfully review and provide comment on the Proposal. The importance of this
public comment process— the purposes of which include ensuring informed agency decision-
making, encouraging public participation in the administrative process, and ensuring that
agencies keep an open mind towards their rules—“cannot be overstated.” N.C. Growers’ Ass’n v.
United Farm Workers, 702 2 F.3d 755, 763 (4th Cir. 2012). To achieve these purposes, “the
opportunity to comment ‘must be a meaningful opportunity.’” Id. (quoting Prometheus Radio
Project v. FCC, 652 F.3d 431, 450 (3d Cir. 2011)).

ESL, the State and other experts therefore need additional time to provide their best guidance.
Thank you for your consideration of ESL’s request for an extension of the comment period by 60
days.

Sincerely,




Stan Chivers
Air Lead, Arkansas Environmental Support
Entergy Services, LLC




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         Case: 23-60069        Document: 438-3         Page: 231   Date Filed: 09/26/2023




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    Attachment D: Comments on Proposed Louisiana, Mississippi, and Texas SIP Disapprovals
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              Case: 23-60069        Document: 438-3     Page: 232     Date Filed: 09/26/2023



                                                                                  Entergy Services, LLC
                                                                                  639 Loyola Avenue
                                                                                  P. O. Box 61000
                                                                                  Mail Unit L-ENT-4E
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ATTN:          Docket ID No. EPA-RO6-OAR-2021-0801-0001 (USEPA Region 6)

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             Case: 23-60069          Document: 438-3     Page: 233      Date Filed: 09/26/2023




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 Case: 23-60069   Document: 438-3   Page: 234   Date Filed: 09/26/2023




   Tab HQ-788: Comments submitted on behalf of
Midcontinent Independent System Operator (“MISO”)
     (June 21, 2022) (EPA-HQ-OAR-2021-0668-0788)
      Case: 23-60069        Document: 438-3     Page: 235        Date Filed: 09/26/2023


                                          One American Square | Suite 2900 | Indianapolis, IN 46282-0200
                                                                 Chicago Columbus DuPage County, Ill.
                                                   Indianapolis New York Philadelphia Washington, D.C.



                                                                       WRITER'S DIRECT NUMBER: (317) 236-5893
 June 21, 2022                                                                      DIRECT FAX: (317) 592-4225
                                                                       INTERNET: Freedom.Smith@icemiller.com




Filed to: Docket No. EPA-HQ-OAR-2021-0668
Email to: Regan.Michael@epa.gov; selbst.elizabeth@epa.gov

Michael S. Regan, Administrator
U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

       RE:    Proposed Federal Implementation Plan Addressing Regional Ozone
              Transport for the 2015 Ozone National Ambient Air Quality Standard
Dear Administrator Regan:
       Please find attached comments filed on behalf of the Midcontinent Independent System
Operator (“MISO”) on the proposal by the U.S. Environmental Protection Agency (“EPA”) to
promulgate a Federal Implementation Plan (“FIP”) Addressing Regional Ozone Transport for the
2015 Ozone National Ambient Air Quality Standard (“NAAQS”). 87 Fed. Reg. 20,036 (April 6,
2022). The comment period on this proposal has been extended to June 21, 2022. 87 Fed. Reg.
29,108 (May 12, 2022). MISO is a not-for-profit, member-based regional transmission
organization (“RTO”) accepted and supervised by the Federal Energy Regulatory Commission
(“FERC”) that serves more than 42 million customers.


                                          Respectfully submitted,



                                          Freedom Smith
                                          ICE MILLER LLP
                                          One American Square, Suite 2900
                                          Indianapolis, IN 46282-0200
                                          Legal Counsel
                                          Midcontinent Independent System Operator
FSNS/hmsm
Enclosures
      Case: 23-60069        Document: 438-3         Page: 236     Date Filed: 09/26/2023




     MIDCONTINENT INDEPENDENT SYSTEM OPERATOR (MISO)


            JUNE 21, 2022, COMMENTS ON PROPOSED FEDERAL

       IMPLEMENTATION PLAN ADDRESSING REGIONAL OZONE

            TRANSPORT FOR THE 2015 8-HOUR OZONE NAAQS.


                       Docket ID No. EPA-HQ-OAR-2021-0668

                       87 Federal Register 20,036 (April 6, 2022)

       The Midcontinent Independent System Operator (“MISO”) offers these comments on the
proposal by the United States Environmental Protection Agency (“EPA”) to promulgate a Federal
Implementation Plan (“FIP”) Addressing Regional Ozone Transport for the 2015 Ozone National
Ambient Air Quality Standard (“NAAQS”). 87 Fed. Reg. 20,036 (April 6, 2022). The comment
period on this proposal has been extended to June 21, 2022. 87 Fed. Reg. 29,108 (May 12, 2022).

       By way of background, MISO is a not-for-profit, member-based regional transmission
organization (“RTO”) accepted and supervised by the Federal Energy Regulatory Commission
(“FERC”) that serves more than 42 million customers. MISO’s footprint ranges from Texas in the
south, Montana in the west, and Ohio-Indiana line in the east.




       MISO delivers power from the high-voltage transmission grid to local distribution utilities,
which then are responsible for delivery to end-use customers. MISO is separate and independent

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      Case: 23-60069         Document: 438-3         Page: 237      Date Filed: 09/26/2023




from the companies that own electric generation and transmission facilities, but is authorized to
exercise “functional control” over the high voltage transmission system. MISO is authorized by
the Federal Energy Regulatory Commission (“FERC”) to provide transmission service and
otherwise administer the bulk electric system in its region. One of MISO’s critical functions is to
facilitate and maintain the reliable delivery of electricity to those they serve. MISO acknowledges
and appreciates the role of EPA and other state and federal agencies play in addressing air quality
matters. Pursuant to the Clean Air Act and its authority EPA can address interstate transport of air
pollution that affects downwind states' ability to attain and maintain NAAQS. In this complex
environment MISO provides these comments based in its role to provide critical function to
maintain reliable service. To MISO this proposed FIP creates significant concerns about MISO’s
ability to maintain electric reliability. To this end, MISO further incorporates the joint comments
of Electric Reliability Council of Texas, Inc. (“ERCOT”), Midcontinent Independent System
Operator, Inc. (“MISO”), PJM Interconnection, L.L.C. (“PJM”), and Southwest Power Pool, Inc.
(“SPP”) as part of its own comments. As will be pointed out in these comments, EPA’s proposed
FIP/transport rule, if promulgated as drafted, would yield significant, potential adverse impacts
associated with grid reliability. Additionally, the EPA has not provided adequate time for thoughtful
assessment of this complex, lengthy, multi-source proposal.

   1. The comment period is too short to allow review and analysis of the proposed rule.

        EPA published the proposed rule on April 6, 2022, and requested comments no later than
June 6, 2022. The comment period was subsequently extended by a modest additional 2 weeks
to June 21, 2022 (87 Fed. Reg. 29108, May 12, 2022). Although the granted extension is welcome,
the extension does not allow sufficient time to develop a technically robust and thorough set of
comments on the proposed FIP. EPA has sought comment on 53 specific issues raised in the
proposed rule, including an omnibus issue styled “Request for Comment on All Aspects of the
Proposal.” This is a complex,181-page proposed rule with supplemental docket reports,
appendices, etc. A 75 day comment period granted in piecemeal fashion is not sufficient time to
analyze and develop meaningful comments.

        The proposed rule is broader in scope than the transport rules that have preceded it. The
proposed rule would resolve the interstate transport obligations of 26 states under CAA
section 110(a)(2)(D)(i)(I), referred to as the “good neighbor provision” or the “interstate
transport provision” of the Act, for the 2015 ozone NAAQS and would address nitrogen
oxides emissions budgets impacting power plants in 25 states. 87 Fed. Reg. at 20036-38. Not
only does the proposed rule cover a much larger geographic area than prior rules, but it also
proposes to impose new control requirements on both Electric Generating Units (“EGUs”) and a
broad category of industrial sources. The expanded scope of this rule adds yet another significant
layer of complexity to the analysis of the proposed rule, making development of comprehensive
comments resource intensive and time consuming.

        In addition, on February 22, 2022, EPA published eight separate proposed rules that
propose to disapprove Good Neighbor State Implementation Plans (“SIPs”) impacting 19 states.
The 19 state Good Neighbor SIPs are linked with the proposed transport rule because both target
the same ambient air quality standard. MISO’s technical staff has the ability to assist the EPA and
affected stakeholders in reviewing the projected impact of the proposed rule; however, the

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      Case: 23-60069         Document: 438-3          Page: 238     Date Filed: 09/26/2023




limitation of time to do so has introduced risk to a detailed consideration of the impacts of the
proposed rule on key elements such as grid reliability and the costs thereof. These risks contribute
to MISO’s concern that the rule, as drafted, could have significant, potential impacts to grid
reliability.

        All the issues articulated above illustrate that the extended comment deadline is insufficient
to develop an in-depth set of comments on the proposed transport FIP. Notwithstanding these
limitations, MISO’s review of the proposed FIP has identified a number of immediate areas
of concern that require further consideration before implementation in order to ensure
continued reliable grid operations, particularly during this time of transition.


   2. The Proposed FIP threatens the reliability of the electric power grid.

       The EPA projected future 2023, 2026, and 2032 baseline EGU emissions using the
version 6—Summer 2021 Reference Case of the Integrated Planning Model (“IPM”)
provides forecasts of least cost capacity expansion, electricity dispatch, and emissions
control strategies while meeting energy demand and environmental, transmission, dispatch,
and reliability constraints. 87 Fed. Reg. at 20063. EPA evaluated emissions reduction
potential from generation shifting, i.e. units with lower NOX rates to increase generation,
while units with higher NOX rates reduce generation. 87 Fed. Reg. at 20081. Combining air
quality factors, costs, and emissions reductions, the EPA identified a controls for EGUs
that results in substantial air quality improvement from emissions controls that are
available in the timeframe for which air quality problems at downwind receptors persist.
87 Fed. Reg. at 20091. The EPA requested comments on its identified EGU control
stringencies, including its consideration of the cost, air quality impacts, and timing of such
mitigation strategies. 87 Fed. Reg. at 20096.

         Modifications to the Proposed Rule are needed to address the potential for distinct
reliability challenges resulting from the rule’s implementation.

           a. EPA has not appropriately considered resource adequacy issues and the most
              current information.

         The proposed FIP does not address the challenge, and impacts, of maintaining resource
adequacy for the power grid. Resource adequacy, in general terms, is achieved when the accredited
megawatt capacity of the generators in a particular region meets or exceeds the forecasted load,
plus reserves, for that region. Different types of resources are accredited, or count, for different
amounts capacity depending on how reliable they are to be able to generate at the time they are
needed. The traditional dispatchable generators targeted by this Proposed Rule tend to have much
higher accredited capacity than the replacement capacity that has been brough online in recent
years. MISO is experiencing a trending decline in reserve margin, which is largely the result of
the retirement of significant amounts of dispatchable generation. As a result, MISO believes that
the Proposed Rule could substantially accelerate that trend at a time when MISO is facing the need
for increased reserves resulting from extreme weather, high load conditions, and generator
retirements. Replacement of retiring generation with new, mostly non-dispatchable facilities that

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      Case: 23-60069         Document: 438-3         Page: 239     Date Filed: 09/26/2023




are not installed at the same time or valued at the same output presents its own risks. It will take
time to obtain the required regulatory approvals to construct new generation and especially any
needed transmission facilities to connect that generation to the grid. Of course, resource adequacy
must be maintained, and NERC reliability standards met during this interim period. Any final rule,
both as to its design and its implementation timing, including dynamic budgeting, needs to take
these factors into account.

        MISO’s analysis of EPA information shows that the proposed rule not only may accelerate
planned retirements, but drive additional, unexpected retirements MISO is concerned that the
Proposed Rule could cause generator retirements due to the limitations on operations and/or the
cost of installing Selective Catalytic Reduction (“SCR”) and other technology improvements that
may otherwise be required. Furthermore, to the extent units do not retire, their ability to operate
could be limited by the Proposed Rule, which depending on the region and level of flexibility
within the rule, could present a distinct reliability challenge. The Proposed Rule does not have a
glide path or transition plan, and one is necessary. The compressed timing to start the program
and limit emissions in 2026 is anticipated to be a challenge in terms of facilitating replacement
capacity with the necessary attributes.

        MISO faces increasing challenges to system reliability and the ability to commit sufficient
resources to supply electricity to customers within the Midcontinent region. Our studies indicate
that our region needs a certain level of dispatchable and flexible resources to reliably manage the
transition to a decarbonized energy future. MISO is both fuel- and technology-neutral, however
MISO needs to preserve the best options to provide these needed resource capabilities and
attributes to bridge the gap between retirements and replacement capabilities and attributes.
MISO’s challenges include declining reserve margins and fewer always-on “baseload” resources,
due to retirements of thermal units. At the same time, the installation of new capacity from other
resources is not occurring at the same rate as the baseload retirements and are not always available
to provide energy during times of need. For instance, MISO expressed concern to EPA regarding
issues related to the Dalman, Erickson, Meramec, Ottumwa, and Sioux power plants about the
result of withdrawal of service by the five generators stating that:

          Such interruptions of service would result in localized impacts but must also
          be viewed by MISO for their collective effects. This is especially true since
          the proposed decisions could result in withdrawn generation for plants in
          close time proximity to one another rather than the more normal situation
          where generator outages result from individual decisions by their owners.

          …

          MISO respectfully requests that the EPA consider these Comments regarding
          the effects of generator closures on the electric transmission system in the
          MISO footprint. The loss of any significant portion of the 3.1 GW from the
          five generators considered in the above-captioned cases would push resource
          adequacy coverage of regional demands into dangerous territory.1

1
 Comments of Midcontinent Independent System Operator (MISO) related to EPA-HQ-OLEM-2021-0588,
EPA-HQ-OLEM-2021-0589, EPA-HQ-OLEM-2021-0592, EPA-HQ-OLEM-2021-0593, and EPA-HQ-
                                                 4
      Case: 23-60069         Document: 438-3         Page: 240      Date Filed: 09/26/2023




MISO further commented that “[b]ased on the most currently available information . . . there is
very little excess generating capacity (or none at all) to cover demand for electricity, plus the
required reserve margin, in the immediate future.”2 Additional closures would worsen an already
difficult situation.3 These events, which continue to place MISO in near-emergency or emergency
conditions, are the result of the changing resource profile, including a significant number of
thermal plant retirements and related increases in planned and unplanned outages.4 The Proposed
Rule only exacerbates these challenges and presents risk.

       These transformations in the generating fleet have resulted in numerous new issues and
associated risks. The risk of not having enough generation to meet demand shifts from the historic
times of peak power demand to other periods, specifically hot summer evenings and cold winter
mornings, when low availability of certain resources is coincident with high power demand. And
depending on the circumstances, the current transmission infrastructure becomes unable to deliver
energy to customers.

        To facilitate the residual trading of capacity among its members, and to ensure the
availability of sufficient generating capacity to meet the region’s needs, every year MISO holds a
Planning Resource Auction (PRA). The results of the 2022-2023 PRA were announced on April
14, 2022, and updated on May 3, 2022.5 The auction results reflected the industry’s ongoing shift
away from coal-fired generation and increasing reliance on other resources. The results showed
capacity shortfalls in MISO North and Central regions to meet the projected load plus required
reserves. Clair Moeller, MISO’s president and chief operating officer, said that “[t]he reality for
the zones that do not have sufficient generation to cover their load plus their required reserves is
that they will have increased risk of temporary, controlled outages to maintain system reliability.”6
Moeller said further that customers in those zones "may also face higher costs to procure power
when it is scarce.”7 The capacity shortfalls were reflected in the market pricing for the capacity,
which is measured in megawatt-days. Clearing prices in zone 5 surged to $236.66 per megawatt-
day compared to approximately $5 a year ago.

      MISO’s 2022/2023 PRA resulted in a capacity shortfall for the MISO North/Central
Regions despite the fact that MISO was able to import over 3,000 MW from neighboring regions.
While MISO will likely continue to rely on imports from its neighbors to help address system

OLEM-2021-0594, available at https://www.regulations.gov/comment/EPA-HQ-OLEM-2021-0588-
0010.
2
  Id. at p. 6, available at https://www.regulations.gov/comment/EPA-HQ-OLEM-2021-0588-0010
3
  Id. at p. 6, available at https://www.regulations.gov/comment/EPA-HQ-OLEM-2021-0588-0010
4
  Id.
5
   MISO 2022/2023 Planning Resource Auction (PRA) Results, April 14, 2022, available at
https://cdn.misoenergy.org/2022%20PRA%20Results624053.pdf. See also MISO 2022/2023 Planning
Resource         Auction      (PRA)      Results,    Revised    May     3,    2022,     available  at
https://cdn.misoenergy.org/20220420%20RASC%20Item%2004b%20PRA%20Results%20Supplemental
624128.pdf
6
  MISO Written Statement, Some parts of region fall short of their Resource Adequacy requirements,
April 14, 2022, https://www.misoenergy.org/about/media-center/misos-annual-planning-resource-
auction-results-underscore-the-reliability-imperative/
7
  Id.
                                                 5
      Case: 23-60069         Document: 438-3          Page: 241      Date Filed: 09/26/2023




reliability concerns in the near term, this is not a sustainable situation for either MISO or its
neighbors. As a result, MISO’s North/Central Regions will experience a slightly increased risk of
needing to implement temporary controlled load sheds.8 Emergency resources and non-firm
energy imports will be needed to maintain system reliability9; in other words MISO will need to
import power from outside its region. This is further reinforced by NERC, that considers MISO a
high risk for running short of operating reserves under normal conditions.10

        MISO is also anticipating a warmer-than-normal-summer and probable capacity shortfalls
in June, July and August. In particular, J.T. Smith, MISO’s Executive Director – Market
Operations noted that the “north and central regions of MISO” are “at increased risk of temporary,
controlled outages to preserve the integrity of the bulk electric system[.]”11 In its Seasonal
Readiness Workshop on April 28, 2022, MISO projected the need for increased, non-firm imports
and potentially emergency resources to meet the 2022 summer peak demand, because of warmer-
than-normal temperatures forecasted throughout the MISO footprint.12 MISO expects summer
demand to increase to 1.7% over last summer, while generation capacity has declined 2.3%. MISO
attributes the decline in generation due to fossil-fuel power plant retirements as the generation fleet
continues to shift to renewable sources.13

        The proposed FIP may alter how MISO’s members and generation owners offer their
resources into our markets (including run time limitations), which may further limit MISO’s
options when committing and dispatching resources. It is not apparent how EPA’s generation
shifting assumptions will play out in light of such measures.

        While resource adequacy is generally the responsibility of the state regulatory authorities
within the Midcontinent region, MISO is in a unique position as the grid operator to inform state
and environmental regulators on the regional impact of actions on grid reliability and customer
impacts. Given the changes to the generating fleet, and the potential shortfalls in generating
capacity, it is imperative that reliable generating resources, like the facilities subject to the
Proposed Rule, be recognized for the regional reliability value provided to the region’s customers.
Given the existing regional supply situation, resources need to remain online and available to
provide capacity and transmission grid stability to meet the system’s needs until sufficient
replacement capability is brought online.

       Other RTOs and similar organizations have also issued warnings of high prices and
possible blackouts. MISO shares the concerns expressed by other RTO/ISOs like ERCOT, PJM,
SPP as well as the concerns raised by others as to these issues. It is essential that in assessing the

8
  MISO 2022/2023 Planning Resource Auction (PRA) Results, April 14, 2022.
9
  MISO Summer Readiness Workshop, April 28, 2022.
10
   North American Electric Reliability Corporation (NERC), 2022 Summer Reliability assessment, May
2022, available at
https://www.nerc.com/pa/RAPA/ra/Reliability%20Assessments%20DL/NERC_SRA_2022.pdf.
11
   MISO Summer Readiness Workshop Summer 2022, April 28, 2022, available at
https://cdn.misoenergy.org/20220428%20Summer%20Readiness%20Workshop%20Recording624371.m
p4
12
   MISO Summer Readiness Workshop Summer 2022, April 28, 2022.
13
   MISO Summer Readiness Workshop, April 28, 2022.
                                                  6
        Case: 23-60069          Document: 438-3            Page: 242      Date Filed: 09/26/2023




final version of this proposal that EPA assure that its rule does not interfere with the reliability of
the electric power grid.

            b. EPA has not appropriately considered energy adequacy issues.

        MISO has conducted preliminary analysis of the impact of the proposed FIP on the energy
adequacy of the system in 2026. For this analysis, MISO utilized the EPA’s forecast of impacted
units and conducted hourly energy dispatch using the PROMOD tool. Actual sub-hourly impacts
may be more severe. Hours of energy insufficiency reflect an hour where a sub-region is not able
to meet load, given all available generation in that area and importing as much as possible
accounting for transmission constraints. This analysis is on-going and may be refined through
further discussions with MISO members, states, and EPA.

         According to the EPA information14, coal and gas retirements in the MISO region will be
12,438 MW by 2026, and coal and gas retrofits will be 11,514 MW by 2026. Based on this
information, MISO conducted 3 economic analyses for 2026 – a base case with no retirements or
retrofits; a ‘retirement + retrofits’ case as EPA has suggested; and a ‘retire all affected units’ case
in which the units that EPA has forecasted to retrofit instead retire. This case is consistent with
conversations MISO has had with multiple member utilities based on the economic decision to not
make a costly retrofit to a unit that is scheduled to retire before the assumed 20-year payback
period.

       Results show an increase in the number of hours of energy inadequacy of between 16 times
and 80 times the base case due to the Proposed Rule.

 2026
                            MW of impacted                Hours of insufficient     Change from Base
                            generation                    generation                Case
 Base Case                                                6
 Retirement +               12,438                        99                        16.5 time greater
 Retrofits
 Retire All Affected        12,438+11,514=                477                       79.5 times greater
 Units                      23,952

            c. EPA’s reliance on generation shifting and dynamic budgeting and as a
               control mechanism is arbitrary and capricious and presents grid reliability
               issues.

       To implement the required emissions reductions from EGUs, the EPA has proposed
generation shifting (i.e., emission reductions anticipated to occur from generation shifting
from higher to lower emitting units), dynamic budgeting, and changes to the existing CSAPR
NOX Ozone Season Group 3 Trading Program as control mechanisms. With regard to
generation shifting, EPA asserts that managing generation shifting is both technically and legally

14
  See Analysis of the Proposed Federal Implementation Plan Addressing Regional Ozone Transport for the 2015
Ozone National Ambient Air Quality Standard | US EPA

                                                      7
      Case: 23-60069         Document: 438-3          Page: 243     Date Filed: 09/26/2023




authorized under the Clean Air Act as it is a simply a tool for implementing emissions reductions.
87 Fed. Reg. at 20,081. EPA asserts that “if EPA did not account for generation shifting then it
could result in substitution for emission reductions intended through control operations and
installation, potentially lessening the implementation of those mitigation strategies.” Id. EPA
offers assurances its generation shifting is constrained, but that the “sector’s unusual flexibility
with respect to how emissions reductions can be achieved makes” their task difficult particularly
relative to trading and generation shifting. 87 Fed. Reg. at 20,105. Given the significance of
generation shifting in affecting state budgets in some states, it is critical that EPA clearly explain
how these items are executed.

        In addition, EPA proposes to revise the existing CSAPR NOX Ozone Season 3
trading programs established in the Revised CSAPR Update to include a dynamic budgeting
procedure. 87 Fed. Reg. at 20,105. The proposed changes would adjust the overall quantities
of allowances available for compliance in the trading program in each control period. Id.
Starting with the 2024 control period, the EPA proposes to annually recalibrate the quantity
of accumulated banked allowances under the program to prevent the quantity of allowances
carried over from each control period to the next from exceeding the target bank level, which
would be revised to represent 10.5 percent of the sum of the state emissions budgets. Id.
Furthermore, calculations of emissions budgets for control periods in 2025 and later years based
on more current information about the composition and utilization of the EGU fleet,
specifically data available from the 2023 ozone season and following (e.g., for 2025, data
from 2023; for 2026, data from 2024; etc.). Id. EPA states that a dynamic budget approach
where emissions budgets starting in the 2025 control period and beyond will be determined
through ministerial actions subsequent to the proposed FIP’s promulgation and based on a
formula set out in the proposed FIP. 87 Fed. Reg. at 20,105 -107. EPA further states that
“[e]mission reductions derived from generation shifting will be captured in the dynamic budgets
in all cases. For the pre-set budget years it is estimated and incorporated through an additional
calculation step. For dynamic budget years, it is directly incorporated through the inclusion of
updated heat input data reflecting observed, compliance period generation shifting.” 87 Fed.
Reg. at 20108, FN 231.

         EPA’s proposed dynamic budgeting does not align with grid reliability practices and will
undermine grid reliability as it does not appear to allow MISO or other RTO/ISOs to plan for
reliability or to respond to emergency needs as they arise. Moreover, given the significance of
generation shifting in affecting budgets in some states, it is critical that EPA clearly explain how
this step will be executed. MISO requests a technical analysis of this aspect of the proposed FIP.
The Technical Comments note in the state budget setting process, generation shifting is the third
and final step in determining state budgets. Generation shifting is quantified by three IPM runs –
Base Case, Run 1 and Run 2. It should be noted EPA’s description of generation shifting is
inadequate and lacks transparency on the steps and data used. EPA has not provided adequate
information or time to properly analyze this proposal and its potential impacts.

        EPA has also assigned certain idling and generation shifting assumptions to state budgets
which are flawed. Underlying these flaws is an agency that has little experience or statutory
jurisdiction to manage the dispatch of power through an emissions reduction program. EPA’s
assumptions concerning idling was raised in the Wisconsin v. EPA litigation. In that case,

                                                  8
      Case: 23-60069         Document: 438-3         Page: 244     Date Filed: 09/26/2023




petitioners asserted that the agency use of the IPM model assumed an unrealistic number of
imminent unit retirements and circumstances of idling. The court found in the appellate review of
the CSAPR rule, EPA had not improperly allowed idling to impact state budget
development. Accordingly, the IPM model may not be used to accurately project the flow of short-
run supply. Management of generation dispatch, whether shifting or idling, are electric power
dispatch issues best left to the jurisdictions of FERC and the states.

           d. The addition of reliability exception or safety valve should be considered in the
              framework in some manner to allow Resource Adequacy-based decisions
        MISO supports including some form of a “Reliability Safety Valve” (“RSV”) or other
mechanism within the CSAPR/NAAQS regulatory framework by which EPA could provide
additional program flexibility which could help to alleviate reliability and adequacy concerns. The
RSV would represent certain tools and processes that would be available to address reliability
issues that might arise during the implementation of a final rule. The RSV would not be a blanket
exemption from compliance; rather it would ensure short-term and seasonal reliability. MISO
proposes that EPA create an “opt-out” option for units willing to commit to a short remaining
useful life (beyond 2026) in exchange for additional consideration/allowances in setting state NOx
budgets. Furthermore, MISO proposes that an RSV be available that would:
       1. Permit the operation of affected units beyond the proposed rule’s constraints if the
          ISO/RTO has an applicable and declared emergency condition under its FERC-
          approved Tariff; and
       2. Be available for up to 90 days, Triggering and Notification Criteria are outlined that
          would reasonably constrain the exemption.

       Alternatively, the creation of a bank of emergency reliability allowances available for units
to purchase of a bank of allowances could be available for units to purchase at the start of the
summer season. The bank would allow e trading program but with more allowances to be made
available than the currently proposed trading program as a flexible option in emergency
circumstances.

       Other mechanisms to alleviate reliability and adequacy concerns could include:

       1. EPA revising their proposed dynamic budgeting approach to look back at multiple
          years of past unit operating data (rather than a single year).
       2. EPA revising their proposed dynamic budgeting approach to adjust state budgets less
          frequently, perhaps every 2 or 3 years rather than annually.
       3. EPA retaining retired units in state budgets for a longer period than they have proposed,
          such that sources that do retire units as part of their CSAPR compliance strategy have
          more flexibility to utilize the allowances associated with the retired unit to meet their
          allowance surrender obligations for other units which continue to operate.
       4. EPA revising or even eliminating their proposed annual “recalibration” of the number
          of banked allowances.



                                                 9
      Case: 23-60069         Document: 438-3          Page: 245     Date Filed: 09/26/2023




       MISO also requests that EPA find that the conditions for an energy emergency resulting
from a loss of necessary energy supplies under CAA section 110(f) of such severity that a
temporary suspension of part of the applicable implementation plan and/or requirements
under CAA section 7651j (concerning excess emissions penalties or offsets) is presumed to be
necessary AND that there is no other adequate means of responding to the energy emergency
would be presumed to exist when the ISO/RTO has an applicable and declared emergency
condition under its FERC-approved Tariff.

           e. EPA did not appropriately consider costs related to grid reliability, additional
              energy usage, and potential environmental justice impacts.

        As noted by the courts, the “realities of interstate air pollution ... are not so simple,” and
EPA faces its share of “thorny ... problem[s]” in regulating it. EME Homer City Gen., L.P. v. EPA,
572 U.S. 489, 514–16, 134 S.Ct. 1584 (2014) (“EME Homer II”). The Good Neighbor Provision
authorizes EPA to regulate emissions that contribute significantly to nonattainment.” 42 U.S.C. §
7410(a)(2)(D)(i)) (emphasis in original). In Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000), the
court held that EPA may consider costs in determining what contributions are “significant,” id. at
15 (quoting Michigan, 213 F.3d at 675), and endorsed the principle that (in the absence of a clear
legislative statement to the contrary) a regulation's benefits must be “at least roughly
commensurate with [its] costs,” id. (quoting Michigan, 213 at F.3d 678–79). In Wisconsin v. EPA,
938 F.3d 303, (D.C. Cir. 2019), the court noted that EPA

         possesses a measure of latitude in defining which upwind contribution
         “amounts” count as “significant[ ]” and thus must be abated. See id. at 518, 134
         S.Ct. 1584; 520 n.21. And the Supreme Court has indicated that EPA can take
         into account, among other things, “the magnitude of upwind States’
         contributions and the cost associated with eliminating them.” Id. at 518, 134
         S.Ct. 1584. Additionally, in certain circumstances, EPA can grant one-year
         extensions of the nonattainment deadlines to downwind States. 42 U.S.C. §
         7511(a)(5). EPA grants those extensions fairly commonly. E.g., 84 Fed. Reg.
         44238, 44238 (Aug. 23, 2019); 81 Fed. Reg. 26,697, 26,697 (May 4, 2016). And
         finally, EPA can always attempt to show “impossibility.” Sierra Club, 719 F.2d
         at 462.

State of Wisconsin v. Env't Prot. Agency, 938 F.3d 303, 320 (D.C. Cir. 2019).

        Here, EPA should further analyze whether the environmental benefits of the proposed FIP
justified the costs imposed by the FIP. The proposed rule does not explore whether the emissions
controls in question would endanger reliability, and the attendant costs associated thereof, or cause
the closure of generating capacity. The proposed rule also does not currently contemplate a step
for the Regional Transmission Organization (“RTO”), Independent System Operators, or FERC to
study reliability impacts. Given the exceptional complexity of grid reliability concerns, it is
noteworthy that the proposed rule does not provide a more rigorous exploration of the impact of
the rule on grid reliability and the resultant costs from an environmental justice and monetary
perspective. MISO also notes that EPA’s control cost analysis uses an EGU inventory that is
divergent from the inventory of EGUs that exist in the 25 states subject to the proposed transport

                                                 10
         Case: 23-60069         Document: 438-3         Page: 246   Date Filed: 09/26/2023




rule. All of these issues do not lead to an accurate calculations of costs and this issue needs to be
re-examined.

        MISO also believes that EPA’s proposed backstop daily emission rate penalties, 87 Fed.
Reg. at 20,121, are inappropriate because NOx budgets should be set based on achievable rates for
controls without penalties for emissions occurring during high demand days when the choice is to
maintain system reliability by running units with controls or shut down the units because of the
backstop daily rate penalties. EPA has also acknowledged that there is “very little difference”
between “NOx rates for EGUs for hours with high energy demand” and “seasonal average NOx
rates.” 83 Fed. Reg. at 50,466. Moreover, the Maryland Court recognized that “there may be valid
operational reasons not to operate catalytic controls on particular days, ‘e.g., to avoid damaging or
plugging of the [control] or taking a forced outage where a breakdown leaves the unit unavailable
to produce power.’ As a result, that a source ends up emitting above 0.20 lb/mmBtu on a particular
day is not necessarily evidence of a failure to optimize.”15

        EPA’s operational restriction by imposing a daily limit with a substantial allowance penalty
will force decisions that are contrary to the effective management of generation and emissions.
Situations that may result in exceeding EPA’s proposed daily limit include necessary startup or
shutdown of units based on system demand, operation of units at minimum load conditions to meet
grid requirements, and even short-term operation of a unit after malfunction of NOx controls. On high
demand days, EGU operators and RTOs will face the choice to maintain system reliability by running
units with limited NOx control or shut down the units because of the backstop daily rate penalties.

          3. Conclusion.

        For the reasons set forth in these comments, MISO’s review of the proposed FIP has
identified a number of immediate areas of concern that require further consideration before
implementation in order to ensure continued reliable grid operations, particularly during this
time of transition. Modifications to the Proposed Rule are needed to address the potential for
distinct reliability challenges resulting from the rule’s implementation.
        .




15
     Maryland v. EPA, 958 F.3d 1185, 1207 (D.C. Cir. 2020).
                                                   11
   Case: 23-60069   Document: 438-3   Page: 247   Date Filed: 09/26/2023




Tab R4-9: Mississippi_2015 Ozone Infrastructure SIP Prongs
     1 and 2 (Jan. 31, 2022) (EPA-R04-OAR-2021-0841-0009)
Case: 23-60069   Document: 438-3   Page: 248   Date Filed: 09/26/2023
         Case: 23-60069                  Document: 438-3   Page: 249   Date Filed: 09/26/2023




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         Case: 23-60069                  Document: 438-3     Page: 250        Date Filed: 09/26/2023




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Contain adequate provisions—
(i) prohibiting, consistent with the provisions of this subchapter, any source or other type of
emissions activity within the State from emitting any air pollutant in amounts which will—
        (I) contribute significantly to nonattainment in, or interfere with maintenance by, any other
        State with respect to any such national primary or secondary ambient air quality standard,
        or
        (II) interfere with measures required to be included in the applicable implementation plan
        for any other State under part C of this subchapter to prevent significant deterioration of
        air quality or to protect visibility

                1. Contribute significantly to nonattainment of NAAQS for areas in another state
                   (Prong 1).

                2Q0DUFK(3$LVVXHGDPHPRUDQGXPWLWOHGInformation on the Interstate
                Transport State Implementation Plan Submissions for the 2015 Ozone National
                Ambient Air Quality Standards under CAA §110(a)(2)(D)(i)(I) (3$ VWDWHV WKDW WKH
                LQIRUPDWLRQSURYLGHGLQWKHPHPRUDQGXPLVGHVLJQHGWRDVVLVWVWDWHVLQWKHLUHIIRUWVWR
                GHYHORS JRRG QHLJKERU 6,3V IRU WKH  R]RQH 1$$46 WR DGGUHVV WKHLU LQWHUVWDWH
                WUDQVSRUW REOLJDWLRQV  (3$ FRQGXFWHG SKRWRFKHPLFDO PRGHOLQJ WR SURMHFW DPELHQW
                R]RQH OHYHOV LQ  VLQFH WKLV GDWH DOLJQV ZLWK WKH DQWLFLSDWHG DWWDLQPHQW \HDU IRU
                0RGHUDWH R]RQH QRQDWWDLQPHQW DUHDV  7KH &RPSUHKHQVLYH $LU 4XDOLW\ 0RGHO ZLWK
                ([WHQVLRQV &$0[YHUVLRQ ZDVXVHGZLWKDEDVH\HDURIDQGWKHIXWXUH\HDU
                RI&RQVLGHULQJDFRPELQDWLRQRIPRGHOLQJSURMHFWLRQVDQGUHFHQWPRQLWRULQJ
                GDWD(3$LGHQWLILHGSURMHFWHGQRQDWWDLQPHQWDQGPDLQWHQDQFHUHFHSWRUVZLWKUHVSHFW
                WRWKH1$$46(3$LGHQWLILHGQRQDWWDLQPHQWUHFHSWRUVDVWKRVHPRQLWRULQJVLWHV
                ZLWKFXUUHQWPHDVXUHGR]RQHYDOXHVH[FHHGLQJWKH1$$46WKDWDOVRKDYHSURMHFWHG LQ
                  DYHUDJH GHVLJQ YDOXHV H[FHHGLQJ WKH 1$$46  (3$ LGHQWLILHG PDLQWHQDQFH
                UHFHSWRUV DV WKRVH PRQLWRULQJ VLWHV ZLWK PD[LPXP GHVLJQ YDOXHV H[FHHGLQJ WKH
                1$$462XWVLGHRI&DOLIRUQLDWKHUHDUHPRQLWRULQJVLWHVWKDWZHUHLGHQWLILHGDV
                HLWKHUSRWHQWLDOQRQDWWDLQPHQWRUPDLQWHQDQFHUHFHSWRUV
                
                $IWHULGHQWLI\LQJWKHVHUHFHSWRUV(3$WKHQSHUIRUPHGQDWLRQZLGHVWDWHOHYHOR]RQH
                VRXUFHDSSRUWLRQPHQWPRGHOLQJXVLQJWKH&$0[$QWKURSRJHQLF3UHFXUVRU&XOSDELOLW\
                $QDO\VLV $3&$ WHFKQLTXHWRSURYLGHLQIRUPDWLRQUHJDUGLQJWKHH[SHFWHGFRQWULEXWLRQ
                RI  EDVH FDVH QLWURJHQ R[LGHV 12[  DQG YRODWLOH RUJDQLF FRPSRXQG 92& 
                HPLVVLRQVIURPDOOVRXUFHVLQHDFKVWDWHWRSURMHFWHGR]RQHFRQFHQWUDWLRQVDWHDFK
                DLUTXDOLW\PRQLWRULQJVLWH,QSUHYLRXVIHGHUDOUHJXODWRU\DFWLRQVVXFKDVWKH&OHDQ
                $LU ,QWHUVWDWH 5XOH &$,5  WKH &URVV6WDWH $LU 3ROOXWLRQ 5XOH &6$35  DQG WKH
                &6$358SGDWH5XOH(3$KDVXVHGDWKUHVKROGRIRIWKHR]RQH1$$46VWDQGDUG
                WR GHWHUPLQH LI D VWDWH VLJQLILFDQWO\ FRQWULEXWHV WR QRQDWWDLQPHQW RU LQWHUIHUHV ZLWK
                PDLQWHQDQFHRIDGRZQZLQGUHFHSWRU2QHSHUFHQW  RIWKHSSEVWDQGDUGLV
                SSE
                
                7KHIROORZLQJWDEOHOLVWV0LVVLVVLSSL¶V PRGHO 2]RQH 2FRQWULEXWLRQV SSE WR 
                1RQDWWDLQPHQWDQG0DLQWHQDQFH6LWHV

2]RQH,QIUDVWUXFWXUH6,33URQJV )LQDO
6WDWHRI0LVVLVVLSSL
         Case: 23-60069                  Document: 438-3      Page: 251       Date Filed: 09/26/2023



                                                             3URMHFWHG       0LVVLVVLSSL    2
                    6LWH,'       &RXQW\           6WDWH
                                                    'HVLJQ9DOXH 6WDWXVLQ &RQWULEXWLRQ SSE 
                  -HIIHUVRQ         &2                 1RQDWWDLQPHQW 
                  -HIIHUVRQ         &2                 0DLQWHQDQFH     
                  :HOG              &2                 0DLQWHQDQFH     
                  )DLUILHOG        &7                  0DLQWHQDQFH     
                  )DLUILHOG        &7                  1RQDWWDLQPHQW 
                  )DLUILHOG        &7                  1RQDWWDLQPHQW 
                  1HZ+DYHQ &7                         0DLQWHQDQFH     
                  +DUIRUG          0'                 0DLQWHQDQFH     
                  $OOHJDQ          0,                 0DLQWHQDQFH     
                  :D\QH            0,                 0DLQWHQDQFH     
                  4XHHQV           1<                 0DLQWHQDQFH     
                  5LFKPRQG         1<                 0DLQWHQDQFH     
                  6XIIRON          1<                 1RQDWWDLQPHQW 
                  %UD]RULD         7;                 1RQDWWDLQPHQW 
                  'HQWRQ           7;                 0DLQWHQDQFH     
                  +DUULV           7;                 0DLQWHQDQFH     
                  +DUULV           7;                 0DLQWHQDQFH     
                  +DUULV           7;                 1RQDWWDLQPHQW 
                  7DUUDQW          7;                 1RQDWWDLQPHQW 
                  0LOZDXNHH :,                        1RQDWWDLQPHQW 
                  6KHER\JDQ        :,                 1RQDWWDLQPHQW 
                7DEOH0LVVLVVLSSL¶VPRGHO2]RQH 2 FRQWULEXWLRQV SSE WR1RQDWWDLQPHQWDQG0DLQWHQDQFH
                6LWHV
                
                0LVVLVVLSSL¶V PRGHOHG FRQWULEXWLRQV LV EHORZ  RI WKH 1$$46 WR DOO PRQLWRUV
                PRGHOHGWREHLQQRQDWWDLQPHQWRULQPDLQWHQDQFHRIWKH21$$46H[FHSWIRU
                6LWH,'LQ+DUULV&RXQW\7;)RUWKLVPRQLWRU0LVVLVVLSSL¶VFRQWULEXWLRQ
                LVPRGHOHGWREHSSEZKLFKLVRIWKHVWDQGDUGEXWEHORZSSERI2,W
                PXVWEHQRWHGKRZHYHUWKDWWKRXJKWKHGHVLJQYDOXHIRUWKLVPRQLWRUHGZDVSURMHFWHG
                WREHRYHUWKH21$$46WKHDFWXDOGHVLJQYDOXHLVSSEIRU7KH
                WDEOHEHORZOLVWVWKHGHVLJQYDOXHVIRU
                
                                 'HVLJQ
                      <HDUV
                                 9DOXH SSE 
                    
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                7DEOH'HVLJQ9DOXHVIRU6LWH,'+DUULV&RXQW\7;
          
                2Q $XJXVW   (3$ UHOHDVHG D PHPRUDQGXP WLWOHG Analysis of Contribution
                Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport
                State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
                Quality Standards  ,Q WKLV PHPRUDQGXP (3$ SURYLGHG DQDO\WLFDO LQIRUPDWLRQ
                UHJDUGLQJ WKH GHJUHH WR ZKLFK FHUWDLQ DLU TXDOLW\ WKUHVKROG DPRXQWV FDSWXUH WKH
                FROOHFWLYHDPRXQWRIXSZLQGFRQWULEXWLRQIURPXSZLQGVWDWHVWRGRZQZLQGUHFHSWRUV
                IRU WKH  2 1$$46  %HFDXVH WKH DPRXQW RI XSZLQG FROOHFWLYH FRQWULEXWLRQ
                FDSWXUHGZLWKWKHDQGSSEWKUHVKROGVLVJHQHUDOO\FRPSDUDEOH(3$FRQFOXGHG
                WKDWLWPD\EHUHDVRQDEOHDQGDSSURSULDWHIRUVWDWHVWRXVHDSSEFRQWULEXWLRQWKUHVKROG


2]RQH,QIUDVWUXFWXUH6,33URQJV )LQDO
6WDWHRI0LVVLVVLSSL
         Case: 23-60069                  Document: 438-3     Page: 252        Date Filed: 09/26/2023




                DVDQDOWHUQDWLYHWRDWKUHVKROGLQGHYHORSLQJ6,3UHYLVLRQVDGGUHVVLQJWKHJRRG
                QHLJKERUSURYLVLRQIRUWKH2VWDQGDUG
                
                %DVHGRQ(3$¶VPRGHOLQJ0LVVLVVLSSLLVEHORZWKHSSEWKUHVKROGIRUDOOPRQLWRULQJ
                VLWHVLQ7DEOHZKLFKDUHSURMHFWHGWREHQRQDWWDLQPHQWRUPDLQWHQDQFHLQGLFDWLQJ
                WKDW 0LVVLVVLSSL GRHV QRW VLJQLILFDQWO\ FRQWULEXWH WR WKH QRQDWWDLQPHQW RI WKH 
                2]RQH 6WDQGDUG LQ DQRWKHU VWDWH  0'(4 KHUHE\ FRQILUPV WKDW WKH 6,3 FRQWDLQV
                DGHTXDWHSURYLVLRQVWRSUHYHQWVRXUFHVDQGRWKHUW\SHVRIHPLVVLRQVDFWLYLWLHVZLWKLQ
                WKHVWDWHIURPFRQWULEXWLQJVLJQLILFDQWO\WRQRQDWWDLQPHQWLQ SURQJ DQ\RWKHUVWDWH
                ZLWKUHVSHFWWRWKH2]RQH1$$46
                
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                2. Interfere with maintenance of NAAQS by any other State (Prong 2).
          
                2Q0DUFK(3$LVVXHGDPHPRUDQGXPWLWOHGInformation on the Interstate
                Transport State Implementation Plan Submissions for the 2015 Ozone National
                Ambient Air Quality Standards under CAA §110(a)(2)(D)(i)(I) (3$ VWDWHV WKDW WKH
                LQIRUPDWLRQSURYLGHGLQWKHPHPRUDQGXPLVGHVLJQHGWRDVVLVWVWDWHVLQWKHLUHIIRUWVWR
                GHYHORS JRRG QHLJKERU 6,3V IRU WKH  R]RQH 1$$46 WR DGGUHVV WKHLU LQWHUVWDWH
                WUDQVSRUW REOLJDWLRQV  (3$ FRQGXFWHG SKRWRFKHPLFDO PRGHOLQJ WR SURMHFW DPELHQW
                R]RQH OHYHOV LQ  VLQFH WKLV GDWH DOLJQV ZLWK WKH DQWLFLSDWHG DWWDLQPHQW \HDU IRU
                0RGHUDWH R]RQH QRQDWWDLQPHQW DUHDV  7KH &RPSUHKHQVLYH $LU 4XDOLW\ 0RGHO ZLWK
                ([WHQVLRQV &$0[YHUVLRQ ZDVXVHGZLWKDEDVH\HDURIDQGWKHIXWXUH\HDU
                RI&RQVLGHULQJDFRPELQDWLRQRIPRGHOLQJSURMHFWLRQVDQGUHFHQWPRQLWRULQJ
                GDWD(3$LGHQWLILHGSURMHFWHGQRQDWWDLQPHQWDQGPDLQWHQDQFHUHFHSWRUVZLWKUHVSHFW
                WRWKH1$$46(3$LGHQWLILHGQRQDWWDLQPHQWUHFHSWRUVDVWKRVHPRQLWRULQJVLWHV
                ZLWKFXUUHQWPHDVXUHGR]RQHYDOXHVH[FHHGLQJWKH1$$46WKDWDOVRKDYHSURMHFWHG LQ
                  DYHUDJH GHVLJQ YDOXHV H[FHHGLQJ WKH 1$$46  (3$ LGHQWLILHG PDLQWHQDQFH
                UHFHSWRUV DV WKRVH PRQLWRULQJ VLWHV ZLWK PD[LPXP GHVLJQ YDOXHV H[FHHGLQJ WKH
                1$$462XWVLGHRI&DOLIRUQLDWKHUHDUHPRQLWRULQJVLWHVWKDWZHUHLGHQWLILHGDV
                HLWKHUSRWHQWLDOQRQDWWDLQPHQWRUPDLQWHQDQFHUHFHSWRUV
                
                $IWHULGHQWLI\LQJWKHVHUHFHSWRUV(3$WKHQSHUIRUPHGQDWLRQZLGHVWDWHOHYHOR]RQH
                VRXUFHDSSRUWLRQPHQWPRGHOLQJXVLQJWKH&$0[$QWKURSRJHQLF3UHFXUVRU&XOSDELOLW\
                $QDO\VLV $3&$ WHFKQLTXHWRSURYLGHLQIRUPDWLRQUHJDUGLQJWKHH[SHFWHGFRQWULEXWLRQ
                RI  EDVH FDVH QLWURJHQ R[LGHV 12[  DQG YRODWLOH RUJDQLF FRPSRXQG 92& 
                HPLVVLRQVIURPDOOVRXUFHVLQHDFKVWDWHWRSURMHFWHGR]RQHFRQFHQWUDWLRQVDWHDFK
                DLUTXDOLW\PRQLWRULQJVLWH,QSUHYLRXVIHGHUDOUHJXODWRU\DFWLRQVVXFKDVWKH&OHDQ
                $LU ,QWHUVWDWH 5XOH &$,5  WKH &URVV6WDWH $LU 3ROOXWLRQ 5XOH &6$35  DQG WKH
                &6$358SGDWH5XOH(3$KDVXVHGDWKUHVKROGRIRIWKHR]RQH1$$46VWDQGDUG
                WR GHWHUPLQH LI D VWDWH VLJQLILFDQWO\ FRQWULEXWHV WR QRQDWWDLQPHQW RU LQWHUIHUHV ZLWK
                PDLQWHQDQFHRIDGRZQZLQGUHFHSWRU2QHSHUFHQW  RIWKHSSEVWDQGDUGLV
                SSE  $GGLWLRQDOO\ WKH (3$ LVVXHG ILQDO JXLGDQFH HQWLWOHG *XLGDQFH RQ 6LJQLILFDQW
                ,PSDFW /HYHOV IRU 2]RQH DQG )LQH 3DUWLFOHV LQ WKH 3UHYHQWLRQ RI 6LJQLILFDQW
                'HWHULRUDWLRQ3HUPLWWLQJ3URJUDP,QWKDWJXLGDQFHWKH(3$UHFRPPHQGVDQR]RQH


2]RQH,QIUDVWUXFWXUH6,33URQJV )LQDO
6WDWHRI0LVVLVVLSSL
         Case: 23-60069                  Document: 438-3   Page: 253        Date Filed: 09/26/2023




                VLJQLILFDQWLPSDFWOHYHO 6,/ RISSEEDVHGRQDQDLUTXDOLW\YDULDELOLW\DQDO\VLV
                DQG WKH IRXUWK KLJKHVW GDLO\ PD[LPXP KRXU FRQFHQWUDWLRQ DYHUDJHG RYHU WKUHH
                \HDUV 
                
                7DEOH  OLVWV 0LVVLVVLSSL¶V PRGHO QLWURJHQ R[LGH 12[  FRQWULEXWLRQV SSE  WR 
                1RQDWWDLQPHQWDQG0DLQWHQDQFH6LWHV
                
                0LVVLVVLSSL¶V PRGHOHG FRQWULEXWLRQV LV EHORZ  RI WKH 1$$46 WR DOO PRQLWRUV
                PRGHOHGWREHLQQRQDWWDLQPHQWRULQPDLQWHQDQFHRIWKH21$$46H[FHSWIRU
                6LWH,'LQ+DUULV&RXQW\7;)RUWKLVPRQLWRU0LVVLVVLSSL¶VFRQWULEXWLRQ
                LVPRGHOHGWREHSSEZKLFKLVRIWKHVWDQGDUGEXWEHORZSSERI2,W
                PXVWEHQRWHGKRZHYHUWKDWWKRXJKWKHGHVLJQYDOXHIRUWKLVPRQLWRUHGZDVSURMHFWHG
                WREHRYHUWKH21$$46WKHDFWXDOGHVLJQYDOXHLVSSEIRU7KH
                7DEOHOLVWVWKHGHVLJQYDOXHVIRU

                2Q $XJXVW   (3$ UHOHDVHG D PHPRUDQGXP WLWOHG Analysis of Contribution
                Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport
                State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
                Quality Standards  ,Q WKLV PHPRUDQGXP (3$ SURYLGHG DQDO\WLFDO LQIRUPDWLRQ
                UHJDUGLQJ WKH GHJUHH WR ZKLFK FHUWDLQ DLU TXDOLW\ WKUHVKROG DPRXQWV FDSWXUH WKH
                FROOHFWLYHDPRXQWRIXSZLQGFRQWULEXWLRQIURPXSZLQGVWDWHVWRGRZQZLQGUHFHSWRUV
                IRU WKH  2 1$$46  %HFDXVH WKH DPRXQW RI XSZLQG FROOHFWLYH FRQWULEXWLRQ
                FDSWXUHGZLWKWKHDQGSSEWKUHVKROGVLVJHQHUDOO\FRPSDUDEOH(3$FRQFOXGHG
                WKDWLWPD\EHUHDVRQDEOHDQGDSSURSULDWHIRUVWDWHVWRXVHDSSEFRQWULEXWLRQWKUHVKROG
                DVDQDOWHUQDWLYHWRDWKUHVKROGLQGHYHORSLQJ6,3UHYLVLRQVDGGUHVVLQJWKHJRRG
                QHLJKERUSURYLVLRQIRUWKH2VWDQGDUG
                
                %DVHGRQ(3$¶VPRGHOLQJ0LVVLVVLSSLLVEHORZWKHSSEWKUHVKROGIRUDOOPRQLWRULQJ
                VLWHVLQ7DEOHZKLFKDUHSURMHFWHGWREHQRQDWWDLQPHQWRUPDLQWHQDQFHLQGLFDWLQJ
                WKDW 0LVVLVVLSSL GRHV QRW VLJQLILFDQWO\ FRQWULEXWH WR QRQDWWDLQPHQW RU LQWHUIHUH ZLWK
                PDLQWHQDQFHRIDGRZQZLQGUHFHSWRULQDQRWKHUVWDWH
                
                $GGLWLRQDOO\RQ2FWREHU(3$UHOHDVHGDPHPRUDQGXPWLWOHGConsiderations
                for Identifying Maintenance Receptors for Use in Clean Air Act Section 11
                0(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for the
                2015 Ozone National Ambient Air Quality Standards  ,Q WKLV PHPRUDQGXP (3$
                VWDWHGLWVFRQFOXVLRQWKDW³VWDWHVPD\LQVRPHFDVHVHOLPLQDWHDVLWHDVDPDLQWHQDQFH
                UHFHSWRULIWKHVLWHLVFXUUHQWO\PHDVXULQJFOHDQGDWD´
                
                )XUWKHUPRUH WKH PHPR VWDWHV ³(3$ ZRXOG H[SHFW VWDWHV WR LQFOXGH ZLWK WKHLU 6,3
                GHPRQVWUDWLRQWHFKQLFDODQDO\VHVVKRZLQJWKDW
                
                      D PHWHRURORJLFDOFRQGLWLRQVLQWKHDUHDRIWKHPRQLWRULQJVLWHZHUHFRQGXFLYHWR
                    R]RQHIRUPDWLRQGXULQJWKHSHULRGRIFOHDQGDWDRUGXULQJWKHDOWHUQDWLYHEDVHSHULRG
                    GHVLJQYDOXHXVHGIRUSURMHFWLRQV



2]RQH,QIUDVWUXFWXUH6,33URQJV )LQDO
6WDWHRI0LVVLVVLSSL
         Case: 23-60069                  Document: 438-3          Page: 254       Date Filed: 09/26/2023




                      E R]RQHFRQFHQWUDWLRQVKDYHEHHQWUHQGLQJGRZQZDUGDWWKHVLWHVLQFH DQG
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                     FRPSRXQGV 92& KDYHDOVRGHFUHDVHG DQG
                      F  HPLVVLRQV DUH H[SHFWHG WR FRQWLQXH WR GHFOLQH LQ WKH XSZLQG DQG GRZQZLQG
                     VWDWHVRXWWRWKHDWWDLQPHQWGDWHRIWKHUHFHSWRU´
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                                +RXVWRQKDVEHHQPHHWLQJWKHR]RQHVWDQGDUGRISSEVLQFH
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                                  7DEOH   VKRZ WKDW GXULQJ WKH  WLPHIUDPH WZR RXW RI WKH IRXU
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         Case: 23-60069                     Document: 438-3          Page: 255         Date Filed: 09/26/2023




                         E     2]RQH FRQFHQWUDWLRQDWWKH'HHU3DUNVLWHKDYHEHHQWUHQGLQJGRZQZDUG
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                                GHFOLQHLQWKHXSZLQGDQGGRZQZLQGVWDWHV
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               WKDW WKH 6,3 FRQWDLQV DGHTXDWH SURYLVLRQV WR FRQWLQXH PDLQWHQDQFH RI WKH 
               2]RQH1$$46DQGSUHYHQWVRXUFHVDQGRWKHUW\SHVRIHPLVVLRQVDFWLYLWLHVZLWKLQ
               WKHVWDWHIURPLQWHUIHULQJZLWKPDLQWHQDQFH SURQJ LQDQ\RWKHUVWDWHZLWKUHVSHFW
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(ii) Each such Plan shall […] contain adequate provisions insuring compliance with the applicable
requirements of sections 115 and 126(b) that involve ozone precursor emissions (relating to
interstate and international pollution abatement).” EPA has no reason to approve or disapprove
any existing state rules with regard to these provisions.
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LPSDFWVIURPQHZRUPRGLILHGVRXUFHVWRVWDWHDQGORFDODJHQFLHVRIQHLJKERULQJVWDWHV7KHUHIRUH
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         Case: 23-60069                  Document: 438-3   Page: 257   Date Filed: 09/26/2023




                5HVSRQVHWR&RPPHQWVIRU0LVVLVVLSSL2]RQH,QIUDVWUXFWXUH6,3
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                3XEOLFSDUWLFLSDWLRQIRU0LVVLVVLSSL2]RQH,QIUDVWUXFWXUH6,3
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                SXEOLF UHYLHZ LQ WKH PDLQ EUDQFKHV RI WKH SXEOLF OLEUDULHV LQ *XOISRUW -DFNVRQ DQG
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                                              3XEOLF1RWLFH
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Case: 23-60069   Document: 438-3   Page: 263   Date Filed: 09/26/2023
Case: 23-60069   Document: 438-3   Page: 264   Date Filed: 09/26/2023
   Case: 23-60069   Document: 438-3   Page: 265   Date Filed: 09/26/2023




     Tab R4-10: Air Quality State Implementation Plans;
    Approvals and Promulgations: Alabama, Mississippi,
  Tennessee; Interstate Transport Requirements for the
2015 8-Hour Ozone National Ambient Air Quality Standards
         (Feb. 22, 2022) (EPA-R04-OAR-2021-0841-0010)
                                                                 Case: 23-60069                     Document: 438-3                   Page: 266            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                      9545

                                                not significantly or uniquely affect small              proposes to disapprove a SIP                           has selected a nationally uniform
                                                governments. The action imposes no                      submission as not meeting the CAA.                     analytic year (2023) for this analysis and
                                                enforceable duty on any state, local or                                                                        is applying a nationally uniform
                                                                                                        K. CAA Section 307(b)(1)
                                                tribal governments or the private sector.                                                                      approach to nonattainment and
                                                                                                           Section 307(b)(1) of the CAA governs                maintenance receptors and a nationally
                                                E. Executive Order 13132: Federalism                    judicial review of final actions by the                uniform approach to contribution
                                                  This action does not have federalism                  EPA. This section provides, in part, that              threshold analysis.38 For these reasons,
                                                implications. It will not have substantial              petitions for review must be filed in the              the Administrator intends, if this
                                                direct effects on the states, on the                    D.C. Circuit: (i) When the agency action               proposed action is finalized, to exercise
                                                relationship between the national                       consists of ‘‘nationally applicable                    the complete discretion afforded to him
                                                government and the states, or on the                    regulations promulgated, or final actions              under the CAA to make and publish a
                                                distribution of power and                               taken, by the Administrator,’’ or (ii)                 finding that this action is based on one
                                                responsibilities among the various                      when such action is locally or regionally              or more determinations of nationwide
                                                levels of government.                                   applicable, if ‘‘such action is based on               scope or effect for purposes of CAA
                                                                                                        a determination of nationwide scope or                 section 307(b)(1).39
                                                F. Executive Order 13175: Consultation
                                                                                                        effect and if in taking such action the
                                                and Coordination With Indian Tribal                                                                            List of Subjects in 40 CFR Part 52
                                                                                                        Administrator finds and publishes that
                                                Governments
                                                                                                        such action is based on such a                           Environmental protection, Air
                                                   This action does not have tribal                     determination.’’ For locally or regionally             pollution control, Incorporation by
                                                implications as specified in Executive                  applicable final actions, the CAA                      reference, Ozone.
                                                Order 13175. This action does not apply                 reserves to the EPA complete discretion                  Authority: 42 U.S.C. 7401 et seq.
                                                on any Indian reservation land, any                     whether to invoke the exception in
                                                other area where the EPA or an Indian                                                                            Dated: February 9, 2022.
                                                                                                        (ii).37
                                                tribe has demonstrated that a tribe has                    If the EPA takes final action on this               Meghan A. McCollister,
                                                jurisdiction, or non-reservation areas of               proposed rulemaking the Administrator                  Regional Administrator, Region 7.
                                                Indian country. Thus, Executive Order                   intends to exercise the complete                       [FR Doc. 2022–03183 Filed 2–18–22; 8:45 am]
                                                13175 does not apply to this action.                    discretion afforded to him under the                   BILLING CODE 6560–50–P

                                                G. Executive Order 13045: Protection of                 CAA to make and publish a finding that
                                                Children From Environmental Health                      the final action (to the extent a court
                                                                                                        finds the action to be locally or                      ENVIRONMENTAL PROTECTION
                                                Risks and Safety Risks                                                                                         AGENCY
                                                                                                        regionally applicable) is based on a
                                                  The EPA interprets Executive Order                    determination of ‘‘nationwide scope or
                                                13045 as applying only to those                         effect’’ within the meaning of CAA                     40 CFR Part 52
                                                regulatory actions that concern                         section 307(b)(1). Through this                        [EPA–R04–OAR–2021–0841; EPA–HQ–
                                                environmental health or safety risks that               rulemaking action (in conjunction with                 OAR–2021–0663; FRL–9421–01–R4]
                                                the EPA has reason to believe may                       a series of related actions on other SIP
                                                disproportionately affect children, per                 submissions for the same CAA                           Air Plan Disapproval; AL, MS, TN;
                                                the definition of ‘‘covered regulatory                  obligations), the EPA interprets and                   Interstate Transport Requirements for
                                                action’’ in section 2–202 of the                        applies section 110(a)(2)(d)(i)(I) of the              the 2015 8-Hour Ozone National
                                                Executive Order. This action is not                     CAA for the 2015 ozone NAAQS based                     Ambient Air Quality Standards
                                                subject to Executive Order 13045                        on a common core of nationwide policy                  AGENCY: Environmental Protection
                                                because it merely proposes to                           judgments and technical analysis
                                                disapprove a SIP submission as not                                                                             Agency (EPA).
                                                                                                        concerning the interstate transport of                 ACTION: Proposed rule and withdrawal
                                                meeting the CAA.                                        pollutants throughout the continental                  of proposed rule.
                                                H. Executive Order 13211, Actions That                  U.S. In particular, the EPA is applying
                                                Significantly Affect Energy Supply,                     here (and in other proposed actions                    SUMMARY: Pursuant to the Federal Clean
                                                Distribution or Use                                     related to the same obligations) the                   Air Act (CAA or the Act), the
                                                                                                        same, nationally consistent 4-step                     Environmental Protection Agency (EPA
                                                  This action is not subject to Executive               framework for assessing good neighbor                  or Agency) is proposing to disapprove
                                                Order 13211, because it is not a                        obligations for the 2015 ozone NAAQS.                  State Implementation Plan (SIP)
                                                significant regulatory action under                     The EPA relies on a single set of                      submittals from Alabama, Mississippi,
                                                Executive Order 12866.                                  updated, 2016-base year photochemical
                                                I. National Technology Transfer and                     grid modeling results of the year 2023                    38 A finding of nationwide scope or effect is also

                                                Advancement Act                                         as the primary basis for its assessment                appropriate for actions that cover states in multiple
                                                                                                                                                               judicial circuits. In the report on the 1977
                                                  This rulemaking does not involve                      of air quality conditions and                          Amendments that revised section 307(b)(1) of the
                                                technical standards.                                    contributions at steps 1 and 2 of that                 CAA, Congress noted that the Administrator’s
                                                                                                        framework. Further, the EPA proposes                   determination that the ‘‘nationwide scope or effect’’
                                                J. Executive Order 12898: Federal                       to determine and apply a set of                        exception applies would be appropriate for any
                                                Actions To Address Environmental                                                                               action that has a scope or effect beyond a single
                                                                                                        nationally consistent policy judgments                 judicial circuit. See H.R. Rep. No. 95–294 at 323,
                                                Justice in Minority Populations and                     to apply the 4-step framework. The EPA                 324, reprinted in 1977 U.S.C.C.A.N. 1402–03.
                                                Low-Income Populations                                                                                            39 The EPA may take a consolidated, single final
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                           37 In deciding whether to invoke the exception by   action on all of the proposed SIP disapproval
                                                  The EPA believes the human health or                  making and publishing a finding that an action is      actions with respect to obligations under CAA
                                                environmental risk addressed by this                    based on a determination of nationwide scope or        section 110(a)(2)(D)(i)(I) for the 2015 ozone
                                                action will not have potential                          effect, the Administrator takes into account a         NAAQS. Should EPA take a single final action on
                                                disproportionately high and adverse                     number of policy considerations, including his         all such disapprovals, this action would be
                                                                                                        judgment balancing the benefit of obtaining the D.C.   nationally applicable, and the EPA would also
                                                human health or environmental effects                   Circuit’s authoritative centralized review versus      anticipate, in the alternative, making and
                                                on minority, low-income or indigenous                   allowing development of the issue in other contexts    publishing a finding that such final action is based
                                                populations. This action merely                         and the best use of Agency resources.                  on a determination of nationwide scope or effect.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00091   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 267            Date Filed: 09/26/2023
                                                9546                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                and Tennessee regarding the interstate                  Implementation Branch, Air and                        Prevention (CDC), local area health
                                                transport requirements for the 2015 8-                  Radiation Division, U.S. Environmental                departments, and Federal partners so
                                                hour ozone national ambient air quality                 Protection Agency, Region 4, 61 Forsyth               that EPA can respond rapidly as
                                                standards (NAAQS or standard). The                      Street SW, Atlanta, Georgia 30303–8960.               conditions change regarding COVID–19.
                                                ‘‘Good Neighbor’’ or ‘‘Interstate                       Mr. Adams can be reached by telephone                    The indices to Docket No. EPA–R04–
                                                Transport’’ provision requires that each                at (404) 562–9009, or via electronic mail             OAR–2021–0841 and Docket No. EPA–
                                                state’s implementation plan contain                     at adams.evan@epa.gov.                                R04–OAR–2021–0841 are available
                                                adequate provisions to prohibit                         SUPPLEMENTARY INFORMATION: Public                     electronically at www.regulations.gov.
                                                emissions from within the state from                    Participation: Submit your comments,                  While all documents in each docket are
                                                significantly contributing to                           identified by Docket No. EPA–R04–                     listed in their respective index, some
                                                nonattainment or interfering with                       OAR–2021–0841, at https://                            information may not be publicly
                                                maintenance of the NAAQS in other                       www.regulations.gov. Once submitted,                  available due to docket file size
                                                states. This requirement is part of the                 comments cannot be edited or removed                  restrictions or content (e.g., CBI).
                                                broader set of ‘‘infrastructure’’                       from the docket. EPA may publish any                  Table of Contents
                                                requirements, which are designed to                     comment received to its public docket.
                                                ensure that the structural components of                Do not submit to EPA’s docket at                      I. Background
                                                each state’s air quality management                     https://www.regulations.gov any                          A. Description of Statutory Background
                                                program are adequate to meet the state’s                                                                         B. Description of EPA’s Four Step
                                                                                                        information you consider to be                              Interstate Transport Regulatory Process
                                                responsibilities under the CAA. These                   Confidential Business Information (CBI)                  C. Background on EPA’s Ozone Transport
                                                disapprovals, if finalized, will establish              or other information whose disclosure is                    Modeling Information
                                                a 2-year deadline for EPA to promulgate                 restricted by statute. Multimedia                        D. EPA’s Approach To Evaluating
                                                a Federal Implementation Plan (FIP) to                  submissions (audio, video, etc.) must be                    Interstate Transport SIPs for the 2015 8-
                                                address the relevant interstate transport               accompanied by a written comment.                           hour Ozone NAAQS
                                                requirements, unless EPA approves a                     The written comment is considered the                 II. SIP Submissions and EPA’s Evaluation
                                                subsequent SIP submittal that meets                     official comment and should include                      A. Alabama
                                                these requirements. Disapproval does                    discussion of all points you wish to                     B. Mississippi
                                                not start a mandatory sanctions clock.                                                                           C. Tennessee
                                                                                                        make. EPA will generally not consider                 III. Proposed Actions
                                                DATES: Comments. Comments on this                       comments or comment contents located                  IV. Statutory and Executive Order Reviews
                                                proposed rule must be received on or                    outside of the primary submission (i.e.,
                                                before April 25, 2022.                                  on the web, cloud, or other file sharing              I. Background
                                                   Withdrawal: As of February 22, 2022,                 system).                                                The following provides background
                                                the proposed rule published December                       There are two dockets supporting this              for EPA’s proposed actions related to
                                                30, 2019, at 84 FR 71854, is withdrawn.                 action, EPA–R04–OAR–2021–0841 and                     the interstate transport requirements for
                                                ADDRESSES: You may submit comments,                     EPA–HQ–OAR–2021–0663. Docket No.                      the 2015 8-hour ozone NAAQS for the
                                                identified by Docket No. EPA–R04–                       EPA–R04–OAR–2021–0841 contains                        states of Alabama, Mississippi, and
                                                OAR–2021–0841, through the Federal                      information specific to Alabama,                      Tennessee.
                                                eRulemaking Portal at https://                          Mississippi, and Tennessee, including
                                                www.regulations.gov following the                       this notice of proposed rulemaking.                   A. Description of Statutory Background
                                                online instructions for submitting                      Docket No. EPA–HQ–OAR–2021–0663                          On October 1, 2015, EPA promulgated
                                                comments.                                               contains additional modeling files,                   a revision to the ozone NAAQS (2015 8-
                                                   Instructions: All submissions received               emissions inventory files, technical                  hour ozone NAAQS), lowering the level
                                                must include the Docket No. EPA–R04–                    support documents, and other relevant                 of both the primary and secondary
                                                OAR–2021–0841 for this rulemaking.                      supporting documentation regarding                    standards to 0.070 parts per million
                                                Comments received may be posted                         interstate transport of emissions for the             (ppm).1 Section 110(a)(1) of the CAA
                                                without change to https://                              2015 8-hour ozone NAAQS which are                     requires states to submit, within 3 years
                                                www.regulations.gov/, including any                     being used to support this action. All                after promulgation of a new or revised
                                                personal information provided. For                      comments regarding information in                     standard, SIP submissions meeting the
                                                detailed instructions on submitting                     either of these dockets are to be made                applicable requirements of section
                                                comments and additional information                     in Docket No. EPA–R04–OAR–2021–                       110(a)(2).2 One of these applicable
                                                on the rulemaking process, see the                      0841. For the full EPA public comment                 requirements is found in CAA section
                                                ‘‘Public Participation’’ heading of the                 policy, information about CBI or                      110(a)(2)(D)(i)(I), otherwise known as
                                                SUPPLEMENTARY INFORMATION section of                    multimedia submissions, and general                   the ‘‘good neighbor’’ or ‘‘interstate
                                                this document. Out of an abundance of                   guidance on making effective                          transport’’ provision, which generally
                                                caution for members of the public and                   comments, please visit https://                       requires SIPs to contain adequate
                                                staff, the EPA Docket Center and                        www.epa.gov/dockets/commenting-epa-                   provisions to prohibit in-state emissions
                                                Reading Room are open to the public by                  dockets. Due to public health concerns                activities from having certain adverse
                                                appointment only to reduce the risk of                  related to COVID–19, the EPA Docket                   air quality effects on other states due to
                                                transmitting COVID–19. The Docket                       Center and Reading Room are open to
                                                Center staff also continues to provide                  the public by appointment only. The                     1 National Ambient Air Quality Standards for

                                                remote customer service via email,                      Docket Center staff also continues to                 Ozone, Final Rule, 80 FR 65292 (October 26, 2015).
                                                phone, and webform. For further                         provide remote customer service via                   Although the level of the standard is specified in
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                                                                              the units of ppm, ozone concentrations are also
                                                information on EPA Docket Center                        email, phone, and webform. For further                described in parts per billion (ppb). For example,
                                                services and the current status, please                 information and updates on EPA Docket                 0.070 ppm is equivalent to 70 ppb.
                                                visit EPA online at https://                            Center services, please visit EPA online                2 SIP revisions that are intended to meet the

                                                www.epa.gov/dockets.                                    at https://www.epa.gov/dockets.                       applicable requirements of section 110(a)(1) and (2)
                                                                                                                                                              of the CAA are often referred to as infrastructure
                                                FOR FURTHER INFORMATION CONTACT:                           EPA continues to carefully and                     SIPs and the applicable elements under section
                                                Evan Adams of the Air Regulatory                        continuously monitor information from                 110(a)(2) are referred to as infrastructure
                                                Management Section, Air Planning and                    the Centers for Disease Control and                   requirements.



                                           VerDate Sep<11>2014   18:17 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00092   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                  Case: 23-60069                    Document: 438-3                   Page: 268            Date Filed: 09/26/2023
                                                                       Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9547

                                                interstate transport of pollution. There                partnership with states, developed the                this preliminary modeling because that
                                                are two so-called ‘‘prongs’’ within CAA                 following 4-step interstate transport                 year aligns with the expected attainment
                                                section 110(a)(2)(D)(i)(I). A SIP for a                 framework to evaluate a state’s                       year for Moderate ozone nonattainment
                                                new or revised NAAQS must contain                       obligations to eliminate interstate                   areas for the 2015 8-hour ozone
                                                adequate provisions prohibiting any                     transport emissions under the interstate              NAAQS.9 On October 27, 2017, EPA
                                                source or other type of emissions                       transport provision for the ozone                     released a memorandum (October 2017
                                                activity within the state from emitting                 NAAQS: (1) Identify monitoring sites                  memorandum) containing updated
                                                air pollutants in amounts that will                     that are projected to have problems                   modeling data for 2023, which
                                                significantly contribute to                             attaining and/or maintaining the                      incorporated changes made in response
                                                nonattainment of the NAAQS in another                   NAAQS (i.e., nonattainment and/or                     to comments on the NODA, and noted
                                                state (prong 1) or interfere with                       maintenance receptors); (2) identify                  that the modeling may be useful for
                                                maintenance of the NAAQS in another                     states that impact those air quality                  states developing SIPs to address
                                                state (prong 2). EPA and states must give               problems in other (i.e., downwind)
                                                                                                                                                              interstate transport obligations for the
                                                independent significance to prong 1 and                 states sufficiently such that the states
                                                                                                                                                              2008 ozone NAAQS.10 On March 27,
                                                prong 2 when evaluating downwind air                    are considered ‘‘linked’’ and therefore
                                                                                                        warrant further review and analysis; (3)              2018, EPA issued a memorandum
                                                quality problems under CAA section
                                                                                                        identify the emissions reductions                     (March 2018 memorandum) noting that
                                                110(a)(2)(D)(i)(I).3
                                                                                                        necessary (if any), applying a                        the same 2023 modeling data released in
                                                B. Description of EPA’s Four Step                       multifactor analysis, to eliminate each               the October 2017 memorandum could
                                                Interstate Transport Regulatory Process                 linked upwind state’s significant                     also be useful for identifying potential
                                                   EPA is using the 4-step interstate                   contribution to nonattainment or                      downwind air quality problems with
                                                transport framework (or 4-step                          interference with maintenance of the                  respect to the 2015 8-hour ozone
                                                framework) to evaluate the states’                      NAAQS at the locations identified in                  NAAQS at Step 1 of the 4-step interstate
                                                implementation plan submittals                          Step 1; and (4) adopt permanent and                   transport framework.11 The March 2018
                                                addressing the interstate transport                     enforceable measures needed to achieve                memorandum also included the then
                                                provision for the 2015 8-hour ozone                     those emissions reductions.                           newly available contribution modeling
                                                NAAQS. EPA has addressed the                                                                                  data for 2023 to assist states in
                                                                                                        C. Background on EPA’s Ozone
                                                interstate transport requirements of                    Transport Modeling Information                        evaluating their impact on potential
                                                CAA section 110(a)(2)(D)(i)(I) with                                                                           downwind air quality problems for the
                                                                                                          In general, EPA has performed                       2015 8-hour ozone NAAQS under Step
                                                respect to prior ozone NAAQS in
                                                                                                        nationwide air quality modeling to                    2 of the 4-step interstate transport
                                                several regional regulatory actions,
                                                                                                        project ozone design values which are                 framework.12 EPA subsequently issued
                                                including the Cross-State Air Pollution
                                                                                                        used in combination with measured                     two more memoranda in August and
                                                Rule (CSAPR), which addressed
                                                                                                        data to identify nonattainment and
                                                interstate transport with respect to the                                                                      October 2018, providing additional
                                                                                                        maintenance receptors. To quantify the
                                                1997 ozone NAAQS as well as the 1997                                                                          information to states developing
                                                                                                        contribution of emissions from specific
                                                and 2006 fine particulate matter                                                                              interstate transport SIP submissions for
                                                                                                        upwind states on 2023 ozone design
                                                standards,4 the Cross-State Air Pollution                                                                     the 2015 8-hour ozone NAAQS
                                                                                                        values for the identified downwind
                                                Rule Update (CSAPR Update) 5 and the                                                                          concerning, respectively, potential
                                                                                                        nonattainment and maintenance
                                                Revised CSAPR Update, both of which                     receptors, EPA performed nationwide,                  contribution thresholds that may be
                                                addressed the 2008 ozone NAAQS.6                        state-level ozone source apportionment                appropriate to apply in Step 2 of the 4-
                                                   Through the development and                          modeling for 2023. The source                         step interstate transport framework, and
                                                implementation of the CSAPR                             apportionment modeling provided                       considerations for identifying
                                                rulemakings and prior regional                          contributions to ozone at receptors from              downwind areas that may have
                                                rulemakings pursuant to the interstate                  precursor emissions of anthropogenic                  problems maintaining the standard at
                                                transport provision,7 EPA, working in                   nitrogen oxides (NOX) and volatile
                                                  3 See North Carolina v. EPA, 531 F.3d 896, 909–
                                                                                                        organic compounds (VOCs) in                             9 See 82 FR 1733, 1735 (January 6, 2017).
                                                                                                                                                                 10 See Information on the Interstate Transport
                                                11 (D.C. Cir. 2008).
                                                                                                        individual upwind states.
                                                                                                                                                              State Implementation Plan Submissions for the
                                                   4 See Federal Implementation Plans: Interstate         EPA has released several documents                  2008 Ozone National Ambient Air Quality
                                                Transport of Fine Particulate Matter and Ozone and      containing projected design values,                   Standards under Clean Air Act Section
                                                Correction of SIP Approvals, 76 FR 48208 (August        contributions, and information relevant               110(a)(2)(D)(i)(I), October 27, 2017 (‘‘October 2017
                                                8, 2011).                                               to evaluating interstate transport with               memorandum’’), available in Docket No. EPA–HQ–
                                                   5 Cross-State Air Pollution Rule Update for the                                                            OAR–2021–0663 or at https://www.epa.gov/
                                                2008 Ozone NAAQS, 81 FR 74504 (October 26,
                                                                                                        respect to the 2015 8-hour ozone                      interstate-air-pollution-transport/interstate-air-
                                                2016).                                                  NAAQS. First, on January 6, 2017, EPA                 pollution-transport-memos-and-notices.
                                                   6 In 2019, the United States Court of Appeals for    published a notice of data availability                  11 See Information on the Interstate Transport

                                                the District of Columbia Circuit (D.C. Circuit)         (NODA) in which the Agency requested                  State Implementation Plan Submissions for the
                                                remanded CSAPR Update to the extent it failed to        comment on preliminary interstate                     2015 Ozone National Ambient Air Quality
                                                require upwind states to eliminate their significant                                                          Standards under Clean Air Act Section
                                                contribution by the next applicable attainment date     ozone transport data including projected              110(a)(2)(D)(i)(I), March 27, 2018 (‘‘March 2018
                                                by which downwind states must come into                 ozone design values and interstate                    memorandum’’), available in Docket No. EPA–HQ–
                                                compliance with the NAAQS, as established under         contributions for 2023 using a 2011 base              OAR–2021–0663 or at https://www.epa.gov/
                                                CAA section 181(a). Wisconsin v. EPA, 938 F.3d          year platform.8 In the NODA, EPA used                 interstate-air-pollution-transport/interstate-air-
                                                303, 313 (D.C. Cir. 2019). The Revised CSAPR                                                                  pollution-transport-memos-and-notices.
lotter on DSK11XQN23PROD with PROPOSALS1




                                                Update for the 2008 Ozone NAAQS, 86 FR 23054            the year 2023 as the analytic year for                   12 The March 2018 memorandum, however,
                                                (April 30, 2021), responded to the remand of                                                                  provided, ‘‘While the information in this
                                                CSAPR Update in Wisconsin and the vacatur of a          27, 1998), and the ‘‘Clean Air Interstate Rule’’      memorandum and the associated air quality
                                                separate rule, the ‘‘CSAPR Close-Out,’’ 83 FR 65878     (CAIR), 70 FR 25162 (May 12, 2005).                   analysis data could be used to inform the
                                                (December 21, 2018), in New York v. EPA, 781 F.           8 See Notice of Availability of the Environmental   development of these SIPs, the information is not
                                                App’x. 4 (D.C. Cir. 2019).                              Protection Agency’s Preliminary Interstate Ozone      a final determination regarding states’ obligations
                                                   7 In addition to CSAPR rulemakings, other            Transport Modeling Data for the 2015 8-hour Ozone     under the good neighbor provision. Any such
                                                regional rulemakings addressing ozone transport         National Ambient Air Quality Standard (NAAQS),        determination would be made through notice-and-
                                                include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October      82 FR 1733 (January 6, 2017).                         comment rulemaking.’’



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00093   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 269            Date Filed: 09/26/2023
                                                9548                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                Step 1 of the 4-step interstate transport               closures, and other sector trends. The                approvability of interstate transport SIP
                                                framework.13                                            construct of the updated emissions                    submittals for the 2015 8-hour ozone
                                                   Since the release of the modeling data               platform, 2016v2, is described in the                 NAAQS. These policy judgments reflect
                                                shared in the March 2018                                Preparation of Emissions Inventories for              consistency with relevant case law and
                                                memorandum, EPA performed updated                       the 2016v2 North American Emissions                   past agency practice as reflected in
                                                modeling using a 2016-based emissions                   Modeling Platform technical support                   CSAPR and related rulemakings.
                                                modeling platform (i.e., 2016v1). This                  document (TSD) for this proposed rule                 Nationwide consistency in approach is
                                                emissions platform was developed                        and is included in Docket No. EPA–HQ–                 particularly important in the context of
                                                under the EPA/Multi-Jurisdictional                      OAR–2021–0663. EPA performed air                      interstate ozone transport, which is a
                                                Organization (MJO)/state collaborative                  quality modeling of the 2016v2                        regional-scale pollution problem
                                                project.14 This collaborative project was               emissions using the most recent public                involving many smaller contributors.
                                                a multi-year joint effort by EPA, MJOs,                 release version of the Comprehensive                  Effective policy solutions to the problem
                                                and states to develop a new, more recent                Air Quality Modeling with Extensions                  of interstate ozone transport going back
                                                emissions platform for use by EPA and                   (CAMx) photochemical modeling,                        to the NOx SIP Call have necessitated
                                                states in regulatory modeling as an                     version 7.10.18 EPA proposes to                       the application of a uniform framework
                                                improvement over the dated 2011-based                   primarily rely on modeling based on the               of policy judgments in order to ensure
                                                platform that EPA had used to project                   updated and newly available 2016v2                    an ‘‘efficient and equitable’’ approach.
                                                ozone design values and contribution                    emissions platform in evaluating these                See EME Homer City Generation, LP v.
                                                data provided in the 2017 and 2018                      submissions with respect to Steps 1 and               EPA, 572 U.S. 489, 519 (2014).
                                                memoranda. EPA used the 2016v1                          2 of the 4-step interstate transport                     In the March, August, and October
                                                emissions to project ozone design values                framework. By using the updated                       2018 memoranda, EPA recognized that
                                                and contributions for 2023. On October                  modeling results, EPA is using the most               states may be able to establish
                                                30, 2020, in the Notice of Proposed                     current and technically appropriate                   alternative approaches to addressing
                                                Rulemaking for the Revised CSAPR                        information for this proposed                         their interstate transport obligations for
                                                Update, EPA released and accepted                       rulemaking. Section II of this notice and             the 2015 8-hour ozone NAAQS that vary
                                                public comment on 2023 modeling that                    the Air Quality Modeling TSD included                 from a nationally uniform framework.
                                                used the 2016v1 emissions platform.15                   in Docket No. EPA–HQ–OAR–2021–                        EPA emphasized in these memoranda,
                                                Although the Revised CSAPR Update                       0663 for this proposal contain                        however, that such alternative
                                                addressed transport for the 2008 ozone                  additional detail on the modeling                     approaches must be technically justified
                                                NAAQS, the projected design values                      performed using the 2016v2 emissions                  and appropriate in light of the facts and
                                                and contributions from the 2016v1                       modeling.                                             circumstances of each particular state’s
                                                platform are also useful for identifying                   In this notice, EPA is accepting public            submittal. In general, EPA continues to
                                                downwind ozone problems and linkages                    comment on this updated 2023                          believe that deviation from a nationally
                                                with respect to the 2015 8-hour ozone                   modeling, which uses the 2016v2                       consistent approach to ozone transport
                                                NAAQS.16                                                emissions platform. Details on the air                must be substantially justified and have
                                                   Following the Revised CSAPR Update                   quality modeling and the methods for                  a well-documented technical basis that
                                                final rule, EPA made further updates to                 projecting design values and                          is consistent with relevant case law.
                                                the 2016 emissions platform to include                  determining contributions in 2023 are                 Where states submitted SIPs that rely on
                                                mobile emissions from EPA’s Motor                       described in the Air Quality Modeling                 any such potential concepts as may
                                                Vehicle Emission Simulator (MOVES)                      TSD for 2015 8-hour ozone NAAQS                       have been identified or suggested in the
                                                model 17 and updated emissions                          Transport SIP Proposed Actions.                       past, EPA will evaluate whether the
                                                projections for electric generating units               Comments on EPA’s air quality                         state adequately justified the technical
                                                (EGUs) that reflect the emissions                       modeling should be submitted in Docket                and legal basis for doing so.
                                                reductions from the Revised CSAPR                       No. EPA–R04–OAR–2021–0841.                               EPA notes that certain potential
                                                Update, recent information on plant                     Comments are not being accepted in                    concepts included in an attachment to
                                                                                                        Docket No. EPA–HQ–OAR–2021–0663.                      the March 2018 memorandum require
                                                  13 See Analysis of Contribution Thresholds for
                                                                                                           States may have chosen to rely on the              unique consideration, and these ideas
                                                Use in Clean Air Act Section 110(a)(2)(D)(i)(I)                                                               do not constitute agency guidance with
                                                Interstate Transport State Implementation Plan          results of EPA modeling and/or
                                                Submissions for the 2015 Ozone National Ambient         alternative modeling performed by                     respect to transport obligations for the
                                                Air Quality Standards, August 31, 2018) (‘‘August       states or Multi-Jurisdictional                        2015 8-hour ozone NAAQS. Attachment
                                                2018 memorandum’’), and Considerations for              Organizations (MJOs) to evaluate                      A to the March 2018 memorandum
                                                Identifying Maintenance Receptors for Use in Clean                                                            identified a ‘‘Preliminary List of
                                                Air Act Section 110(a)(2)(D)(i)(I) Interstate           downwind air quality problems and
                                                Transport State Implementation Plan Submissions         contributions as part of their                        Potential Flexibilities’’ that could
                                                for the 2015 Ozone National Ambient Air Quality         submissions. In Section II, EPA                       potentially inform SIP development.19
                                                Standards, October 19, 2018 (‘‘October 2018
                                                                                                        evaluates how Alabama, Mississippi,                   However, EPA made clear in that
                                                memorandum’’), available in Docket No. EPA–HQ–                                                                attachment that the list of ideas were
                                                OAR–2021–0663 or at https://www.epa.gov/                and Tennessee used air quality
                                                airmarkets/memo-and-supplemental-information-           modeling information in their                         not suggestions endorsed by the Agency
                                                regarding-interstate-transport-sips-2015-ozone-         submissions.                                          but rather ‘‘comments provided in
                                                naaqs.                                                                                                        various forums’’ on which EPA sought
                                                  14 The results of this modeling, as well as the       D. EPA’s Approach to Evaluating                       ‘‘feedback from interested
                                                underlying modeling files, are included in Docket       Interstate Transport SIPs for the 2015 8-
                                                No. EPA–HQ–OAR–2021–0663.                                                                                     stakeholders.’’ 20 Further, Attachment A
                                                                                                        Hour Ozone NAAQS
lotter on DSK11XQN23PROD with PROPOSALS1




                                                  15 See 85 FR 68964, 68981 (October 30, 2020).                                                               stated, ‘‘EPA is not at this time making
                                                  16 See the Air Quality Modeling Technical                EPA proposes to apply a consistent                 any determination that the ideas
                                                Support Document for the Final Revised Cross-State      set of policy judgments across all states             discussed below are consistent with the
                                                Air Pollution Rule Update, included in Docket No.                                                             requirements of the CAA, nor is EPA
                                                EPA–HQ–OAR–2021–0663.
                                                                                                        for purposes of evaluating interstate
                                                  17 Additional details and documentation related       transport obligations and the                         specifically recommending that states
                                                to the MOVES3 model can be found at https://
                                                                                                                                                                19 March 2018 memorandum, Attachment A.
                                                www.epa.gov/moves/latest-version-motor-vehicle-           18 Ramboll Environment and Health, January

                                                emission-simulator-moves.                               2021, www.camx.com.                                     20 Id. at A–1.




                                           VerDate Sep<11>2014   18:17 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00094   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 270            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                    9549

                                                use these approaches.’’ 21 Attachment A                 the Good Neighbor Provision,’’ and,                   past, because the Agency interprets the
                                                to the March 2018 memorandum,                           therefore, ‘‘EPA must find a violation [of            interstate transport provision as forward
                                                therefore, does not constitute agency                   section 126] if an upwind source will                 looking. See 86 FR 23054, 23074; see
                                                guidance, but was intended to generate                  significantly contribute to downwind                  also Wisconsin, 938 F.3d at 322.
                                                further discussion around potential                     nonattainment at the next downwind                    Consequently, in this proposal EPA will
                                                approaches to addressing ozone                          attainment deadline. Therefore, the                   use the analytical year of 2023 to
                                                transport among interested stakeholders.                agency must evaluate downwind air                     evaluate each state’s CAA section
                                                To the extent states sought to develop or               quality at that deadline, not at some                 110(a)(2)(D)(i)(I) SIP submission with
                                                rely on these ideas in support of their                 later date.’’ Id. at 1204 (emphasis                   respect to the 2015 8-hour ozone
                                                SIP submittals, EPA will thoroughly                     added). EPA interprets the court’s                    NAAQS.
                                                review the technical and legal                          holding in Maryland as requiring the
                                                                                                                                                              2. Step 1 of the 4-Step Interstate
                                                justifications for doing so.                            states and the Agency, under the good
                                                   The remainder of this section                                                                              Transport Framework
                                                                                                        neighbor provision, to assess downwind
                                                describes the EPA’s proposed                            air quality as expeditiously as                          In Step 1, EPA identifies monitoring
                                                framework with respect to analytic year,                practicable and no later than the next                sites that are projected to have problems
                                                definition of nonattainment and                         applicable attainment date,23 which is                attaining and/or maintaining the
                                                maintenance receptors, selection of                     now the Moderate area attainment date                 NAAQS in the 2023 analytic year.
                                                contribution threshold, and multifactor                 under CAA section 181 for ozone                       Where EPA’s analysis shows that a site
                                                control strategy assessment.                            nonattainment. The Moderate area                      does not fall under the definition of a
                                                                                                        attainment date for the 2015 8-hour                   nonattainment or maintenance receptor,
                                                1. Selection of Analytic Year                                                                                 that site is excluded from further
                                                                                                        ozone NAAQS is August 3, 2024.24 EPA
                                                   In general, the states and EPA must                  believes that 2023 is now the                         analysis under EPA’s 4-step interstate
                                                implement the interstate transport                      appropriate year for analysis of                      transport framework. For sites that are
                                                provision in a manner ‘‘consistent with                 interstate transport obligations for the              identified as a nonattainment or
                                                the provisions of [title I of the CAA.]’’               2015 8-hour ozone NAAQS, because the                  maintenance receptor in 2023, EPA
                                                See CAA section 110(a)(2)(D)(i). This                   2023 ozone season is the last relevant                proceeds to the next step of the 4-step
                                                requires, among other things, that these                ozone season during which achieved                    interstate transport framework by
                                                obligations are addressed consistently                  emissions reductions in linked upwind                 identifying the upwind state’s
                                                with the timeframes for downwind areas                  states could assist downwind states                   contribution to those receptors.
                                                to meet their CAA obligations. With                     with meeting the August 3, 2024,                         EPA’s approach to identifying ozone
                                                respect to ozone NAAQS, under CAA                       Moderate area attainment date for the                 nonattainment and maintenance
                                                section 181(a), this means obligations                  2015 8-hour ozone NAAQS.                              receptors in this action is consistent
                                                must be addressed ‘‘as expeditiously as                    EPA recognizes that the attainment                 with the approach used in previous
                                                practicable’’ and no later than the                     date for nonattainment areas classified               transport rulemakings. EPA’s approach
                                                schedule of attainment dates provided                   as Marginal for the 2015 8-hour ozone                 gives independent consideration to both
                                                in CAA section 181(a)(1).22 Several D.C.                NAAQS was August 3, 2021. Under the                   the ‘‘contribute significantly to
                                                Circuit court decisions address the issue               Maryland holding, any necessary                       nonattainment’’ and the ‘‘interfere with
                                                of the relevant analytic year for the                   emissions reductions to satisfy interstate            maintenance’’ prongs of CAA section
                                                purposes of evaluating ozone transport                  transport obligations should have been                110(a)(2)(D)(i)(I), consistent with the
                                                air-quality problems. On September 13,                  implemented by no later than this date.               D.C. Circuit’s direction in North
                                                2019, the D.C. Circuit issued a decision                At the time of the statutory deadline to              Carolina v. EPA.25
                                                in Wisconsin v. EPA, remanding the                      submit interstate transport SIPs (October                For the purpose of this proposal, EPA
                                                CSAPR Update to the extent that it                      1, 2018), many states relied upon EPA                 identifies nonattainment receptors as
                                                failed to require upwind states to                      modeling of the year 2023, and no state               those monitoring sites that are projected
                                                eliminate their significant contribution                provided an alternative analysis using a              to have average design values that
                                                by the next applicable attainment date                  2021 analytic year (or the prior 2020                 exceed the NAAQS and that are also
                                                by which downwind states must come                      ozone season). However, EPA must act                  measuring nonattainment based on the
                                                into compliance with the NAAQS, as                      on SIP submittals using the information               most recent monitored design values.
                                                established under CAA section 181(a).                   available at the time it takes such action.           This approach is consistent with prior
                                                See 938 F.3d 303, 313.                                  In this circumstance, EPA does not                    transport rulemakings, such as the
                                                   On May 19, 2020, the D.C. Circuit                    believe it would be appropriate to                    CSAPR Update, where EPA defined
                                                issued a decision in Maryland v. EPA                    evaluate states’ obligations under CAA                nonattainment receptors as those areas
                                                that cited the Wisconsin decision in                    section 110(a)(2)(D)(i)(I) as of an                   that both currently measure
                                                holding that EPA must assess the impact                 attainment date that is wholly in the                 nonattainment and that EPA projects
                                                of interstate transport on air quality at                                                                     will be in nonattainment in the future
                                                the next downwind attainment date,                         23 EPA notes that the court in Maryland did not    analytic year (i.e., 2023).26
                                                including Marginal area attainment                      have occasion to evaluate circumstances in which         In addition, in this proposal, EPA
                                                                                                        EPA may determine that an upwind linkage to a         identifies a receptor to be a
                                                dates, in evaluating the basis for EPA’s                downwind air quality problem exists at Steps 1 and
                                                denial of a petition under CAA section                  2 of the interstate transport framework by a
                                                                                                                                                              ‘‘maintenance’’ receptor for purposes of
                                                126(b). Maryland v. EPA, 958 F.3d 1185,                 particular attainment date, but for reasons of
                                                                                                        impossibility or profound uncertainty the Agency is      25 See North Carolina v. EPA, 531 F.3d 896, 910–
                                                1203–04 (D.C. Cir. 2020). The court
                                                                                                        unable to mandate upwind pollution controls by        11 (D.C. Cir. 2008) (holding that EPA must give
lotter on DSK11XQN23PROD with PROPOSALS1




                                                noted that ‘‘section 126(b) incorporates                that date. See Wisconsin, 938 F.3d at 320. The D.C.   ‘‘independent significance’’ to each prong of CAA
                                                                                                        Circuit noted in Wisconsin that upon a sufficient     section 110(a)(2)(D)(i)(I)).
                                                  21 Id.                                                showing, these circumstances may warrant                 26 See 81 FR 74504 (October 26, 2016). This same
                                                  22 For attainment dates for the 2015 8-hour ozone     flexibility in effectuating the purpose of the        concept, relying on both current monitoring data
                                                NAAQS, refer to CAA section 181(a), 40 CFR              interstate transport provision.                       and modeling to define nonattainment receptor,
                                                51.1303, and Additional Air Quality Designations           24 See CAA section 181(a); 40 CFR 51.1303;         was also applied in CAIR. See 70 FR at 25241,
                                                for the 2015 Ozone National Ambient Air Quality         Additional Air Quality Designations for the 2015      25249 (January 14, 2005); see also North Carolina,
                                                Standards, 83 FR 25776 (June 4, 2018, effective         Ozone National Ambient Air Quality Standards, 83      531 F.3d at 913–14 (affirming as reasonable EPA’s
                                                August 3, 2018).                                        FR 25776 (June 4, 2018, effective August 3, 2018).    approach to defining nonattainment in CAIR).



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00095   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 271            Date Filed: 09/26/2023
                                                9550                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                defining interference with maintenance,                 3. Step 2 of the 4-Step Interstate                    of the NAAQS as the screening metric
                                                consistent with the method used in                      Transport Framework                                   to evaluate collective contribution from
                                                CSAPR and upheld by the D.C. Circuit                       In Step 2, EPA quantifies the                      many upwind states also allows EPA
                                                in EME Homer City Generation, L.P. v.                   contribution of each upwind state to                  (and states) to apply a consistent
                                                EPA, 795 F.3d 118, 136 (D.C. Cir.                       each receptor in the 2023 analytic year.              framework to evaluate interstate
                                                2015).27 Specifically, EPA identified                   The contribution metric used in Step 2                emissions transport under the interstate
                                                maintenance receptors as those                          is defined as the average impact from                 transport provision from one NAAQS to
                                                receptors that would have difficulty                    each state to each receptor on the days               the next. See 81 FR at 74518; see also
                                                maintaining the relevant NAAQS in a                     with the highest ozone concentrations at              86 FR at 23085 (reviewing and
                                                scenario that takes into account                        the receptor based on the 2023                        explaining rationale from CSAPR, 76 FR
                                                historical variability in air quality at                modeling. If a state’s contribution value             at 48237–38, for selection of 1 percent
                                                that receptor. The variability in air                   does not equal or exceed the threshold                threshold).
                                                quality was determined by evaluating                    of 1 percent of the NAAQS (i.e., 0.70                 (a) EPA’s Experience With Alternative
                                                the ‘‘maximum’’ future design value at                  ppb for the 2015 8-hour ozone NAAQS),                 Step 2 Thresholds
                                                each receptor based on a projection of                  the upwind state is not ‘‘linked’’ to a
                                                the maximum measured design value                                                                                EPA’s August 2018 memorandum
                                                                                                        downwind air quality problem, and                     recognized that in certain
                                                over the relevant period. EPA interprets                EPA, therefore, concludes that the state
                                                the projected maximum future design                                                                           circumstances, a state may be able to
                                                                                                        does not significantly contribute to                  establish that an alternative contribution
                                                value to be a potential future air quality              nonattainment or interfere with
                                                outcome consistent with the                                                                                   threshold of 1 ppb is justifiable. Where
                                                                                                        maintenance of the NAAQS in the                       a state relies on this alternative
                                                meteorology that yielded maximum                        downwind states. However, if a state’s
                                                measured concentrations in the ambient                                                                        threshold, and where that state
                                                                                                        contribution equals or exceeds the 1                  determined that it was not linked at
                                                data set analyzed for that receptor (i.e.,              percent threshold, the state’s emissions
                                                ozone conducive meteorology). EPA                                                                             Step 2 using the alternative threshold,
                                                                                                        are further evaluated in Step 3,                      EPA will evaluate whether the state
                                                also recognizes that previously                         considering both air quality and cost as
                                                experienced meteorological conditions                                                                         provided a technically sound
                                                                                                        part of a multi-factor analysis, to                   assessment of the appropriateness of
                                                (e.g., dominant wind direction,                         determine what, if any, emissions might
                                                temperatures, air mass patterns)                                                                              using this alternative threshold based on
                                                                                                        be deemed ‘‘significant’’ and, thus, must             the facts and circumstances underlying
                                                promoting ozone formation that led to                   be eliminated under CAA section
                                                maximum concentrations in the                                                                                 its application in the particular SIP
                                                                                                        110(a)(2)(D)(i)(I).                                   submission.
                                                measured data may reoccur in the                           EPA is proposing to rely in the first                 EPA here shares further evaluation of
                                                future. The maximum design value                        instance on the 1 percent threshold for               its experience since the issuance of the
                                                gives a reasonable projection of future                 the purpose of evaluating a state’s                   August 2018 memorandum regarding
                                                air quality at the receptor under a                     contribution to nonattainment or                      use of alternative thresholds at Step 2.
                                                scenario in which such conditions do,                   maintenance of the 2015 8-hour ozone                  This experience leads the Agency to
                                                in fact, reoccur. The projected                         NAAQS (i.e., 0.70 ppb) at downwind                    now believe it may not be appropriate
                                                maximum design value is used to                         receptors. This is consistent with the                to continue to attempt to recognize
                                                identify upwind emissions that, under                   Step 2 approach that EPA applied in                   alternative contribution thresholds at
                                                those circumstances, could interfere                    CSAPR for the 1997 ozone NAAQS,                       Step 2. The August 2018 memorandum
                                                with the downwind area’s ability to                     which has subsequently been applied in                stated that ‘‘it may be reasonable and
                                                maintain the NAAQS.                                     the CSAPR Update when evaluating                      appropriate’’ for states to rely on an
                                                   Recognizing that nonattainment                       interstate transport obligations for the              alternative threshold of 1 ppb threshold
                                                receptors are also, by definition,                      2008 ozone NAAQS. EPA continues to                    at Step 2.28 (The memorandum also
                                                maintenance receptors, the EPA often                    find 1 percent to be an appropriate                   indicated that any higher alternative
                                                uses the term ‘‘maintenance-only’’ to                   threshold. For ozone, as EPA found in                 threshold, such as 2 ppb, would likely
                                                refer to those receptors that are not                   the CAIR, CSAPR, and CSAPR Update,                    not be appropriate.) However, EPA also
                                                nonattainment receptors. Consistent                     a portion of the nonattainment problems               provided that ‘‘air agencies should
                                                with the concepts for maintenance                       from anthropogenic sources in the U.S.                consider whether the recommendations
                                                receptors, as described above, the EPA                  result from the combined impact of                    in this guidance are appropriate for each
                                                identifies ‘‘maintenance-only’’ receptors               relatively small contributions from                   situation.’’ Following receipt and review
                                                as those monitoring sites that have                     many upwind states, along with                        of 49 good neighbor SIP submittals for
                                                projected average design values above                   contributions from in-state sources and,              the 2015 8-hour ozone NAAQS, EPA’s
                                                the level of the applicable NAAQS, but                  in some cases, substantially larger                   experience has been that nearly every
                                                that are not currently measuring                        contributions from a subset of particular             state that attempted to rely on a 1 ppb
                                                nonattainment based on the most recent                  upwind states. EPA’s analysis shows                   threshold did not provide sufficient
                                                official design values. In addition, those              that much of the ozone transport                      information and analysis to support a
                                                monitoring sites with projected average                 problem being analyzed in this                        determination that an alternative
                                                design values below the NAAQS, but                      proposed rule is still the result of the              threshold was reasonable or appropriate
                                                with projected maximum design values                    collective impacts of contributions from              for that state.
                                                above the NAAQS are also identified as                  many upwind states. Therefore,                           For instance, in nearly all submittals,
                                                ‘‘maintenance-only’’ receptors, even if                 application of a consistent contribution
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                                                                              the states did not provide EPA with
                                                they are currently measuring                            threshold is necessary to identify those              analysis specific to their state or the
                                                nonattainment based on the most recent                  upwind states that should have                        receptors to which its emissions are
                                                official design values.                                 responsibility for addressing their                   potentially linked. In one case, the
                                                  27 See 76 FR 48208 (August 8, 2011). The CSAPR
                                                                                                        contribution to the downwind                          proposed approval of Iowa’s SIP
                                                Update and Revised CSAPR Update also used this
                                                                                                        nonattainment and maintenance                         submittal, EPA expended its own
                                                approach. See 81 FR 74504 (October 26, 2016) and        problems to which they collectively
                                                86 FR 23054 (April 30, 2021).                           contribute. Continuing to use 1 percent                 28 See August 2018 memorandum at 4.




                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00096   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                  Case: 23-60069                    Document: 438-3                   Page: 272            Date Filed: 09/26/2023
                                                                       Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                            9551

                                                resources to attempt to supplement the                  an alternative threshold would allow                  discussed further below, the basis for
                                                information submitted by the state, in                  certain states to avoid further evaluation            disapproval of Alabama, Mississippi,
                                                order to more thoroughly evaluate the                   of potential emission controls while                  and Tennessee’s SIP submissions with
                                                state-specific circumstances that could                 other states must proceed to a Step 3                 respect to the Step 2 analysis is, in the
                                                support approval.29 It was at EPA’s sole                analysis. This can create significant                 Agency’s view, warranted even under
                                                discretion to perform this analysis in                  equity and consistency problems among                 the terms of the August 2018
                                                support of the state’s submittal, and the               states.                                               memorandum. EPA invites comment on
                                                Agency is not obligated to conduct                         Further, it is not clear that national             this broader discussion of issues
                                                supplemental analysis to fill the gaps                  ozone transport policy is best served by              associated with alternative thresholds at
                                                whenever it believes a state’s analysis is              allowing for less stringent thresholds at             Step 2. Depending on comment and
                                                insufficient. The Agency no longer                      Step 2. EPA recognized in the August                  further evaluation of this issue, EPA
                                                intends to undertake supplemental                       2018 memorandum that there was some                   may determine to rescind the August
                                                analysis of SIP submittals with respect                 similarity in the amount of total upwind              2018 memorandum in the future.
                                                to alternative thresholds at Step 2 for                 contribution captured (on a nationwide
                                                purposes of the 2015 8-hour ozone                       basis) between 1 percent and 1 ppb.                   4. Step 3 of the 4-Step Interstate
                                                NAAQS.                                                  However, EPA notes that while this may                Transport Framework
                                                   Furthermore, EPA’s experience since                  be true in some sense, that is hardly a                  Consistent with EPA’s longstanding
                                                2018 is that allowing for alternative Step              compelling basis to move to a 1 ppb                   approach to eliminating significant
                                                2 thresholds may be impractical or                      threshold. Indeed, the 1 ppb threshold                contribution or interference with
                                                otherwise inadvisable for a number of                   has the disadvantage of losing a certain              maintenance, at Step 3, states linked at
                                                additional policy reasons. For a regional               amount of total upwind contribution for               Steps 1 and 2 are generally expected to
                                                air pollutant such as ozone, consistency                further evaluation at Step 3 (e.g.,                   prepare a multifactor assessment of
                                                in requirements and expectations across                 roughly 7 percent of total upwind state               potential emissions controls. EPA’s
                                                all states is essential. Based on its                   contribution was lost according to the                analysis at Step 3 in prior Federal
                                                review of submittals to-date and after                  modeling underlying the August 2018                   actions addressing interstate transport
                                                further consideration of the policy                     memorandum; 31 in EPA’s updated                       requirements has primarily focused on
                                                implications of attempting to recognize                 modeling, the amount lost is 5 percent).              an evaluation of cost-effectiveness of
                                                an alternative Step 2 threshold for                     Considering the core statutory objective              potential emissions controls (on a
                                                certain states, the Agency now believes                 of ensuring elimination of all significant            marginal cost-per-ton basis), the total
                                                the attempted use of different thresholds               contribution to nonattainment or                      emissions reductions that may be
                                                at Step 2 with respect to the 2015 8-hour               interference of the NAAQS in other                    achieved by requiring such controls (if
                                                ozone NAAQS raises substantial policy                   states and the broad, regional nature of              applied across all linked upwind states),
                                                consistency and practical                               the collective contribution problem with              and an evaluation of the air quality
                                                implementation concerns.30 The                          respect to ozone, there does not appear               impacts such emissions reductions
                                                availability of different thresholds at                 to be a compelling policy imperative in               would have on the downwind receptors
                                                Step 2 has the potential to result in                   allowing some states to use a 1 ppb                   to which a state is linked; other factors
                                                inconsistent application of good                        threshold while others rely on a 1                    may potentially be relevant if
                                                neighbor obligations based solely on the                percent of the NAAQS threshold.                       adequately supported. In general, where
                                                strength of a state’s implementation                       Consistency with past interstate
                                                                                                                                                              EPA’s or alternative air quality and
                                                plan submittal at Step 2 of the 4-step                  transport actions such as CSAPR, and
                                                                                                                                                              contribution modeling establishes that a
                                                interstate transport framework. From the                the CSAPR Update and Revised CSAPR
                                                                                                                                                              state is linked at Steps 1 and 2, it will
                                                perspective of ensuring effective                       Update rulemakings (which used a Step
                                                                                                        2 threshold of 1 percent of the NAAQS                 be insufficient at Step 3 for a state
                                                regional implementation of good                                                                               merely to point to its existing rules
                                                neighbor obligations, the more                          for two less stringent ozone NAAQS), is
                                                                                                        also important. Continuing to use a 1                 requiring control measures as a basis for
                                                important analysis is the evaluation of                                                                       approval. In general, the emissions-
                                                the emissions reductions needed, if any,                percent of NAAQS approach ensures
                                                                                                        that as the NAAQS are revised and                     reducing effects of all existing emissions
                                                to address a state’s significant                                                                              control requirements are already
                                                contribution after consideration of a                   made more stringent, an appropriate
                                                                                                        increase in stringency at Step 2 occurs,              reflected in the air quality results of the
                                                multifactor analysis at Step 3, including                                                                     modeling for Steps 1 and 2. If the state
                                                a detailed evaluation that considers air                so as to ensure an appropriately larger
                                                                                                        amount of total upwind-state                          is shown to still be linked to one or
                                                quality factors and cost. Where                                                                               more downwind receptor(s), states must
                                                alternative thresholds for purposes of                  contribution is captured for purposes of
                                                                                                        fully addressing interstate transport. See            provide a well-documented evaluation
                                                Step 2 may be ‘‘similar’’ in terms of                                                                         determining whether their emissions
                                                capturing the relative amount of upwind                 76 FR 48208, 48237–38 (August 8,
                                                                                                        2011).                                                constitute significant contribution or
                                                contribution (as described in the August                                                                      interference with maintenance by
                                                                                                           Therefore, notwithstanding the
                                                2018 memorandum), nonetheless, use of                                                                         evaluating additional available control
                                                                                                        August 2018 memorandum’s
                                                                                                        recognition of the potential viability of             opportunities by preparing a multifactor
                                                  29 Air Plan Approval; Iowa; Infrastructure State
                                                                                                        alternative Step 2 thresholds, and in                 assessment. While EPA has not
                                                Implementation Plan Requirements for the 2015
                                                Ozone National Ambient Air Quality Standard, 85         particular, a potentially applicable 1                prescribed a particular method for this
                                                FR 12232 (March 2, 2020). The Agency received           ppb threshold, EPA’s experience since                 assessment, EPA expects states at a
                                                adverse comment on this proposed approval and                                                                 minimum to present a sufficient
lotter on DSK11XQN23PROD with PROPOSALS1




                                                has not taken final action with respect to this
                                                                                                        the issuance of that memorandum has
                                                                                                        revealed substantial programmatic and                 technical evaluation. This would
                                                proposal.
                                                  30 EPA notes that Congress has placed on EPA a        policy difficulties in attempting to                  typically include information on
                                                general obligation to ensure the requirements of the    implement this approach. Nonetheless,                 emissions sources, applicable control
                                                CAA are implemented consistently across states          EPA is not at this time rescinding the                technologies, emissions reductions,
                                                and regions. See CAA section 301(a)(2). Where the                                                             costs, cost effectiveness, and downwind
                                                management and regulation of interstate pollution       August 2018 memorandum. As
                                                levels spanning many states is at stake, consistency
                                                                                                                                                              air quality impacts of the estimated
                                                in application of CAA requirements is paramount.          31 See August 2018 memorandum at 4.                 reductions, before concluding that no


                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00097   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 273            Date Filed: 09/26/2023
                                                9552                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                additional emissions controls should be                 maintenance of the 2015 8-hour ozone                   on August 31, 2016, and October 6,
                                                required.32                                             NAAQS in other states, based on                        2017.38 Alabama notes that the
                                                                                                        modeling results included in EPA’s                     implementation of the existing SIP-
                                                5. Step 4 of the 4-Step Interstate
                                                                                                        March 2018 memorandum. Alabama’s                       approved regulations and Federal
                                                Transport Framework
                                                                                                        submission relied on the results of                    programs provide for a decline in ozone
                                                   At Step 4, states (or EPA) develop                   EPA’s modeling of 2023 using a 2011                    precursors emissions in the State.
                                                permanent and federally enforceable                     base year, as contained in the March                   Alabama also stated that ozone-
                                                control strategies to achieve the                       2018 memorandum (which the State                       precursor emissions would continue to
                                                emissions reductions determined to be                   attached to its submittal), to identify                decline in the State.
                                                necessary at Step 3 to eliminate                        downwind nonattainment and                               Based on the information from
                                                significant contribution to                             maintenance receptors that may be                      Alabama’s transport SIP, ADEM
                                                nonattainment or interference with                      impacted by emissions from sources in                  concluded that emissions from Alabama
                                                maintenance of the NAAQS. For a state                   the State at Step 1 of the 4-step                      sources will not significantly contribute
                                                linked at Steps 1 and 2 to rely on an                   framework.35                                           to nonattainment or interfere with
                                                emissions control measure at Step 3 to                     Alabama Department of                               maintenance of the 2015 8-hour ozone
                                                address its interstate transport                        Environmental Management (ADEM)                        NAAQS in any other state.
                                                obligations, that measure must be                       reviewed this modeling, concurred with
                                                included in the state’s implementation                                                                         2. Prior Notices Related to Alabama’s
                                                                                                        the results, and determined that the                   SIP Submission
                                                plan so that it is permanent and                        future year projections were appropriate
                                                federally enforceable. See CAA section                  for the purposes of evaluating                            Previously, EPA proposed approval of
                                                110(a)(2)(D) (‘‘Each such [SIP] shall . . .             Alabama’s impact on nonattainment and                  Alabama’s interstate transport
                                                contain adequate provisions . . . .’’).                 maintenance receptors in other states at               provisions for the 2015 8-hour ozone
                                                See also CAA section 110(a)(2)(A);                      Step 1. Alabama used this information                  NAAQS as addressed in Alabama’s
                                                Committee for a Better Arvin v. EPA,                    to find that emissions from Alabama                    August 20, 2018 SIP submission and
                                                786 F.3d 1169, 1175–76 (9th Cir. 2015)                  would not contribute above 1 percent of                based on the contribution modeling
                                                (holding that measures relied on by a                   the NAAQS at any projected                             provided in the March 2018
                                                state to meet CAA requirements must be                  nonattainment or maintenance receptors                 memorandum. See 84 FR 71854
                                                included in the SIP).                                   at Step 2 of the 4-step framework (using               (December 30, 2019). When EPA
                                                                                                        EPA’s approach to defining such                        completed updated modeling of 2023 in
                                                II. SIP Submissions and EPA’s                                                                                  2020 using a 2016-based emissions
                                                Evaluation                                              receptors).
                                                                                                           Alabama’s August 20, 2018, submittal                modeling platform (2016v1), it became
                                                A. Alabama                                              also identified existing SIP-approved                  evident that Alabama was projected to
                                                   The following section provides                       regulations and Federal programs 36 that               be linked to downwind nonattainment
                                                information related to Alabama’s SIP                    ADEM noted regulate ozone-precursor                    and maintenance receptors (see footnote
                                                submission addressing interstate                        emissions from sources in the State,                   40 below). As a result, EPA deferred
                                                transport requirements for the 2015 8-                  including CSAPR trading programs.37                    acting on Alabama’s SIP submittal when
                                                hour ozone NAAQS, and EPA’s analysis                                                                           it published a supplemental proposal in
                                                                                                        Alabama’s submission acknowledges
                                                                                                                                                               2021 to approve four other southeastern
                                                of Alabama’s submission.                                that CSAPR does not address interstate
                                                                                                                                                               states’ good neighbor SIP submissions
                                                                                                        transport for the 2015 ozone standard
                                                1. Summary of Alabama’s 2015 Ozone                                                                             using the updated 2023 modeling. See
                                                                                                        but does provide residual NOX
                                                Interstate Transport SIP Submission                                                                            86 FR 37942, 37943 (July 19, 2021). The
                                                                                                        emissions reductions and notes the
                                                   On August 20, 2018,33 Alabama                                                                               updated 2023 modeling using an
                                                                                                        adoption of CSAPR NOX ozone season
                                                submitted a SIP revision addressing the                                                                        updated 2016-based emissions modeling
                                                                                                        trading programs into the Alabama SIP
                                                CAA section 110(a)(2)(D)(i)(I) good                                                                            platform (2016v2) confirms the prior
                                                neighbor interstate transport                              35 EPA notes that Alabama’s SIP submission is not
                                                                                                                                                               2016-based modeling of 2023 in that it
                                                requirements for the 2015 8-hour ozone                  organized around EPA’s 4-step framework for            continues to show Alabama is linked to
                                                NAAQS.34 The SIP submission                             assessing good neighbor obligations, but EPA           at least one downwind nonattainment or
                                                provided Alabama’s analysis of its
                                                                                                        summarizes the submission using that framework         maintenance receptor. Based on this
                                                                                                        for clarity here.                                      updated modeling using the 2016-based
                                                impact to downwind states and                              36 Alabama’s submission cites the following SIP

                                                concluded that emissions from the State                 approved regulations: Administrative Code Rule
                                                                                                                                                               emissions modeling platform, discussed
                                                will not significantly contribute to                    335–3–6, ‘‘Control of Organic Emissions’’, 335–3–8,    in section I.C above, EPA is now
                                                nonattainment or interfere with                         ‘‘Control of Nitrogen Oxides Emissions’’, 335–3–14–    withdrawing its 2019 proposed approval
                                                                                                        .01, ‘‘General Provisions’’, 335–3–14–.02, ‘‘Permit    on Alabama’s September 13, 2018,
                                                                                                        Procedures’’, 335–3–14–.03, ‘‘Standards for
                                                   32 As examples of general approaches for how
                                                                                                        Granting Permits’’, 335–3–14– .04, ‘‘Air Permits
                                                                                                                                                               interstate transport SIP as published on
                                                such an analysis could be conducted for their           Authorizing Construction in in Clean Air Areas         December 30, 2019, at 84 FR 71854.
                                                sources, states could look to the CSAPR Update, 81      [Prevention of Significant Deterioration Permitting
                                                FR 74504, 74539–51; CSAPR, 76 FR 48208, 48246–          (PSD)]’’ and 335–3–14–.05, ‘‘Air Permits
                                                                                                                                                               3. EPA’s Evaluation of Alabama’s 2015
                                                63; CAIR, 70 FR 25162, 25195–229; or the NOX SIP        Authorizing Construction in or Near Nonattainment      Ozone Interstate Transport SIP
                                                Call, 63 FR 57356, 57399–405. See also Revised          Areas.’’ Alabama’s Submission cites the following      Submission
                                                CSAPR Update, 86 FR 23054, 23086–23116.                 Federal Rules: EPA’s Tier 1 and 2 mobile source
                                                Consistently across these rulemakings, EPA has          rules, EPA’s nonroad Diesel Rule, EPA’s 2007              EPA is proposing to find that
                                                developed emissions inventories, analyzed different     Heavy-duty Highway Rule, New Source                    Alabama’s August 20, 2018, SIP
                                                levels of control stringency at different cost          Performance Standards, National Emission               submission does not meet Alabama’s
lotter on DSK11XQN23PROD with PROPOSALS1




                                                thresholds, and assessed resulting downwind air         Standards for Hazardous Air Pollutants, and
                                                quality improvements.                                   CSAPR.
                                                                                                                                                               obligations with respect to prohibiting
                                                   33 The August 20, 2018, SIP submission provided         37 Alabama’s SIP references CSAPR, which covers     emissions that contribute significantly
                                                by ADEM was received by EPA on August 27, 2018.         the NOX ozone season trading program established
                                                   34 On August 20, 2018, Alabama submitted             in EPA’s 2011 CSAPR, 76 FR 48208 (August 8,              38 See 81 FR 59869 (August 31, 2016), 82 FR

                                                multiple SIP revisions under one cover letter. EPA      2011). In addition, Alabama’s submittal includes a     46674 (October 6, 2017) (adopting Alabama
                                                is only acting on Alabama’s 2015 ozone good             reference to the SIP-approved rules that adopted the   Administrative Code Rule 335–3–8, ’’Control of
                                                neighbor interstate transport SIP requirements in       CSAPR Update, 81 FR 74504 (October 26, 2016).          Nitrogen Oxides Emissions’’ and adopting revisions
                                                this notice.                                            See 82 FR 46674 (October 6, 2017).                     to Rule 335–3–8 into the SIP).



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00098   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                    Case: 23-60069                       Document: 438-3                    Page: 274                 Date Filed: 09/26/2023
                                                                          Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                          9553

                                                to nonattainment or interfere with                           (a) Results of EPA’s Step 1 and Step 2                     NAAQS (0.70 ppb) to any downwind
                                                maintenance of the 2015 8-hour ozone                         Modeling and Findings for Alabama                          nonattainment or maintenance receptor.
                                                NAAQS in any other state based on                                                                                       As shown in Table 1, the data 39 indicate
                                                EPA’s evaluation of the SIP submission                         As described in section I, EPA                           that in 2023, emissions from Alabama
                                                using the 4-step interstate transport                        performed updated air quality modeling                     contribute greater than 1 percent of the
                                                framework, and EPA is therefore                              to project design values and                               standard to a nonattainment receptor in
                                                proposing to disapprove Alabama’s SIP                        contributions for 2023. These data were                    Harris County, Texas (ID#: 482010055)
                                                submission.                                                  examined to determine if Alabama                           and a maintenance-only receptor in
                                                                                                             contributes at or above the threshold of                   Denton County, Texas (ID#:
                                                                                                             1 percent of the 2015 8-hour ozone                         481210034).40

                                                                              TABLE 1—ALABAMA LINKAGE RESULTS BASED ON EPA UPDATED 2023 MODELING
                                                                                                                                                                                            2023
                                                                                                                                                                      2023 Average                            Alabama
                                                                                                                                                                                          Maximum
                                                           Receptor ID                                 Location               Nonattainment/maintenance                design value                          contribution
                                                                                                                                                                                         design value
                                                                                                                                                                          (ppb)                                 (ppb)
                                                                                                                                                                                            (ppb)

                                                482010055 .............................   Harris County, Texas ............   Nonattainment ......................              71.0                72.0               0.88
                                                481210034 .............................   Denton County, Texas ..........     Maintenance .........................             70.4                72.2               0.71



                                                (b) Evaluation of Information Provided                          As shown in Table 1, updated EPA                        was included in the submittal. EPA’s
                                                by Alabama Regarding Step 1                                  modeling identifies Alabama’s                              experience with the alternative Step 2
                                                   At Step 1 of the 4-step interstate                        maximum contribution to downwind                           thresholds is further discussed in
                                                transport framework, Alabama relied on                       nonattainment and maintenance                              section I.D.3.a. As discussed there, EPA
                                                EPA modeling included in the March                           receptors as greater than 1 percent of the                 is considering withdrawing the August
                                                2018 memorandum to identify                                  standard (i.e., 0.70 ppb). Therefore, the                  2018 memorandum.
                                                nonattainment and maintenance                                State is linked to a downwind air
                                                                                                             quality problem at Steps 1 and 2.                          (d) Evaluation of Information Provided
                                                receptors in 2023. As described in                                                                                      by Alabama Regarding Step 3
                                                section II.A.3.a, EPA has recently                           Because the entire technical basis for
                                                updated this modeling using the most                         Alabama’s interstate transport SIP                            At Step 3 of the 4-step interstate
                                                current and technically appropriate                          submission is that Alabama is not                          transport framework, a state’s emissions
                                                information. EPA proposes to rely on                         linked at Step 2, and thus Alabama’s SIP                   are further evaluated, in light of
                                                EPA’s most recent modeling to identify                       contains the necessary provisions to                       multiple factors, including air quality
                                                nonattainment and maintenance                                eliminate emissions that will contribute                   and cost considerations, to determine
                                                receptors in 2023. That information                          significantly to nonattainment or                          what, if any, emissions significantly
                                                establishes that there are two receptors                     interfere with maintenance of the 2015                     contribute to nonattainment or interfere
                                                to which Alabama is projected to be                          8-hour ozone NAAQS in any other state,                     with maintenance and, thus, must be
                                                linked in 2023.                                              EPA proposes to disapprove Alabama’s                       eliminated under CAA section
                                                                                                             SIP submission based on EPA’s finding                      110(a)(2)(D)(i)(I).
                                                (c) Evaluation of Information Provided                       that such a linkage does exist.41                             To effectively evaluate which
                                                by Alabama Regarding Step 2                                     Although Alabama did not rely on the                    emissions in the state should be deemed
                                                   At Step 2 of the 4-step interstate                        1 ppb threshold in its SIP submittal,                      ‘‘significant’’ and therefore prohibited,
                                                transport framework, Alabama relied on                       EPA recognizes that the most recently                      states generally should prepare an
                                                EPA modeling released in the March                           available EPA modeling at the time                         accounting of sources and other
                                                2018 memorandum to identify upwind                           Alabama submitted its SIP submittal                        emissions activity for relevant
                                                state linkages to nonattainment and                          indicated that Alabama did not                             pollutants and assess potential,
                                                maintenance receptors in 2023. As                            contribute above 1 percent of the                          additional emissions reduction
                                                described in section I.C of this notice,                     NAAQS to a projected downwind                              opportunities and resulting downwind
                                                EPA has recently updated modeling to                         nonattainment or maintenance receptor.                     air quality improvements. EPA has
                                                identify upwind state contributions to                       Therefore, Alabama may not have                            consistently applied this general
                                                nonattainment and maintenance                                considered analyzing the reasonableness                    approach (i.e., Step 3 of the 4-step
                                                receptors in 2023. In this action, EPA                       and appropriateness of a 1 ppb                             interstate transport framework) when
                                                proposes to rely on the Agency’s most                        threshold at Step 2 of the 4-step                          identifying emissions contributions that
                                                recently available modeling to identify                      interstate transport framework per the                     the Agency has determined to be
                                                upwind contributions and ‘‘linkages’’ to                     August 2018 memorandum. However,                           ‘‘significant’’ (or interfere with
                                                downwind air quality problems in 2023                        EPA’s August 2018 memorandum                               maintenance) in each of its prior
                                                using a threshold of 1 percent of the                        provided that whether use of a 1 ppb                       Federal, regional ozone transport
                                                NAAQS. See section I.D for a general                         threshold is appropriate must be based                     rulemakings, and this interpretation of
                                                explanation of the use of 1 percent of                       on an evaluation of state-specific                         the statute has been upheld by the
                                                the NAAQS.                                                   circumstances, and no such evaluation                      Supreme Court. See EME Homer City,
lotter on DSK11XQN23PROD with PROPOSALS1




                                                  39 The ozone design values and contributions at            2016v1 emissions platform which became available           Update.xlsx’’ in Docket No. EPA–HQ–OAR–2021–
                                                individual monitoring sites nationwide are                   to the public in the fall of 2020 in the Revised           0663.
                                                provided in the file ‘‘2016v2_DVs_state_                     CSAPR Update, as noted in section I. That modeling            41 To the extent that Alabama’s submittal

                                                contributions.xlsx’’ which is included in Docket             showed that Alabama had a maximum contribution
                                                                                                                                                                        included information regarding emissions controls
                                                                                                             greater than 0.70 ppb to at least one nonattainment
                                                No. EPA–HQ–OAR–2021–0663.                                                                                               that could be interpreted as relevant to a step 3
                                                                                                             or maintenance-only receptor in 2023. These
                                                  40 These modeling results are consistent with the                                                                     analysis, EPA evaluates that information in section
                                                                                                             modeling results are included in the file ‘‘Ozone
                                                results of a prior round of 2023 modeling using the          Design Values And Contributions Revised CSAPR              II.A.3.d.



                                           VerDate Sep<11>2014     17:03 Feb 18, 2022     Jkt 256001   PO 00000   Frm 00099   Fmt 4702    Sfmt 4702    E:\FR\FM\22FEP1.SGM      22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 275            Date Filed: 09/26/2023
                                                9554                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                572 U.S. 489, 519 (2014). While EPA has                 already implemented all cost-effective                assess additional emissions control
                                                not directed states that they must                      emissions reductions at EGUs.                         opportunities.
                                                conduct a Step 3 analysis in precisely                     EPA does not support the concept that
                                                                                                        reliance on CSAPR Update is                           (e) Evaluation of Information Provided
                                                the manner EPA has done in its prior
                                                                                                        appropriate to conclude that no further               by Alabama Regarding Step 4
                                                regional transport rulemakings, state
                                                implementation plans addressing the                     emissions reductions are necessary                       Step 4 of the 4-step interstate
                                                obligations in CAA section                              under Step 3 for the 2015 8-hour ozone                transport framework calls for
                                                110(a)(2)(D)(i)(I) must prohibit ‘‘any                  NAAQS. First, CSAPR Update did not                    development of permanent and
                                                source or other type of emissions                       regulate non-electric generating units                federally enforceable control strategies
                                                activity within the State’’ from emitting               (non-EGUs), and thus this analysis, even              to achieve the emissions reductions
                                                air pollutants which will contribute                    for the 2008 ozone NAAQS, was                         determined to be necessary at Step 3 to
                                                significantly to downwind air quality                   incomplete, and EPA acknowledged at                   eliminate significant contribution to
                                                problems. Thus, states must complete                    the time that CSAPR Update was not a                  nonattainment or interference with
                                                something similar to EPA’s analysis (or                 full remedy for interstate transport                  maintenance of the NAAQS. As
                                                an alternative approach to defining                     under that NAAQS. See Wisconsin, 938                  mentioned in section II.A.3.d,
                                                ‘‘significance’’ that comports with the                 F.3d at 318–20. Second, relying on                    Alabama’s SIP submission did not
                                                statute’s objectives) to determine                      CSAPR Update’s (or any other CAA                      contain an evaluation of additional
                                                whether and to what degree emissions                    program’s) determination of cost-                     emissions control opportunities (or
                                                from a state should be ‘‘prohibited’’ to                effectiveness without further Step 3                  establish that no additional controls are
                                                eliminate emissions that will                           analysis is not approvable. Cost-                     required), thus, no information was
                                                ‘‘contribute significantly to                           effectiveness must be assessed in the                 provided at Step 4. As a result, EPA
                                                nonattainment in or interfere with                      context of the specific CAA program;                  proposes to disapprove Alabama’s
                                                maintenance of’’ the NAAQS in any                       assessing cost-effectiveness in the                   August 20, 2018, submittal on the
                                                other state. Alabama did not conduct                    context of ozone transport should reflect             separate, additional basis that the State
                                                such an analysis in its SIP submission.                 a more comprehensive evaluation of the                has not developed permanent and
                                                   Based on Alabama’s finding that                      nature of the interstate transport                    enforceable emissions reductions
                                                emissions from Alabama do not                           problem, the total emissions reductions               necessary to meet the obligations of
                                                contribute above 1 percent of the                       available at several cost thresholds, and             CAA section 110(a)(2)(d)(i)(I).
                                                NAAQS at any monitors that are                          the air quality impacts of the reductions             4. Conclusion for Alabama
                                                projected to be in nonattainment or                     at downwind receptors. While EPA has
                                                                                                        not established a benchmark cost-                        Based on EPA’s evaluation of
                                                maintenance, the SIP submission                                                                               Alabama’s SIP submission and after
                                                identified SIP-approved provisions and                  effectiveness value for 2015 8-hour
                                                                                                        ozone NAAQS interstate transport                      consideration of updated EPA modeling
                                                Federal programs in the context that no                                                                       using the 2016-based emissions
                                                further emissions reductions were                       obligations, it is reasonable to expect
                                                                                                        control measures or strategies to address             modeling platform, EPA is proposing to
                                                necessary, and determined that the SIP                                                                        find that the 2015 8-hour ozone NAAQS
                                                contained adequate provisions to                        interstate transport under this NAAQS
                                                                                                        to reflect higher marginal control costs              good neighbor interstate transport
                                                prohibit emissions that will                                                                                  portion of Alabama’s August 20, 2018,
                                                significantly contribute to                             because the 2015 8-hour ozone NAAQS
                                                                                                        is a more stringent and more protective               SIP submission addressing CAA section
                                                nonattainment or interfere with                                                                               110(a)(2)(D)(i)(I) does not meet the
                                                                                                        air quality standard. As such, the
                                                maintenance of the 2015 8-hour ozone                                                                          State’s interstate transport obligations
                                                                                                        marginal cost threshold of $1,400/ton
                                                NAAQS in any other state. However, the                                                                        because it fails to contain the necessary
                                                                                                        for the CSAPR Update (which addresses
                                                State did not analyze total ozone                                                                             provisions to eliminate emissions that
                                                                                                        the 2008 ozone 8-hour NAAQS and is in
                                                precursors that continue to be emitted                                                                        will contribute significantly to
                                                                                                        2011 dollars) is not an appropriate cost
                                                from sources and other emissions                                                                              nonattainment or interfere with
                                                                                                        threshold and cannot be approved as a
                                                activity within the State, evaluate the                                                                       maintenance of the 2015 8-hour ozone
                                                                                                        benchmark to use for interstate transport
                                                emissions reduction potential of any                                                                          NAAQS in any other state.
                                                                                                        SIP submissions for the 2015 8-hour
                                                additional controls using cost or other
                                                                                                        ozone NAAQS. In addition, the updated                 B. Mississippi
                                                metrics, nor evaluate any resulting
                                                                                                        EPA modeling captures all existing
                                                downwind air quality improvements                       CSAPR trading programs in the                            The following section provides
                                                that could result from such controls.                   baseline, and that modeling confirms                  information related to Mississippi’s SIP
                                                   Among the Federal programs                           that these control programs were not                  submission addressing interstate
                                                referenced in Alabama’s submission was                  sufficient to eliminate the Alabama’s                 transport requirements for the 2015 8-
                                                the NOX ozone season trading program                    linkage at Steps 1 and 2 under the 2015               hour ozone NAAQS, and EPA’s analysis
                                                of CSAPR for the 2008 ozone standard,                   8-hour ozone NAAQS even if the                        of Mississippi’s submission.
                                                which ADEM adopted into the Alabama                     CSAPR Update provisions had been                      1. Summary of Mississippi’s 2015
                                                SIP.42 This reference suggests that                     adopted into Alabama’s SIP. The State                 Ozone Interstate Transport SIP
                                                Alabama may have intended to rely on                    was therefore obligated at Step 3 to                  Submission
                                                its electric generating units (EGUs)                    assess additional control measures
                                                being subject to CSAPR Update (which                                                                             On September 3, 2019, the
                                                                                                        using a multifactor analysis.                         Mississippi Department of
                                                reflected a stringency at the nominal                      As mentioned above, EPA has newly
                                                marginal cost threshold of $1,400/ton                                                                         Environmental Quality (MDEQ)
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                        available information that indicates                  submitted a SIP revision addressing the
                                                (in 2011 dollars) for the 2008 8-hour                   sources in Alabama are linked to
                                                ozone NAAQS) to argue that it has                                                                             CAA section 110(a)(2)(D)(i)(I) interstate
                                                                                                        downwind air quality problems for the                 transport requirements for the 2015 8-
                                                                                                        2015 ozone standard. Therefore, EPA                   hour ozone NAAQS.43 The SIP
                                                  42 See 81 FR 59869 (August 31, 2016), 82 FR
                                                                                                        proposes to disapprove Alabama’s
                                                46674 (October 6, 2017) (adopting Alabama
                                                Administrative Code Rule 335–3–8, ’’Control of
                                                                                                        August 20, 2018, interstate transport SIP               43 The September 3, 2019, SIP submission

                                                Nitrogen Oxides Emissions’’ and adopting revisions      submission on the separate, additional                provided by MDEQ was received by EPA on
                                                to Rule 335–3–8 into the SIP).                          basis that the SIP submittal did not                  September 6, 2019.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00100   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 276            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9555

                                                submission provided Mississippi’s                       receptor because the most recent                      respect to the 2015 8-hour ozone
                                                analysis of its impact to downwind                      measured design value at the time of its              NAAQS.
                                                states and concluded that emissions                     submission (i.e., the 2017 design value
                                                                                                                                                              2. EPA’s Evaluation of Mississippi’s
                                                from the State will not significantly                   of 68 ppb) was below the level of the
                                                                                                                                                              2015 Ozone Interstate Transport SIP
                                                contribute to nonattainment or interfere                NAAQS at this monitor. Based on
                                                                                                                                                              Submission
                                                with maintenance of the 2015 8-hour                     MDEQ’s interpretation of EPA’s October
                                                ozone NAAQS in other states.                            19, 2018, memorandum, the State                          EPA is proposing to find that
                                                   MDEQ’s submission relied on the                      eliminated the Deer Park monitor site in              Mississippi’s September 3, 2019, SIP
                                                results of EPA’s modeling for the 2015                  Harris County, Texas, as a maintenance                submission does not meet Mississippi’s
                                                8-hour ozone NAAQS, contained in the                    receptor in 2023 (although EPA’s                      obligations with respect to prohibiting
                                                March 2018 memorandum, to identify                      modeling of 2023 released with the                    emissions that contribute significantly
                                                projected downwind nonattainment and                    October 2017 memorandum had                           to nonattainment or interfere with
                                                maintenance receptors and contribution                  identified this monitoring site as a                  maintenance of the 2015 8-hour ozone
                                                linkages in 2023 that may be impacted                   nonattainment receptor).                              NAAQS in any other state based on
                                                by emissions from sources in                               To support eliminating the Deer Park               EPA’s evaluation of the SIP submission
                                                Mississippi at Steps 1 and 2 of the 4-                  monitor as a receptor, MDEQ’s                         using the 4-step interstate transport
                                                step interstate transport framework,44                  demonstration included: (1) Evaluating                framework, and EPA is therefore
                                                respectively. MDEQ reviewed EPA’s                       ozone season temperatures in the period               proposing to disapprove Mississippi’s
                                                March 2018 modeling and found that                      2014–2017 in Harris County to                         submission.
                                                the modeled contributions for                           determine if conditions were conducive
                                                Mississippi were below 1 percent of the                 for ozone formation; (2) assessing                    (a) Evaluation of Information Provided
                                                NAAQS for all nonattainment and                         monitored ozone design values from                    by Mississippi Regarding Step 1
                                                maintenance receptors, except the Deer                  2011–2017 at the Deer Park monitor;                      At Step 1 of the 4-step interstate
                                                Park nonattainment receptor in Harris                   and (3) reviewing ozone precursor                     transport framework, MDEQ relied on
                                                County, Texas (Monitor ID: 482011039).                  emission trends in the Houston Area,                  EPA modeling released in the March
                                                The SIP submission identified                           Texas (statewide), and Mississippi
                                                                                                                                                              2018 memorandum to identify
                                                Mississippi as linked to the Deer Park                  (statewide). In its demonstration, MDEQ
                                                                                                                                                              nonattainment and maintenance
                                                receptor with an upwind contribution of                 stated that temperatures in 2015 and
                                                                                                                                                              receptors in 2023.
                                                0.79 ppb.                                               2016 were above average, and in 2014
                                                   In its submittal, MDEQ discussed                     and 2017 temperatures were near                          In its submittal, MDEQ attempted to
                                                EPA’s August 2018 memorandum,                           normal. Based on this information,                    utilize the October 2018 memorandum
                                                explaining that 0.79 ppb is 1.12 percent                MDEQ concluded that conditions were                   along with 2014 to 2017 ozone design
                                                of the 2015 8-hour ozone NAAQS,                         conducive to ozone formation during                   values (the most recent data available at
                                                which is greater than the 1 percent                     this three-year time period (i.e., 2015 to            the time of submittal) to eliminate the
                                                contribution threshold of 0.70 ppb but                  2017). MDEQ’s submission also states                  Deer Park receptor in Harris County,
                                                less than a 1 ppb alternative                           that design values from 2011 to 2017 at               Texas (Monitor ID: 482011039) as a
                                                contribution threshold. The SIP                         the Deer Park receptor showed a                       maintenance receptor. Table 2 of the
                                                submission also states that the Deer Park               downward trend and that design values                 submittal correctly indicates that this
                                                receptor design value was projected to                  have been meeting the 2015 8-hour                     monitoring site was a projected
                                                be greater than the 2015 ozone standard                 ozone NAAQS since 2015. Further,                      nonattainment receptor, not a
                                                in 2023, but that the actual 2015–2017                  according to the submittal, ozone                     maintenance-only receptor, in 2023
                                                design value was below the NAAQS at                     precursor emissions in Texas and                      based on the EPA’s modeling data
                                                68 ppb. Based on the modeling in the                    Mississippi both showed a downward                    included in the March 2018
                                                March 2018 memo, along with                             trend based on data from 2008, 2011,                  memorandum. However, in its
                                                application of a 1 ppb alternative                      and 2014. Based on the downward trend                 submittal, the State relied on the 2014
                                                contribution threshold and information                  in emissions and the fact that the Deer               to 2017 design values at the Deer Park
                                                regarding 2015–2017 monitored values                    Park monitor was measuring attainment                 receptor (i.e., 69 ppb, 67 ppb, and 68
                                                at the Deer Park receptor, MDEQ                         in 2015, 2016, and 2017, MDEQ                         ppb, respectively) as the basis for stating
                                                concluded that sources in Mississippi                   determined that the Deer Park receptor                that this receptor met EPA’s definition
                                                were not linked to downwind                             should be eliminated as a maintenance                 of a maintenance receptor. Based on this
                                                nonattainment or maintenance receptors                  receptor. Thus, based on the elimination              information, the State applied an
                                                at Step 2, and therefore, the State does                of the Deer Park receptor, along with                 alternative definition of a maintenance
                                                not significantly contribute to                         application of a 1 ppb threshold,                     receptor utilizing the potential concepts
                                                nonattainment in another state for the                  Mississippi concluded that the State did              included in the October 2018
                                                2015 ozone standard. Further, MDEQ                      not significantly interfere with                      memorandum. This memorandum
                                                stated that the SIP contains adequate                   maintenance (prong 2) in another state                included a description of the approach
                                                provisions to prohibit sources and other                for the 2015 ozone standard.                          that EPA has historically used to
                                                types of emissions activities within the                   In summary, MDEQ concluded that                    identify maintenance-only receptors 45
                                                State from contributing to                              sources in the State do not significantly             and identified potential alternate ways
                                                nonattainment in another state with                     contribute to nonattainment or interfere              to define maintenance receptors based
                                                respect to the 2015 8-hour ozone                        with maintenance in another state, that               on certain criteria suggested in the
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                                                NAAQS.                                                  no further emission reductions were                   memorandum including an evaluation
                                                   In its submission, MDEQ treated the                  necessary, and that Mississippi’s SIP                 of meteorology conductive to ozone
                                                Deer Park receptor as a maintenance                     contains adequate provisions to prevent               formation, review of ozone monitored
                                                                                                        sources and other types of emissions                  concentrations, and precursor emissions
                                                  44 EPA notes that Mississippi’s September 2,
                                                                                                        activities within the State from                      trends.
                                                2019, SIP submission is not organized around EPA’s      contributing significantly to
                                                4-step interstate transport framework for assessing
                                                good neighbor obligations, but EPA summarizes the       nonattainment or interfering with                       45 See section I.D, above for a discussion of EPA’s

                                                submission using that framework for clarity here.       maintenance in another state with                     approach to identify maintenance receptors.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00101   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 277             Date Filed: 09/26/2023
                                                9556                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                   EPA recognized in the October 2018                   and anomalies (i.e., difference compared              trends analysis even though the
                                                memorandum that states could                            to the long-term mean) of average                     information was available at the time
                                                potentially, with sufficient justification,             temperatures in June, July, and August,               the SIP was submitted to EPA. Thus, at
                                                establish an approach to addressing                     summarized from EPA’s October 2018                    the time of the submission, the Deer
                                                maintenance receptors that gives                        memorandum, to determine whether                      Park monitor had a 3-year design value
                                                independent significance to prong 2 in                  particular summers had ozone-                         of 71 ppb, which violated the 70 ppb
                                                some manner different than EPA’s                        conducive or unconducive meteorology                  ozone standard. Thus, under the terms
                                                approach. In addition, the October 2018                 during the period of clean data. MDEQ                 of the October 2018 memorandum,
                                                memorandum identified two potential                     stated that temperatures were above                   Mississippi’s SIP submission does not
                                                concepts that states could use to                       average in 2015 and 2016 when the Deer                adequately establish a basis for
                                                identify maintenance receptors: (1)                     Park monitor measured ozone                           eliminating the Deer Park monitoring
                                                States may, in some cases, eliminate a                  concentrations below the 2015 8-hour                  site as an ozone transport receptor.
                                                site as a maintenance receptor if the site              ozone NAAQS and near normal in 2014                      MDEQ also assessed total ozone
                                                is currently measuring clean data, or (2)               and 2017. However, MDEQ’s review of                   precursor emissions data in 2008, 2011,
                                                in some cases, use a design value from                  meteorological conditions in the                      and 2014, which MDEQ claimed
                                                the base period that is not the maximum                 vicinity of the Deer Park monitor was                 indicated a decrease in ozone precursor
                                                design value. For either of these                       limited to temperature anomalies and                  (NOX and VOC) emissions in the
                                                alternative methods, to adequately                      did not discuss or consider how other                 Houston metropolitan statistical area,
                                                consider areas struggling to meet the                   meteorological factors identified in the              Texas (statewide), and Mississippi
                                                NAAQS, EPA also indicated that it                       October 2018 memorandum (such as                      (statewide). While EPA acknowledges
                                                expects states to include with their SIP                humidity, solar radiation, vertical                   the general downward trends in NOX
                                                demonstration technical analyses                        mixing, and/or other meteorological                   and VOC emissions, the Deer Park
                                                showing that the following three criteria               indicators such as cooling-degree days)               monitor ozone concentrations design
                                                are met:                                                confirm whether conditions affecting                  values through 2020 show recent
                                                   • Meteorological conditions in the                   the monitor may have been conducive                   measured ozone concentrations that
                                                area of the monitoring site were                        to ozone formation in 2015 and 2016                   exceed the 2015 ozone standard.
                                                conducive to ozone formation during                     and unconducive in 2014 and 2017.                     Further, even accounting for emissions
                                                the period of clean data or during the                    With respect to the second criterion,               trends, EPA’s latest air quality
                                                alternative base period design value                    MDEQ’s submission included                            modeling, as presented below, shows
                                                used for projections; 46                                information related to ozone design                   that there are now three receptors to
                                                   • Ozone concentrations have been                     values and ozone precursors.                          which Mississippi contributes in 2023,
                                                trending downward at the site since                     Specifically, the submission included                 not just one. Thus, the apparent
                                                2011 (and ozone precursor emissions of                  an assessment of ozone design values at               downward trend in ozone precursors in
                                                NOX and VOC have also decreased); and                   the Deer Park monitor from 2011 to                    Texas and Mississippi alone cannot
                                                   • Emissions are expected to continue                 2017, which showed a downward trend                   support elimination of either the Deer
                                                to decline in the upwind and downwind                   in ozone concentrations. However,                     Park monitor as a receptor (under the
                                                states out to the attainment date of the                MDEQ’s SIP submission did not include                 information Mississippi relied on) or the
                                                receptor.                                               a discussion of the 2018 design value,                three Texas receptors to which EPA now
                                                EPA’s October 2018 memorandum                           which showed a violation of the 2015                  finds Mississippi to be contributing. See
                                                explained that the intent of these                      standard at 71 ppb, even though that                  section II.B.2.c and Table 2 below for
                                                analyses is to demonstrate that                         data was available and could have been                results of EPA’s 2016v2 Step 1 and Step
                                                monitoring sites that would be                          considered in the State’s analysis at the             2 modeling and findings for Mississippi.
                                                identified as maintenance receptors                     time of the submission in 2019.47 In                     With respect to the third criterion,
                                                under EPA’s historical approach could                   addition, the 2019 and 2020 design                    MDEQ stated that, ‘‘[b]ased on national
                                                nonetheless be shown to be very                         values, 75 ppb and 78 ppb, respectively,              and regional emissions trends, and
                                                unlikely to violate the NAAQS in the                    also exceeded the NAAQS. The                          current regulations on point sources and
                                                future analytic year.                                   preliminary design value for 2021 is 74               mobile sources, emissions are expected
                                                   However, the analysis provided by                    ppb.48 Although not available at the                  to continue to decline in the upwind
                                                Mississippi in its submission has not                   time of the SIP submission, these more                and downwind states.’’ However, the
                                                met the criteria laid out in the guidance.              recent data suggest a continuous trend                State did not cite any specific
                                                With respect to the first criterion                     in measured ozone concentrations above                regulations controlling sources of ozone
                                                (meteorological conditions), MDEQ                       the 2015 ozone standard at the Deer                   precursors or mobile sources or quantify
                                                assessed ozone design values at the Deer                Park monitor. Even though MDEQ’s                      the NOX emission reduction potential of
                                                Park site in Houston from 2014 to 2017                  review of ozone monitoring data may                   current regulations for point and mobile
                                                                                                        have shown a decrease in measured                     sources.
                                                   46 See Attachment A of EPA’s October 2018            concentration from 2011 to 2017, EPA                     Based on the reasons stated above,
                                                memorandum formation to assess whether                  notes a significant increase between the              EPA does not believe Mississippi’s SIP
                                                particular summers had ozone-conducive or
                                                unconducive meteorology within the 10-year period
                                                                                                        2017 and 2018 4th highest daily                       submission provided sufficient
                                                2008 through 2017. The memorandum states that           maximum concentration, from 68 ppb to                 justification to eliminate the Deer Park
                                                meteorological conditions including temperature,        85 ppb. MDEQ’s SIP submission did not                 monitor as a maintenance receptor.
                                                humidity, winds, solar radiation, and vertical          consider the 2018 4th high daily
                                                mixing affect the formation and transport of                                                                  (b) Evaluation of Information Provided
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                        maximum concentration as part of its
                                                ambient ozone concentrations. The memorandum                                                                  by Mississippi Regarding Step 2
                                                suggests generally that above average temperatures
                                                are an indication that meteorology is conducive to        47 The data are given in ‘‘2010_thru_2020 Ozone        At Step 2 of the 4-step interstate
                                                ozone formation and below average temperatures          Design Values.xlsx,’’ which is included in Docket     transport framework, Mississippi relied
                                                indicate that conditions are unconducive to ozone       No. EPA–HQ–OAR–2021–0663.                             on EPA’s modeling released in the
                                                formation. Within a particular summer season, the         48 This is based on preliminary 2021 data

                                                degree that meteorology is conducive for ozone          available from the Air Quality System (AQS) as of
                                                                                                                                                              March 2018 memorandum to identify
                                                formation can vary from region to region and            January 3, 2022. The design values for 2021 have      upwind state linkages to nonattainment
                                                fluctuate with time within a particular region.         not been certified by state agencies.                 and maintenance receptors in 2023.


                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00102   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                    Page: 278              Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                        9557

                                                   As described in section I.C of this                  that by capturing a percentage of                         alternative Step 2 thresholds is further
                                                notice, EPA has recently updated                        upwind state emissions comparable to                      discussed in section I.D.3.a. As
                                                modeling to identify upwind state                       the amount captured at 1 percent, the                     discussed there, EPA is considering
                                                contributions to nonattainment and                      alternative threshold may be                              withdrawing the August 2018
                                                maintenance receptors in 2023. In this                  appropriate, indicating that a more                       memorandum.
                                                proposal, EPA relies on the Agency’s                    determinative conclusion of                                  Despite the linkage EPA determines
                                                most recently available modeling to                     appropriateness would require further                     exists at Step 2, the State argued in its
                                                identify upwind contributions and                       analysis. In this regard, MDEQ did not
                                                                                                                                                                  submittal that it should not be
                                                ‘‘linkages’’ to downwind air quality                    provide any further technical
                                                                                                                                                                  considered to significantly contribute to
                                                problems in 2023 using a threshold of                   justification to make that determination.
                                                                                                           MDEQ also referred to an EPA                           nonattainment or interfere with
                                                1 percent of the NAAQS. See section I.D
                                                                                                        Guidance on Significant Impact Levels                     maintenance of the NAAQS in other
                                                for general explanation of the use of 1
                                                                                                        for Ozone and Fine Particles in the                       states. EPA finds that conclusion is not
                                                percent of the NAAQS. As shown in
                                                Table 2, updated EPA modeling                           Prevention of Significant Deterioration                   approvable at Steps 1 or 2. Therefore,
                                                identifies Mississippi’s maximum                        Permitting Program (‘‘SILs Guidance’’)                    based on EPA’s evaluation of the
                                                contribution to downwind                                as additional justification for use of a 1                information submitted by Mississippi,
                                                nonattainment and maintenance                           ppb threshold. However, MDEQ did not                      and based on EPA’s most recent
                                                receptors to be greater than 1 percent of               provide discussion or analysis                            modeling results for 2023, EPA proposes
                                                the standard (i.e., 0.70 ppb). Therefore,               containing information specific to                        to find that Mississippi is linked at
                                                the State is linked to a downwind air                   Mississippi or the receptors to which its                 Steps 1 and 2 and has an obligation to
                                                quality problem at Steps 1 and 2.                       emissions are potentially linked, which                   assess potential emissions reductions
                                                   MDEQ relied on EPA’s August 2018                     is necessary to thoroughly evaluate the                   from sources or other emissions activity
                                                memorandum in an attempt justify                        state-specific circumstances that could                   at Step 3 of the 4-step framework.
                                                using a 1 ppb alternative contribution                  support approval. In addition, the State                  (c) Results of EPA’s 2016v2 Step 1 and
                                                threshold at Step 2 as a basis to assert                did not explain the relevance or                          Step 2 Modeling and Findings for
                                                that Mississippi would not be ‘‘linked’’                applicability of a SILs Guidance to                       Mississippi
                                                to any projected downwind                               which it made reference. EPA’s SILs
                                                nonattainment or maintenance                            guidance relates to a different provision                    As described in section I, EPA
                                                receptors. As discussed in EPA’s August                 of the CAA regarding implementation of                    performed air quality modeling using
                                                2018 memorandum, EPA had suggested                      the prevention of significant                             the 2016v2 emissions platform to
                                                that, with appropriate additional                       deterioration (PSD) permitting program,                   project design values and contributions
                                                analysis, it may be reasonable for states               i.e., a program that applies in areas that                for 2023. These data were examined to
                                                to use a 1 ppb contribution threshold, as               have been designated attainment 49 or                     determine if Mississippi contributes at
                                                an alternative to a 1 percent threshold,                unclassifiable for the NAAQS, and it is                   or above the threshold of 1 percent of
                                                at Step 2 of the 4-step interstate                      not applicable to the good neighbor                       the 2015 8-hour ozone NAAQS (0.70
                                                transport framework, for the purposes of                provision, which requires states to                       ppb) to any downwind nonattainment
                                                identifying linkages to downwind                        eliminate significant contribution or                     or maintenance receptor. As shown in
                                                receptors. However, based on EPA’s                      interference with maintenance of the                      Table 2, the data 50 indicate that in 2023,
                                                updated modeling, the State is projected                NAAQS at known and ongoing air                            emissions from Mississippi contribute
                                                to contribute greater than both the 1                   quality problem areas in other states.                    greater than 1 percent of the standard to
                                                percent and alternative 1 ppb                              The analytical gaps identified indicate
                                                                                                                                                                  nonattainment or maintenance-only
                                                thresholds. While EPA does not, in this                 that the submittal’s use of a 1 ppb
                                                                                                                                                                  receptors in Denton County, Texas
                                                action, approve of the State’s                          threshold for the State is not
                                                                                                                                                                  (Monitor ID: 481210034), Harris County,
                                                application of the 1 ppb threshold,                     approvable. EPA’s experience with the
                                                                                                                                                                  Texas (Monitor ID: 482010055), and
                                                based on its linkages greater than 1 ppb                                                                          Brazoria County, Texas (Monitor ID:
                                                to projected downwind nonattainment                        49 Pursuant to section 107(d) of the CAA, EPA
                                                                                                                                                                  480391004).51 Note that each of these
                                                or maintenance receptors, the State’s                   must designate areas as either ‘‘nonattainment,’’
                                                                                                        ‘‘attainment,’’ or ‘‘unclassifiable.’’ Historically for   monitors is currently measuring
                                                use of this alternative threshold at Step               ozone, the EPA has designated most areas that do          nonattainment based on 2020 design
                                                2 of the 4-step interstate framework is                 not meet the definition of nonattainment as
                                                                                                                                                                  values of 72 ppb, 76 ppb, and 73 ppb
                                                inconsequential to EPA’s proposed                       ‘‘unclassifiable/attainment.’’ This category includes
                                                                                                        areas that have air quality monitoring data meeting       at the Denton County, Harris County,
                                                action on this SIP.
                                                   In addition, MDEQ’s SIP does not                     the NAAQS and areas that do not have monitors but         and Brazoria County receptors,
                                                                                                        for which the EPA has no evidence that the areas          respectively.
                                                include a technical analysis to                         may be violating the NAAQS or contributing to a
                                                sufficiently justify use of an alternative              nearby violation. In the designations for the 2015          50 The ozone design values and contributions at
                                                1 ppb threshold at the Deer Park                        ozone NAAQS, the EPA reversed the order of the            individual monitoring sites nationwide are
                                                                                                        label to be ‘‘attainment/unclassifiable’’ to better
                                                monitor. Echoing EPA’s August 2018                      convey the definition of the designation category
                                                                                                                                                                  provided in the file ‘‘2016v2_DVs_state_
                                                memorandum, MDEQ stated that the                                                                                  contributions.xlsx’’ which is included in Docket
                                                                                                        and so that the category is more easily
                                                amount of upwind collective                             distinguished from the separate unclassifiable            No. EPA–HQ–OAR–2021–0663.
                                                                                                                                                                    51 These modeling results are consistent with the
                                                contribution captured with the 1                        category. An ‘‘attainment’’ designation is reserved
                                                                                                        for a previous nonattainment area that has been           results of a prior round of 2023 modeling using a
                                                percent and 1 ppb thresholds is                         redesignated to attainment as a result of the EPA’s       the 2016v1 emissions platform that became
                                                generally comparable. In this                           approval of a CAA section 175A maintenance plan           available to the public in the fall of 2020 in the
lotter on DSK11XQN23PROD with PROPOSALS1




                                                memorandum, EPA also determined                         submitted by the state air agency.                        Revised CSAPR Update, as noted in section I.




                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00103   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM      22FEP1
                                                                    Case: 23-60069                     Document: 438-3                     Page: 279                 Date Filed: 09/26/2023
                                                9558                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                                            TABLE 2—MISSISSIPPI LINKAGE RESULTS BASED ON EPA UPDATED 2023 MODELING
                                                                                                                                                                                          2023
                                                                                                                                                                     2023 average                          Mississippi
                                                                                                                                    Nonattainment/                                      maximum
                                                          Receptor ID                              Location                                                          design value                          contribution
                                                                                                                                     maintenance                                       design value
                                                                                                                                                                        (ppb)                                 (ppb)
                                                                                                                                                                                          (ppb)

                                                481210034 ...........................   Denton County, Texas .........     Maintenance ...........................            70.4               72.2                1.14
                                                482010055 ...........................   Harris County, Texas ...........   Nonattainment .........................            71.0               72.0                1.04
                                                480391004 ...........................   Brazoria County, Texas .......     Maintenance ...........................            70.1               72.3                0.92



                                                (d) Evaluation of Information Provided                     such an analysis in its SIP submission.                    addressing CAA section
                                                by Mississippi Regarding Step 3                            Mississippi did not include an                             110(a)(2)(D)(i)(I) does not meet the
                                                   At Step 3 of the 4-step interstate                      accounting of sources or other emissions                   State’s interstate transport obligations
                                                transport framework, a state’s emissions                   activity in the State along with an                        because it fails to contain the necessary
                                                are further evaluated, in light of                         analysis of potential NOX emissions                        provisions to eliminate emissions that
                                                multiple factors, including air quality                    control technologies, their associated                     will contribute significantly to
                                                and cost considerations, to determine                      costs, estimated emissions reductions,                     nonattainment or interfere with
                                                what, if any, emissions significantly                      and downwind air quality                                   maintenance of the 2015 8-hour ozone
                                                contribute to nonattainment or interfere                   improvements.                                              NAAQS in any other state.
                                                with maintenance and, thus, must be                          EPA’s evaluation of Mississippi’s                        C. Tennessee
                                                eliminated under CAA section                               submittal, in conjunction with its 2016-
                                                                                                           based modeling of 2023, indicates that                        The following section provides
                                                110(a)(2)(D)(i)(I).
                                                   To effectively evaluate which                           ozone-precursor emissions from                             information related to Tennessee’s SIP
                                                emissions in the state should be deemed                    Mississippi are linked to downwind air                     submission addressing interstate
                                                ‘‘significant,’’ and therefore prohibited,                 quality problems for the 2015 ozone                        transport requirements for the 2015 8-
                                                states generally should prepare an                         standard at Steps 1 and 2. However,                        hour ozone NAAQS, and EPA’s analysis
                                                accounting of sources and other                            Mississippi’s SIP submittal does not                       of Tennessee’s submission.
                                                emissions activity for relevant                            include a Step 3 analysis. EPA proposes                    1. Summary of Tennessee’s 2015 Ozone
                                                pollutants and assess potential,                           to find that Mississippi was required to                   Interstate Transport SIP Submission
                                                additional emissions reduction                             analyze emissions from the sources and                        On September 13, 2018, Tennessee
                                                opportunities and resulting downwind                       other emissions activity from within the                   submitted a SIP revision addressing the
                                                air quality improvements. EPA has                          State to determine whether its                             CAA section 110(a)(2)(D)(i)(I) interstate
                                                consistently applied this general                          contributions were significant, and EPA                    transport requirements for the 2015 8-
                                                approach (i.e., Step 3 of the 4-step                       proposes to disapprove its submission                      hour ozone NAAQS.52 53 The SIP
                                                interstate transport framework) when                       because Mississippi’s submittal failed to                  submission provided Tennessee’s
                                                identifying emissions contributions that                   do so.                                                     analysis of its impact to downwind
                                                the Agency has determined to be                                                                                       states and concluded that emissions
                                                ‘‘significant’’ (or interfere with                         (e) Evaluation of Information Provided
                                                                                                           by Mississippi Regarding Step 4                            from the State will not significantly
                                                maintenance) in each of its prior                                                                                     contribute to nonattainment or interfere
                                                Federal, regional ozone transport                             Step 4 of the 4-step interstate                         with maintenance of the 2015 8-hour
                                                rulemakings, and this interpretation of                    transport framework calls for                              ozone NAAQS in other states.
                                                the statute has been upheld by the                         development of permanent and                               Tennessee’s submission relied on EPA’s
                                                Supreme Court. See EME Homer City,                         federally enforceable control strategies                   modeling results for the 2015 8-hour
                                                572 U.S. 489, 519 (2014). While EPA has                    to achieve the emissions reductions                        ozone NAAQS, contained in the March
                                                not directed states that they must                         determined to be necessary at Step 3 to                    2018 memorandum, to identify
                                                conduct a Step 3 analysis in precisely                     eliminate significant contribution to                      downwind nonattainment and
                                                the manner EPA has done in its prior                       nonattainment or interference with                         maintenance receptors that may be
                                                regional transport rulemakings, state                      maintenance of the NAAQS. As                               impacted by emissions from sources in
                                                implementation plans addressing the                        mentioned previously, Mississippi’s SIP                    the State at Steps 1 and 2 of the 4-step
                                                obligations in CAA section                                 submittal did not contain an evaluation                    framework.54 The Tennessee
                                                110(a)(2)(D)(i)(I) must prohibit ‘‘any                     of additional emission control                             Department of Environmental Control
                                                source or other type of emissions                          opportunities (or establish that no                        (TDEC) reviewed EPA’s 2023 modeling,
                                                activity within the State’’ from emitting                  additional controls are required), thus,                   concurred with the results, and
                                                air pollutants which will contribute                       no information was provided at Step 4.                     determined that EPA’s future year NOX
                                                significantly to downwind air quality                      As a result, EPA proposes to disapprove                    projections were reasonable and account
                                                problems. Thus, states must complete                       Mississippi’s submittal on the separate,
                                                something similar to the EPA’s analysis                    additional basis that the State has not                       52 The September 13, 2019, SIP submission

                                                (or an alternative approach to defining                    developed permanent and enforceable                        provided by TDEC was received by EPA on
                                                ‘‘significance’’ that comports with the                    emissions reductions necessary to meet                     September 17, 2018.
                                                                                                                                                                         53 On September 18, 2018, Tennessee submitted
                                                statute’s objectives) to determine
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                           the obligations of CAA section
                                                                                                                                                                      multiple SIP revisions under one cover letter. EPA
                                                whether and to what degree emissions                       110(a)(2)(d)(i)(I).                                        is only acting on Tennessee’s 2015 ozone good
                                                from a state should be ‘‘prohibited’’ to                                                                              neighbor interstate transport SIP requirements in
                                                                                                           3. Conclusion for Mississippi
                                                eliminate emissions that will                                                                                         this notice.
                                                                                                                                                                         54 EPA notes that Tennessee’s SIP submission is
                                                ‘‘contribute significantly to                                Based on EPA’s evaluation of
                                                                                                                                                                      not organized around EPA’s 4-step framework for
                                                nonattainment in or interfere with                         Mississippi’s SIP submission, EPA is                       assessing good neighbor obligations, but EPA
                                                maintenance of’’ the NAAQS in any                          proposing to find that Mississippi’s                       summarizes the submission using that framework
                                                other state. Mississippi did not conduct                   September 3, 2019, SIP submission                          for clarity here.



                                           VerDate Sep<11>2014     17:03 Feb 18, 2022    Jkt 256001   PO 00000   Frm 00104   Fmt 4702    Sfmt 4702    E:\FR\FM\22FEP1.SGM     22FEP1
                                                                    Case: 23-60069                       Document: 438-3                    Page: 280                 Date Filed: 09/26/2023
                                                                          Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                        9559

                                                for source shutdowns, new controls, and                      provides for adequate measures to                          on Tennessee’s September 13, 2018,
                                                fuel switches. TDEC summarized the                           control ozone precursor emissions.                         interstate transport SIP as published on
                                                State’s upwind contribution to 26                                                                                       December 30, 2019 at 84 FR 71854.
                                                                                                             2. Prior Notices Related to Tennessee’s
                                                nonattainment and maintenance
                                                                                                             SIP Submission                                             3. EPA’s Evaluation of Tennessee’s 2015
                                                receptors and noted Tennessee’s largest
                                                                                                                Previously, EPA proposed approval of                    Ozone Interstate Transport SIP
                                                impact on any potential downwind
                                                                                                             Tennessee’s interstate transport                           Submission
                                                receptor in 2023 would be 0.31 ppb and
                                                0.65 ppb, respectively. Tennessee found                      provisions for the 2015 8-hour ozone
                                                                                                                                                                           EPA is proposing to find that
                                                that—based on EPA’s 2023 modeling—                           NAAQS as addressed in Tennessee’s
                                                                                                                                                                        Tennessee’s September 13, 2018, SIP
                                                emissions from Tennessee do not                              September 13, 2018, SIP submission and
                                                                                                                                                                        submission does not meet the State’s
                                                contribute above 1 percent of the                            based on the contribution modeling
                                                                                                                                                                        obligations with respect to prohibiting
                                                NAAQS or above 1 ppb at any monitors                         provided in the March 2018
                                                                                                                                                                        emissions that contribute significantly
                                                that are projected to be in                                  memorandum. See 84 FR 71854
                                                                                                                                                                        to nonattainment or interfere with
                                                nonattainment or maintenance.                                (December 30, 2019). When EPA
                                                                                                                                                                        maintenance of the 2015 8-hour ozone
                                                                                                             completed updated modeling of 2023 in
                                                   Tennessee’s September 13, 2018, SIP                                                                                  NAAQS in any other state based on
                                                                                                             2020 using a 2016-based emissions
                                                submittal asserted that NOX emissions                        modeling platform (2016v1), it became                      EPA’s evaluation of the SIP submission
                                                are considered the primary cause of                          evident that Tennessee was projected to                    using the 4-step interstate transport
                                                formation of ozone in the southeast                          be linked to downwind nonattainment                        framework, and EPA is therefore
                                                United States, and emphasized a                              and maintenance receptors (see footnote                    proposing to disapprove Tennessee’s
                                                significant reduction in NOX emissions                       57 below). As a result, EPA deferred                       SIP submission.
                                                reductions from coal-fired EGUs and                          acting on Tennessee’s SIP submittal                        (a) Results of EPA’s Step 1 and Step 2
                                                other large NOX sources leading to                           when it published a supplemental                           Modeling and Findings for Tennessee
                                                improvements in air quality, including                       proposal in 2021 to approve four other
                                                reductions attributable to previous                          southeastern states’ good neighbor SIP                       As described in section I, EPA
                                                transport rulemakings.55 Additionally,                       submissions, using the updated 2023                        performed updated air quality modeling
                                                TDEC identifies existing SIP-approved                        modeling. See 86 FR 37942, 37943 (July                     to project design values and
                                                provisions, Federal regulations and                          19, 2021). The updated 2023 modeling                       contributions for 2023. These data were
                                                programs, court settlements, and                             presented in this proposal using an                        examined to determine if Tennessee
                                                statewide source shutdowns that TDEC                         updated 2016-based emissions modeling                      contributes at or above the threshold of
                                                believes limit ozone precursor                               platform (2016v2) confirms the prior                       1 percent of the 2015 8-hour ozone
                                                emissions in the State.56                                    2016-based modeling of 2023 in that it                     NAAQS (0.70 ppb) to any downwind
                                                   Based on the information contained in                     continues to show Tennessee is linked                      nonattainment or maintenance receptor.
                                                Tennessee’s transport SIP, TDEC                              to at least one downwind nonattainment                     As shown in Table 3, the data 57 indicate
                                                concluded that Tennessee does not                            or maintenance receptor. Based on this                     that in 2023, emissions from Tennessee
                                                significantly contribute to                                  updated modeling using the 2016-based                      contribute greater than 1 percent of the
                                                nonattainment or interfere with                              emissions modeling platform, discussed                     standard to the maintenance-only
                                                maintenance in another state of the 2015                     in section I.C above, EPA is now                           receptor in Denton County, Texas (ID#:
                                                8-hour ozone NAAQS, and that the SIP                         withdrawing its 2019 proposed approval                     481210034).58

                                                                            TABLE 3—TENNESSEE LINKAGE RESULTS BASED ON EPA UPDATED 2023 MODELING
                                                                                                                                                                                           2023
                                                                                                                                                                      2023 Average                         Tennessee
                                                                                                                                                                                         Maximum
                                                           Receptor ID                                 Location               Nonattainment/maintenance                design value                        contribution
                                                                                                                                                                                        design value
                                                                                                                                                                          (ppb)                               (ppb)
                                                                                                                                                                                           (ppb)

                                                481210034 .............................   Denton County, Texas ..........     Maintenance .........................             70.4              72.2               0.94



                                                (b) Evaluation of Information Provided                       recently updated this modeling using                       (c) Evaluation of Information Provided
                                                by Tennessee Regarding Step 1                                the most current and technically                           by Tennessee Regarding Step 2
                                                                                                             appropriate information. EPA proposes
                                                   At Step 1 of the 4-step interstate                        to rely on EPA’s most recent modeling                         At Step 2 of the 4-step interstate
                                                transport framework, Tennessee relied                        to identify nonattainment and                              transport framework, Tennessee relied
                                                on EPA modeling included in the March                        maintenance receptors in 2023. That                        on EPA modeling released in the March
                                                2018 memorandum to identify                                  information establishes that there is one                  2018 memorandum to identify upwind
                                                nonattainment and maintenance                                receptor to which Tennessee is                             state linkages to nonattainment and
                                                receptors in 2023. As described                              projected to be linked in 2023.                            maintenance receptors in 2023. As
                                                previously in section II.C.3.a, EPA has                                                                                 described in section I.C of this notice,
                                                  55 The Tennessee SIP revision specifically cites           SIP-approved State rules and Federal rules. This           to the public in the fall of 2020 in the Revised
lotter on DSK11XQN23PROD with PROPOSALS1




                                                the Federal NOX Budget Trading Program, CAIR,                can be found in Docket No. EPA–R04–OAR–2021–               CSAPR Update, as noted in section I. That modeling
                                                and CSAPR. In addition, the Tennessee SIP revision           0841.                                                      showed that Tennessee had a maximum
                                                discusses Tennessee rule 1200–03–27–.12 (NOX SIP               57 The ozone design values and contributions at          contribution greater than 0.70 ppb to at least one
                                                Call requirements for Stationary Boilers and
                                                                                                             individual monitoring sites nationwide are                 nonattainment or maintenance-only receptor in
                                                Combustion Turbines), which had not been
                                                approved into the SIP at the time of the September           provided in the file ‘‘2016v2_DVs_state_                   2023. These modeling results are included in the
                                                13, 2018, submittal. EPA finalized approval of               contributions.xlsx’’ which is included in Docket           file ‘‘Ozone Design Values And Contributions
                                                TAPR 1200–03–27–.12 into the Tennessee SIP on                No. EPA–HQ–OAR–2021–0663.                                  Revised CSAPR Update.xlsx’’ in Docket No. EPA–
                                                March 2, 2021. See 86 FR 12092.                                58 These modeling results are consistent with the        HQ–OAR–2021–0663.
                                                  56 See page 9 through 12 of Tennessee’s                    results of a prior round of 2023 modeling using the
                                                September 13, 2018, SIP submission for a list of             2016v1 emissions platform which became available


                                           VerDate Sep<11>2014     17:03 Feb 18, 2022     Jkt 256001   PO 00000   Frm 00105   Fmt 4702    Sfmt 4702    E:\FR\FM\22FEP1.SGM     22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 281            Date Filed: 09/26/2023
                                                9560                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                EPA has recently updated modeling to                    attainment 60 or unclassifiable for the               ‘‘contribute significantly to
                                                identify upwind state contributions to                  NAAQS, and it is not applicable to the                nonattainment in or interfere with
                                                nonattainment and maintenance                           good neighbor provision, which requires               maintenance of’’ the NAAQS in any
                                                receptors in 2023. In this proposal, EPA                states to eliminate significant                       other state. Tennessee did not conduct
                                                relies on the Agency’s most recently                    contribution or interference with                     such an analysis in its SIP submission.
                                                available modeling to identify upwind                   maintenance of the NAAQS at known                        The State did not analyze total ozone
                                                contributions and ‘‘linkages’’ to                       and ongoing air quality problem areas in              precursors that continue to be emitted
                                                downwind air quality problems in 2023                   other states.                                         from sources and other emissions
                                                using a threshold of 1 percent of the                     EPA’s experience with the alternative               activity within the State, evaluate the
                                                NAAQS. See section I.D for a general                    Step 2 thresholds is further discussed in             emissions reduction potential of any
                                                explanation of the use of 1 percent of                  section I.D.3.a above. As discussed                   additional controls using cost or other
                                                the NAAQS.                                              there, EPA is considering withdrawing                 metrics, nor evaluate any resulting
                                                                                                        the August 2018 memorandum.                           downwind air quality improvements
                                                   As shown in Table 3, updated EPA                                                                           that could result from such controls.
                                                modeling identifies Tennessee’s                         (d) Evaluation of Information Provided
                                                                                                                                                              Instead, Tennessee included in its
                                                maximum contribution to a downwind                      by Tennessee Regarding Step 3
                                                                                                                                                              submittal a list of existing emissions
                                                maintenance receptor as greater than 1                     At Step 3 of the 4-step interstate                 control programs and measures in the
                                                percent of the standard (i.e., 0.70 ppb).               transport framework, a state’s emissions              State. However, EPA’s modeling already
                                                Therefore, the State is linked to a                     are further evaluated, in light of                    takes account of such measures. Despite
                                                downwind air quality problem at Steps                   multiple factors, including air quality               these existing emissions controls, the
                                                1 and 2. Because the entire technical                   and cost considerations, to determine                 State is projected in the most recent
                                                basis for Tennessee’s submittal is that                 what, if any, emissions significantly                 modeling to be linked to at least one
                                                the State is not linked at Step 2, EPA                  contribute to nonattainment or interfere              downwind nonattainment or
                                                proposes to disapprove Tennessee’s SIP                  with maintenance and, thus, must be                   maintenance receptor. The State was
                                                submission based on EPA’s finding that                  eliminated under CAA section                          therefore obligated at Step 3 to assess
                                                a linkage does exist.59                                 110(a)(2)(D)(i)(I).                                   additional control measures using a
                                                   Tennessee references a 1 ppb                            To effectively evaluate which                      multifactor analysis.
                                                threshold in its submittal, citing to                   emissions in the state should be deemed                  As mentioned above, EPA has newly
                                                EPA’s SILs Guidance as justification for                ‘‘significant’’ and therefore prohibited,             available information that indicates
                                                the use of a 1 ppb threshold. However,                  states generally should prepare an                    sources in Tennessee are linked to
                                                Tennessee did not provide additional                    accounting of sources and other                       downwind air quality problems for the
                                                discussion or analysis containing                       emissions activity for relevant                       2015 ozone standard. Therefore, EPA
                                                information specific to Tennessee or the                pollutants and assess potential,                      proposes to disapprove Tennessee’s
                                                receptors to which its emissions are                    additional emissions reduction                        September 18, 2018, SIP submission on
                                                potentially linked, which is necessary to               opportunities and resulting downwind                  the separate, additional basis that the
                                                evaluate the state-specific circumstances               air quality improvements. EPA has                     SIP submittal did not assess additional
                                                that could support approval of an                       consistently applied this general                     emissions control opportunities.
                                                alternative threshold. Nevertheless, EPA                approach (i.e., Step 3 of the 4-step
                                                                                                        interstate transport framework) when                  (e) Evaluation of Information Provided
                                                recognizes that the most recently                                                                             by Tennessee Regarding Step 4
                                                available EPA modeling at the time                      identifying emissions contributions that
                                                Tennessee submitted its SIP submittal                   the Agency has determined to be                          Step 4 of the 4-step interstate
                                                indicated the State did not contribute                  ‘‘significant’’ (or interfere with                    transport framework calls for
                                                above 1 percent of the NAAQS to a                       maintenance) in each of its prior                     development of permanent and
                                                projected downwind nonattainment or                     Federal, regional ozone transport                     federally enforceable control strategies
                                                maintenance receptor. Therefore, the                    rulemakings, and this interpretation of               to achieve the emissions reductions
                                                State may not have considered                           the statute has been upheld by the                    determined to be necessary at Step 3 to
                                                conducting an in-depth analysis as to                   Supreme Court. See EME Homer City,                    eliminate significant contribution to
                                                the reasonableness and appropriateness                  572 U.S. 489, 519 (2014). While the EPA               nonattainment or interference with
                                                of a 1 ppb threshold at Step 2 of the 4-                has not directed states that they must                maintenance of the NAAQS. As
                                                step interstate transport framework per                 conduct a Step 3 analysis in precisely                mentioned in section II.C.3.d,
                                                the August 2018 memorandum.                             the manner the EPA has done in its                    Tennessee’s SIP submission did not
                                                However, EPA’s August 2018                              prior regional transport rulemakings,                 contain an evaluation of additional
                                                memorandum provided that whether                        state implementation plans addressing                 emissions control opportunities (or
                                                use of a 1 ppb threshold is appropriate                 the obligations in CAA section                        establish that no additional controls are
                                                must be based on an evaluation of state-                110(a)(2)(D)(i)(I) must prohibit ‘‘any                required), thus, no information was
                                                specific circumstances. Tennessee                       source or other type of emissions                     provided at Step 4. As a result, EPA
                                                provided no such analysis. Further, the                 activity within the State’’ from emitting             proposes to disapprove Tennessee’s
                                                State did not explain the relevance of                  air pollutants which will contribute                  September 18, 2018, submittal on the
                                                the SILs Guidance to which it made                      significantly to downwind air quality                 separate, additional basis that the State
                                                reference. This guidance relates to a                   problems. Thus, states must complete                  has not developed permanent and
                                                different provision of the CAA regarding                something similar to the EPA’s analysis               enforceable emissions reductions
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                                                implementation of the PSD permitting                    (or an alternative approach to defining               necessary to meet the obligations of
                                                program, i.e., a program that applies in                ‘‘significance’’ that comports with the               CAA section 110(a)(2)(d)(i)(I).
                                                areas that have been designated                         statute’s objectives) to determine
                                                                                                        whether and to what degree emissions                  4. Conclusion for Tennessee
                                                  59 To the extent the Tennessee submittal included
                                                                                                        from a state should be ‘‘prohibited’’ to                 Based on EPA’s evaluation of
                                                information regarding emissions controls that could     eliminate emissions that will                         Tennessee’s SIP submission and after
                                                be interpreted as relevant to a Step 3 analysis, EPA                                                          consideration of updated EPA modeling
                                                evaluates that information in section II.C.3.d.           60 See footnote 49.                                 using the 2016-based emissions


                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00106   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 282            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                    9561

                                                modeling platform, EPA is proposing to                  uniquely affect small governments.                    human health or environmental effects
                                                find that the portion of Tennessee’s                    These proposed actions impose no                      on minority, low-income or indigenous
                                                September 13, 2018, SIP submission                      enforceable duty on any state, local, or              populations. These proposed actions
                                                addressing CAA section                                  tribal governments or the private sector.             merely propose to disapprove SIP
                                                110(a)(2)(D)(i)(I) does not meet the                                                                          submissions as not meeting the CAA.
                                                                                                        E. Executive Order 13132: Federalism
                                                State’s interstate transport obligations
                                                because it fails to contain the necessary                 These proposed actions do not have                  K. CAA Section 307(b)(1)
                                                provisions to eliminate emissions that                  federalism implications. They will not                   Section 307(b)(1) of the CAA governs
                                                will contribute significantly to                        have substantial direct effects on the                judicial review of final actions by EPA.
                                                nonattainment or interfere with                         states, on the relationship between the               This section provides, in part, that
                                                maintenance of the 2015 8-hour ozone                    national government and the states, or                petitions for review must be filed in the
                                                NAAQS in any other state.                               on the distribution of power and                      D.C. Circuit: (i) When the agency action
                                                                                                        responsibilities among the various                    consists of ‘‘nationally applicable
                                                III. Proposed Actions
                                                                                                        levels of government.                                 regulations promulgated, or final actions
                                                   EPA is proposing to disapprove the                                                                         taken, by the Administrator,’’ or (ii)
                                                2015 ozone good neighbor interstate                     F. Executive Order 13175: Consultation
                                                                                                                                                              when such action is locally or regionally
                                                transport SIP revisions from Alabama,                   and Coordination With Indian Tribal
                                                                                                                                                              applicable, if ‘‘such action is based on
                                                dated August 20, 2018; from                             Governments
                                                                                                                                                              a determination of nationwide scope or
                                                Mississippi, dated September 3, 2019;                      These proposed actions do not have                 effect and if in taking such action the
                                                and from Tennessee, dated September                     tribal implications as specified in                   Administrator finds and publishes that
                                                13, 2018. Under CAA section 110(c)(1),                  Executive Order 13175. These proposed                 such action is based on such a
                                                if finalized, these disapprovals would                  actions do not apply on any Indian                    determination.’’ For locally or regionally
                                                establish a 2-year deadline for EPA to                  reservation land, any other area where                applicable final actions, the CAA
                                                promulgate a FIP for Alabama,                           EPA or an Indian tribe has demonstrated               reserves to EPA complete discretion
                                                Mississippi, and Tennessee to address                   that a tribe has jurisdiction, or non-                whether to invoke the exception in
                                                the CAA section 110(a)(2)(D)(i)(I)                      reservation areas of Indian country.                  (ii).61
                                                interstate transport requirements                       Thus, Executive Order 13175 does not                     EPA anticipates that this proposed
                                                pertaining to significant contribution to               apply to these actions.                               rulemaking, if finalized, would be
                                                nonattainment and interference with                                                                           ‘‘nationally applicable’’ within the
                                                maintenance of the 2015 8-hour ozone                    G. Executive Order 13045: Protection of
                                                                                                        Children From Environmental Health                    meaning of CAA section 307(b)(1)
                                                NAAQS in other states, unless EPA                                                                             because it would take final action on
                                                approves a SIP that meets these                         Risks and Safety Risks
                                                                                                                                                              SIP submittals for the 2015 8-hour
                                                requirements. However, under the CAA,                     EPA interprets Executive Order 13045                ozone NAAQS for the states of Alabama,
                                                a good neighbor SIP disapproval does                    as applying only to those regulatory                  Mississippi, and Tennessee, which are
                                                not start a mandatory sanctions clock.                  actions that concern environmental                    located in three different Federal
                                                IV. Statutory and Executive Order                       health or safety risks that EPA has                   judicial circuits (the Eleventh Circuit,
                                                Reviews                                                 reason to believe may                                 the Fifth Circuit, and the Sixth Circuit,
                                                                                                        disproportionately affect children, per               respectively). It would apply uniform,
                                                A. Executive Order 12866: Regulatory                    the definition of ‘‘covered regulatory                nationwide analytical methods, policy
                                                Planning and Review and Executive                       action’’ in section 2–202 of the                      judgments, and interpretation with
                                                Order 13563: Improving Regulation and                   Executive Order. These proposed                       respect to the same CAA obligations,
                                                Regulatory Review                                       actions are not subject to Executive                  i.e., implementation of good neighbor
                                                  These proposed actions are not                        Order 13045 because they merely                       requirements under CAA section
                                                significant regulatory actions and were                 propose to disapprove SIP submissions                 110(a)(2)(D)(i)(I) for the 2015 8-hour
                                                therefore not submitted to the Office of                from Alabama, Mississippi, and                        ozone NAAQS for states across the
                                                Management and Budget for review.                       Tennessee as not meeting the CAA.                     country, and final action would be
                                                B. Paperwork Reduction Act (PRA)                        H. Executive Order 13211, Actions That                based on this common core of
                                                                                                        Significantly Affect Energy Supply,                   determinations, described in further
                                                  These proposed actions do not impose                                                                        detail below.
                                                                                                        Distribution or Use
                                                an information collection burden under                                                                           If EPA takes final action on this
                                                the PRA because they do not contain                       These proposed actions are not                      proposed rulemaking, in the alternative,
                                                any information collection activities.                  subject to Executive Order 13211,                     the Administrator intends to exercise
                                                                                                        because they are not significant                      the complete discretion afforded to him
                                                C. Regulatory Flexibility Act (RFA)                     regulatory actions under Executive                    under the CAA to make and publish a
                                                  These actions merely propose to                       Order 12866.                                          finding that the final action (to the
                                                disapprove SIP submissions as not
                                                                                                        I. National Technology Transfer and                   extent a court finds the action to be
                                                meeting the CAA for Alabama,
                                                                                                        Advancement Act                                       locally or regionally applicable) is based
                                                Mississippi, and Tennessee. EPA
                                                                                                          This proposed rulemaking does not                   on a determination of ‘‘nationwide
                                                certifies that these proposed rules will
                                                                                                        involve technical standards.                          scope or effect’’ within the meaning of
                                                not have a significant economic impact
                                                                                                                                                              CAA section 307(b)(1). Through this
                                                on a substantial number of small entities               J. Executive Order 12898: Federal
lotter on DSK11XQN23PROD with PROPOSALS1




                                                under the RFA (5 U.S.C. 601 et seq.)                    Actions To Address Environmental                         61 In deciding whether to invoke the exception by

                                                D. Unfunded Mandates Reform Act                         Justice in Minority Populations and                   making and publishing a finding that an action is
                                                                                                                                                              based on a determination of nationwide scope or
                                                (UMRA)                                                  Low-Income Populations                                effect, the Administrator takes into account a
                                                  These proposed actions do not                           EPA believes the human health or                    number of policy considerations, including his
                                                                                                                                                              judgment balancing the benefit of obtaining the D.C.
                                                contain any unfunded mandate as                         environmental risk addressed by these                 Circuit’s authoritative centralized review versus
                                                described in UMRA, 2 U.S.C. 1531–                       proposed actions will not have potential              allowing development of the issue in other contexts
                                                1538, and do not significantly or                       disproportionately high and adverse                   and the best use of agency resources.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00107   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                 Case: 23-60069                     Document: 438-3                   Page: 283             Date Filed: 09/26/2023
                                                9562                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                rulemaking action (in conjunction with                  judgments to apply the 4-step                           scope or effect for purposes of CAA
                                                a series of related actions on other SIP                framework. EPA has selected a                           section 307(b)(1).63
                                                submissions for the same CAA                            nationally uniform analytic year (2023)
                                                obligations), EPA interprets and applies                for this analysis and is applying a                     List of Subjects in 40 CFR Part 52
                                                section 110(a)(2)(d)(i)(I) of the CAA for               nationally uniform approach to                            Environmental protection, Air
                                                the 2015 8-hour ozone NAAQS based on                    nonattainment and maintenance                           pollution control, Incorporation by
                                                a common core of nationwide policy                      receptors and a nationally uniform                      reference, Ozone.
                                                judgments and technical analysis                        approach to contribution threshold
                                                concerning the interstate transport of                  analysis.62 For these reasons, the                        Authority: 42 U.S.C. 7401 et seq.
                                                pollutants throughout the continental                   Administrator intends, if this proposed                   Dated: February 3, 2022.
                                                U.S. In particular, EPA is applying here                action is finalized, to exercise the                    Daniel Blackman,
                                                (and in other proposed actions related to               complete discretion afforded to him
                                                                                                                                                                Regional Administrator, Region 4.
                                                the same obligations) the same,                         under the CAA to make and publish a
                                                nationally consistent 4-step framework                  finding that this action is based on one                [FR Doc. 2022–02948 Filed 2–18–22; 8:45 am]
                                                for assessing good neighbor obligations                 or more determinations of nationwide                    BILLING CODE 6560–50–P
                                                for the 2015 8-hour ozone NAAQS. EPA
                                                                                                                                                                   63 EPA may take a consolidated, single final
                                                relies on a single set of updated, 2016-                  62 A finding of nationwide scope or effect is also

                                                                                                        appropriate for actions that cover states in multiple   action on all of the proposed SIP disapproval
                                                base year photochemical grid modeling
                                                                                                        judicial circuits. In the report on the 1977            actions with respect to obligations under CAA
                                                results of the year 2023 as the primary                 Amendments that revised section 307(b)(1) of the        section 110(a)(2)(D)(i)(I) for the 2015 8-hour ozone
                                                basis for its assessment of air quality                 CAA, Congress noted that the Administrator’s            NAAQS. Should EPA take a single final action on
                                                conditions and contributions at Steps 1                 determination that the ‘‘nationwide scope or effect’’   all such disapprovals, this action would be
                                                                                                        exception applies would be appropriate for any
                                                and 2 of that framework. Further, EPA                   action that has a scope or effect beyond a single
                                                                                                                                                                nationally applicable, and EPA would also
                                                proposes to determine and apply a set                   judicial circuit. See H.R. Rep. No. 95–294 at 323,      anticipate, in the alternative, making and
                                                of nationally consistent policy                         324, reprinted in 1977 U.S.C.C.A.N. 1402–03.            publishing a finding that such final action is based
                                                                                                                                                                on a determination of nationwide scope or effect.
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                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00108   Fmt 4702   Sfmt 9990   E:\FR\FM\22FEP1.SGM    22FEP1
  Case: 23-60069   Document: 438-3   Page: 284   Date Filed: 09/26/2023




Tab R4-17: Comment submitted by Mississippi Department
        of Environmental Quality (Apr. 22, 2022)
              (EPA-R04-OAR-2021-0841-0017)
        Case: 23-60069           Document: 438-3           Page: 285         Date Filed: 09/26/2023




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        Case: 23-60069           Document: 438-3           Page: 286         Date Filed: 09/26/2023
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FRQWULEXWLRQV WR UHFHSWRUV LQ 7H[DV LV DWWDFKHG WR WKLV FRUUHVSRQGHQFH  7KLV UHVHDUFK LQGLFDWHV
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  Tab R6-1: Air Quality State Implementation Plans;
 Approvals and Promulgations: Air Plan Disapproval;
  Arkansas, Louisiana, Oklahoma, Texas; Interstate
 Transport of Air Pollution for the 2015 8-Hour Ozone
National Ambient Air Quality Standards, Proposed rule
      (Feb. 22, 2022) (EPA-R06-OAR-2021-0801-0001)
                                                                 Case: 23-60069                     Document: 438-3                   Page: 297            Date Filed: 09/26/2023
                                                9798                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                ENVIRONMENTAL PROTECTION                                personal information provided. For                    Docket No. EPA–HQ–OAR–2021–0663
                                                AGENCY                                                  detailed instructions on sending                      contains additional modeling files,
                                                                                                        comments and additional information                   emissions inventory files, technical
                                                40 CFR Part 52                                          on the rulemaking process, see the                    support documents, and other relevant
                                                [EPA–R06–OAR–2021–0801, EPA–HQ–                         ‘‘Public Participation’’ heading of the               supporting documentation regarding
                                                OAR–2021–0663; FRL–9338–01–R6]                          SUPPLEMENTARY INFORMATION section of                  interstate transport of emissions for the
                                                                                                        this document. Out of an abundance of                 2015 8-hour ozone NAAQS which are
                                                Air Plan Disapproval; Arkansas,                         caution for members of the public and                 being used to support this action,
                                                Louisiana, Oklahoma, and Texas;                         our staff, the EPA Docket Center and                  including Preparation of Emissions
                                                Interstate Transport of Air Pollution for               Reading Room are open to the public by                Inventories for the 2016v2 North
                                                the 2015 8-Hour Ozone National                          appointment only to reduce the risk of                American Emissions Modeling Platform,
                                                Ambient Air Quality Standards                           transmitting COVID–19. Our Docket                     and Air Quality Modeling TSD for 2015
                                                                                                        Center staff also continues to provide                ozone NAAQS Transport SIP Proposed
                                                AGENCY: Environmental Protection
                                                                                                        remote customer service via email,                    Actions. All comments regarding
                                                Agency (EPA).                                           phone, and webform. For further                       information in either of these dockets
                                                ACTION: Proposed rule.                                  information on the EPA Docket Center                  are to be made in Docket No. EPA–R06–
                                                SUMMARY: Pursuant to the Federal Clean                  services and the current status, please               OAR–2021–0801. For additional
                                                Air Act (CAA or the Act), the                           visit us online at https://www.epa.gov/               submission methods, please contact
                                                Environmental Protection Agency (EPA                    dockets.                                              Sherry Fuerst, 214–665–6454,
                                                or Agency) is proposing to disapprove                   FOR FURTHER INFORMATION CONTACT:                      fuerst.sherry@epa.gov. For the full EPA
                                                State Implementation Plan (SIP)                         Sherry Fuerst, EPA Region 6 Office, AR–               public comment policy, information
                                                submittals from Arkansas, Louisiana,                    SI, 214–665–6454, fuerst.sherry@                      about CBI or multimedia submissions,
                                                Oklahoma and Texas regarding                            epa.gov. We encourage the public to                   and general guidance on making
                                                interstate transport for the 2015 8-hour                submit comments via https://                          effective comments, please visit https://
                                                ozone national ambient air quality                      www.regulations.gov, as there will be a               www.epa.gov/dockets/commenting-epa-
                                                standard (NAAQS). This provision                        delay in processing mail and no courier               dockets. Due to public health concerns
                                                requires that each state’s SIP contain                  or hand deliveries will be accepted.                  related to COVID–19, the EPA Docket
                                                adequate provisions to prohibit                         Please call or email the contact above if             Center and Reading Room are open to
                                                emissions from within the state from                    you need alternative access to material               the public by appointment only. Our
                                                significantly contributing to                           indexed but not provided in the docket.               Docket Center staff also continues to
                                                nonattainment or interfering with                       SUPPLEMENTARY INFORMATION: Public                     provide remote customer service via
                                                maintenance of the NAAQS in other                       Participation: Submit your comments,                  email, phone, and webform. For further
                                                states. The ‘‘good neighbor’’ or                        identified by Docket ID No. EPA–R06–                  information and updates on EPA Docket
                                                ‘‘interstate transport’’ requirement is                 OAR–2021–0801, at https://                            Center services, please visit us online at
                                                part of the broader set of                              www.regulations.gov (our preferred                    https://www.epa.gov/dockets.
                                                ‘‘infrastructure’’ requirements, which                  method), or the other methods                            The EPA continues to carefully and
                                                are designed to ensure that the                         identified in the ADDRESSES section.                  continuously monitor information from
                                                structural components of each state’s air               Once submitted, comments cannot be                    the Centers for Disease Control and
                                                quality management program are                          edited or removed from the docket. The                Prevention (CDC), local area health
                                                adequate to meet the state’s                            EPA may publish any comment received                  departments, and our Federal partners
                                                responsibilities under the CAA. This                    to its public docket. Do not submit to                so that we can respond rapidly as
                                                disapproval, if finalized, will establish a             the EPA’s docket at https://                          conditions change regarding COVID–19.
                                                2-year deadline for the EPA to                          www.regulations.gov any information                      The index to the dockets for this
                                                promulgate a Federal Implementation                     you consider to be Confidential                       action, Docket No. EPA–R06–OAR–
                                                Plan (FIP) to address the relevant                      Business Information (CBI) or other                   2021–0801 and EPA–HQ–OAR–2021–
                                                interstate transport requirements, unless               information whose disclosure is                       0663, are available electronically at
                                                the EPA approves a subsequent SIP                       restricted by statute. Multimedia                     https://www.regulations.gov. While all
                                                submittal that meets these requirements.                submissions (audio, video, etc.) must be              documents in the docket are listed in
                                                Disapproval does not start a mandatory                  accompanied by a written comment.                     the index, some information may not be
                                                sanctions clock.                                        The written comment is considered the                 publicly available due to docket file size
                                                DATES: Written comments must be                         official comment and should include                   restrictions or content (e.g., CBI).
                                                received on or before April 25, 2022.                   discussion of all points you wish to                     Throughout this document, ‘‘we,’’
                                                ADDRESSES: You may send comments,                       make. The EPA will generally not                      ‘‘us,’’ and ‘‘our’’ means the EPA.
                                                identified as Docket No. EPA–R06–                       consider comments or comment
                                                OAR–2021–0801, by any of the                            contents located outside of the primary               Table of Contents
                                                following methods: Federal                              submission (i.e., on the web, cloud, or               I. Background
                                                eRulemaking Portal at https://                          other file sharing system).                              A. Description of Statutory Background
                                                www.regulations.gov following the                          There are two dockets supporting this                 B. Description of the EPA’s 4-Step
                                                online instructions for submitting                      action, EPA–R06–OAR–2021–0801 and                           Interstate Transport Regulatory Process
                                                comments or via email to fuerst.sherry@                 EPA–HQ–OAR–2021–0663. Docket No.                         C. Background on the EPA’s Ozone
                                                                                                        EPA–R06–OAR–2021–0801 contains                              Transport Modeling Information
lotter on DSK11XQN23PROD with PROPOSALS2




                                                epa.gov. Include Docket ID No. EPA–
                                                R06–OAR–2021–0801 in the subject line                   information specific to Arkansas,                        D. The EPA’s Approach to Evaluating
                                                                                                        Louisiana, Oklahoma, and Texas,                             Interstate Transport SIPs for the 2015
                                                of the message.                                                                                                     Ozone NAAQS
                                                   Instructions: All comments submitted                 including the notice of proposed                         1. Selection of Analytic Year
                                                must include the Docket ID No. for this                 rulemaking, submittals from the states,                  2. Step 1 of the 4-Step Interstate Transport
                                                rulemaking. Comments received may be                    and the EPA Region 6 2015 8-Hour                            Framework
                                                posted without change to https://                       Ozone Transport SIP Proposal Technical                   3. Step 2 of the 4-Step Interstate Transport
                                                www.regulations.gov/, including any                     Support Document (EPA Region 6 TSD).                        Framework



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 298                Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                      9799

                                                   4. Step 3 of the 4-Step Interstate Transport           3. Results of the EPA’s Step 1 and Step 2             addressing the interstate transport
                                                      Framework                                              Modeling and Findings for Texas                    provision for the 2015 ozone NAAQS.
                                                   5. Step 4 of the 4-Step Interstate Transport           4. Evaluation of Information Provided by              The EPA has addressed the interstate
                                                      Framework                                              TCEQ Regarding Step 3
                                                II. Arkansas SIP Submission Addressing                    5. Evaluation of Information Provided by
                                                                                                                                                                transport requirements of CAA section
                                                      Interstate Transport of Air Pollution for              TCEQ Regarding Step 4                              110(a)(2)(D)(i)(I) with respect to prior
                                                      the 2015 Ozone NAAQS and the EPA                    6. Conclusion                                         ozone NAAQS in several regional
                                                      Evaluation of the SIP Submission                  VI. Proposed Action                                     regulatory actions, including the Cross-
                                                   A. Summary of ADEQ SIP Submission                    VII. Statutory and Executive Order Reviews              State Air Pollution Rule (CSAPR),
                                                      Addressing Interstate Transport of Air                                                                    which addressed interstate transport
                                                      Pollution for the 2015 Ozone NAAQS                I. Background
                                                                                                                                                                with respect to the 1997 ozone NAAQS
                                                   B. EPA Evaluation of the ADEQ SIP                    A. Description of Statutory Background                  as well as the 1997 and 2006 fine
                                                      Submission
                                                   1. Evaluation of Information Provided by               On October 1, 2015, the EPA                           particulate matter standards,4 and the
                                                      ADEQ Regarding Step 1                             promulgated a revision to the 2015 8-                   Cross-State Air Pollution Rule Update
                                                   2. Evaluation of Information Provided by             hour ozone NAAQS (2015 ozone                            (CSAPR Update) 5 and the Revised
                                                      ADEQ Regarding Step 2                             NAAQS), lowering the level of both the                  CSAPR Update, both of which
                                                   3. Results of the EPA’s Step 1 and Step 2            primary and secondary standards to                      addressed the 2008 ozone NAAQS.6
                                                      Modeling and Findings for Arkansas                                                                           Through the development and
                                                                                                        0.070 parts per million (ppm).1 Section
                                                   4. Evaluation of Information Provided by                                                                     implementation of the CSAPR
                                                      ADEQ Regarding Step 3                             110(a)(1) of the CAA requires states to
                                                   5. Evaluation of Information Provided by             submit, within 3 years after                            rulemakings and prior regional
                                                      ADEQ Regarding Step 4                             promulgation of a new or revised                        rulemakings pursuant to the interstate
                                                   6. Conclusion                                        standard, SIP submissions meeting the                   transport provision,7 the EPA, working
                                                III. Louisiana SIP Submission Addressing                applicable requirements of section                      in partnership with states, developed
                                                      Interstate Transport of Air Pollution for         110(a)(2).2 One of these applicable                     the following 4-Step framework to
                                                      the 2015 Ozone NAAQS and the EPA                  requirements is found in CAA section                    evaluate a state’s obligations to
                                                      Evaluation of the SIP Submission                                                                          eliminate interstate transport emissions
                                                   A. Summary of LDEQ SIP Submission
                                                                                                        110(a)(2)(D)(i)(I), otherwise known as
                                                      Addressing Interstate Transport of Air            the ‘‘interstate transport’’ or ‘‘good                  under the interstate transport provision
                                                      Pollution for the 2015 Ozone NAAQS                neighbor’’ provision, which generally                   for the ozone NAAQS: (1) Identify
                                                   B. EPA Evaluation of the LDEQ SIP                    requires SIPs to contain adequate                       monitoring sites that are projected to
                                                      Submission                                        provisions to prohibit in-state emissions               have problems attaining and/or
                                                   1. Evaluation of Information Provided by             activities from having certain adverse                  maintaining the NAAQS (i.e.,
                                                      LDEQ Regarding Steps 1 and 2                      air quality effects on other states due to              nonattainment and/or maintenance
                                                   2. Results of the EPA’s Step 1 and Step 2            interstate transport of pollution. There                receptors); (2) identify states that impact
                                                      Modeling and Findings for Louisiana                                                                       those air quality problems in other (i.e.,
                                                                                                        are two requirements, often referred to
                                                   3. Evaluation of Information Provided by
                                                      LDEQ Regarding Step 3                             as ‘‘prongs’’ within CAA section                        downwind) states sufficiently such that
                                                   4. Evaluation of Information Provided by             110(a)(2)(D)(i)(I). A SIP for a new or                  the states are considered ‘‘linked’’ and
                                                      LDEQ Regarding Step 4                             revised NAAQS must contain adequate                     therefore warrant further review and
                                                   5. Conclusion                                        provisions prohibiting any source or                    analysis; (3) identify the emissions
                                                IV. Oklahoma SIP Submission Addressing                  other type of emissions activity within                 reductions necessary (if any), applying a
                                                      Interstate Transport of Air Pollution for         the state from emitting air pollutants in               multifactor analysis, to eliminate each
                                                      the 2015 Ozone NAAQS and the EPA                  amounts that will significantly                         linked upwind state’s significant
                                                      Evaluation of the SIP Submission                  contribute to nonattainment of the                      contribution to nonattainment or
                                                   A. Summary of ODEQ SIP Submission
                                                                                                        NAAQS in another state (prong 1) or                     interference with maintenance of the
                                                      Addressing Interstate Transport of Air
                                                      Pollution for the 2015 Ozone NAAQS                interfere with maintenance of the                       NAAQS at the locations identified in
                                                   B. EPA Evaluation of the ODEQ SIP                    NAAQS in another state (prong 2). The                   Step 1; and (4) adopt permanent and
                                                      Submission                                        EPA and states must give independent                    enforceable measures needed to achieve
                                                   1. Evaluation of Information Provided by             significance to prong 1 and prong 2                     those emissions reductions.
                                                      ODEQ Regarding Steps 1 and 2                      when evaluating downwind air quality
                                                   2. Results of the EPA’s Step 1 and Step 2            problems under CAA section                                 4 See ‘‘Federal Implementation Plans: Interstate
                                                      Modeling and Findings for Oklahoma                110(a)(2)(D)(i)(I).3                                    Transport of Fine Particulate Matter and Ozone and
                                                   3. Evaluation of Information Provided by                                                                     Correction of SIP Approvals’’, 76 FR 48208 (Aug.
                                                      ODEQ Regarding Step 3                             B. Description of the EPA’s 4-Step                      8, 2011).
                                                   4. Evaluation of Information Provided by             Interstate Transport Regulatory Process                    5 See ‘‘Cross-State Air Pollution Rule Update for

                                                      ODEQ Regarding Step 4                                                                                     the 2008 Ozone NAAQS’’, 81 FR 74504 (Oct. 26,
                                                   5. Conclusion
                                                                                                           The EPA is using the 4-Step interstate               2016).
                                                   C. Impact on Areas of Indian Country                 transport framework (or 4-Step                             6 In 2019, the D.C. Circuit Court of Appeals

                                                V. Texas SIP Submission Addressing                      framework) described in detail below to                 remanded the CSAPR Update to the extent it failed
                                                                                                                                                                to require upwind states to eliminate their
                                                      Interstate Transport of Air Pollution for         evaluate states’ SIP submittals                         significant contribution by the next applicable
                                                      the 2015 Ozone NAAQS and the EPA                                                                          attainment date by which downwind states must
                                                      Evaluation of the SIP Submission                    1 ‘‘National Ambient Air Quality Standards for
                                                                                                                                                                come into compliance with the NAAQS, as
                                                   A. Summary of TCEQ SIP Submission                    Ozone’’, Final Rule, 80 FR 65292 (October 26,           established under CAA section 181(a). Wisconsin v.
                                                      Addressing Interstate Transport of Air            2015). Although the level of the standard is            EPA, 938 F.3d 303, 313 (D.C. Cir. 2019). The
                                                      Pollution for the 2015 Ozone NAAQS                specified in the units of ppm, ozone concentrations     Revised CSAPR Update for the 2008 Ozone
                                                   B. EPA Evaluation of the TCEQ SIP                    are also described in parts per billion (ppb). For      NAAQS, 86 FR 23054 (April 30, 2021), responded
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        example, 0.070 ppm is equivalent to 70 ppb.             to the remand of the CSAPR Update in Wisconsin
                                                      Submission                                          2 SIP revisions that are intended to meet the         and the vacatur of a separate rule, the ‘‘CSAPR
                                                   1. Evaluation of Information Provided by
                                                                                                        applicable requirements of section 110(a)(1) and (2)    Close-Out,’’ 83 FR 65878 (December 21, 2018), in
                                                      TCEQ Regarding Step 1                             of the CAA are often referred to as infrastructure      New York v. EPA, 781 F. App’x. 4 (D.C. Cir. 2019).
                                                   i. Evaluation of TCEQ’s Methodology for              SIPs and the applicable elements under section             7 In addition to the CSAPR rulemakings, other
                                                      Identifying Maintenance Receptors                 110(a)(2) are referred to as infrastructure             regional rulemakings addressing ozone transport
                                                   ii. Evaluation of the TCEQ Modeling                  requirements.                                           include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October
                                                   2. Evaluation of Information Provided by               3 See North Carolina v. EPA, 531 F.3d 896, 909–       27, 1998), and the ‘‘Clean Air Interstate Rule’’
                                                      TCEQ Regarding Step 2                             11 (D.C. Cir. 2008).                                    (CAIR), 70 FR 25162 (May 12, 2005).



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                                                                  Case: 23-60069                     Document: 438-3                    Page: 299             Date Filed: 09/26/2023
                                                9800                    Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                C. Background on the EPA’s Ozone                          2018, we issued a memorandum (March                     collaborative project.15 This
                                                Transport Modeling Information                            2018 memorandum) noting that the                        collaborative project was a multi-year
                                                                                                          same 2023 modeling data released in the                 joint effort by the EPA, MJOs, and states
                                                  In general, the EPA has performed                                                                               to develop a new, more recent emissions
                                                                                                          October 2017 memorandum could also
                                                nationwide air quality modeling to                                                                                platform for use by the EPA and states
                                                                                                          be useful for identifying potential
                                                project ozone design values (DVs) 8                                                                               in regulatory modeling as an
                                                                                                          downwind air quality problems with
                                                which are used in combination with                                                                                improvement over the dated 2011-based
                                                                                                          respect to the 2015 ozone NAAQS at
                                                measured data to identify                                                                                         platform that the EPA had used to
                                                                                                          Step 1 of the 4-Step framework.12 The
                                                nonattainment and maintenance                                                                                     project ozone DVs and contribution data
                                                receptors. To quantify the contribution                   March 2018 memorandum also included
                                                                                                          the then newly available contribution                   provided in the 2017 and 2018
                                                of emissions from specific upwind                                                                                 memoranda. The EPA used the 2016v1
                                                states on 2023 ozone DVs for the                          modeling data to assist states in
                                                                                                          evaluating their impact on potential                    emissions to project ozone DVs and
                                                identified downwind nonattainment                                                                                 contributions for 2023. On October 30,
                                                and maintenance receptors, the EPA                        downwind air quality problems for the
                                                                                                          2015 ozone NAAQS under Step 2 of the                    2020, in the Notice of Proposed
                                                performed nationwide, state-level ozone                                                                           Rulemaking for the Revised CSAPR
                                                source apportionment modeling for                         4-Step framework.13 The EPA
                                                                                                          subsequently issued two more                            Update, the EPA released and accepted
                                                2023. The source apportionment                                                                                    public comment on 2023 modeling that
                                                modeling provided contributions to                        memoranda in August and October
                                                                                                                                                                  used the 2016v1 emissions platform.16
                                                ozone at receptors from precursor                         2018, providing additional information
                                                                                                                                                                  See 85 FR 68964, 68981. Although the
                                                emissions of anthropogenic nitrogen                       to states developing interstate transport
                                                                                                                                                                  Revised CSAPR Update addressed
                                                oxides (NOX) and volatile organic                         SIP submissions for the 2015 ozone
                                                                                                                                                                  transport for the 2008 ozone NAAQS,
                                                compounds (VOCs) in individual                            NAAQS concerning, respectively,
                                                                                                                                                                  the projected DVs and contributions
                                                upwind states.                                            potential contribution thresholds that                  from the 2016v1 platform are also useful
                                                                                                          may be appropriate to apply in Step 2                   for identifying downwind ozone
                                                   The EPA has released several
                                                documents containing projected ozone                      of the 4-Step interstate transport                      problems and linkages with respect to
                                                design values, contributions, and                         framework, and considerations for                       the 2015 ozone NAAQS.17
                                                information relevant to evaluating                        identifying downwind areas that may                        Following the Revised CSAPR Update
                                                interstate transport with respect to the                  have problems maintaining the standard                  final rule, the EPA made further updates
                                                2015 ozone NAAQS. First, on January 6,                    at Step 1 of the 4-Step interstate                      to the 2016 emissions platform to
                                                2017, the EPA published a notice of data                  transport framework.14                                  include mobile emissions from the
                                                availability (NODA) in which we                              Since the release of the modeling data               EPA’s Motor Vehicle Emission
                                                requested comment on preliminary                          shared in the March 2018                                Simulator MOVES3 model 18 and
                                                interstate ozone transport data including                 memorandum, the EPA performed                           updated emissions projections for
                                                projected ozone DVs and interstate                        updated modeling using a 2016-based                     electric generating units (EGUs) that
                                                contributions for 2023 using a 2011 base                  emissions modeling platform (i.e.,                      reflect the emissions reductions from
                                                year platform.9 In the NODA, the EPA                      2016v1). This emissions platform was                    the Revised CSAPR Update, recent
                                                used the year 2023 as the analytic year                   developed under the EPA/Multi-                          information on plant closures, and other
                                                for this preliminary modeling because                     Jurisdictional Organization (MJO)/state                 sector trends. The construct of the
                                                that year aligns with the expected                                                                                updated emissions platform, 2016v2, is
                                                attainment year for Moderate ozone                        interstate-air-pollution-transport/interstate-air-
                                                                                                                                                                  described in the Technical Support
                                                nonattainment areas for the 2015                          pollution-transport-memos-and-notices.                  Document (TSD) Preparation of
                                                NAAQS.10 On October 27, 2017, we                             12 See EPA memorandum, ‘‘Information on the          Emissions Inventories for the 2016v2
                                                released a memorandum (October 2017                       Interstate Transport State Implementation Plan          North American Emissions Modeling
                                                                                                          Submissions for the 2015 Ozone National Ambient         Platform, which is included in Docket
                                                memorandum) containing updated                            Air Quality Standards under Clean Air Act section
                                                modeling data for 2023, which                             110(a)(2)(D)(i)(I)’’, March 27, 2018, (‘‘March 2018     ID No. EPA–HQ–OAR–2021–0663. The
                                                incorporated changes made in response                     memorandum’’) available in Docket ID No. EPA–           EPA performed air quality modeling of
                                                to comments on the NODA, and noted                        HQ–OAR–2021–0663 or at https://www.epa.gov/             the 2016v2 emissions using the most
                                                                                                          interstate-air-pollution-transport/interstate-air-      recent publicly released version of the
                                                that the modeling may be useful for                       pollution-transport-memos-and-notices.
                                                states developing SIPs to address                            13 The March 2018 memorandum, however,
                                                                                                                                                                  Comprehensive Air-quality Model with
                                                interstate transport obligations for the                  provided, ‘‘While the information in this               extensions (CAMx) photochemical
                                                2008 ozone NAAQS.11 On March 27,                          memorandum and the associated air quality               modeling, version 7.10.19 The EPA now
                                                                                                          analysis data could be used to inform the               proposes to rely on the air quality
                                                                                                          development of these SIPs, the information is not
                                                  8 A design value is a statistic that describes the
                                                                                                          a final determination regarding states’ obligations
                                                                                                                                                                  modeling performed using CAMx,
                                                air quality status of a given location relative to the    under the interstate transport provision. Any such      version 7.10, and the newly available
                                                level of the NAAQS. Design values are typically           determination would be made through notice-and-         2016v2 emissions platform in evaluating
                                                used to designate and classify nonattainment areas,       comment rulemaking.’’
                                                as well as to assess progress towards meeting the
                                                                                                                                                                  states’ submissions with respect to Steps
                                                                                                             14 See EPA memorandums, ‘‘Analysis of
                                                NAAQS. See https://www.epa.gov/air-trends/air-            Contribution Thresholds for Use in Clean Air Act          15 The results of this modeling, as well as the
                                                quality-design-values#report.                             section 110(a)(2)(D)(i)(I) Interstate Transport State
                                                  9 See ‘‘Notice of Availability of the Environmental                                                             underlying modeling files, are included in Docket
                                                                                                          Implementation Plan Submissions for the 2015
                                                Protection Agency’s Preliminary Interstate Ozone                                                                  ID No. EPA–HQ–OAR–2021–0663.
                                                                                                          Ozone National Ambient Air Quality Standards’’,           16 See 85 FR 68964, 68981 (Oct. 30, 2020).
                                                Transport Modeling Data for the 2015 8-hour Ozone         August 31, 2018 (‘‘August 2018 memorandum’’),
                                                National Ambient Air Quality Standard (NAAQS)’’,          and ‘‘Considerations for Identifying Maintenance
                                                                                                                                                                    17 See the Air Quality Modeling Technical
lotter on DSK11XQN23PROD with PROPOSALS2




                                                82 FR 1733 (January 6, 2017).                             Receptors for Use in Clean Air Act section              Support Document for the Final Revised Cross-State
                                                  10 82 FR at 1735.
                                                                                                          110(a)(2)(D)(i)(I) Interstate Transport State           Air Pollution Rule Update, available in Docket ID
                                                  11 See EPA memorandum, ‘‘Information on the             Implementation Plan Submissions for the 2015            No. EPA–HQ–OAR–2021–0063 for this action.
                                                                                                                                                                    18 Additional details and documentation related
                                                Interstate Transport State Implementation Plan            Ozone National Ambient Air Quality Standards’’,
                                                Submissions for the 2008 Ozone National Ambient           October 19, 2018 (‘‘October 2018 memorandum’’),         to the MOVES3 model can be found at https://
                                                Air Quality Standards under Clean Air Act section         available in Docket ID No. EPA–HQ–OAR–2021–             www.epa.gov/moves/latest-version-motor-vehicle-
                                                110(a)(2)(D)(i)(I)’’, October 27, 2017, (‘‘October 2017   0663 or at https://www.epa.gov/airmarkets/memo-         emission-simulator-moves.
                                                memorandum’’) available in Docket ID No. EPA–             and-supplemental-information-regarding-interstate-        19 Ramboll Environment and Health, January

                                                HQ–OAR–2021–0663 or at https://www.epa.gov/               transport-sips-2015-ozone-naaqs.                        2021, www.camx.com.



                                           VerDate Sep<11>2014    20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM    22FEP2
                                                                 Case: 23-60069                       Document: 438-3                    Page: 300            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                       9801

                                                1 and 2 of the 4-Step framework and                       EME Homer City Generation, LP v. EPA,                  definition of nonattainment and
                                                generally referenced within this action                   572 U.S. 489, 519 (2014).                              maintenance receptors, selection of
                                                as 2016v2 modeling for 2023. By using                        In the March, August, and October                   contribution threshold, and multifactor
                                                the updated modeling results, the EPA                     2018 memoranda, the EPA recognized                     control strategy analysis.
                                                is using the most current and                             that states may be able to establish
                                                                                                          alternative approaches to addressing                   1. Selection of Analytic Year
                                                technically appropriate information for
                                                this proposed rulemaking. Sections II–V                   their interstate transport obligations for                In general, the states and the EPA
                                                of this action and the Air Quality                        the 2015 ozone NAAQS that vary from                    must implement the interstate transport
                                                Modeling TSD for 2015 ozone NAAQS                         a nationally uniform framework. The                    provision in a manner ‘‘consistent with
                                                Transport SIP Proposed Actions,                           EPA emphasized in these memoranda,                     the provisions of [title I of the CAA.]’’
                                                included in Docket ID No. EPA–HQ–                         however, that such alternative                         CAA section 110(a)(2)(D)(i). This
                                                OAR–2021–0663 for this proposal,                          approaches must be technically justified               requires, among other things, that these
                                                contain additional detail on the EPA’s                    and appropriate in light of the facts and              obligations are addressed consistently
                                                2016v2 modeling. In this action, the                      circumstances of each particular state’s               with the timeframes for downwind areas
                                                EPA is inviting public comment on this                    submittal. In general, the EPA continues               to meet their CAA obligations. With
                                                updated 2023 modeling, which uses a                       to believe that deviation from a                       respect to ozone NAAQS, under CAA
                                                2016v2 emissions platform. Per the                        nationally consistent approach to ozone                section 181(a), this means obligations
                                                instructions in the Supplementary                         transport must be substantially justified              must be addressed ‘‘as expeditiously as
                                                Information section above, all public                     and have a well-documented technical                   practicable’’ and no later than the
                                                comments, including comments on the                       basis that is consistent with relevant                 schedule of attainment dates provided
                                                EPA’s air quality modeling should be                      case law. Where states submitted SIPs                  in CAA section 181(a)(1).24 Several D.C.
                                                submitted in the Regional docket for                      that rely on any such potential                        Circuit court decisions address the issue
                                                this action, Docket ID No. EPA–R06–                       ‘‘flexibilities’’ as may have been                     of the relevant analytic year for the
                                                OAR–2021–0801. Comments are not                           identified or suggested in the past, the               purposes of evaluating ozone transport
                                                being accepted in Docket No. EPA–HQ–                      EPA will evaluate whether the state                    air quality problems. On September 13,
                                                OAR–2021–0663.                                            adequately justified the technical and                 2019, the D.C. Circuit issued a decision
                                                   States may have chosen to rely on the                  legal basis for doing so.                              in Wisconsin v. EPA, remanding the
                                                results of EPA modeling and/or                               The EPA notes that certain concepts                 CSAPR Update to the extent that it
                                                alternative modeling performed by                         included in an attachment to the March                 failed to require upwind states to
                                                                                                          2018 memorandum require unique                         eliminate their significant contribution
                                                states or Multi-Jurisdictional
                                                                                                          consideration, and these ideas do not                  by the next applicable attainment date
                                                Organizations (MJOs) to evaluate
                                                                                                          constitute agency guidance with respect                by which downwind states must come
                                                downwind air quality problems and
                                                                                                          to transport obligations for the 2015                  into compliance with the NAAQS, as
                                                contributions as part of their
                                                                                                          ozone NAAQS. Attachment A to the                       established under CAA section 181(a).
                                                submissions. In Sections II–V of this
                                                                                                          March 2018 memorandum identified a                     938 F.3d at 313.
                                                action, we evaluate how the states used                                                                             On May 19, 2020, the D.C. Circuit
                                                                                                          ‘‘Preliminary List of Potential
                                                air quality modeling information in                                                                              issued a decision in Maryland v. EPA
                                                                                                          Flexibilities’’ that could potentially
                                                their submissions.                                                                                               that cited the Wisconsin decision in
                                                                                                          inform SIP development.21 However,
                                                D. The EPA’s Approach to Evaluating                       the EPA made clear in Attachment A                     holding that the EPA must assess the
                                                Interstate Transport SIPs for the 2015                    that the list of ideas were not                        impact of interstate transport on air
                                                Ozone NAAQS                                               suggestions endorsed by the Agency but                 quality at the next downwind
                                                                                                          rather ‘‘comments provided in various                  attainment date, including Marginal
                                                   The EPA proposes to apply a                                                                                   area attainment dates, in evaluating the
                                                consistent set of policy judgments                        forums’’ on which the EPA sought
                                                                                                          ‘‘feedback from interested                             basis for the EPA’s denial of a petition
                                                across all states for purposes of                                                                                under CAA section 126(b). Maryland v.
                                                evaluating interstate transport                           stakeholders.’’ 22 Further, Attachment A
                                                                                                          stated, ‘‘EPA is not at this time making               EPA, 958 F.3d 1185, 1203–04 (D.C. Cir.
                                                obligations and the approvability of                                                                             2020). The court noted that ‘‘section
                                                interstate transport SIP submittals for                   any determination that the ideas
                                                                                                          discussed below are consistent with the                126(b) incorporates the Good Neighbor
                                                the 2015 ozone NAAQS. These policy                                                                               Provision,’’ and, therefore, ‘‘EPA must
                                                judgments reflect consistency with                        requirements of the CAA, nor are we
                                                                                                          specifically recommending that states                  find a violation [of section 126] if an
                                                relevant case law and past agency                                                                                upwind source will significantly
                                                practice as reflected in the CSAPR and                    use these approaches.’’ 23 Attachment A
                                                                                                          to the March 2018 memorandum,                          contribute to downwind nonattainment
                                                related rulemakings. Nationwide                                                                                  at the next downwind attainment
                                                consistency in approach is particularly                   therefore, does not constitute agency
                                                                                                          guidance, but was intended to generate                 deadline. Therefore, the agency must
                                                important in the context of interstate                                                                           evaluate downwind air quality at that
                                                ozone transport, which is a regional-                     further discussion around potential
                                                                                                          approaches to addressing ozone                         deadline, not at some later date.’’ Id. at
                                                scale pollution problem involving many                                                                           1204 (emphasis added). The EPA
                                                smaller contributors. Effective policy                    transport among interested stakeholders.
                                                                                                          To the extent states sought to develop or              interprets the court’s holding in
                                                solutions to the problem of interstate                                                                           Maryland as requiring the states and the
                                                ozone transport going back to the 1998                    rely on these ideas in support of their
                                                                                                          SIP submittals, the EPA will review the                Agency, under the interstate transport
                                                NOX SIP Call 20 have necessitated the                                                                            provision, to assess downwind air
                                                application of a uniform framework of                     technical and legal justifications for
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                          doing so.                                              quality as expeditiously as practicable
                                                policy judgments in order to ensure an                                                                           and no later than the next applicable
                                                                                                             The remainder of this section
                                                ‘‘efficient and equitable’’ approach. See
                                                                                                          describes the EPA’s proposed
                                                                                                                                                                   24 For attainment dates for the 2015 8-hour ozone
                                                  20 See 63 FR 57356. The NO
                                                                                                          framework with respect to analytic year,
                                                                               X SIP Call required                                                               NAAQS, refer to CAA section 181(a), 40 CFR
                                                22 eastern states and the District of Columbia to                                                                51.1303, and ‘‘Additional Air Quality Designations
                                                                                                            21 March 2018 memorandum, Attachment A.
                                                submit state implementation plans (SIPs) that set                                                                for the 2015 Ozone National Ambient Air Quality
                                                                                                            22 Id. at A–1.
                                                statewide ozone season NOx budgets which would                                                                   Standards’’, 83 FR 25776 (June 4, 2018, effective
                                                reduce emissions of NOX.                                    23 Id.                                               Aug. 3, 2018).



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001     PO 00000   Frm 00005    Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 301               Date Filed: 09/26/2023
                                                9802                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                attainment date,25 which is now the                     have problems attaining and/or                         quality was determined by evaluating
                                                Moderate area attainment date under                     maintaining the NAAQS in the 2023                      the ‘‘maximum’’ future DV at each
                                                CAA section 181 for ozone                               analytic year. Where the EPA’s analysis                receptor based on a projection of the
                                                nonattainment. The Moderate area                        shows that a site does not fall under the              maximum measured DV over the
                                                attainment date for the 2015 ozone                      definition of a nonattainment or                       relevant period. The EPA interprets the
                                                NAAQS is August 3, 2024.26 The EPA                      maintenance receptor, that site is                     projected maximum future DV to be a
                                                believes that 2023 is now the                           excluded from further analysis under                   potential future air quality outcome
                                                appropriate year for analysis of                        the EPA’s 4-Step framework. For sites                  consistent with the meteorology that
                                                interstate transport obligations for the                that are identified as a nonattainment or              yielded maximum measured
                                                2015 ozone NAAQS, because the 2023                      maintenance receptor in 2023, we                       concentrations in the ambient data set
                                                ozone season is the last relevant ozone                 proceed to the next step of our 4-Step                 analyzed for that receptor (i.e., ozone
                                                season during which achieved                            framework by identifying the upwind                    conducive meteorology). The EPA also
                                                emissions reductions in linked upwind                   state’s contribution to those receptors.               recognizes that previously experienced
                                                states could assist downwind states                        The EPA’s approach to identifying                   meteorological conditions (e.g.,
                                                with meeting the August 3, 2024,                        ozone nonattainment and maintenance                    dominant wind direction, temperatures,
                                                Moderate area attainment date for the                   receptors in this action is consistent                 air mass patterns) promoting ozone
                                                2015 ozone NAAQS.                                       with the approach used in previous                     formation that led to maximum
                                                   The EPA recognizes that the                          transport rulemakings. The EPA’s                       concentrations in the measured data
                                                attainment date for nonattainment areas                 approach gives independent                             may reoccur in the future. The
                                                classified as Marginal for the 2015                     consideration to both the ‘‘contribute                 maximum DV gives a reasonable
                                                ozone NAAQS was August 3, 2021.                         significantly to nonattainment’’ and the               projection of future air quality at the
                                                Under the Maryland holding, any                         ‘‘interfere with maintenance’’ prongs of               receptor under a scenario in which such
                                                necessary emissions reductions to                       CAA section 110(a)(2)(D)(i)(I),                        conditions do, in fact, reoccur. The
                                                satisfy interstate transport obligations                consistent with the D.C. Circuit’s                     projected maximum DV is used to
                                                should have been implemented by no                      direction in North Carolina v. EPA.27                  identify upwind emissions that, under
                                                later than this date. At the time of the                   For the purpose of this proposal, the               those circumstances, could interfere
                                                statutory deadline to submit interstate                 EPA identifies ‘‘nonattainment’’                       with the downwind area’s ability to
                                                transport SIPs (October 1, 2018), many                  receptors as those monitoring sites that               maintain the NAAQS.
                                                states relied upon the EPA modeling of                  are projected to have average DVs in                     Recognizing that nonattainment
                                                the year 2023, and no state provided an                 2023 that exceed the NAAQS and that                    receptors are also, by definition,
                                                alternative analysis using a 2021                       are also measuring nonattainment based                 maintenance receptors, the EPA often
                                                analytic year (or the prior 2020 ozone                  on the most recent monitored DVs. This                 uses the term ‘‘maintenance-only’’ to
                                                season). However, the EPA must act on                   approach is consistent with prior                      refer to those receptors that are not
                                                SIP submittals using the information                    transport rulemakings, such as the                     nonattainment receptors. Consistent
                                                available at the time it takes such action.             CSAPR Update, where the EPA defined                    with the concepts for maintenance
                                                In this circumstance, the EPA does not                  nonattainment receptors as those areas                 receptors, as described above, the EPA
                                                believe it would be appropriate to                      that both currently measure                            identifies ‘‘maintenance-only’’ receptors
                                                evaluate states’ obligations under CAA                  nonattainment and that the EPA projects                as those monitoring sites that have
                                                section 110(a)(2)(D)(i)(I) as of an                     will be in nonattainment in the future                 projected average DVs above the level of
                                                attainment date that is wholly in the                   analytic year (i.e., 2023).28                          the applicable NAAQS, but that are not
                                                past, because the Agency interprets the                    In addition, in this proposal, the EPA              currently measuring nonattainment
                                                interstate transport provision as forward               identifies a receptor to be a                          based on the most recent official DVs. In
                                                looking. See 86 FR at 23074; see also                   ‘‘maintenance’’ receptor for purposes of               addition, those monitoring sites with
                                                Wisconsin, 938 F.3d at 322.                             defining interference with maintenance,                projected average DVs below the
                                                Consequently, in this proposal the EPA                  consistent with the method used in the                 NAAQS, but with projected maximum
                                                proposes to use the analytical year of                  CSAPR and upheld by the D.C. Circuit                   DVs above the NAAQS are also
                                                2023 to evaluate each state’s CAA                       in EME Homer City Generation, L.P. v.                  identified as ‘‘maintenance only’’
                                                section 110(a)(2)(D)(i)(I) SIP submission               EPA, 795 F.3d 118, 136 (D.C. Cir.                      receptors, even if they are currently
                                                with respect to the 2015 ozone NAAQS.                   2015).29 Specifically, the EPA identified              measuring nonattainment based on the
                                                                                                        maintenance receptors as those                         most recent official DVs.
                                                2. Step 1 of the 4-Step Interstate
                                                Transport Framework                                     receptors that would have difficulty                   3. Step 2 of the 4-Step Interstate
                                                                                                        maintaining the relevant NAAQS in a                    Transport Framework
                                                   In Step 1, the EPA identifies
                                                                                                        scenario that takes into account                          In Step 2, the EPA quantifies the
                                                monitoring sites that are projected to
                                                                                                        historical variability in air quality at               contribution of each upwind state to
                                                   25 We note that the court in Maryland did not
                                                                                                        that receptor. The variability in air                  each receptor in the 2023 analytic year.
                                                have occasion to evaluate circumstances in which
                                                                                                           27 See North Carolina v. EPA, 531 F.3d 896, 910–
                                                                                                                                                               The contribution metric used in Step 2
                                                the EPA may determine that an upwind linkage to                                                                is defined as the average impact from
                                                a downwind air quality problem exists at Steps 1        11 (D.C. Cir. 2008) (holding that the EPA must give
                                                and 2 of the 4-Step interstate transport framework      ‘‘independent significance’’ to each prong of CAA      each state to each receptor on the days
                                                by a particular attainment date, but for reasons of     section 110(a)(2)(D)(i)(I)).                           with the highest ozone concentrations at
                                                impossibility or profound uncertainty the Agency is        28 See 81 FR 74504 (October 26, 2016). This same
                                                                                                                                                               the receptor based on the 2023
                                                unable to mandate upwind pollution controls by          concept, relying on both current monitoring data       modeling. If a state’s contribution value
lotter on DSK11XQN23PROD with PROPOSALS2




                                                that date. See Wisconsin, 938 F.3d at 320. The D.C.     and modeling to define nonattainment receptor,
                                                Circuit noted in Wisconsin that upon a sufficient       was also applied in CAIR. See 70 FR at 25241,          does not equal or exceed the threshold
                                                showing, these circumstances may warrant                25249 (January 14, 2005); see also North Carolina,     of 1 percent of the NAAQS (i.e., 0.70
                                                flexibility in effectuating the purpose of the          531 F.3d at 913–14 (affirming as reasonable EPA’s      ppb for the 2015 ozone NAAQS), the
                                                interstate transport provision.                         approach to defining nonattainment in CAIR).           upwind state is not ‘‘linked’’ to a
                                                   26 See CAA section 181(a); 40 CFR 51.1303;              29 See 76 FR 48208 (August 8, 2011). CSAPR

                                                ‘‘Additional Air Quality Designations for the 2015      Update and Revised CSAPR Update also used this
                                                                                                                                                               downwind air quality problem, and the
                                                Ozone National Ambient Air Quality Standards’’,         approach. See 81 FR 74504 (October 26, 2016) and       EPA, therefore, concludes that the state
                                                83 FR 25776 (June 4, 2018, effective Aug. 3, 2018).     86 FR 23054 (April 30, 2021).                          does not significantly contribute to


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 302            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9803

                                                nonattainment or interfere with                         Step 2 using the alternative threshold,               5. Step 4 of the 4-Step Interstate
                                                maintenance of the NAAQS in the                         the EPA will evaluate whether the state               Transport Framework
                                                downwind states. However, if a state’s                  provided a technically sound                             In Step 4, states (or the EPA) develop
                                                contribution equals or exceeds the 1                    assessment of the appropriateness of                  permanent and federally enforceable
                                                percent threshold, the state’s emissions                using this alternative threshold based on             control strategies to achieve the
                                                are further evaluated in Step 3,                        the facts and circumstances underlying                emissions reductions determined to be
                                                considering both air quality and cost of                its application in the particular SIP                 necessary in Step 3 to eliminate
                                                controls as part of a multifactor analysis,             submission.                                           significant contribution to
                                                to determine what, if any, emissions                    4. Step 3 of the 4-Step Interstate                    nonattainment or interference with
                                                might be deemed ‘‘significant’’ and,                    Transport Framework                                   maintenance of the NAAQS. For a state
                                                thus, must be eliminated under CAA                                                                            linked in Steps 1 and 2 to rely on an
                                                section 110(a)(2)(D)(i)(I). The EPA is                     Consistent with the EPA’s
                                                                                                                                                              emissions control measure in Step 3 to
                                                proposing to continue to rely in the first              longstanding approach to eliminating
                                                                                                                                                              address its interstate transport
                                                instance on the 1 percent threshold for                 significant contribution or interference
                                                                                                                                                              obligations, that measure must be
                                                the purpose of evaluating a state’s                     with maintenance, at Step 3, states
                                                                                                                                                              included in the state’s SIP so that it is
                                                contribution to nonattainment or                        linked at Steps 1 and 2 are generally
                                                                                                                                                              permanent and federally enforceable.
                                                maintenance of the 2015 ozone NAAQS                     expected to prepare a multifactor
                                                                                                                                                              See CAA section 110(a)(2)(D) (‘‘Each
                                                (i.e., 0.70 ppb) at downwind receptors.                 analysis of potential emissions controls.
                                                                                                                                                              such [SIP] shall . . . contain adequate
                                                This is consistent with the Step 2                      The EPA’s analysis at Step 3 in prior
                                                                                                                                                              provisions. . . .’’). See also CAA
                                                approach that the EPA applied in                        Federal actions addressing interstate
                                                                                                                                                              section 110(a)(2)(A); Committee for a
                                                CSAPR for the 1997 ozone NAAQS,                         transport requirements has primarily
                                                                                                                                                              Better Arvin v. U.S. E.P.A., 786 F.3d
                                                which has subsequently been applied in                  focused on an evaluation of cost-
                                                                                                                                                              1169, 1175–76 (9th Cir. 2015) (holding
                                                the CSAPR Update when evaluating                        effectiveness of potential emissions
                                                                                                                                                              that measures relied on by state to meet
                                                interstate transport obligations for the                controls (on a marginal cost-per-ton
                                                                                                                                                              CAA requirements must be included in
                                                2008 ozone NAAQS. For ozone, as the                     basis), the total emissions reductions
                                                                                                                                                              the SIP).
                                                EPA found in the Clean Air Interstate                   that may be achieved by requiring such
                                                Rule (CAIR), CSAPR, and CSAPR                           controls (if applied across all linked                II. Arkansas SIP Submission
                                                Update, a portion of the nonattainment                  upwind states), and an evaluation of the              Addressing Interstate Transport of Air
                                                                                                        air quality impacts such emissions                    Pollution for the 2015 Ozone NAAQS
                                                problem from anthropogenic sources in
                                                                                                        reductions would have on the                          and the EPA Evaluation of the SIP
                                                the U.S. results from the combined
                                                                                                        downwind receptors to which a state is                Submission
                                                impact of relatively small contributions
                                                                                                        linked; other factors may potentially be
                                                from many upwind states, along with                                                                           A. Summary of ADEQ SIP Submission
                                                                                                        relevant if adequately supported. In
                                                contributions from in-state sources and,                                                                      Addressing Interstate Transport of Air
                                                                                                        general, where the EPA’s or alternative
                                                in some cases, substantially larger                                                                           Pollution for the 2015 Ozone NAAQS
                                                                                                        air quality and contribution modeling
                                                contributions from a subset of upwind                                                                            On October 10, 2019, the Arkansas
                                                                                                        establishes that a state is linked at Steps
                                                states. The EPA’s analysis shows that                                                                         Division of Environmental Quality
                                                                                                        1 and 2, it will be insufficient at Step
                                                much of the ozone transport problem                                                                           (ADEQ) of the Arkansas Department of
                                                                                                        3 for a state merely to point to its
                                                being analyzed in this proposed rule is                                                                       Energy and Environment made a SIP
                                                                                                        existing rules requiring control
                                                still the result of the collective impacts                                                                    submission addressing interstate
                                                                                                        measures as a basis for approval. In
                                                of contributions from many upwind                                                                             transport of air pollution for the 2015
                                                                                                        general, the emissions-reducing effects
                                                states. Therefore, application of a                                                                           ozone NAAQS. The ADEQ SIP
                                                                                                        of all existing emissions control
                                                consistent contribution threshold is                                                                          submission provided an analysis of
                                                                                                        requirements are already reflected in the
                                                necessary to identify those upwind                                                                            Arkansas’s air emissions impact to
                                                                                                        air quality results of the modeling for
                                                states that should have responsibility for                                                                    downwind states using the EPA’s 4-Step
                                                                                                        Steps 1 and 2. If the state is shown to
                                                addressing their contribution to the                                                                          framework and an analytic year of 2023
                                                                                                        still be linked to one or more downwind
                                                downwind nonattainment and                                                                                    and concluded that the State’s air
                                                                                                        receptor(s), states must provide a well-
                                                maintenance problems to which they                                                                            emissions will not contribute
                                                                                                        documented evaluation determining
                                                collectively contribute. Continuing to                                                                        significantly to nonattainment or
                                                                                                        whether their emissions constitute
                                                use 1 percent of the NAAQS as the                                                                             interfere with maintenance of the 2015
                                                                                                        significant contribution or interference
                                                screening metric to evaluate collective                                                                       ozone NAAQS in other states.
                                                                                                        with maintenance by preparing a
                                                contribution from many upwind states                                                                             To identify downwind monitors
                                                                                                        multifactor assessment that evaluates
                                                also allows the EPA (and states) to apply                                                                     projected to be in nonattainment and/or
                                                                                                        additional available control
                                                a consistent framework to evaluate                                                                            have maintenance issues in 2023 (Step
                                                                                                        opportunities. While the EPA has not
                                                interstate emissions transport under the                                                                      1), ADEQ relied on the EPA’s interstate
                                                                                                        prescribed a particular method for this
                                                interstate transport provision from one                                                                       transport modeling results that are
                                                                                                        assessment, the EPA expects states at a
                                                NAAQS to the next. See 81 FR at 74518.                                                                        included as an attachment to the March
                                                                                                        minimum to present a sufficient
                                                See also 86 FR at 23085 (reviewing and                                                                        2018 memorandum. The EPA modeling
                                                                                                        technical evaluation. This would
                                                explaining rationale from CSAPR); 76                                                                          results included with the March 2018
                                                                                                        typically include information on
                                                FR at 48237–38 (for selection of 1                                                                            memorandum provide: (1) Projected
                                                                                                        emissions sources, applicable control
                                                percent threshold).
                                                                                                        technologies, emissions reductions,
                                                   The EPA’s August 2018 memorandum                                                                           sources, states could look to the CSAPR Update, 81
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        costs, cost effectiveness, and downwind               FR 74504, 74539–51; CSAPR, 76 FR 48208, 48246–
                                                recognized that in certain                              air quality impacts of the estimated                  63; CAIR, 70 FR 25162, 25195–229; or the NOX SIP
                                                circumstances, a state may be able to                   reductions, before concluding that no                 Call, 63 FR 57356, 57399–405. See also Revised
                                                establish that an alternative contribution              additional emissions controls should be               CSAPR Update, 86 FR 23054, 23086–23116.
                                                threshold of 1 ppb is justifiable. Where                                                                      Consistently across these rulemakings, the EPA has
                                                                                                        required.30                                           developed emissions inventories, analyzed different
                                                a state relies on this alternative                                                                            levels of control stringency at different cost
                                                threshold, and where that state                           30 As examples of general approaches for how        thresholds, and assessed resulting downwind air
                                                determined that it was not linked at                    such an analysis could be conducted for their         quality improvements.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                       Case: 23-60069                            Document: 438-3                             Page: 303                    Date Filed: 09/26/2023
                                                9804                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                average DV and maximum DV for the                                      three different contribution thresholds:                             rationale ADEQ provided was based on
                                                future year 2023 (fy 2023) for ozone                                   1 Percent of the NAAQS, 1 ppb, and 2                                 the consistency with the reported
                                                monitors projected to be potential                                     ppb. ADEQ summarized the August                                      precision of Federal reference monitors
                                                nonattainment or maintenance receptors                                 2018 memorandum and concluded that                                   for ozone and the rounding
                                                in the 48 contiguous States and (2) the                                the 1 percent and 1 ppb contribution                                 requirements found in 40 CFR part 50,
                                                expected contribution of State emissions                               thresholds are generally comparable.                                 Appendix U, Interpretation of the
                                                to the projected ozone concentrations at                               Second, ADEQ referenced an April 2018                                Primary and Secondary National
                                                each ozone monitor.                                                    memorandum 32 in which the EPA                                       Ambient Air Quality Standards for
                                                   At Step 2, ADEQ identified those                                                                                                         Ozone. ADEQ noted that the 1 percent
                                                                                                                       examined the use of a significant impact
                                                states to which Arkansas contributes                                                                                                        contribution threshold of 0.7 ppb is
                                                                                                                       level (SIL) value of 1 ppb for
                                                emissions and then applied a 1 ppb                                                                                                          lower than the manufacturer’s reported
                                                contribution threshold to determine                                    determining whether a proposed
                                                                                                                       prevention of significant deterioration                              precision of Federal reference monitors
                                                projected nonattainment and/or
                                                                                                                       (PSD) source causes or contributes to a                              for ozone and that the requirements
                                                maintenance receptors in other states
                                                                                                                       violation of the corresponding 2015                                  found in Appendix U truncates monitor
                                                that might be significantly impacted by
                                                emissions from Arkansas. ADEQ                                          ozone NAAQS. Despite recognizing that                                values of 0.7 ppb to 0 ppb.
                                                provided three rationales as a basis to                                a contribution threshold is not the same                                As stated previously, ADEQ identified
                                                support their decision to rely on a 1 ppb                              as a significance level, ADEQ claimed                                all potential nonattainment and
                                                contribution threshold. First, ADEQ                                    that a contribution threshold and                                    maintenance receptors for fy 2023
                                                cited to the August 2018                                               significance level are sufficiently                                  showing a contribution of emissions
                                                memorandum 31 that compares the                                        analogous to support the use of a 1 ppb                              from Arkansas.33 These receptors are
                                                collective contribution captured by                                    contribution threshold. The final                                    included in Table AR–1.

                                                   TABLE AR–1—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY ARKANSAS BASED ON THE
                                                                                   EPA’S MARCH 2018 MEMORANDUM
                                                                                                                                                                                              2023             2023              Arkansas
                                                                                                           Receptor                                                                        average DV       maximum DV          contribution
                                                                                                   (site ID, county, state)                                                                   (ppb)            (ppb)               (ppb)

                                                260050003, Allegan, MI ...............................................................................................................                69               71.7              1.64
                                                482011039, Harris, TX ................................................................................................................              71.8               73.5              0.99
                                                480391004, Brazoria, TX .............................................................................................................                 74               74.9              0.90
                                                484392003, Tarrant, TX ..............................................................................................................               72.5               74.8              0.78
                                                481210034, Denton, TX ..............................................................................................................                69.7                 72              0.58
                                                482011034, Harris, TX ................................................................................................................              70.8               71.6              0.54
                                                551170006, Sheboygan, WI ........................................................................................................                   72.8               75.1              0.51
                                                550790085, Milwaukee, WI .........................................................................................................                  71.2                 73              0.40
                                                482010024, Harris, TX ................................................................................................................              70.4               72.8              0.29
                                                261630019, Wayne, MI ...............................................................................................................                  69                 71              0.27
                                                240251001, Harford, MD .............................................................................................................                70.9               73.3              0.17
                                                90019003, Fairfield, CT ...............................................................................................................               73               75.9              0.13
                                                90013007, Fairfield, CT ...............................................................................................................               71                 75              0.13
                                                361030002, Suffolk, NY ...............................................................................................................                74               75.5              0.12
                                                360810124, Queens, NY .............................................................................................................                 70.2                 72              0.09
                                                90099002, New Haven, CT .........................................................................................................                   69.9               72.6              0.08
                                                90010017, Fairfield, CT ...............................................................................................................             68.9               71.2              0.07
                                                80590006, Jefferson, CO ............................................................................................................                71.3               73.7              0.03
                                                80590011, Jefferson, CO ............................................................................................................                70.9               73.9              0.02
                                                81230009, Weld, CO ...................................................................................................................              70.2               71.4              0.02
                                                80350004, Douglas, CO ..............................................................................................................                71.1               73.2              0.01



                                                   Based on a 1 ppb contribution                                       that when different modeling protocols                               infer that there is no consistent or
                                                threshold, ADEQ identified only one fy                                 were employed, future year DV                                        persistent relationship between elevated
                                                2023 projected maintenance receptor,                                   projections and contributions could                                  ozone days in Allegan County, MI and
                                                Allegan County, MI, and no fy 2023                                     differ considerably. ADEQ therefore                                  air traveling through Arkansas. ADEQ
                                                projected nonattainment receptors                                      elected to consider other evidence                                   assessed wind patterns on elevated
                                                linked to Arkansas. ADEQ also cited                                    regarding its linkage to air quality in                              ozone days—days with a maximum
                                                other modeling performed by TCEQ and                                   Allegan County, MI. Specifically, ADEQ                               daily average 8-hour ozone (MDA8)
                                                Midwest Ozone Group, which showed                                      analyzed back trajectory information to                              greater than 70.9 ppb in Allegan County,
                                                  31 ‘‘Analysis of Contribution Thresholds for Use                     Standards, April 17, 2018, ‘‘Guidance on Significant                 submission, the EPA considers sites matching these
                                                in Clean Air Act section 110(a)(2)(D)(i)(I) Interstate                 Impact Levels for Ozone and Fine Particles in the
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                                                                                                            criteria to be projected nonattainment areas and
                                                Transport State Implementation Plan Submissions                        Prevention of Significant Deterioration Permitting                   projected maintenance areas, respectively. ADEQ
                                                for the 2015 Ozone National Ambient Air Quality                        Program’’ (‘‘SILs Guidance’’ or ‘‘April 2018                         ranked these sites by Arkansas’s potential
                                                Standards’’, August 31, 2018, available in Docket ID                   memorandum’’), available at: https://www.epa.gov/
                                                                                                                                                                                            contribution, which the EPA determined based on
                                                No. EPA–HQ–OAR–2021–0663 or at https://                                sites/default/files/2018-04/documents/sils_policy_
                                                www.epa.gov/airmarkets/memo-and-supplemental-                          guidance_document_final_signed_4-17-18.pdf.                          the daily eight-hour average contributions on the
                                                information-regarding-interstate-transport-sips-                          33 Table AR–1 lists all sites that the EPA projected              top ten concentration days in 2023.
                                                2015-ozone-naaqs.                                                      to have a fy 2023 average DV or fy 2023 maximum
                                                  32 See EPA memorandum from Peter Tsirigotis,                         DV greater than 70.9 ppb in our March 2018
                                                Director of the Office of Air Quality planning and                     memorandum. As Arkansas stated in the SIP



                                           VerDate Sep<11>2014        20:06 Feb 18, 2022       Jkt 256001      PO 00000      Frm 00008       Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM       22FEP2
                                                                  Case: 23-60069                    Document: 438-3                   Page: 304             Date Filed: 09/26/2023
                                                                       Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9805

                                                MI. ADEQ used the National Oceanic                      County, MI monitor site. Second, ADEQ                 emission trends from the eight states 43
                                                and Atmospheric Administration                          filtered out any back trajectory that did             with contributions greater than 1 ppb to
                                                (NOAA) HYbrid Single Particle                           not have a path through any portion of                the Allegan County, MI receptor. The
                                                Lagrangian Integrated Trajectory                        Arkansas. After ADEQ applied their                    emission trends evaluation examined
                                                (HYSPLIT) 34 model to evaluate wind                     filter criteria, 41 out of 608 back                   ozone precursors, nitrogen oxides (NOX)
                                                back trajectories from over a 10-year                   trajectories (6.74%) remained from 22                 and volatile organic compounds (VOC),
                                                period (2008–2017).35 Over the course                   out of the 95 elevated ozone days (23%)               from 2011 to 2017 and the model
                                                of the 10-year period, ADEQ identified                  examined. Of the 10 years examined,                   projected fy 2023 emissions level.
                                                95 elevated ozone days (MDA8 > 70.9                     ADEQ also found that air passing                      ADEQ noted that the two states with the
                                                ppb) for the Allegan County, MI                         through Arkansas only reached Allegan                 highest contributions to Allegan County,
                                                monitor.36 Next, ADEQ identified the                    County, MI on four or more days in one                MI—Illinois and Indiana—have both
                                                maximum ozone value within these                        year: 2012.41 For 2012, HYSPLIT                       experienced year-over-year decreases in
                                                elevated ozone days.37 Using HYSPLIT,                   analyses indicated 14 Arkansas-Allegan                NOX emissions in excess of 20,000 tons
                                                ADEQ ran 72-hour back trajectories                      County, MI linked back trajectories for               of NOX reduced per year. Arkansas had
                                                using the hour of the maximum ozone                     7 days in total in 2012, whereas for                  also experienced decreases in NOX
                                                value for each elevated day as the back                 2011, 2013, 2014, and 2016 the                        emissions each evaluated year and
                                                trajectory start time. To consider the                  HYSPLIT analyses indicated three, two,                emitted less NOX than any other of the
                                                effects of vertical variations in wind                  zero and one days with Arkansas-                      potentially linked states. In addition,
                                                flows on transport patterns, ADEQ used                  Allegan County, MI linked back                        ADEQ referenced the EPA projections
                                                the following starting heights above                    trajectories, respectively. For the 10                showing that most potentially linked
                                                ground level: 100m, 500m, 1000m, and                    years ADEQ’s performed HYSPLITs,                      states will continue to realize reductions
                                                1500m. ADEQ obtained 40 km grid                         ADEQ’s HYSPLIT analysis indicated on                  in NOX, as well as VOCs, through 2023.
                                                meteorological data for the back                        average 2.2 days per year had                         ADEQ confirmed that based on this
                                                trajectory analysis using Eta Data                      trajectories with Arkansas-Allegan                    analysis, the overall general trends of
                                                Assimilation System (EDAS) data.38 In                   County, MI linked back trajectories.                  NOX and VOC emissions are declining
                                                total, ADEQ ran 152 back trajectories for               ADEQ also noted that these trajectories               from Arkansas and the other linked
                                                each mixing height.39 ADEQ filtered the                 passed through other states and through               states. The continuation of trends in the
                                                back trajectories to determine whether                  Metropolitan Statistical Areas (MSAs) 42              emissions reductions observed,
                                                further analysis is warranted using two                 both before and after traversing through              particularly from Illinois and Indiana,
                                                criteria. First, ADEQ filtered out back                 Arkansas. Specifically, ADEQ stated                   are anticipated by ADEQ to result in air
                                                trajectories that had a starting hour                   that 37 trajectories passed through the               quality improvements in Allegan
                                                mixing height below the back trajectory                 Chicago-Naperville-Elgin, IL–IN–WI                    County, MI.
                                                start height because ADEQ asserted                      MSA prior to reaching Allegan County,                    In terms of cost analysis, ADEQ
                                                these air parcels would not have                        MI. Based on these results, ADEQ                      focused only on the cost of NOX
                                                reached ambient air 40 at the Allegan                   concluded that other states and MSAs                  controls at electric generating units
                                                                                                        were more likely to have influenced                   (EGUs) in the State because EGUs are
                                                   34 HYbrid Single-Particle Lagrangian Integrated
                                                                                                        ozone concentrations at the Allegan                   the largest source of NOX emissions that
                                                Trajectory (HYSPLIT) model is a complete system
                                                for computing both simple air parcel trajectories       County, MI monitor on the days with                   ADEQ regulates. In its analysis, ADEQ
                                                and complex dispersion and deposition                   back trajectories linked to Arkansas.                 found that the costs to install additional
                                                simulations. The model is designed to support a            In Step 3, ADEQ also considered air                NOX controls (selective catalytic
                                                wide range of simulations related to the                quality trends in Allegan County, MI,
                                                atmospheric transport and dispersion of pollutants                                                            reduction, SCR and selective
                                                and hazardous materials to the Earth’s surface.         emission trends in other upwind states,               noncatalytic reduction, SNCR) at EGUs
                                                   35 ADEQ analyzed ten years of HYSPLIT back           relative contribution from other upwind               exceed the EPA’s cost thresholds used
                                                trajectories to examine potential relationships         states, and cost factors. ADEQ presented              for the CSAPR and CSAPR Update
                                                between elevated ozone days at the Allegan County,      that ozone DVs in Allegan County, MI
                                                MI monitor and emissions from Arkansas. In the
                                                                                                                                                              rules.44 Based on ADEQ’s evaluation of
                                                SIP submission ADEQ stated their rationale for
                                                                                                        fluctuated over the 2008–2017 period                  the evidence, ADEQ concluded that no
                                                looking at an extended period of time is to gain a      with higher concentration occurring                   additional controls beyond pre-existing
                                                more complete picture of how Arkansas’s emissions       from 2012 through 2014 but declining
                                                might contribute to elevated ozone in Allegan           since 2014. ADEQ also mentioned that                     43 The eight linked states include Illinois, 42%;
                                                County, MI, rather than relying entirely on the
                                                EPA’s modeling simulation, which is based on a          despite the most recent 2017 DV for the               Indiana, 15%; Michigan, 7%; Missouri, 6%; Texas,
                                                                                                        Allegan County monitor continuing to                  5%; Wisconsin, 4%; Oklahoma, 3% and Arkansas,
                                                single base year.
                                                                                                                                                              4%. The remaining contribution is labeled at
                                                   36 See the AirNow-Tech website at https://           show an exceedance of the 2015 ozone                  ‘‘Other’’. The linkages are based on the EPA’s
                                                www.airnowtech.org/. AirNow-Tech is a website for       NAAQS, the EPA-projected 2023 ozone                   modeling results that are attached to the March
                                                air quality data management analysis, and decision
                                                support used by the Federal, State, Tribal, and local
                                                                                                        average DV at the Allegan County, MI                  2018 memorandum.
                                                                                                                                                                 44 The EPA’s Revised CSAPR Update, 86 FR
                                                air quality organizations.                              monitor, based on data provided in the
                                                                                                                                                              23054 (April 20, 2021), states ‘‘. . . EPA adjusted
                                                   37 If the same maximum eight-hour value              March 2018 memorandum, is 69.0 ppb,                   its representative cost for optimizing existing SNCR
                                                occurred multiple times a day, ADEQ evaluated all       which would be in attainment of the                   control to $1,800 per ton in response to comments
                                                incidences of the value for that day.                   2015 ozone NAAQS in 2023.                             received on the proposed rule . . . EPA views
                                                   38 EDAS is an intermittent data assimilation
                                                                                                           Next, ADEQ included an evaluation of               $1,600 per ton for optimization of existing SCR
                                                system that uses successive three-hour model                                                                  control and installation of state-of-the are NOX
                                                forecasts to generate gridded meteorological fields     the relative contribution and the                     combustion controls and $1,800 per ton for
                                                that reflect observations covering the continental                                                            optimization of existing SNCRs as comparable for
lotter on DSK11XQN23PROD with PROPOSALS2




                                                United States. EDAS is accessible at https://             41 The number of days in a given year and the
                                                                                                                                                              policy purposes.’’ ADEQ’s screening analysis using
                                                ready.arl.noaa.gov/edas40.php.                          number of consecutive years is of particular          the EPA tools (referencing the EPA’s Air Pollution
                                                   39 Mixing heights (m), defined as the height above   relevance for the ozone NAAQS, which is               Control Cost Estimation Spreadsheet for SCR)
                                                ground level of the layer adjacent to the ground        calculated based the annual fourth-highest daily      shows that cost-effectiveness values for ozone-
                                                over which an emitted or entrained inert non-           maximum eight-hour concentration averaged over        season operation of SCR and SNCR are: $12,605–
                                                buoyant tracer will be mixed by turbulence.             three consecutive years.                              $31,580/ton for SCR and $4,221–$45,581 for SNCR.
                                                   40 Ambient air is the ‘‘portion of the atmosphere,     42 MSA is defined as a geographic region with a     ADEQ notes that any costs imposed to install
                                                external to buildings, to which the general public      high population density at its core and close         controls at the examined EGUs would be passed on
                                                has access.’’ 40 CFR 50.1(e).                           economic ties throughout the area.                    to Arkansas ratepayers.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 305            Date Filed: 09/26/2023
                                                9806                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                state and Federal regulations were                      higher monitored values within                        the interstate transport provision, which
                                                warranted for Arkansas sources to                       nonattainment/maintenance regions.46                  requires states to eliminate significant
                                                satisfy interstate transport obligations                Modeling using both the 2011 and 2016                 contribution or interference with
                                                for the 2015 ozone NAAQS.                               based years consistently project that                 maintenance of the NAAQS at known
                                                  Based on the determinations made by                   certain areas will have problems                      and ongoing air quality problem areas in
                                                ADEQ at Steps 1 through 3, ADEQ did                     attaining and/or maintaining the 2015                 other states. The EPA does not, in this
                                                not include any new control measures                    ozone NAAQS including receptors in                    action, agree that the State has justified
                                                in the SIP submission to reduce ozone                   Texas.                                                its application of the 1 ppb threshold. In
                                                precursor emissions as part of a Step 4                                                                       any case, both the EPA’s most recent
                                                analysis.                                               2. Evaluation of Information Provided
                                                                                                        by ADEQ Regarding Step 2                              modeling, EPA 2016v2 modeling, and
                                                B. EPA Evaluation of the ADEQ SIP                                                                             the modeling relied on by ADEQ in its
                                                                                                           As noted earlier, ADEQ utilized a 1                SIP submittal, indicate that the State is
                                                Submission                                              ppb threshold at Step 2 to identify                   projected to contribute greater than both
                                                   The EPA is proposing to find that                    whether the State was ‘‘linked’’ to a                 the 1 percent and alternative 1 ppb
                                                ADEQ’s October 10, 2019, SIP                            projected downwind nonattainment or                   thresholds. While the EPA does not, in
                                                submission does not meet the State’s                    maintenance receptor. ADEQ identified                 this action, propose to approve of the
                                                obligations with respect to prohibiting                 linkages for Arkansas to one 2023                     State’s application of the 1 ppb
                                                emissions that contribute significantly                 projected maintenance receptor, Allegan               threshold, because the State has
                                                to nonattainment or interfere with                      County, MI, and no 2023 projected                     linkages greater than 1 ppb to projected
                                                maintenance of the 2015 ozone NAAQS                     nonattainment receptors.
                                                                                                                                                              downwind nonattainment or
                                                in any other state based on the EPA’s                      As discussed in the EPA’s August
                                                                                                                                                              maintenance receptors, (as shown in
                                                evaluation of the SIP submission using                  2018 memorandum, with appropriate
                                                the 4-Step interstate transport                         additional analysis it may be reasonable              Table AR–2) the State’s use of this
                                                framework, and the EPA is therefore                     for states to use a 1 ppb contribution                alternative threshold at Step 2 of the 4-
                                                proposing to disapprove ADEQ’s SIP                      threshold as an alternative to a 1 percent            Step interstate framework would not
                                                submission.                                             threshold, at Step 2 of the 4-Step                    alter our review and proposed
                                                                                                        interstate transport framework, for the               disapproval of this SIP submittal.
                                                1. Evaluation of Information Provided                                                                            Additionally, the EPA here shares
                                                                                                        purposes of identifying linkages to
                                                by ADEQ Regarding Step 1                                                                                      further evaluation of its experience
                                                                                                        downwind receptors. However, the
                                                   At Step 1 of the 4-Step framework,                   EPA’s August 2018 memorandum                          since the issuance of the August 2018
                                                ADEQ relied on the EPA modeling                         provided that whether or not a 1 ppb                  memorandum regarding use of
                                                released in the March 2018                              threshold is appropriate must be based                alternative thresholds at Step 2. This
                                                memorandum to identify nonattainment                    on an evaluation of state-specific                    experience leads the Agency to now
                                                and maintenance receptors in 2023. As                   circumstances, and no such evaluation                 believe it may not be appropriate to
                                                described in Section I of this action, the              was included in the state’s submittal.                continue to attempt to recognize
                                                EPA has recently performed updated                      Instead, ADEQ cited to the EPA’s SILs                 alternative contribution thresholds at
                                                modeling using the 2016v2 platform to                   Guidance as a basis to support the use                Step 2. The August 2018 memorandum
                                                evaluate interstate transport of ozone for              of a 1 ppb threshold; however, ADEQ                   stated that ‘‘it may be reasonable and
                                                a fy 2023.45 The EPA proposes to                        did not explain the relevance of the SILs             appropriate’’ for states to rely on an
                                                primarily rely on the EPA’s modeling                    Guidance to ADEQ’s statutory obligation               alternative threshold of 1 ppb threshold
                                                using the 2016v2 platform (EPA 2016v2                   under the interstate transport provision.             at Step 2. (The memorandum also
                                                modeling), to identify projected                        The SILs Guidance relates to a different              indicated that any higher alternative
                                                nonattainment and maintenance                           provision of the Clean Air Act regarding              threshold, such as 2 ppb, would likely
                                                receptors in fy 2023. Updating the base                 implementation of the prevention of                   not be appropriate.) However, the EPA
                                                period from 2011 (base period used in                   significant deterioration (PSD)                       also provided that ‘‘air agencies should
                                                data included in the March 2018                         permitting program, i.e., a program that              consider whether the recommendations
                                                memorandum) to a more recent year                       applies in areas that have been                       in this guidance are appropriate for each
                                                (2016) allows for better projections of                 designated attainment of the NAAQS.                   situation.’’ Following receipt and review
                                                which monitors will have problems                       The SILs Guidance is not applicable to                of 49 interstate transport SIP submittals
                                                attaining and/or maintaining the 2015                                                                         for the 2015 ozone NAAQS, the EPA’s
                                                ozone NAAQS and factors in more                           46 We note that ADEQ identified additional
                                                                                                                                                              experience has been that nearly every
                                                recent base year DVs. The EPA notes                     modeling performed by TCEQ and Midwest Ozone          state that attempted to rely on a 1 ppb
                                                that with a switch from 2011 base                       Group, but simply concluded that different
                                                                                                        modeling can lead to differences in DV projections    threshold did not provide sufficient
                                                period meteorology to 2016 base period                  and ozone contributions of these two alternative      information and analysis to support a
                                                meteorology, it is normal and expected                  modeling analyses, only TCEQ’s modeling using a       determination that an alternative
                                                that the potential downwind                             2012 base year identified receptors in Texas that     threshold was reasonable or appropriate
                                                nonattainment or maintenance receptors                  projected different DVs for the Texas receptors
                                                                                                        identified in the EPA’s 2011 base year. We discuss    for that state.
                                                would change due to the different                       the EPA’s review of the TCEQ’s modeling elsewhere        For instance, in nearly all submittals,
                                                weather patterns that occurred in the                   in this action and the Technical Support Document
                                                                                                                                                              the states did not provide the EPA with
                                                different base periods, which impacts                   for this action ‘‘EPA Region 6 2015 8-Hour Ozone
                                                                                                        Transport SIP Proposal Technical Support              analysis specific to their state or the
                                                both the transport of pollutants from
                                                                                                        Document’’ (EPA Region 6 2015 Ozone Transport         receptors to which its emissions are
lotter on DSK11XQN23PROD with PROPOSALS2




                                                upwind states and what receptors have                   SIP TSD.pdf) included in the Regional docket for      potentially linked. In one case, the
                                                                                                        this action (Docket ID No. EPA–R06–OAR–2021–
                                                  45 Per the instructions in the Supplementary          0801), but we do conclude that TCEQ and recent
                                                                                                                                                              proposed approval of Iowa’s SIP
                                                Information section above, all public comments,         monitoring data indicate that there are problematic   submittal, the EPA expended its own
                                                including comments on the EPA’s air quality             receptors that are expected to be either              resources to attempt to supplement the
                                                modeling should be submitted in the Regional            nonattainment or maintenance receptors in 2023        information submitted by the state, in
                                                docket for this action, Docket ID No. EPA–R06–          including the Texas receptors that the EPA
                                                OAR–2021–0801. Comments are not being accepted          identified in our March 2018 memorandum with
                                                                                                                                                              order to more thoroughly evaluate the
                                                in Docket No. EPA–HQ–OAR–2021–0663.                     Arkansas linkages.                                    state-specific circumstances that could


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 306            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                    9807

                                                support approval.47 It was at the EPA’s                 equity and consistency problems among                 memorandum. The EPA invites
                                                sole discretion to perform this analysis                states.                                               comment on this broader discussion of
                                                in support of the state’s submittal, and                   Further, it is not clear that national             issues associated with alternative
                                                the Agency is not obligated to conduct                  ozone transport policy is best served by              thresholds at Step 2. (See
                                                supplemental analysis to fill the gaps                  allowing for less stringent thresholds at             Supplementary Information section
                                                whenever it believes a state’s analysis is              Step 2. The EPA recognized in the                     above for details and docket to submit
                                                insufficient. The Agency no longer                      August 2018 memorandum that there                     comments). Depending on public
                                                intends to undertake supplemental                       was some similarity in the amount of                  comments received in relation to this
                                                analysis of SIP submittals with respect                 total upwind contribution captured (on
                                                                                                                                                              action and further evaluation of this
                                                to alternative thresholds at Step 2 for                 a nationwide basis) between 1 percent
                                                                                                                                                              issue, the EPA may determine to rescind
                                                purposes of the 2015 ozone NAAQS.                       and 1 ppb. However, the EPA notes that
                                                   Furthermore, the EPA’s experience                    while this may be true in some sense,                 the 2018 memorandum in the future.
                                                since 2018 is that allowing for                         that is hardly a compelling basis to                     ADEQ included information in its SIP
                                                alternative Step 2 thresholds may be                    move to a 1 ppb threshold. Indeed, the                submission regarding back trajectories,
                                                impractical or otherwise inadvisable for                1 ppb threshold has the disadvantage of               emissions trends, and EGU cost controls
                                                a number of additional policy reasons.                  losing a certain amount of total upwind               to conclude that emissions from
                                                For a regional air pollutant such as                    contribution for further evaluation at                Arkansas should not be considered to
                                                ozone, consistency in requirements and                  Step 3 (e.g., roughly seven percent of                contribute significantly to
                                                expectations across all states is                       total upwind state contribution was lost              nonattainment or interfere with
                                                essential. Based on its review of                       according to the modeling underlying                  maintenance of the NAAQS in other
                                                submittals to-date and after further                    the August 2018 memorandum; 49 in                     states because there is not a persistent
                                                consideration of the policy implications                EPA 2016v2 modeling, the amount lost                  and consistent pattern of contribution
                                                of attempting to recognize an alternative               is five percent). Considering the core                from the State. While it is not entirely
                                                Step 2 threshold for certain states, the                statutory objective of ensuring
                                                                                                                                                              clear whether ADEQ was analyzing
                                                Agency now believes the attempted use                   elimination of all significant
                                                                                                                                                              these factors under Step 2 or Step 3, the
                                                of different thresholds at Step 2 with                  contribution to nonattainment or
                                                                                                        interference of the NAAQS in other                    EPA is evaluating such arguments under
                                                respect to the 2015 ozone NAAQS raises
                                                                                                        states and the broad, regional nature of              Step 3, as we view these statements in
                                                substantial policy consistency and
                                                practical implementation concerns.48                    the collective contribution problem with              the SIP submission to speak to whether
                                                The availability of different thresholds                respect to ozone, there does not appear               or not a contribution is ‘‘significant’’
                                                at Step 2 has the potential to result in                to be a compelling policy imperative in               once a linkage is established.
                                                inconsistent application of interstate                  allowing some states to use a 1 ppb                   3. Results of the EPA’s Step 1 and Step
                                                transport obligations based solely on the               threshold while others rely on a 1                    2 Modeling and Findings for Arkansas
                                                strength of a state’s SIP submittal at Step             percent of NAAQS threshold.
                                                2 of the 4-Step interstate transport                       Consistency with past interstate                     As described in Section I of this
                                                framework. From the perspective of                      transport actions such as CSAPR, and                  action, the EPA performed air quality
                                                ensuring effective regional                             the CSAPR Update and Revised CSAPR                    modeling using the 2016v2 emissions
                                                implementation of interstate transport                  Update rulemakings (which used a Step                 platform to project DVs and
                                                obligations, the more important analysis                2 threshold of 1 percent of the NAAQS                 contributions for 2023 (EPA 2016v2
                                                is the evaluation of the emissions                      for two less stringent ozone NAAQS), is
                                                                                                                                                              modeling). This data was examined to
                                                reductions needed, if any, to address a                 also important. Continuing to use a 1
                                                                                                                                                              determine if Arkansas contributes at or
                                                state’s significant contribution after                  percent of NAAQS approach ensures
                                                                                                        that as the NAAQS are revised and                     above the threshold of 1 percent of the
                                                consideration of a multifactor analysis                                                                       2015 ozone NAAQS (0.70 ppb) to any
                                                at Step 3, including a detailed                         made more stringent, an appropriate
                                                                                                        increase in stringency at Step 2 occurs,              downwind nonattainment or
                                                evaluation that considers air quality                                                                         maintenance receptor. As shown in
                                                factors and cost. Where alternative                     so as to ensure an appropriately larger
                                                                                                        amount of total upwind-state                          Table AR–2, the data 50 indicate that in
                                                thresholds for purposes of Step 2 may
                                                                                                        contribution is captured for purposes of              2023, emissions from Arkansas
                                                be ‘‘similar’’ in terms of capturing the
                                                                                                        fully addressing interstate transport.                contribute greater than 1 percent of the
                                                relative amount of upwind contribution
                                                (as described in the August 2018                        Accord 76 FR 48237–38.                                standards to nonattainment or
                                                                                                           Therefore, notwithstanding the                     maintenance-only receptors in Texas:
                                                memorandum), nonetheless, use of an
                                                                                                        August 2018 memorandum’s                              Denton County (Monitor ID.
                                                alternative threshold would allow
                                                                                                        recognition of the potential viability of             481210034), Brazoria County (Monitor
                                                certain states to avoid further evaluation
                                                                                                        alternative Step 2 thresholds, and in                 ID. 480391004), Harris County (Monitor
                                                of potential emission controls while
                                                                                                        particular, a potentially applicable 1                ID. 482010055, Monitor ID. 482011034,
                                                other states must proceed to a Step 3
                                                                                                        ppb threshold, the EPA’s experience
                                                analysis. This can create significant
                                                                                                        since the issuance of that memorandum
                                                  47 ‘‘Air Plan Approval; Iowa; Infrastructure State
                                                                                                        has revealed substantial programmatic
                                                Implementation Plan Requirements for the 2015           and policy difficulties in attempting to
                                                Ozone National Ambient Air Quality Standard’’, 85       implement this approach. Nonetheless,
                                                FR 12232 (March 2, 2020). The agency received           the EPA is not, at this time, rescinding
                                                adverse comments on this proposed approval and
lotter on DSK11XQN23PROD with PROPOSALS2




                                                has not taken final action with respect to this
                                                                                                        the August 2018 memorandum. The
                                                proposal.                                               basis for the EPA’s proposed
                                                  48 We note that Congress has placed on the EPA        disapproval of ADEQ’s SIP submission
                                                a general obligation to ensure the requirements of      with respect to the Step 2 analysis is, in               50 Design values and contributions at individual
                                                the CAA are implemented consistently across states      the Agency’s view, warranted even
                                                and regions. See CAA section 301(a)(2). Where the                                                             monitoring sites nationwide are provided in the
                                                management and regulation of interstate pollution       under the terms of the August 2018                    file: 2016v2_DVs_state_contributions.xlsx which is
                                                levels spanning many states is at stake, consistency                                                          included in docket ID No. EPA–HQ–OAR–2021–
                                                in application of CAA requirements is paramount.          49 See August 2018 memorandum, at page 4.           0663.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                   Case: 23-60069                          Document: 438-3                          Page: 307                   Date Filed: 09/26/2023
                                                9808                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                and Monitor ID. 482011035).51 52                               2016v2 results for 2023, the EPA                                   from sources or other emissions activity
                                                Therefore, based on the EPA’s                                  proposes to find that Arkansas is linked                           at Step 3 of the 4-Step framework.
                                                evaluation of the information submitted                        at Steps 1 and 2 and has an obligation
                                                by ADEQ, and based on the EPA model                            to assess potential emissions reductions

                                                 TABLE AR–2—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH ARKANSAS LINKAGES IN 2023 BASED
                                                                                     ON EPA 2016V2 MODELING

                                                                                                                                                                                    2023             2023              Arkansas
                                                                      Receptor                                                   Nonattainment/                                  average DV       maximum DV          contribution
                                                              (site ID, county, state)                                            maintenance                                       (ppb)            (ppb)               (ppb)

                                                481210034, Denton, TX ................................      Maintenance .....................................................             70.4               72.2               0.76
                                                480391004, Brazoria, TX ..............................      Maintenance .....................................................             70.1               72.3               1.39
                                                482010055, Harris, TX ..................................    Nonattainment ..................................................              71.0               72.0               1.00
                                                482011034, Harris, TX ..................................    Maintenance .....................................................             70.3               71.6               1.38
                                                482011035, Harris, TX ..................................    Maintenance .....................................................             68.0               71.6               1.34



                                                   We recognize that the results of the                        modeling results included in EPA’s                                 attaining and is not expected to have
                                                EPA modeling released in the March                             March 2018 memorandum to be of equal                               difficulty maintaining the standard in
                                                2018 memorandum (2011 base year) and                           reliability relative to more recent EPA                            2023. As such, the EPA is not relying on
                                                the EPA 2016v2 modeling (2016 base                             2016v2 modeling. However, where                                    the comparative analysis of emissions
                                                year) identified different receptors and                       alternative or older modeling generated                            trends that ADEQ provided in order to
                                                linkages at Steps 1 and 2 of the 4-Step                        linkages, even if those linkages differ                            conclude that Arkansas’s emissions do
                                                framework. These differing results about                       from linkages in EPA 2016v2 modeling,                              not contribute significantly to a
                                                receptors and linkages can be affected                         that information provides further                                  nonattainment or maintenance problem
                                                by the varying meteorology from year to                        evidence, not less, in support of a                                in Allegan, MI. We note however, that
                                                year, but we do not think the differing                        conclusion that the state is required to                           ADEQ’s SIP submission and response to
                                                results mean that the modeling or the                          proceed to Step 3 to further evaluate its                          comments do not clearly define what
                                                EPA methodology for identifying                                emissions.                                                         ADEQ considers to be persistent and
                                                receptors or linkages is inherently                                                                                               consistent pattern of contribution.
                                                                                                               4. Evaluation of Information Provided
                                                unreliable. Rather, these separate                                                                                                Rather, the SIP submission simply states
                                                                                                               by ADEQ Regarding Step 3
                                                modeling runs indicated (1) that there                                                                                            that contribution should be deemed
                                                were receptors that would struggle with                           At Step 3 of the 4-Step framework, a                            ‘‘significant’’ only if there is a persistent
                                                nonattainment or maintenance in the                            state’s emissions are further evaluated,                           and consistent pattern of several days
                                                future, and (2) that Arkansas was linked                       in light of multiple factors, including air                        with elevated ozone.
                                                to some set of these receptors, even if                        quality and cost considerations, to                                   To be clear, the modeling establishing
                                                the receptors and linkages differed from                       determine what, if any, emissions                                  linkages of Arkansas to downwind
                                                one another in their specifics (e.g., a                        contribute significantly to                                        nonattainment and maintenance
                                                different set of receptors were identified                     nonattainment or interfere with                                    receptors already establishes that there
                                                to have nonattainment or maintenance                           maintenance and, thus, must be                                     is a consistent and persistent pattern of
                                                problems, or Arkansas was linked to                            eliminated under CAA section                                       contribution on elevated ozone days
                                                different receptors in one modeling run                        110(a)(2)(D)(i)(I).                                                from Arkansas to other states. That is
                                                versus another). We think this common                             ADEQ included in their SIP                                      because EPA’s methodology for
                                                result indicates that Arkansas’s                               submission a further analysis of its                               projecting future year ozone
                                                emissions were substantial enough to                           modeled linkage to Allegan, MI (the                                concentrations accounts for precisely
                                                generate linkages at Steps 1 and 2 to                          only linked receptor it analyzed, based                            these concerns—the relative response
                                                some set of downwind receptors, under                          on its application of a 1 ppb threshold).                          factor 53 that is applied to historic
                                                varying assumptions and meteorological                         Arkansas stated that the purpose and its                           monitored data to generate projections
                                                conditions, even if the precise set of                         conclusion of this analysis was that it                            is calculated by looking only at days
                                                linkages changed between modeling                              would not contribute significantly to the                          with elevated ozone levels (ten days is
                                                runs. Under these circumstances, we                            Allegan, MI monitor because the state’s                            preferred with a minimum of five days).
                                                think it is appropriate to proceed to a                        emissions did not result in a consistent                           The EPA notes that monitored
                                                Step 3 analysis to determine what                              and persistent pattern of ozone                                    attainment with the ozone standard is
                                                portion of Arkansas’s emissions should                         contribution. As stated earlier, EPA                               determined by averaging the fourth high
                                                be deemed ‘‘significant.’’ In doing so,                        2016v2 modeling projects that the                                  value recorded each year for three years.
                                                we are not considering our own earlier                         Allegan County, MI receptor will be                                So, the EPA believes it is important to
                                                  51 These modeling results are consistent with the               52 Allegan County Monitor ID. 260050003 is not                  modeled value. Then a similar concentration
                                                results of a prior round of 2023 modeling using the            a receptor in 2023 in the EPA 2016v2 modeling.                     average is developed for same 10 base case days and
                                                2016v1 emissions platform which became available               2023 avg DV is 67.3 ppb and 2023 Max. DV is 68.4                   the same grid cell that provided the base case
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                                                to the public in the fall of 2020 in the Revised               ppb, so the Allegan County monitor is not a                        concentration to calculate a future year 10-day
                                                CSAPR Update, as noted in Section I of this action.            receptor in 2023 for nonattainment or maintenance.                 average modeled value using the future year
                                                That modeling showed that Arkansas had a                          53 The relative response factor (RRF) is a ratio                modeling results. The RRF is then calculated by
                                                maximum contribution greater than 0.70 ppb to at               developed using the modeled changes between the                    using this future year 10-day average model value
                                                least one nonattainment or maintenance-only                    base case and future case for high ozone modeled                   divided by the base case year 10-day average model
                                                receptor in 2023. These modeling results are                   days. Typically, the 10 highest MDA8 modeled days                  value to develop a ratio representing the change in
                                                included in the file ‘‘Ozone Design Values And                 in the base case are found and the maximum value                   modeled ozone. The RRF is then multiplied times
                                                Contributions Revised CSAPR Update.xlsx’’ in                   from the 3x3 grid centered on the monitor for each                 the base DV value to result in a projected future
                                                docket EPA–HQ–OAR–2021–0663.                                   day is used to calculate a 10-day average base case                year DV.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000       Frm 00012      Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM      22FEP2
                                                                 Case: 23-60069                     Document: 438-3                    Page: 308              Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                       9809

                                                estimate impacts on the days with                       centerline does not have to pass directly                 HYSPLIT back trajectory information
                                                highest projected ozone levels. The                     over emissions sources or emission                        did not show that the base years used
                                                EPA’s approach, as detailed in the Air                  source areas but merely relatively near                   in the EPA modeling (2011 and 2016)
                                                Quality Modeling Technical Support                      emission source areas for those areas to                  demonstrated an unusual amount of
                                                Document for 2015 Ozone NAAQS                           contribute to concentrations at the                       transport of air parcels from Arkansas to
                                                Transport SIP Proposed Actions                          endpoint. The EPA relies on back                          nonattainment or maintenance receptors
                                                included in Docket ID No. EPA–HQ–                       trajectory analysis as a corollary                        in downwind states (i.e., the modeling
                                                OAR–2021–0663, does this by                             analysis along with observation-based                     years used by the EPA do not skew the
                                                estimating the average fy 2023 impact                   meteorological wind fields at multiple                    results toward finding linkages).56
                                                from an upwind state on the days with                   heights to examine the general                            Therefore, although Arkansas asserted
                                                the highest projected ozone levels at the               plausibility of the photochemical model                   that its additional air quality factor
                                                downwind nonattainment or                               ‘‘linkages.’’ Since the back trajectory                   analysis using back trajectory analysis is
                                                maintenance receptor. The days chosen                   calculations do not account for any air                   a permissible way to interpret which
                                                to analyze the future impacts are chosen                pollution formation, dispersion,                          contributions are ‘‘significant’’ because
                                                initially by the selecting the ten highest              transformation, or removal processes as                   that analysis examines whether there
                                                days in the base period modeling that                   influenced by emissions, chemistry,                       was a ‘‘persistent and consistent pattern
                                                are projected to be above 65 ppb in the                 deposition, etc., the trajectories cannot                 of contribution on several days with
                                                base period. If there are not ten days                  be used to develop quantitative                           elevated ozone,’’ the modeled linkage at
                                                above 65 ppb at a potential receptor, the               contributions. Therefore, back                            Step 2 is a superior approach for
                                                number of days above 65 ppb are used                    trajectories cannot be used to                            assessing the persistence of a state’s
                                                as long as there is at least five days                  quantitatively evaluate the magnitude of                  contribution. It is superior because it is
                                                above 65 ppb in the base period. If the                 the existing photochemical                                based on the average of the
                                                air quality modeling shows fewer than                   contributions from upwind states to                       contributions on the five to ten highest
                                                five days above 65 ppb in the base                      downwind receptors. Chemical                              ozone days. Considering the form of the
                                                period, then the data for impacts at that               transport models, such as the one relied                  standard, this is a sufficient number of
                                                receptor in fy 2023 are not calculated.                 upon by Arkansas to establish the                         days to determine if an impact is
                                                The base and future year modeling for                   linkage between Arkansas and those                        persistent enough to impact an area’s
                                                these five to ten days is then used to                  downwind receptors in the first                           ability to attain or maintain the
                                                project fy 2023 ozone DVs to determine                  instance, do take these factors into                      standard. The modeling is also a better
                                                whether it is projected to be a                         account and therefore provide a more                      method because it accounts for
                                                nonattainment or maintenance receptor                   robust assessment of ozone                                dispersion while back trajectory
                                                in 2023. For the same five to ten days                  contribution.                                             analysis as performed by Arkansas only
                                                identified, the future year modeling                       During ADEQ’s public comment                           shows the centerline of air parcel travel
                                                provides the estimated daily                            period, the EPA submitted comments                        and otherwise will leave out days when
                                                contribution at a potential receptor’s                  noting concerns regarding the                             Arkansas would have contributed to
                                                future year daily MDA8 and these daily                  methodology ADEQ used in their                            downwind problems. Finally, because
                                                contributions are averaged for the five to              HYSPLIT back trajectories analysis.54                     the modeling accounts for dispersion
                                                ten days to result in the average                       While we are not providing a detailed                     and chemical reactions, it can provide a
                                                contribution from the upwind area.                      evaluation of ADEQ’s HYSPLIT analysis                     quantitative estimate of contribution.
                                                                                                        in this rulemaking, we do note that our
                                                   As mentioned previously, ADEQ used                                                                                ADEQ also contested the significance
                                                                                                        review identified a number of concerns
                                                HYSPLIT back trajectories to assess                                                                               of its modeled contribution above 1 ppb
                                                                                                        with how ADEQ screened out a number
                                                wind patterns on elevated ozone days in                                                                           based on the relatively larger
                                                                                                        of back trajectories, which invalidates
                                                an attempt to demonstrate that there is                                                                           contributions of other upwind states to
                                                                                                        ADEQ’s conclusions.55 While we
                                                not persistent and consistent pattern of                                                                          the receptor to which it was linked. The
                                                                                                        disagree with ADEQ’s methodologies
                                                contribution from Arkansas to the                                                                                 EPA disagrees that a state’s small
                                                                                                        and conclusions, we note that ADEQ’s
                                                Allegan County, MI receptor. HYSPLIT                                                                              contribution relative to other upwind
                                                back trajectory analyses use archived                      54 The EPA reviewed the ADEQ SIP submission
                                                                                                                                                                  states is a permissible basis for finding
                                                meteorological modeling that includes                   and provided comments during the State’s public           no obligation under the interstate
                                                actual observed data (surface, upper air,               comment period for the proposed SIP action. The           transport provision. CAA
                                                                                                        EPA’s comment letter and ADEQ’s response to               110(a)(2)(D)(i)(I) requires states and the
                                                airplane data, etc.) and modeled                        comments are included in ADEQ’s October 19,
                                                meteorological fields to estimate the                   2019, SIP submission, which is available in the
                                                                                                                                                                  EPA to address interstate transport of air
                                                most likely route of an air parcel                      Regional docket for this action (Docket ID No. EPA–       pollution that contributes to downwind
                                                transported to a receptor at a specified                R06–OAR–2021–0801).                                       states’ ability to attain and maintain the
                                                                                                           55 Concerns included removing of HYSPLIT back
                                                time. The method essentially follows a                                                                            NAAQS. Whether emissions from other
                                                                                                        trajectories based on start height, the start time that
                                                parcel of air backward in hourly steps                  Arkansas used for the back trajectories and
                                                                                                                                                                  states also contribute to the same
                                                for a specified length of time. HYSPLIT                 removing of back trajectories when the centerline         downwind air quality issue is irrelevant
                                                estimates the central path in both the                  passed near but not through Arkansas because              in assessing whether a downwind state
                                                                                                        Arkansas has some very large point sources near the       has an air quality problem, or whether
                                                vertical and horizontal planes. The                     Arkansas state line that could be contributing.
                                                HYSPLIT central path represents the                     Texas also screened their HYPSLIT back trajectories
                                                                                                                                                                  an upwind state is significantly
                                                centerline with the understanding that                  similarly to Arkansas and we have further                 contributing to that problem. States are
                                                there are areas on each side horizontally               discussed our concerns and why such screening             not obligated under CAA section
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                                                                                                        invalidates conclusions from the HYSPLIT back             110(a)(2)(D)(i)(I) to reduce emissions
                                                and vertically that also contribute to the              trajectory analyses. See EPA’s review and
                                                concentration at the end point monitor.                 conclusions in discussion of TCEQ’s HYSPLIT
                                                                                                                                                                  sufficient on their own to resolve
                                                The horizontal and vertical areas that                  analyses in the ‘‘EPA Region 6 2015 8-Hour Ozone
                                                                                                        Transport SIP Proposal Technical Support                    56 ADEQ’s summary of trajectories indicated that
                                                potentially contribute to the end point
                                                                                                        Document’’ (EPA Region 6 2015 Ozone Transport             2011 had three linked back trajectories and 2016
                                                concentration grow wider from the                       SIP TSD.pdf) included in the Regional docket for          had one linked back trajectories and the EPA
                                                centerline the further back in time the                 this action (Docket ID No. EPA–R06–OAR–2021–              calculated the average for 2008–2017 in ADEQ’s
                                                trajectory goes. Therefore, a HYSPLIT                   0801).                                                    table was 2.2 linked back trajectories per year.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 309            Date Filed: 09/26/2023
                                                9810                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                downwind receptors’ nonattainment or                    approach (i.e., Step 3 of the 4-Step                  and Arkansas’s small contribution
                                                maintenance problems. Rather, states                    interstate transport framework) when                  relative to other states potentially linked
                                                are obligated to eliminate their own                    identifying emissions contributions that              to Allegan County, MI based on EPA’s
                                                ‘‘significant contribution’’ or                         the Agency has determined to be                       modeling.
                                                ‘‘interference’’ with the ability of other              ‘‘significant’’ (or interfere with                       Arkansas’s analysis is inadequate
                                                states to attain or maintain the NAAQS.                 maintenance) in each of its prior
                                                                                                                                                              because its focus is only on EGUs.57 See
                                                Indeed, the D.C. Circuit in Wisconsin                   Federal, regional ozone transport
                                                                                                                                                              Wisconsin, 938 F.3d at 318–20. We also
                                                specifically rejected arguments                         rulemakings, and this interpretation of
                                                suggesting that upwind states should be                 the statute has been upheld by the                    find Arkansas’s conclusions as to the
                                                excused from interstate transport                       Supreme Court. See EME Homer City,                    availability of cost-effective controls for
                                                obligations on the basis that some other                572 U.S. 489, 519 (2014). While the EPA               EGUs to be inadequate. Relying on the
                                                source of emissions (whether                            has not directed states that they must                CSAPR Update’s (or any other CAA
                                                international or another upwind state)                  conduct a Step 3 analysis in precisely                program’s) determination of cost-
                                                could be considered the ‘‘but-for’’ cause               the manner the EPA has done in its                    effectiveness without further Step 3
                                                of downwind air quality problem. 938                    prior regional transport rulemakings,                 analysis is not approvable. Cost-
                                                F.3d 303 at 323–324. The court viewed                   state implementation plans addressing                 effectiveness must be assessed in the
                                                these arguments as essentially an                       the obligations in CAA section                        context of the specific CAA program;
                                                argument ‘‘that an upwind State                         110(a)(2)(D)(i)(I) must prohibit ‘‘any                assessing cost-effectiveness in the
                                                ‘contributes significantly’ to downwind                 source or other type of emissions                     context of ozone transport should reflect
                                                nonattainment only when its emissions                   activity within the State’’ from emitting             a more comprehensive evaluation of the
                                                are the sole cause of downwind                          air pollutants which will contribute                  nature of the interstate transport
                                                nonattainment.’’ 938 F.3d 303 at 324.                   significantly to downwind air quality                 problem, the total emissions reductions
                                                The court explained that ‘‘an upwind                    problems. Thus, states must complete                  available at several cost thresholds, and
                                                State can ‘contribute’ to downwind                      something similar to the EPA’s analysis               the potential air quality impacts of those
                                                nonattainment even if its emissions are                 (or an alternative approach to defining               reductions at downwind receptors.
                                                not the but-for cause.’’ Id. At 324–325.                ‘‘significance’’ that comports with the               While the EPA has not established a
                                                See also Catawba County v. EPA, 571                     statute’s objectives) to determine                    benchmark cost-effectiveness value for
                                                F.3d 20, 39 (D.C. Cir. 2009) (rejecting                 whether and to what degree emissions                  2015 ozone NAAQS interstate transport
                                                the argument ‘‘that ‘significantly                      from a state should be ‘‘prohibited’’ to              obligations, because the 2015 ozone
                                                contribute’ unambiguously means                         eliminate emissions that will                         NAAQS is a more stringent and more
                                                ‘strictly cause’’’ because there is ‘‘no                ‘‘contribute significantly to                         protective air quality standard, it is
                                                reason why the statute precludes EPA                    nonattainment in, or interfere with
                                                                                                                                                              reasonable to expect control measures or
                                                from determining that [an] addition of                  maintenance of’’ the NAAQS in any
                                                                                                                                                              strategies to address interstate transport
                                                [pollutant] into the atmosphere is                      other state. As discussed below, ADEQ
                                                                                                                                                              under this NAAQS to reflect higher
                                                significant even though a nearby                        did not conduct an adequate analysis in
                                                                                                                                                              marginal control costs. ADEQ’s
                                                county’s nonattainment problem would                    their SIP submission. We therefore
                                                still persist in its absence’’); Miss.                  propose that ADEQ was required to                     submission failed to provide a
                                                Comm’n on Envtl. Quality v. EPA, 790                    analyze emissions from the sources and                justification for why the $1400/ton
                                                F.3d 138, 163 n.12 (D.C. Cir. 2015)                     other emissions activity from within the              threshold used in the CSAPR Update is
                                                (observing that the argument that ‘‘there               State to determine whether its                        appropriate to rely on for the 2015
                                                likely would have been no violation at                  contributions were significant, and we                ozone NAAQS. ADEQ’s analysis does
                                                all . . . if it were not for the emissions              propose to disapprove its submission                  not consider any air quality impacts of
                                                resulting from [another source]’’ is                    because Arkansas failed to adequately                 assessed controls at downwind
                                                ‘‘merely a rephrasing of the but-for                    do so.                                                receptors. As stated above, assessing
                                                causation rule that we rejected in                         In analyzing potential additional NOX              cost-effectiveness in the context of
                                                Catawba County.’’). Therefore, a state is               controls, ADEQ found that additional                  ozone transport requires more than just
                                                not excused from eliminating its                        controls on its EGUs would exceed the                 assessing the cost of controls per ton of
                                                significant contribution on the basis that              cost-effectiveness thresholds identified              NOX removed. As such, ADEQ’s
                                                emissions from other states also                        in the CSAPR and CSAPR Update rules.                  assessment of the cost of controls and
                                                contribute some amount of pollution to                  For the cost analysis, Arkansas only                  reliance on the marginal cost threshold
                                                the same receptors to which the state is                focused on the potential costs of NOX                 of $1,400/ton used for the CSAPR
                                                linked.                                                 controls for EGUs. As stated above,                   Update is inadequate. Furthermore, EPA
                                                   ADEQ did not provide additional                      Arkansas found that the costs to install              2016v2 modeling captures all existing
                                                analysis for other receptors to which it                additional NOX controls (selective                    CSAPR trading programs in the baseline
                                                was linked above 1 percent in the air                   catalytic reduction, SCR, and selective               and confirms that these control
                                                quality modeling upon which it relied,                  noncatalytic reduction, SNCR) at                      programs were not sufficient to
                                                and to which it continues to be linked                  electric generating units (EGUs) exceed               eliminate Arkansas’s linkage at Steps 1
                                                in EPA 2016v2 modeling. To effectively                  EPA’s cost thresholds used for the                    and 2 under the 2015 ozone NAAQS.
                                                evaluate which emissions in the state                   CSAPR and CSAPR Update rules. Based                   The State was therefore obligated at
                                                should be deemed ‘‘significant’’ and                    on the projected cost of these controls               Step 3 to assess additional control
                                                therefore prohibited, states generally                  relative to the thresholds used in those
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                                                                                                                                                              measures using a multifactor analysis.
                                                should prepare an accounting of sources                 two prior EPA rules, Arkansas
                                                and other emissions activity for relevant               concluded that no new controls beyond                   57 In 2017, National Emission Inventory (NEI)

                                                pollutants and assess potential,                        those Federal and State regulations                   NOX emissions from EGU sources represent 56%
                                                additional emissions reduction                          already in existence were cost-effective,             percent of the total NOx emissions categories in
                                                                                                                                                              Arkansas that report emissions to the NEI. See AR
                                                opportunities and resulting downwind                    especially considering that Allegan                   NOx.xlsx datasheet included in the Regional docket
                                                air quality improvements. The EPA has                   County, MI is projected to be in                      for this action (Docket ID No. EPA–R06–OAR–
                                                consistently applied this general                       attainment with the 2015 ozone NAAQS                  2021–0801).



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                      Case: 23-60069                            Document: 438-3                            Page: 310                    Date Filed: 09/26/2023
                                                                             Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                        9811

                                                5. Evaluation of Information Provided                                 (LDEQ) made a SIP submission                                        state emissions to the projected ozone
                                                by ADEQ Regarding Step 4                                              addressing the State of Louisiana’s                                 concentrations at each ozone monitor.
                                                   Step 4 of the 4-Step interstate                                    interstate transport of air pollution for                              LDEQ used a contribution threshold
                                                transport framework calls for the                                     the 2015 ozone NAAQS. The SIP                                       of 1 ppb in LDEQ’s Step 2 to identify
                                                development of permanent and                                          submission provided LDEQ’s analysis of                              projected nonattainment and/or
                                                federally enforceable control strategies                              Louisiana’s impact to downwind states                               maintenance receptors in other states
                                                to achieve the emissions reductions                                   and concluded that emissions from
                                                                                                                                                                                          that might be impacted by emissions
                                                determined to be necessary at Step 3 to                               Louisiana will not contribute
                                                                                                                                                                                          from Louisiana and tagged them for
                                                eliminate significant contribution to                                 significantly to nonattainment or
                                                                                                                                                                                          further review. To support a 1 ppb
                                                nonattainment or interference with                                    interfere with maintenance of the 2015
                                                                                                                                                                                          contribution threshold, LDEQ’s
                                                maintenance of the NAAQS. ADEQ’s                                      ozone NAAQS in other states.
                                                                                                                                                                                          submission stated that a 1 percent
                                                SIP submission, which looked only at                                     The LDEQ’s SIP submission provided                               threshold is inappropriate because that
                                                additional NOX controls at EGUs and                                   an analysis of Louisiana’s air emissions                            value is not detectable by a monitor and
                                                dismissed such controls as not cost-                                  impact to downwind states using a 3-
                                                effective relative to the thresholds                                                                                                      the value of 1 percent of the 2015 ozone
                                                                                                                      Step alternative framework similar to                               NAAQS would be truncated to zero if
                                                established in earlier EPA transport                                  the EPA’s 4-Step framework. LDEQ’s 3-
                                                rules, did not constitute an adequate                                                                                                     calculated in accordance with the
                                                                                                                      Step alternative framework includes:                                method for determining DVs for the
                                                emission reduction analysis at Step 3.                                Step 1: Identify monitors projected to be
                                                Based on its conclusions, ADEQ did not                                                                                                    ozone NAAQS. LDEQ also stated that
                                                                                                                      in nonattainment or have maintenance
                                                revise its SIP to include any emission                                                                                                    the more stringent threshold of 1
                                                                                                                      issues in a future year; Step 2: Identify
                                                reductions. As a result, the EPA                                                                                                          percent of the NAAQS (0.7 ppb) is an
                                                                                                                      projected nonattainment and/or
                                                proposes to disapprove ADEQ’s                                                                                                             order of magnitude smaller than the
                                                                                                                      maintenance monitors in other states
                                                submittal on the separate, additional                                 that might be impacted by emissions                                 biases and errors typically documented
                                                basis that Arkansas has not developed                                 from Louisiana, tagging them for further                            for regional photochemical modeling.58
                                                or included permanent and enforceable                                                                                                     Based on LDEQ’s approach of evaluating
                                                                                                                      review; and, Step 3: Determine if
                                                emissions reductions in its SIP                                                                                                           linkages at the 1 ppb threshold, five
                                                                                                                      emissions from Louisiana contribute
                                                necessary to meet the obligations of                                                                                                      Texas receptors were identified by
                                                                                                                      significantly to nonattainment or
                                                CAA section 110(a)(2)(D)(i)(I).                                                                                                           Louisiana for analysis. The Texas
                                                                                                                      interfere with maintenance at the
                                                6. Conclusion                                                         monitors tagged for review in Step 2.                               receptors and corresponding receptor
                                                                                                                      LDEQ noted that its Step 1 is identical                             data presented in Louisiana’s SIP are
                                                   Based on the EPA’s evaluation of
                                                ADEQ’s SIP submission, the EPA is                                     to the EPA’s Step 1, and its Steps 2 and                            summarized further in this notice in
                                                proposing to find that ADEQ’s October                                 3 are equivalent to the EPA’s Step 2.                               Table LA–1.59 The March 2018
                                                19, 2019, SIP submission addressing                                   Louisiana further noted that Steps 3 and                            memorandum identified monitors in
                                                CAA section 110(a)(2)(D)(i)(I) does not                               4 of the EPA’s 4-Step framework are                                 Allegan, Michigan and Milwaukee and
                                                meet the State’s interstate transport                                 relevant only if emissions from                                     Sheboygan, Wisconsin as potential
                                                obligations because it fails to contain                               Louisiana contribute significantly to                               nonattainment and maintenance-only
                                                the necessary provisions to eliminate                                 nonattainment or interfere with                                     receptors linked to emissions from
                                                emissions that will contribute                                        maintenance at downwind monitors in                                 Louisiana based on 1 percent of the
                                                significantly to nonattainment or                                     another state.                                                      NAAQS threshold. However, Louisiana
                                                interfere with maintenance of the 2015                                   LDEQ’s Step 1 was to identify                                    did not include the Allegan, Michigan
                                                ozone NAAQS in any other state.                                       downwind monitors projected to be in                                and Milwaukee and Sheboygan,
                                                III. Louisiana SIP Submission                                         nonattainment and/or have maintenance                               Wisconsin receptors in the State’s
                                                Addressing Interstate Transport of Air                                issues in future year 2023 (fy 2023). At                            analysis because the March 2018
                                                Pollution for the 2015 Ozone NAAQS                                    this step, LDEQ relied on the EPA’s                                 memorandum shows that Louisiana’s
                                                and the EPA Evaluation of the SIP                                     interstate transport modeling results                               projected modeled contribution values
                                                Submission                                                            that are included as an attachment to                               to each receptor is less than 1 ppb.
                                                                                                                      the March 2018 memorandum. The EPA
                                                A. Summary of LDEQ SIP Submission                                     March 2018 modeling results provided:
                                                Addressing Interstate Transport of Air                                (1) Projected average DV and maximum
                                                Pollution for the 2015 Ozone NAAQS                                    DV for 2023 for the ozone monitors (or
                                                  On November 13, 2019, the Louisiana                                 ‘‘receptors’’) in the 48 contiguous states
                                                Department of Environmental Quality                                   and (2) the expected contribution of

                                                    TABLE LA–1—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY LOUISIANA BASED ON THE
                                                                                    EPA’S MARCH 2018 MEMORANDUM
                                                                                                                                                                                            2023             2023              Louisiana
                                                                                                          Receptor                                                                       Average DV       Maximum DV          Contribution
                                                                                                  (site ID, county, state)                                                                 (ppb) 60         (ppb) 61             (ppb)
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                                                480391004, Brazoria, TX .............................................................................................................             74.0               74.9               3.80

                                                   58 The Louisiana SIP submittal did not provide a                   2006 and 2012’’. Atmospheric Environment 61,                        2015 ozone NAAQS. The Louisiana SIP submittal
                                                specific citation to the Simon et al., 2012 reference                 124–139.                                                            appears to have inadvertently omitted Harris
                                                to support this assertion. However, we believe the                      59 The five potential nonattainment and                           County, TX Monitor ID No. 482011034 for analysis.
                                                reference is associated with the following article:                                                                                       EPA’s March 2018 memorandum identified this
                                                                                                                      maintenance receptor monitors identified by LDEQ
                                                Simon, H., Baker, K.R., Phillips, S., 2012.
                                                                                                                      are from the Dallas-Fort Worth and Houston-                         monitor as a maintenance receptor with a
                                                ‘‘Compilation and interpretation of photochemical
                                                model performance statistics published between                        Galveston-Brazoria, TX nonattainment areas for the                  contribution of 3.38 ppb from Louisiana emissions.




                                           VerDate Sep<11>2014       20:06 Feb 18, 2022       Jkt 256001      PO 00000      Frm 00015      Fmt 4701      Sfmt 4702      E:\FR\FM\22FEP2.SGM      22FEP2
                                                                      Case: 23-60069                             Document: 438-3                            Page: 311                    Date Filed: 09/26/2023
                                                9812                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                    TABLE LA–1—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY LOUISIANA BASED ON THE
                                                                              EPA’S MARCH 2018 MEMORANDUM—Continued
                                                                                                                                                                                             2023              2023              Louisiana
                                                                                                           Receptor                                                                       Average DV        Maximum DV          Contribution
                                                                                                   (site ID, county, state)                                                                 (ppb) 60          (ppb) 61             (ppb)

                                                482011039, Harris, TX ................................................................................................................             71.8                73.5               4.72
                                                484392003, Tarrant, TX ..............................................................................................................              72.5                74.8               1.71
                                                481210034, Denton, TX ..............................................................................................................               69.7                72.0               1.92
                                                482010024, Harris, TX ................................................................................................................             70.4                72.8               4.72



                                                   ForLDEQ’s Step 3, Louisiana stated                                 framework, and the EPA is therefore                                  issuance of the August 2018
                                                that an air emission contribution from                                proposing to disapprove Louisiana’s SIP                              memorandum regarding use of
                                                the State should only be considered                                   submission.                                                          alternative thresholds at Step 2. This
                                                significant if there is a persistent and                                                                                                   experience leads the Agency to now
                                                                                                                      1. Evaluation of Information Provided
                                                consistent pattern of contribution on                                                                                                      believe it may not be appropriate to
                                                several days with elevated ozone. In                                  by LDEQ Regarding Steps 1 and 2
                                                                                                                                                                                           continue to attempt to recognize
                                                trying to determine whether there is a                                   At Step 1 of the 4-Step interstate                                alternative contribution thresholds at
                                                persistent and consistent pattern of                                  transport framework, LDEQ relied on                                  Step 2. The August 2018 memorandum
                                                contribution, LDEQ analyzed seasonal                                  EPA modeling released in the March                                   stated that ‘‘it may be reasonable and
                                                weather patterns, surface wind                                        2018 memorandum to identify                                          appropriate’’ for states to rely on an
                                                directions, and periodic back                                         nonattainment and maintenance                                        alternative threshold of 1 ppb threshold
                                                trajectories. LDEQ used the National                                  receptors in 2023. At Step 2 of the                                  at Step 2.63 (The memorandum also
                                                Oceanic and Atmospheric                                               4-Step interstate transport framework,                               indicated that any higher alternative
                                                Administration (NOAA) Hybrid Single                                   LDEQ relied on the EPA modeling                                      threshold, such as 2 ppb, would likely
                                                Particle Lagrangian Integrated Trajectory                             released in the March 2018                                           not be appropriate.) However, the EPA
                                                (HYSPLIT) 62 model to perform 99 back                                 memorandum to identify upwind state                                  also provided that ‘‘air agencies should
                                                trajectories for exceedances from the                                 linkages to nonattainment and                                        consider whether the recommendations
                                                receptor monitors identified in Table                                 maintenance receptors in 2023. LDEQ                                  in this guidance are appropriate for each
                                                LA–1 for 2016, 2017, and 2018. Based                                  additionally utilized a 1 ppb threshold                              situation.’’ Following receipt and review
                                                on an analysis of the HYSPLIT results,                                at Step 2 to identify whether the state                              of 49 interstate transport SIP submittals
                                                LDEQ stated that approximately 28% of                                 was ‘‘linked’’ to a projected downwind                               for the 2015 ozone NAAQS, the EPA’s
                                                the trajectories travel in or through                                 nonattainment or maintenance receptor.                               experience has been that nearly every
                                                Louisiana, and only 8% of those back                                  As discussed in the EPA’s August 2018                                state that attempted to rely on a 1 ppb
                                                trajectories originate in the State. The                              memorandum, with appropriate                                         threshold did not provide sufficient
                                                SIP submission also stated that a                                     additional analysis it may be reasonable                             information and analysis to support a
                                                comparison of the EPA’s modeled                                       for states to use a 1 ppb contribution                               determination that an alternative
                                                contribution between Texas and                                        threshold, as an alternative to a 1                                  threshold was reasonable or appropriate
                                                Louisiana monitors indicates that a far                               percent threshold, at Step 2 of the                                  for that state.
                                                greater proportion of the total ozone                                 4-Step interstate transport framework,                                  For instance, in nearly all submittals,
                                                detected in Louisiana originates in                                   for the purposes of identifying linkages                             the states did not provide the EPA with
                                                Texas rather than vice versa. Therefore,                              to downwind receptors. In any case, the                              analysis specific to their state or the
                                                Louisiana concluded that the impact                                   State is projected to contribute greater                             receptors to which its emissions are
                                                from the State’s air emissions was                                    than both the 1 percent and the                                      potentially linked. In one case, the
                                                insignificant to the overall attainment at                            alternative 1 ppb thresholds to receptors                            proposed approval of Iowa’s SIP
                                                the receptor monitors identified in                                   in Texas, regardless of whether we look                              submittal, the EPA expended its own
                                                Table LA–1 and does not significantly                                 at LDEQ’s analysis (which relied on the                              resources to attempt to supplement the
                                                contribute to nonattainment or interfere                              EPA’s older modeling) or updated                                     information submitted by the state, in
                                                with maintenance of the 2015 ozone                                    modeling the EPA has performed in                                    order to more thoroughly evaluate the
                                                NAAQS in other states.                                                advance of this proposal. As seen in the                             state-specific circumstances that could
                                                B. EPA Evaluation of the LDEQ SIP                                     tables LA–1 and LA–2, Louisiana                                      support approval.64 The Agency no
                                                Submission                                                            contributes nearly five times the 1 ppb                              longer intends to undertake
                                                                                                                      threshold to nonattainment or                                        supplemental analysis of SIP submittals
                                                  The EPA is proposing to find that                                   maintenance receptors in Texas.
                                                LDEQ’s November 13, 2019, SIP                                                                                                              with respect to alternative thresholds at
                                                                                                                      Therefore, while the EPA does not, in                                Step 2 for purposes of the 2015 ozone
                                                submission does not meet the State’s                                  this action, approve of the State’s
                                                obligations with respect to prohibiting                                                                                                    NAAQS.
                                                                                                                      application of the 1 ppb threshold,                                     Furthermore, the EPA’s experience
                                                emissions that contribute significantly
                                                                                                                      because the State has linkages greater                               since 2018 is that allowing for
                                                to nonattainment or interfere with
                                                                                                                      than 1 ppb to projected downwind                                     alternative Step 2 thresholds may be
                                                maintenance of the 2015 NAAQS in any
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                                                                                                                      nonattainment or maintenance
                                                other state based on the EPA’s
                                                                                                                      receptors, the State’s use of this                                     63 See August 2018 memorandum, at page 4.
                                                evaluation of the SIP submission using
                                                                                                                      alternative threshold at Step 2 of the                                 64 ‘‘Air Plan Approval; Iowa; Infrastructure State
                                                the 4-Step interstate transport
                                                                                                                      4-Step interstate framework would not                                Implementation Plan Requirements for the 2015
                                                                                                                      alter our review and proposed                                        Ozone National Ambient Air Quality Standard’’, 85
                                                 60 Information added from the EPA’s March 2018
                                                                                                                                                                                           FR 12232 (March 2, 2020). The Agency received
                                                memorandum.                                                           disapproval of this SIP submittal.                                   adverse comments on this proposed approval and
                                                 61 Id.                                                                  The EPA here shares further                                       has not taken final action with respect to this
                                                 62 See FN 34.                                                        evaluation of its experience since the                               proposal.



                                           VerDate Sep<11>2014       20:06 Feb 18, 2022        Jkt 256001     PO 00000       Frm 00016      Fmt 4701      Sfmt 4702      E:\FR\FM\22FEP2.SGM       22FEP2
                                                                   Case: 23-60069                          Document: 438-3                          Page: 312                   Date Filed: 09/26/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                     9813

                                                impractical or otherwise inadvisable for                       August 2018 memorandum that there                                  particular, a potentially applicable 1
                                                a number of additional policy reasons.                         was some similarity in the amount of                               ppb threshold, the EPA’s experience
                                                For a regional air pollutant such as                           total upwind contribution captured (on                             since the issuance of that memorandum
                                                ozone, consistency in requirements and                         a nationwide basis) between 1 percent                              has revealed substantial programmatic
                                                expectations across all states is                              and 1 ppb. However, the EPA notes that                             and policy difficulties in attempting to
                                                essential. Based on its review of                              while this may be true in some sense,                              implement this approach. Nonetheless,
                                                submittals to-date and after further                           that is not a compelling basis to move                             the EPA is not at this time rescinding
                                                consideration of the policy implications                       to a 1 ppb threshold. Indeed, the 1 ppb                            the August 2018 memorandum. The
                                                of attempting to recognize an alternative                      threshold has the disadvantage of losing                           basis for a proposed disapproval of
                                                Step 2 threshold for certain states, the                       a certain amount of total upwind                                   LDEQ’s SIP submission with respect to
                                                Agency now believes the attempted use                          contribution for further evaluation at                             the Step 2 analysis we believe is
                                                of different thresholds at Step 2 with                         Step 3 (e.g., roughly seven percent of                             warranted under the terms of the August
                                                respect to the 2015 ozone NAAQS raises                         total upwind state contribution was lost                           2018 memorandum. The EPA invites
                                                substantial policy consistency and                             according to the modeling underlying                               comment on this broader discussion of
                                                practical implementation concerns.65                           the August 2018 memorandum; 66 in the                              issues associated with alternative
                                                The availability of different thresholds                       EPA’s updated modeling, the amount                                 thresholds at Step 2. Depending on
                                                at Step 2 has the potential to result in                       lost is five percent). Considering the                             public comments received and further
                                                inconsistent application of interstate                         core statutory objective of ensuring                               evaluation of this issue, the EPA may
                                                transport obligations based solely on the                      elimination of all significant                                     determine to rescind the 2018
                                                strength of a state’s SIP submittal at Step                    contribution to nonattainment or                                   memorandum in the future.
                                                2 of the 4-Step interstate transport                           interference of the NAAQS in other
                                                                                                                                                                                  2. Results of the EPA’s Step 1 and Step
                                                framework. From the perspective of                             states and the broad, regional nature of
                                                                                                                                                                                  2 Modeling and Findings for Louisiana
                                                ensuring effective regional                                    the collective contribution problem with
                                                implementation of interstate transport                         respect to ozone, there does not appear                               As described in Section I of this
                                                obligations, the more important analysis                       to be a compelling policy imperative in                            action, the EPA performed air quality
                                                is the evaluation of the emissions                             allowing some states to use a 1 ppb                                modeling using the 2016v2 emissions
                                                reductions needed, if any, to address a                        threshold while others rely on a 1                                 platform to project DVs and
                                                state’s significant contribution after                         percent of NAAQS threshold.                                        contributions for 2023.67 This data was
                                                consideration of a multifactor analysis                           Consistency with past interstate                                examined to determine if Louisiana
                                                at Step 3, including a detailed                                transport actions such as CSAPR, and                               contributes at or above the threshold of
                                                evaluation that considers air quality                          the CSAPR Update and Revised CSAPR                                 1 percent of the 2015 ozone NAAQS
                                                factors and cost. Where alternative                            Update rulemakings (which used a Step                              (0.70 ppb) to any downwind
                                                thresholds for purposes of Step 2 may                          2 threshold of 1 percent of the NAAQS                              nonattainment or maintenance receptor.
                                                be ‘‘similar’’ in terms of capturing the                       for two less stringent ozone NAAQS), is                            As shown in Table LA–2, the data 68
                                                relative amount of upwind contribution                         also important. Continuing to use a 1                              indicate that in 2023, emissions from
                                                (as described in the August 2018                               percent of NAAQS approach ensures                                  Louisiana contributed greater than 1
                                                memorandum), nonetheless, use of an                            that as the NAAQS are revised and                                  percent of the standards to
                                                alternative threshold would allow                              made more stringent, an appropriate                                nonattainment or maintenance-only
                                                certain states to avoid further evaluation                     increase in stringency at Step 2 occurs,                           receptors in Texas.69 Therefore, based
                                                of potential emission controls while                           so as to ensure an appropriately larger                            on the EPA’s evaluation of the
                                                other states must proceed to a Step 3                          amount of total upwind-state                                       information submitted by LDEQ, and
                                                analysis. This can create significant                          contribution is captured for purposes of                           based on the EPA’s most recent
                                                equity and consistency problems among                          fully addressing interstate transport.                             modeling results for 2023, the EPA
                                                states.                                                        Accord 76 FR 48237–38.                                             proposes to find that Louisiana is linked
                                                   Further, it is not clear that national                         Therefore, notwithstanding the                                  at Steps 1 and 2 and has an obligation
                                                ozone transport policy is best served by                       August 2018 memorandum’s                                           to assess potential emissions reductions
                                                allowing for less stringent thresholds at                      recognition of the potential viability of                          from sources or other emissions activity
                                                Step 2. The EPA recognized in the                              alternative Step 2 thresholds, and in                              at Step 3 of the 4-Step framework.

                                                  TABLE LA–2—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH LOUISIANA LINKAGES BASED ON EPA
                                                                                          2016V2 MODELING
                                                                                                                                                                                    2023             2023              Louisiana
                                                                      Receptor                                                   Nonattainment/                                  Average DV       Maximum DV          Contribution
                                                              (site ID, county, state)                                            maintenance                                       (ppb)            (ppb)               (ppb)

                                                482010024, Harris, TX ..................................    Nonattainment ..................................................              75.2               76.8               4.31
                                                482010055, Harris, TX ..................................    Nonattainment ..................................................              71.0               72.0               5.39
                                                480391004, Brazoria, TX ..............................      Maintenance .....................................................             70.1               72.3               7.03

                                                  65 We note that Congress has placed on the EPA               modeling should be submitted in the Regional                       to the public in the fall of 2020 in the Revised
                                                a general obligation to ensure the requirements of             docket for this action, Docket ID No. EPA–R06–                     CSAPR Update, as noted in Section I of this action.
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                                                the CAA are implemented consistently across states             OAR–2021–0801. Comments are not being accepted                     That modeling showed that Louisiana had a
                                                and regions. See CAA section 301(a)(2). Where the              in Docket No. EPA–HQ–OAR–2021–0663.                                maximum contribution greater than 0.70 ppb to at
                                                management and regulation of interstate pollution                 68 DVs and contributions at individual monitoring
                                                                                                                                                                                  least one nonattainment or maintenance-only
                                                levels spanning many states is at stake, consistency           sites nationwide are provided in the file: ‘‘2016v2_
                                                in application of CAA requirements is paramount.                                                                                  receptor in 2023. These modeling results are
                                                                                                               DVs_state_contributions.xlsx’’, which is included in
                                                  66 See August 2018 memorandum, at page 4.                    Docket ID No. EPA–HQ–OAR–2021–0663.                                included in the file ‘‘Ozone DVs And Contributions
                                                  67 Per the instructions in the Supplementary                    69 These modeling results are consistent with the               Revised CSAPR Update.xlsx’’ in Docket No. EPA–
                                                Information section above, all public comments,                results of a prior round of 2023 modeling using the                HQ–OAR–2021–0663.
                                                including comments on the EPA’s air quality                    2016v1 emissions platform, which became available



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000       Frm 00017      Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM      22FEP2
                                                                   Case: 23-60069                          Document: 438-3                          Page: 313                   Date Filed: 09/26/2023
                                                9814                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                  TABLE LA–2—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH LOUISIANA LINKAGES BASED ON EPA
                                                                                    2016V2 MODELING—Continued
                                                                                                                                                                                    2023              2023        Louisiana
                                                                      Receptor                                                   Nonattainment/                                  Average DV        Maximum DV    Contribution
                                                              (site ID, county, state)                                            maintenance                                       (ppb)             (ppb)         (ppb)

                                                481210034, Denton, TX ................................      Maintenance .....................................................            70.4             72.2            3.22
                                                482011034, Harris, TX ..................................    Maintenance .....................................................            70.3             71.6            4.93
                                                482011035, Harris, TX ..................................    Maintenance .....................................................            68.0             71.6            4.77



                                                3. Evaluation of Information Provided                          an analysis in their SIP submission.                               areas exceed both a 1 percent or a 1 ppb
                                                by LDEQ Regarding Step 3                                       Instead LDEQ interpreted the Act’s                                 threshold. While linkages to specific
                                                                                                               requirements as only requiring an                                  receptors may change with updated
                                                   At Step 3 of the 4-Step interstate                                                                                             modeling, both modeling analyses
                                                                                                               analysis of emission reductions where
                                                transport framework, a state’s emissions                                                                                          consistently show emissions from
                                                                                                               there was a ‘‘consistent and persistent’’
                                                are further evaluated, in light of                                                                                                Louisiana impact both downwind
                                                                                                               pattern of contribution and conducted
                                                multiple factors, including air quality                                                                                           nonattainment receptors and downwind
                                                                                                               an air-quality-only analysis in order to
                                                and cost considerations, to determine                                                                                             maintenance receptors in Texas.
                                                                                                               refute such a pattern. We propose to
                                                what, if any, emissions contribute                                                                                                   The LDEQ SIP submission stated that
                                                                                                               find that LDEQ was required to analyze
                                                significantly to nonattainment or                                                                                                 Louisiana’s contribution should be
                                                                                                               emissions from the sources and other
                                                interfere with maintenance and, thus,                                                                                             deemed ‘‘significant’’ per CAA section
                                                                                                               emissions activity from within
                                                must be eliminated under CAA section                                                                                              110(a)(2)(D)(i)(I) only if there is a
                                                                                                               Louisiana to determine whether its
                                                110(a)(2)(D)(i)(I).                                                                                                               persistent and consistent pattern of
                                                                                                               contributions were significant, and we
                                                   To effectively evaluate which                               propose to disapprove its submission                               contribution on several days with
                                                emissions in the state should be deemed                        because LDEQ did not do so.                                        elevated ozone. LDEQ asserted that its
                                                ‘‘significant’’ and therefore prohibited,                         As noted, LDEQ stated in its SIP                                linkages to Texas do not warrant further
                                                states generally should prepare an                             submission that emissions from                                     analysis because, according to LDEQ,
                                                accounting of sources and other                                Louisiana should not be considered to                              emissions from Louisiana do not
                                                emissions activity for relevant                                contribute significantly to                                        persistently and consistently contribute
                                                pollutants and assess potential,                               nonattainment or interfere with                                    on several days of elevated ozone.
                                                additional emissions reduction                                 maintenance of the NAAQS in other                                  However, the EPA modeling that LDEQ
                                                opportunities and resulting downwind                           states because there is not a ‘‘persistent                         relied upon to demonstrate linkages in
                                                air quality improvements. The EPA has                          and consistent’’ pattern of contribution                           the first instance already establishes that
                                                consistently applied this approach (i.e.,                      from the State. The SIP submission does                            there is a consistent and persistent
                                                Step 3 of the 4-Step interstate transport                      not explain what LDEQ considers to be                              pattern of contribution from Louisiana
                                                framework) when identifying emissions                          a persistent and consistent pattern of                             to Texas receptors on elevated ozone
                                                contributions that the Agency has                              contribution, even after the LDEQ                                  days. The EPA’s methodology for
                                                determined to be ‘‘significant’’ (or                           received a comment during its state                                projecting future year ozone
                                                interfere with maintenance) in each of                         comment period that requested that the                             concentrations accounts for precisely
                                                its prior Federal, regional ozone                              LDEQ define ‘‘persistent and                                       these concerns—the relative response
                                                transport rulemakings, and this                                consistent’’ in terms of impacts on                                factor 71 that is applied to historic
                                                interpretation of the statute has been                         downwind states. The LDEQ responded,                               monitored data to generate projections
                                                upheld by the Supreme Court. See EME                           ‘‘Louisiana has defined the pattern and                            is calculated by looking only at days
                                                Homer City, 572 U.S. 489, 519 (2014).                          has provided back trajectories on those                            with elevated ozone levels. The EPA
                                                While the EPA has not directed states                          monitored exceedances for the 2016–                                notes that monitored attainment with
                                                that they must conduct a Step 3 analysis                       2018 ozone seasons, which will show                                the ozone standard is determined by
                                                in precisely the manner the EPA has                            that the definition is applicable to the                           averaging the fourth high value recorded
                                                done in its prior regional transport                           conclusion.’’ 70 We do not agree that this                         each year for three years. So, the EPA
                                                rulemakings, state implementation                              suffices as an explanation as to why                               believes it is important to estimate
                                                plans addressing the obligations in CAA                        LDEQ does not need to further analyze                              impacts on the days with highest
                                                section 110(a)(2)(D)(i)(I) must prohibit                       its potential emission reductions under                            projected ozone levels. The days chosen
                                                ‘‘any source or other type of emissions                        Step 3 before determining it has no                                to analyze the future impacts are chosen
                                                activity within the State’’ from emitting                      statutory obligation under the interstate                          initially by the selecting the 10 highest
                                                air pollutants which will contribute                           transport provision. In the case of                                days in the base period modeling that
                                                significantly to downwind air quality                          Louisiana, modeling in the March 2018                              are projected to be above 65 ppb in the
                                                problems. Thus, states must complete                           memorandum and the EPA’s more                                      base period. If there are not 10 days
                                                an analysis similar to the EPA’s (or an                        recent 2016v2 modeling both project                                above 65 ppb at a potential receptor, the
                                                alternative approach to defining                               that receptors in the Houston-Galveston-                           number of days above 65 ppb are used
                                                ‘‘significance’’ that comports with CAA                        Brazoria (HGB) and Dallas-Fort Worth                               so long as there is at least five days
                                                requirements) to determine whether,
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                                                                                                               (DFW) ozone nonattainment areas in                                 above 65 ppb in the base period. If the
                                                and to what degree, emissions from a                           Texas will have difficulty attaining or                            air quality modeling shows fewer than
                                                state should be ‘‘prohibited’’ to                              maintaining the 2015 ozone NAAQS,                                  five days above 65 ppb in the base
                                                eliminate emissions that will                                  and Louisiana’s contribution to these                              period, then the data for impacts at that
                                                ‘‘contribute significantly to                                                                                                     receptor in 2023 are not calculated. The
                                                nonattainment, or interfere with                                 70 See LDEQ SIP Submission, Appendix A,                          base and future year modeling for these
                                                maintenance of’’ the NAAQS in any                              available in the Regional docket for this action
                                                other state. LDEQ did not conduct such                         (Docket ID No. EPA–R06–OAR–2021–0801).                              71 See FN 53.




                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000       Frm 00018      Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM     22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 314            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                           9815

                                                5–10 days are then used to project 2023                 provide information directly pertinent                confirmed that Louisiana is an upwind
                                                ozone DVs to determine whether it is                    to when ozone is high at areas in Texas               area for the receptors in Texas often
                                                projected to be a nonattainment or                      and whether Louisiana is a contributing               enough to potentially contribute to
                                                maintenance receptor in 2023. For these                 area during those specific times.                     nonattainment or interfere with
                                                same 5–10 days identified, the future                      LDEQ also included 99 back trajectory              maintenance. The analysis did not
                                                year modeling provides the estimated                    analyses during the 2016, 2017, and                   provide evidence that was contrary to
                                                daily contribution at a potential                       2018 years for the dates of ozone                     the conclusions of the EPA’s
                                                receptor’s future year daily MDA8 and                   exceedances at the monitors referenced                photochemical modeling analyses (i.e.,
                                                these daily contributions are averaged                  in Table LA–1 of this action. HYSPLIT                 the EPA’s modeling results in the March
                                                for the 5–10 days to result in the average              back trajectory analyses use archived                 2018 memorandum and EPA 2016v2
                                                contribution from the upwind area.                      meteorological modeling that includes                 model).
                                                   LDEQ’s air quality analysis used to                  actual observed data (surface, upper air,                Photochemical modeling simulations
                                                dismiss its linkages to Texas receptors                 airplane data, etc.) and modeled                      for ozone interstate transport assessment
                                                as not ‘‘significant’’ consists of an                   meteorological fields to estimate the                 is relied upon by the EPA to simulate
                                                evaluation of seasonal weather patterns,                most likely route of an air parcel                    the formation and fate of oxidant
                                                surface wind directions, and periodic                   transported to a receptor at a specified              precursors, primary and secondary
                                                back trajectories. The State’s weather                  time. The method essentially follows a                particulate matter concentrations, and
                                                pattern analysis relied on large-scale                  parcel of air backward in hourly steps                deposition over regional and urban
                                                weather patterns as they relate to                                                                            spatial scales. Photochemical modeling
                                                                                                        for a specified length of time. HYSPLIT
                                                commonly observed wind directions                                                                             is the most sophisticated tool available
                                                                                                        estimates the central path in both the
                                                rather than weather patterns and                                                                              to estimate future ozone levels and
                                                                                                        vertical and horizontal planes. The
                                                conditions that are specifically                                                                              contributions to those modeled future
                                                                                                        HYSPLIT central path represents the
                                                conducive to ozone formation or tied to                                                                       ozone levels. Consideration of the
                                                                                                        centerline with the understanding that
                                                specific days when high ozone was                                                                             different processes that affect primary
                                                                                                        there are areas on each side horizontally
                                                monitored in the downwind areas.                                                                              and secondary pollutants at the regional
                                                                                                        and vertically that also contribute to the
                                                General weather pattern discussions                                                                           scale in different locations is
                                                                                                        concentrations at the end point. The
                                                that are not associated with specific                                                                         fundamental to understanding and
                                                                                                        horizontal and vertical areas that
                                                ozone episodes are not generally                                                                              assessing the effects of emissions on air
                                                                                                        potentially contribute to concentrations              quality concentrations. For the 2015
                                                informative of interstate transport
                                                decisions. It is necessary to investigate               at the endpoint grow wider from the                   ozone NAAQS interstate transport
                                                specific instances of high ozone,                       centerline the further back in time the               analysis, the EPA performed
                                                because as discussed previously,                        trajectory goes. Therefore, a HYSPLIT                 nationwide, state-level ozone source
                                                violations of the ozone standard can be                 centerline does not have to pass directly             apportionment modeling using CAMx to
                                                driven by as few as 4 days per year                     over emissions sources or emission                    quantify the contribution of NOX and
                                                because the compliance with the                         source areas but merely relatively near               VOC emissions from all sources in each
                                                standard is evaluated based on the                      emission source areas for those areas to              state to project 2023 ozone
                                                average of the fourth high value                        contribute to concentrations at the                   concentrations at ozone monitoring
                                                measured each of three consecutive                      trajectory endpoint. The EPA relies on                sites. Detailed information for the EPA’s
                                                years.                                                  back trajectory analysis as a corollary               modeling may be found in the Air
                                                   LDEQ’s wind rose analysis is based on                analysis along with observation-based                 Quality Modeling TSD in Docket No.
                                                surface sites in the Dallas-Fort Worth                  meteorological wind fields at multiple                EPA–HQ–OAR–2021–0663.
                                                areas, Houston-Galveston-Brazoria                       heights to examine the general                           LDEQ concluded in the SIP submittal,
                                                areas, and other areas in Texas and                     plausibility of the photochemical model               citing an article 72 published in 2012,
                                                Louisiana, but the analysis does not                    ‘‘linkages.’’ Since the back trajectory               that the use of 1 percent of the standard
                                                address transport winds between                         calculations do not account for any air               for modeled contribution as the sole
                                                Louisiana and the Texas areas with                      pollution formation, dispersion,                      definition of significant contribution is
                                                receptors on high ozone days at the                     transformation, or removal processes as               inappropriate for the 2015 ozone
                                                identified receptors. There are several                 influenced by emissions, chemistry,                   NAAQS. LDEQ’s reasoning for this
                                                limitations associated with LDEQ’s                      deposition, etc., the trajectories cannot             conclusion is that the more stringent 0.7
                                                wind rose analysis: (1) Wind directions                 be used to develop quantitative                       ppb threshold ‘‘is an order of magnitude
                                                measured at the surface are not                         contributions. Therefore, back                        smaller than the biases and errors
                                                necessarily good indicators of the wind                 trajectories cannot be used to                        typically documented for regional
                                                direction occurring at higher elevations,               quantitatively evaluate the magnitude of              photochemical modeling.’’ First, the
                                                which tend to have a stronger influence                 the existing photochemical                            EPA does not use the 1 percent
                                                on interstate ozone transport; (2) wind                 contributions from upwind states to                   threshold as the sole definition of
                                                directions change spatially over the                    downwind receptors. LDEQ’s HYSPLIT                    significant contribution; at Step 2 of the
                                                range of distance involved in transport                 back trajectory analysis for 2016, 2017,              analysis, the 1 percent threshold is used
                                                from Louisiana to Texas; (3) wind                       and 2018 showed that on high ozone                    to identify contributions between states
                                                directions change temporally over the                   days in Texas at the receptors identified             and downwind problem areas for
                                                range of time involved in ozone                         by the EPA in the 2018 memorandum                     further analysis at Step 3. Second,
                                                transport from Louisiana to Texas; and                  that 28% of the trajectories passed                   photochemical transport models such as
                                                                                                        through Louisiana. LDEQ proffered that
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                                                (4) the wind roses are based on wind                                                                          CAMx have been extensively peer
                                                data measured throughout the year, not                  some of these back trajectories did not               reviewed and used to support SIPs and
                                                just during either ozone season or                      pass directly over areas with emissions               explore relationships between inputs
                                                monitored ozone episode days. In                        but did not consider that the back                    and air quality impacts in the U.S. and
                                                addition, as discussed previously,                      trajectories only represent a centerline              beyond. The EPA works to continually
                                                LDEQ’s wind rose analysis is not                        and there are areas on either side of the             develop and update both the guidelines
                                                limited to the wind conditions that are                 centerline that would be contributing
                                                conducive to high ozone, so it does not                 areas. LDEQ’s trajectory analysis                       72 Simon et al., supra FN 58.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                  Case: 23-60069                    Document: 438-3                   Page: 315            Date Filed: 09/26/2023
                                                9816                   Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                on using modeling results and the latest                receptor and natural background                       Step 4. To the extent that LDEQ
                                                versions of photochemical model                         emissions.                                            discussed emissions reductions, the
                                                platforms to support scientific                            In sum, the EPA disagrees that the                 State only provided a summary of
                                                assessments and regulatory                              estimates of potential error in the                   existing already implemented
                                                determinations. Prior to using                          models estimates of total ozone, call                 enforceable control regulations. The
                                                photochemical modeling to support a                     into question the use of 1 percent as a               EPA’s 2016v2 modeling analyses have
                                                regulatory assessment, a model                          threshold for linkage. As noted earlier,              already accounted for the
                                                performance evaluation is completed to                  in the case of Louisiana, the difference              implementation of the regulations cited
                                                establish a benchmark to assess how                     between a 1 percent threshold and a 1                 by LDEQ’s submission—including the
                                                accurately the model predicts observed                  ppb threshold is irrelevant to the                    CSAPR rulemakings and prior regional
                                                concentrations and to identify model                    decision here because linkages are                    rulemakings—and even with those
                                                limitations. The model performance                      present at both threshold levels. As to               reductions in place, the modeling
                                                evaluation provides a better                            Louisiana’s conclusion that the impacts               results consistently show receptors that
                                                understanding of the model’s                            from Louisiana’s emissions are not                    are projected to be in nonattainment or
                                                limitations and biases and serves as a                  persistent, the contribution analysis is              to struggle with maintenance, and
                                                diagnostic evaluation for further model                 the average impact for at least 5 days                Louisiana contributing to those
                                                development and improvement. As                         and up to 10 days for the 2016 base                   receptors. Relying only on the existing
                                                discussed in Section I of this document                 period which is sufficiently persistent               enforceable control regulations is
                                                and the Air Quality Modeling TSD in                     considering the first through fourth high             insufficient to address the Louisiana air
                                                Docket No. EPA–HQ–OAR–2021–0663,                        monitored values set the monitored DV.                emission contributions to linked
                                                                                                           We recognize that the results of the               downwind air quality problems. As a
                                                the EPA follows the most recent
                                                                                                        EPA (2011 and 2016 base year)                         result, the EPA proposes to disapprove
                                                established modeling guidance and
                                                                                                        modeling indicated different receptors                LDEQ’s submittal on the separate,
                                                provides with this action the updated
                                                                                                        and linkages at Steps 1 and 2 of the                  additional basis that the State has not
                                                modeling analysis based on the recent                   4-Step interstate transport framework.
                                                CAMx model update. By using the most                                                                          developed permanent and enforceable
                                                                                                        These differing results regarding                     emissions reductions necessary to meet
                                                recent 2016v2 photochemical modeling                    receptors and linkages can be affected
                                                enhancements (EPA 2016v2 modeling)                                                                            the obligations of CAA section
                                                                                                        by the varying meteorology from year to               110(a)(2)(D)(i)(I).
                                                results are more representative of the                  year, but we do not think the differing
                                                projected local and regional air quality                results means that the modeling or the                5. Conclusion
                                                as it is based on more recent emission                  EPA or the state’s methodology for
                                                estimates with fewer years between the                                                                           Based on the EPA’s evaluation of
                                                                                                        identifying receptors or linkages is                  LDEQ’s SIP submission, the EPA is
                                                base case year (2016) and the future year               inherently unreliable. Rather, these
                                                (2023). In addition, to reduce the impact                                                                     proposing to find that LDEQ’s
                                                                                                        separate modeling runs all indicated: (1)             November 13, 2019, SIP submission
                                                of any potential biases or errors, the                  That there are receptors that would
                                                EPA uses the modeling results in a                                                                            pertaining to interstate transport of air
                                                                                                        struggle with nonattainment or                        pollution does not meet the State’s
                                                relative sense rather than rely on                      maintenance in the future; and (2) that
                                                absolute model predictions.73                                                                                 interstate transport obligations because
                                                                                                        Louisiana is linked to some set of these              it fails to contain the necessary
                                                  Furthermore, it is not appropriate to                 receptors, even if the receptors and                  provisions to eliminate emissions that
                                                compare the bias/error involved in the                  linkages differed from one another in                 will contribute significantly to
                                                estimation of total ozone to the potential              their specifics (e.g., Louisiana was                  nonattainment or interfere with
                                                error in the estimation of the subset of                linked to a different set of receptors in             maintenance of the 2015 ozone NAAQS
                                                ozone that is contributed by a single                   one modeling run versus another).                     in any other state.
                                                state. For example, on a specific day the               These results indicates that Louisiana’s
                                                modeled vs. monitored ozone value may                   emissions were substantial enough to                  IV. Oklahoma SIP Submission
                                                differ by 2 ppb but that is relatively                  generate linkages at Steps 1 and 2 to at              Addressing Interstate Transport of Air
                                                small percentage of the total modeled                   least some set of downwind receptors,                 Pollution for the 2015 Ozone NAAQS
                                                ozone, which for a receptor of interest                 under varying assumptions and                         and the EPA Evaluation of the SIP
                                                would be on the order of 70 ppb. It                     meteorological conditions, even if the                Submission
                                                would be unrealistic to assign all the 2                precise set of linkages changed between
                                                                                                                                                              A. Summary of ODEQ SIP Submission
                                                ppb, in the above example, to the                       modeling runs.
                                                                                                                                                              Addressing Interstate Transport of Air
                                                estimated impact from a single state as                 4. Evaluation of Information Provided                 Pollution for the 2015 Ozone NAAQS
                                                the 2 ppb error would be the                            by LDEQ Regarding Step 4
                                                combination of the error from all                                                                               On October 25, 2018, the Oklahoma
                                                sources of ozone that contribute to the                    Step 4 of the 4-Step interstate                    Department of Environmental Quality
                                                total, including estimated impacts from                 transport framework calls for                         (ODEQ) made a SIP submission
                                                other states, the home state of the                     development of permanent and                          addressing interstate transport of air
                                                                                                        federally enforceable control strategies              pollution for the 2015 ozone NAAQS.
                                                   73 See ‘‘Modeling Guidance for Demonstrating Air     to achieve the emissions reductions                   The SIP submission provided ODEQ’s
                                                Quality Goals for Ozone, PM2.5 and Regional Haze’’,     determined to be necessary at Step 3 to               analysis of their impact to downwind
                                                Nov. 29, 2018, at 101, available at https://            eliminate significant contribution to                 states using the EPA’s 4-Step framework
                                                www.epa.gov/sites/default/files/2020-10/                nonattainment or interference with                    and an analytic year of 2023 and
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                                                documents/o3-pm-rh-modeling_guidance-2018.pdf
                                                (‘‘2018 Air Quality Modeling Guidance’’). See also
                                                                                                        maintenance of the NAAQS. As                          concluded that emissions from
                                                ‘‘Draft Modeling Guidance for Demonstrating             mentioned previously, LDEQ’s SIP                      Oklahoma will not contribute
                                                Attainment of Air Quality Goals for Ozone, PM2.5,       submission did not contain an                         significantly to nonattainment or
                                                and Regional Haze’’, Dec. 3, 2014, at 97–98,            evaluation of additional emission                     interfere with maintenance of the 2015
                                                available at https://www.epa.gov/sites/default/files/
                                                2020-10/documents/draft-o3-pm-rh-modeling_
                                                                                                        control opportunities (or establish that              ozone NAAQS in other states.
                                                guidance-2014.pdf (‘‘2014 Draft Air Quality             no additional controls are required),                   To identify downwind air quality
                                                Modeling Guidance’’).                                   thus, no information was provided at                  problems that are linked to emissions


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                   Case: 23-60069                       Document: 438-3                  Page: 316                Date Filed: 09/26/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                  9817

                                                from Oklahoma and therefore warrant                         identify six downwind nonattainment                     EPA memorandum. To support its
                                                further review and analysis (Steps 1 and                    and maintenance receptors 74 with a                     alternative contribution threshold,
                                                2), ODEQ used EPA interstate transport                      contribution from Oklahoma of 1                         ODEQ referenced an EPA memorandum
                                                modeling results found in the March                         percent of the 2015 ozone NAAQS (0.70                   from April 17, 2018, which
                                                2018 memorandum. The EPA modeling                           parts ppb) or greater. ODEQ then                        recommended a Significant Impact
                                                results projected: (1) An average DV and                    applied a 1 ppb threshold to remove                     Level (SIL) for ozone of 1.0 ppb for
                                                a maximum DV for the year 2023 for                          from further analysis three receptors                   proposed sources subject to the
                                                ozone monitors in the 48 contiguous                         with a contribution from Oklahoma of                    Prevention of Significant Deterioration
                                                States and (2) the expected contribution                    less than 1 ppb. ODEQ noted that the                    (PSD) permitting program.75 Table OK–
                                                from emissions in each state to the                         possibility of using an alternative                     1 provides information on the six
                                                ozone concentrations at each ozone                          contribution threshold was one of the                   nonattainment and maintenance
                                                monitor.                                                    areas of flexibility identified in the                  receptors identified by ODEQ, including
                                                   ODEQ used the information from the                       March 2018 EPA memorandum and                           the three receptors ODEQ identified for
                                                March 2018 EPA memorandum to                                discussed further in the August 2018                    further analysis.

                                                   TABLE OK–1—NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY ODEQ BASED ON THE EPA’S MARCH
                                                                                         2018 MEMORANDUM
                                                                                                               2023              2023                Oklahoma
                                                                      Receptor                              average DV        maximum DV            contribution          ODEQ’s step 1 and 2 determination
                                                              (site ID, county, state)                         (ppb)             (ppb)                 (ppb)

                                                260050003, Allegan, MI ..................................             69.0                71.7               1.31    Maintenance receptor identified for further
                                                                                                                                                                      analysis.
                                                481210034, Denton, TX ..................................              69.7                72.0               1.23    Maintenance receptor identified for further
                                                                                                                                                                      analysis.
                                                484392003, Tarrant, TX ..................................             72.5                74.8               1.71    Nonattainment receptor identified for further
                                                                                                                                                                       analysis.
                                                480391004, Brazoria, TX ................................              74.0                74.9               0.90    Nonattainment receptor with contribution less
                                                                                                                                                                      than 1 ppb; no further analysis.
                                                550790085, Milwaukee, WI ............................                 71.2                73.0               0.76    Nonattainment receptor with contribution less
                                                                                                                                                                      than 1 ppb; no further analysis.
                                                551170006, Sheboygan, WI ...........................                  72.8                75.1               0.95    Nonattainment receptor with contribution less
                                                                                                                                                                      than 1 ppb; no further analysis.



                                                   ODEQ further evaluated the two                           of ozone pollution in 2023 whereas the                  County sites, ODEQ switched to using
                                                Texas receptors (Tarrant County and                         EPA modeling used 2011 as the base                      the 2023 average DV projected by TCEQ
                                                Denton County) and the receptor in                          year for that assessment. In addition, the              rather than the EPA’s projected average
                                                Allegan County, MI. ODEQ did not                            ODEQ stated that TCEQ used a method                     DVs. The ODEQ noted that the projected
                                                further evaluate the contribution from                      different from the EPA’s method to                      2023 average DV was 68 ppb for the
                                                Oklahoma to the receptors in Brazoria                       identify whether a monitor would have                   Denton County site and 66 ppb for the
                                                County, TX, Milwaukee County, WI,                           trouble maintaining the 2015 ozone                      Tarrant County site based on the TCEQ
                                                and Sheboygan County, WI because the                        NAAQS (i.e., a maintenance receptor).                   modeling. ODEQ then claimed that
                                                contributions from Oklahoma to these                        To identify maintenance receptors,                      these results demonstrate that both of
                                                receptors were less than 1 ppb.                             TCEQ calculated a ‘‘maintenance future                  these sites are in attainment in 2023.
                                                   For the two remaining Texas                              year (fy) DV’’ by projecting to 2023 the                   To assess whether Oklahoma
                                                receptors, ODEQ returned to Steps 1 and                     most recent regulatory DV that contains                 interferes with maintenance of the 2015
                                                2 of the 4-Step interstate transport                        the base year (i.e., the 2012–2014 DV for               ozone standard at these two sites, ODEQ
                                                framework using modeling performed                          a base year of 2012), whereas the EPA’s                 used (1) the Texas method to calculate
                                                by the Texas Commission on                                  methodology for identifying                             a ‘‘maintenance future year DV’’ for
                                                Environmental Quality (TCEQ). The                           maintenance receptors uses the                          2023 and (2) a maximum DV calculated
                                                TCEQ modeling results are included in                       maximum DV, which is the highest                        using the highest of the three base year
                                                the Regional docket for this action                         monitored DV from among the three                       DVs multiplied by a relative response
                                                (Docket ID No. EPA–R06–OAR–2021–                            DVs that contain the base year (i.e., the               factor derived from TCEQ’s modeling
                                                0801). ODEQ stated that the primary                         2009–2011, 2010–2012 and 2011–2013                      (i.e., EPA’s method for identifying
                                                difference between the EPA modeling                         DVs for a base year of 2011).                           maintenance receptors but using TCEQ’s
                                                and the TCEQ modeling is that the                              To assess whether Oklahoma is linked                 modeling rather than EPA’s modeling).
                                                TCEQ modeling used 2012 as the ‘‘base                       to nonattainment of the 2015 ozone                      This assessment is summarized in Table
                                                year’’ for assessing interstate transport                   standard at the Denton and Tarrant                      OK–2.
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                                                  74 Nonattainment receptors are monitoring sites           projected 2023 DV greater than 70.9 ppb).               ozone NAAQS (i.e., maximum projected 2023 DV
                                                that are anticipated to have problems attaining and         Maintenance receptors are monitoring sites that are     greater than 70.9 ppb).
                                                maintaining the 2015 ozone NAAQS (i.e., average             anticipated to have problems maintaining the 2015         75 See FN 32.




                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM    22FEP2
                                                                   Case: 23-60069                       Document: 438-3                  Page: 317              Date Filed: 09/26/2023
                                                9818                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                      TABLE OK–2—SUMMARY OF TCEQ MODELING (2012 BASE PERIOD) USED BY ODEQ TO ASSESS MAINTENANCE
                                                                                             RECEPTORS
                                                                                                                                   2023             Maintenance
                                                                                                               2023
                                                                      Receptor                                                 maximum DV               DV
                                                                                                            average DV                                                  ODEQ’s step 1 and step 2 determination
                                                              (site ID, county, state)                                          (ppb) (EPA          (ppb)(TCEQ
                                                                                                               (ppb)             method)*             method)

                                                481210034 Denton, TX ...................................                68                70.7                65.9    Future DVs project no attainment or mainte-
                                                                                                                                                                        nance problems.
                                                484392003 Tarrant, TX ...................................               66                69.9                62.4    Future DVs project no attainment or mainte-
                                                                                                                                                                        nance problems.
                                                  * These values are not based on calculations made by the EPA. ODEQ calculated these values by using the maximum DV for the 2010–2014
                                                5-year period (i.e., the highest of the DVs in 2012, 2013, and 2014) multiplied by relative response factor for the receptor obtained from TCEQ’s
                                                modeling.


                                                   ODEQ noted in their assessment that                      ppb difference between the 2011-                         additional windfarms, and electric
                                                based on the TCEQ modeling and TCEQ                         centered and 2023 maximum DVs over                       utilities installing solar generation
                                                definition of maintenance receptor, it is                   the 12 years from 2011 to 2023. Finally,                 facilities have led to Oklahoma NOX
                                                expected that the Denton and Tarrant                        ODEQ applied the 1.1917 ppb per year                     emissions reductions; and that any
                                                sites will not experience nonattainment                     value to the 2016-centered maximum                       additional NOX reductions from the
                                                or maintenance problems in 2023.                            DV of 75 ppb to estimate a 2023                          electric generation section would
                                                Because ODEQ claimed that the Denton                        maximum DV of 66.66 ppb.                                 require more costly emissions controls.
                                                and Tarrant County sites will not be                          ODEQ also asserted that the relatively                 ODEQ concluded that the existing
                                                nonattainment or maintenance receptors                      small contribution from Oklahoma (3%                     controls in Oklahoma have resulted in
                                                in 2023, ODEQ did not analyze potential                     of total upwind state contributions)                     significant decreases in ozone DVs in
                                                emissions reductions at Step 3 to                           combined with the distance between                       Oklahoma and that additional controls
                                                address its contribution to these two                       Oklahoma sources and the Allegan                         would not be cost-effective. Given their
                                                sites.                                                      County, Michigan site, warrants a focus                  conclusions, ODEQ did not adopt
                                                   With respect to the remaining                            on nearby states with greater                            additional controls to reduce ozone
                                                receptor at Allegan County, MI, ODEQ                        proportional contributions as the most                   precursor emissions (Step 4).
                                                provided an analysis of projected 2023                      prudent approach to addressing
                                                DVs for this site and information on                                                                                 B. EPA Evaluation of the ODEQ SIP
                                                                                                            interstate transport of ozone precursors
                                                emissions trends in Oklahoma to assert                                                                               Submission
                                                                                                            for this receptor.
                                                that emissions from Oklahoma do not                           The ODEQ also provided the                                The EPA is proposing to find that
                                                significantly contribute to                                 anthropogenic NOX and VOC data of                        ODEQ’s October 25, 2018, SIP
                                                nonattainment or interfere with                             Oklahoma’s emissions from EPA’s                          submission does not demonstrate that
                                                maintenance of the 2015 ozone NAAQS                         emission trends and modeling to                          the State’s obligations with respect to
                                                at the Allegan County, MI site.                             demonstrate an anticipated substantial                   prohibiting emissions that contribute
                                                   ODEQ noted that (1) the DV for the                       reduction of NOX and VOC from 2011                       significantly to nonattainment or
                                                Allegan County, MI site has had a                           to 2023: (1) Reductions of NOX from                      interfere with maintenance of the 2015
                                                substantial reduction in the last 6 years                   405,000 to 235,000 tons per year and (2)                 ozone NAAQS in any other state based
                                                from 84 ppb in 2012 to 73 ppb in 2017,                      reductions of VOC from 414,000 to                        on the EPA’s evaluation of the SIP
                                                a 1.8 ppb per year decrease, on average                     295,000 tons per year.76 ODEQ noted                      submission using the 4-Step interstate
                                                and (2) the Allegan County, MI site is                      these reductions should result in                        transport framework have been met. The
                                                substantially influenced by mobile                          considerable reductions in ozone                         EPA is therefore proposing to
                                                sources from the Chicago area and these                     concentrations. The ODEQ stated that                     disapprove ODEQ’s submission.
                                                emissions are expected to be greatly                        due to the emissions reductions
                                                reduced in the near future, by roughly                                                                               1. Evaluation of Information Provided
                                                                                                            required by rules like CSAPR, the 2016                   by ODEQ Regarding Steps 1 and 2
                                                a 1 ppb per year decrease, leading to                       CSAPR Update, and the regional haze
                                                attainment of the 2015 ozone standard.                      requirements, the NOX emissions from                        As noted earlier, ODEQ first used the
                                                The ODEQ then calculated a projected                        electric generation in Oklahoma have                     information from the EPA’s March 2018
                                                2023 maintenance DV for the Allegan                         dropped significantly during the ozone                   memorandum to identify nonattainment
                                                County, MI site using the EPA’s method,                     season from 38,285 tons per year in                      and maintenance receptors with a
                                                but assuming that the base year was                         2011 to 10,435 tons per year in 2017.                    contribution from Oklahoma of 0.70 ppb
                                                2016 rather than 2011, as in the EPA’s                      ODEQ also stated that changes in the                     or greater (i.e., ODEQ identified
                                                modeling or 2012 as in the TCEQ                             Southwest Power Pool 77, building of                     receptors that would be deemed
                                                modeling. The ODEQ noted that the                                                                                    nonattainment and maintenance
                                                maximum DV in the 2016-centered base                           76 ODEQ used the EPA’s emissions data shared          receptors under the EPA’s methodology
                                                period (i.e., 2014–2016, 2015–2017, and                     alongside the October 2018 memorandum, ‘‘state-          for Steps 1 and 2). ODEQ then utilized
                                                2016–2018) was 75 ppb at the Allegan                        sector_annual_emissions_data_1.xlsx’’ available at       a 1 ppb threshold and elected not to
                                                County, Michigan site. The ODEQ then                        https://www.epa.gov/airmarkets/memo-and-
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                                                                                                            supplemental-information-regarding-interstate-
                                                                                                                                                                     further analyze any receptors to which
                                                calculated the difference between the                       transport-sips-2015-ozone-naaqs.                         it did not contribute greater than 1 ppb.
                                                2011-centered base period maximum                              77 The Southwest Power Pool is a regional electric

                                                DV of 86 ppb and the 2023 projected                         transmission organization regulated by the Federal       transmission in portions of fourteen states:
                                                maximum DV of 71.7 ppb, using data                          Energy Regulatory Commission whose purpose is            Arkansas, Iowa, Kansas, Louisiana, Minnesota,
                                                                                                            promoting efficiency and reliability in the operation    Missouri, Montana, Nebraska, New Mexico, North
                                                from the EPA’s modeling. The ODEQ                           and planning of the electric transmission grid and       Dakota, Oklahoma, South Dakota, Texas and
                                                calculated a ‘‘ppb per year’’ reduction of                  ensuring non-discrimination in the provision of          Wyoming. See 18 CFR 35.34 and https://
                                                1.1917 ppb per year, based on the 14.3                      electric transmission services. It manages electric      www.ferc.gov/electric-power-markets.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                  Case: 23-60069                     Document: 438-3                   Page: 318            Date Filed: 09/26/2023
                                                                       Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                 9819

                                                ODEQ provided further evaluation of                      for the 2015 ozone NAAQS, the EPA’s                    implementation of interstate transport
                                                the State’s emissions to those receptors                 experience has been that nearly every                  obligations, the more important analysis
                                                to which Oklahoma contributes greater                    state that attempted to rely on a 1 ppb                is the evaluation of the emissions
                                                than 1 ppb (i.e., Allegan County, MI,                    threshold did not provide sufficient                   reductions needed, if any, to address a
                                                Denton County, TX and Tarrant County,                    information and analysis to support a                  state’s significant contribution after
                                                TX).                                                     determination that an alternative                      consideration of a multifactor analysis
                                                   As discussed in the EPA’s August                      threshold was reasonable or appropriate                at Step 3, including a detailed
                                                2018 memorandum, with appropriate                        for that state.                                        evaluation that considers air quality
                                                additional analysis it may be reasonable                    For instance, in nearly all submittals,             factors and cost. Where alternative
                                                for states to use a 1 ppb contribution                   the states did not provide the EPA with                thresholds for purposes of Step 2 may
                                                threshold, as an alternative to a 1                      analysis specific to their state or the                be ‘‘similar’’ in terms of capturing the
                                                percent threshold, at Step 2 of the 4-                   receptors to which its emissions are                   relative amount of upwind contribution
                                                Step interstate transport framework, for                 potentially linked. In one case, the                   (as described in the August 2018
                                                the purposes of identifying linkages to                  proposed approval of Iowa’s SIP                        memorandum), nonetheless, use of an
                                                downwind receptors. However, the                         submittal, the EPA expended its own                    alternative threshold would allow
                                                EPA’s August 2018 memorandum                             resources to attempt to supplement the                 certain states to avoid further evaluation
                                                provided that whether or not a 1 ppb                     information submitted by the state, in                 of potential emission controls while
                                                threshold is appropriate must be based                   order to more thoroughly evaluate the                  other states must proceed to a Step 3
                                                on an evaluation of state-specific                       state-specific circumstances that could                analysis. This can create significant
                                                circumstances, and no such evaluation                    support approval. 79 It was at the EPA’s               equity and consistency problems among
                                                was included in the ODEQ’s submittal.                    sole discretion to perform this analysis               states.
                                                Instead, ODEQ’s SIP submission                           in support of the state’s submittal, and                  Further, it is not clear that national
                                                justified the State’s use of a 1 ppb                     the Agency is not obligated to conduct                 ozone transport policy is best served by
                                                threshold based on the threshold’s use                   supplemental analysis to fill the gaps                 allowing for less stringent thresholds at
                                                in the SILs Guidance.78 ODEQ did not                     whenever it believes a state’s analysis is             Step 2. The EPA recognized in the
                                                explain the relevance of the SILs                        insufficient. The Agency no longer                     August 2018 memorandum that there
                                                Guidance to Oklahoma’s statutory                         intends to undertake supplemental                      was some similarity in the amount of
                                                obligation under the interstate transport                analysis of SIP submittals with respect                total upwind contribution captured (on
                                                provision. The SILs Guidance relates to                  to alternative thresholds at Step 2 for                a nationwide basis) between 1 percent
                                                a different provision of the CAA                         purposes of the 2015 ozone NAAQS.                      and 1 ppb. However, the EPA notes that
                                                regarding implementation of the                             Furthermore, the EPA’s experience                   while this may be true in some sense,
                                                prevention of significant deterioration                  since 2018 is that allowing for                        that is hardly a compelling basis to
                                                (PSD) permitting program, i.e., a                        alternative Step 2 thresholds may be                   move to a 1 ppb threshold. Indeed, the
                                                program that applies in areas that have                  impractical or otherwise inadvisable for               1 ppb threshold has the disadvantage of
                                                been designated attainment of the                        a number of additional policy reasons.                 losing a certain amount of total upwind
                                                NAAQS, and it is not applicable to the                   For a regional air pollutant such as                   contribution for further evaluation at
                                                interstate transport provision, which                    ozone, consistency in requirements and                 Step 3 (e.g., roughly seven percent of
                                                requires states to eliminate emissions                   expectations across all states is                      total upwind state contribution was lost
                                                that contribute significantly or interfere               essential. Based on its review of                      according to the modeling underlying
                                                with maintenance of the NAAQS at                         submittals to-date and after further                   the August 2018 memorandum; 81 in
                                                known, ongoing, or projected air quality                 consideration of the policy implications               EPA 2016v2 modeling, the amount lost
                                                problem areas in other states. The EPA                   of attempting to recognize an alternative              is five percent). Considering the core
                                                does not, in this action, agree that the                 Step 2 threshold for certain states, the               statutory objective of ensuring
                                                State has justified its application of the               Agency now believes the attempted use                  elimination of all significant
                                                1 ppb threshold.                                         of different thresholds at Step 2 with                 contribution to nonattainment or
                                                   Additionally, the EPA here shares                     respect to the 2015 ozone NAAQS raises                 interference of the NAAQS in other
                                                further evaluation of its experience                     substantial policy consistency and                     states and the broad, regional nature of
                                                since the issuance of the August 2018                    practical implementation concerns.80                   the collective contribution problem with
                                                memorandum regarding use of                              The availability of different thresholds               respect to ozone, there does not appear
                                                alternative thresholds at Step 2. This                   at Step 2 has the potential to result in               to be a compelling policy imperative in
                                                experience leads the Agency to now                       inconsistent application of interstate                 allowing some states to use a 1 ppb
                                                believe it may not be appropriate to                     transport obligations based solely on the              threshold while others rely on a 1
                                                continue to attempt to recognize                         strength of a state’s SIP submittal at Step            percent of NAAQS threshold.
                                                alternative contribution thresholds at                   2 of the 4-Step interstate transport                      Consistency with past interstate
                                                Step 2. The August 2018 memorandum                       framework. From the perspective of                     transport actions such as CSAPR, and
                                                stated that ‘‘it may be reasonable and                   ensuring effective regional                            the CSAPR Update and Revised CSAPR
                                                appropriate’’ for states to rely on an                                                                          Update rulemakings (which used a Step
                                                alternative threshold of 1 ppb threshold                   79 ‘‘Air Plan Approval; Iowa; Infrastructure State   2 threshold of 1 percent of the NAAQS
                                                at Step 2. (The memorandum also                          Implementation Plan Requirements for the 2015          for two less stringent ozone NAAQS), is
                                                indicated that any higher alternative                    Ozone National Ambient Air Quality Standard’’, 85      also important. Continuing to use a 1
                                                threshold, such as 2 ppb, would likely                   FR 12232 (March 2, 2020). The agency received          percent of NAAQS approach ensures
                                                                                                         adverse comments on this proposed approval and
lotter on DSK11XQN23PROD with PROPOSALS2




                                                not be appropriate.) However, the EPA                    has not taken final action with respect to this
                                                                                                                                                                that as the NAAQS are revised and
                                                also provided that ‘‘air agencies should                 proposal.                                              made more stringent, an appropriate
                                                consider whether the recommendations                       80 We note that Congress has placed on the EPA       increase in stringency at Step 2 occurs,
                                                in this guidance are appropriate for each                a general obligation to ensure the requirements of     so as to ensure an appropriately larger
                                                situation.’’ Following receipt and review                the CAA are implemented consistently across states     amount of total upwind-state
                                                                                                         and regions. See CAA section 301(a)(2). Where the
                                                of 49 interstate transport SIP submittals                management and regulation of interstate pollution      contribution is captured for purposes of
                                                                                                         levels spanning many states is at stake, consistency
                                                  78 See FN 32.                                          in application of CAA requirements is paramount.        81 See August 2018 memorandum, at page 4.




                                           VerDate Sep<11>2014    20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 319            Date Filed: 09/26/2023
                                                9820                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                fully addressing interstate transport.                     With regard to the Denton County and               basis that the EPA had not adequately
                                                Accord 76 FR 48237–38.                                  Tarrant County, TX receptors cited in                 given meaning to the phrase ‘‘interfere
                                                   Therefore, notwithstanding the                       ODEQ’s submission, ODEQ chose to rely                 with maintenance’’ in the interstate
                                                August 2018 memorandum’s                                on the TCEQ’s modeling and                            transport provision. Specifically, North
                                                recognition of the potential viability of               methodology, instead of the EPA                       Carolina argued that it had counties that
                                                alternative Step 2 thresholds, and in                   modeling, and trends in ozone DVs and                 were projected to attain the NAAQS in
                                                particular, a potentially applicable 1                  emissions to conclude that these                      the future analytic year, but were at risk
                                                ppb threshold, the EPA’s experience                     monitoring sites will be in attainment                of falling back into nonattainment due
                                                since the issuance of that memorandum                   by 2023 and will not have a problem                   to interference from upwind sources,
                                                has revealed substantial programmatic                   maintaining the 2015 ozone NAAQS. As                  particularly given year-to-year
                                                and policy difficulties in attempting to                noted in Section IV.A of this action,                 variability in ozone levels. The court
                                                implement this approach. Nonetheless,                   ODEQ used modeling results from the                   agreed, holding that the EPA’s rule did
                                                the EPA is not, at this time, rescinding                TCEQ along with the TCEQ alternative                  not adequately protect ‘‘[a]reas that find
                                                the August 2018 memorandum. The                         method for identifying maintenance                    themselves barely meeting attainment.’’
                                                basis for the EPA’s proposed                            receptors to claim that using the TCEQ                Id. at 910. Consequently, the EPA has
                                                disapproval of ADEQ’s SIP submission                    modeling and methods, the Denton                      developed a methodology, used in its
                                                with respect to the Step 2 analysis is, in              County and Tarrant County monitors                    2011 CSAPR and its 2016 CSAPR
                                                the Agency’s view, warranted even                       would not have a problem maintaining                  Update and Revised CSAPR Update, for
                                                under the terms of the August 2018                      the NAAQS in 2023. The ODEQ                           identifying areas that may struggle to
                                                memorandum. The EPA invites                             supplemented that analysis by citing the              maintain the NAAQS. See 76 FR at
                                                comment on this broader discussion of                   downward trend in NOX and VOC                         48227–28. EPA’s approach to addressing
                                                issues associated with alternative                      emissions in Oklahoma. ODEQ also                      maintenance receptors was upheld in
                                                thresholds at Step 2. (See                              provided TCEQ modeling and emissions                  the EME Homer City litigation. See 795
                                                Supplementary Information section                       data for the Dallas-Fort Worth                        F.3d 118, 136–37. It was also upheld in
                                                above for details and docket to submit                  nonattainment area to show that mobile                Wisconsin. 938 F.3d at 325–26. In
                                                comments). Depending on public                          sources represent the largest emissions               Wisconsin, the court noted that four
                                                comments received in relation to this                   category in this area and that emissions              upwind states were linked only to
                                                action and further evaluation of this                   from this sector have declined since                  maintenance receptors and rejected the
                                                issue, the EPA may determine to rescind                 2005 and are expected to continue to                  argument that application of the same
                                                the 2018 memorandum in the future.                      decline in the future. As described in                control level as EPA imposes for those
                                                   In any case, as discussed in the                     Table OK–2, ODEQ (1) provided the                     states linked to nonattainment receptors
                                                following subsection, based on the                      average 2023 DV for the Denton County,                was unreasonable or unlawful absent a
                                                                                                        TX receptor from the TCEQ modeling                    particularized showing of overcontrol.
                                                EPA’s most recent modeling, the State is
                                                                                                        and (2) used TCEQ modeling data with                  Id. at 327.
                                                projected to contribute greater than both
                                                                                                        a 2012 base year to calculate a 2023                     In order to explain the differences
                                                the one percent and alternative 1 ppb
                                                                                                        maintenance DV of 65.9 ppb (using the                 between TCEQ’s and the EPA’s
                                                thresholds at the Denton County, TX
                                                                                                        TCEQ methodology for identifying                      methodology for identifying
                                                receptor, (Monitor ID. 481210034).
                                                                                                        maintenance receptors) and a 2023                     maintenance receptors, it is helpful to
                                                Based on the EPA’s modeling results
                                                                                                        maximum DV of 70.7 ppb (using the                     provide some additional context of how
                                                included in the March 2018
                                                                                                        EPA methodology for identifying                       the EPA projects future air quality.
                                                memorandum, Oklahoma was also
                                                                                                        maintenance receptors, combined with                     The EPA’s air quality modeling
                                                projected to contribute 1.23 ppb to the
                                                                                                        TCEQ’s modeling results). ODEQ relied                 guidance has long recommended
                                                Denton County, TX receptor. (In the                     on this information, which is based on
                                                EPA 2016v2 modeling the Allegan                                                                               developing a base DV (i.e., the DV that
                                                                                                        TCEQ modeling with a 2012 base year,                  will be used as a starting point to model
                                                County, MI and Tarrant County, TX                       to conclude that the Denton County, TX
                                                receptors are not projected to have                                                                           and analyze for purposes of projecting
                                                                                                        and Tarrant County, TX monitors would                 future air quality concentrations) that is
                                                problems attaining or maintaining the                   not have problems attaining and
                                                2015 ozone NAAQS). Even under                                                                                 the average of three DVs spanning a
                                                                                                        maintaining the 2015 ozone NAAQS.                     five-year period, centered around one
                                                ODEQ’s own analysis, the State was                         ODEQ’s SIP submission (or TCEQ, to
                                                linked to receptors with contributions                                                                        year for which an emissions inventory
                                                                                                        the extent that Oklahoma is merely                    will be submitted (e.g., if 2011 was the
                                                exceeding 1 ppb. Therefore, based on                    incorporating and relying on Texas’
                                                Oklahoma’s linkages greater than 1 ppb                                                                        base emissions inventory year, a state
                                                                                                        submission) does not adequately                       would use monitored values from 2009–
                                                to projected downwind nonattainment                     explain or justify how relying on
                                                or maintenance receptors, the State’s                                                                         2011, 2010–2012, 2011–2013 as the
                                                                                                        TCEQ’s method for identifying                         starting point for projecting air quality
                                                use of this alternative threshold at Step               maintenance receptors reasonably
                                                2 of the 4-Step interstate framework is                                                                       concentrations in future years).82 The
                                                                                                        identifies areas that will have difficulty
                                                inconsequential to our proposed action                                                                        average of these three DVs is then
                                                                                                        maintaining the NAAQS. EPA proposes
                                                on the state’s SIP.                                                                                           multiplied by a relative response
                                                                                                        to find that ODEQ has provided no
                                                   In the remainder of this section, EPA                                                                      factor 83 to generate an average DV for
                                                                                                        sound technical basis (either on its own
                                                evaluates ODEQ’s conclusions that                                                                             the future year.84 If a receptor’s average
                                                                                                        or through reliance on Texas) for how
                                                emissions from Oklahoma do not                          its chosen methodology gives meaning                    82 See FN 73.
                                                contribute to nonattainment or interfere
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        to the CAA’s instruction that states                    83 See FN 53.
                                                with maintenance at receptors in                        submit interstate transport SIPs that                    84 While it is not critical to this discussion, for
                                                Tarrant County, TX (Monitor ID.                         prohibit their states’ emissions from                 purposes of explanation, the relative response factor
                                                484392003) and Denton County, TX                        interfering with the maintenance of the               is a fractional change that represents how ozone at
                                                (Monitor ID. 481210034). We evaluate                    NAAQS in another state.                               a given receptor responds to changes in emissions
                                                                                                                                                              when all other variables are constant. For more
                                                ODEQ’s conclusions as to the Allegan,                      In North Carolina v. EPA, 531 F.3d                 explanation of the RRF, please see 2018 Air Quality
                                                MI (Monitor ID. 260050003) in Section                   896, 909–11 (D.C. Cir. 2008), the D.C.                Modeling Guidance or 2014 Draft Air Quality
                                                IV.B.3 of this action.                                  Circuit rejected the EPA’s CAIR on the                Modeling Guidance.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 320            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                  9821

                                                future year DV is greater than or equal                 areas that might struggle to maintain the             receptors. The consequence of TCEQ’s
                                                to the level of the NAAQS, and the                      NAAQS in particularly ozone conducive                 maintenance method is that it often
                                                receptor has recent monitored data that                 conditions.                                           results in lower DVs than the
                                                violates the NAAQS, that receptor is                       As discussed further in the EPA                    nonattainment method as demonstrated
                                                considered a ‘‘nonattainment’’ receptor                 Region 6 TSD 86 for this action, the EPA              by our analysis, which indicates that it
                                                at Step 1. To identify maintenance                      has reviewed the set of 21 receptors for              is often not considering conditions
                                                receptors, the EPA’s methodology looks                  which Texas had contributions of 0.7                  when an area would have difficulty
                                                to the highest DV of the three DVs used                 ppb or more in the EPA’s 2016 base year               maintaining the standard. Further, it is
                                                to calculate the 5-year weighted average                modeling analyses, or TCEQ’s modeling                 unreasonable to have a method that
                                                DV (e.g., in the 2011 example, if 2009–                 (2012 base year), and evaluated the                   would not identify nonattainment
                                                2011 had the highest DV of 2009–2011,                   results of using TCEQ’s alternate                     receptors also as maintenance receptors.
                                                2010–2012, and 2011–2013). The EPA                      maintenance methodology. For these 21                    Again, EPA also assessed a number of
                                                then applies the same relative response                 receptors, TCEQ’s method resulted in 15               monitored DV trends that were provided
                                                factor to that highest DV to generate a                 of the 21 2023 maintenance DVs                        in TCEQ’s SIP and previous TCEQ
                                                projected future maximum DV. Where a                    predicted to be lower than the 2023                   attainment demonstration SIPs
                                                receptor’s maximum DV exceeds the                       nonattainment DVs from the                            indicating that there are at times large
                                                level of the NAAQS, the EPA has                         nonattainment methodology that uses                   annual fluctuations upward from year to
                                                deemed those receptors to be                            the 5-year center weighted average. Of                year in monitored DVs (sometimes 2–3
                                                ‘‘maintenance’’ receptors. This                         these 15 receptors, three receptors have              ppb increase in one year) that are due
                                                methodology was designed to address                     2023 maintenance DVs that are 3 ppb                   to variations in meteorology. Neither
                                                the D.C. Circuit’s holding that the CAA’s               lower, five receptors have 2023                       TCEQ nor ODEQ addressed in their SIP
                                                ‘‘interference with maintenance’’ prong                 maintenance DVs that are 2 ppb lower,                 submissions whether the three years
                                                requires states and the EPA to protect                  and seven receptors have 2023                         that comprise the most recent DV (i.e.,
                                                areas that may struggle with                            maintenance DVs that are 1 ppb lower.                 2012, 2013, and 2014) had
                                                maintaining the standard in the face of                 In comparison, using the EPA’s                        meteorological conditions conducive for
                                                variable conditions.                                    maintenance methodology results in all                formation of high ozone concentrations.
                                                   In its modeling, TCEQ adopted an                     21 2023 maintenance DVs being equal                   On the other hand, the EPA
                                                identical approach to the EPA’s for                     or up to 4 ppb higher than the 2023                   methodology can identify variations in
                                                identifying nonattainment receptors—it                  nonattainment DVs. Again, the EPA                     ozone levels that might result in
                                                looked at three sets of DVs over a five-                uses the average of the three DVs that                difficulty in maintaining the standard
                                                year period and averaged those DVs to                   contain the base year modeled for the                 over a longer period of time. The TCEQ
                                                generate a base year DV. TCEQ then                      nonattainment methodology and the                     method will only identify areas that
                                                applied a relative response factor to that              maximum of these three DVs for the                    have difficulty maintaining the standard
                                                base year DV to project a receptor’s                    maintenance methodology. Because                      for a single design value period and, as
                                                average DV in the future year. For                      TCEQ’s maintenance methodology of                     a result, does not address the
                                                maintenance receptors, however, TCEQ                    just using the most recent DV (2012–                  meteorological variability issue
                                                elected not to examine variability in                   2014 DV) often results in maintenance                 sufficiently.
                                                DVs over a five-year period by using the                DVs lower than the 2023 nonattainment                    In its SIP submittal, ODEQ contended
                                                highest DV of the three DVs making up                   DVs methodology results, the EPA finds                that, based on TCEQ’s use of a 2012 base
                                                the base year DV. Instead, TCEQ (and by                 that the TCEQ methodology is not                      year, and using TCEQ’s air quality
                                                extension, ODEQ), used only the most                    adequately identifying conditions when                modeling, even if Texas had used the
                                                recent DV of the three DVs, regardless                  a receptor would have more difficulty                 EPA’s method of identifying
                                                of whether the most recent DV was                       maintaining the standard. In fact, the                maintenance receptors, the projected
                                                highest or lowest. TCEQ’s proffered                     TCEQ’s method also identified one                     maximum DV for the Denton County
                                                explanation for using the most recent                   receptor in their SIP submission as a                 and Tarrant County receptors would be
                                                DV to identify maintenance receptors                    nonattainment receptor in 2023 that                   70.7 ppb and 69.9 ppb, respectively,
                                                was that the latest DV ‘‘takes into                     would not have been identified as a                   which are considered to be in
                                                consideration . . . any emissions                       maintenance receptor, which further                   attainment of the 2015 ozone NAAQS in
                                                reductions that might have occurred.’’ 85               highlights the concern that TCEQ’s                    2023. However, this conclusion relied
                                                TCEQ in its submission does not                         method did not adequately identify                    upon a relative response factor derived
                                                explain why or how this methodology                     areas that may struggle to maintain the               from the TCEQ modeling and TCEQ’s
                                                identifies those areas that may be                      standard. TCEQ did not address                        modeling results, which are discussed
                                                meeting the NAAQS or that may be                        whether the three years that comprise                 in more detail in Section V of this action
                                                projected to meet the NAAQS but may                     the most recent design value (i.e., 2012,             and in the EPA Region 6 TSD.87 TCEQ’s
                                                nevertheless struggle to maintain the                   2013, and 2014) had meteorological                    modeled projections for 2023 including
                                                NAAQS, given meteorological                             conditions highly conducive for                       nonattainment and maintenance values
                                                variability. In fact, because TCEQ’s                    formation of high ozone concentrations                (using either TCEQ’ or EPA’s
                                                stated purpose in using the most recent                 and thus would be an appropriate time                 methodology) are much lower than
                                                DV was to capture more recent                           period to assess whether area could                   recent monitored values (2018–2020 DV
                                                emissions reductions, Texas’                            have difficulty maintaining the standard              and preliminary 2019–2021 DVs) 88 for
                                                methodology appears to be aimed at                      and the EPA’s analysis confirms that
lotter on DSK11XQN23PROD with PROPOSALS2




                                                limiting receptors which could be                       this time period is not highly conducive
                                                                                                                                                                87 Id.

                                                identified as maintenance receptors,                    to ozone formation, at least for many
                                                                                                                                                                88 Monitoring data from the EPA’s Air Quality

                                                compared to the EPA’s methodology,                                                                            System (AQS) (https://www.epa.gov/aqs). 2021
                                                                                                                                                              monitoring data is preliminary and still has to
                                                which was designed to identify those                      86 ‘‘EPA Region 6 2015 8-Hour Ozone Transport       undergo Quality Assurance/Quality Control
                                                                                                        SIP Proposal Technical Support Document’’ (EPA        analysis and be certified by the State of Texas,
                                                  85 TCEQ submission at 3–39 to 3–40, available in      Region 6 2015 Ozone Transport SIP TSD.pdf)            submitted to EPA, and reviewed and concurred on
                                                the Regional docket for this action (Docket ID No.      included in Docket ID No. EPA–R06–OAR–2021–           by EPA. 2018–2020 DVs are 72 ppb and 73 ppb at
                                                EPA–R06–OAR–2021–0801).                                 0801.                                                                                          Continued




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                         Document: 438-3                     Page: 321            Date Filed: 09/26/2023
                                                9822                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                many monitors and the amount of                               maximum design value in 2023 for the                    This data was examined to determine if
                                                further DV reductions needed to match                         Denton County receptor is 72.2 ppb.                     Oklahoma contributes at or above the
                                                TCEQ’s modeling is more than is                               Recent monitored air quality data at the                threshold of 1 percent of the 2015 ozone
                                                reasonably expected to occur for many                         Denton receptor are consistent with the                 NAAQS (0.70 ppb) to any downwind
                                                monitors/receptors. This                                      EPA’s projections that this is an area                  nonattainment or maintenance receptor.
                                                underestimation of future DVs results in                      that will struggle to maintain the 2015                 As shown in Table OK–3, the most
                                                mis-identifying these two receptors and                       ozone NAAQS in 2023; the 2020 DV for                    recent modeling data 91 indicate that in
                                                other receptors as not being                                  Denton was 72 ppb.90                                    2023, emissions from Oklahoma
                                                nonattainment or maintenance                                    Finally, in its submittal, ODEQ                       contribute greater than one percent of
                                                receptors. Specifically, these two                            pointed to the significant reductions in                the standard to maintenance-only
                                                receptors would need to have at least a                       emissions that have occurred in the                     receptors in Denton County, TX and in
                                                                                                              State, but the EPA believes these
                                                3–4 ppb decrease in the next 2–3 years                                                                                Cook County, IL. Oklahoma is not
                                                                                                              reductions have already been accounted
                                                just to attain the 2015 Ozone NAAQS in                                                                                linked to any nonattainment receptors
                                                                                                              for in the most recent modeling;
                                                2023. As discussed in the EPA Region                                                                                  in EPA’s most recent modeling (EPA
                                                                                                              therefore, even with these reductions,
                                                6 TSD, TCEQ’s previous DFW                                    the Denton County, TX receptor is                       2016v2 modeling). Therefore, based on
                                                Attainment Demonstration SIP includes                         projected to struggle with maintenance                  the EPA’s evaluation of the information
                                                long-term DV trends analysis that                             of the 2015 ozone NAAQS in 2023.                        submitted by ODEQ and based on the
                                                indicates that DFW DVs decrease                                                                                       EPA’s most recent modeling results for
                                                approximately 1 ppb per year.89                               2. Results of the EPA’s Step 1 and Step                 2023, the EPA proposes to find that
                                                Moreover, as discussed in Section                             2 Modeling and Findings for Oklahoma                    Oklahoma is linked at Steps 1 and 2 and
                                                IV.B.2 of this action, the EPA’s updated                         As described in Section I of this                    has an obligation to assess potential
                                                modeling, which relies upon more                              action, the EPA performed air quality                   emissions reductions from sources or
                                                recent data and the latest information on                     modeling using the 2016v2 platform to                   other emissions activity at Step 3 of the
                                                emissions reductions, indicates that the                      project DVs and contributions for 2023.                 4-Step framework.

                                                 TABLE OK–3—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH OKLAHOMA LINKAGES IN 2023 BASED
                                                                                     ON EPA 2016V2 MODELING

                                                                                                                                                                        2023               2023              Oklahoma
                                                                      Receptor                              Nonattainment/maintenance               2020 DV          average DV         maximum DV          contribution
                                                              (site ID, county, state)                                                                                  (ppb)              (ppb)               (ppb)

                                                481210034, Denton, TX ...............................      Maintenance .........................               72              70.4               72.2                1.19
                                                170310032, Cook, IL ....................................   Maintenance .........................               74              69.8               72.4                0.75



                                                3. Evaluation of Information Provided                         interstate transport framework) when                    statute’s objectives) to determine
                                                by ODEQ Regarding Step 3                                      identifying emissions contributions that                whether and to what degree emissions
                                                                                                              the Agency has determined to be                         from a state should be ‘‘prohibited’’ to
                                                   At Step 3 of the 4-Step interstate                         ‘‘significant’’ (or interfere with                      eliminate emissions that will
                                                transport framework, a state’s emissions                      maintenance) in each of its prior                       ‘‘contribute significantly to
                                                are further evaluated, in light of                            Federal, regional ozone transport                       nonattainment in, or interfere with
                                                multiple factors, including air quality                       rulemakings, and this interpretation of                 maintenance of’’ the NAAQS in any
                                                and cost considerations, to determine                         the statute has been upheld by the                      other state. ODEQ did not conduct such
                                                what, if any, emissions contribute                            Supreme Court. See EME Homer City,                      an analysis in their SIP submission.
                                                significantly to nonattainment or                             572 U.S. at 519. While the EPA has not                     As noted earlier, ODEQ provided
                                                interfere with maintenance and, thus,                         directed states that they must conduct a                some data on emissions and already
                                                must be eliminated under CAA section                          Step 3 analysis in precisely the manner                 implemented emissions reductions for
                                                110(a)(2)(D)(i)(I).                                           the EPA has done in its prior regional                  sources in Oklahoma and stated that the
                                                   To effectively evaluate which                              transport rulemakings, state                            2016 CSAPR Update is the only
                                                emissions in the state should be deemed                       implementation plans addressing the                     reasonable control warranted based on
                                                ‘‘significant’’ and therefore prohibited,                     obligations in CAA section                              Oklahoma’s limited contributions to the
                                                states generally should prepare an                            110(a)(2)(D)(i)(I) must prohibit ‘‘any                  Michigan and Texas receptors. Thus,
                                                accounting of sources and other                               source or other type of emissions                       Oklahoma relied on its EGUs being
                                                emissions activity for relevant                               activity within the State’’ from emitting               subject to the CSAPR Update (which
                                                pollutants and assess potential,                              air pollutants which will contribute                    reflected a stringency at the nominal
                                                additional emissions reduction                                significantly to downwind air quality                   marginal cost threshold of $1400/ton
                                                opportunities and resulting downwind                          problems. Thus, states must complete                    (2011$) for the 2008 ozone NAAQS) to
                                                air quality improvements. The EPA has                         something similar to the EPA’s analysis                 argue that it had already implemented
                                                consistently applied this general                             (or an alternative approach to defining                 all cost-effective emissions reductions,
                                                approach (i.e., Step 3 of the 4-Step                          ‘‘significance’’ that comports with the                 and had no additional statutory
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                                                the Denton County and Tarrant County monitors/                   90 DVs and contributions at individual monitoring    CSAPR Update, as noted above. That modeling
                                                receptors respectively. Preliminary 2019–2021 DVs             sites nationwide are provide in the file: ‘‘2016v2_     showed that Oklahoma had a maximum
                                                are 74 ppb and 72 ppb at the Denton County and                DVs_state_contributions.xlsx’’ which is included in     contribution greater than 0.70 ppb to at least one
                                                Tarrant County monitors/receptors respectively.               Docket ID No. EPA–HQ–OAR–2021–0663.                     nonattainment or maintenance-only receptor in
                                                  89 EPA also analyzed trends using AQS data, See
                                                                                                                 91 These modeling results are consistent with the    2023. These modeling results are included in
                                                                                                              results of a prior round of 2023 modeling using the     ‘‘Ozone DVs And Contributions Revised CSAPR
                                                EPA Region 6 TSD.                                             2016v1 emissions platform which became available        Update.xlsx’’ in Docket ID No. EPA–HQ–OAR–
                                                                                                              to the public in the fall of 2020 in the Revised        2021–0663.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001    PO 00000     Frm 00026    Fmt 4701    Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 322            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                           9823

                                                obligation to prohibit emissions under                  conclude that it does not contribute                  Comm’n on Envtl. Quality v. EPA,790
                                                CAA section 110(a)(2)(D)(i)(I) with                     significantly to nonattainment or                     F.3d 138, 163 n. 12 (D.C. Cir. 2015)
                                                respect to the 2015 ozone NAAQS.                        maintenance at the receptor.                          (observing that the argument the ‘‘there
                                                   The EPA disagrees with ODEQ’s                           The EPA disagrees with respect to                  likely would have been no violation at
                                                conclusions for the following reasons:                  ODEQ’s assertion regarding the                        all . . . if it were not for the emissions
                                                First, the CSAPR Update did not                         relatively small contribution of                      resulting from [another source is
                                                regulate non-electric generating units,                 emissions from Oklahoma to the                        ‘‘merely a rephrasing of the but-for
                                                and thus this analysis is incomplete. See               Allegan County, MI receptor compared                  causation rule that we rejected in
                                                Wisconsin, 938 F.3d at 318–20. Second,                  to emissions from other upwind states                 Catawba County.’’). Therefore, a state is
                                                relying on the CSAPR Update’s (or any                   such as Illinois. Whether emissions                   not excused from eliminating its
                                                other CAA program’s) determination of                   from other states or countries also                   significant contribution on the basis that
                                                cost-effectiveness without further Step 3               contribute to the same downwind air                   other upwind states also contribute
                                                analysis is not approvable. Cost-                       quality issue is irrelevant in assessing              some amount of pollution to the same
                                                effectiveness must be assessed in the                   whether a downwind state has an air                   receptors to which the state is linked.
                                                context of the specific CAA program;                    quality problem, or whether an upwind                    As explained in Section IV.A of this
                                                assessing cost-effectiveness in the                     state is contributing significantly to that           action, ODEQ’s weight of evidence also
                                                context of ozone transport should reflect               problem. States are not obligated under               concluded that the Allegan receptor
                                                a more comprehensive evaluation of the                  CAA section 110(a)(2)(D)(i)(I) to reduce              would be attaining the NAAQS in 2023
                                                nature of the interstate transport                      emissions sufficient on their own to                  based on an analysis that assumed a
                                                problem, the total emissions reductions                 resolve downwind receptors’                           projection of a linear reduction in DVs
                                                available at several cost thresholds, and               nonattainment or maintenance                          across a 12-year period (2011 to
                                                the air quality impacts of the reductions               problems. Rather, states are obligated to             projected 2023 values), and then
                                                at downwind receptors. While the EPA                    eliminate their own significant                       applied that annual reduction (1.1917
                                                has not established a benchmark cost-                   contribution or interference with the                 ppb/year) to the receptor’s 2016-
                                                effectiveness value for 2015 ozone                      ability of other states to attain or                  centered base period maximum DV (75
                                                NAAQS interstate transport obligations,                 maintain the NAAQS.                                   ppb). The EPA does not necessarily
                                                because the 2015 ozone NAAQS is a                          Further, the court in Wisconsin                    agree that the assumptions made in
                                                more stringent and more protective air                  explained that downwind jurisdictions                 Oklahoma’s weight-of-evidence analysis
                                                quality standard, it is reasonable to                   often may need to heavily rely on                     are reasonable; however, because the
                                                expect control measures or strategies to                emissions reductions from upwind                      updated modeling also shows that
                                                address interstate transport under this                 states in order to achieve attainment of              Allegan County, MI is no longer a
                                                NAAQS to reflect higher marginal                        the NAAQS, 938 F.3d at 316–17; such                   receptor in 2023, we propose to find
                                                control costs. As such, the marginal cost               states would face increased regulatory                such assumptions are inconsequential to
                                                threshold of $1,400/ton for the CSAPR                   burdens including the risk of bumping                 our action on Oklahoma’s SIP.
                                                Update (which addresses the 2008                        up to a higher nonattainment                             We recognize that the results of the
                                                ozone NAAQS and is in 2011$) is not                     classification if attainment is not                   EPA (2011 and 2016 base year)
                                                an appropriate cost threshold and                       reached by the relevant deadline,                     modeling indicated different receptors
                                                cannot be approved as a benchmark to                    Maryland, 958 F.3d at 1204. Indeed, the               and linkages at Steps 1 and 2 of the 4-
                                                use for interstate transport SIP                        D.C. Circuit in Wisconsin specifically                Step interstate transport framework.
                                                submissions for the 2015 ozone                          rejected petitioner arguments suggesting              These differing results regarding
                                                NAAQS.                                                  that upwind states should be excused                  receptors and linkages can be affected
                                                   In addition, the most recent EPA                     from interstate transport obligations on              by the varying meteorology from year to
                                                modeling captures all existing CSAPR                    the basis that some other sources of                  year, but we do not think the differing
                                                trading programs in the baseline, and                   emissions (whether international or                   results mean that the modeling or the
                                                that modeling confirms that these                       another upwind state) could be                        EPA methodology for identifying
                                                control programs were not sufficient to                 considered the ‘‘but-for’’ cause of                   receptors or linkages is inherently
                                                eliminate Oklahoma’s linkage at Steps 1                 downwind air quality problem. 938                     unreliable. Rather, these separate
                                                and 2 under the 2015 ozone NAAQS.                       F.3dat 323–324. The court viewed                      modeling runs all indicated: (1) That
                                                The State was therefore obligated at                    petitioners’ arguments as essentially an              there are receptors that would struggle
                                                Step 3 to assess additional control                     argument ‘‘that an upwind state                       with nonattainment or maintenance in
                                                measures using a multifactor analysis.                  ‘contributes significantly’ to downwind               the future; and (2) that Oklahoma was
                                                   Finally, relying on a FIP at Step 3 is               nonattainment only when its emissions                 linked to some set of these receptors,
                                                per se not approvable if the state has not              are the sole cause of downwind                        even if the receptors and linkages
                                                adopted that program into its SIP and                   nonattainment.’’ 938 F.3d at 324. The                 differed from one another in their
                                                instead continues to rely on the FIP.                   court explained that ‘‘an upwind state                specifics (e.g., Oklahoma was linked to
                                                States may not rely on FIP measures to                  can ‘contribute’ to downwind                          a different set of receptors in one
                                                meet SIP requirements. See CAA section                  nonattainment even if its emissions are               modeling run versus another). These
                                                110(a)(2)(D) (‘‘Each such [SIP] shall . . .             not the but-for cause.’’ Id.at 324–325.               results indicate that emissions from
                                                contain adequate provisions . . . .’’).                 See also Catawba County v. EPA, 571                   Oklahoma are substantial enough to
                                                See also CAA section 110(a)(2)(A);                      F.3d 20, 39 (D.C. Cir. 2009) (rejecting               generate linkages at Steps 1 and 2 to at
                                                Committee for a Better Arvin v. U.S.                    the argument ‘‘that ‘significantly                    least some downwind receptors, under
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                                                E.P.A., 786 F.3d 1169, 1175–76 (9th Cir.                contribute’ unambiguously means                       varying assumptions and meteorological
                                                2015) (holding that measures relied on                  ‘strictly cause’’’ because there is ‘‘no              conditions, even if the precise set of
                                                by state to meet CAA requirements must                  reason why the statute precludes EPA                  linkages changed between modeling
                                                be included in the SIP).                                from determining that [an] addition of                runs.
                                                   In addition, ODEQ’s submission                       [pollutant] into the atmosphere is                       We therefore propose that ODEQ was
                                                included a weight of evidence                           significant even though a nearby                      required to analyze emissions from the
                                                evaluation of its contribution to the                   county’s nonattainment problem would                  sources and other emissions activity
                                                Allegan County, MI receptor to                          still persist in its absence’’); Miss.                from within the State to determine


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 323            Date Filed: 09/26/2023
                                                9824                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                whether its contributions were                          Quality v. EPA, 740 F.3d 185 (D.C. Cir.                  As explained earlier, the EPA is
                                                significant. Because ODEQ failed to                     2014).92                                               proposing to find that the portion of
                                                perform this analysis, we propose to                       On October 1, 2020, the EPA                         Oklahoma’s SIP submission addressing
                                                disapprove its submission.                              approved Oklahoma’s SAFETEA request                    CAA section 110(a)(2)(D)(i)(I) does not
                                                                                                        to administer all of the State’s EPA-                  meet the State’s interstate transport
                                                4. Evaluation of Information Provided                   approved environmental regulatory                      obligations, because it fails to contain
                                                by ODEQ Regarding Step 4                                programs, including the Oklahoma SIP,                  the necessary provisions to eliminate
                                                   Step 4 of the 4-Step interstate                      in the requested areas of Indian country.              emissions which will contribute
                                                                                                        As requested by Oklahoma, the EPA’s                    significantly to nonattainment or
                                                transport framework calls for
                                                                                                        approval under SAFETEA does not                        interfere with maintenance of the 2015
                                                development of permanent and
                                                                                                        include Indian country lands, including                ozone NAAQS in any other state.
                                                federally enforceable control strategies
                                                                                                        rights-of-way running through the same,                Consistent with the D.C. Circuit’s
                                                to achieve the emissions reductions                                                                            decision in ODEQ v. EPA and the EPA’s
                                                                                                        that: (1) Qualify as Indian allotments,
                                                determined to be necessary at Step 3 to                                                                        October 1, 2020, SAFETEA approval,
                                                                                                        the Indian titles to which have not been
                                                eliminate significant contribution to                                                                          this disapproval if finalized as proposed
                                                                                                        extinguished, under 18 U.S.C. 1151(c);
                                                nonattainment or interference with                      (2) are held in trust by the United States             will extend to areas of Indian country in
                                                maintenance of the NAAQS. As                            on behalf of an individual Indian or                   Oklahoma where the State has SIP
                                                mentioned previously, ODEQ’s SIP                        Tribe; or (3) are owned in fee by a Tribe,             planning authority.
                                                submission did not contain an                           if the Tribe (a) acquired that fee title to
                                                evaluation of additional emission                                                                              V. Texas SIP Submission Addressing
                                                                                                        such land, or an area that included such               Interstate Transport of Air Pollution for
                                                control opportunities (or establish that                land, in accordance with a treaty with
                                                no additional controls are required),                                                                          the 2015 Ozone NAAQS and the EPA
                                                                                                        the United States to which such Tribe                  Evaluation of the SIP Submission
                                                thus, no information was provided at                    was a party, and (b) never allotted the
                                                Step 4. As a result, EPA proposes to                    land to a member or citizen of the Tribe.              A. Summary of TCEQ SIP Submission
                                                disapprove ODEQ’s submittal on the                         The EPA’s approval under SAFETEA                    Addressing Interstate Transport of Air
                                                separate, additional basis that the State               expressly provided that to the extent the              Pollution for the 2015 Ozone NAAQS
                                                has not developed permanent and                         EPA’s prior approvals of Oklahoma’s                       On August 17, 2018, the Texas
                                                enforceable emissions reductions                        environmental programs excluded                        Commission on Environmental Quality
                                                necessary to meet the obligations of                    Indian country, any such exclusions are                (TCEQ) made a SIP submission
                                                CAA section 110(a)(2)(d)(i)(I).                         superseded for the geographic areas of                 addressing interstate transport of air
                                                                                                        Indian country covered by the EPA’s                    pollution for the 2015 ozone NAAQS.
                                                5. Conclusion
                                                                                                        approval of Oklahoma’s SAFETEA                         The SIP submission provided TCEQ’s
                                                  Based on the EPA’s evaluation of                      request.93 The approval also provided                  analysis of their impact to downwind
                                                ODEQ’s SIP submission, the EPA is                       that future revisions or amendments to                 states using a framework similar to
                                                proposing to find that the portion of                   Oklahoma’s approved environmental                      EPA’s 4-Step framework and concluded
                                                ODEQ’s SIP submission addressing CAA                    regulatory programs would extend to                    that emissions from Texas will not
                                                section 110(a)(2)(D)(i)(I) does not meet                the covered areas of Indian country                    contribute significantly to
                                                the State’s interstate transport                        (without any further need for additional               nonattainment or interfere with
                                                obligations because it fails to contain                 requests under SAFETEA).94                             maintenance of the 2015 ozone NAAQS
                                                the necessary provisions to eliminate                                                                          in other states.
                                                emissions which will interfere with
                                                                                                          92 In ODEQ v. EPA, the D.C. Circuit held that
                                                                                                                                                                  In the submittal, TCEQ provided the
                                                                                                        under the CAA, a state has the authority to            steps they used to assess whether
                                                maintenance of the 2015 ozone NAAQS                     implement a SIP in non-reservation areas of Indian
                                                                                                                                                               emissions from Texas contribute
                                                in any other state.                                     country in the state, where there has been no
                                                                                                        demonstration of tribal jurisdiction. Under the D.C.   significantly to nonattainment or
                                                C. Impact on Areas of Indian Country                    Circuit’s decision, the CAA does not provide           interfere with maintenance of the 2015
                                                                                                        authority to states to implement SIPs in Indian        ozone NAAQS in other States: (1)
                                                   Following the U.S. Supreme Court                     reservations. ODEQ did not, however, substantively
                                                                                                        address any request under the separate authority in
                                                                                                                                                               Identify monitors projected to be in
                                                decision in McGirt v Oklahoma, 140 S                    Indian country provided specifically to Oklahoma       nonattainment or have maintenance
                                                Ct. 2452 (2020), the Governor of the                    under SAFETEA. That separate authority was not         issues in future year 2023; (2) identify
                                                State of Oklahoma requested approval                    invoked until the State submitted its request under    for further review projected
                                                under Section 10211(a) of the Safe,                     SAFETEA, and was not approved until the EPA’s
                                                                                                        decision, described in this section, on October 1,
                                                                                                                                                               nonattainment and/or maintenance
                                                Accountable, Flexible, Efficient                        2020.                                                  monitors in other states that are
                                                Transportation Equity Act of 2005: A                      93 The EPA’s prior approvals relating to             impacted by emissions from Texas; and
                                                Legacy for Users, Public Law 109–59,                    Oklahoma’s SIP frequently noted that the SIP was       (3) determine if emissions from Texas
                                                119 Stat. 1144, 1937 (August 10, 2005)                  not approved to apply in areas of Indian country       contribute significantly to
                                                                                                        (consistent with the D.C. Circuit’s decision in
                                                (‘‘SAFETEA’’), to administer in certain                 ODEQ v. EPA) located in the state. See, e.g., 85 FR
                                                                                                                                                               nonattainment or interfere with
                                                areas of Indian country (as defined at 18               20178, 20180 (April 10, 2020). Such prior expressed    maintenance at the monitors identified
                                                U.S.C. 1151) the State’s environmental                  limitations are superseded by the EPA’s approval of    in TCEQ Step 2. TCEQ stated that their
                                                regulatory programs that were                           Oklahoma’s SAFETEA request.                            Step 1 is the same as EPA’s Step 1 and
                                                                                                          94 On December 22, 2021, the EPA proposed to
                                                previously approved by the EPA for                                                                             that their Steps 2 and 3 are equivalent
                                                                                                        withdraw and reconsider the October 1, 2020
                                                areas outside of Indian country. The                    SAFETEA approval. See https://www.epa.gov/ok/          to EPA’s Step 2. TCEQ used a
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                                                State’s request excluded certain areas of               proposed-withdrawal-and-reconsideration-and-
                                                Indian country further described below.                 supporting-information. The EPA is engaging in         the approval of Oklahoma’s program to reflect the
                                                                                                        further consultation with tribal governments and       outcome of the proposed withdrawal and
                                                In addition, the State only sought                      expects to have discussions with the State of          reconsideration of the October 1, 2020 SAFETEA
                                                approval to the extent that such                        Oklahoma as part of this reconsideration. The EPA      approval. To the extent any change occurs in the
                                                approval is necessary for the State to                  also notes that the October 1, 2020 approval is the    scope of Oklahoma’s SIP authority in Indian
                                                                                                        subject of a pending challenge in Federal court.       country before the finalization of this proposed
                                                administer a program in light of                        Pawnee Nation of Oklahoma v Regan, No. 20–9635         rule, such a change may affect the scope of the
                                                Oklahoma Dept. of Environmental                         (10th Cir.). The EPA may make further changes to       EPA’s final action on the proposed rule.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                      Case: 23-60069                            Document: 438-3                            Page: 324                    Date Filed: 09/26/2023
                                                                             Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                     9825

                                                contribution threshold of one percent of                              and the October 2017 updated modeling                               assessing whether a monitor would have
                                                the NAAQS (0.7 ppb) in their Step 2                                   data for 2023),96 was a meteorologically                            maintenance issues. Texas explained
                                                analysis to identify nonattainmentand/                                anomalous year for Texas and                                        that it chose to define maintenance
                                                or maintenance monitors in other states                               surrounding states as it was the hottest                            receptors in this way to capture more
                                                that are impacted by emissions from                                   year on record and the single-worst                                 recent emission reductions. The SIP
                                                Texas. TCEQ further stated that EPA’s                                 drought year recorded in Texas since                                submittal also included a discussion of
                                                Steps 3 and 4 are relevant only if                                    1895. TCEQ’s modeling also used some                                why TCEQ believes their approach for
                                                emissions from Texas contribute                                       different emissions estimates for the                               identifying maintenance receptors is
                                                significantly to nonattainment or                                     base year and future year 2023                                      appropriate. The TCEQ modeling and
                                                interfere with maintenance at                                         emissions, including different future                               differences with the EPA modeling is
                                                downwind monitors in another state.                                   year emissions for EGUs. There were                                 discussed in detail in the EPA Region 6
                                                Because Texas TCEQ concluded that it                                  also some differences in methods used                               TSD for this action.
                                                has no such emissions, EPA’s Steps 3                                  in the model results analysis and the
                                                and 4 are not addressed in the SIP                                                                                                           Based on their modeling, TCEQ
                                                                                                                      model performance evaluation. TCEQ                                  provided: (1) A table of downwind
                                                submission.
                                                                                                                      also used a different methodology than                              receptors projected to be in
                                                   To identify monitors projected to be
                                                in nonattainment or have maintenance                                  the EPA to identify monitors projected                              nonattainment of the 2015 ozone
                                                issues in 2023, (EPA Step 1 and TCEQ                                  to be maintenance receptors in 2023.                                NAAQS in 2023 and have a contribution
                                                Step 1), TCEQ conducted its own                                       TCEQ used only the most recent DV                                   from Texas emissions at a threshold of
                                                regional photochemical modeling using                                 containing the base year 2012, (i.e., the                           0.7 ppb or greater and (2) a table of
                                                a 2012 base year. TCEQ’s modeling and                                 monitored DV for 2012–2014), to project                             downwind maintenance receptors
                                                EPA’s modeling differ in significant                                  a 2023 ‘‘maintenance DV’’ for assessing                             projected to have problems attaining
                                                respects, which are discussed in detail                               whether a monitor would have                                        and maintaining the 2015 ozone
                                                in the EPA Region 6 2015 8-Hour Ozone                                 maintenance issues. The EPA’s                                       NAAQS in 2023 and have a contribution
                                                Transport SIP Proposal Technical                                      methodology uses the maximum of the                                 from Texas emissions at a threshold of
                                                Support Document (EPA Region 6                                        three consecutive regulatory DVs                                    0.7 ppb or greater. TCEQ identified
                                                TSD).95 In particular, TCEQ used a 2012                               containing the base year, which is the                              these receptors for further analysis. The
                                                base year, stating that (1) the year 2012                             highest monitored DV from among the                                 nonattainment and maintenance
                                                had above average temperatures across                                 three DVs that contain the 2011 base                                receptors provided by TCEQ are listed
                                                most of the U.S., except in some states                               year (i.e., the 2009–2011 DV, 2010–2012                             in Table TX–1. TCEQ noted that except
                                                in the southeast and (2) the year 2011,                               DV or and 2011–2013 DV that all                                     for Arapahoe County, CO (Monitor ID.
                                                (which was used by the EPA in the                                     contain modeled base year of 2011), to                              80050002) all the maintenance receptors
                                                NODA published on January 6, 2017                                     project a 2023 maximum DV for                                       are also nonattainment receptors.

                                                     TABLE TX–1—PROJECTED 2023 NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY TCEQ MODELING
                                                                                         USING 2012 BASE YEAR
                                                                                                                                                                                                              2023
                                                                                                                                                                                            2023          maintenance         Texas
                                                                                                          Receptor                                                                       average DV            DV           contribution
                                                                                                  (site ID, county, state)                                                                  (ppb)         (ppb) (TCEQ          (ppb)
                                                                                                                                                                                                            method)

                                                80350004, Douglas, CO ..............................................................................................................                73               72              1.42
                                                80590006, Jefferson, CO ............................................................................................................                72               73              1.26
                                                80590011, Jefferson, CO ............................................................................................................                71               71              1.26
                                                80690011, Larimer, CO ...............................................................................................................               72               71              1.22
                                                80050002, Arapahoe, CO ............................................................................................................                *70               71              1.15
                                                40038001, Cochise, AZ ...............................................................................................................               71             **69              1.06
                                                60371201, Los Angeles, CA ........................................................................................................                  80               78              0.76
                                                60371701, Los Angeles, CA ........................................................................................................                  80               82              0.72
                                                60376012, Los Angeles, CA ........................................................................................................                  87               86               0.9
                                                60658001, Riverside, CA .............................................................................................................               88               85              0.73
                                                60658005, Riverside, CA .............................................................................................................               84               83              0.71
                                                60710001, San Bernardino, CA ..................................................................................................                     71               72              0.84
                                                60710306, San Bernardino, CA ..................................................................................................                     76               77              0.81
                                                60711004, San Bernardino, CA ..................................................................................................                     91               90              0.88
                                                60714001, San Bernardino, CA ..................................................................................................                     82               79              0.86
                                                60714003, San Bernardino, CA ..................................................................................................                     94               91              0.74
                                                  * TCEQ did not include this value in their SIP narrative (this cell was blank). The EPA obtained this value from data that was in TCEQ’s
                                                spreadsheet of future 2023 DVs with state contributions.
                                                  ** TCEQ did not provide this calculation. The EPA used TCEQ’s modeling information to calculate this value using the Relative Response Fac-
                                                tor in TCEQ spreadsheet of future 2023 DVs with state contributions and the monitor’s 2012–2014 DV (0.983 X 71 ppb, truncation applied).
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                                                  TCEQ also noted that in the EPA’s                                   based on the receptors being identified                             contribution threshold. TCEQ provided
                                                2017 Transport NODA, the EPA’s                                        as nonattainment or maintenance                                     a table of those monitors along with the
                                                modeling linked Texas to six receptors                                receptors and based on a 0.7 ppb                                    EPA and TCEQ modeling results for

                                                  95 ‘‘EPA Region 6 2015 8-Hour Ozone Transport                       included in Docket ID No. EPA–R06–OAR–2021–                           96 The NODA and the October 2017 modeling are

                                                SIP Proposal Technical Support Document’’ (EPA                        0801.                                                               discussed in Section I.C of this action.
                                                Region 6 2015 Ozone Transport SIP TSD.pdf)



                                           VerDate Sep<11>2014       20:06 Feb 18, 2022       Jkt 256001      PO 00000      Frm 00029      Fmt 4701      Sfmt 4702      E:\FR\FM\22FEP2.SGM      22FEP2
                                                                      Case: 23-60069                           Document: 438-3                           Page: 325            Date Filed: 09/26/2023
                                                9826                        Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                those receptors (Table TX–2).97 TCEQ                                analysis, and methodologies (primarily                      OAR–2021–0801) for more details. With
                                                stated that the differences are due to                              TCEQ’s alternate maintenance receptor                       exception of the Jefferson County, CO
                                                changes the TCEQ made to modeling                                   methodology), see the EPA Region 6                          receptor (Monitor ID. 80590011) TCEQ
                                                inputs (primarily the different base year                           TSD included in the Regional docket for                     did not further review its linkages to
                                                of 2012 versus the EPA’s 2011),                                     this action (Docket ID No. EPA–R06–                         any of the receptors in Table TX–2.

                                                   TABLE TX–2—TCEQ INFORMATION ON RECEPTORS LINKED TO TEXAS BY EPA MODELING IN THE TRANSPORT NODA
                                                                                    PUBLISHED ON JANUARY 6, 2017
                                                                                                                                                              EPA 2023         EPA Texas          TCEQ 2023     TCEQ Texas
                                                                                             Receptor                                                        average DV        contribution       average DV     contribution
                                                                                     (site ID, county, state)                                                   (ppb)             (ppb)              (ppb)          (ppb)

                                                260050003, Allegan, MI ...................................................................................             68.8              2.49              71            0.59
                                                551170006, Sheboygan, WI ............................................................................                  71.0              1.92              70            0.73
                                                240251001, Harford, MD .................................................................................               71.3              0.91              65            0.69
                                                360850067, Richmond, NY .............................................................................                  71.2              0.77              62            0.67
                                                361030002, Suffolk, NY ...................................................................................             71.3              0.71              67            0.63
                                                80590011, Jefferson, CO ................................................................................               69.7              1.03              71            1.26



                                                   TCEQ then used a weight of evidence                              monitoring sites that are projected to                      not adequately protect ‘‘[a]reas that find
                                                approach to assess whether emissions                                have problems attaining and/or                              themselves barely meeting attainment.’’
                                                from Texas contribute significantly to                              maintaining the NAAQS (i.e.,                                Id. at 910. Consequently, the EPA has
                                                nonattainment or interfere with                                     nonattainment and maintenance                               developed a methodology, as described
                                                maintenance at the receptors listed in                              receptors). In executing this step, TCEQ                    elsewhere in this action and used in its
                                                Table TX–1. TCEQ stated that the Texas                              elected to rely on their own modeling                       2011 CSAPR and its 2016 CSAPR
                                                contribution to a receptor should be                                and methodology for identifying                             Update and Revised CSAPR Update, for
                                                deemed ‘‘significant’’ only if there is a                           receptors. The EPA is evaluating the                        identifying areas that may struggle to
                                                persistent and consistent pattern of                                TCEQ’s modeling and methodology here                        maintain the NAAQS. See 76 FR at
                                                contribution on several days with                                   at Step 1.                                                  48227–28. The EPA’s approach to
                                                elevated ozone. Consideration was given                             i. Evaluation of TCEQ’s Methodology for                     addressing maintenance receptors was
                                                to factors such as DV trends, number of                             Identifying Maintenance Receptors                           upheld in the EME Homer City
                                                elevated ozone days, back trajectory                                                                                            litigation. See 795 F.3d 118, 136–37. It
                                                analysis on elevated ozone days,                                       As discussed in Section V.A of this                      was also upheld in Wisconsin. 938 F.3d
                                                modeled concentrations on future                                    action, in addition to the use of an                        at 325–26. In Wisconsin, the court noted
                                                expected elevated ozone days, total                                 alternative modeling platform, TCEQ
                                                                                                                                                                                that four upwind states were linked
                                                interstate contributions at tagged                                  also created its own method for
                                                                                                                                                                                only to maintenance receptors and
                                                monitors, and responsiveness of ozone                               identifying maintenance receptors.
                                                                                                                                                                                rejected the argument that application of
                                                to emissions from Texas. Based on their                             TCEQ has not adequately explained or
                                                                                                                                                                                the same control level as the EPA
                                                assessment, TCEQ concluded that                                     justified how its method for identifying
                                                                                                                                                                                imposes for those states linked to
                                                emissions from Texas do not contribute                              maintenance receptors reasonably
                                                                                                                                                                                nonattainment receptors was
                                                significantly to nonattainment or                                   identifies areas that will have difficulty
                                                                                                                                                                                unreasonable or unlawful absent a
                                                interfere with maintenance of the 2015                              maintaining the NAAQS. The EPA
                                                                                                                    proposes to find that TCEQ has not                          particularized showing of overcontrol.
                                                ozone NAAQS at any downwind                                                                                                     Id. at 327.
                                                monitors. Our evaluation of the TCEQ                                provided a sufficient technical basis for
                                                submission is further discussed in                                  how its chosen methodology gives                               To explain the differences between
                                                Section V.B and in the EPA Region 6                                 meaning to the CAA’s instruction that                       TCEQ’s and the EPA’s methodology for
                                                TSD for this action.                                                states submit good neighbor SIPs that                       identifying maintenance receptors, it is
                                                                                                                    prohibit their states’ emissions from                       helpful to provide some additional
                                                B. EPA Evaluation of the TCEQ SIP                                   interfering with the maintenance of the                     context of how the EPA projects future
                                                Submission                                                          NAAQS in another state.                                     air quality. The EPA’s air quality
                                                   Based on the EPA’s evaluation of the                                In North Carolina v. EPA, 531 F.3d                       modeling guidance has long
                                                SIP submission, the EPA is proposing to                             896, 909–11 (D.C. Cir. 2008), the D.C.                      recommended developing a base design
                                                find that TCEQ’s August 17, 2018, SIP                               Circuit rejected the EPA’s CAIR on the                      value (DV) 98 (i.e., the design value that
                                                submission does not meet the State’s                                basis that the EPA had not adequately                       will be used as a starting point to model
                                                obligations with respect to prohibiting                             given meaning to the phrase ‘‘interfere                     and analyze for purposes of projecting
                                                emissions that contribute significantly                             with maintenance’’ in the good neighbor                     future air quality concentrations) that is
                                                to nonattainment or interfere with                                  provision. Specifically, North Carolina                     the average of three DVs spanning a
                                                maintenance of the 2015 ozone NAAQS                                 argued that it had counties that were                       five-year period, centered around one
                                                in any other state.                                                 projected to attain the NAAQS in the                        year for which an emissions inventory
                                                                                                                    future analytic year but were at risk of                    will be submitted (e.g., if 2011 was the
                                                1. Evaluation of Information Provided
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                                    falling back into nonattainment due to                      base emissions inventory year, a state
                                                by TCEQ Regarding Step 1                                            interference from upwind sources,                           would use monitored values from 2009–
                                                   As explained in Section I of this                                particularly given year-to-year                             2011, 2010–2012, 2011–2013 as the
                                                action, at Step 1 of the 4-Step interstate                          variability in ozone levels. The court                      starting point for projecting air quality
                                                transport framework, the EPA identifies                             agreed, holding that the EPA’s rule did                     concentrations in future years).99 The
                                                  97 TCEQ SIP Submission, at page 3–49 (Table 3–                       98 See FN 8.                                               99 See FN 73.

                                                12).



                                           VerDate Sep<11>2014       20:06 Feb 18, 2022      Jkt 256001      PO 00000      Frm 00030      Fmt 4701     Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                   Case: 23-60069                     Document: 438-3                   Page: 326            Date Filed: 09/26/2023
                                                                        Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                 9827

                                                average of these three DVs is then                        variability. Unfortunately, the three                 conducive meteorology.102 The
                                                multiplied by a relative response factor                  years of variation that TCEQ accounted                variation of DVs at individual monitors
                                                (RRF) 100 to generate an average DV for                   for is already built into the structure of            from year to year can be significant,
                                                the future year. If a receptor’s average                  the standard. Thus, the TCEQ method                   even where emissions trend
                                                future year DV is greater than or equal                   gave no consideration to the variability              downwards. The EPA also assessed a
                                                to the level of the NAAQS, and the                        between calculated DVs which provides                 number of monitored DV trends that
                                                receptor has recent monitored data that                   a direct indication of the difficulty a               were provided in TCEQ’s SIP
                                                violates the NAAQS, that receptor is                      receptor will have in maintaining the                 submission and previous TCEQ
                                                considered a ‘‘nonattainment’’ receptor                   standard. In other words, to determine                attainment demonstration SIPs
                                                at Step 1. To identify maintenance                        whether a receptor will have difficulty               indicating that there are at times large
                                                receptors, the EPA’s methodology looks                    maintaining the standard, one must                    annual fluctuations upward from year to
                                                to the highest DV of the three DVs used                   consider the variation in the metric that             year in monitored DVs (sometimes 2–3
                                                to calculate the 5-year weighted average                  will be used to determine compliance                  ppb increase in one year) that are due
                                                design value (e.g., in the 2011 example,                  with the standard. An indication of the               to variations in meteorology.103 This is
                                                if 2009–2011 had the highest design                       variability of a metric cannot be                     precisely why it is important to consider
                                                value of 2009–2011, 2010–2012, and                        determined by only considering a single               highly variable meteorology and its
                                                2011–2013). The EPA then applies the                      estimate of that metric.                              influence on DVs—the issue at the heart
                                                same relative response factor to that                        TCEQ’s stated purpose in using the                 of the D.C. Circuit’s finding on
                                                highest design value to generate a                        most recent DV was to capture more                    ‘‘interference with maintenance’’ in
                                                projected future maximum design value.                    recent emissions reductions. TCEQ’s                   North Carolina. Areas that are required
                                                Where a receptor’s maximum design                         methodology, however, limits receptors                under the Act to attain by an attainment
                                                value exceeds the level of the NAAQS,                     which could be identified as                          date may fail to attain because of a
                                                the EPA has deemed those receptors to                     maintenance receptors, compared to the                combination of both local emissions,
                                                be ‘‘maintenance’’ receptors. This                        EPA’s methodology largely because it                  upwind emissions, and ozone
                                                methodology was designed to address                       only looks at one design value period                 conducive meteorology, among other
                                                the D.C. Circuit’s holding that the CAA’s                 rather than selecting the maximum of                  factors. The North Carolina decision
                                                ‘‘interference with maintenance’’ prong                   the three DV periods EPA’s                            made clear that in interpreting the good
                                                requires states and the EPA to protect                    methodology considers. Thus, TCEQ’s                   neighbor provision, upwind state and
                                                areas that may struggle with                              methodology greatly reduces the                       the EPA obligations to reduce emissions
                                                maintaining the standard in the face of                   probability that meteorological                       must account for variable conditions
                                                inter-annual variability in ozone-                        conditions which make it difficult to                 that could cause an area that is
                                                conducive conditions.                                     maintain the standard will be                         sometimes attaining the NAAQS to fall
                                                   In its modeling, TCEQ adopted an                       considered. As discussed further below,               out of attainment. See also Wisconsin,
                                                identical approach to the EPA’s for                       the effects of emissions trends are                   938 F.3d at 327 (‘‘Variations in
                                                identifying nonattainment receptors—it                    already captured through other aspects                atmospheric conditions and weather
                                                looked at three sets of DVs over a five-                  of the methodology to identify                        patterns can bring maintenance
                                                year period and averaged those DVs to                     receptors. So, in trying to give more                 receptors into nonattainment even
                                                generate a base year DV. TCEQ then                        weight to emission reductions, by                     without elevated emissions.’’).
                                                applied a relative response factor to that                selecting only one design value (2012–                   In addition, TCEQ claimed that its use
                                                base year design value to project a                       2014) for its base year, TCEQ’s                       of the 2012–2014 DV (i.e., the most
                                                receptor’s average design value in the                    methodology did not give any                          recent in the 5-year base period it
                                                future year. For its maintenance                          consideration to interannual variability              examined) is more reliable than the
                                                receptors, however, TCEQ used only the                    in ozone-conducive meteorology as does                EPA’s method, because that more recent
                                                most recent design value of the set of                    the EPA’s method.                                     DV accounts for both emission
                                                three DVs, regardless of whether the                         The EPA’s methodology, using the                   reductions and because there is a
                                                most recent design value was highest or                   maximum DV which accounts for the                     shorter interval between the monitored
                                                lowest, instead of considering                            variability in ozone concentrations and               DV and the projected DV. As we note
                                                variability in conditions over a five-year                DVs due to changes in meteorology over                elsewhere, the TCEQ’s base year
                                                period, or using the highest DV of the                    the five years of the base year DV                    modeled inventory is 2012 emissions
                                                three DVs making up the base year                         period, was designed to identify those                and the TCEQ’s model projections for
                                                design value. TCEQ’s proffered                            areas that might struggle to maintain the             2023 include the expected emission
                                                explanation for using the most recent                     NAAQS in particularly ozone conducive                 reductions from 2012 thru 2014 and to
                                                DV to identify maintenance receptors                      conditions. TCEQ claimed that the                     2023. By just using the 2012–2014 DV
                                                was that the latest DV ‘‘takes into                       EPA’s method undervalues changes in                   data, TCEQ claimed they are giving
                                                consideration . . . any emissions                         air quality due to emission reductions                weight to emission reductions during
                                                reductions that might have                                and overvalues changes due to variation               the final base years where EPA’s method
                                                occurred.’’ 101 However, TCEQ in its                      in meteorology. TCEQ pointed out that                 does not. The effect of emission
                                                submission does not explain how this                      emissions nationwide are generally                    reductions, however, is already factored
                                                methodology takes into account                            trending downward as a result of                      in the method since the modeling
                                                meteorological variability in identifying                 Federal motor vehicle standards and                   projection to 2023 is explicitly designed
                                                those areas that may be meeting the                       other technological improvements. The                 to project the changes in ozone due to
lotter on DSK11XQN23PROD with PROPOSALS2




                                                NAAQS or that may be projected to                         EPA agrees that ozone levels generally                emission reductions from the 2012 base
                                                meet the NAAQS but may nevertheless                       trend downward, but there is not a                    year emission levels. So, in fact, the
                                                struggle to maintain the NAAQS.                           steady decline from year to year in                   EPA method does give weight to
                                                   TCEQ argued that the 3-year DV used                    ozone concentrations. Rather, ozone                   emission reductions. Furthermore, since
                                                includes some meteorological                              levels tend to vary from year to year
                                                                                                          with some years showing an increase                    102 See EPA Region 6 TSD, included in Docket ID
                                                  100 See FN 53.                                          instead of a decrease mainly due to                   No. EPA–R06–OAR–2021–0801.
                                                  101 TCEQ SIP submission at 3–39 to 3–40.                inter-annual variability in ozone-                     103 Id.




                                           VerDate Sep<11>2014     20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 327            Date Filed: 09/26/2023
                                                9828                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                TCEQ agrees that the average of the DVs                 maximum of these three DVs for the                    practical consequence of the EPA’s
                                                based on 2010–2014 ozone levels are                     maintenance methodology. Because                      approach is that it could lead to over-
                                                reliable enough to use in the                           TCEQ’s maintenance methodology of                     control and that it might require upwind
                                                identification of nonattainment                         just using the most recent DV (2012–                  states to consider or implement controls
                                                receptors, it is unclear how the 2012–                  2014 DV) often results in maintenance                 when the downwind state in which the
                                                2014 period is deemed more reliable for                 DVs lower than the 2023 nonattainment                 monitor is located does not have any
                                                the maintenance test since the modeled                  DVs methodology results, the EPA finds                obligations to control local emissions.
                                                emissions are still for 2012. We also                   that the TCEQ methodology is not                      TCEQ argued that this ‘‘conflation’’ of
                                                note, as discussed throughout this                      adequately identifying conditions when                nonattainment and maintenance results
                                                action, the EPA has updated its                         a receptor would have more difficulty                 in there being no independent meaning
                                                modeling to use a 2016 base year—that                   maintaining the standard. In fact, the                to ‘‘maintenance.’’
                                                is, a five year period spanning 2014–                   TCEQ’s method also identified one                        With respect to the first of these
                                                2018, and applied its methodology for                   receptor in their SIP submission as a                 assertions from TCEQ, we note that
                                                defining maintenance receptors using                    nonattainment receptor in 2023 that                   TCEQ’s methodology for identifying
                                                that five year base period. Using a more                would not have been identified as a                   receptors (like the EPA’s) is entirely
                                                recent base period (EPA’s 2016v2)                       maintenance receptor, which further                   distinct from ozone designations under
                                                provides the most recent design values,                 highlights the concern that TCEQ’s                    the Clean Air Act; neither TCEQ nor the
                                                shorter period of projection (2016 to                   method did not adequately identify                    EPA take current or presumed future
                                                2023 versus a 2011 or 2012 base year)                   areas that may struggle to maintain the               designations of areas into account, and
                                                and a more accurate basis for                           standard. TCEQ did not address                        any implementation requirements like a
                                                projections of future air quality. We note              whether the three years that comprise                 maintenance plan under CAA section
                                                that the EPA undertook a large                          the most recent design value (i.e., 2012,             175A, in identifying receptors. TCEQ’s’
                                                collaborative multi-year effort with                    2013, and 2014) had meteorological                    discussion, therefore, of maintenance
                                                states (including TCEQ) and other                       conditions highly conducive for                       plan contingency measures or
                                                stakeholders input and review in                        formation of high ozone concentrations                maintenance plans generally is
                                                developing the 2016v2 emission                          and thus would be an appropriate time                 irrelevant and misplaced. None of the
                                                inventories. By virtue of this update,                  period to assess whether area could                   areas to which Texas is linked in the
                                                any monitored DV used by the EPA to                     have difficulty maintaining the standard              EPA 2016v2 modeling has been
                                                identify maintenance receptors in this                  and the EPA’s analysis confirms that                  redesignated to attainment for the 2015
                                                action accounts for more recent                         this time period is not highly conducive              ozone NAAQS, and none of the areas to
                                                emission reductions and provides a                      to ozone formation, at least for many                 which Texas is linked in its own
                                                shorter interval between base year                      receptors. The consequence of TCEQ’s                  modeling has been redesignated to
                                                monitored DV and the projected future                   maintenance method is that it often                   attainment for that NAAQS. We also fail
                                                analytic year.                                          results in lower DVs than the                         to see how TCEQ’s approach to
                                                   As discussed further in the EPA                      nonattainment test as demonstrated by                 identifying maintenance receptors
                                                Region 6 TSD 104 for this action, the EPA               our analysis, which indicates that it is              differs in any relevant respect from the
                                                has reviewed the set of 21 receptors for                often not considering conditions when                 EPA’s approach with regard to the
                                                which Texas had contributions of 0.7                    an area would have difficulty                         alleged ‘‘conflation’’ of projecting
                                                ppb or more in the EPA’s 2016 base year                 maintaining the standard. It is also                  attainment in a future year rather than
                                                modeling analyses, or TCEQ’s modeling                   unreasonable to have a test that would                the ability of an attainment receptor to
                                                (2012 base year), and evaluated the                     not identify nonattainment receptors                  maintain attainment. Both TCEQ and
                                                results of using TCEQ’s alternate                       also as maintenance receptors.                        the EPA identify maintenance receptors
                                                maintenance methodology. For these 21                      TCEQ also made several additional                  based on projections of air quality in a
                                                receptors, TCEQ’s method resulted in 15                 assertions in support of their conclusion             future year to determine whether the
                                                of the 21 2023 maintenance DVs                          that their method for identifying                     receptor will have difficulty attaining or
                                                predicted to be lower than the 2023                     maintenance receptors was the better                  maintaining the standard. TCEQ’s
                                                nonattainment DVs from the                              reading of the CAA, compared to the                   arguments about overcontrol based on
                                                nonattainment methodology that uses                     EPA’s. TCEQ claimed that its approach                 the application of a uniform remedy to
                                                the 5-year center weighted average. Of                  was more consistent with the CAA’s                    states linked to both nonattainment and
                                                these 15 receptors, three receptors have                concept of maintenance as areas that                  maintenance receptors were also not
                                                2023 maintenance DVs that are 3 ppb                     were formerly nonattainment and that                  germane; in this case, TCEQ had
                                                lower, five receptors have 2023                         have since attained and will continue to              identified no remedy to apply
                                                maintenance DVs that are 2 ppb lower,                   maintain by accounting for: (1)                       whatsoever because it had failed to
                                                and seven receptors have 2023                           Emissions reductions occurring in the                 identify that the emissions from Texas
                                                maintenance DVs that are 1 ppb lower.                   later design values of the base DV                    cause a problem in the first instance.
                                                In comparison, using the EPA’s                          period; (2) ‘‘commitments regarding                   The D.C. Circuit has already rejected the
                                                maintenance methodology results in all                  contingency measures to address future                idea that the application of a uniform
                                                21 2023 maintenance DVs being equal                     emission reductions;’’ and (3) the                    control to both nonattainment and
                                                or up to 4 ppb higher than the 2023                     impact of any maintenance plans that                  maintenance receptors is on its face
                                                nonattainment DVs. Again, the EPA                       are in place. TCEQ also asserted that the             overcontrol or impermissible under the
                                                uses the average of the three DVs that                  EPA’s approach conflates the likelihood               interstate transport provision. See
lotter on DSK11XQN23PROD with PROPOSALS2




                                                contain the base year modeled for the                   of attaining the standard in a future year            Wisconsin, 938 F.3d at 327. Based on
                                                nonattainment methodology and the                       and the ability of an attainment monitor              our evaluation of TCEQ’s approach to
                                                                                                        to maintain that attainment status.                   identify maintenance receptors for 2023,
                                                  104 ‘‘EPA Region 6 2015 8-Hour Ozone Transport
                                                                                                        Specifically, TCEQ argued that because                we propose to find the State’s approach
                                                SIP Proposal Technical Support Document’’ (EPA
                                                Region 6 2015 Ozone Transport SIP TSD.pdf)
                                                                                                        any remedies devised to address                       is inadequate as it does not sufficiently
                                                included in Docket ID No. EPA–R06–OAR–2021–             nonattainment monitors would have to                  identify maintenance receptors. Further,
                                                0801.                                                   apply to maintenance monitors, a                      TCEQ had not explained how its


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                        Document: 438-3                    Page: 328                 Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                       9829

                                                approach meets the statutory                                emissions to downwind states. See EPA                    recent monitored 2020 DVs and
                                                requirement to address areas that, even                     Region 6 TSD for full analysis details.                  preliminary 2021 DVs, which shows
                                                if meeting the NAAQS, may struggle to                          One analysis included in the EPA                      that recent monitored ozone
                                                maintain the standard in years where                        Region 6 TSD examined the average                        concentrations are significantly higher
                                                conditions are conducive to ozone                           amount of improvement that would                         than TCEQ’s modeling projected for
                                                formation. Rather, the TCEQ had created                     have to occur for the 9 monitors with                    2023. TCEQ’s ozone DVs for these
                                                its own approach to identify these areas                    the highest measured design values in                    receptors would need to drop on the
                                                that they describe as designed to                           the Dallas-Ft. Worth and Houston-                        order of 7–15 ppb in two to three years
                                                account for the most emission                               Galveston-Brazoria nonattainment areas                   for TCEQ’s projections to bear out. As
                                                reductions possible—i.e., the most                          (those with an observed 2018–2020 DV                     noted previously, this would require an
                                                recent DV of the three under analysis;                      of 74 ppb or greater) to reach the level                 unusual amount of emission reductions
                                                an approach that likely under-identifies                    of ozone projected by the TCEQ                           without any control measures identified
                                                areas that will struggle to maintain the                    modeling. The average decrease needed                    of sufficient magnitude. We note that
                                                NAAQS and that certainly is not                             by 2023 to meet TCEQ’s 2023 projected                    the EPA’s projected 2023 ozone DVs
                                                designed to capture potential air quality                   DVs is 7.56 ppb. Improvements of this                    based on EPA 2016v2 modeling show
                                                problems.                                                   magnitude do not occur in three years                    ozone DVs that are also lower than
                                                                                                            unless there is an unusually large                       recent monitoring data. However, EPA
                                                ii. Evaluation of the TCEQ Modeling                         change in emissions or a large change in                 2016v2 modeling projections are much
                                                   As discussed in Section V.A of this                      meteorological conduciveness for ozone                   closer to anticipated 2023 ozone levels
                                                action, TCEQ conducted regional                             generation. TCEQ did not identify any                    as compared to TCEQ’s modeling. This
                                                photochemical modeling to identify                          large emission reductions not already
                                                                                                                                                                     indicates that the EPA’s modeling is
                                                nonattainment and maintenance                               accounted for in the modeling to be
                                                                                                                                                                     more accurate in identifying
                                                receptors in 2023 using a 2012 base                         implemented in the 2021–2023
                                                                                                                                                                     nonattainment and/or maintenance
                                                                                                            timeframe nor is the EPA aware of such
                                                year. As discussed further in the EPA                                                                                receptors in the Midwest Region. While
                                                                                                            a change. This information supports our
                                                Region 6 TSD, we have several concerns                                                                               the TCEQ modeling projects much
                                                                                                            finding that that TCEQ’s modeling is
                                                with the reliability of TCEQ’s modeling                                                                              lower overall ozone levels for the
                                                                                                            underestimating future ozone levels in
                                                results. States are free to develop their                                                                            Midwest Region in 2023, the modeling
                                                                                                            the two nonattainment areas in Texas
                                                own modeling, but that modeling must                                                                                 does tend to corroborate the projected
                                                                                                            that make up a large proportion of the
                                                be technically supportable, and the EPA                                                                              amount emissions that Texas may be
                                                                                                            total ozone and a large portion of
                                                is obligated to assess and evaluate the                                                                              contributing to projected ozone levels at
                                                                                                            emissions of ozone pre-cursors that
                                                reliability of that technical                                                                                        5 of the 7 nonattainment and
                                                                                                            transport to downwind areas. This
                                                demonstration when determining                                                                                       maintenance receptors identified in the
                                                                                                            underestimation of future year ozone
                                                whether the Act’s requirements are met.                     levels from Texas emissions can cause                    EPA’s modeling.105 Thus, despite the
                                                   The TCEQ’s modeling underestimates                       both an underestimation of ozone in                      differences in identification of
                                                future ozone levels. When the TCEQ                          downwind areas and also an                               nonattainment and maintenance
                                                2023 projected concentrations are                           underestimation of Texas’s impact on                     receptors, both sets of modeling indicate
                                                compared to 2020 and preliminary 2021                       downwind State’s ozone nonattainment                     that Texas’s contribution to receptors in
                                                monitor values, it is clear that the TCEQ                   and maintenance receptors.                               the Midwest Region are greater than 0.7
                                                modeling is projecting an unusual                              TCEQ’s modeling also underestimates                   ppb (i.e., 1 percent of the 2015 ozone
                                                decline in ozone levels without there                       2023 ozone levels outside of the State of                NAAQS). Table TX–3 provides
                                                being an unusual level of emission                          Texas including areas of interest in                     information on those receptors,
                                                reductions to support the decline. The                      California, Colorado and the Midwest                     including the amount of contribution
                                                EPA compared recent monitoring values                       Region (Illinois, Wisconsin, and                         attributed to emissions from Texas
                                                and reasonably anticipated decreases in                     Michigan). The EPA discusses this                        based on EPA’s 2016v2 modeling and
                                                DVs by 2023 both within Texas and in                        underprediction for all of these areas in                TCEQ’s modeling. Despite the
                                                other parts of the country. These                           the EPA Region 6 TSD. In Table TX–3,                     differences in identification of
                                                underestimations likely result in                           we present only the results for the                      nonattainment and maintenance
                                                TCEQ’s modeling not adequately                              Midwest Region along with the EPA’s                      receptors, both sets of modeling indicate
                                                identifying nonattainment and/or                            modeling prediction. We note that                        that Texas’s contribution to receptors in
                                                maintenance receptors in 2023. These                        TCEQ’s 2023 modeled DVs are                              the Midwest are greater than 0.7 ppb
                                                underestimations also result in smaller                     significantly lower than the EPA’s 2023                  (i.e., 1 percent of the 2015 ozone
                                                projected contributions from Texas                          modeled DVs. The table also provides                     NAAQS).

                                                TABLE TX–3—EPA AND TCEQ MODELING RESULTS FOR DOWNWIND RECEPTORS IDENTIFIED BY EPA 2016V2 MODELING
                                                                                                                                                                      Monitored
                                                                                                                                                TCEQ: 2023
                                                                                                                               EPA: 2023                             2018–2020
                                                                                           2023 nonattainment/                                  average DV/                          EPA: Texas      TCEQ: Texas
                                                            Receptor                                                          average DV/                           DV/preliminary
                                                                                               maintenance                                      maintenance                          contribution     contribution
                                                    (site ID, county, state)                                                  maximum DV                             2019–2021
                                                                                              (EPA 2016v2)                                           DV                                 (ppb)            (ppb)
                                                                                                                                 (ppb)                                  DV**
                                                                                                                                                   (ppb)*               (ppb)
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                                                170310001, Cook, IL ...........       Maintenance .........................       69.6/73.4    60/58 ............           75/71             0.86   1.6.
                                                170310032, Cook, IL ...........       Maintenance .........................       69.8/72.4    68/66 ............           74/75             1.46   1.31.
                                                170314201, Cook, IL ...........       Maintenance .........................       69.9/73.4    64/62 ............           77/74             1.15   1.25.
                                                170317002, Cook, IL ...........       Maintenance .........................       70.1/73.0    66/65 ............           75/73             1.58   1.22.

                                                  105 We note that for two of the Wisconsin                 information to generate 2023 DVs, so only 5 of the
                                                receptors, TCEQ’s modeling does not provide                 7 monitors can be compared.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022     Jkt 256001   PO 00000     Frm 00033   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM    22FEP2
                                                                 Case: 23-60069                        Document: 438-3                    Page: 329                 Date Filed: 09/26/2023
                                                9830                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                       TABLE TX–3—EPA AND TCEQ MODELING RESULTS FOR DOWNWIND RECEPTORS IDENTIFIED BY EPA 2016V2
                                                                                        MODELING—Continued
                                                                                                                                                                      Monitored
                                                                                                                                                TCEQ: 2023
                                                                                                                               EPA: 2023                             2018–2020
                                                                                           2023 nonattainment/                                  average DV/                             EPA: Texas       TCEQ: Texas
                                                            Receptor                                                          average DV/                           DV/preliminary
                                                                                               maintenance                                      maintenance                             contribution      contribution
                                                    (site ID, county, state)                                                  maximum DV                             2019–2021
                                                                                              (EPA 2016v2)                                           DV                                    (ppb)             (ppb)
                                                                                                                                 (ppb)                                  DV**
                                                                                                                                                   (ppb)*               (ppb)

                                                550590019, Kenosha, WI ....           Nonattainment .......................       72.8/73.7    67/66 ............            74/74                1.72   1.44.
                                                550590025, Kenosha, WI ....           Maintenance .........................       69.2/72.3    No data*** ....               74/72                1.81   No data.***
                                                551010020, Racine, WI .......         Nonattainment .......................       71.3/73.2    No data*** ....               73/73                1.34   No data.***
                                                   * TCEQ did not provide sufficient data and analysis of the meteorology for the 2010–2014 period to support their claim that 2012–2014 period
                                                was a worst-case combination of meteorology compared to the 2010–2012 and 2011–2013 periods. If the future DV projected from this highest
                                                value is below the standard, one can be reasonably certain the receptor will not have difficulty maintaining the standard and, as such, upwind
                                                states will not interfere with maintenance in downwind states. Because the TCEQ method only looks at one DV and does not account for the var-
                                                iability in DVs due to meteorological conditions, it is less likely to identify maintenance receptors than the EPA method. See https://www.epa.gov/
                                                air-trends/air-quality-design-values
                                                   ** Preliminary 2019–2021 DVs. Monitoring data from the EPA’s Air Quality System (AQS) (https://www.epa.gov/aqs). 2021 monitoring data is
                                                preliminary and still has to undergo Quality Assurance/Quality Control analysis and be certified by the State of Texas, submitted to the EPA, and
                                                reviewed and concurred on by EPA. 2018–2020 DVs are 72 ppb and 73 ppb at the Denton County and Tarrant County monitors/receptors re-
                                                spectively. Preliminary 2019–2021 DVs are 74 ppb and 72 ppb at the Denton County and Tarrant County monitors/receptors respectively.
                                                   *** Kenosha, WI Monitor ID. 550590025 was installed and began operating May 13, 2013, so the first three year DV available is 2013–2015.
                                                Racine, WI Monitor ID. 551010020 was installed in April 14, 2014 so the first three year DV available is 2015–2017. TCEQ’s modeling used
                                                monitored DV data for 2010–2012, 2011–2013, and 2012–2014 to project to the future year. Since these monitors do not have valid DVs for
                                                these periods, TCEQ’s modeling can’t be used to project 2023 values and identify if they would be nonattainment or maintenance receptors.


                                                  The EPA investigated TCEQs                                and/or maintenance receptors in 2023 in                  quality problems that warrant further
                                                modeling and the underestimation for                        the Midwest Region (Illinois,                            review and additional analysis. We
                                                the future year. See the EPA Region 6                       Wisconsin, and Michigan), while                          therefore endorse TCEQ’ use of the 1
                                                TSD for further information on our                          TCEQ’s modeling using a 2012 base year                   percent contribution threshold to
                                                review. Our review indicated some                           indicated only linkages to western                       identify linkages requiring further
                                                underestimation bias in the base case                       receptors. As discussed above and in the                 analysis. However, because we propose
                                                and general model performance                               EPA Region 6 TSD, the TCEQ’s                             to disapprove TCEQ’s identification of
                                                concerns but nothing that was a clear                       modeling is underestimating projected                    nonattainment and/or maintenance
                                                cause of the much lower 2023 DVs that                       ozone levels in the Midwest Region for                   receptors (at Step 1) due to
                                                TCEQ’s modeling is projecting. For the                      2023. If TCEQ’s 2023 modeled DVs were                    underestimations in TCEQ’s modeling
                                                EPA’s 2016 base year modeling, the EPA                      closer to recent observed monitoring                     and their unsupported methodology of
                                                undertook a large collaborative multi-                      data and anticipated 2023 monitored                      identifying maintenance receptors, their
                                                year effort with states (including Texas)                   DVs, TCEQ would likely have also                         submission as to Step 2 is also flawed.
                                                and other stakeholder input in                              identified nonattainment and/or                          We note, however, that even in its own
                                                developing the 2016 emission                                maintenance receptors in the Midwest                     modeling, TCEQ has identified
                                                inventories including 2016v2, so that                       Region.                                                  nonattainment and/or maintenance
                                                the EPA’s modeling would be based on                           To summarize, TCEQ did its own                        receptors to which it contributed more
                                                the best data available. Using a 2016                       modeling at Step 1. Our analysis shows                   than 1 percent of the NAAQS (i.e.,
                                                base year also provides a more recent                       that TCEQ’s modeling likely                              identified linkages warranting
                                                platform that shortens the number of                        underestimates ozone levels at potential                 additional analysis at Step 3).
                                                years to project emission changes,                          receptors and that TCEQ’s methodology
                                                                                                                                                                     3. Results of the EPA’s Step 1 and Step
                                                reducing uncertainties in the 2023                          for identifying maintenance receptors
                                                                                                                                                                     2 Modeling and Findings for Texas
                                                projection compared to TCEQ’s                               used to identify maintenance receptors
                                                projection from a 2012 base to 2023 or                      fails to reasonably identify areas that                     As described in Section I and
                                                the EPA’s earlier 2011 base year                            will have difficulty maintaining the                     elsewhere in this action, the EPA
                                                modeling. Use of a more recent 2016                         NAAQS.                                                   performed air quality modeling using
                                                base year also allows for the use of                                                                                 the 2016v2 emissions platform to
                                                                                                            2. Evaluation of Information Provided                    project design values and contributions
                                                monitored DVs from a more recent
                                                                                                            by TCEQ Regarding Step 2                                 for 2023. This data was examined to
                                                period. The combination of these and
                                                other issues discussed in the EPA                              TCEQ, like the EPA, used a 1 percent                  determine if Texas contributes at or
                                                Region 6 TSD result in less model                           of the ozone NAAQS (or 0.7 ppb) as the                   above the threshold of 1 percent of the
                                                uncertainty compared to TCEQ’s 2012                         ‘‘linkage’’ threshold to identify states as              2015 ozone NAAQS (0.70 ppb) to any
                                                base year modeling and has provided a                       ‘‘linked’’ for contributions it made to                  downwind nonattainment or
                                                better estimate of 2023 ozone levels and                    areas with projected air quality                         maintenance receptor. As shown in
                                                therefore, we believe a more reliable                       problems. Although TCEQ asserted that                    Table TX–4, the data 106 indicate that in
                                                                                                            the EPA treats the 1 percent threshold                   2023, emissions from Texas are
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                                                tool for predicting which areas of the
                                                country will be nonattainment or have                       as the threshold by which the EPA                        projected to contribute greater than 1
                                                difficulty maintaining the standard as                      determines ‘‘significant contribution’’                  percent of the standard to both
                                                well as assessing contributions from                        this is in fact incorrect. The EPA, like
                                                                                                                                                                        106 Design values and contributions at individual
                                                upwind states.                                              TCEQ, uses the 1 percent contribution
                                                                                                                                                                     monitoring sites nationwide are provided in the
                                                  The EPA’s modeling using both 2011                        threshold to identify those linkages                     file: ‘‘2016v2_DVs_state_contributions.xlsx’’, which
                                                and 2016 base year periods identified                       between a contributing upwind state                      is included in docket ID No. EPA–HQ–OAR–2021–
                                                that Texas was linked to nonattainment                      and a receptor projected to have air                     0663.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022     Jkt 256001   PO 00000     Frm 00034   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                       Document: 438-3                           Page: 330                   Date Filed: 09/26/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                  9831

                                                nonattainment and maintenance-only                            receptors and 2 Kenosha County, WI                                 nonattainment area (one Racine County
                                                receptors in the Chicago, IL–IN–WI                            receptors) and the Milwaukee, WI                                   receptor).107
                                                nonattainment area (4 Cook County, IL

                                                    TABLE TX–4—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH TEXAS LINKAGES BASED ON EPA
                                                                                               2016V2
                                                                                                                                                                                   2023             2023               Texas
                                                                      Receptor                                           Nonattainment/maintenance                              average DV       maximum DV          contribution
                                                              (site ID, county, state)                                                                                             (ppb)            (ppb)               (ppb)

                                                170310001, Cook, IL ......................................   Maintenance ...................................................             69.6              73.4               0.86
                                                170310032, Cook, IL ......................................   Maintenance ...................................................             69.8              72.4               1.46
                                                170314201, Cook, IL ......................................   Maintenance ...................................................             69.9              73.4               1.15
                                                170317002, Cook, IL ......................................   Maintenance ...................................................             70.1              73.0               1.58
                                                550590019, Kenosha, WI ...............................       Nonattainment ................................................              72.8              73.7               1.72
                                                550590025, Kenosha, WI ...............................       Maintenance ...................................................             69.2              72.3               1.81
                                                551010020, Racine, WI ..................................     Nonattainment ................................................              71.3              73.2               1.34



                                                   We recognize that the results of the                       earlier modeling to be of equal                                    framework) when identifying emissions
                                                EPA (2011 and 2016 base year) and                             reliability relative to more recent                                contributions that the Agency has
                                                TCEQ (2012 base year) modeling                                modeling. However, where alternative                               determined to be ‘‘significant’’
                                                indicated different receptors and                             or older modeling generated linkages,                              (contribution to nonattainment or
                                                linkages at Steps 1 and 2 of the 4-Step                       even if those linkages differ from                                 interfere with maintenance) in each of
                                                interstate transport framework. These                         linkages in the EPA’s most recent set of                           its prior Federal, regional ozone
                                                differing results regarding receptors and                     modeling (EPA 2016v2), that                                        transport rulemakings, and this
                                                linkages can be affected by the varying                       information provides further evidence,                             interpretation of the statute has been
                                                meteorology from year to year, but we                         not less, in support of a conclusion that                          upheld by the Supreme Court. See EME
                                                do not think the differing results mean                       the State is required to proceed to Step                           Homer City, 572 U.S. 489, 519 (2014).
                                                that the modeling or the EPA or the                           3 to further evaluate its emissions.                               While the EPA has not directed states
                                                State’s methodology for identifying                              Therefore, based on the EPA’s                                   that they must conduct a Step 3 analysis
                                                receptors or linkages is inherently                           evaluation of the information submitted                            in precisely the manner the EPA has
                                                unreliable. Rather, the three separate                        by TCEQ and based on the EPA 2016v2                                done in its prior regional transport
                                                modeling runs all indicated: (1) There                        modeling results for 2023, the EPA                                 rulemakings, state implementation
                                                were receptors that would struggle with                       proposes to find that Texas is linked at                           plans addressing the obligations in CAA
                                                nonattainment or maintenance in the                           Steps 1 and 2 and has an obligation to                             section 110(a)(2)(D)(i)(I) must prohibit
                                                future; and (2) Texas was linked to some                      assess potential emissions reductions                              ‘‘any source or other type of emissions
                                                set of these receptors, even if the                           from sources or other emissions activity                           activity within the State’’ from emitting
                                                receptors and linkages differed from one                      at Step 3 of the 4-Step framework.                                 air pollutants which will contribute
                                                another in their specifics (e.g., a                                                                                              significantly to downwind air quality
                                                                                                              4. Evaluation of Information Provided
                                                different set of receptors were identified                                                                                       problems. Thus, states must complete
                                                                                                              by TCEQ Regarding Step 3
                                                to have nonattainment or maintenance                                                                                             something similar to the EPA’s analysis
                                                problems, or Texas was linked to                                 At Step 3 of the 4-Step interstate                              (or an alternative approach to defining
                                                different receptors in one modeling run                       transport framework, a state’s emissions                           ‘‘significance’’ that comports with the
                                                versus another). These results indicate                       are further evaluated, considering                                 statute’s objectives) to determine
                                                that emissions from Texas were                                multiple factors, including air quality                            whether and to what degree emissions
                                                substantial enough to generate linkages                       and cost considerations, to determine                              from a state should be ‘‘prohibited’’ to
                                                at Steps 1 and 2 to some downwind                             what, if any, emissions significantly                              eliminate emissions that will
                                                receptors, under varying assumptions                          contribute to nonattainment or interfere                           ‘‘contribute significantly to
                                                and meteorological conditions, even if                        with maintenance and, thus, must be                                nonattainment in, or interfere with
                                                the precise set of linkages changed                           eliminated under CAA section                                       maintenance of’’ the NAAQS in any
                                                between modeling runs. Under these                            110(a)(2)(D)(i)(I).                                                other state. TCEQ did not demonstrate
                                                circumstances, we think it is                                    To effectively evaluate which                                   such an analysis in their SIP
                                                appropriate to proceed to a Step 3                            emissions in the state should be deemed                            submission. We therefore propose that
                                                analysis to determine what portion of                         ‘‘significant’’ and therefore prohibited,                          TCEQ was required to analyze
                                                emissions from Texas should be deemed                         states generally should prepare an                                 emissions from the sources and other
                                                ‘‘significant.’’ In doing so, we are not                      accounting of sources and other                                    emissions activity from within the State
                                                agreeing with the methods and                                 emissions activity for relevant                                    to determine whether its contributions
                                                assumptions contained in TCEQ’s                               pollutants and assess potential                                    were significant, and we propose to
                                                modeling (see previous discussion and                         additional emissions reduction                                     disapprove its submission because
                                                the EPA Region 6 TSD included in the                          opportunities and resulting downwind                               Texas failed to do so.
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                                                docket for this proposal for further                          air quality improvements. The EPA has                                 Instead, as noted in Section V.A of
                                                discussion on evaluation of that                              consistently applied this approach (i.e.,                          this action, TCEQ interpreted the Act’s
                                                modeling), or that we consider our own                        Step 3 of the 4-Step interstate transport                          requirements as only requiring an
                                                  107 These modeling results are consistent with the          CSAPR Update, as noted in Section I of this action.                2023. These modeling results are included in the
                                                results of a prior round of 2023 modeling using the           That modeling showed that Texas had a maximum                      file ‘‘Ozone Design Values And Contributions
                                                2016v1 emissions platform which became available              contribution greater than 0.70 ppb to at least one                 Revised CSAPR Update.xlsx’’ in Docket No. EPA–
                                                to the public in the fall of 2020 in the Revised              nonattainment or maintenance-only receptor in                      HQ–OAR–2021–0663.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001    PO 00000      Frm 00035     Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM      22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 331            Date Filed: 09/26/2023
                                                9832                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                analysis of emission reductions where                   above in Section II.B.4 of this action,               this is a sufficient number of days to
                                                ‘‘there is a persistent and consistent                  but, in summary, averages the                         determine if an impact is persistent
                                                pattern of contribution on several days                 contributions from an upwind state for                enough to impact an area’s ability to
                                                with elevated ozone.’’ TCEQ asserted                    up to 10 days, which is preferred, (but               attain or maintain the standard.
                                                that it would make the determination of                 a minimum 5 days) at a given receptor.                   TCEQ used the National Oceanic and
                                                whether such pattern existed based on                   Given the ozone standard is an average                Atmospheric Administration (NOAA)
                                                a weight-of-evidence approach that                      of the fourth high value from each of                 HYSPLIT 108 model to produce back
                                                takes into consideration air quality                    three years, the EPA technique, also                  trajectories for all the monitored ozone
                                                factors such as: Current attainment                     used by Texas, is appropriate to identify             exceedance days (2007–2016) for the
                                                status of the monitors, design value                    impacts of sufficient persistence to                  five receptors in Colorado and 10
                                                trends, the meteorological conditions                   impact a downwind receptor’s ability to               receptors in Southern California to
                                                that lead to high ozone formation at the                attain or maintain the standard.                      evaluate how many of the back
                                                monitor, the number of days with                           The EPA reviewed TCEQ’s evaluation                 trajectories went through Texas. TCEQ
                                                elevated observed ozone, back                           of the current attainment status of the               also used data from these back
                                                trajectories, Texas’ relative contribution              monitors and design value trends, and                 trajectories to do an endpoint count
                                                on modeled high ozone days, Texas’                      concludes, as described in more detail                analysis. We note that we have several
                                                contribution as part of the collective                  in the EPA Region 6 TSD, that the                     concerns with how TCEQ performed the
                                                interstate contribution to future                       provided information does not support                 back trajectories including start time
                                                modeled DVs, alternate contribution                     the large decreases in ozone levels that              and heights, length (number of hours) of
                                                method analysis, and model sensitivity                  TCEQ’s modeling projects will occur by                the back trajectory, inappropriate
                                                runs to reductions of Texas’ emissions                  2023. The analysis for California and                 removal of some back trajectories based
                                                on receptors. However, TCEQ stated that                 Colorado receptors provides evidence                  on start height, center-line height touch
                                                it did not consider or analyze all factors              that TCEQ’s photochemical modeling is                 down, and trajectory center-line height
                                                for every monitor. Thus, different                      overestimating the ozone reductions                   when over Texas, and inappropriate
                                                factors were analyzed for the receptors                 expected at these receptors between                   counting of trajectories by not
                                                in different regions (Colorado, Arizona,                2012 and 2023 and actually presents                   considering that the center-line
                                                and Southern California). The EPA has                   evidence that more nonattainment and/                 represents the centerline of a much
                                                reviewed the different factors that TCEQ                or maintenance receptors should have                  wider area of air parcels that could have
                                                provided for each of the regions in the                 been identified.                                      reached the monitor/receptor. Due to
                                                EPA Region 6 TSD, but we will provide                      The EPA also reviewed the trends in                these concerns, as discussed in more
                                                a brief summary of the evaluation                       the number of high ozone days per year                detail in the EPA Region 6 TSD, the EPA
                                                below. TCEQ also asserted that use of                   provided by TCEQ for Colorado and                     finds the results of TCEQ’s back
                                                the 1 percent threshold as the ‘‘sole’’                 California. While this data supports that             trajectory and endpoint analysis flawed
                                                definition of significant contribution for              the number of ozone exceedance days is                (underestimates back trajectories that
                                                the 2015 ozone NAAQS is                                 improving, neither the analysis of the                reach Texas) and do not provide
                                                inappropriate. Based on the application                 number of high ozone days in Colorado                 evidence that refutes the TCEQ
                                                of selected factors for each of the                     or California provide any evidence to                 photochemical modeling analysis
                                                monitors to which TCEQ’s modeling                       refute the TCEQ’s photochemical                       results.
                                                found that it was linked, TCEQ                          modeling results that show these areas                   We note that even valid back
                                                concluded that none of its contributions                should be considered nonattainment                    trajectories are of limited use as
                                                to any other states were significant.                   and/or maintenance receptors. TCEQs                   HYSPLIT simply estimates the path a
                                                   As explained above, TCEQ has                         modeling overestimates ozone                          parcel of air backward in hourly steps
                                                mischaracterized the EPA’s                              reductions yet still shows Texas linked               for a specified length of time. HYSPLIT
                                                interpretation of the CAA in stating that               to receptors at both nonattainment and                estimates the central path in both the
                                                the EPA defines significant contribution                maintenance levels in 2023.                           vertical and horizontal planes. The
                                                ‘‘solely’’ using a 1 percent threshold.                    The TCEQ cited a conceptual model                  HYSPLIT central path represents the
                                                The EPA, like TCEQ, uses the 1 percent                  of ozone formation for areas in Southern              centerline with the understanding that
                                                threshold to identify areas for further                 California. TCEQ indicated that                       there are areas on each side horizontally
                                                analysis. The difference is that the EPA                Southern California is isolated and                   and vertically that also contribute to the
                                                in past analyses has examined potential                 transport into the basin is unlikely on a             concentrations at the end point. The
                                                emission reductions in linked upwind                    frequent basis, but this information does             horizontal and vertical areas that
                                                states and the air quality impacts at                   not refute the TCEQ’s modeling. As                    potentially contribute to concentrations
                                                downwind receptors that would result                    discussed in Section III.B.3 of this                  at the endpoint (monitor) grow wider
                                                from the implementation of those                        action, photochemical modeling is the                 from the centerline the further back in
                                                reductions to assess which                              most sophisticated tool available to                  time the trajectory goes. Therefore, a
                                                contributions are ‘‘significant.’’ This                 estimate future ozone levels and                      HYSPLIT centerline does not have to
                                                interpretation of significant                           contributions to those modeled future                 pass directly over emissions sources or
                                                contribution, as discussed above, has                   ozone levels. Consideration of the                    emission source areas, but merely
                                                been upheld by the Supreme Court and                    different processes that affect primary               relatively near emission source areas for
                                                the D.C. Circuit.                                       and secondary pollutants at the regional              those areas, to contribute to
                                                   As an initial matter, the EPA believes               scale in different locations is                       concentrations at the trajectory
                                                                                                        fundamental to understanding and
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                                                source apportionment modeling, as                                                                             endpoint. The EPA relies on back
                                                performed by the EPA and also by                        assessing the effects of emissions on air             trajectory analysis as a corollary
                                                TCEQ, to determine which states are                     quality concentrations. TCEQ’s                        analysis along with observation-based
                                                linked is an appropriate tool to identify               modeling showed transport at 10                       meteorological wind fields at multiple
                                                impacts that are persistent enough to                   monitors having contributions greater                 heights to examine the general
                                                impact a downwind receptors ability to                  than 0.7 ppb on average for the 5–10                  plausibility of the photochemical model
                                                attain or maintain the standard. This                   days used in the modeling analyses.
                                                approach is described in more detail                    Considering the form of the standard,                   108 See FN 34.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 332            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                  9833

                                                ‘‘linkages.’’ Since the back trajectory                 small compared to Intra-State                         issues, these values could be higher. Not
                                                calculations do not account for any air                 contribution.                                         surprisingly, the DDM tool shows that
                                                pollution formation, dispersion,                           As an initial matter, the EPA is not               monitors in Colorado are much more
                                                transformation, or removal processes as                 solely relying on TCEQ’s findings of                  responsive to intra-state reductions than
                                                influenced by emissions, chemistry,                     linkages to Colorado and California but               reductions in Texas. That said, the
                                                deposition, etc., the trajectories cannot               is also relying on its own findings of                results of the DDM tool showing only a
                                                be used to develop quantitative                         linkages to areas in the Midwest Region.              relatively small response to reductions
                                                contributions. Therefore, back                          As such, TCEQ’s analysis of relative                  is not inconsistent with the finding that
                                                trajectories cannot be used to                          contributions to Colorado and California              Texas emissions contribute significantly
                                                quantitatively evaluate the magnitude of                does not provide justification for not                to elevated readings in Colorado. As has
                                                the existing photochemical                              addressing downwind impacts.                          been discussed elsewhere, the EPA
                                                contributions from upwind states to                     Nonetheless, EPA has found in the past                believes a contribution of 1 percent of
                                                downwind receptors. It is interesting to                that certain California receptors are so              the standard is an appropriate threshold
                                                note that TCEQ’s analysis of the back                   heavily impacted by local emissions,                  such that further analysis is warranted.
                                                trajectories indicates that the 2012                    and total upwind contribution is so low,                 Overall, these additional analyses
                                                meteorology used by TCEQ seemed to                      that those receptors may not be                       performed by TCEQ do not provide
                                                yield more back trajectories that reach                 considered to be affected by interstate               sufficient evidence to refute the
                                                Texas than most years for many of the                   ozone transport. See 81 FR 15200 (Mar.                modeling results that TCEQ’s modeling
                                                Colorado monitors. This seems to be                     22, 2016). However, this is a narrow                  indicates downwind nonattainment
                                                consistent with TCEQ identifying                        circumstance that does not apply in the               and/or maintenance receptors in
                                                linkages to Colorado when the EPA’s                     vast majority of cases and has never                  Colorado and Southern California are
                                                modeling of 2016 does not.                              been applied outside of California. EPA               impacted by Texas emissions and Texas’
                                                   TCEQ performed an alternate                          has previously found, for instance, that              contribution is 0.7 ppb or greater.109 In
                                                contribution analysis for the ten                       receptors in Colorado are heavily                     fact, the monitored ozone design value
                                                California receptors and the five                       impacted by upwind-state contribution.                trends provide evidence that future year
                                                Colorado receptors using all days                       See 82 FR 9155 (Feb. 3, 2017); 81 FR                  modeled ozone levels are
                                                modeled in 2023 that had values over 70                 71991 (Oct. 19, 2016). EPA need not                   underestimated by TCEQ’s modeling
                                                ppb rather than focus on just the 5–10                  draw any conclusions here regarding                   and there are likely more receptors that
                                                highest values under the EPA’s                          whether the California sites TCEQ                     should have been identified with
                                                technique. Particularly for California,                 identified should or should not be                    additional potential linkages. Although
                                                this meant many more days could be                      considered receptors for ozone-transport              Texas asserted that its additional air
                                                included in the average which had the                   purposes. EPA affirms, contrary to                    quality factor analysis is a permissible
                                                effect of showing a smaller estimated                   TCEQ’s suggestion, that the Colorado                  way to interpret which contributions are
                                                contribution. We believe it is                          receptors TCEQ analyzed are impacted                  ‘‘significant’’ because that analysis
                                                appropriate to focus on the highest                     by upwind state contributions.                        examines whether there was a
                                                values as these are the ones that                       However, the EPA’s finding that Texas                 ‘‘persistent and consistent pattern of
                                                ultimately will have to be reduced for                  is linked to receptors in other states is             contribution on several days with
                                                the standard to be attained. As                         based on still other linkages found in                elevated ozone’’ we find that such
                                                discussed in the EPA Region 6 TSD, the                  EPA’s modeling to receptors in other                  pattern is already established by a
                                                EPA’s review of TCEQ’s alternate                        states, which are clearly impacted by                 modeled linkage at Step 2.
                                                contribution method analysis for                        the collective contribution of multiple                  In addition, EPA 2016v2 modeling
                                                California and Colorado receptors is that               upwind states, including Texas. Under                 using 2016 base year meteorology
                                                it does not provide substantial evidence                CAA section 110(a)(2)(D)(i)(I)                        indicates linkages from Texas to
                                                that refutes the TCEQ’s photochemical                   downwind states are not obligated to                  receptors in the Midwest Region but
                                                modeling analysis results, including the                reduce emissions on their own to                      does not indicate impacts from Texas
                                                contribution analysis using the EPA’s                   resolve nonattainment or maintenance                  emissions on the Colorado and other
                                                contribution methodology.                               problems. Rather, states are obligated to             western receptors identified by TCEQ.
                                                   TCEQ provided an analysis of                         eliminate their own significant                       With a different base period such as
                                                collective interstate contribution to the               contribution or interference with the                 TCEQ’s 2012 base period meteorology
                                                2023 DV for the five Colorado and ten                   ability of other states to attain or                  and the EPA’s 2016 base period
                                                California receptors. The collective                    maintain the NAAQS.                                   meteorology, it is not uncommon that
                                                interstate contribution at tagged                          TCEQ also performed photochemical                  the potential downwind nonattainment
                                                Colorado receptors ranges from 9.32%                    modeling analysis using the Direct                    or maintenance receptors could change.
                                                to 10.27%. The collective interstate                    Decoupled Method (DDM) tool for                       These differing results about receptors
                                                contribution at tagged California                       receptors in Colorado. DDM provides a                 and linkages can be affected by the
                                                receptors ranges from 3.2% to 4.58%.                    first derivative of the changes in ozone              varying meteorology from year to year
                                                TCEQ argues that these are small                        (linear relationship where the DDM                    and the selection of different base years,
                                                percentages (Colorado and California)                   value is the slope of the line for changes            but we do not think the differing results
                                                and not as high as the collective                       in ozone) resulting from changes in NOX               mean that the modeling or the EPA
                                                interstate contribution percentages the                 emissions from all Texas’ NOX                         methodology for identifying receptors or
                                                EPA calculated for monitors in Eastern                  emissions. The DDM modeling does                      linkages is inherently unreliable. Rather,
lotter on DSK11XQN23PROD with PROPOSALS2




                                                States, which ranged from 17% to 67%.                   show some response to Texas NOX                       these separate modeling runs indicated
                                                TCEQ also notes that a significant                      emissions but from the scale it is hard               (1) that there were receptors that would
                                                portion of the tagged Colorado monitors’                to discern the level of response but it
                                                2023 modeled DVs is due to background                   appears to be in the 0–2 ppb range in                   109 TCEQ also identified a monitor in Cochise

                                                emissions (sum of contributions from to                 general with some values in the 0.2 –2                County, Arizona (ID 40038001), but the monitor’s
                                                                                                                                                              recent DVs are below the NAAQS. From AQS, the
                                                biogenic, fires, and boundary                           ppb range for modeled values over 60                  2014–2016 and 2015–2017 DVs are each 65 ppb;
                                                conditions). For the California receptors               ppb. Since the modeling has                           2016–2018, 2017–2019, and 2018–2020 DVs are 66
                                                TCEQ argues that these percentages are                  underprediction and underestimation                   ppb; and preliminary 2019–2021 DV is 66 ppb.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                  Case: 23-60069                     Document: 438-3                   Page: 333            Date Filed: 09/26/2023
                                                9834                    Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                struggle with nonattainment or                           However, the State’s interstate transport              VII. Statutory and Executive Order
                                                maintenance in the future, and (2) that                  submission did not revise its SIP to                   Reviews
                                                Texas was linked to some set of these                    identify any specific emission                         A. Executive Order 12866: Regulatory
                                                receptors, even if the receptors and                     reductions, nor did it include a revision              Planning and Review and Executive
                                                linkages differed from one another in                    to its SIP to ensure any such reductions               Order 13563: Improving Regulation and
                                                their specifics (e.g., a different set of                were permanent and enforceable. The                    Regulatory Review
                                                receptors were identified to have                        other control measures identified in
                                                nonattainment or maintenance                             TCEQ’s submission are, as noted by                       This action is not a significant
                                                problems, or Texas was linked to                         TCEQ, already adopted and                              regulatory action and was therefore not
                                                different receptors in one modeling run                                                                         submitted to the Office of Management
                                                                                                         implemented measures and do not
                                                versus another). We think this common                                                                           and Budget for review
                                                                                                         contain an evaluation of additional
                                                result indicates that Texas’s emissions                  emission control opportunities (or                     B. Paperwork Reduction Act (PRA)
                                                were substantial enough to generate
                                                                                                         establish that no additional controls are                This proposed action does not impose
                                                linkages at Steps 1 and 2 to some set of
                                                                                                         required). As a result, the EPA proposes               an information collection burden under
                                                downwind receptors, under varying
                                                assumptions and meteorological                           to disapprove TCEQ’s submittal on the                  the PRA because it does not contain any
                                                conditions, even if the precise set of                   separate, additional basis that the Texas              information collection activities
                                                linkages changed between modeling                        has not included permanent and
                                                                                                         enforceable emissions reductions in its                C. Regulatory Flexibility Act (RFA)
                                                runs.
                                                                                                         SIP as necessary to meet the obligations                  I certify that this action will not have
                                                   In sum, the EPA’s more recent and                                                                            a significant economic impact on a
                                                                                                         of CAA section 110(a)(2)(d)(i)(I).
                                                robust 2016 base year modeling                                                                                  substantial number of small entities
                                                platform indicates that Texas is linked                  6. Conclusion                                          under the RFA. This action merely
                                                to several receptors in the Midwest                                                                             proposes to disapprove a SIP
                                                Region as does the EPA’s earlier 2011                      Based on the EPA’s evaluation of
                                                                                                                                                                submission as not meeting the CAA.
                                                base year modeling. TCEQ’s 2012 base                     TCEQ’s SIP submission, the EPA is
                                                case modeling showed linkages to states                  proposing to find that the Texas August                D. Unfunded Mandates Reform Act
                                                in the west. As discussed, the EPA does                  17, 2018, SIP submission pertaining to                 (UMRA)
                                                not find the additional weight of                        interstate transport of air pollution does                This action does not contain any
                                                evidence evaluations conducted by                        not meet the State’s interstate transport              unfunded mandate as described in
                                                TCEQ provide compelling reasons to                       obligations, because it fails to contain               UMRA, 2 U.S.C. 1531–1538, and does
                                                discount the impacts indicated in                        the necessary provisions to eliminate                  not significantly or uniquely affect small
                                                Colorado and California by the TCEQ                      emissions that will contribute                         governments. The action imposes no
                                                modeling. In fact, we think TCEQ’s                       significantly to nonattainment or                      enforceable duty on any state, local or
                                                modeling likely underestimates these                     interfere with maintenance of the 2015                 tribal governments or the private sector.
                                                issues. We therefore propose that Texas                  ozone NAAQS in any other state.
                                                was required to analyze emissions from                                                                          E. Executive Order 13132: Federalism
                                                the sources and other emissions activity                 VI. Proposed Action                                      This action does not have federalism
                                                from within the State to determine                                                                              implications. It will not have substantial
                                                                                                           We are proposing to disapprove the
                                                whether its contributions were                                                                                  direct effects on the states, on the
                                                significant, and we propose to                           SIP submissions from Arkansas,
                                                                                                                                                                relationship between the national
                                                disapprove its submission because                        Louisiana, Oklahoma, and Texas
                                                                                                                                                                government and the states, or on the
                                                Texas failed to do so.                                   pertaining to interstate transport of air              distribution of power and
                                                                                                         pollution which will significantly                     responsibilities among the various
                                                5. Evaluation of Information Provided                    contribute to nonattainment or interfere
                                                by TCEQ Regarding Step 4                                                                                        levels of government.
                                                                                                         with maintenance of the 2015 ozone
                                                                                                         NAAQS in other states. Under CAA                       F. Executive Order 13175: Consultation
                                                   Step 4 of the 4-Step interstate                                                                              and Coordination With Indian Tribal
                                                transport framework calls for                            section 110(c)(1), the disapprovals
                                                                                                         would establish a 2-year deadline for                  Governments
                                                development of permanent and
                                                federally enforceable control strategies                 the EPA to promulgate FIPs for these                     This proposed action disapproving
                                                to achieve the emissions reductions                      states to address the CAA section                      the portion of Oklahoma’s SIP
                                                determined to be necessary at Step 3 to                  110(a)(2)(D)(i)(I) interstate transport                submission addressing the State’s
                                                eliminate significant contribution to                    requirements pertaining to significant                 interstate transport obligations under
                                                nonattainment or interference with                       contribution to nonattainment and                      CAA section 110(a)(2)(D)(i)(I) for the
                                                maintenance of the NAAQS. Texas                          interference with maintenance of the                   2015 ozone NAAQS will apply to
                                                indicated that because a number of                       2015 ozone NAAQS in other states,                      certain areas of Indian country as
                                                counties in its state had been designated                unless the EPA approves SIPs that meet                 discussed in Section IV.C of this action,
                                                nonattainment for the 2015 ozone                         these requirements. Disapproval does                   and therefore, has tribal implications as
                                                NAAQS, there could be attainment                         not start a mandatory sanctions clock for              specified in E.O. 13175 (65 FR 67249,
                                                demonstration and potential controls                     Arkansas, Louisiana, Oklahoma, or                      November 9, 2000). However, this
                                                contemplated in association with those                   Texas.                                                 proposed action will neither impose
                                                                                                                                                                substantial direct compliance costs on
lotter on DSK11XQN23PROD with PROPOSALS2




                                                nonattainment designations.110
                                                                                                                                                                federally recognized tribal governments,
                                                  110 Pointing to anticipated upcoming emission                                                                 nor preempt tribal law. This proposed
                                                reductions, even if they were not included in the                                                               action will not impose substantial direct
                                                analysis at Steps 1 and 2, is not sufficient as a Step                                                          compliance costs on federally
                                                3 analysis, for the reasons discussed in Section
                                                V.B.4 of this action. In this section, we explain that
                                                                                                                                                                recognized tribal governments because
                                                to the extent such anticipated reductions are not        enforceable, reliance on such anticipated reductions   no actions will be required of tribal
                                                included in the SIP and rendered permanent and           is also insufficient at Step 4.                        governments. This proposed action will


                                           VerDate Sep<11>2014    20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                 Case: 23-60069                     Document: 438-3                   Page: 334            Date Filed: 09/26/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                      9835

                                                also not preempt tribal law as no                       regulations promulgated, or final actions              particular, the EPA is applying here
                                                Oklahoma tribe implements a regulatory                  taken, by the Administrator,’’ or (ii)                 (and in other proposed actions related to
                                                program under the CAA, and thus does                    when such action is locally or regionally              the same obligations) the same,
                                                not have applicable or related tribal                   applicable, if ‘‘such action is based on               nationally consistent 4-Step framework
                                                laws. Consistent with the EPA Policy on                 a determination of nationwide scope or                 for assessing interstate transport
                                                Consultation and Coordination with                      effect and if in taking such action the                obligations for the 2015 ozone NAAQS.
                                                Indian Tribes (May 4, 2011), the EPA                    Administrator finds and publishes that                 The EPA relies on a single set of
                                                will offer consultation to tribal                       such action is based on such a                         updated, 2016 base year photochemical
                                                governments whose lands are located                     determination.’’ For locally or regionally             grid modeling results of the year 2023
                                                within the exterior boundaries of the                   applicable final actions, the CAA                      as the primary basis for its assessment
                                                State of Oklahoma that may be affected                  reserves to the EPA complete discretion                of air quality conditions and
                                                by this action.                                         whether to invoke the exception in                     contributions at Steps 1 and 2 of the 4-
                                                                                                        (ii).111                                               Step framework. Further, the EPA
                                                G. Executive Order 13045: Protection of                    The EPA anticipates that this
                                                Children From Environmental Health                                                                             proposes to determine and apply a set
                                                                                                        proposed rulemaking, if finalized,
                                                Risks and Safety Risks                                                                                         of nationally consistent policy
                                                                                                        would be ‘‘nationally applicable’’
                                                  The EPA interprets Executive Order                    within the meaning of CAA section                      judgments to apply the 4-Step
                                                13045 as applying only to those                         307(b)(1) because it would take final                  framework. The EPA has selected a
                                                regulatory actions that concern                         action on SIP submittals for the 2015                  nationally uniform analytic year (2023)
                                                environmental health or safety risks that               ozone NAAQS for four states, which are                 for this analysis and is applying a
                                                the EPA has reason to believe may                       located in three different Federal                     nationally uniform approach to
                                                disproportionately affect children, per                 judicial circuits. It would apply                      nonattainment and maintenance
                                                the definition of ‘‘covered regulatory                  uniform, nationwide analytical                         receptors and a nationally uniform
                                                action’’ in section 2–202 of the                        methods, policy judgments, and                         approach to contribution threshold
                                                Executive Order. This action is not                     interpretation with respect to the same                analysis.112 For these reasons, the
                                                subject to Executive Order 13045                        CAA obligations, i.e., implementation of               Administrator intends, if this proposed
                                                because it merely proposes to                           interstate transport requirements under                action is finalized, to exercise the
                                                disapprove a SIP submission as not                      CAA section 110(a)(2)(D)(i)(I) for the                 complete discretion afforded to him
                                                meeting the CAA.                                        2015 ozone NAAQS for states across the                 under the CAA to make and publish a
                                                H. Executive Order 13211, Actions That                  country, and final action would be                     finding that this action is based on one
                                                Significantly Affect Energy Supply,                     based on this common core of                           or more determinations of nationwide
                                                Distribution or Use                                     determinations, described in further                   scope or effect for purposes of CAA
                                                                                                        detail below.                                          section 307(b)(1).113
                                                  This action is not subject to Executive                  If the EPA takes final action on this
                                                Order 13211, because it is not a                        proposed rulemaking[, in the                           List of Subjects in 40 CFR Part 52
                                                significant regulatory action under                     alternative,] the Administrator intends
                                                Executive Order 12866.                                                                                           Environmental protection, Air
                                                                                                        to exercise the complete discretion
                                                                                                                                                               pollution control, Incorporation by
                                                I. National Technology Transfer and                     afforded to him under the CAA to make
                                                                                                                                                               reference, Ozone.
                                                Advancement Act                                         and publish a finding that the final
                                                                                                        action (to the extent a court finds the                  Authority: 42 U.S.C. 7401 et seq.
                                                   This rulemaking does not involve                     action to be locally or regionally
                                                technical standards.                                                                                             Dated: February 1, 2022.
                                                                                                        applicable) is based on a determination                Earthea Nance,
                                                J. Executive Order 12898: Federal                       of ‘‘nationwide scope or effect’’ within
                                                                                                        the meaning of CAA section 307(b)(1).                  Regional Administrator, Region 6.
                                                Actions To Address Environmental
                                                                                                        Through this rulemaking action (in                     [FR Doc. 2022–02961 Filed 2–18–22; 8:45 am]
                                                Justice in Minority Populations and
                                                Low-Income Populations                                  conjunction with a series of related                   BILLING CODE 6560–50–P

                                                   The EPA believes the human health or                 actions on other SIP submissions for the
                                                                                                                                                                 112 A finding of nationwide scope or effect is also
                                                environmental risk addressed by this                    same CAA obligations), the EPA
                                                                                                        interprets and applies section                         appropriate for actions that cover states in multiple
                                                action will not have potential                                                                                 judicial circuits. In the report on the 1977
                                                disproportionately high and adverse                     110(a)(2)(d)(i)(I) of the CAA for the 2015
                                                                                                                                                               Amendments that revised section 307(b)(1) of the
                                                human health or environmental effects                   ozone NAAQS based on a common core                     CAA, Congress noted that the Administrator’s
                                                on minority, low-income or indigenous                   of nationwide policy judgments and                     determination that the ‘‘nationwide scope or effect’’
                                                populations. This action merely                         technical analysis concerning the                      exception applies would be appropriate for any
                                                proposes to disapprove a SIP                            interstate transport of pollutants                     action that has a scope or effect beyond a single
                                                submission as not meeting the CAA.                      throughout the continental U.S. In                     judicial circuit. See H.R. Rep. No. 95–294 at 323,
                                                                                                                                                               324, reprinted in 1977 U.S.C.C.A.N. 1402–03.
                                                K. CAA Section 307(b)(1)                                   111 In deciding whether to invoke the exception       113 The EPA may take a consolidated, single final

                                                                                                        by making and publishing a finding that an action      action on all of the proposed SIP disapproval
                                                  Section 307(b)(1) of the CAA governs                  is based on a determination of nationwide scope or     actions with respect to obligations under CAA
                                                judicial review of final actions by the                 effect, the Administrator takes into account a         section 110(a)(2)(D)(i)(I) for the 2015 ozone
                                                EPA. This section provides, in part, that               number of policy considerations, including his         NAAQS. Should the EPA take a single final action
                                                                                                        judgment balancing the benefit of obtaining the D.C.
                                                petitions for review must be filed in the               Circuit’s authoritative centralized review versus
                                                                                                                                                               on all such disapprovals, this action would be
lotter on DSK11XQN23PROD with PROPOSALS2




                                                D.C. Circuit: (i) When the agency action                allowing development of the issue in other contexts    nationally applicable, and the EPA would also
                                                consists of ‘‘nationally applicable                     and the best use of agency resources.                  anticipate, in the alternative, making and
                                                                                                                                                               publishing a finding that such final action is based
                                                                                                                                                               on a determination of nationwide scope or effect.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00039   Fmt 4701   Sfmt 9990   E:\FR\FM\22FEP2.SGM   22FEP2
  Case: 23-60069   Document: 438-3   Page: 335   Date Filed: 09/26/2023




Tab R6-2: EPA Region 6 2015 8-Hour Ozone Transport SIP
 Proposal Technical Support Document (Jan. 25, 2022)
             (EPA-R06-OAR-2021-0801-0002)
    Case: 23-60069     Document: 438-3        Page: 336   Date Filed: 09/26/2023




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      F)XWXUH<HDU%RXQGDU\&RQGLWLRQV
 7&(42WKHU)DFWRU$QDO\VLV :HLJKWRI(YLGHQFH 
      D7&(4LQGLFDWHGWKDWWKHUHDUHSUREOHPVZLWK'9WUHQGV
      E7&(4HYDOXDWHGWKHQXPEHURIHOHYDWHGR]RQHGD\V RYHUSSE DQQXDOO\IRUPRQLWRUV
      LQWKH'HQYHUDQG6RXWKHUQ&DOLIRUQLDDUHDV
      F7&(4%DFN7UDMHFWRU\$QDO\VLV
      G7H[DVFRQWULEXWLRQRQDOOGD\VLQZLWKR]RQHJUHDWHUWKDQSSE
      H&ROOHFWLYH,QWHUVWDWH&RQWULEXWLRQWR)XWXUH'9
      I7&(4DOVRSHUIRUPHG'LUHFW'HFRXSOHG0HWKRG ''0 PRGHOLQJIRUUHFHSWRUVLQ
      &RORUDGR
      J6RXWKHUQ&DOLIRUQLD2]RQH&RQFHSWXDO0RGHO
      K6XPPDU\
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      Case: 23-60069         Document: 438-3          Page: 338     Date Filed: 09/26/2023

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,QWURGXFWLRQ

       7KLV7HFKQLFDO6XSSRUW'RFXPHQW 76' SURYLGHVDGGLWLRQDODQDO\VLVRIWKH7H[DV

&RPPLVVLRQRQ(QYLURQPHQWDO4XDOLW\¶V 7&(4 DLUTXDOLW\PRGHOLQJUHOLHGXSRQLQLWV$XJXVW

6WDWH,PSOHPHQWDWLRQ3ODQ 6,3 VXEPLVVLRQDGGUHVVLQJLQWHUVWDWHWUDQVSRUWREOLJDWLRQV

IRUWKHR]RQHQDWLRQDODPELHQWDLUTXDOLW\VWDQGDUGV 1$$46 $VGLVFXVVHGLQWKHQRWLFH

RISURSRVHGGLVDSSURYDOWKH(3$KDVLGHQWLILHGVHYHUDOFRQFHUQVZLWKWKHUHOLDELOLW\RI7&(4¶V

PRGHOLQJDQGWKHDSSOLFDWLRQRIWKRVHPRGHOLQJUHVXOWVLQDVVHVVLQJ7H[DV¶VSRWHQWLDO

FRQWULEXWLRQVWRGRZQZLQGR]RQH6WDWHVDUHIUHHWRGHYHORSWKHLURZQPRGHOLQJLQVXSSRUWRI

6,3VXEPLVVLRQV7KDWPRGHOLQJLWVDSSOLFDWLRQDQGRWKHUWHFKQLFDODQDO\VHVPXVWEHWHFKQLFDOO\

VXSSRUWDEOHDQGWKH(3$LVREOLJDWHGWRDVVHVVDQGHYDOXDWHWKHUHOLDELOLW\RIHDFKVWDWH¶V

WHFKQLFDOGHPRQVWUDWLRQZKHQGHWHUPLQLQJZKHWKHUWKH&OHDQ$LU$FW¶V WKH$FWRU&$$ 

UHTXLUHPHQWVDUHPHW%DVHGRQWKH(3$¶VHYDOXDWLRQRIWKH6,3VXEPLVVLRQWKH(3$LV

SURSRVLQJWRILQGWKDW7&(4¶V$XJXVW6,3VXEPLVVLRQGRHVQRWPHHWWKH6WDWH¶V

REOLJDWLRQVZLWKUHVSHFWWRSURKLELWLQJHPLVVLRQVWKDWFRQWULEXWHVLJQLILFDQWO\WRQRQDWWDLQPHQWRU

LQWHUIHUHZLWKPDLQWHQDQFHRIWKHR]RQH1$$46LQDQ\RWKHUVWDWHSee)HGHUDO5HJLVWHU

1RWLFH³$LU3ODQ'LVDSSURYDO$UNDQVDV/RXLVLDQD2NODKRPDDQG7H[DV,QWHUVWDWH7UDQVSRUW

RI$LU3ROOXWLRQIRUWKHKRXU2]RQH1DWLRQDO$PELHQW$LU4XDOLW\6WDQGDUGV´ 'RFNHW,'

1R(3$52$5SURSRVHGDFWLRQ &HUWDLQOHJDOSROLF\DQGWHFKQLFDOEDVHVIRU

WKDWGHWHUPLQDWLRQDUHGLVFXVVHGLQWKHSUHDPEOHRIWKHQRWLFHRISURSRVHGGLVDSSURYDO,Q

DGGLWLRQWKH2NODKRPD'HSDUWPHQWRI(QYLURQPHQWDO4XDOLW\ 2'(4 DOVRUHOLHGRQ7&(4¶V

PRGHOLQJDQDO\VLVLQWKHLU6,37KXVWKH(3$¶VFRQFHUQVZLWK7&(4¶VPRGHOLQJDOVRLPSDFWWKH

DSSURYDELOLW\RIWKH2NODKRPD2]RQH7UDQVSRUW6,37KH(3$¶VIXUWKHUDVVHVVPHQWDQG

HYDOXDWLRQRIWKHUHOLDELOLW\RIWKHWHFKQLFDOGHPRQVWUDWLRQLQ7&(4¶V6,3LVGLVFXVVHGLQWKLV
        Case: 23-60069       Document: 438-3           Page: 339    Date Filed: 09/26/2023

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GRFXPHQW,Q6HFWLRQZHHYDOXDWH7&(4¶VPDLQWHQDQFHUHFHSWRUPHWKRGRORJ\,Q6HFWLRQ

ZHDQDO\]H7&(4¶VPRGHOLQJUHVXOWVERWKIXWXUH\HDUSURMHFWLRQVDQGEDVHFDVHPRGHO

SHUIRUPDQFH,Q6HFWLRQZHSURYLGHUHVXOWVRI(3$¶VPRGHOLQJDQGDQDO\]HUHVXOWVRI7&(4¶V

PRGHOLQJFRPSDUHGZLWKUHFHQWPRQLWRULQJGDWD,Q6HFWLRQZHDQDO\]HRWKHUSRWHQWLDO

FRQFHUQVZLWK7&(4¶VPRGHOLQJDQDO\VLV,Q6HFWLRQZHHYDOXDWH7&(4¶VRWKHUIDFWRUV

DQDO\VLV,Q6HFWLRQZHVXPPDUL]HRXUWHFKQLFDOHYDOXDWLRQ


      0DLQWHQDQFH5HFHSWRU0HWKRGRORJ\

         $VGLVFXVVHGLQ6HFWLRQ9$RIWKHQRWLFHRISURSRVHGGLVDSSURYDOLQDGGLWLRQWRWKHXVH

RIDQDOWHUQDWLYHPRGHOLQJSODWIRUP7&(4DOVRFUHDWHGLWVRZQPHWKRGIRULGHQWLI\LQJ

PDLQWHQDQFHUHFHSWRUV7KLVVHFWLRQRIWKH76'SURYLGHVIXUWKHUGLVFXVVLRQDVWRZK\WKH(3$

SURSRVHV7&(4KDVQRWSURYLGHGDVXIILFLHQWWHFKQLFDOEDVLVIRULWVFKRVHQPHWKRG,QVXEVHFWLRQ

DZHHYDOXDWHWKHHIIHFWRIXVLQJ7&(4¶VDSSURDFKDQGILQGWKDWLWSURGXFHVDQRPDORXV

UHVXOWV,QVXEVHFWLRQEZHUHYLHZWKHKLVWRU\RI(3$¶VPRGHOLQJJXLGDQFHUHFRPPHQGLQJWKH

XVHRID\HDU LHVSDQQLQJWKUHHGHVLJQYDOXHV UDWKHUWKDQD\HDU LHRQO\RQHGHVLJQ

YDOXH EDVHSHULRG,QVXEVHFWLRQFZHHYDOXDWHLQWHUDQQXDOYDULDWLRQLQGHVLJQYDOXHV '9V 

GXHWRPHWHRURORJLFDOYDULDELOLW\DQGORQJWHUPR]RQHWUHQGVGXHWRHPLVVLRQVWUHQGV,Q

VXEVHFWLRQGZHDQDO\]HPHWHRURORJLFDODGMXVWHGR]RQHFRQFHQWUDWLRQVIRUWKH

SHULRG

      D8VHRI6LQJOH'97R3URMHFW0DLQWHQDQFH5HFHSWRUV

         $VH[SODLQHGLQWKHSUHDPEOHLQGHILQLQJPDLQWHQDQFHUHFHSWRUV7&(4XVHGRQO\WKH

PRVWUHFHQW'9RIWKHVHWRIWKUHH'9VLWUHOLHGRQIRULWVEDVHSHULRGPRGHOLQJUHJDUGOHVVRI

ZKHWKHUWKDWPRVWUHFHQWGHVLJQYDOXHZDVWKHKLJKHVWRIWKHWKUHH7&(4¶VSURIIHUHG

H[SODQDWLRQIRUXVLQJWKHPRVWUHFHQW'9WRLGHQWLI\PDLQWHQDQFHUHFHSWRUVZDVWKDWWKHODWHVW
       Case: 23-60069            Document: 438-3             Page: 340       Date Filed: 09/26/2023

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'9³WDNHVLQWRFRQVLGHUDWLRQERWKPHWHRURORJLFDOYDULDELOLW\ VLQFHWKHODWHVWUHJXODWRU\GHVLJQ

YDOXHLVLWVHOIDQDYHUDJHRIWKHIRXUWKKLJKHVWPHDVXUHGFRQFHQWUDWLRQVIRUWKUHH\HDUV DQGDQ\

HPLVVLRQVUHGXFWLRQVWKDWPLJKWKDYHRFFXUUHG´+RZHYHUDVGLVFXVVHGEHORZWKH(3$GRHV

QRWEHOLHYHWKLVDSSURDFKDGHTXDWHO\WDNHVLQWRDFFRXQWPHWHRURORJLFDOYDULDELOLW\LQLGHQWLI\LQJ

WKRVHDUHDVWKDWDUHSURMHFWHGWRPHHWWKH1$$46EXWPD\QHYHUWKHOHVVVWUXJJOHWRPDLQWDLQWKH

1$$46

        7RGHYHORSDEHWWHUWHFKQLFDOXQGHUVWDQGLQJRIWKHHIIHFWVRI7&(4¶VDSSURDFK LQ

DGGLWLRQWRWKRVHUHDVRQVSUHVHQWHGLQWKHSUHDPEOH WKH(3$FRQGXFWHGDUHYLHZRISRWHQWLDO

UHFHSWRUVWRZKLFK7H[DVKDVEHHQOLQNHGLQGLIIHULQJPRGHOLQJDQDO\VHV7KH(3$LGHQWLILHG

SRWHQWLDOUHFHSWRUVWRZKLFK7H[DVFRQWULEXWHGSDUWVSHUELOOLRQ SSE RUPRUHLQHLWKHU(3$¶V

YEDVHGPRGHOLQJIRURU7&(4¶VEDVHGPRGHOLQJIRU7KH(3$WKHQ

HYDOXDWHGWKHUHVXOWVRIXVLQJ7&(4¶VDOWHUQDWHPDLQWHQDQFHPHWKRGRORJ\7RLGHQWLI\

QRQDWWDLQPHQWUHFHSWRUVWKHQRQDWWDLQPHQWPHWKRGRORJ\FDOFXODWHVDYHUDJH'9V DOVR

UHIHUUHGWRDV1RQDWWDLQPHQW'9V XVLQJWKH\HDUFHQWHUZHLJKWHGDYHUDJHDPELHQW

GHVLJQYDOXHVFHQWHUHGRQWKHEDVHPRGHOLQJ\HDUVDQGWKH5HODWLYH5HVSRQVHIDFWRUV 55)V 

        ,Q7DEOHEHORZWKH(3$FRPSLOHGWKHDYHUDJH'9VXVHGIRULGHQWLI\LQJ

QRQDWWDLQPHQWUHFHSWRUVIRUSRWHQWLDOUHFHSWRUVLQ,OOLQRLV:LVFRQVLQ&RORUDGR$UL]RQDDQG

&DOLIRUQLD7KH(3$WKHQXWLOL]HG7&(4¶VEDVHGPRGHOLQJUHVXOWVWRREWDLQWKHGDWD

QHHGHGWRFDOFXODWHPDLQWHQDQFH'9VXVLQJ7&(4¶VDSSURDFK




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  7&(4,QWHUVWDWH7UDQVSRUW6WDWH,PSOHPHQWDWLRQ3ODQ5HYLVLRQIRUWKH2]RQH1DWLRQDO$PELHQW$LU4XDOLW\
6WDQGDUGV$XJXVW 7&(46,36XEPLVVLRQ DWSDJHVWR
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  7KHDSSURDFKXVHGE\7&(4IRULGHQWLI\LQJQRQDWWDLQPHQWUHFHSWRUVLVFRQVLVWHQWZLWK(3$¶VDLUTXDOLW\PRGHOLQJ
JXLGDQFH86(QYLURQPHQWDO3URWHFWLRQ$JHQF\0RGHOLQJ*XLGDQFHIRU'HPRQVWUDWLQJ$WWDLQPHQWRI$LU
4XDOLW\*RDOVIRU2]RQH30DQG5HJLRQDO+D]H5HVHDUFK7ULDQJOH3DUN1&LQFOXGHGLQ'RFNHW,'1R(3$
+42$5
      Case: 23-60069        Document: 438-3           Page: 341    Date Filed: 09/26/2023

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       2IWKHLGHQWLILHGUHFHSWRUVUHFHSWRUVZRXOGKDYH'9VEDVHGRQ7&(4¶V

PHWKRGRORJ\IRULGHQWLI\LQJmaintenance UHFHSWRUVWKDWDUHORZHUWKDQWKHDYHUDJH'9VDW

WKHVHVDPHORFDWLRQVXVLQJWKHPHWKRGRORJ\IRULGHQWLI\LQJnonattainment UHFHSWRUV7KLVLV

KLJKO\DQRPDORXVVLQFHWKHPDLQWHQDQFHPHWKRGRORJ\VKRXOGUHVXOWLQHLWKHUHTXDORUVOLJKWO\

KLJKHU'9VWKDQWKHPHWKRGRORJ\WRLGHQWLI\IXWXUH\HDUQRQDWWDLQPHQWUHFHSWRUVLQRUGHU

WRFDSWXUHFRQGLWLRQVXQGHUZKLFKDUHDVH[SHFWHGWREHLQDWWDLQPHQWPD\VWLOOVWUXJJOHWR

PDLQWDLQWKH1$$467KH(3$IRXQGWKDWXQGHU7&(4¶VPHWKRGRIWKHVHUHFHSWRUVWKUHH

KDYHPDLQWHQDQFH'9VWKDWDUHSSEORZHUWKDQWKHLUQRQDWWDLQPHQWPHWKRGRORJ\

'9VILYHKDYHPDLQWHQDQFH'9VWKDWDUHSSEORZHUWKDQWKHLUQRQDWWDLQPHQW

PHWKRGRORJ\'9VDQGVHYHQUHFHSWRUVKDYHPDLQWHQDQFH'9VWKDWDUHSSEORZHUWKDQ

WKHLUQRQDWWDLQPHQWPHWKRGRORJ\'9V,QIDFW7&(4¶VPHWKRGLGHQWLILHGRQHUHFHSWRULQ

WKHLU6,3VXEPLVVLRQDVDQRQDWWDLQPHQWUHFHSWRULQWKDWLWVHSDUDWHO\FKDUDFWHUL]HGXQGHULWV

PDLQWHQDQFHPHWKRGRORJ\DVQRWKDYLQJDSUREOHPPDLQWDLQLQJWKH1$$46

       ,QFRPSDULVRQXVLQJWKH(3$¶VPDLQWHQDQFHPHWKRGRORJ\DQG(3$¶VYPRGHOLQJ

UHVXOWVDOOPDLQWHQDQFH'9VKDYHPD[LPXP'9VWKDWDUHHTXDOWRRUXSWRSSEKLJKHU

WKDQWKHQRQDWWDLQPHQW'9V $JDLQWKH(3$XVHVWKHDYHUDJHRIWKHWKUHH'9VWKDW

FRQWDLQWKHEDVH\HDUPRGHOHGIRUWKHQRQDWWDLQPHQWPHWKRGRORJ\DQGWKHPD[LPXPRIWKHVH

WKUHH'9VIRUWKHPDLQWHQDQFHPHWKRGRORJ\ 8QGHUWKH(3$¶VPHWKRGRORJ\DOOQRQDWWDLQPHQW

UHFHSWRUVDUHDOVRFRQVLGHUHGWREHPDLQWHQDQFHUHFHSWRUV
7DEOH&RPSDULVRQRI1RQDWWDLQPHQWPHWKRGRORJ\ $YJ'9 DQG0DLQWHQDQFHPHWKRGRORJ\UHVXOWVIRUUHFHSWRUVLGHQWLILHG
                            E\(3$DQG7&(4LQPRGHOLQJRIDQGEDVHFDVH\HDUV

           5HFHSWRU $460RQLWRU,'                   7&(4    7&(4               7&(4'9             (3$    (3$ (3$'9
                 &RXQW\6WDWH                             0DLQWHQDQFH                 'HOWD              0D[LPXP    'HOWD
                                                        $YHUDJH     '9                 0DLQWHQDQFH        $YHUDJH   '9     0D[LPXP
                                                          '9                           $YHUDJH            '9              $YJ 
                                                         SSE       SSE                      SSE            SSE     SSE     SSE 
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    -HIIHUVRQ&2                                                                                           
    -HIIHUVRQ&2                                                                                           
    /DULPHU&2                                                                                            
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    &RFKLVH$=                                                                                              
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    0RQLWRUVZHUHLQVWDOOHGLQDQGVRWKH\GLGQRWKDYHD\HDU'9SHULRG  RUSUHYLRXV\HDUVVRQR
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SURMHFWHG'9VZLWKRQHGLJLWWRWKHULJKWRIWKHGHFLPDO)RUFRPSDULVRQZLWK7&(4¶V6,3GDWDWKH(3$'9VZHUHWUXQFDWHGWR
ZKROHQXPEHUVIRUWKHSXUSRVHRIWKHDQDO\VLVLQWKLV76'1RWHWKDWLQFOXGLQJRQHGLJLWWRWKHULJKWRIWKHGHFLPDOLQERWKWKH7&(4
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       Case: 23-60069             Document: 438-3             Page: 344         Date Filed: 09/26/2023




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      E5HYLHZRI+LVWRU\RI(3$¶V*XLGDQFH

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      Case: 23-60069         Document: 438-3           Page: 346    Date Filed: 09/26/2023

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YDOXHVWKDWDUHQRWVROHO\LQIOXHQFHGE\WKHSDUWLFXODUPHWHRURORJLFDOFRQGLWLRQVWKDWRFFXUUHG

GXULQJWKHWKUHH\HDUVFHQWHUHGRQWKHEDVH\HDURIHPLVVLRQV,QWKLVUHVSHFWXVLQJ\HDUVRI

PHDVXUHGGDWDLVH[SHFWHGWRSURYLGHR]RQH'9VWKDWDYHUDJHRXWWKHHIIHFWVRILQWHUDQQXDO

YDULDELOLW\LQPHWHRURORJLFDOFRQGLWLRQVRQR]RQHFRQFHQWUDWLRQV7KHJXLGDQFHDOVRQRWHVWKDW

RQHPD\ZDQWWRFRQVLGHUVHOHFWLQJDEDVHGHVLJQYDOXHWKLVLVWKHKLJKHVWRIWKHUHOHYDQWEDVH

SHULRGGHVLJQYDOXHVWRHQVXUHDWWDLQPHQWHYHQLQSHULRGVZLWKPHWHRURORJLFDOFRQGLWLRQV

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GLIILFXOW\PDLQWDLQLQJWKHVWDQGDUGGXHWRIOXFWXDWLRQVLQPHWHRURORJ\DQGDVVXFKXSZLQGVWDWHV

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       Case: 23-60069            Document: 438-3             Page: 347       Date Filed: 09/26/2023

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PDNLQJWKHIXWXUH\HDUSURMHFWLRQ 7RIXUWKHUH[DPLQH7&(4¶VDVVHUWLRQWKDWRQO\WKHODVW'9

SHULRGLQFOXGLQJWKHPRGHOHGEDVH\HDUVKRXOGEHXVHGLQWKHPDLQWHQDQFHPHWKRGRORJ\WKH

(3$UHYLHZHGDQXPEHURIR]RQH'9WUHQGVWRDVVHVVORQJWHUPDYHUDJHFKDQJHVLQR]RQHGXH

WRHPLVVLRQFKDQJHVLQFOXGLQJVHYHUDOWKDWZHUHLQFOXGHGLQ7&(4¶V6,3VXEPLVVLRQIRUWKLV

DFWLRQDQGLQWZRSUHYLRXVDWWDLQPHQWGHPRQVWUDWLRQ6,3VXEPLVVLRQVIRUWKH'DOODV)RUW:RUWK

1RQDWWDLQPHQW$UHD '): DQGWKH+RXVWRQ*DOYHVWRQ%UD]RULD1RQDWWDLQPHQW$UHD +*% 

7&(4SURYLGHGR]RQHWUHQGVDQDO\VLVLQWKHLU6,3VXEPLVVLRQIRUWKLVDFWLRQIRUWKHDUHDVZKHUH

7&(4¶VPRGHOLQJLGHQWLILHGSRWHQWLDOUHFHSWRUVLQ&RORUDGR$UL]RQDDQG6RXWKHUQ&DOLIRUQLD

7&(4XVHGWKLVLQIRUPDWLRQWRLQGLFDWHWKDWR]RQHOHYHOVDUHGHFUHDVLQJDVVKRZQLQWKHILJXUHV

EHORZDQGIXUWKHUGLVFXVVHGLQ6HFWLRQ7KH(3$DOVRORRNHGDWPRQLWRULQJWUHQGVIRUWKHPRVW

UHFHQW\HDUVRIGDWD '9XSWR'9 XVLQJR]RQHPRQLWRULQJGDWDIURPWKH(3$¶V

                                   

 7&(4¶V³'DOODV)RUW:RUWK '): $WWDLQPHQW'HPRQVWUDWLRQ6WDWH,PSOHPHQWDWLRQ3ODQ5HYLVLRQIRUWKH
(LJKW+RXU2]RQH6WDQGDUG1RQDWWDLQPHQW$UHD´$GRSWHG-XO\ '):$'6,3 DQG7&(4¶V³+RXVWRQ
*DOYHVWRQ%UD]RULD6HULRXV&ODVVLILFDWLRQ$WWDLQPHQW'HPRQVWUDWLRQ6WDWH,PSOHPHQWDWLRQ3ODQ5HYLVLRQIRUWKH
(LJKW+RXU2]RQH1DWLRQDO$PELHQW$LU4XDOLW\6WDQGDUG´$GRSWHG0DUFK +*%$'6,3 7KH
(3$LQWKLVDFWLRQLVQRWHYDOXDWLQJWKHVXLWDELOLW\RIWKHPRGHOLQJSUHVHQWHGE\7&(4IRUSXUSRVHVRI
GHPRQVWUDWLQJDWWDLQPHQWRIWKH1$$465DWKHUWKH(3$LVVLPSO\H[DPLQLQJORQJWHUPDLUTXDOLW\WUHQGV
WKDWKDYHRFFXUUHGLQERWKWKH'DOODV)RUW:RUWKDUHDDVZHOODVWKH+RXVWRQ*DOYHVWRQ%UD]RULDDUHD7KH(3$ZLOO
HYDOXDWHWKHVXLWDELOLW\RIPRGHOLQJSUHVHQWHGE\7&(4IRUSXUSRVHVRIGHPRQVWUDWLQJDWWDLQPHQWRIWKH2]RQH
1$$46LQDVHSDUDWHDFWLRQ
       Case: 23-60069            Document: 438-3             Page: 348       Date Filed: 09/26/2023

                                                       


$LU4XDOLW\6\VWHP $46 7KH(3$XVHGWKHVHGDWDWRDVVHVVWKHPDJQLWXGHRI\HDUWR\HDU

YDULDWLRQLQR]RQHOHYHOVFRPSDUHGWRWKHORQJWHUPWUHQGLQR]RQHOHYHOV LH\HDUVRUPRUH 

WKDWPD\EHPDLQO\DWWULEXWDEOHWRRYHUDOOFKDQJHVLQR]RQHSUHFXUVRUHPLVVLRQV

        ,QJHQHUDODVVKRZQLQWKHILJXUHVEHORZRXUHYDOXDWLRQRIPRQLWRUGDWDIRU'DOODV)RUW

:RUWKDQG+RXVWRQ*DOYHVWRQ%UD]RULDDVZHOODVDWUHFHSWRUVWRZKLFK7&(4LVOLQNHG WKDW

KDYHEHHQLGHQWLILHGHLWKHUE\WKH(3$RU7&(4 LQ&RORUDGR$UL]RQD6RXWKHUQ&DOLIRUQLDDQG

0LGZHVW5HJLRQ ,OOLQRLV0LFKLJDQDQG:LVFRQVLQ GHPRQVWUDWHVWKDWWKHORQJWHUPDYHUDJH

DQQXDOGHFUHDVHVLQR]RQHH[SHFWHGWREHWKHUHVXOWRIHPLVVLRQVUHGXFWLRQVDUHJHQHUDOO\RQWKH

RUGHURISSE\HDUDWPRQLWRUVLQWKHVHDUHDV+RZHYHUYDULDWLRQVLQPRQLWRUHG'9VGRQRW

DOZD\VWUHQGGRZQZDUGIURP\HDUWR\HDUDQGVRPHWLPHVLQFUHDVHE\WRSSEIURPRQH\HDUWR

WKHQH[W7KHVHYDULDWLRQVDUHOLNHO\GXHWRLQWHUDQQXDOYDULDWLRQVLQPHWHRURORJLFDOFRQGLWLRQV

ZKLFKWKH(3$¶VPHWKRGLVGHVLJQHGWRFDSWXUH DOWKRXJKWKLVDQDO\VLVFDQQRWUXOHRXWWKH

SRVVLELOLW\WKDWVKRUWWHUPLQFUHDVHVDQGGHFUHDVHVLQR]RQH'9VPD\LQSDUWEHWKHUHVXOWRI

FRXQWHUYDLOLQJHFRQRPLFIDFWRUVWKDWDIIHFWVKRUWWHUPRUORFDOL]HGHPLVVLRQVLQFUHDVHVDQG

GHFUHDVHV 

        DFW and HGB Areas

        )RUWKH'):DUHDORRNLQJDW)LJXUHVDQG REWDLQHGIURPWKH'):DWWDLQPHQW

GHPRQVWUDWLRQ6,3VXEPLVVLRQ WKHORQJWHUP'):'9WUHQGLVOHVVWKDQSSE\HDUIURP

WR VHH)LJXUH DQGSSE\HDUIURPWR VHH)LJXUH )RFXVLQJRQ

WKHVHWLPHSHULRGVLVDZD\WRDVVHVVWKHDYHUDJHFKDQJHLQR]RQH'9VGXHWRORQJWHUPFKDQJHV



                                   

 See'):$'6,3)LJXUHDWSDJHDQG)LJXUHDWSDJH

   '):'9LVWKHKLJKHVW'9DWDQ\UHJXODWRU\PRQLWRULQWKH'):1RQDWWDLQPHQW$UHDVRLWFDQEHDGLIIHUHQW
PRQLWRU\HDUWR\HDUWKDWVHWVWKH'):1RQDWWDLQPHQWDUHD'9

   See'):$'6,3DWSDJH'9ZDVSSEDQG'9ZDVSSE SSESSE  \HDUV 
SSE\HDU
       Case: 23-60069          Document: 438-3             Page: 349      Date Filed: 09/26/2023

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LQHPLVVLRQV7KH(3$DOVRHYDOXDWHGWUHQGVLQPRUHUHFHQWPRQLWRULQJGDWD)RU'):ZH

VWDUWHGZLWKWKH'9 PRQLWRULQJGDWD DVWKHUHZHUHVRPHHPLVVLRQUHGXFWLRQV

IURPDSUHYLRXV'):R]RQH6,3WKDWKDGFRPSOLDQFHGDWHVLQHDUO\%DVHGRQWKHWUHQGV

VKRZQLQ)LJXUHWKH'9VDWPRVWRIWKHPRQLWRUVWKDWDUHFXUUHQWO\PRQLWRULQJ

QRQDWWDLQPHQWEDVHGRQ'9VKDYHEHHQGHFUHDVLQJDWDSSUR[LPDWHO\SSE\HDUIRU

WKHODVW\HDUVRI'9V

                                                                                       




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
  (3$$QDO\VLVRIKRXU2]RQHPRQLWRUWUHQGV'DWDDQGFDOFXODWLRQVDYDLODEOHLQ³2]RQHB7UHQGVB5B76'[OV[´
LQFOXGHGLQ'RFNHW,'1R(3$52$5
Case: 23-60069     Document: 438-3        Page: 350   Date Filed: 09/26/2023

                                     


  )LJXUH ± 7&(4¶V)LJXUH 2QH+RXUDQG+RXU2]RQH'HVLJQ9DOXHV
               IURPWRDQG3RSXODWLRQ LQWKH'):$UHD
     from '):+RXU$WWDLQPHQW'HPRQVWUDWLRQ6,3 -XO\ 
            Case: 23-60069                Document: 438-3                 Page: 351             Date Filed: 09/26/2023

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            )LJXUH ± 7&(4¶V)LJXUH2QH+RXUDQG+RXU2]RQH'9V LQWKH'):$UHD
                                         IURPWKURXJK
                   from '):KRXU$WWDLQPHQW'HPRQVWUDWLRQ6,3 -XO\ 
      160




      140




      120
                                                                                                                       y = -2.13x + 4400
                                                                                                                            R² = 0.92
ppb




      100
                                                                                                                         y = -1.1x + 2331
                                                                                                                             R² = 0.86

      80



                              Eight-Hour Ozone Design Values                      One-Hour Ozone Design Values
                              1997 Eight-Hour Ozone NAAQS: 84 ppb                 2008 Eight-Hour Ozone NAAQS: 75 ppb
      60
                              Linear (Eight-Hour Ozone Design Values)             Linear (One-Hour Ozone Design Values)



      40
        1997    1998   1999     2000   2001   2002   2003   2004   2005    2006   2007   2008    2009      2010      2011    2012     2013   2014
                                                                      Year                              *Design Values are from EPA's AQS.
                                                                                                        **All Value Subject to Change
                            Case: 23-60069          Document: 438-3           Page: 352     Date Filed: 09/26/2023

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                                     )LJXUH±KRXU2]RQH'9WUHQGVDW'):0RQLWRUV


                                                                   DFW DV trends
                            90


                            85


                            80
       8-hour Ozone (ppb)




                            75


                            70


                            65


                            60
                                 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                    DV        DV        DV        DV        DV        DV        DV        DV        DV

                                    481391044     484393009     481130087       484390075    484391002     482570005
                                    482510003     484392003     481390016       481130069    480850005     481130075
                                    481210034     483670081     481211032       484393011
                                                                                                                             

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                             )RUWKH+RXVWRQ*DOYHVWRQ%UD]RULDDUHD7&(4LPSOHPHQWHGPXOWLSOHHPLVVLRQ

UHGXFWLRQVIRUERWKQLWURJHQR[LGHV 12; DQGDVXEVHWRIYRODWLOHRUJDQLFFRPSRXQGV 92&V 

WKDWUHVXOWHGLQODUJHGHFUHDVHVRIR]RQHIURPWRLQWKLVDUHD,QWKLVUHJDUGWKH(3$LV

HYDOXDWLQJWUHQGVIRU'9VIURPWR)RU+*%ORRNLQJDW)LJXUHVDQG

    REWDLQHGIURPWKH+*%DWWDLQPHQWGHPRQVWUDWLRQ6,3 WKHORQJWHUP+*%'9WUHQGDWPRVW

PRQLWRUVDQG'9WUHQGVDWWKHPRQLWRUVLQWKH+*%DUHDZLWKKLJKHUR]RQH'9VIURPWR

VKRZVDGHFOLQHRIOHVVWKDQSSE\HDU7KH(3$DOVRHYDOXDWHGWKHWUHQGVXVLQJWKH

PRVWUHFHQW'9V '9V LQ)LJXUH,Q)LJXUHWKH'9VDWPRVWRIWKHKLJKHU+*%




                                                     

     See+*%$'6,3)LJXUHDWSDJH)LJXUHDWSDJHDQG)LJXUHDWSDJH
        Case: 23-60069         Document: 438-3            Page: 353      Date Filed: 09/26/2023

                                                     


DUHDPRQLWRUV DQG '9VJUHDWHUWKDQSSE DUHGHFUHDVLQJDWSSE\HDURU

OHVVIRUWKHODVW\HDUVRI'9V '9V 

           )LJXUH± 7&(4¶V)LJXUH 2]RQH'9VDQG3RSXODWLRQLQ+*%$UHD
                                            from
     7&(4¶V+*%6HULRXV$UHD$WWDLQPHQW'HPRQVWUDWLRQ 6,35HYLVLRQIRU2]RQH  





  (3$$QDO\VLVRIKRXU2]RQHPRQLWRUWUHQGV'DWDDQGFDOFXODWLRQVDYDLODEOHLQ³2]RQHB7UHQGVB5B76'[OV[´
LQFOXGHGLQ'RFNHW,'1R(3$52$5
   Case: 23-60069      Document: 438-3        Page: 354   Date Filed: 09/26/2023

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  )LJXUH± 7&(4¶V)LJXUH +RXUDQG2QH+RXU2]RQH'9V LQWKH+*%$UHD
                                        from
7&(4¶V+*%6HULRXV$UHD$WWDLQPHQW'HPRQVWUDWLRQ 6,35HYLVLRQIRU2]RQH 
Case: 23-60069      Document: 438-3        Page: 355   Date Filed: 09/26/2023

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)LJXUH ± 7&(4¶V)LJXUH(LJKW+RXU2]RQH'9V E\0RQLWRULQWKH+*%$UHD
                                       from
 +*%6HULRXV$UHD$WWDLQPHQW'HPRQVWUDWLRQ 6,35HYLVLRQIRU2]RQH  
                        Case: 23-60069            Document: 438-3             Page: 356       Date Filed: 09/26/2023

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                                 )LJXUH±KRXU2]RQH'97UHQGVDW0RQLWRUVLQ+*%


                                                     HGB DV trends
                        95

                        90

                        85

                        80
   8-hour Ozone (ppb)




                        75

                        70

                        65

                        60
                             2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                 480391004      480391016       481671034       482010024      482010026       482010029
                                 482010046      482010047       482010051       482010055      482010062       482010066
                                 482010070      482010416       482011015       482011017      482011034       482011035
                                 482011039      482011050       483390078
                                                                                                                                   

                         

                         Potential receptors outside of Texas

                         $VPHQWLRQHGDERYH7&(4SURYLGHGR]RQHWUHQGVDQDO\VLVLQWKHLU6,3VXEPLVVLRQIRU

WKLVDFWLRQIRUWKHDUHDVZKHUH7&(4¶VPRGHOLQJLGHQWLILHGSRWHQWLDOUHFHSWRUV &RORUDGR

$UL]RQDDQG6RXWKHUQ&DOLIRUQLD WRLQGLFDWHWKDWR]RQHOHYHOVDUHGHFUHDVLQJDVVKRZQLQWKH

)LJXUHVEHORZ7KH(3$DQDO\]HG7&(4¶VWUHQGVDQDO\VLVWRDVVHVVWKHPDJQLWXGHRI\HDUWR

\HDUYDULDWLRQLQR]RQHOHYHOVFRPSDUHGWRWKHORQJWHUPWUHQGLQR]RQHOHYHOV LH\HDUVRU

PRUH WKDWPD\EHDWWULEXWHGWRRYHUDOOFKDQJHVLQR]RQHSUHFXUVRUHPLVVLRQV7KH(3$DOVR

DQDO\]HG'9WUHQGVXVLQJWKHPRVWUHFHQW'9VIRUWKHODVW\HDUVIRUUHFHSWRUVRXWVLGHWKH

6WDWHRI7H[DVLGHQWLILHGE\WKH(3$¶VEDVH\HDUPRGHOLQJWKH(3$¶VEDVH\HDU

Y PRGHOLQJDQDO\VHVDQGRU7&(4¶VPRGHOLQJ EDVH\HDU 7KHVHSRWHQWLDO
       Case: 23-60069          Document: 438-3             Page: 357      Date Filed: 09/26/2023

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UHFHSWRUDUHDVDUHORFDWHGLQ&RORUDGR$UL]RQD6RXWKHUQ&DOLIRUQLDDQGWKH0LGZHVW5HJLRQ

 VSHFLILFDOO\,OOLQRLV:LVFRQVLQDQG0LFKLJDQ 

        )RUWKH&RORUDGRUHFHSWRUVLGHQWLILHGLQ7&(4¶VPRGHOLQJWKLVDQDO\VLVVKRZVR]RQH

'9VIURPGHFUHDVHGOHVVWKDQSSE\HDURQDYHUDJH6HH)LJXUHIURP7&(4¶V

WUDQVSRUW6,3VXEPLVVLRQ LQFOXGHGDV)LJXUHEHORZ 7KH(3$DOVRH[DPLQHGWKHWUHQGVDW

WKH&RORUDGRUHFHSWRUVLGHQWLILHGLQ7&(4¶VPRGHOLQJXVLQJWKHPRVWUHFHQW'9V7KLVDQDO\VLV

LVUHIOHFWHGLQ)LJXUHZKLFKVKRZVWKDWWKH'9VDW&RORUDGRUHFHSWRUVKDYHHLWKHULQFUHDVHG

RUVOLJKWO\GHFUHDVHGDWOHVVWKDQSSE\HDUIRUWKHODVW\HDUVRI'9V '9V 

                                                                                       




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
  (3$$QDO\VLVRIKRXU2]RQHPRQLWRUWUHQGV'DWDDQGFDOFXODWLRQVDYDLODEOHLQ³2]RQHB7UHQGVB5B76'[OV[´
LQFOXGHGLQ'RFNHW,'1R(3$52$5BBB
    Case: 23-60069     Document: 438-3         Page: 358   Date Filed: 09/26/2023

                                         


        )LJXUH±KRXU2]RQH'9VIRU0RQLWRUVLQWKH'HQYHU$XURUD$UHD
                       from7&(4¶V6,36XEPLVVLRQ)LJXUH




                                                                                    

                       
                            Case: 23-60069            Document: 438-3             Page: 359       Date Filed: 09/26/2023

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                                  )LJXUH±'HQYHU1RQDWWDLQPHQW$UHD'97UHQGVDW5HFHSWRUV,GHQWLILHG
                                                        LQ7&(40RGHOLQJIRU

                                                            Denver NAA receptors DV trends
                            85



                            80
       8-hour Ozone (ppb)




                            75



                            70



                            65



                            60
                                 2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                    DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                       080050002            080350004       080590006         080590011          080690011
                                                                                                                                       

                             

                             )RUWKH$UL]RQDUHFHSWRULGHQWLILHGLQ7&(4¶VPRGHOLQJ7&(4¶V6,3)LJXUH

 LQFOXGHGDV)LJXUHEHORZ VKRZVR]RQH'9VIURPGHFUHDVHGOHVVWKDQ

SSE\HDURQDYHUDJHEXWKDGLQFUHDVHVRUGHFUHDVHVRIVHYHUDOSSEIURPRQH\HDUWRWKHQH[W7KH

(3$DOVRH[DPLQHGWKHWUHQGVDWWKH$UL]RQDUHFHSWRULGHQWLILHGLQ7&(4¶VPRGHOLQJXVLQJWKH

PRVWUHFHQW'9VDYDLODEOH VHH)LJXUH ZKLFKVKRZVWKDWWKH'9VDWWKH$UL]RQDUHFHSWRU

KDYHGHFUHDVHGDWOHVVWKDQSSE\HDURQDYHUDJHIRUWKHODVW\HDUVRI'9V 

'9V 

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     Id.
                     Case: 23-60069              Document: 438-3            Page: 360       Date Filed: 09/26/2023

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)LJXUH'97HQGVIURPWKURXJKIRU&KLULFDKXD1DWLRQDO0RQXPHQW0RQLWRU
                       from7&(4¶V6,36XEPLVVLRQ)LJXUH




                                                                                                                                

                     )LJXUH±$UL]RQD'97UHQGDW5HFHSWRU,GHQWLILHGLQ7&(40RGHOLQJIRU


                                               Chiracahua, Cochise County AZ receptor
                     75


                     70


                     65
8-hour Ozone (ppb)




                     60


                     55
                           y = -0.8545x + 73

                     50


                     45


                     40
                          2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                             DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                               Chiracahua-040038001           Linear (Chiracahua-040038001)
                                                                                                                                
             Case: 23-60069      Document: 438-3         Page: 361   Date Filed: 09/26/2023

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             $WWKH&DOLIRUQLDUHFHSWRUVLGHQWLILHGLQ7&(4¶VPRGHOLQJ7&(4¶V6,3)LJXUH

    LQFOXGHGDV)LJXUHEHORZ VKRZVR]RQH'9VIURPGHFUHDVHGOHVVWKDQ

SSE\HDURQDYHUDJH7KH(3$DOVRHYDOXDWHGWKHWUHQGVDWWKH&DOLIRUQLDUHFHSWRUVLGHQWLILHGLQ

7&(4¶VPRGHOLQJXVLQJWKHPRVWUHFHQW'9V VHH)LJXUH ZKLFKVKRZWKDWWKH'9VDWWKH

&DOLIRUQLDUHFHSWRUVLGHQWLILHGE\7&(4KDYHHLWKHULQFUHDVHGRUVOLJKWO\GHFUHDVHGDWOHVVWKDQ

SSE\HDURQDYHUDJHIRUWKHODVW\HDUVRI'9V '9V                            




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     Id.
Case: 23-60069    Document: 438-3         Page: 362   Date Filed: 09/26/2023

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      )LJXUH±+RXU2]RQH'9IRU0RQLWRUVLQ/RV$QJHOHV$UHD
                       from7&(4¶V6,3)LJXUH




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                            Case: 23-60069            Document: 438-3              Page: 363      Date Filed: 09/26/2023

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                                      )LJXUH±6RXWKHUQ&DOLIRUQLD5HFHSWRUV'9WUHQGVDW5HFHSWRUV
                                                     ,GHQWLILHGLQ7&(40RGHOLQJIRU

                                                             Southern California receptors DV trends
                            120


                            110


                            100
       8-hour Ozone (ppb)




                            90


                            80


                            70


                            60
                                  2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                     DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                             060371201        060371701     060376012       060658001       060658005
                                             060710001        060710306     060711004       060714001       060714003
                                                                                                                                        
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
                             8VLQJWKHPRVWUHFHQW'9VWKH(3$H[DPLQHGWKHWUHQGVDWWKHPRQLWRULQJVLWHVLQWKH

&KLFDJR,/,1:,1RQDWWDLQPHQW$UHDLQ,OOLQRLVDQGLQ:LVFRQVLQWKDWZHUHLGHQWLILHGDV

UHFHSWRUVLQ(3$¶VYPRGHOLQJ VHH)LJXUH 7KLVILJXUHVKRZVWKDWWKH'9VDWWKHVH

UHFHSWRUVKDYHHLWKHULQFUHDVHGRUKDYHGHFUHDVHGDWOHVVWKDQSSE\HDURQDYHUDJHIRUWKHODVW

\HDUVRI'9V '9V 

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     Id.
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                                 )LJXUH±&KLFDJR,/,1:,1RQDWWDLQPHQW$UHD'97UHQGVDW5HFHSWRUV
                                                ,GHQWLILHGLQ(3$¶VY0RGHOLQJIRU


                                                              Chicago NAA receptors DV trends
                            90
                            85
                            80
                            75
                            70
       8-hour Ozone (ppb)




                            65
                            60
                            55
                            50
                            45
                            40
                                 2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                    DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                              170310001                170310032                170314201
                                              170317002                550590019                550590025
                                              Chicago NAA, IL-IN-WI
                                                                                                                                       

                             

                             7KH(3$HYDOXDWHGWKHWUHQGVDWWKHSUHYLRXVO\LGHQWLILHGSRWHQWLDO:LVFRQVLQDQG

0LFKLJDQUHFHSWRUVLQWKH(3$¶V0DUFKPHPRUDQGXPXVLQJWKHPRVWUHFHQW'9VLQ)LJXUH

ZKLFKVKRZWKDWWKH'9VDW6KHER\JDQ&RXQW\:LVFRQVLQDQG$OOHJDQ&RXQW\0LFKLJDQ

UHFHSWRUVLGHQWLILHGSUHYLRXVO\LQ(3$¶VPRGHOLQJKDYHGHFUHDVHGDSSUR[LPDWHO\

SSE\HDURQDYHUDJHIRUWKHODVW\HDUVRI'9V '9V 

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                        Case: 23-60069            Document: 438-3             Page: 365       Date Filed: 09/26/2023

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         )LJXUH±:LVFRQVLQDQG0LFKLJDQ'97UHQGVDW5HFHSWRUV,GHQWLILHGLQ(3$¶V
                                     %DVH<HDU0RGHOLQJIRU


                                           Sheboygan WI and Allegan MI receptors DV trends
                        90

                        85

                        80

                        75
   8-hour Ozone (ppb)




                        70

                        65

                        60

                        55

                        50

                        45

                        40
                             2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                                      Sheboygan-551170006          Allegan-260050003
                                                                                                                                   

                         &RQFOXVLRQVRIWKLVDQDO\VLV5HYLHZLQJWKLVLQIRUPDWLRQLQWRWDOWKHORQJWHUPDYHUDJH

GHFUHDVHVLQR]RQHGXHWRHPLVVLRQVUHGXFWLRQVDUHXVXDOO\RQWKHRUGHURISSE\HDUDW

PRQLWRUVLQ'):DQG+*%DQGDWWKHUHFHSWRUVWKDWKDYHEHHQLGHQWLILHGLQ&RORUDGR$UL]RQD

6RXWKHUQ&DOLIRUQLDDQG0LGZHVW5HJLRQ ,OOLQRLVDQG:LVFRQVLQ +RZHYHUFULWLFDOO\WKH

HYLGHQFHSUHVHQWHGKHUHGHPRQVWUDWHVWKDWWKHUHFDQEHZLGHYDULDWLRQVLQPRQLWRUHGR]RQH'9V

IURP\HDUWR\HDU7KHVH\HDUWR\HDUYDULDWLRQVLQ'9VDUHQRWDOZD\VWRZDUGORZHUR]RQH'9V

DQGVRPHWLPHV'9VFDQLQFUHDVHE\SSEIURPRQH\HDUWRWKHQH[W7KHVHYDULDWLRQVPD\EH

SULPDULO\GXHWRPHWHRURORJLFDOYDULDWLRQV:HQRWHIRULQVWDQFHWKDW7&(4¶VPRQLWRUHGWUHQGV

ILJXUHIRUWKH$UL]RQDUHFHSWRULWLGHQWLILHGVKRZVLQFUHDVHVRISSEDQGSSEDQQXDOO\IURP

SSEWRSSE7KDWLVDSSELQFUHDVHRYHUWKUHH\HDUVIURPWR/DUJHDQQXDO
       Case: 23-60069           Document: 438-3            Page: 366      Date Filed: 09/26/2023

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IOXFWXDWLRQVXSZDUGLQ'9VVXFKDVWKLVGHPRQVWUDWHWKHGHJUHHRIYDULDWLRQWKDWLVSRVVLEOHLQ

'9GXHWRPHWHRURORJLFDOGLIIHUHQFHVEHWZHHQGLIIHUHQWWKUHH\HDUGHVLJQYDOXHSHULRGVDQGRU

PD\LQGLFDWHLQFUHDVLQJHPLVVLRQVDFWLYLW\LQXSZLQGVWDWHVRUIURPORFDOVRXUFHV,QHLWKHUFDVH

KRZHYHUWKLVDQDO\VLVGHPRQVWUDWHVWKDWLWFDQQRWVLPSO\EHDVVXPHGDV7&(4¶VDQDO\VLV

VXJJHVWVWKDWR]RQHOHYHOVZLOORQO\FRQWLQXHWRGHFOLQHRUDOZD\VWUDFNZLWKWKHJHQHUDOORQJ

WHUPHPLVVLRQVWUHQGV

     G0HWHRURORJLFDO$GMXVWHG7UHQGV$QDO\VLVRI0RQLWRUHG2]RQH'DWD

        $UHFHQWDQDO\VLVZDVSXEOLVKHGWKDWLQFOXGHGXSGDWHGWHFKQLTXHVWRDQDO\]HWUHQGVLQ

FRQWLQHQWDO86R]RQHFRQFHQWUDWLRQVDGMXVWHGIRULQWHUDQQXDOYDULDELOLW\LQPHWHRURORJLFDO

FRQGLWLRQV :HOOVHWDO 7KLVDQDO\VLVDGMXVWHGORQJWHUPWUHQGVLQPRQLWRUHGPD[LPXPGDLO\

DYHUDJHKRXU 0'$ R]RQHFRQFHQWUDWLRQVIRUPHWHRURORJLFDOHIIHFWVXVLQJYDULRXVVWDWLVWLFDO

DQGPDWKHPDWLFDOPHWKRGVLQRUGHUWRJHWDEHWWHUHVWLPDWHRIWKHORQJWHUPFKDQJHVLQR]RQH

FRQFHQWUDWLRQVGXHWRFKDQJHVLQSUHFXUVRUHPLVVLRQVVXFKDVQLWURJHQR[LGHV 12; DQGYRODWLOH

RUJDQLFFRPSRXQGV 92&V 7KLVDQDO\VLVLQFOXGHGPHWHRURORJLFDODGMXVWHG0'$R]RQH

YDOXHV PHDQPHGLDQWKSHUFHQWLOHDQGWKSHUFHQWLOH IRUPRQLWRUVLQWKHFRQWLQHQWDO86IRU

HDFK\HDUIURPWKURXJK2ISDUWLFXODUQRWHLVWKHWKSHUFHQWLOHYDOXHVDVWKH\ZRXOG

FRUUHVSRQGZLWKWKHWK+LJK0'$PRQLWRUHGR]RQHWKDWLVXVHGLQWKHFDOFXODWLRQRI'9V,Q

)LJXUH DH EHORZDUHPDSVVKRZLQJWKHPDJQLWXGHRIWKHDGMXVWPHQWVLQWKH0D\WR

6HSWHPEHU0'$R]RQHFRQFHQWUDWLRQVIRUHDFK\HDUZLWKPRQLWRULQJVLWHORFDWLRQVFRORUHG

DFFRUGLQJWRWKHGLIIHUHQFHEHWZHHQWKHDGMXVWHGDQGREVHUYHGWUHQGYDOXHV5HGGRWVUHSUHVHQW


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  :HOOV%HQMDPLQ'ROZLFN3DW(GHU%ULDQ(YDQJHOLVWD0DUN)ROH\.ULVWHQ0DQQVKDUGW(OL]DEHWK
0LVHQLV&KULV:HLVKDPSHO$QWKRQ³,PSURYHG(VWLPDWLRQRI7UHQGVLQ862]RQH&RQFHQWUDWLRQV$GMXVWHGIRU
,QWHUDQQXDO9DULDELOLW\LQ0HWHRURORJLFDO&RQGLWLRQV´Atmospheric Environment  :HOOV
%HQMDPLQ'ROZLFN3DW(GHU%ULDQ(YDQJHOLVWD0DUN)ROH\.ULVWHQ0DQQVKDUGW(OL]DEHWK0LVHQLV&KULV
:HLVKDPSHO$QWKRQ³6XSSOHPHQWDO,QIRUPDWLRQIRU,PSURYHG(VWLPDWLRQRI7UHQGVLQ862]RQH&RQFHQWUDWLRQV
$GMXVWHGIRU,QWHUDQQXDO9DULDELOLW\LQ0HWHRURORJLFDO&RQGLWLRQV´
      Case: 23-60069         Document: 438-3           Page: 367     Date Filed: 09/26/2023

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GRZQZDUGDGMXVWPHQWVRI0'$R]RQHFRQFHQWUDWLRQVZKHQPHWHRURORJLFDOFRQGLWLRQVZHUH

PRUHIDYRUDEOHWRR]RQHIRUPDWLRQWKDQQRUPDOZKLOHEOXHGRWVUHSUHVHQWXSZDUGDGMXVWPHQWVRI

0'$R]RQHFRQFHQWUDWLRQVZKHQPHWHRURORJLFDOFRQGLWLRQVZHUHOHVVIDYRUDEOHWRR]RQH

IRUPDWLRQWKDQQRUPDO)LJXUHV DH DUHIRUWKH\HDUVDQG

UHVSHFWLYHO\,QHDFK)LJXUHWKSHUFHQWLOH WRS DQGWKSHUFHQWLOH ERWWRP 0'$R]RQH

FRQFHQWUDWLRQVDUHVKRZQ,QRWKHUZRUGVWKHUHGGRWVLQWKHLPDJHVEHORZLQGLFDWHZKHQ

PRQLWRUHGR]RQHOHYHOVDWDSDUWLFXODUPRQLWRUDUHKLJKHUGXHWRR]RQHFRQGXFLYHPHWHRURORJLFDO

FRQGLWLRQVZKLOHEOXHGRWVLQGLFDWHZKHQPRQLWRUHGR]RQHOHYHOVDUHORZHUDWDSDUWLFXODU

PRQLWRUGXHWRPHWHRURORJLFDOFRQGLWLRQVXQIDYRUDEOHIRUR]RQHIRUPDWLRQ6LQFHWKH'9VDUH

FDOFXODWHGXVLQJWKHWKSHUFHQWLOHYDOXHVDQGWKHWKSHUFHQWLOHLVUHSUHVHQWDWLYHRIRWKHU

UHODWLYHO\KLJKR]RQHPRQLWRUHGYDOXHVWKHVHDUHWKHYDOXHVZHIRFXVRQIRUWKLVDQDO\VLVDVWKH\

DUHPRVWUHOHYDQWWRWKHSROLF\FRQFHUQVRILGHQWLI\LQJPDLQWHQDQFHUHFHSWRUV

       ,WLVQRWHZRUWK\WKDWZKLOHWKH\HDU7&(4VHOHFWHGDVLWVEDVH\HDUZDVFRQGXFLYH

WRR]RQHIRUPDWLRQLQWKHXSSHU0LGZHVWDUHDDURXQG/DNH0LFKLJDQ ,OOLQRLV:LVFRQVLQDQG

0LFKLJDQ DQGHVSHFLDOO\ZHUHQRWFRQGXFLYHWRR]RQHIRUPDWLRQZDVWKHOHDVW

FRQGXFLYH\HDUIRUR]RQHIRUPDWLRQLQWKHXSSHU0LGZHVWDUHDDURXQG/DNH0LFKLJDQRIWKH

WKURXJKSHULRG7KH\HDUVDQGERWKDSSHDUWRKDYHKDGPHWHRURORJLFDO

FRQGLWLRQVPRUHFRQGXFLYHWRR]RQHIRUPDWLRQLQWKHDUHDZKHUHWKH(3$KDVLGHQWLILHGUHFHSWRUV

LQWKH(3$¶VEDVHFDVHDQGYPRGHOLQJFRPSDUHGWRDQG7KH'9

PRQLWRULQJGDWD RU'9 PRQLWRULQJGDWD ERWKVHHPWRKDYHKDG

PHWHRURORJLFDOFRQGLWLRQVPRUHFRQGXFLYHWRR]RQHIRUPDWLRQWKDQWKH'9 

PRQLWRULQJGDWD 7KLVPD\SDUWLDOO\H[SODLQZK\7&(4¶VPHWKRGRORJ\ZKLFKUHOLHGVROHO\RQ

WKH'9IDLOHGWRLGHQWLI\UHFHSWRUVLQWKLVUHJLRQXVLQJLWVPDLQWHQDQFHPHWKRGRORJ\
       Case: 23-60069        Document: 438-3         Page: 368    Date Filed: 09/26/2023

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    )LJXUH D ±0DSVVKRZLQJWKHPDJQLWXGHRIWKHDGMXVWPHQWVLQ0D\WR6HSWHPEHUWK
    SHUFHQWLOH WRS DQGWKSHUFHQWLOH ERWWRP 0'$R]RQHFRQFHQWUDWLRQVIRUWKH\HDU




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       Case: 23-60069      Document: 438-3          Page: 369   Date Filed: 09/26/2023

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       )LJXUH E ±0DSVVKRZLQJWKHPDJQLWXGHRIWKHDGMXVWPHQWVLQ0D\WR6HSWHPEHU
 SHUFHQWLOH WRS DQGWKSHUFHQWLOH ERWWRP 0'$R]RQHFRQFHQWUDWLRQVIRUWKH\HDU
  WK




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      Case: 23-60069       Document: 438-3          Page: 370   Date Filed: 09/26/2023

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)LJXUH F ±0DSVVKRZLQJWKHPDJQLWXGHRIWKHDGMXVWPHQWVLQ0D\WR6HSWHPEHUWK
SHUFHQWLOH WRS DQGWKSHUFHQWLOH ERWWRP 0'$R]RQHFRQFHQWUDWLRQVIRUWKH\HDU




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      Case: 23-60069       Document: 438-3          Page: 371   Date Filed: 09/26/2023

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)LJXUH G ±0DSVVKRZLQJWKHPDJQLWXGHRIWKHDGMXVWPHQWVLQ0D\WR6HSWHPEHUWK
SHUFHQWLOH WRS DQGWKSHUFHQWLOH ERWWRP 0'$R]RQHFRQFHQWUDWLRQVIRUWKH\HDU
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      Case: 23-60069       Document: 438-3          Page: 372   Date Filed: 09/26/2023

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)LJXUH H ±0DSVVKRZLQJWKHPDJQLWXGHRIWKHDGMXVWPHQWVLQ0D\WR6HSWHPEHUWK
SHUFHQWLOH WRS DQGWKSHUFHQWLOH ERWWRP 0'$R]RQHFRQFHQWUDWLRQVIRUWKH\HDU
                              
      Case: 23-60069        Document: 438-3          Page: 373    Date Filed: 09/26/2023

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   3RWHQWLDO8QGHUHVWLPDWLRQRI3URMHFWHG'HVLJQ9DOXHVDQG0RGHO3HUIRUPDQFH
      (YDOXDWLRQ

      $VGLVFXVVHGLQWKLVVHFWLRQDQGLQ6HFWLRQEHORZWKH(3$KDVDQDO\]HG7&(4¶V

IXWXUH\HDUPRGHOSURMHFWLRQVIRUWKH'):DQG+*%DUHDVZLWKLQ7H[DVDQGDOVRDWGRZQZLQG

DUHDVLQ&RORUDGR$UL]RQD6RXWKHUQ&DOLIRUQLD,OOLQRLV:LVFRQVLQDQG0LFKLJDQWRZKLFK

7H[DVFRQWULEXWHVDWRUDERYHSHUFHQWRIWKH1$$46LQWKH(3$¶VEDVHFDVHPRGHOLQJ

DQGRUWKH(3$¶VYPRGHOLQJDQGRU7&(4¶VPRGHOLQJ7KH(3$DOVRFRPSDUHG7&(4¶V

SURMHFWLRQVZLWKUHFHQW'9V  DQGSUHOLPLQDU\'9V  LQWKHVHDUHDVWRJHWKHU

ZLWKSRWHQWLDOFKDQJHVLQ'9VLQWKHQH[WWZRWRWKUHH\HDUV7KHUHVXOWVRIWKLVFRPSDULVRQ

LQGLFDWHWKDW7&(4¶VSURMHFWLRQVOLNHO\XQGHUHVWLPDWHIXWXUHR]RQHOHYHOV7&(4¶VSURMHFWHG

R]RQHFRQFHQWUDWLRQVLQDUHPXFKORZHUWKDQPHDVXUHG'9VLQDQGSUHOLPLQDU\

'9VZLWKRXWWKHUHEHLQJDQXQXVXDOOHYHORIHPLVVLRQUHGXFWLRQVWRVXSSRUWWKHSURMHFWHGVKDUS

GHFOLQHLQ'9V7KH(3$FRPSDUHGUHFHQWPRQLWRULQJYDOXHVDQGUHDVRQDEO\DQWLFLSDWHG

GHFUHDVHV HJRQWKHRUGHURIDSSUR[LPDWHO\SSE\HDU±VHHGLVFXVVLRQRQR]RQHWUHQGVLQ

6HFWLRQDERYH LQ'9VE\ERWKZLWKLQ7H[DVDQGLQRWKHUSDUWVRIWKHFRXQWU\7KHVH

XQGHUHVWLPDWLRQVOLNHO\UHVXOWLQ7&(4¶VPRGHOLQJQRWDGHTXDWHO\LGHQWLI\LQJQRQDWWDLQPHQW

DQGRUPDLQWHQDQFHUHFHSWRUVLQ

       ,QVXEVHFWLRQDZHHYDOXDWHWKHSRWHQWLDOXQGHUHVWLPDWLRQRI7&(4¶V'):DQG+*%

PRGHOHG'9VEDVHGRQDFRPSDULVRQWRUHFHQWPRQLWRULQJDQGSRWHQWLDO'9FKDQJHV

DVVXPLQJWKDWWKHDYHUDJHORQJWHUPWUHQGLQ'9VFRQWLQXHVRYHUWKHQH[W\HDUV,Q

VXEVHFWLRQEZHHYDOXDWHWKHSRWHQWLDOXQGHUHVWLPDWLRQRI7&(4¶VPRGHOHG'9VLQ

GRZQZLQGDUHDV &KLFDJR1RQDWWDLQPHQW$UHD:LVFRQVLQ&RORUDGR$UL]RQDDQG6RXWKHUQ

&DOLIRUQLD WKDWKDYHUHFHSWRUVLGHQWLILHGLQHLWKHUWKH(3$RU7&(4¶VPRGHOLQJFRPSDUHGZLWK

UHFHQWPRQLWRULQJDQGSRWHQWLDO'9FKDQJHVDVVXPLQJWKDWWKHDYHUDJHORQJWHUPWUHQGLQ'9V
       Case: 23-60069          Document: 438-3             Page: 374     Date Filed: 09/26/2023

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FRQWLQXHVRYHUWKHQH[W\HDUV,QVXEVHFWLRQVFDQGGZHUHYLHZ7&(4¶VEDVH

FDVHPRGHOSHUIRUPDQFHLQWKH'):DQG+*%DUHDVDQGLQGRZQZLQGUHFHSWRUDUHDV &KLFDJR

1$$:LVFRQVLQ&RORUDGR$UL]RQDDQG6RXWKHUQ&DOLIRUQLD WRDVVHVVZKHWKHU7&(4¶V

PRGHOLQJSODWIRUPSURYLGHVWHFKQLFDOO\VRXQGGDWDIRUSURMHFWLQJIXWXUH\HDUR]RQHGHVLJQYDOXHV

DQGLQWHUVWDWHFRQWULEXWLRQV,QVXEVHFWLRQHZHVXPPDUL]HWKHILQGLQJVRIWKH(3$¶VUHYLHZLQ

WKLV6HFWLRQ

     D3RWHQWLDO8QGHUHVWLPDWLRQLQ7&(4¶V0RGHOLQJ)XWXUH\HDUSURMHFWLRQVDW'):
           +*%UHFHSWRUVDQG+LJK'9PRQLWRUV

        7&(4¶VPRGHOLQJLQFOXGHVSURMHFWLRQVRIIXWXUH\HDUGHVLJQYDOXHVIRUPRQLWRUV

ZLWKLQWKHODUJHPHWURSROLWDQDUHDVRI'):DQG+*%ERWKRIZKLFKFRQWLQXHWRPRQLWRUR]RQH

QRQDWWDLQPHQWDQGKDYHEHHQGHVLJQDWHGDVKRXUR]RQHQRQDWWDLQPHQWDUHDV7&(4KDV

SUHYLRXVO\GHYHORSHGDWWDLQPHQWGHPRQVWUDWLRQ6,3VXEPLVVLRQVIRUERWKRIWKH+*%DQG'):

QRQDWWDLQPHQWDUHDV7&(4DOVRLQFOXGHGLQWKHVHSUHYLRXVDWWDLQPHQWGHPRQVWUDWLRQ6,3V

ORQJWHUPR]RQHPRQLWRUHG'9WUHQGDQDO\VLVIRUERWKWKH+*%DQG'):DUHDVWKDWLQGLFDWHWKH

DYHUDJHDQQXDOGHFUHDVHLQR]RQH'9VZDVDSSUR[LPDWHO\WRSSE\HDU,Q6HFWLRQ

DERYHWKH(3$¶VDQDO\VLVLQ6HFWLRQDERYHRIWKHPRVWUHFHQW\HDUVRI'9VLQ'):DQG

\HDUVRI'9VLQ+*%LQGLFDWHDVLPLODUWUHQGRISSE\HDURUOHVV8VLQJWKHVH'9PRQLWRUHG

 QRWPRGHOHG WUHQGVLQGLFDWHVWKDWHPLVVLRQVGHFUHDVHVEHWZHHQDQGFRXOGSRWHQWLDOO\

EHDQWLFLSDWHGWRUHVXOWLQDGURSLQR]RQHFRQFHQWUDWLRQVRIDSSUR[LPDWHO\SSEDWPRVW

UHFHSWRUVLIQRYDULDELOLW\LQPHWHRURORJ\LVFRQVLGHUHGDQGQRODUJHHPLVVLRQUHGXFWLRQ




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   7&(4¶V³'DOODV)RUW:RUWK '): $WWDLQPHQW'HPRQVWUDWLRQ6WDWH,PSOHPHQWDWLRQ3ODQ5HYLVLRQIRUWKH
(LJKW+RXU2]RQH6WDQGDUG1RQDWWDLQPHQW$UHD´$GRSWHG-XO\DQG7&(4¶V³+RXVWRQ*DOYHVWRQ%UD]RULD
6HULRXV&ODVVLILFDWLRQ$WWDLQPHQW'HPRQVWUDWLRQ6WDWH,PSOHPHQWDWLRQ3ODQ5HYLVLRQIRUWKH(LJKW+RXU
2]RQH1DWLRQDO$PELHQW$LU4XDOLW\6WDQGDUG´$GRSWHG0DUFK
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       Case: 23-60069             Document: 438-3              Page: 375       Date Filed: 09/26/2023

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SURJUDPVDUHLPSOHPHQWHGLQ7H[DVRURQDQDWLRQDOOHYHO7KDWLVWRVD\ZLWKRXWVLJQLILFDQW

XQH[SHFWHGUHGXFWLRQVEH\RQGWKHHIIHFWVRIH[LVWLQJFRQWUROPHDVXUHVDSSEGHFOLQHLQ

R]RQHFRQFHQWUDWLRQVGXULQJWKLV\HDUSHULRGLVWKHPRVWWKDWFRXOGEHDQWLFLSDWHGDW

'):+*%PRQLWRUV7RDVVHVVLI7&(4¶VR]RQHWUDQVSRUWPRGHOLQJLVSRWHQWLDOO\

XQGHUHVWLPDWLQJIXWXUH\HDUPRGHOHG'9VLQ'):DQG+*%DUHDVWKH(3$FRPSDUHG

PRQLWRUHG'9V PRQLWRUHGGDWD DWVHYHUDORIWKHW\SLFDOO\KLJKHUR]RQH

PRQLWRUVLQWKH'):DQG+*%DUHDZLWK7&(4¶VSURMHFWHG'9VLQ7DEOH:KLOHQRW

DVH[DFWDVGHYHORSLQJQHZPRGHOLQJRIHPLVVLRQFKDQJHVIURPWRWRSURMHFW

'9V QRUDSSURSULDWHIRUXVHLQDQ\RWKHUFRQWH[W XVLQJWKHJHQHUDOSSEDSSUR[LPDWLRQ

SURYLGHVDEDOOSDUNHVWLPDWHWRHYDOXDWHZKHWKHU7&(4¶VPRGHOLQJPLJKWEHXQGHUHVWLPDWLQJ

IXWXUH'9V$VFDQEHVHHQLQ7DEOHWKHUHDUHPDQ\PRQLWRUVLQ'):DQG+*%WKDW

ZRXOGQHHGDGURSLQR]RQH'9VRYHUWKHQH[W\HDUVRI!SSE YDOXHVRISSERUPRUHLQ

WKHIDUULJKWFROXPQ WRUHDFK7&(4¶VPRGHOHGSURMHFWHGOHYHOV7KH(3$DOVRHYDOXDWHG

MXVWWKH'9VIRUPRQLWRUVZLWK'9VSSE PRQLWRUHG'9 DQGIRUWKH

PRQLWRUVWKDW7&(4SURMHFWHGWREHDWWDLQLQJ '9SSE (3$H[DPLQHGDOOPRQLWRUVWKDW

KDGD'9SSEDQGDOVRWKHVXEVHWRIWKHVHPRQLWRUVZLWKD'9SSE)RU

PRQLWRUVZLWKD'9SSER]RQHFRQFHQWUDWLRQVZRXOGKDYHWRGURSE\SSEIRU

WKHVHPRQLWRUVWRDWWDLQE\)RUWKHPRQLWRUVWKDW7&(4SURMHFWHGWREHDWWDLQLQJLQ

 UHGIRQWLQWDEOH DQGKDGD'9VSSEWKHDYHUDJHDPRXQWRIGHFUHDVHLQ'9V


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  :HXVHWKLVEDOOSDUNILJXUHKHUHRQO\DVDERXQGLQJDVVXPSWLRQUHOHYDQWWRDQDQDO\WLFDOH[HUFLVHHVWDEOLVKLQJZK\
WKH7&(4PRGHOLQJVXEPLWWHGLQLWVWUDQVSRUW6,3VXEPLWWDOOLNHO\XQGHUSURMHFWVIXWXUHR]RQHFRQFHQWUDWLRQV7KH
WRSSEILJXUHGRHVQRWUHSUHVHQWDQ\DQDO\VLVRUFRQFOXVLRQVUHJDUGLQJDFWXDOHPLVVLRQVUHGXFWLRQVLQ7H[DVRUDQ\
RWKHUVWDWH7KH(3$KDVQREDVLVWRDVVXPHHYHQWKLVOHYHORIUHGXFWLRQLQR]RQHFRQFHQWUDWLRQVZLOODFWXDOO\RFFXU
QRULVWKLVHVWLPDWHEDVHGRQDQ\DVVHVVPHQWRIWKHHIIHFWVRISHUPDQHQWDQGHQIRUFHDEOHHPLVVLRQVUHGXFWLRQVLQDQ\
6,3RU),3RUUHVXOWLQJIURPDQ\RWKHUNQRZQRUXSFRPLQJ&$$UHTXLUHPHQWV$VVXFKWKLVHVWLPDWHLVQRWXVDEOH
LQDQ\RWKHU&$$DFWLRQQRUZRXOGLWEHDGHIHQVLEOHEDVLVRQZKLFKWRUHDFKDQ\FRQFOXVLRQVUHJDUGLQJIXWXUHDLU
TXDOLW\FRQGLWLRQVZLWKRXWIDUJUHDWHUWHFKQLFDODQGOHJDODQDO\VLVWKDQWKH$JHQF\FDQSURYLGHDWWKLVWLPH
       Case: 23-60069             Document: 438-3              Page: 376       Date Filed: 09/26/2023

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QHHGHGWRPDWFK7&(4¶VSURMHFWLRQLVSSE)RUWKHHLJKWPRQLWRUVWKDW7&(4SURMHFWHG

WREHDWWDLQLQJLQDQGKDGD'9RISSEWKHDYHUDJHDPRXQWRIGHFUHDVHLQ'9V

QHHGHGWRPDWFK7&(4¶VSURMHFWLRQLVSSEDQGWKH\ZRXOGKDYHWRGURSDWOHDVW

SSE XSWRSSE WRKDYHD'9RISSE,QRWKHUZRUGVIRUDOOWKHPRQLWRUVZLWKWKH

KLJKHVWPRQLWRUHG'9V7&(4¶VPRGHOLQJSURMHFWLRQVRIZRXOGQHFHVVLWDWHDYHUDJH

UHGXFWLRQVLQ'9VRYHUWKLVWKUHH\HDUSHULRGRISSEPXFKODUJHUWKDQWKHSSEWKDW

ZRXOGEHFRQVLGHUHGDVDSRVVLEOHXSSHUERXQGEDVHGRQDQH[WUDSRODWLRQRIORQJWHUPWUHQGV

'URSVLQKRXUR]RQH'9VRQDYHUDJHRISSERYHUWKUHH\HDUVDWPDQ\PRQLWRUVLQWKHVH

DUHDVGRQRWW\SLFDOO\RFFXUXQOHVVWKHUHLVDQXQH[SHFWHGO\ODUJHFKDQJHLQHPLVVLRQVDQGRU

ODUJHFKDQJHLQPHWHRURORJLFDOFRQGXFLYHQHVVIRUR]RQHJHQHUDWLRQ VHHPXOWLSOHWUHQGVDQDO\VLV

ILJXUHVLQ6HFWLRQ 7&(4GLGQRWLGHQWLI\DQ\VXFKODUJHHPLVVLRQUHGXFWLRQVWREH

LPSOHPHQWHGLQWKHWLPHIUDPH7KLVDQDO\VLVVXSSRUWVDILQGLQJWKDW7&(4¶V

PRGHOLQJLVOLNHO\XQGHUHVWLPDWLQJIXWXUHR]RQH'9VLQWKHWZRQRQDWWDLQPHQWDUHDVLQ7H[DV

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 'XHWRWKHXQFHUWDLQW\ZLWKXVLQJWKHZKROHQXPEHU'9VWKHWUXQFDWLRQPHWKRGXVHGDWWKHHQGRIWKH'9
FDOFXODWLRQLPSDFWVWKHH[DFWYDOXH)RUDPRQLWRUZLWKD'9RISSELWZRXOGWDNHDWOHDVWDYDOXHRISSE
RUJUHDWHUDQGFRXOGEHSSERUPRUHSULRUWRWUXQFDWLRQ
     Case: 23-60069          Document: 438-3          Page: 377   Date Filed: 09/26/2023

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     7DEOH7&(43URMHFWHG)XWXUH'9V&RPSDUHGWR0RQLWRUHG'9V


                                                                                'HOWDLQ\HDUV
                                          7&(4        0RQLWRUHG'DWD
                                                                               0RQLWRU'9
6WDWH       &RXQW\        $46,'      )XWXUH'HVLJQ        IURP$46
                                                                                7&(4'9
                                        9DOXH'9 SSE       '9 SSE 
                                                                                      SSE 

7H[DV       %UD]RULD                                                 
7H[DV       %UD]RULD                                                 
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7H[DV       .DXIPDQ                                                  
7H[DV       0RQWJRPHU\                                              
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                                                                  $YJ$//          
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                           $YJLI7&(4'9SSEEXW'9SSE         
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        :HDOVRQRWHWKDW2'(4UHOLHGRQ7&(4¶VIXWXUH\HDUPRGHOHG'9VDWWKUHH

QRQDWWDLQPHQWPDLQWHQDQFHUHFHSWRUVLQWKHLU6,3VXEPLVVLRQ2NODKRPDZDVOLQNHGWRWKHVH

WKUHHUHFHSWRUVLQWKH(3$¶VSUHYLRXVPRGHOLQJUHVXOWVLQFOXGHGLQWKH(3$¶V0DUFK

PHPRUDQGXP7KHVHPRQLWRUVLQFOXGHGPRQLWRUVLQWKH'):DUHD 7DUUDQW&RXQW\$46,'

DQG'HQWRQ&RXQW\$46,' DQGRQHPRQLWRULQWKH+*%DUHD %UD]RULD

&RXQW\$46,' 7KH(3$¶VYPRGHOLQJLQGLFDWHVWKDW2NODKRPDLVOLQNHGWR

WKH'HQWRQ&RXQW\PRQLWRU $46,' WKDWLVLGHQWLILHGDVDPDLQWHQDQFHUHFHSWRU

,QFOXGHGDV7DEOHLVLQIRUPDWLRQIURPWKH2NODKRPD2]RQH7UDQVSRUW6,3VXEPLVVLRQ

WKDWXWLOL]HGLQIRUPDWLRQIURPWKH(3$¶V0DUFKPHPRUDQGXPRQ7UDQVSRUW0RGHOLQJ

5HVXOWV

      7DEOH2NODKRPD¶V7UDQVSRUW6,3,QIRUPDWLRQ5HIHUULQJWR/LQNDJHVWR7H[DV
                        5HFHSWRUV (3$0DUFKPHPRUDQGXP 
      5HFHSWRU      $YHUDJH 0D[LPXP       2NODKRPD         2NODKRPD¶V
       6LWH,'       '9 SSE        '9 SSE       &RQWULEXWLRQ      6WHSDQG
    &RXQW\6WDWH                                         SSE         'HWHUPLQDWLRQ
                                               0DLQWHQDQFH
     'HQWRQ7;                                                            UHFHSWRU
                                                                         LGHQWLILHGIRU
                                                                       IXUWKHUDQDO\VLV
                                              1RQDWWDLQPHQW
     7DUUDQW7;                                                           UHFHSWRU
                                                                         LGHQWLILHGIRU
                                                                       IXUWKHUDQDO\VLV
                                              1RQDWWDLQPHQW
     %UD]RULD7;                                                       UHFHSWRUZLWK
                                                                       FRQWULEXWLRQOHVV
                                                                        WKDQSSEQR
                                                                       IXUWKHUDQDO\VLV


        )URP7DEOHZHQRWHWKDWWKHWZRUHFHSWRUVLQWKH'):DUHD EDVHGRQ(3$¶V0DUFK

PHPRUDQGXP DUHFXUUHQWO\PRQLWRULQJQRQDWWDLQPHQWZLWKD'9RISSEDWWKH

'HQWRQ&RXQW\PDLQWHQDQFHUHFHSWRUDQGD'9RISSEDWWKH7DUUDQW&RXQW\
      Case: 23-60069         Document: 438-3           Page: 379    Date Filed: 09/26/2023

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QRQDWWDLQPHQWUHFHSWRU7&(4SURMHFWHG'9VRISSEIRUWKH'HQWRQ&RXQW\PRQLWRU

DQGSSEIRUWKH7DUUDQW&RXQW\QRQDWWDLQPHQWUHFHSWRU:HQRWHWKDWWKHQRQDWWDLQPHQW

UHFHSWRULQ+*% %UD]RULD&RXQW\$46,' LVFXUUHQWO\PRQLWRULQJDSSE 

'9 EXWZDVSURMHFWHGWREHSSELQ7&(4¶VPRGHOHGSURMHFWLRQV:HQRWHWKDWLQWKH

+*%DUHDWKHPD[LPXPPRQLWRUHGYDOXHVFDQYDFLOODWHEHWZHHQPRQLWRUVGHSHQGLQJXSRQWKH

YDULDWLRQVLQORFDODQGV\QRSWLFPHWHRURORJ\IURPRQH\HDUWRWKHQH[W%DVHGRQPRVWUHFHQW

'9VDWWKHVHWKUHHPRQLWRUVLWLVSRVVLEOHWKDWWKH\PD\UHDFKDWWDLQPHQWE\KRZHYHUHYHQ

LIWKH\DWWDLQLWLVOLNHO\WKDWWKH\ZRXOGEHFORVHWRWKH1$$46DQGWKHUHIRUHPD\VWLOOEH

FRQVLGHUHGPDLQWHQDQFHUHFHSWRUV$GURSRISSE SSE\HDU ZRXOGUHVXOWLQ'9VRISSEDW

WZRPRQLWRUVDQGSSEDWWKH'HQWRQPRQLWRU$VGLVFXVVHGDERYH7&(4¶VPRGHO

SURMHFWLRQVIRUWKHVHWKUHHPRQLWRUVUDLVHVOLNHO\XQGHUHVWLPDWLRQFRQFHUQVIRUWKHWZR'):

PRQLWRUVDQGUDLVHVFRQFHUQVZLWKWKHDGHTXDF\RIUHO\LQJRQ7&(4¶VPRGHOLQJWRFRQFOXGHWKDW

WKHWZR'):PRQLWRUVDUHQRWDWOHDVWPDLQWHQDQFHUHFHSWRUVLQIRUZKLFK2NODKRPDLV

OLQNHG7KH(3$¶VPRUHUHFHQWPRGHOLQJ Y DOVRLQGLFDWHV2NODKRPDLVOLQNHGWRWKH

'HQWRQPRQLWRUZKLFKLVLGHQWLILHGDVDPDLQWHQDQFHUHFHSWRU

    E3RWHQWLDO8QGHUHVWLPDWLRQLQ7&(4¶V)XWXUH\HDUSURMHFWLRQVDWGRZQZLQG
        DUHDV

      $VGLVFXVVHGDERYHDEVHQWYDULDELOLW\LQPHWHRURORJ\DQGDQ\XQH[SHFWHGO\ODUJH

ORFDOUHJLRQDOQDWLRQDOLPSOHPHQWDWLRQRIHPLVVLRQUHGXFWLRQVWKHGURSLQPRQLWRUHGR]RQH'9V

IURPWRZRXOGEHH[SHFWHGWREHDWPRVWSSEEDVHGRQDQDVVXPHGFRQWLQXDWLRQ

RIORQJWHUPWUHQGVDWODUJHQRQDWWDLQPHQWPHWURSROLWDQVWKDWKDYHEHHQLGHQWLILHGLQ7&(4¶V

PRGHOLQJRUWKH(3$¶VDQGYPRGHOLQJ 2QFHDJDLQZHHPSKDVL]HWKDWWKLVHVWLPDWH

VHUYHVDVDERXQGLQJH[HUFLVHLQWKLVWHFKQLFDODQDO\VLVDQGGRHVQRWUHIOHFWDQ\OHJDORUSROLF\

MXGJPHQWVUHJDUGLQJZKHWKHUHYHQWKLVGHJUHHRIUHGXFWLRQLQR]RQHFRQFHQWUDWLRQVLVUHDVRQDEOH
       Case: 23-60069             Document: 438-3              Page: 380       Date Filed: 09/26/2023

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WRDVVXPHIRUDQ\JLYHQUHFHSWRU :KLOHQRWDVH[DFWDVGHYHORSLQJQHZPRGHOLQJRIHPLVVLRQ

FKDQJHVIURPWRWRSURMHFW'9VXVLQJWKHJHQHUDOSSEILJXUHSURYLGHVD

EDOOSDUNHVWLPDWHWRHYDOXDWHLI7&(4¶VPRGHOLQJPLJKWEHXQGHUSUHGLFWLQJIXWXUH'9VDW

DUHDVLQWKH&KLFDJR,/:LVFRQVLQ0LFKLJDQDUHDWKH'HQYHU&2DUHD&RFKLVH&RXQW\$=

UHFHSWRUDQG6RXWKHUQ&DOLIRUQLDDUHDV:HQRWHWKDWLQRXUHYDOXDWLRQRIWKHPRVWUHFHQW'9

WUHQGVLQWKHVHDUHDVWKDWWKHDQQXDODYHUDJHFKDQJHIURPWR'9VUDQJHGIURP

LQFUHDVLQJWRGHFUHDVLQJDWPRVWDSSUR[LPDWHO\SSE\HDUVRXVHRISSELVDQLQGLFDWRURI

WKHPRVWE\ZKLFK'9VFRXOGSRWHQWLDOO\EHHVWLPDWHGWRGURSEHWZHHQDQG)XUWKHU

WKHWUHQGVGDWDIRUWKHVHDUHDVLQGLFDWHWKHFKDQJHZLOOOLNHO\EHOHVVWKDQDSSEGHFUHDVHIRU

PDQ\PRQLWRUV7RDVVHVVLI7&(4¶VPRGHOLQJLVSRWHQWLDOO\XQGHUHVWLPDWLQJIXWXUH\HDU

PRGHOHG'9VLQWKHVHGRZQZLQGDUHDVWKH(3$KDVFRPSDUHGPRQLWRUHG'9VDWPDQ\

W\SLFDOO\KLJKHUR]RQHPRQLWRUVLQWKHVHDUHDVZLWK7&(4¶VSURMHFWHG'9VLQ7DEOH

7DEOHDQG7DEOH

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  :HXVHWKLVEDOOSDUNILJXUHKHUHRQO\DVDERXQGLQJDVVXPSWLRQUHOHYDQWWRDQDQDO\WLFDOH[HUFLVHHVWDEOLVKLQJZK\
WKH7&(4PRGHOLQJVXEPLWWHGLQLWVWUDQVSRUW6,3VXEPLWWDOOLNHO\XQGHUSURMHFWVIXWXUHR]RQHFRQFHQWUDWLRQV7KH
WRSSEILJXUHGRHVQRWUHSUHVHQWDQ\DQDO\VLVRUFRQFOXVLRQVUHJDUGLQJDFWXDOHPLVVLRQVUHGXFWLRQVLQ7H[DVRUDQ\
RWKHUVWDWH7KH(3$KDVQREDVLVWRDVVXPHHYHQWKLVOHYHORIUHGXFWLRQLQR]RQHFRQFHQWUDWLRQVZLOODFWXDOO\RFFXU
QRULVWKLVHVWLPDWHEDVHGRQDQ\DVVHVVPHQWRIWKHHIIHFWVRISHUPDQHQWDQGHQIRUFHDEOHHPLVVLRQVUHGXFWLRQVLQDQ\
6,3RU),3RUUHVXOWLQJIURPDQ\RWKHUNQRZQRUXSFRPLQJ&$$UHTXLUHPHQWV$VVXFKWKLVHVWLPDWHLVQRWXVDEOH
LQDQ\RWKHU&$$DFWLRQQRUZRXOGLWEHDGHIHQVLEOHEDVLVRQZKLFKWRUHDFKDQ\FRQFOXVLRQVUHJDUGLQJIXWXUHDLU
TXDOLW\FRQGLWLRQVZLWKRXWIDUJUHDWHUWHFKQLFDODQGOHJDODQDO\VLVWKDQWKH$JHQF\FDQSURYLGHDWWKLVWLPH
         Case: 23-60069       Document: 438-3         Page: 381    Date Filed: 09/26/2023

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        7DEOH7&(43URMHFWHG)XWXUH'9V&RPSDUHGWR0RQLWRUHG'9V
                                      ,/:, 0, 
                  &KLFDJRDQG'RZQZLQGDUHDVLQ:LVFRQVLQDQG0LFKLJDQ                            

                                                7&(4                                  'HOWDLQ\HDUV
                                               )XWXUH'HVLJQ     0RQLWRUHG'9      0RQLWRU'9
       6WDWH     &RXQW\       $46,'
                                                 9DOXH'9               SSE              7&(4'9
                                                   SSE                                           SSE 
    ,OOLQRLV    &RRN                                                            
    ,OOLQRLV    &RRN                                                             
    ,OOLQRLV    &RRN                                                             
    ,OOLQRLV    &RRN                                                            
    ,OOLQRLV    &RRN                                                            
    ,OOLQRLV    &RRN                                                            
    ,OOLQRLV    &RRN                                                            
    ,OOLQRLV    &RRN                                                            
    ,OOLQRLV    &RRN                                                             
    0LFKLJDQ    $OOHJDQ                                                          
    :LVFRQVLQ   'RRU                                                             
    :LVFRQVLQ   .HQRVKD                                                          
    :LVFRQVLQ   0DQLWRZRF                                                        
    :LVFRQVLQ   0LOZDXNHH                                                        
    :LVFRQVLQ   0LOZDXNHH                                                        
    :LVFRQVLQ   6KHER\JDQ                                                        
                                                                             $YJ$//           
                                                            $YJLI&XUUHQW'9SSE         
                                     $YJLI7&(4SSEEXW'9SSE           
                                      $YJLI7&(4SSEEXW'9SSE             
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              Case: 23-60069      Document: 438-3               Page: 382     Date Filed: 09/26/2023

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         7DEOH7&(43URMHFWHG)XWXUH'9V&RPSDUHGWR0RQLWRUHG'9V &2 

                                        'HQYHUDQGGRZQZLQGDUHDVLQ&RORUDGR

                                               7&(4                               'HOWDLQ\HDUV
                                                                    0RQLWRUHG
    6WDWH        &RXQW\      $46,'        )XWXUH'HVLJQ                            0RQLWRU'97&(4
                                                                      '9 SSE 
                                             9DOXH'9 SSE                                '9 SSE 

    &RORUDGR     $GDPV                                                           
    &RORUDGR     $UDSDKRH                                                        
    &RORUDGR     $UDSDKRH                                                        
    &RORUDGR     %RXOGHU                                                         
    &RORUDGR     'HQYHU                                                         
    &RORUDGR     'RXJODV                                                         
    &RORUDGR     -HIIHUVRQ                                                       
    &RORUDGR     -HIIHUVRQ                                                       
    &RORUDGR     -HIIHUVRQ                                                       
    &RORUDGR     /DULPHU                                                         
    &RORUDGR     /DULPHU                                                         
    &RORUDGR     /DULPHU                                                         
    &RORUDGR     :HOG                                                            
                                                                         $YJ$//             
                                                        $YJLI&XUUHQW'9SSE           
                               $YJLI7&(4SSEEXW'9SSE                 
                               $YJLI7&(4SSEEXW'9SSE                 
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         Case: 23-60069             Document: 438-3         Page: 383   Date Filed: 09/26/2023

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         7DEOH7&(43URMHFWHG)XWXUH'9V&RPSDUHGWR0RQLWRUHG'9V
                                         $= &$ 

                                                       7&(4                            'HOWDLQ\HDUV
                                                                          0RQLWRUHG
                                                      )XWXUH'HVLJQ                       0RQLWRU'9±
    6WDWH        &RXQW\                $46,'                           '9
                                                        9DOXH'9                           7&(4'9

                                                             SSE             SSE                SSE 
    $UL]RQD      &RFKLVH                                                           
    &DOLIRUQLD   /RV$QJHOHV                                                      
    &DOLIRUQLD   /RV$QJHOHV                                                     
    &DOLIRUQLD   /RV$QJHOHV                                                      
    &DOLIRUQLD   /RV$QJHOHV                                                      
    &DOLIRUQLD   /RV$QJHOHV                                                      
    &DOLIRUQLD   /RV$QJHOHV                                                      
    &DOLIRUQLD   /RV$QJHOHV                                                       
    &DOLIRUQLD   /RV$QJHOHV                                                       
    &DOLIRUQLD   /RV$QJHOHV                                                      
    &DOLIRUQLD   /RV$QJHOHV                                                       
    &DOLIRUQLD   /RV$QJHOHV                                                     
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   5LYHUVLGH                                                         
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   5LYHUVLGH                                                         
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   5LYHUVLGH                                                        
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                   
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                    
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                    
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                    
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                  
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                   
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                    
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                  
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                    
    &DOLIRUQLD   6DQ%HUQDUGLQR                                                  
                                                                            $YJ$//           
                                                           $YJLI&XUUHQW'9SSE         
                                        $YJLI7&(4SSEEXW'9SSE         
                                        $YJLI7&(4SSEEXW'9SSE         
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       Case: 23-60069             Document: 438-3               Page: 384       Date Filed: 09/26/2023

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         $VFDQEHVHHQLQ7DEOHVWKHUHDUHPDQ\PRQLWRUVLQWKHVHGRZQZLQGDUHDV

WKDWZRXOGQHHGDGURSLQR]RQH'9VRYHUWKHQH[W\HDUVRISSE YDOXHVRISSERUPRUH

LQWKHIDUULJKWFROXPQ WRUHDFK7&(4¶VPRGHOHGSURMHFWHGOHYHOV)RUHDFKRIWKHVH

GRZQZLQGDUHDVWKH(3$DOVRH[DPLQHGWKH7&(4PRGHOHG'9VIRUPRQLWRUVZLWK

'9VSSEDQGIRUWKHPRQLWRUVWKDW7&(4SURMHFWHGWREHDWWDLQLQJ '9SSE (3$

H[DPLQHGDOOPRQLWRUVWKDWKDGD'9SSEDQGDOVRWKHVXEVHWRIWKHVHPRQLWRUVZLWKD

'9SSE7KLV'9FRQFHQWUDWLRQZDVFKRVHQVLQFHD'9RISSERUOHVVZRXOG

GURSWRD'9EHORZWKH1$$46ZLWKDWRSSEUHGXFWLRQEHWZHHQDQG+RZHYHU

HYHQLIWKHVHPRQLWRUVVKRZDWWDLQPHQWLQLWLVOLNHO\WKDWWKHLU'9VZRXOGEHFORVHWRWKH

1$$46DQGWKHUHIRUHPD\VWLOOEHFRQVLGHUHGPDLQWHQDQFHUHFHSWRUV

         )RUWKHVXEVHWRIPRQLWRUVLQ,OOLQRLV:LVFRQVLQDQG0LFKLJDQZLWK'9VSSE

WKHDYHUDJHDPRXQWRIGHFUHDVHLQ'9VQHHGHGWRPDWFK7&(4¶VSURMHFWLRQLVSSE

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      Case: 23-60069         Document: 438-3          Page: 385    Date Filed: 09/26/2023

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      Case: 23-60069         Document: 438-3            Page: 386   Date Filed: 09/26/2023

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      Case: 23-60069       Document: 438-3         Page: 389   Date Filed: 09/26/2023

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       Case: 23-60069         Document: 438-3            Page: 392     Date Filed: 09/26/2023

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WKHUHVXOWVRIWKHEDVH\HDUPRGHOSHUIRUPDQFHSURYLGHGE\7&(4LQWKHLUVXEPLWWDOGRHVQRW

DSSHDUWREHDFOHDUIDFWRUFRQWULEXWLQJWRWKHOLNHO\XQGHUHVWLPDWLRQRIIXWXUH\HDUPRGHO

SUHGLFWHG'9V

     G0RGHO3HUIRUPDQFH(YDOXDWLRQRI7&(4¶VEDVHFDVHDW'):DQG+*%
         PRQLWRUV

        ,QWKLVVHFWLRQZHSUHVHQWDQHYDOXDWLRQRI7&(4¶VEDVHFDVHPRGHOSHUIRUPDQFHLQ

WKH'): +*%DUHDV:HFRQGXFWHGWKLVDQDO\VLVWRLGHQWLI\LIWKHUHZHUHDQ\VHULRXV

SUREOHPVZLWK7&(4¶VEDVH\HDUPRGHOSHUIRUPDQFHWKDWPLJKWSRWHQWLDOO\DIIHFWWKH

SURMHFWLRQRIIXWXUH\HDU'9V7&(4SURYLGHVVRPHPRGHOSHUIRUPDQFHHYDOXDWLRQGDWDIRUWKHLU

EDVHFDVHPRGHOLQJIRUWKLVWUDQVSRUW6,3RQDZHEVLWHZKLFKWKH(3$XVHGWRJHQHUDWH

WKHILJXUHVEHORZLQGLFDWLQJVRPHORZELDVDWNH\PRQLWRUUHFHSWRUVLQWKH'):DQG+*%DUHD

 )LJXUHVDI 7KH(3$KDVSURYLGHGDWLPHVHULHVXVLQJ7&(4¶VPRGHOSHUIRUPDQFH

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UHGDQGPRGHOHGYDOXHLQEOXHIRUWZRPRQLWRUVLQWKH'):DUHDDQGRQHLQWKH+*%DUHDWKDW

ZHUHLGHQWLILHGLQWKH(3$¶V0DUFKPHPRUDQGXPWKDW2NODKRPDZDVOLQNHG $46,'

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*UDSHYLQHDQG)ULVFR LQWKH'):DUHDZKLFKDUHDPRQJWKHPRQLWRUVWKDWRIWHQKDYHWKH

KLJKHVW'9VWKH'):DUHD7KHVHILJXUHVDOVRLQFOXGHTXDQWLOHTXDQWLOH 44 VFDWWHUSORWV

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IURP7&(4¶VZHEVLWHV2]RQH1$$467UDQVSRUW6,30RGHOLQJ,QWHUDFWLYH%DU&KDUW7H[DV&RPPLVVLRQ
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&RPPLVVLRQRQ(QYLURQPHQWDO4XDOLW\ZZZWFHTWH[DVJRY
      Case: 23-60069      Document: 438-3          Page: 393   Date Filed: 09/26/2023

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VXEVHWRI'):DUHDPRQLWRUVDQGIRUVRPHRIWKH+*%DUHDPRQLWRUVLQFOXGLQJWKH0DQYHO

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Case: 23-60069    Document: 438-3         Page: 394   Date Filed: 09/26/2023

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      )LJXUH D ±%UD]RULD&RXQW\±0DQYHO&URL[7LPH6HULHV0'$
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Case: 23-60069     Document: 438-3         Page: 395   Date Filed: 09/26/2023

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   )LJXUH E ±'HQWRQ&RXQW\±'HQWRQ$LUSRUW6RXWK7LPH6HULHV0'$
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Case: 23-60069    Document: 438-3         Page: 396   Date Filed: 09/26/2023

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        )LJXUH F ±7DUUDQW&RXQW\±)$$6LWH7LPH6HULHV0'$
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Case: 23-60069     Document: 438-3         Page: 397   Date Filed: 09/26/2023

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   )LJXUH G ±7DUUDQW&RXQW\±(DJOH0RXQWDLQ/DNH7LPH6HULHV0'$
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Case: 23-60069    Document: 438-3         Page: 398   Date Filed: 09/26/2023

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        )LJXUH H ±7DUUDQW&RXQW\±*UDSHYLQH7LPH6HULHV0'$
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Case: 23-60069    Document: 438-3         Page: 399   Date Filed: 09/26/2023

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          )LJXUH I ±&ROOLQ&RXQW\±)ULVFR7LPH6HULHV0'$
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        7KHWLPHVHULHVDQGVFDWWHU44SORWVDORQJZLWKWKHSHUIRUPDQFHVWDWLVWLFVVKRZWKDW

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  &RXQW\6WDWH             (3$          '90D[LPXP        '90DLQWHQDQFH
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  5DFLQH                                                                                                                  
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5DFLQH$46,'ZDVLQVWDOOHGRQ$SULOVRWKHILUVWWKUHH\HDU'9DYDLODEOHLV7&(4¶VPRGHOLQJXVHG
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  PRQLWRULQJGDWDLVSUHOLPLQDU\DQGVWLOOKDVWRXQGHUJR4XDOLW\$VVXUDQFH4XDOLW\&RQWURODQDO\VLVDQGEHFHUWLILHGE\WKH
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      Case: 23-60069         Document: 438-3        Page: 405       Date Filed: 09/26/2023




        7KHOLNHO\XQGHUHVWLPDWLRQRIDQWLFLSDWHG'9VLQWKH0LGZHVWLVDFRQFHUQ

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        Cook County, IL

        $VVKRZQLQ7DEOHWKH(3$LGHQWLILHGIRXUUHFHSWRUVDVPDLQWHQDQFHUHFHSWRUVLQ

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      Case: 23-60069         Document: 438-3           Page: 406    Date Filed: 09/26/2023

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WKHIDFHRILQWHUDQQXDOYDULDELOLW\LQR]RQHFRQGXFLYHFRQGLWLRQV,WLVZRUWKQRWLQJWKDWLI

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WKHUHIRUH7H[DVZRXOGKDYHEHHQOLQNHGWRWKHVHUHFHSWRUVIRUIXUWKHUDQDO\VLVRISRWHQWLDO

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         Case: 23-60069        Document: 438-3          Page: 407    Date Filed: 09/26/2023

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IURP7H[DVVRXUFHVZDVSSEDQGWKHUHIRUH7H[DVZRXOGKDYHEHHQOLQNHGWRWKHVHUHFHSWRUV

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          Case: 23-60069         Document: 438-3           Page: 408   Date Filed: 09/26/2023

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       E&RQWULEXWLRQ&DOFXODWLRQ

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FRQWULEXWLRQVIURP7H[DVHPLVVLRQVDWHDFKPRQLWRU7H[DVLGHQWLILHGDVDUHFHSWRULQ&RORUDGR

$UL]RQDDQG6RXWKHUQ&DOLIRUQLD

           7RXQGHUVWDQGWKHGLIIHUHQFHVZHILUVWGHVFULEHWKH(3$¶VPHWKRGIRUFDOFXODWLQJWKH

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)HGHUDO5HJLVWHU1RWLFH6HFWLRQ,,%DQG6HFWLRQ,,,%WKDWLVDOVRUHIHUUHGWRHOVHZKHUHLQ

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        )RUFODULW\DQGIXUWKHUDQDO\VLVRIWKHGLIIHUHQFHVZLWK7&(4¶VPHWKRGRORJ\ZHDUH

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      Case: 23-60069         Document: 438-3          Page: 410    Date Filed: 09/26/2023

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JULGFHOOFRQWDLQLQJWKHPRQLWRUEDVHGRQZKDWHYHUJULGFHOOVDUHLQFOXGHGLQWKHFDOFXODWLRQRI

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WKHJULGFHOOFRQWDLQLQJWKHPRQLWRU

       0RUHVSHFLILFDOO\7&(4¶VPHWKRGRORJ\GLIIHUVIURPVWHSDERYHLQWKDWWKH\XVHWKH

FRQWULEXWLRQIRUWKHFHOOWKDWKDGWKHPD[LPXP0'$YDOXHIURPD[PDWUL[FHQWHUHG

DURXQGWKHJULGFHOOWKDWKDVWKHPRQLWRUZKHUHDVWKH(3$XVHVWKHFRQWULEXWLRQIRUWKHFHOOWKDW

LQFOXGHVWKHPRQLWRU1RWH7&(4LVXVLQJWKHPRGHOHGYDOXHVIRUVHOHFWLQJWKH0'$

YDOXH7&(4¶VPHWKRGRORJ\GLIIHUVLQVWHSLQWKDWWKH\XVHWKHKLJKHVW0'$GD\VLQWKH

PRGHOLQJLQVWHDGRIWKH(3$¶VPHWKRGWKDWXVHVWKHKLJKHVW0'$GD\VLQWKH

PRGHOLQJ2QHDUWLIDFWRI7&(4¶VPHWKRGLVWKDWWKHPRGHOHGFRQWULEXWLRQVXVHGWRFDOFXODWHWKH

DYHUDJHFRQWULEXWLRQPHWULFPD\EHEDVHGRQFRQWULEXWLRQVRQGLIIHUHQWGD\VDQGLQGLIIHUHQWJULG

FHOOVWKDQ(3$¶VPHWKRG

       7&(4¶VDOVRXVHVPRGHOHGYDOXHVLQVWHSWRFDOFXODWHWKH5HODWLYH&RQWULEXWLRQ

)DFWRUDQGLQVWHSWRSURGXFHWKHDYHUDJHFRQWULEXWLRQPHWULFXVLQJWKHWRWDOPRGHOHG

FRQFHQWUDWLRQYDOXHV:KHUHDVWKH(3$XVHVWKHGDWDLQVWHSVDQG

       ,WLVXQFOHDUKRZWKHPHWKRGRORJLFDOGLIIHUHQFHVXOWLPDWHO\DIIHFWWKHFRQWULEXWLRQYDOXHV

DQGZKLFKUHFHSWRUV7H[DVLVOLQNHGFRPSDUHGWRWKH(3$¶VPHWKRGRORJ\$VQRWHGLQ6HFWLRQ

IRUUHFHSWRUVWKDW(3$LGHQWLILHGLQ,OOLQRLVDQG:LVFRQVLQ7&(4¶VFRQWULEXWLRQPHWKRGGLG

UHVXOWLQFRQWULEXWLRQVWKDWZHUHUHODWLYHO\VLPLODULQPDJQLWXGHFRPSDUHGWR(3$¶VY

FRQWULEXWLRQUHVXOWV7KH(3$GRHVQRWDJUHHZLWK7&(4¶VXVHRIWKHPRGHOHGGD\VIRU

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PHWKRGRORJ\GLGLGHQWLI\FRQWULEXWLRQVDERYHSSEDWQRQDWWDLQPHQWPDLQWHQDQFHUHFHSWRUV

LQ&RORUDGR$UL]RQDDQG6RXWKHUQ&DOLIRUQLD
        Case: 23-60069       Document: 438-3           Page: 411    Date Filed: 09/26/2023

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      F)XWXUH<HDU%RXQGDU\&RQGLWLRQV

         ,QJHQHUDWLQJWKHLUIXWXUH\HDUERXQGDU\FRQGLWLRQV7&(4XVHGHVWLPDWHG

HPLVVLRQVIURPWKH5HSUHVHQWDWLYH&RQFHQWUDWLRQ3DWKZD\ 5&3 VFHQDULRGHYHORSHGE\WKH

,QWHUJRYHUQPHQWDO3DQHORQ&OLPDWH&KDQJH ,3&& 7KLVLQFOXGHVVRPHHVWLPDWHGFKDQJHV

EDVHGRQFOLPDWHPRGHOLQJ7KH(3$W\SLFDOO\KDVQRWVHHQDGMXVWPHQWLQIXWXUH\HDUERXQGDU\

FRQGLWLRQVIRUFOLPDWHFKDQJHVLQFOXGHGLQ6,3PRGHOLQJZLWKRXWDPRGHOLQJVHQVLWLYLW\

DQDO\VLVWKHDFWXDOLPSDFWFDQQRWEHTXDQWLILHG7KHDFWXDOLPSDFWLVH[SHFWHGWREHDUHODWLYHO\

VPDOOFRQWULEXWLRQWRWKHWRWDOPRGHOHGFRQFHQWUDWLRQVLQ7&(4¶VWUDQVSRUW6,3PRGHOLQJDQG

ZRXOGQRWEHH[SHFWHGWRVLJQLILFDQWO\FKDQJHWKHWRWDOPRGHOHGFRQFHQWUDWLRQV


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         7&(4VWDWHGWKDWWKH7H[DVFRQWULEXWLRQWRDUHFHSWRUVKRXOGEHGHHPHG³VLJQLILFDQW´

RQO\LIWKHUHLVDSHUVLVWHQWDQGFRQVLVWHQWSDWWHUQRIFRQWULEXWLRQRQVHYHUDOGD\VZLWKHOHYDWHG

R]RQH7RWU\DQGDVVHVVSHUVLVWHQWDQGFRQVLVWHQWSDWWHUQV7&(4GLGVRPHDGGLWLRQDODQDO\VLVRI

VHYHUDOGLIIHUHQWIDFWRUVVXFKDV'9WUHQGVQXPEHURIHOHYDWHGR]RQHGD\VEDFNWUDMHFWRU\

DQDO\VHVRQHOHYDWHGR]RQHGD\VPRGHOHGFRQFHQWUDWLRQVRQIXWXUHH[SHFWHGHOHYDWHGR]RQH

GD\VWRWDOLQWHUVWDWHFRQWULEXWLRQVDWWDJJHGPRQLWRUVFRQVLGHUDWLRQRIFRQFHSWXDOPRGHORI

GRZQZLQGDUHDDQGUHVSRQVLYHQHVVRIR]RQHWRHPLVVLRQVIURP7H[DV%DVHGRQWKHLU

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QRQDWWDLQPHQWRULQWHUIHUHZLWKPDLQWHQDQFHRIWKHR]RQH1$$46DWDQ\GRZQZLQG

PRQLWRUV

         TCEQ Summary

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      Case: 23-60069         Document: 438-3          Page: 412    Date Filed: 09/26/2023

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R]RQHGD\VWKHPRGHOHGFRQWULEXWLRQVRQH[SHFWHGHOHYDWHGR]RQHGD\VFROOHFWLYHLQWHUVWDWH

FRQWULEXWLRQDOWHUQDWHFRQWULEXWLRQPHWKRGDQDO\VLVDQGWKHUHVSRQVLYHQHVVRIR]RQHIRUPDWLRQ

DWWKHWDJJHG&RORUDGRPRQLWRUVWR7H[DV12;HPLVVLRQV7&(4HYDOXDWHGWKHVHIDFWRUVLQD

JHQHUDOZHLJKWRIHYLGHQFHDSSURDFKDQGFRQFOXGHGWKDW7H[DVHPLVVLRQVGRQRWFRQWULEXWH

VLJQLILFDQWO\WRQRQDWWDLQPHQWRULQWHUIHUHZLWKPDLQWHQDQFHRIWKHR]RQH1$$46DWWKH

WDJJHGPRQLWRUVLQ&RORUDGR

       )RU&DOLIRUQLDUHFHSWRUV7&(4SURYLGHGDQDO\VLVRIFXUUHQWDWWDLQPHQWVWDWXVDQGGHVLJQ

YDOXHWUHQGVQXPEHURIGD\VZLWKHOHYDWHGREVHUYHGR]RQHEDFNWUDMHFWRU\DQDO\VLVRQHOHYDWHG

R]RQHGD\VWKHPRGHOHGFRQWULEXWLRQVRQH[SHFWHGHOHYDWHGR]RQHGD\VFROOHFWLYHLQWHUVWDWH

FRQWULEXWLRQ7&(4HYDOXDWHGWKHVHIDFWRUVLQDJHQHUDOZHLJKWRIHYLGHQFHDSSURDFKDQG

FRQFOXGHGWKDW7H[DVHPLVVLRQVGRQRWFRQWULEXWHVLJQLILFDQWO\WRQRQDWWDLQPHQWRULQWHUIHUHZLWK

PDLQWHQDQFHRIWKHR]RQH1$$46DWWKHWDJJHGPRQLWRUVLQ&DOLIRUQLD

       :KLOHWKHVHDGGLWLRQDOIDFWRUVFDQEHLQIRUPDWLYHWRVXSSOHPHQWDQDLUTXDOLW\PRGHOLQJ

EDVHGDQDO\VLVRIVRPHRIWKHFRPSOH[LWLHVRIR]RQHIRUPDWLRQLQGRZQZLQGDUHDVKRZR]RQHLV

FKDQJLQJLQWKRVHDUHDVDUHDVWKDWPD\FRQWULEXWHWRGRZQZLQGDUHDVPRGHOHGFRQWULEXWLRQV

IURPXSZLQGDUHDVDQGSRWHQWLDOUHVSRQVLYHQHVVWRXSZLQGFKDQJHVLQHPLVVLRQVPRVWRIWKHVH

DQDO\VHVGRQRWSURYLGHWKHTXDQWLWDWLYHDVVHVVPHQWWKDWFKHPLFDOWUDQVSRUWPRGHOLQJZLWKVRXUFH

FRQWULEXWLRQDQDO\VHVWKDWDLUTXDOLW\PRGHOLQJSURYLGHV&KHPLFDOWUDQVSRUWPRGHOLQJLVWKH

PRVWWHFKQLFDOO\FUHGLEOHWRRODYDLODEOHWRSURMHFWIXWXUH\HDUR]RQHOHYHOVFRQWULEXWLRQVIURP

XSZLQGVWDWHVDQGIUHTXHQF\RIWKHLPSDFWVRIXSZLQGVWDWHV

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DSSURDFKIRUUHFHSWRUVLQ&RORUDGRDQG&DOLIRUQLDDQGIRXQGVLJQLILFDQWFRQFHUQVZLWKVRPHRI

WKHDQDO\VHV6SHFLILFDOO\WKH(3$¶VDVVHVVPHQWRIWKHWRWDOLW\RI7&(4¶V:HLJKWRI(YLGHQFH
      Case: 23-60069        Document: 438-3           Page: 413   Date Filed: 09/26/2023

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IDFWRUVIRU&RORUDGRDQG&DOLIRUQLDUHFHSWRUVLVWKDWWKH\ZHUHLQFRQFOXVLYHRUGRQRWSURYLGH

VXIILFLHQWVXEVWDQWLDOHYLGHQFHWKDWFRXQWHUVWKHUHVXOWVRISKRWRFKHPLFDOPRGHOLQJLQFOXGLQJ

WKHFRQWULEXWLRQDQDO\VLVXVLQJ(3$¶VFRQWULEXWLRQPHWKRGRORJ\7KH(3$GRHVQRWFRQFXUZLWK

7&(4¶VFRQFOXVLRQWKDW7H[DVHPLVVLRQVGRQRWFRQWULEXWHVLJQLILFDQWO\WRQRQDWWDLQPHQWRU

LQWHUIHUHZLWKPDLQWHQDQFHRIWKHR]RQH1$$46DWWKHWDJJHGPRQLWRUVLQ&DOLIRUQLD7KH

(3$KDVLQFOXGHGVRPHFRPPHQWVFRQFHUQVDQGOLPLWDWLRQVZLWKXVLQJWKHVHIDFWRUVWKDW7H[DV

XVHGWRQHJDWHWKHILQGLQJVRIWKHFKHPLFDOWUDQVSRUWPRGHOEHORZ

   D7&(4LQGLFDWHGWKDWWKHUHDUHSUREOHPVZLWK'9WUHQGV

       7&(4SURYLGHGDQDO\VHVRIUHFHQW'9WUHQGVDWWKH&RORUDGRPRQLWRUVWKDW7&(4

LGHQWLILHGDVQRQDWWDLQPHQWPDLQWHQDQFHUHFHSWRUV7&(4VWDWHGWKDWZDVDKLJKPRQLWRUHG

R]RQH\HDUEXWWKDWWKHPRVWUHFHQW'9VDWWKHWLPHRIWKHLU6,3VXEPLWWDO '9V DWPRVW

PRQLWRUVVKRZDWWDLQPHQWDQGORQJWHUPR]RQHGHFUHDVHVDUHPRGHVWIRUWKHWLPHHYDOXDWHG VHH

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       7&(4DOVRSURYLGHGDQDO\VHVRIUHFHQW'9WUHQGVDWWKHWDJJHG&DOLIRUQLDPRQLWRUV

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RYHUDOOIRUWKHSDVW\HDUVDQGWKHPRQLWRUVWDJJHGIRUIXUWKHUUHYLHZKDYHREVHUYHGHLJKW

KRXUR]RQHGHVLJQYDOXHGHFUHDVHVIURPWKURXJKUDQJLQJIURPDW5HVHGD $46

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       Case: 23-60069          Document: 438-3             Page: 414      Date Filed: 09/26/2023

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        7KHPRVWUHFHQWPRQLWRULQJGDWDDQGWUHQGVDUHXVHIXOWRKHOSLGHQWLI\ZKHWKHUWKH

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GHVSLWHIRXUPRUH\HDUVRIIOHHWWXUQRYHULQWKH'HQYHUDUHD2YHUDOOWKH'9WUHQGVVKRZWKDW

R]RQHOHYHOVDUHUHGXFLQJDWDVORZSDFH%DVHGRQWKHGDWDIRUWKH&RORUDGRPRQLWRUVDQGWKHWHQ

&DOLIRUQLDDUHDPRQLWRUVLGHQWLILHGE\7&(4DVUHFHSWRUVWKH'9VDQGWKHORQJWHUP

WUHQGVGRQRWFOHDUO\VKRZWKDWWKHUHFHSWRUVLQ&DOLIRUQLDRU&RORUDGRDUHH[SHFWHGWREHEHORZ

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          PRQLWRULQJGDWDLVSUHOLPLQDU\DQGVWLOOKDVWRXQGHUJR4XDOLW\$VVXUDQFH4XDOLW\
&RQWURODQDO\VLVDQGEHFHUWLILHGE\WKH6WDWHRI7H[DVVXEPLWWHGWRWKH(3$DQGUHYLHZHGDQG
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            )URP7&(4VSUHDGVKHHWRIIXWXUH'9VZLWKVWDWHFRQWULEXWLRQV
             7&(4GLGQRWSURYLGHFDOFXODWLRQVIRUWKLVUHFHSWRUVR(3$FDOFXODWHGIURPWKH5HODWLYH
5HVSRQVH)DFWRULQ7&(4VSUHDGVKHHWRIIXWXUH'9VZLWKVWDWHFRQWULEXWLRQVDQGWKHPRQLWRU¶V
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         PRQLWRUVLQWKH'HQYHUDQG6RXWKHUQ&DOLIRUQLDDUHDV

         )RUWKHJUHDWHU'HQYHUDUHD&RORUDGR7&(4SURYLGHGQXPEHURIGD\VRYHUSSE

WUHQGVIRULQGLFDWLQJGHFUHDVHVLQWKHQXPEHURIVXFKGD\VRYHUWKHORQJWHUPDQGWKDW

ZDVWKHKLJKHVW\HDULQWHUPVRIWKHQXPEHURIH[FHHGDQFHGD\VDWWKHILYHPRQLWRUV

HYDOXDWHG+RZHYHULQRIPRQLWRUVKDGPRUHWKDQGD\VRIPRQLWRUHGH[FHHGDQFHV

DQGRQHPRQLWRUKDGPRUHH[FHHGDQFHVLQWKDQLWKDGLQDQG7&(4DOVR

SURYLGHGDVLPLODUDQDO\VLVRIWUHQGVLQ&DOLIRUQLDIRUWKUXZKLFKVKRZVDJHQHUDO

GHFUHDVHLQPRQLWRUHGR]RQHGD\VDERYHSSEIURPIRUPRVWRIWKHPRQLWRUVWDJJHG

E\7&(4¶VPRGHOLQJEXWPRVWPRQLWRUVVWLOOKDYHPRQLWRUHGH[FHHGDQFHGD\V 0'$!

SSE LQ7KLVGDWDVXSSRUWVWKDWWKHQXPEHURIR]RQHH[FHHGDQFHGD\VDUHLPSURYLQJEXW

QHLWKHUWKH&RORUDGRQRU&DOLIRUQLDDQDO\VLVRIQXPEHURIH[FHHGDQFHGD\VDQQXDOO\SURYLGHDQ\

HYLGHQFHWRUHIXWHWKHSKRWRFKHPLFDOPRGHOLQJDQDO\VLVUHVXOWV

     F7&(4%DFN7UDMHFWRU\$QDO\VLV

         7&(4SURYLGHGPXOWL\HDUEDFNWUDMHFWRU\DQDO\VHV  IRUDOOWKHPRQLWRUHG

R]RQHH[FHHGDQFHGD\VDWWKHILYHPRQLWRUVLQ&RORUDGRDQGDWWKHPRQLWRUVLQ6RXWKHUQ

&DOLIRUQLDXVLQJ1DWLRQDO2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ 12$$ +<EULG6LQJOH

3DUWLFOH/DJUDQJLDQ,QWHJUDWHG7UDMHFWRU\ +<63/,7 7&(4SHUIRUPHGKRXUEDFN

WUDMHFWRULHVIRUERWK&RORUDGRDQG&DOLIRUQLDPRQLWRUV*LYHQWKHODUJHGLVWDQFHIURP7H[DVWR

&RORUDGRDQG7H[DVWR&DOLIRUQLDKRXUEDFNWUDMHFWRULHVVKRXOGKDYHEHHQFRQVLGHUHG0RVW



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  +<EULG6LQJOH3DUWLFOH/DJUDQJLDQ,QWHJUDWHG7UDMHFWRU\ +<63/,7 PRGHOLVDFRPSOHWHV\VWHPIRUFRPSXWLQJ
ERWKVLPSOHDLUSDUFHOWUDMHFWRULHVDQGFRPSOH[GLVSHUVLRQDQGGHSRVLWLRQVLPXODWLRQV7KHPRGHOLVGHVLJQHGWR
VXSSRUWDZLGHUDQJHRIVLPXODWLRQVUHODWHGWRWKHDWPRVSKHULFWUDQVSRUWDQGGLVSHUVLRQRISROOXWDQWVDQGKD]DUGRXV
PDWHULDOVWRWKH(DUWK¶VVXUIDFH
      Case: 23-60069         Document: 438-3           Page: 417    Date Filed: 09/26/2023

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RIWKH&RORUDGREDFNWUDMHFWRULHVRQO\UHDFKHGFHQWUDORUQRUWKHUQ7H[DVVRORQJHUEDFN

WUDMHFWRULHVVKRXOGKDYHEHHQFRPSOHWHG VHH7&(46,3VXEPLVVLRQ)LJXUH 7&(4XVHG

VWDUWKHLJKWVRIP$ERYH*URXQG/HYHO $*/ P$*/DQGP$*/7KH(3$

ZRXOGDOVRUHFRPPHQGUXQQLQJDP$*/VWDUWKHLJKWDVZHOOVLQFHERWKDUHDVKDYHFRPSOH[

WHUUDLQQHDUE\RULQWKHSRWHQWLDOSDWKZD\VWKDWFRXOGUHVXOWLQGLIIHUHQWEDFNWUDMHFWRU\SDWKVGXH

WRWKHGLIIHUHQFHLQPHWHRURORJ\EHWZHHQP$*/DQGP$*/$QRWKHUFRQFHUQLVWKDW

7&(4XVHGWKHVWKRXURIWKHKRXUH[FHHGDQFHDVWKHVWDUWWLPHLQVWHDGRIPLGKRXURU

KLJKHVWKRXUQXPEHUDVWKHVWDUWWLPH7KH(3$W\SLFDOO\XVHVDPLGKRXURUODWHUVWDUWWLPH

RUUXQVPXOWLSOHWUDMHFWRULHVZLWKYDU\LQJVWDUWWLPHVDVWKHWUDQVSRUWSDWWHUQVRIWHQFKDQJH

WKURXJKRXWWKHPRQLWRUHGKRXUH[FHHGDQFH1RWUXQQLQJPXOWLSOHKRXUVIRUWKHVWDUWWLPHRUDW

OHDVWWKHKLJKHVWKRXURUWKHPLGGOHRIWKHKRXUSHULRGZKHQPRQLWRUHGKRXUYDOXHVDUH

W\SLFDOO\KLJKHUWKDQWKHVWKRXURIWKHKRXUSHULRGUHVXOWVLQXQFHUWDLQW\DQGDJHQHUDO

FRQFHUQWKDWWKHDQDO\VLVLVQRWFRPSOHWH7KLVWUDQVODWHVLQWRDFRQFHUQWKDWWUDMHFWRULHVSURYLGHG

E\7&(4DUHLQFRPSOHWHDQGPD\QRWEHUHSUHVHQWDWLYHRIWUDQVSRUWSDWWHUQVWKDWRFFXUUHGGXULQJ

PRQLWRUHGKUR]RQHH[FHHGDQFHVEHFDXVHRIWKHZD\7&(4VWUXFWXUHGDQGSHUIRUPHGWKH

+<63/,7DQDO\VHVWKDWUHVXOWVLQRQO\DOLPLWHGVHWRIWUDMHFWRULHV)RUH[DPSOHMXVWWKH

WUDMHFWRU\OHQJWKWLPHUHVXOWVLQDQXPEHURIWUDMHFWRULHVIRU&RORUDGRDQG&DOLIRUQLDWKDWFRXOG

KDYHFURVVHG7H[DVLIDORQJHUWUDMHFWRU\WLPHKDGEHHQXVHG

       7&(4DOVRVFUHHQHGWKHEDFNWUDMHFWRULHVRXWLIWKH\WRXFKHGWKHJURXQGDWVRPHSRLQW

DQGDOVRVFUHHQHGRXWDQ\WUDMHFWRULHVWKDWZHUHQRWEHORZWKH3ODQHWDU\%RXQGDU\/D\HU 3%/ 

RYHU7H[DV7&(4DOVRVFUHHQHGRXWEDFNWUDMHFWRULHVLIWKHEDFNWUDMHFWRU\VWDUWKHLJKWDWWKH

SRLQWDERYHWKHUHFHSWRUZDVDERYHWKH3%/7KH(3$KDVPXOWLSOHFRQFHUQVZLWKWKHVFUHHQLQJ

RXWRIWUDMHFWRULHVWKDW7&(4SHUIRUPHG
      Case: 23-60069         Document: 438-3           Page: 418    Date Filed: 09/26/2023

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       %HIRUHZHH[SODLQRXUVSHFLILFFRQFHUQVZLWKWKHVFUHHQLQJRXWRIEDFNWUDMHFWRULHVLWLV

LPSRUWDQWWRXQGHUVWDQGZKDW+<63/,7EDFNWUDMHFWRULHVUHSUHVHQWDQGWKHLUOLPLWDWLRQV

+<63/,7EDFNWUDMHFWRU\DQDO\VHVXVHDUFKLYHGPHWHRURORJLFDOPRGHOLQJWKDWLQFOXGHVDFWXDO

REVHUYHGGDWD VXUIDFHXSSHUDLUDLUSODQHGDWDHWF DQGPRGHOHGPHWHRURORJLFDOILHOGVWR

HVWLPDWHWKHPRVWOLNHO\URXWHRIDQDLUSDUFHOWUDQVSRUWHGIURPDSDUWLFXODUORFDWLRQDWDVSHFLILHG

WLPH7KHPHWKRGHVVHQWLDOO\IROORZVDSDUFHORIDLUEDFNZDUGLQKRXUO\VWHSVIRUDVSHFLILHG

OHQJWKRIWLPH+<63/,7HVWLPDWHVWKHFHQWUDOSDWKLQERWKWKHYHUWLFDODQGKRUL]RQWDOSODQHV

7KH+<63/,7FHQWUDOSDWKUHSUHVHQWVWKHFHQWHUOLQHZLWKWKHXQGHUVWDQGLQJWKDWWKHUHDUHDUHDV

RQHDFKVLGHKRUL]RQWDOO\DQGYHUWLFDOO\WKDWDOVRFRQWULEXWHWRWKHHQGSRLQWDWWKHPRQLWRU7KH

KRUL]RQWDODQGYHUWLFDODUHDVIURPWKHFHQWHUOLQHJURZZLGHUWKHIXUWKHUEDFNLQWLPHWKH

WUDMHFWRU\JRHV7KHUHIRUHD+<63/,7FHQWHUOLQHGRHVQRWKDYHWRSDVVGLUHFWO\RYHUHPLVVLRQV

VRXUFHVRUHPLVVLRQVRXUFHDUHDVEXWPHUHO\UHODWLYHO\QHDUHPLVVLRQVRXUFHDUHDV1RUGRHVWKH

+<36/,7FHQWHUOLQHKDYHWREHEHORZWKH3%/RYHU7H[DVDVWKHYHUWLFDOVSUHDGDUHDRQWKH

FHQWHUOLQHIRUGLVWDQFHVRIWRPLOHVRUPRUHZRXOGPRVWOLNHO\EHEHORZWKH3%/HYHQLI

WKHFHQWHUOLQHZDVZHOODERYHWKH3%//LNHZLVHHYHQLIDFHQWHUOLQHLVLQGLFDWHGDVWRXFKLQJ

GRZQWKDWDGGVVRPHXQFHUWDLQW\EXWGRHVQRWYRLGWKHEDFNWUDMHFWRU\*LYHQWKHGLVWDQFHIURP

7H[DVWR&RORUDGRUHFHSWRUVDQG7H[DVWR&DOLIRUQLDUHFHSWRUVLWLVXQFOHDUKRZPDQ\EDFN

WUDMHFWRULHV7&(4LQDSSURSULDWHO\VFUHHQHGRXWZKHQWKHFHQWHUOLQHZDVFORVHWR7H[DVVXFKWKDW

WKHKRUL]RQWDOVSUHDGDUHDFRXOGHQFRPSDVVDUHDVRI7H[DVEXWGLGQRWGLUHFWO\FURVVDQ\SDUWVRI

7H[DV,QDGGLWLRQ)LJXUHLQ7&(4¶V6,3VXEPLVVLRQLQGLFDWHVWKDWPDQ\RIWKHKRXU

WUDMHFWRULHVWKDWSDVVRYHU7H[DVHQGEHIRUHWKH\KDYHIXOO\WUDYHUVHG7H[DV6RPHRIWKHVH

WUDMHFWRULHVPD\KDYHEHHQVFUHHQHGRXWEHFDXVHWKH\ZHUHQRWEHORZWKH3%/EXWPD\KDYH

EHHQEHORZWKHPL[OD\HULQ7H[DVDQGWKXVUHWDLQHGIRUWKHDQDO\VLVLIORQJHUWKDQKRXU
      Case: 23-60069         Document: 438-3          Page: 419    Date Filed: 09/26/2023

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WUDMHFWRULHVKDGEHHQSHUIRUPHG6WDUWLQJWKHEDFNWUDMHFWRULHVZLWKRQO\WKHVWKRXURIWKHKRXU

R]RQHH[FHHGDQFHPHDQVWKDWWKHWUDMHFWRU\LVVWDUWHGZKHQWKH3%/LVXVXDOO\WKHORZHVW:LWKD

ODWHUVWDUWKRXU PLGGOHRIWKHKRXUPXOWLSOHVWDUWKRXUVHWF WKH3%/ZRXOGEHKLJKHULQPRVW

FDVHV7KXVWKH7&(4RQO\XVLQJWKHVWKRXUPD\KDYHUHVXOWHGLQEDFNWUDMHFWRULHVQRWEHLQJ

SHUIRUPHGRUEHLQJVFUHHQHGRXWZKHQDODWHUVWDUWWLPHZRXOGKDYHUHVXOWHGLQDEDFNWUDMHFWRU\

WKDWSDVVHG7&(4¶VVFUHHQLQJEDVHGRQVWDUWKHLJKWDQG3%/5HJDUGOHVVWKH(3$GRHVQRW

DJUHHZLWKVFUHHQLQJRXWRIWUDMHFWRULHVDV7&(4KDVGRQHLQWKHLUDQDO\VLV7KHPXOWLSOHZD\V

WKDW7&(4LQDSSURSULDWHO\VFUHHQHGRXWWUDMHFWRULHVDORQJZLWKWKHVHYHUDORWKHULVVXHV

PHQWLRQHGDERYHOLPLWVWKHLQIRUPDWLRQWKDWFDQEHJOHDQHGIURP7&(4¶V+<63/,7DQG

(QGSRLQWWUDMHFWRU\DQDO\VLVIRUUHFHSWRUVLQ&RORUDGRDQG&DOLIRUQLD

       7KH(3$ILQGVEDFNWUDMHFWRU\DQDO\VLVFDQEHSRWHQWLDOO\XVHIXODVDFRUROODU\DQDO\VLV

DORQJZLWKREVHUYDWLRQEDVHGPHWHRURORJLFDOZLQGILHOGVDWPXOWLSOHKHLJKWVWRH[DPLQHWKH

JHQHUDOSODXVLELOLW\RIWKHSKRWRFKHPLFDOPRGHO³OLQNDJHV´6LQFHWKHEDFNWUDMHFWRU\

FDOFXODWLRQVGRQRWDFFRXQWIRUDQ\DLUSROOXWLRQIRUPDWLRQGLVSHUVLRQWUDQVIRUPDWLRQRU

UHPRYDOSURFHVVHVDVLQIOXHQFHGE\HPLVVLRQVFKHPLVWU\GHSRVLWLRQHWFWKHWUDMHFWRULHVFDQQRW

EHXVHGWRGHYHORSTXDQWLWDWLYHFRQWULEXWLRQV7KHUHIRUHEDFNWUDMHFWRULHVFDQQRWEHXVHGWR

TXDQWLWDWLYHO\HYDOXDWHWKHPDJQLWXGHRIFRQWULEXWLRQVIURPXSZLQGVWDWHVWRGRZQZLQG

UHFHSWRUV

       )RU&RORUDGR7&(4SURIIHUHGWKDWWKHLUWUDMHFWRU\DQDO\VLVRIWUDQVSRUWIURP7H[DVWR

&RORUDGRLQGLFDWHVWKDWHPLVVLRQVIURP7H[DVDUHXQOLNHO\WRDIIHFWR]RQHFRQFHQWUDWLRQVLQWKH

PL[LQJOD\HURYHU&RORUDGRRQHOHYDWHGR]RQHGD\VDQG7H[DVFRQWULEXWLRQVKRXOGQRWEH

GHHPHGVLJQLILFDQW7&(4DVVHUWHGWKDWILOWHULQJWKHEDFNWUDMHFWRULHVE\RQO\ORRNLQJDW

WUDMHFWRULHVIURPWKHEHJLQQLQJRIHOHYDWHGR]RQHHSLVRGHVWKDWVWDUWZLWKLQ&RORUDGR¶VPL[LQJ
      Case: 23-60069         Document: 438-3          Page: 420    Date Filed: 09/26/2023

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OD\HUWKDWGRQRWKLWWKHVXUIDFHDQGWKDWKDYHHQGSRLQWVZLWKLQ7H[DV¶PL[LQJOD\HULVDQ

DWWHPSWWRILQGDFOHDUFDVHZKHUHHPLVVLRQVLQ7H[DVZRXOGDIIHFWWKHR]RQHLQ&RORUDGR7&(4

FRQFOXGHGWKDWXVLQJWKRVHILOWHUVRIHOHYDWHGR]RQHGD\VLQ&RORUDGRKDGWUDMHFWRULHVWKDW

UHDFKHGWKHPL[LQJOD\HULQ7H[DVDQGRIWKRVHGD\VGXULQJWKHSHULRGRFFXUUHG

LQDQG7KH(3$ILQGVWKLVDQDO\VLVLVIODZHGE\WKHZD\7&(4SHUIRUPHGWKH

+<63/,7EDFNWUDMHFWRULHVDQGE\WKHLQDSSURSULDWHVFUHHQLQJRXWRIEDFNWUDMHFWRULHV7&(4

FRQFOXGHGWKDWWKHUHDUHPDQ\\HDUVZKHUHQREDFNWUDMHFWRULHVUHDFK7H[DVIURP&RORUDGRDQG

WKDWLQWKH\HDUVZKHUH7&(4GHWHUPLQHGWKDWQREDFNWUDMHFWRULHVUHDFKHG7H[DVWKHWDJJHG

PRQLWRUVVWLOOREVHUYHGDKLJKQXPEHURIHOHYDWHGR]RQHGD\VDQGIRXUWKKLJKHVWHLJKWKRXU

R]RQHFRQFHQWUDWLRQVDERYHSSE7KH(3$ILQGVWKHVHFRQFOXVLRQVWREHLQDGHTXDWHO\

VXSSRUWHGGXHWRWKHZD\7&(4SHUIRUPHGDQGJHQHUDWHGWKHEDFNWUDMHFWRULHVDQG7&(4¶V

H[FHVVLYHXVHRIILOWHUV)RUWKHVHUHDVRQV(3$DOVRGLVDJUHHVZLWK7&(4¶VFRQFOXVLRQWKDW

7H[DVPD\QRWEHXSZLQGLQDQGGXULQJDQ\HOHYDWHGR]RQHGD\VDWDQ\RIWKHILYH

VLWHVVKRZQLQ)LJXUHRI7&(4¶V6,3VXEPLVVLRQ7KH(3$QRWHVWKDWHQGSRLQWDQDO\VLVDQG

SHUFHQWDJHRIHQGSRLQWVJHQHUDOO\SURYLGHVOLPLWHGYDOXHEXWGXHWRWKHFRQFHUQVZLWKWKHRYHUDOO

EDFNWUDMHFWRU\DQDO\VLVWKH(3$ILQGVOLWWOHYDOXHLQWKHHQGSRLQWDQDO\VLVWKDW7&(4SURYLGHG

       7&(4GLGLQGLFDWHWKDWWKHUHZHUHDOVRPDQ\PRUHHOHYDWHGHLJKWKRXUR]RQHGD\V

REVHUYHGLQFRPSDUHGWRRWKHU\HDUVDQGWKDWWKLVPD\LQGLFDWHWKDWWKHUHZHUHVRPH

XQXVXDOPHWHRURORJLFDOSDWWHUQVWKDWRFFXUUHGLQWKDWUHVXOWHGLQDPRUHVHYHUHR]RQH

VHDVRQ7&(4QRWHGWKDWRYHUDOOWUHQGVLQWKHIRXUWKKLJKHVWHLJKWKRXUR]RQHFRQFHQWUDWLRQV

KDYHRQO\VOLJKWO\GHFUHDVHGDWWKH&RORUDGRUHFHSWRUVWKDW7&(4LGHQWLILHG7KH(3$FRQFOXGHV

WKDW7&(4¶V+<63/,7EDFNWUDMHFWRU\DQDO\VLVIRUWKH&RORUDGRUHFHSWRUVLVIODZHGDQGGRHV
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QRWLQLWVHOISURYLGHVXIILFLHQWHYLGHQFHWRFRXQWHUWKHUHVXOWVRI7&(4¶VPRGHOLQJUHJDUGLQJWKH

GRZQZLQGGLVWDQFHRILQWHUVWDWHWUDQVSRUWGXHWRHPLVVLRQVIURP7H[DV

       )RU&DOLIRUQLD7&(4SHUIRUPHGDVLPLODU+<63/,7EDFNWUDMHFWRU\DQDO\VLVIRUR]RQH

H[FHHGDQFHGD\VDWWKHPRQLWRUVWKDW7&(4LGHQWLILHGLQ6RXWKHUQ&DOLIRUQLDWRZKLFK7&(4

IRXQG7H[DVSRWHQWLDOO\OLQNHG7&(4SHUIRUPHGWKH+<36/,7VWKHVDPHZD\WKDWWKH\GLGIRU

WKH&RORUDGRUHFHSWRUVLQFOXGLQJWKHLQDSSURSULDWHVFUHHQLQJRIWUDMHFWRULHVDQGRWKHULVVXHV

GLVFXVVHGDERYHLQUHYLHZRI7&(4¶VEDFNWUDMHFWRU\DQGHQGSRLQWDQDO\VLVIRUR]RQH

H[FHHGDQFHVIRUWKH&RORUDGRUHFHSWRUV

       )RUWKHVDPHUHDVRQVWKH(3$ILQGV7&(4¶V&RORUDGREDFNWUDMHFWRU\DQGHQGSRLQW

DQDO\VHVIODZHGZHFRQFOXGHWKDW7&(4¶V+<63/,7EDFNWUDMHFWRU\DQGHQGSRLQWDQDO\VHVIRU

WKH&DOLIRUQLDUHFHSWRUVLVIODZHGDQGGRHVQRWSURYLGHHYLGHQFHUHEXWWLQJ7&(4¶V

SKRWRFKHPLFDOPRGHOLQJWKDW7H[DVPD\EHOLQNHGWRWKHVH&DOLIRUQLDUHFHSWRUV

   G7H[DVFRQWULEXWLRQRQDOOGD\VLQZLWKR]RQHJUHDWHUWKDQSSE

       7&(4HYDOXDWHGFRQWULEXWLRQVIURP7H[DVRQSURMHFWHGIXWXUH\HDUHOHYDWHGR]RQHGD\V

LQWKHLUFKHPLFDOWUDQVSRUWPRGHOLQJ7&(4HYDOXDWHGWKHVXEVHWRIGD\VZLWKPRGHOHG

0'$JUHDWHUWKDQSSEDQG7&(4FDOFXODWHGWKHDYHUDJHPRGHOHG7H[DVFRQWULEXWLRQVIRU

WKLVVXEVHWRIGD\V LHWKH³7;$/7´PHWKRG 7DEOHLQ7&(4¶V6,3VXEPLVVLRQLV

LQFOXGHGEHORZDV7DEOH7&(4DOVRSURYLGHGWKLVVDPHDQDO\VLVIRUWKHUHFHSWRUVLGHQWLILHG

LQ6RXWKHUQ&DOLIRUQLDDQGLQFOXGHGWKHUHVXOWVLQLWV6,3VXEPLVVLRQLQ7DEOHZKLFKLV

LQFOXGHGEHORZDV7DEOH                               
      Case: 23-60069         Document: 438-3          Page: 422     Date Filed: 09/26/2023

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        7DEOH 7&(4HYDOXDWLRQRI7H[DVFRQWULEXWLRQWRPRGHOHGGD\VZLWK
                 0'$YDOXHVJUHDWHUWKDQSSE DWUHFHSWRUVLQ&RORUDGR




       7&(4SURIIHUHGLQDVVHVVLQJWKLV LQIRUPDWLRQWKDWIRUWKH&RORUDGRPRQLWRUVWKH

H[SHFWHGDYHUDJH7H[DVFRQWULEXWLRQXVLQJDOOGD\V JUHDWHUWKDQSSE LVDVPDOOSHUFHQWDJHRI

WKHSURMHFWHGDYHUDJH0'$RQWKHVHGD\V$VDUHVXOW7&(4DUJXHG WKDW WKHVHLPSDFWV DUH QRW

VLJQLILFDQWVLQFHWKHDYHUDJHFRQWULEXWLRQLVOHVVWKDQRQHSSEIRUDOOWKHPRQLWRUVDQGKLJK

R]RQHRFFXUVRQ UHODWLYHO\ IHZGD\V GD\V 7&(4IXUWKHUGLVFRXQWHGWKHVHUHVXOWVE\

DOOHJLQJWKDWWKHUHDUHXQFHUWDLQWLHVDVVRFLDWHGZLWKPRGHOSUHGLFWLRQV
      Case: 23-60069        Document: 438-3         Page: 423     Date Filed: 09/26/2023

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         7DEOH 7&(4HYDOXDWLRQRI7H[DVFRQWULEXWLRQWRPRGHOHGGD\V
        ZLWK0'$YDOXHVJUHDWHUWKDQSSEDWUHFHSWRUVLQ6RXWKHUQ&DOLIRUQLD




       )RU&DOLIRUQLDPRQLWRUV7&(4LQGLFDWHGWKDWWKHFDOFXODWHGDYHUDJH7H[DVFRQWULEXWLRQ

RQSURMHFWHGIXWXUHHOHYDWHGR]RQHGD\V PRGHOHGGD\VZLWK0'$JUHDWHUWKDQSSE LV

OHVVWKDQRIWKHSURMHFWHGDYHUDJH0'$DWDOORIWKHPRQLWRUVRQWKHVHGD\V

       $VVWDWHGHDUOLHULQ6HFWLRQRIWKLV76'7&(4¶VPHWKRGRORJ\IRUFDOFXODWLQJ

FRQWULEXWLRQVIURP7H[DVWRGRZQZLQGUHFHSWRUVLVEDVHGRQWKHDYHUDJH FRQWULEXWLRQRQWKH

VDPHGD\VDQGJULGFHOOVWKDW7&(4XVHGIRUFDOFXODWLQJ55)VWRSURMHFWEDVHSHULRG'9VWR

6SHFLILFDOO\LQWKDWPHWKRG 7&(4XVHGWKHFRQWULEXWLRQVIRUWKHWRSGD\V ZLWKD

PLQLPRIILYHGD\V LQWKH PRGHOLQJDPRQJWKH[PDWUL[ RIJULGFHOOVWKDWLQFOXGHDQG

VXUURXQGWKHORFDWLRQRIWKHPRQLWRULQJ LHWKH³7;3ULPDU\´PHWKRG 7KH(3$¶VFRQFHUQV

ZLWKWKLVPHWKRG DUHGHVFULEHGLQ6HFWLRQEDERYH)RUFRPSDULVRQZLWKWKLVDOWHUQDWLYH

FRQWULEXWLRQDQDO\VLVWKDWXVHVDOOGD\VZLWKPRGHOHG0'$YDOXHVRYHUSSE 7;$/7
      Case: 23-60069         Document: 438-3           Page: 424    Date Filed: 09/26/2023

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PHWKRG FRQWULEXWLRQVEDVHGRQ7&(4¶V7;3ULPDU\PHWKRGXVLQJWRGD\VIRUWKHVH

&RORUDGRDQG&DOLIRUQLDUHFHSWRUVLVLQFOXGHGLQ7DEOHDERYH7KH(3$QRWHVWKDWWKHUHDUH

ODUJHGLIIHUHQFHVLQFRQWULEXWLRQVDWLQGLYLGXDOUHFHSWRUVLQ&RORUDGRDQGLQSDUWLFXODU

&DOLIRUQLDEHWZHHQWKHWZRPHWKRGV%RWKPHWKRGVGHPRQVWUDWHWKDW7H[DVFRQWULEXWHVDERYHWKH

SHUFHQWRIWKH1$$46WKUHVKROGWRUHFHSWRUV&RORUDGR+RZHYHUWKLVLVQRWWKHFDVHIRUWKH

&DOLIRUQLDUHFHSWRUVZKHUHWKHFRQWULEXWLRQVEDVHGRQWKH7;$/7PHWKRGDUHEHORZWKH

SHUFHQWWKUHVKROGWRDOOUHFHSWRUVWRZKLFK7H[DVZDVOLQNHGXVLQJWKH7;3ULPDU\PHWKRG)RU

H[DPSOHWKHFRQWULEXWLRQVIURP7H[DVWRWKH5HVHGD&$UHFHSWRUDUHSSEDQGSSE

XVLQJWKH7;3ULPDU\DQG7;$/7EDVHGPHWKRGVUHVSHFWLYHO\,QDGGLWLRQWKHFRQWULEXWLRQV

WRWKH+HVSHULD2OLYH6WUHHWUHFHSWRUDUHSSEDQGSSEXVLQJWKH7;3ULPDU\DQG7;

$/7EDVHGPHWKRGVUHVSHFWLYHO\)RUERWKUHFHSWRUVWKH7;3ULPDU\FRQWULEXWLRQVUHSUHVHQW

WKHDYHUDJHFRQWULEXWLRQLQRYHUDSSUR[LPDWHO\WKHWRSPRGHOHGGD\VZKHUHDVWKH7;

$/7PHWKRGUHSUHVHQWVWKHDYHUDJHFRQWULEXWLRQIRUDOOGD\VZLWK0'$YDOXHVDERYH

SSE7KXVWKHRQO\NQRZQGLIIHUHQFHEHWZHHQWKHWZRPHWKRGVLVWKHQXPEHURIGD\VXVHGLQ

FDOFXODWLQJWKHDYHUDJHFRQWULEXWLRQDQGWKDW7;$/7RQO\XVHVGD\VZLWKPRGHOHG0'$

YDOXHV!SSE ZLWKRXWDPLQLPXPRUPD[LPXPQXPEHURIGD\V ZKLFKLVGLIIHUHQWWKDQ7;

3ULPDU\PHWKRG,QWKHLUVXEPLWWDO7&(4GLGQRWSURYLGHDQ\H[SODQDWLRQIRUWKHODUJH

LQFRQVLVWHQFLHVLQFRQWULEXWLRQVEHWZHHQWKHWZRPHWKRGVDWWKHVHDQGRWKHUVLWHV7KHVH

LQFRQVLVWHQFLHVFDOOLQWRTXHVWLRQWKHDELOLW\RIHLWKHURUERWKRIWKH7&(4PHWKRGVWRSURYLGH

WHFKQLFDOO\FUHGLEOHUREXVWHVWLPDWHVRIFRQWULEXWLRQVIURP7H[DVWRGRZQZLQGUHFHSWRUV

   H&ROOHFWLYH,QWHUVWDWH&RQWULEXWLRQWR)XWXUH'9

       7&(4SURYLGHGDQDQDO\VLVRIFROOHFWLYHLQWHUVWDWHFRQWULEXWLRQWRWKH'9VIRUWKH

ILYH&RORUDGRDQGWHQ&DOLIRUQLDUHFHSWRUV7KHFROOHFWLYHLQWHUVWDWHFRQWULEXWLRQDWWDJJHG

&RORUDGRUHFHSWRUVUDQJHVIURPWRRIWKHFRUUHVSRQGLQJ'9 VHH7DEOH
      Case: 23-60069            Document: 438-3         Page: 425   Date Filed: 09/26/2023

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EHORZ 7KHFROOHFWLYHLQWHUVWDWHFRQWULEXWLRQDWWDJJHG&DOLIRUQLDUHFHSWRUVUDQJHVIURPWR

RIWKHFRUUHVSRQGLQJ'9 VHH7DEOHEHORZ 7&(4DUJXHVWKDWWKHVHDUHVPDOO

SHUFHQWDJHV &RORUDGRDQG&DOLIRUQLD DQGQRWDVKLJKDVWKHFROOHFWLYHLQWHUVWDWHFRQWULEXWLRQ

SHUFHQWDJHVWKH(3$FDOFXODWHGIRUPRQLWRUVLQ(DVWHUQ6WDWHVZKLFKUDQJHGIURPWR

7&(4DOVRQRWHVWKDWDVLJQLILFDQWSRUWLRQRIWKHWDJJHG&RORUDGRPRQLWRUV¶PRGHOHG'9V

LVGXHWREDFNJURXQGHPLVVLRQV VXPRIFRQWULEXWLRQVIURPWRELRJHQLFILUHVDQGERXQGDU\

FRQGLWLRQV )RUWKH&DOLIRUQLDUHFHSWRUV7&(4DUJXHVWKDWWKHVHSHUFHQWDJHVDUHVPDOOFRPSDUHG

WR,QWUD6WDWHFRQWULEXWLRQ

       $VDQLQLWLDOPDWWHUWKH(3$LVQRWVROHO\UHO\LQJRQ7&(4¶VILQGLQJVRIOLQNDJHVWR

&RORUDGRDQG&DOLIRUQLDEXWLVDOVRUHO\LQJRQLWVRZQILQGLQJVRIOLQNDJHVWRDUHDVLQWKH

0LGZHVW5HJLRQ$VVXFK7&(4¶VDQDO\VLVRIFROOHFWLYHFRQWULEXWLRQVWR&RORUDGRDQG

&DOLIRUQLDGRHVQRWSURYLGHMXVWLILFDWLRQIRUQRWDGGUHVVLQJGRZQZLQGLPSDFWV1RQHWKHOHVVWKH

(3$KDVIRXQGLQWKHSDVWWKDWFHUWDLQ&DOLIRUQLDUHFHSWRUVDUHVRKHDYLO\LPSDFWHGE\ORFDO

HPLVVLRQVDQGWRWDOXSZLQGFRQWULEXWLRQLVVRORZWKDWWKRVHUHFHSWRUVPD\QRWEHFRQVLGHUHGWR

EHDIIHFWHGE\LQWHUVWDWHR]RQHWUDQVSRUWSee )5 0DU +RZHYHUWKLVLVD

QDUURZFLUFXPVWDQFHWKDWGRHVQRWDSSO\LQWKHYDVWPDMRULW\RIFDVHVDQGKDVQHYHUEHHQDSSOLHG

RXWVLGHRI&DOLIRUQLD7KH(3$KDVSUHYLRXVO\IRXQGIRULQVWDQFHWKDWUHFHSWRUVLQ&RORUDGRDUH

KHDYLO\LPSDFWHGE\XSZLQGVWDWHFRQWULEXWLRQSee )5 )HE )5

2FW 7KH(3$QHHGQRWGUDZDQ\FRQFOXVLRQVKHUHUHJDUGLQJZKHWKHUWKH&DOLIRUQLD

VLWHV7&(4LGHQWLILHGVKRXOGRUVKRXOGQRWEHFRQVLGHUHGUHFHSWRUVIRUR]RQHWUDQVSRUWSXUSRVHV

(3$DIILUPVFRQWUDU\WR7&(4¶VVXJJHVWLRQWKDWWKH&RORUDGRUHFHSWRUV7&(4DQDO\]HGDUH

LPSDFWHGE\XSZLQGVWDWHFRQWULEXWLRQV+RZHYHUWKH(3$¶VILQGLQJWKDW7H[DVLVOLQNHGWR

UHFHSWRUVLQRWKHUVWDWHVLVEDVHGRQVWLOORWKHUOLQNDJHVIRXQGLQWKH(3$¶VPRGHOLQJWRUHFHSWRUV
      Case: 23-60069         Document: 438-3           Page: 426    Date Filed: 09/26/2023

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LQRWKHUVWDWHVZKLFKDUHFOHDUO\LPSDFWHGE\WKHFROOHFWLYHFRQWULEXWLRQRIPXOWLSOHXSZLQG

VWDWHVLQFOXGLQJ7H[DV8QGHU&$$VHFWLRQ D  ' L , GRZQZLQGVWDWHVDUHQRW

REOLJDWHGWRUHGXFHHPLVVLRQVRQWKHLURZQWRUHVROYHQRQDWWDLQPHQWRUPDLQWHQDQFHSUREOHPV

5DWKHUVWDWHVDUHREOLJDWHGWRHOLPLQDWHWKHLURZQVLJQLILFDQWFRQWULEXWLRQRULQWHUIHUHQFHZLWK

WKHDELOLW\RIRWKHUVWDWHVWRDWWDLQRUPDLQWDLQWKH1$$46

       7DEOH±&ROOHFWLYH,QWHUVWDWH&RQWULEXWLRQWR)XWXUH'9VDW7DJJHG&RORUDGR
                          0RQLWRUVIURP7&(4¶V6,37DEOH




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       Case: 23-60069       Document: 438-3          Page: 427   Date Filed: 09/26/2023

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        7DEOH±&ROOHFWLYH,QWHUVWDWH&RQWULEXWLRQWR)XWXUH'HVLJQ9DOXHDW7DJJHG
                    &DOLIRUQLD0RQLWRUVIURP7&(4¶V6,37DEOH




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   I7&(4DOVRSHUIRUPHG'LUHFW'HFRXSOHG0HWKRG ''0 PRGHOLQJIRUUHFHSWRUVLQ
        &RORUDGR

       ''0SURYLGHVDILUVWGHULYDWLYHRIWKHFKDQJHVLQR]RQH OLQHDUUHODWLRQVKLSZKHUHWKH

''0YDOXHLVWKHVORSHRIWKHOLQHIRUFKDQJHVLQR]RQH IURPFKDQJHVLQ12;HPLVVLRQVLQWKLV

FDVH$V7&(4QRWHGLQWKHLU6,3 SDJH ³2]RQHIRUPDWLRQLVKLJKO\QRQOLQHDUDQG

WKHUHIRUH''0UHVXOWVDUHRQO\XVHIXOIRUDOLPLWHGUDQJHRILQSXWSHUWXUEDWLRQVDERXWRI

WKHLQSXWSDUDPHWHUYDOXHLQDJLYHQVLPXODWLRQ´7&(4LQGLFDWHGWKDWWKH\XVHG''0WRJDXJH

WKHUHVSRQVLYHQHVV LHSHUFHQWFKDQJHLQR]RQHSHUSHUFHQWFKDQJHLQHPLVVLRQV RI7H[DV12[
         Case: 23-60069      Document: 438-3          Page: 428   Date Filed: 09/26/2023

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HPLVVLRQVDWWDJJHG&RORUDGRPRQLWRUV)URPWKHDQDO\VLVSURYLGHGLQWKH6,3DQGVSUHDGVKHHW

RI''0LWDSSHDUVWKDW7&(4XVHGWKH''0UHVSRQVLYHQHVVIDFWRUVWRHVWLPDWHWKHLPSDFWVRI

SHUFHQWRI12[HPLVVLRQVLQ7H[DVZKLFKLVZHOOEH\RQGRI7H[DVHPLVVLRQVZKLFK

7&(4VWDWHVLVWKHXVHIXOOLPLWIRUDSSO\LQJ''0''0LVW\SLFDOO\XVHGWRVHHZKDWDQ

DGGLWLRQDOUHGXFWLRQLQHPLVVLRQVPLJKW\LHOGLQR]RQHUHGXFWLRQVEXWQRWDVDPHWKRGWR

HVWLPDWHWKHLPSDFWVIURPRIWKHHPLVVLRQVIURPDJLYHQVWDWH,QWKHLU6,37&(4

SURYLGHGWKH''0WLPHVHULHVSORWVEHORZ 6HH)LJXUH %HORZZHGHVFULEHWKHUHVXOWVRIWKH

''0DQDO\VLVWKDW7&(4SURYLGHGLQWKHLUVXEPLWWDO%HFDXVH7&(4¶VDSSOLFDWLRQRI''0LV

RXWVLGHWKHUDQJHWKDWZRXOGSURYLGHFUHGLEOHUHVXOWVDVLQGLFDWHGE\7&(4LQWKHLUVXEPLWWDO

WKH(3$FRQVLGHUVWKHUHVXOWVRIWKH''0DQDO\VLVWREHRIOLPLWHGYDOXHDQGQRWDVWHFKQLFDOO\

VRXQGDVWKHFRQWULEXWLRQGDWDEDVHGRQVRXUFHDSSRUWLRQPHQWPRGHOLQJ

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Case: 23-60069      Document: 438-3         Page: 429   Date Filed: 09/26/2023

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                 )LJXUH±7&(4''0UHVXOWVIRUVHOHFWPRQLWRUV




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Case: 23-60069    Document: 438-3         Page: 430   Date Filed: 09/26/2023

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         )LJXUH FRQWLQXHG ±7&(4''0UHVXOWVIRUVHOHFWPRQLWRUV




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         Case: 23-60069      Document: 438-3          Page: 431    Date Filed: 09/26/2023

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          ,QWKHLUVXEPLWWDO7&(4LQGLFDWHGWKDW5RFN\)ODWV $46,' VKRZV

DSSUR[LPDWHO\SSELPSDFWIURP7H[DV12;HPLVVLRQV RI7H[DV12[HPLVVLRQV LQPLG

WRODWH-XO\7&(4FRQWLQXHGWKDWZKHQR]RQHDWWKHPRQLWRULVUHVSRQVLYHWR7H[DV12;

HPLVVLRQVHOHYDWHGR]RQHZDVQRWPRGHOHGH[FHSWIRUDPLQRUUHVSRQVHRQRQHGD\-XO\

7&(4VXPPDUL]HGWKHLU''0PRGHOLQJDQDO\VLVLQGLFDWLQJWKDWWKHUHLVVRPHPLQRULPSDFWV

IURP7H[DV¶V12;HPLVVLRQVRQWZRKLJKR]RQHGD\VLQWKHWKLUGZHHNRI-XO\EXWVLPLODUWR

RWKHU&RORUDGRPRQLWRUVVWXGLHGWKHPDJQLWXGHRIWKHLPSDFWLVPXFKVPDOOHUWKDQWKHLPSDFW

IURP&RORUDGR12;DQG³2WKHU12;´HPLVVLRQV7&(4DOVRVXPPDUL]HGWKDWIRUWKHGD\VZLWK

0'$JUHDWHUWKDQSSEDQGDWOHDVWSSERUJUHDWHULPSDFWWKHUHZHUHWKUHHGD\VWKDWPHW

WKHVHFULWHULDDWPRQLWRUV 15(/DQG5RFN\)ODWV WKHVHFULWHULD

          7KH''0PRGHOLQJGRHVVKRZVRPHLPSDFWRI7H[DV12;HPLVVLRQVEXWIURPWKHVFDOH

LQWKH)LJXUHVLWLVKDUGWRGLVFHUQWKHPDJQLWXGH(3$DQDO\]HG7&(4¶VLQIRUPDWLRQDQGWKH

LPSDFWIURP7H[DV12;HPLVVLRQVUDQJHVIURPWRSSEUDQJHIRUPRGHOHGR]RQH

YDOXHVSSE7KH''0PRGHOLQJGRHVVKRZPXFKODUJHULPSDFWIURPWKH&RORUDGR12;

JURXSDQG2WKHU12;JURXS ZKLFKUHSUHVHQWVDOORWKHU12[VRXUFHVLQWKHPRGHOLQJRWKHUWKDQ

7H[DVDQG&RORUDGR EXWWKHLPSDFWIURPWKH7H[DV12;JURXSLVQRW]HURIRUVRPHGD\VZLWK

PRGHOHG0'$R]RQHRYHUSSE7&(4¶VDQDO\VLVRIWKHQXPEHURIGD\VZLWK7H[DV

FRQWULEXWLRQWR0'$YDOXHVRYHUSSEXVHGDSSEWKUHVKROGZKLFKLVQRWFRQVLVWHQWZLWK

XVLQJSSEIRUFRQWULEXWLRQWKDW7&(4XWLOL]HGLQLGHQWLI\LQJUHFHSWRUVWKDWDUHOLQNHGWR

7H[DV$JDLQWKH(3$FRQVLGHUVWKHUHVXOWVRIWKH''0DQDO\VLVWREHRIOLPLWHGYDOXHDQGQRW

DVWHFKQLFDOO\VRXQGDVWKHFRQWULEXWLRQGDWDEDVHGRQVRXUFHDSSRUWLRQPHQWPRGHOLQJ




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       Case: 23-60069           Document: 438-3            Page: 432      Date Filed: 09/26/2023

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     J6RXWKHUQ&DOLIRUQLD2]RQH&RQFHSWXDO0RGHO

        7&(4EULHIO\GLVFXVVHGFRQFHSWXDOPRGHOIRUR]RQHLQ6RXWKHUQ&DOLIRUQLDLQGLFDWLQJWKH

WRSRJUDSK\DQGFOLPDWHRIWKHDUHD¶VVHYHUHDLUSROOXWLRQSUREOHPLVDFRQVHTXHQFHRIWKH

FRPELQDWLRQRIHPLVVLRQVIURPWKHQDWLRQ¶VVHFRQGODUJHVWXUEDQDUHDDQGPHWHRURORJLFDO

FRQGLWLRQVWKDWDUHDGYHUVHWRWKHGLVSHUVLRQRIWKRVHHPLVVLRQV7&(4DVVHUWHGWKDWWKHXQLTXH

IHDWXUHVRI6RXWKHUQ&DOLIRUQLDUHVXOWLQWKH6RXWKHUQ&DOLIRUQLDEDVLQDUHDPDNHLWDUHODWLYH

LVRODWHGDUHD:HQRWHWKDW7&(4¶VPRGHOLQJDOUHDG\WDNHVLQWRDFFRXQWWKHXQLTXH

PHWHRURORJLFDOWRSRJUDSKLFDODQGDPRXQWRIORFDOHPLVVLRQVLQ6RXWKHUQ&DOLIRUQLDDQGLQWKH

UHVWRIWKH&RQWLQHQWDO86 &2186 LQFOXGLQJ7H[DVHPLVVLRQV7&(4¶VDVVHVVPHQWRIWKH

6RXWKHUQ&DOLIRUQLDFRQFHSWXDOPRGHOGRHVQRWSURYLGHVXEVWDQWLDOHYLGHQFHWKDWUHIXWHVWKH

SKRWRFKHPLFDOPRGHOLQJDQDO\VLVUHVXOWV

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        7&(4LQGLFDWHGWKDW7H[DVFRQWULEXWLRQVKRXOGEHGHHPHG³VLJQLILFDQW´RQO\LIWKHUHLVD

SHUVLVWHQWDQGFRQVLVWHQWSDWWHUQRIFRQWULEXWLRQRQVHYHUDOGD\VZLWKHOHYDWHGR]RQH7&(4

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FRQWULEXWLRQVIURP7H[DVZHUHQRW³VLJQLILFDQW´2YHUDOOWKHVHDGGLWLRQDO2WKHU)DFWRUV:HLJKW

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PRGHOLQJUHVXOWVWKDW7&(4¶VPRGHOLQJLQGLFDWHVGRZQZLQGQRQDWWDLQPHQWDQGRUPDLQWHQDQFH

UHFHSWRUVLQ&RORUDGRDQG6RXWKHUQ&DOLIRUQLDDUHLPSDFWHGE\7H[DVHPLVVLRQVDQG7H[DV¶

FRQWULEXWLRQLVSSERUJUHDWHU$OWKRXJK7H[DVDVVHUWHGWKDWLWVDGGLWLRQDODLUTXDOLW\IDFWRU

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 7&(4DOVRLGHQWLILHGDPRQLWRULQ&RFKLVH&RXQW\$UL]RQD ,' EXWWKHPRQLWRU¶VUHFHQW'9VDUH
EHORZWKH1$$46)URP$46WKHDQG'9VDUHHDFKSSEDQG
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      Case: 23-60069         Document: 438-3          Page: 433    Date Filed: 09/26/2023

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DQDO\VLVH[DPLQHVZKHWKHUWKHUHZDVD³SHUVLVWHQWDQGFRQVLVWHQWSDWWHUQRIFRQWULEXWLRQRQ

VHYHUDOGD\VZLWKHOHYDWHGR]RQH´ZHILQGWKDWVXFKSDWWHUQLVDOUHDG\HVWDEOLVKHGE\WKH(3$¶V

DQG7&(4¶VDLUTXDOLW\PRGHOLQJ6SHFLILFDOO\WKH(3$EHOLHYHVVRXUFHDSSRUWLRQPHQW

PRGHOLQJDVSHUIRUPHGE\WKH(3$DQGDOVRE\7&(4WRGHWHUPLQHZKLFKVWDWHVDUHOLQNHGLV

DQDSSURSULDWHWRROWRLGHQWLI\LPSDFWVWKDWDUHSHUVLVWHQWHQRXJKWRLPSDFWDGRZQZLQGUHFHSWRUV

DELOLW\WRDWWDLQRUPDLQWDLQWKHVWDQGDUG7KLVDSSURDFKLVGHVFULEHGLQPRUHGHWDLODERYHLQ

6HFWLRQRIWKLVDFWLRQEXWLQVXPPDU\DYHUDJHVWKHFRQWULEXWLRQVIURPDQXSZLQGVWDWHIRUXS

WRGD\VZKLFKLVSUHIHUUHG EXWDWDPLQLPXPGD\V DWDJLYHQUHFHSWRU$VQRWHGLQWKH

(3$¶VDLUTXDOLW\PRGHOLQJJXLGDQFHVLQFH'9VDUHEDVHGRQWKHVHDVRQDOWKKLJKREVHUYHG

YDOXHVWKH(3$WHFKQLTXHRIXVLQJWKHDYHUDJHLPSDFWVIRUGD\VLVDSSURSULDWHWRLGHQWLI\

LPSDFWVRIVXIILFLHQWSHUVLVWHQFHWRLPSDFWDGRZQZLQGUHFHSWRU¶VDELOLW\WRDWWDLQRUPDLQWDLQWKH

VWDQGDUG:HQRWHWKDW7&(4XVHGWKHVDPHPHWKRGRORJ\RIXSWRGD\VEXWDWDPLQLPXPRI

GD\VZLWKGLIIHULQJFDOFXODWLRQVPHWKRGV 6HH6HFWLRQ WRLGHQWLI\QRQDWWDLQPHQWDQGRU

PDLQWHQDQFHUHFHSWRUVDQGFRQWULEXWLRQDWWKRVHUHFHSWRUV

       ,QDGGLWLRQWKHFRQWULEXWLRQVEDVHGRQWKH(3$¶VEDVHGPRGHOLQJDQGY

PRGHOLQJLQGLFDWHWKDW7H[DVLVOLQNHGWRUHFHSWRUVLQWKH0LGZHVW5HJLRQEXWQRWWRUHFHSWRUVLQ

$UL]RQDDQG&DOLIRUQLDLGHQWLILHGE\7&(4*LYHQWKDWWKHUHDUHZLGHXQH[SODLQHGGLIIHUHQFHV

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WZRFRQWULEXWLRQPHWKRGVXVHGE\7&(4LQWKHLU6,3VXEPLWWDOZHFDQQRWVSHFXODWHDVWRWKH

IDFWRU V OHDGLQJWRGLIIHUHQFHVLQFRQWULEXWLRQVEHWZHHQWKH(3$¶VPRGHOLQJDQG7&(4¶V

PRGHOLQJ5HJDUGOHVVWKHFRQWULEXWLRQVWRGRZQZLQGUHFHSWRUVEDVHGRQWKHWZR7&(4PHWKRGV

DQGWKH(3$¶VPRGHOLQJUHVXOWVDUHFRQVLVWHQWLQVKRZLQJWKDW7H[DV¶VHPLVVLRQVZHUH

VXEVWDQWLDOHQRXJKWRJHQHUDWHOLQNDJHVWRGRZQZLQGUHFHSWRUVXQGHUYDU\LQJDVVXPSWLRQVDQG
      Case: 23-60069         Document: 438-3           Page: 434     Date Filed: 09/26/2023

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PHWHRURORJLFDOFRQGLWLRQVHYHQLIWKHSUHFLVHVHWRIOLQNDJHVFKDQJHGEHWZHHQWKHGLIIHUHQWVHWV

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³VLJQLILFDQW´RQO\LIWKHUHLVDSHUVLVWHQWDQGFRQVLVWHQWSDWWHUQRIFRQWULEXWLRQRQVHYHUDOGD\V

ZLWKHOHYDWHGR]RQH,QWKLVUHJDUGPRGHOLQJIRUWKUHHGLIIHUHQW\HDUVRIPHWHRURORJ\ 

DQG KDYHDOOLQGLFDWHGWKDW7H[DVLVOLQNHGWRGRZQZLQGQRQDWWDLQPHQWDQGRU

PDLQWHQDQFHUHFHSWRUV:HWKLQNWKLVFRPPRQUHVXOWLQGLFDWHVWKDW7H[DV¶VHPLVVLRQVZHUH

VXEVWDQWLDOHQRXJKWRJHQHUDWHOLQNDJHVWRYDULRXVGRZQZLQGUHFHSWRUVXQGHUYDU\LQJ

DVVXPSWLRQVDQGPHWHRURORJLFDOFRQGLWLRQVZKLFKSURYLGHVDIXUWKHULQGLFDWLRQWKDWWKHUHLVD

SHUVLVWHQWSDWWHUQRI7H[DV¶HPLVVLRQVFRQWULEXWLQJDERYHDWRR]RQHDWGRZQZLQG

QRQDWWDLQPHQWDQGRUPDLQWHQDQFHUHFHSWRUV,QVXPWKH(3$¶VPRUHUHFHQWEDVH\HDU

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VKRZHGOLQNDJHVWRVWDWHVLQWKH:HVW$VGLVFXVVHGWKH(3$GRHVQRWILQGWKHDGGLWLRQDO

IDFWRUVZHLJKWRIHYLGHQFHHYDOXDWLRQVFRQGXFWHGE\7&(4SURYLGHFRPSHOOLQJUHDVRQVWR

GLVFRXQWWKHLPSDFWVLQGLFDWHGLQ&RORUDGRDQG&DOLIRUQLDE\WKH7&(4PRGHOLQJ,QIDFWZH

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DFFHSWDEOHEHFDXVHLWIDLOVWRLGHQWLI\UHFHSWRUVWKDWPD\KDYHGLIILFXOW\PDLQWDLQLQJWKHVWDQGDUG
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LQWKHIXWXUH:HLGHQWLILHGWKDW7&(4¶VPRGHOLQJXQGHUVWDWHGWKHPDJQLWXGHRISURMHFWHG

GHVLJQYDOXHVWRWKHH[WHQWWKDW7&(4¶VDQDO\VLVOLNHO\UHVXOWHGLQQRWFRUUHFWO\LGHQWLI\LQJ

QRQDWWDLQPHQWDQGRUPDLQWHQDQFHUHFHSWRUVLQ,OOLQRLV:LVFRQVLQ0LFKLJDQ(3$Y

PRGHOLQJLGHQWLILHGQRQDWWDLQPHQWDQGRUPDLQWHQDQFHUHFHSWRUVLQ,OOLQRLVDQG:LVFRQVLQZLWK

7H[DV¶VFRQWULEXWLRQVPRUHWKDQDQG7&(4¶VPRGHOLQJDOVRLQGLFDWHGWKDW7H[DV¶V

FRQWULEXWLRQZDVPRUHWKDQDWWKHVHVDPHUHFHSWRUV

        7KHFRQWULEXWLRQVFDOFXODWHGIURP7&(4¶VWZRFRQWULEXWLRQPHWKRGVUHVXOWLQYHU\

GLIIHUHQWFRQWULEXWLRQYDOXHVDQGLVVRLQFRQVLVWHQWWKDWLWFDOOVLQWRTXHVWLRQWKHYDOLGLW\RIHLWKHU

RUERWKPHWKRGVDQG7&(4SURYLGHVQRH[SODQDWLRQIRUWKHODUJHGLIIHUHQFHVLQWKHRXWFRPHRI

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WHFKQLFDOO\VXSSRUWHGLQIRUPDWLRQWRFRXQWHUWKHFRQFOXVLRQVIURPSKRWRFKHPLFDOPRGHOLQJLQ

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        7&(4LQGLFDWHGWKDW7H[DVFRQWULEXWLRQVKRXOGEHGHHPHG³VLJQLILFDQW´RQO\LIWKHUHLVD

SHUVLVWHQWDQGFRQVLVWHQWSDWWHUQRIFRQWULEXWLRQRQVHYHUDOGD\VZLWKHOHYDWHGR]RQH:HQRWH

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FRQVLVWHQWUHVXOWLQGLFDWHVWKDW7H[DV¶VHPLVVLRQVDUHVXEVWDQWLDOHQRXJKWROLQN7H[DVWR

GRZQZLQGUHFHSWRUVXQGHUYDU\LQJDVVXPSWLRQVDQGPHWHRURORJLFDOFRQGLWLRQVZKLFKIXUWKHU

LQGLFDWHVWKDWWKHUHLVDSHUVLVWHQWSDWWHUQRI7H[DV¶HPLVVLRQVFRQWULEXWLQJDERYHWRR]RQHDW

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